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                       Exhibit A
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  (12) United States Patent                                                                                            ( 10 ) Patent No.: US 10 ,452,974 B1
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                                                                        Object              Processor
                                                                        Procassing                           Application Program
                                                                        Unit



                                                     DCADO Unit
                                                                                                                120                      130

                                                                                               Acquisition                Modification
                                                                                               Interface                  Interface
                                                                 110

                                                         Artificial
                                                         Intelligence                                                                      530
                                                         Unit                                                    520
                                                                                                                              Knowledgebase
                                                                                 Knowledge Structuring Unit
                                                                                                                 540

                                                                        Decision-making Unit

                                                                                                                 550
                                                                                      motion in
                                                                                 Confirmation Unit
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                Device                                                                                                  Procesor
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 9 of 2562 PageID #: 7510


           atent                    Oct. 22, 2019           Sheet 3 of 40                 US 10 ,452 ,974 B1


                Camera                        92a                           Microphone 7 92b
       Object Processing Unit 7 -9394a
          YRA                                                       ObjectProcessing Unit             793
        Picture Recognizer                                           Sound Recognizer

         Artificial Intelligence Unit              1                   Artificial Intelligence Unit - 110
                     FIG . 3A                                               FIG . 3B


                Lidar                 9 2c                                  Radar7 920
       Object Processing Unit                          93           ObjectProcessing Unit              93
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          Artificial Intelligence Unit                                 Artificial Intelligence Unit

                     FIG .3C                                                  FIG . 3D


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       Object Processing Unit
         SonarProcessing Unit

          Artificial Intelligence Unit

                     FIG . 3E
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 10 of 2562 PageID #: 7511


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                                                                                       FIG . 4B
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 11 of 2562 PageID #: 7512


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   U.S. Patent
          atent           Oct. 22, 2019                Sheet 6 of 40          US 10 ,452 ,974 B1


                              100 120
         DCADO Unit Acquisition Interface
                                                                    250
                                                    Logic Circuit
           input 1                                                               output 1

           input 2                                                                output 2
           input 3                                                               power

           input 4                                                                ground


                                               FIG . 6A

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                                           DCADO Unit Acouisition Interface


                                   Logic Circuit
           input 1                                                                output 1

           input 2                                            ALA
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                                                                                 output 2
           input 3                                                               power

           input 4                                                                ground


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                                               FIG . 6B
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 13 of 2562 PageID #: 7514


          atent                      Oct. 22, 2019                                      Sheet 7 of 40                                                  US 10 ,452 ,974 B1
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             SELECT Col1, Col2 ... FROM Tb11, Tb12 ... ;
                                                                           FIG . 7B
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            Instruction Set
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        Collection ofObjectRepresentations                           Extra Info
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                                          FIG . 8A




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        Instruction Set                                              Extra info
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                                                                     info , etc .
                                          FIG . 8B
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 15 of 2562 PageID #: 7516


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                         Human machineInterface ObjectProcesing                                                                      Sensor
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                               Device
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                                                                                                                                        Proces r Program c a t o n
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 18 of 2562 PageID #: 7519


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                                         Processing                                     Application Program
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       DCADO Unit                                                                                20


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                                                                             FIG . 12
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 19 of 2562 PageID #: 7520


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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 23 of 2562 PageID #: 7524


              atent            Oct. 22, 2019   Sheet 17 of 40              US 10,452 , 974 B1


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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 24 of 2562 PageID #: 7525


            atent                  Oct. 22, 2019            Sheet 18 of 40                  US 10,452,974 B1

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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 25 of 2562 PageID #: 7526


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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 26 of 2562 PageID #: 7527


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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 27 of 2562 PageID #: 7528


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   U .S . Patent                                                                                                   Oct.22, 2019                                                                                                                                  Sheet 23 of 40                                                                                                                                                                             US 10,452,974 B1

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                                                  Logic Circuit
          input 1 wa                                                                    output 1

          input 2                                                                       output 2
          input 3                                                                       power

          input4 -
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                                      Logic Circuit
          input 1                                                                       output 1

          input 2                                                                       output 2

          input 3                                                                       power

          input 4                                                                       ground

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                         Step9325                                                                                Step9330                                                                                                                                                                                                                                                                                   Step9340                                                                                                                                                                                                9345Step




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                                                       US 10 ,452 ,974 B1
        ARTIFICIALLY INTELLIGENT SYSTEMS,                               sor circuit to execute the first one or more instruction sets for
       DEVICES , AND METHODS FOR LEARNING                               operating the device correlated with the first collection of
                AND /OR USING A DEVICE ' S                              object representations , the causing performed in response to
         CIRCUMSTANCES FOR AUTONOMOUS                                   the anticipating of the artificial intelligence unit, wherein the
                    DEVICE OPERATION                                    device performs one or more operations defined by the first
                                                                        one or more instruction sets for operating the device corre
                            FIELD                                       lated with the first collection of object representations, the
                                                                        one or more operations performed in response to the execut
     The disclosure generally relates to computing enabled              ing by
                                                                        ing by the
                                                                                the processor
                                                                                    processor cicircuit.
   devices and /or systems. The disclosure includes devices. 10 In some embodiments , at least one of: the processor
   apparatuses , systems, and related methods for providing    circuit, the memory unit, the sensor, or the artificial intelli
  advanced learning , anticipating, decision making, automa             gence unit are part of, operating on ,or coupled to the device .
  tion , and/ or other functionalities.                                 In further embodiments , the device includes one or more
                                                                        devices. In further embodiments, the device includes a
                  COPYRIGHT NOTICE                                      construction machine, an assembly machine, an object han
                                                                        dling machine, an object dispensing machine , a sorting
     A portion of the disclosure of this patent document                machine  , a restocking machine, an industrial machine , an
                                                                        agriculturalmachine , a harvesting machine, an appliance , a
   contains material which is subject to copyright protection .
   The copyright owner has no objection to the facsimile                toy, a robot, a ground vehicle , an aerial vehicle , an aquatic
  reproduction by anyone of the patent document or the patent 20 vehicle , a computer , a smartphone, a control device , or a
  disclosure as it appears in the Patent and Trademark Office    computing enabled device . In further embodiments, the
  patent file or records, but otherwise reserves all copyright          processor circuit includes one or more processor circuits . In
  rights whatsoever.                                                    further embodiments , the processor circuit includes a logic
                                                                        circuit . The logic circuitmay include a microcontroller. The
                         BACKGROUND                                  25 one or more instruction sets may include one or more inputs
                                                                        into or one or more outputs from the logic circuit .
     Devices or systems commonly operate by receiving a                   In certain embodiments, the processor circuit includes a
  user 's operating directions in various circumstances.                logic circuit , the instruction sets for operating the device
   Instructions are then executed to effect the operation of a          include inputs into the logic circuit , and executing instruc
  device or system based on user's operating directions. 30 tion sets for operating the device includes performing logic
  Hence , devices or systems rely on the user to direct their    operations on the inputs into the logic circuit and producing
  behaviors . Commonly employed device or system operating outputs for operating the device . The logic circuit includes
  techniques lack a way to learn operation of a device or a microcontroller.
  system and enable autonomous operation of a device or             In some embodiments, the processor circuit includes a
  system .                                                    35 logic circuit , the instruction sets for operating the device
                                                                 include outputs from the logic circuit for operating the
                           SUMMARY                                      device , and executing instruction sets for operating the
                                                                        device includes performing logic operations on inputs into
     In some aspects, the disclosure relates to a system for            the logic circuit and producing the outputs from the logic
   learning and using a device 's circumstances for autonomous 40 circuit for operating the device .
   device operating. The system may be implemented at least          In certain embodiments, the memory unit includes one or
  in part on one ormore computing devices. In some embodi-              more memory units . In further embodiments , the memory
  ments, the system comprises a processor circuit configured            unit resides on a remote computing device or a remote
  to execute instruction sets for operating a device . The system       computing system , the remote computing device or the
  may further include a memory unit configured to store data . 45 remote computing system coupled to the processor circuit
  The system may further include a sensor configured to detect          via a network or an interface . The remote computing device
  objects. The system may further include an artificial intel           or the remote computing system may include a server, a
  ligence unit. The artificial intelligence unit may be config          cloud , a computing device, or a computing system acces
   ured to : receive a first collection of object representations,      sible over the network or the interface .
   the first collection of object representations including one or 50     In some embodiments , the sensor includes one or more
  more representations of objects detected by the sensor. The           sensors . In further embodiments, the sensor includes a
   artificial intelligence unit may be further configured to :          camera, a microphone, a lidar , a radar , a sonar, or a detector.
   receive a first one or more instruction sets for operating the       In further embodiments , the sensor is part of a remote
   device . The artificial intelligence unit may be further con -       device . In further embodiments, the sensor is configured to
   figured to learn the first collection of object representations 55 detect objects in the device ' s surrounding .
   correlated with the first one or more instruction sets for            In certain embodiments , the artificial intelligence unit is
  operating the device . The artificial intelligence unit may be        coupled to the sensor. In further embodiments, the artificial
  further configured to : receive a new collection of object            intelligence unit is coupled to the memory unit. In further
  representations , the new collection of object representations        embodiments , the artificial intelligence unit is part of, oper
   including one or more representations of objects detected by 60 ating on , or coupled to the processor circuit . In further
   the sensor . The artificial intelligence unit may be further     embodiments , the system further comprises : an additional
   configured to : anticipate the first one ormore instruction sets processor circuit, wherein the artificial intelligence unit is
   for operating the device correlated with the first collection of part of, operating on , or coupled to the additional processor
  object representations based on at least a partial match           circuit. In further embodiments , the artificial intelligence
  between the new collection of object representations and the 65 unit is part of , operating on, or coupled to a remote com
   first collection of object representations. The artificial intel- puting device or a remote computing system , the remote
   ligence unit may be further configured to : cause the proces         computing device or the remote computing system coupled
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                                                       US 10 ,452 , 974 B1
  to the processor circuit via a network or an interface. In         related one or more instruction sets can be used for antici
   further embodiments, the artificial intelligence unit includes    pation of one or more instruction sets to be executed by the
   a circuit , a computing apparatus , or a computing system         processor circuit.
   attachable to the processor circuit . In further embodiments ,       In certain embodiments, the first one or more instruction
  the artificial intelligence unit includes a circuit, a computing 5 sets for operating the device include one or more instruction
  apparatus, or a computing system attachable to the device. In      sets that temporally correspond to the first collection of
                                                                     object representations. In further embodiments , the one or
  further embodiments, the artificial intelligence unit is attach more
  able to an application for operating the device, the applica collection   instruction sets that temporally correspond to the first
  tion running on the processor circuit . In further embodi 10 instruction ofsetsobject      representations include one or more
                                                                                        executed  at a time of generating the first
  ments , the artificial intelligence unit includes a circuit , a collection of object representations    . In further embodiments ,
  computing apparatus, or a computing system built into the          the one or more instruction sets that temporally correspond
   processor circuit. In further embodiments, the artificial intel   to the first collection of object representations include one or
   ligence unit includes a circuit, a computing apparatus, or a      more instruction sets executed prior to generating the first
  computing system built into the device . In further embodi
                                                      embodi 15 collection of object representations. In further embodiments ,
  ments, the artificial intelligence unit is built into an appli     the one or more instruction sets that temporally correspond
   cation for operating the device, the application running on       to the first collection of object representations include one or
   the processor circuit. In further embodiments , the artificial    more instruction sets executed within a threshold period of
   intelligence unit is provided as a feature of the processor       time prior to generating the first collection of object repre
   circuit. In further embodiments , the artificial intelligence 20 sentations. In further embodiments , the one or more instruc
   unit is provided as a feature of an application running on the     tion sets that temporally correspond to the first collection of
   processor circuit. In further embodiments, the artificial intel-    object representations include one or more instruction sets
   ligence unit is provided as a feature of the device . In further executed subsequent to generating the first collection of
   embodiments, the artificial intelligence unit is further con         object representations . In further embodiments , the one or
   figured to : take control from , share control with , or release 25 more instruction sets that temporally correspond to the first
   control to the processor circuit . In further embodiments , the collection of object representations include one or more
   artificial intelligence unit is further configured to : take       instruction sets executed within a threshold period of time
   control from , share control with , or release control to an       subsequent to generating the first collection of object rep
  application or an object of the application , the application 30 resentations . In further embodiments , the one or more
                                                                   instruction sets that temporally correspond to the first col
   running on the processor circuit .                                lection of object representations include one or more instruc
     In some embodiments , the first collection of object rep        tion sets executed within a threshold period of time prior to
  resentations includes one or more representations of objects       generating the first collection of object representations or a
  detected by the sensor at a time. In further embodiments , thethreshold period of time subsequent to generating the first
  new collection of object representations includes
                                                 es one
                                                    one oror 35 collection of object representations.
  more representations of objects detected by the sensor at a           In some embodiments , the first one or more instruction
  time. In further embodiments, the first collection of object sets for operating the device are executed by the processor
  representations includes a stream of collections of object circuit. In further embodiments , the first one or more instruc
  representations. In further embodiments , the new collection     tion sets for operating the device are part of an application
  of object representations includes a stream of collections of 40 for operating the device , the application running on the
  object representations. In further embodiments , the first or processor circuit. In further embodiments, the first one or
  the new collection of object representations includes or is more instruction sets for operating the device include one or
  associated with a time stamp, an order, or a time related          more inputs into or one or more outputs from the processor
  information . In further embodiments , the first or the new  circuit . In further embodiments , the first one or more instruc
  collection of object representations includes one or more 45 tion sets for operating the device include values or states of
  representations of objects in the device ' s surrounding. In one or more registers or elements of the processor circuit. In
   further embodiments, the first or the new collection of object     further embodiments, the first one or more instruction sets
   representations includes one or more representations of            for operating the device include at least one of: a command ,
   objects in a remote device 's surrounding. In further embodi-      a keyword , a symbol, an instruction , an operator, a variable ,
  ments, an object representation of the one or more object 50 a value , an object , a data structure , a function , a parameter,
  representations includes one or more object properties . In         a state , a signal, an input, an output, a character, a digit, or
  further embodiments , the first or the new collection of object    a reference thereto . In further embodiments, the first one or
  representations includes one or more object properties . In        more instruction sets for operating the device include a
  further embodiments , the first collection of object represen -     source code, a bytecode, an intermediate code, a compiled
   tations includes a comparative collection of object repre - 55 code, an interpreted code, a translated code, a runtime code,
   sentations whose at least one portion can be used for          an assembly code, a structured query language (SQL ) code ,
   comparisons with at least one portion of collections of object     or a machine code. In further embodiments , the first one or
   representations subsequent to the first collection of object      more instruction sets for operating the device include one or
   representations, the collections of object representations        more code segments, lines of code , statements , instructions ,
   subsequent to the first collection of object representations 60 functions, routines , subroutines , or basic blocks. In further
   comprising the new collection of object representations. In        embodiments , the processor circuit includes a logic circuit .
   further embodiments, the first collection of object represen -     The first one or more instruction sets for operating the device
   tations includes a comparative collection of object repre -       may include one or more inputs into a logic circuit. The first
   sentations that can be used for comparisons with the new           one or more instruction sets for operating the device may
   collection of object representations. In further embodiments , 65 include one or more outputs from a logic circuit.
   the new collection of object representations includes an             In certain embodiments , the first one or more instruction
   anticipatory collection of object representations whose cor -      sets for operating the device include one or more instruction
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                                                       US 10 ,452 , 974 B1
   sets for operating an application or an object of the appli -       bytecode , an intermediate code , a compiled code , an inter
   cation , the application running on the processor circuit . In      preted code, a translated code, a runtime code, an assembly
   further embodiments , the receiving the first one or more           code, a structured query language (SQL ) code , or a machine
   instruction sets for operating the device includes obtaining code . In further embodiments , the receiving the first one or
   the first one or more instruction sets for operating the device 5 more instruction sets for operating the device includes at
   from the processor circuit. In further embodiments, the least one of: tracing , profiling , or instrumentation of an
  receiving the first one or more instruction sets for operating       element that is part of, operating on , or coupled to the
   the device includes receiving the first one or more instruc         processor circuit . In further embodiments , the receiving the
   tion sets for operating the device as they are executed by the      first one or more instruction sets for operating the device
  processor circuit . In further embodiments , the receiving the 10 includes at least one of : tracing , profiling , or instrumentation
   first one or more instruction sets for operating the device         of a register of the processor circuit, the memory unit, a
  includes receiving the first one or more instruction sets for        storage , or a repository where the first one or more instruc
  operating the device from a register or an element of the            tion sets for operating the device are stored . In further
   processor circuit. In further embodiments, the receiving the        embodiments , the receiving the first one or more instruction
   first one or more instruction sets for operating the device 15 sets for operating the device includes at least one of: tracing ,
   includes receiving the first one or more instruction sets for       profiling, or instrumentation of the processor circuit , the
   operating the device from an element that is part of, oper -        device , a virtual machine , a runtime engine , an operating
   ating on , or coupled to the processor circuit. In further          system , an execution stack , a program counter, or a process
   embodiments, the receiving the first one or more instruction        ing element. In further embodiments, the receiving the first
  sets for operating the device includes receiving the first one 20 one or more instruction sets for operating the device
  ormore instruction sets for operating the device from at least includes at least one of: tracing, profiling , or instrumentation
   one of: the memory unit, the device , a virtual machine, a          of the processor circuit or tracing, profiling, or instrumen
   runtime engine , a hard drive , a storage device , a peripheral     tation of a component of the processor circuit . In further
   device , a network connected device, or a user. In further          embodiments , the receiving the first one or more instruction
   embodiments , the receiving the first one or more instruction 25 sets for operating the device includes at least one of: tracing ,
   sets for operating the device includes receiving the first one      profiling, or instrumentation of an application or an objectof
   or more instruction sets for operating the device from a            the application , the application running on the processor
   plurality of processor circuits, applications ,memory units ,       circuit . In further embodiments , the receiving the first one or
   devices, virtual machines, runtime engines, hard drives ,           more instruction sets for operating the device includes at
   storage devices , peripheral devices, network connected 30 least one of: tracing, profiling, or instrumentation at a source
   devices, or users .                                                 code write time, a compile time, an interpretation time, a
     In some embodiments, the processor circuit includes a             translation time, a linking time, a loading time, or a runtime.
  logic circuit , and wherein the receiving the first one or more      In further embodiments, the receiving the first one or more
  instruction sets for operating the device includes receiving         instruction sets for operating the device includes at least one
   the first one or more instruction sets for operating the device 35 of: tracing, profiling , or instrumentation of one or more of
   from the logic circuit. In further embodiments, the logic           code segments, lines of code , statements, instructions, func
   circuit includes a microcontroller. In further embodiments,         tions , routines, subroutines, or basic blocks. In further
  the receiving the first one or more instruction sets for             embodiments, the receiving the first one or more instruction
  operating the device from the logic circuit includes receiving       sets for operating the device includes at least one of: tracing ,
   the first one or more instruction sets for operating the device 40 profiling, or instrumentation of a user input. In further
   from an element of the logic circuit . In further embodiments,      embodiments, the receiving the first one or more instruction
  the receiving the first one or more instruction sets for            s ets for operating the device includes at least one of: a
  operating the device from the logic circuit includes receiving       manual, an automatic , a dynamic , or a just in time ( JIT )
  one or more inputs into the logic circuit. In further embodi -       tracing, profiling , or instrumentation . In further embodi
  ments , the receiving the first one or more instruction sets for 45 ments , the receiving the first one or more instruction sets for
   operating the device from the logic circuit includes receiving      operating the device includes utilizing at least one of: a
   one or more outputs from the logic circuit .                        .NET tool, a .NET application programming interface (API),
     In certain embodiments , the receiving the first one or           a Java tool, a Java API, a logging tool, or an independent tool
  more instruction sets for operating the device includes              for obtaining instruction sets. In further embodiments, the
   receiving the first one or more instruction sets for operating 50 receiving the first one or more instruction sets for operating
  the device from an application for operating the device , the        the device includes utilizing an assembly language . In
  application running on the processor circuit .                       further embodiments , the receiving the first one or more
     In some embodiments , the system further comprises: an            instruction sets for operating the device includes utilizing a
  application including instruction sets for operating the branch or a jump. In further embodiments, the receiving the
  device , the application running on the processor circuit , 55 first one or more instruction sets for operating the device
  wherein the receiving the first one or more instruction sets includes a branch tracing or a simulation tracing .
   for operating the device includes receiving the first one or           In further embodiments, the system further comprises : an
  more instruction sets for operating the device from the              interface configured to receive instruction sets, wherein the
  application .                                                        first one or more instruction sets for operating the device are
     In certain embodiments , the receiving the first one or 60 received by the interface . The interface may include an
  more instruction sets for operating the device includes              acquisition interface .
   receiving the one or more instruction sets at a source code            In some embodiments , the first collection of object rep
  write time, a compile time, an interpretation time, a trans          resentations correlated with the first one or more instruction
  lation time, a linking time, a loading time, or a runtime. In        sets for operating the device include a knowledge of how the
   further embodiments, the receiving the first one or more 65 device operated in a circumstance . In further embodiments ,
   instruction sets for operating the device includes at least one     the first collection of object representations correlated with
  of: tracing , profiling , or instrumentation of a source code , a    the first one ormore instruction sets for operating the device
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                                                       US 10 ,452 , 974 B1
   are included in a neuron , a node, a vertex , or an element of       device include a user ' s knowledge, style , or methodology of
   a knowledgebase . In further embodiments, the knowledge -            operating the device in circumstances . In further embodi
   base includes a neural network , a graph , a collection of           ments , the plurality of collections of object representations
   sequences, a sequence , a collection of knowledge cells , a          correlated with one or more instruction sets for operating the
  knowledge structure , or a data structure. In further embodi- 5 device are stored on a remote computing device or a remote
  ments, some of the neurons, nodes , vertices, or elements are         computing system . In further embodiments, the plurality of
  interconnected . In further embodiments, the first collection         collections of object representations correlated with one or
  of object representations correlated with the first one or           more instruction sets for operating the device include an
  more instruction sets for operating the device are structured         artificial intelligence system for knowledge structuring , stor
   into a knowledge cell. In further embodiments , the knowl- 10 ing , or representation . The artificial intelligence system for
   edge cell is included in a neuron , a node, a vertex , or an        knowledge structuring , storing , or representation may
   element of a knowledgebase . The knowledgebase may                  include at least one of: a deep learning system , a supervised
   include a neural network , a graph , a collection of sequences,      learning system , an unsupervised learning system , a neural
   a sequence , a collection of knowledge cells, a knowledge            network , a search -based system , an optimization -based sys
   structure , or a data structure. Some of the neurons, nodes, 15 tem , a logic -based system , a fuzzy logic -based system , a
  vertices , or elements may be interconnected . In further             tree -based system , a graph - based system , a hierarchical
  embodiments, the learning the first collection of object              system , a symbolic system , a sub -symbolic system , an
  representations correlated with the first one or more instruc -       evolutionary system , a genetic system , a multi- agent system ,
  tion sets for operating the device includes correlating the           a deterministic system , a probabilistic system , or a statistical
   first collection of object representations with the first one or 20 system .
  more instruction sets for operating the device. In further              In some embodiments , the anticipating the first one or
  embodiments , the correlating the first collection of object          more instruction sets for operating the device correlated with
   representations with the first one or more instruction sets for      the first collection of object representations based on at least
   operating the device includes generating a knowledge cell,           a partial match between the new collection of object repre
   the knowledge cell comprising the first collection of object 25 sentations and the first collection of object representations
  representations correlated with the first one or more instruc -       includes comparing at least one portion of the new collection
  tion sets for operating the device . In further embodiments,          of object representations with at least one portion of the first
  the correlating the first collection of object representations        collection of object representations. In further embodiments ,
  with the first one or more instruction sets for operating the         the at least one portion of the new collection of object
  device includes structuring a knowledge of how the device 30 representations include at least one object representation or
   operated in a circumstance . In further embodiments , the            at least one object property of the new collection of object
   learning the first collection of object representations corre -      representations. In further embodiments , the at least one
   lated with the first one or more instruction sets for operating      portion of the first collection of object representations
   the device includes learning a user 's knowledge, style , or         include at least one object representation or at least one
  methodology of operating the device in a circumstance .            35 object property of the first collection of object representa
     In certain embodiments , the learning the first collection of      tions . In further embodiments , the anticipating the first one
  object representations correlated with the first one or more          or more instruction sets for operating the device correlated
   instruction sets for operating the device includes storing the       with the first collection of object representations based on at
   first collection of object representations correlated with the       least a partial match between the new collection of object
   first one ormore instruction sets for operating the device into 40 representations and the first collection of object representa
  the memory unit , the first collection of object representa -         tions includes comparing at least one object representation
  tions correlated with the first one or more instruction sets for      from the new collection of object representations with at
  operating the device being part of a plurality of collections         least one object representation from the first collection of
  of object representations correlated with one or more                 object representations. In further embodiments, the compar
   instruction sets for operating the device stored in the 45 ing at least one object representation from the new collection
  memory unit . In further embodiments , the plurality of col-          of object representations with at least one object represen
   lections of object representations correlated with one or            tation from the first collection of object representations
  more instruction sets for operating the device include a              includes comparing at least one object property of the at
  neural network , a graph , a collection of sequences , a         least one object representation from the new collection of
  sequence , a collection ofknowledge cells , a knowledgebase , 50 object representations with at least one object property of the
  a knowledge structure, or a data structure . In further embodi-  at least one object representation from the first collection of
  ments , the plurality of collections of object representations        object representations.
  correlated with one or more instruction sets for operating the          In certain embodiments , the anticipating the first one or
  device are organized into a neural network , a graph , a              more instruction sets for operating the device correlated with
   collection of sequences , a sequence , a collection of knowl- 55 the first collection of object representations based on at least
   edge cells , a knowledgebase , a knowledge structure , or a          a partial match between the new collection of object repre
   data structure . In further embodiments , each of the plurality      sentations and the first collection of object representations
  of collections of object representations correlated with one          includes determining that there is at least a partial match
   ormore instruction sets for operating the device is included         between the new collection of object representations and the
  in a neuron , a node, a vertex , or an element of a knowl- 60 first collection of object representations. In further embodi
  edgebase . The knowledgebase may include a neural net -       ments , the determining that there is at least a partial match
  work , a graph , a collection of sequences , a sequence , a   between the new collection of object representations and the
   collection of knowledge cells, a knowledge structure , or a          first collection of object representations includes determin
   data structure. Some of the neurons, nodes , vertices, or           ing that there is at least a partial match between one or more
   elements may be interconnected . In further embodiments , 65 portions of the new collection of object representations and
  the plurality of collections of object representations corre -        one or more portions of the first collection of object repre
   lated with one or more instruction sets for operating the            sentations . In further embodiments, the determining that
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                                                                                                     10
  there is at least a partial match between the new collection            In certain embodiments, the causing the processor circuit
  of object representations and the first collection of object         to execute the first one or more instruction sets for operating
  representations includes determining that a similarity               the device correlated with the first collection of object
  between at least one portion of the new collection of object         representations includes causing the processor circuit to
  representations and at least one portion of the first collection 5 execute the first one or more instruction sets for operating
  of object representations exceeds a similarity threshold . In      the device correlated with the first collection of object
   further embodiments, the determining that there is at least a       representations instead of or prior to an instruction set that
   partial match between the new collection of object repre            would have been executed next. In further embodiments , the
   sentations and the first collection of object representations       causing the processor circuit to execute the first one or more
   includes determining a substantial similarity between at least 10 instruction sets for operating the device correlated with the
  one portion of the new collection of object representations          first collection of object representations includes modifying
  and at least one portion of the first collection of object           one or more instruction sets of the processor circuit. In
  representations. The substantial similarity may be achieved          further embodiments , the causing the processor circuit to
  when a similarity between the at least one portion of the new        execute the first one or more instruction sets for operating
   collection of object representations and the at least one 15 the device correlated with the first collection of object
  portion of the first collection of object representations            representations includes modifying a register or an element
  exceeds a similarity threshold . The substantial similarity          of the processor circuit. In further embodiments, the causing
  may be achieved when a number or a percentage of match               the processor circuit to execute the first one or more instruc
   ing or partially matching portions of the new collection of         tion sets for operating the device correlated with the first
  object representations and portions of the first collection of 20 collection of object representations includes inserting the
  object representations exceeds a threshold number or thresh          first one or more instruction sets for operating the device
  old percentage . In further embodiments , the determining that       correlated with the first collection of object representations
  there is at least a partial match between the new collection         into a register or an element of the processor circuit. In
  of object representations and the first collection of object         further embodiments , the causing the processor circuit to
  representations includes determining that a number or a 25 execute the first one or more instruction sets for operating
   percentage of matching or partially matching object repre -         the device correlated with the first collection of object
   sentations from the new collection of object representations        representations includes redirecting the processor circuit to
  and from the first collection of object representations       the first one or more instruction sets for operating the device
  exceeds a threshold number or threshold percentage . The      correlated with the first collection of object representations.
  matching or partially matching object representations from 30 In further embodiments , the causing the processor circuit to
   the new collection of object representations and from the           execute the first one or more instruction sets for operating
   first collection of object representations may be determined        the device correlated with the first collection of object
   factoring in at least one of a type of an object representation ,   representations includes redirecting the processor circuit to
   an importance of an object representation , a threshold for a    one or more alternate instruction sets , the alternate instruc
   similarity in an object representation , or a threshold for a 35 tion sets comprising the first one or more instruction sets for
   difference in an object representation . In further embodi-         operating the device correlated with the first collection of
  ments, the determining that there is at least a partial match        object representations. In further embodiments, the causing
  between the new collection of object representations and the         the processor circuit to execute the first one or more instruc
   first collection of object representations includes determin -      tion sets for operating the device correlated with the first
   ing that a number or a percentage of matching or partially 40 collection of object representations includes transmitting, to
  matching object properties from the new collection ofobject          the processor circuit for execution , the first one or more
  representations and from the first collection of object rep -        instruction sets for operating the device correlated with the
  resentations exceeds a threshold number or threshold per -           first collection of object representations. In further embodi
   centage. The matching or partially matching object proper -         ments, the executing the first one or more instruction sets for
   ties from the new collection of object representations and 45 Operating the device correlated with the first collection of
   from the first collection of object representations may be          object representations includes issuing an interrupt to the
   determined factoring in at least one of: an association of an       processor circuit and executing the first one ormore instruc
   object property with an object representation , a category of       tion sets for operating the device correlated with the first
   an object property , an importance of an object property, a         collection of object representations following the interrupt.
   threshold for a similarity in an object property , or a threshold 50 In further embodiments , the causing the processor circuit to
  for a difference in an object property . In further embodi-          execute the first one or more instruction sets for operating
  ments, the determining that there is at least a partial match        the device correlated with the first collection of object
  between the new collection of object representations and the         representations includes modifying an element that is part
   first collection of object representations includes determin -      of, operating on , or coupled to the processor circuit.
  ing that there is at least a partialmatch between at least one 55 In some embodiments , the processor circuit includes a
  object representation from the new collection of object          logic circuit, and wherein the causing the processor circuit
  representations and at least one object representation from      to execute the first one or more instruction sets for operating
  the first collection of object representations. The determin -   the device correlated with the first collection of object
   ing that there is at least a partialmatch between at least one      representations includes causing the logic circuit to execute
   object representation from the new collection of object 60 the first one or more instruction sets for operating the device
   representations and at least one object representation from     correlated with the first collection of object representations.
   the first collection of object representations includes deter - In further embodiments , the logic circuit includes a micro
  mining that there is at least a partial match between at least       controller. In further embodiments, the causing the logic
   one object property of the at least one object representation       circuit to execute the first one or more instruction sets for
   from the new collection of object representations and at least 65 operating the device correlated with the first collection of
   one object property of the at least one object representation       object representations includes modifying an element of the
   from the first collection of object representations.                logic circuit. In further embodiments, the causing the logic
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                                                       US 10 ,452 ,974 B1
                                                                                                   12
   circuit to execute the first one or more instruction sets for      sets for operating the device correlated with the first collec
   operating the device correlated with the first collection of       tion of object representations includes modifying at least one
  object representations includes inserting the first one or          of: the memory unit, a register of the processor circuit, a
  more instruction sets for operating the device correlated with      storage , or a repository where instruction sets are stored or
   the first collection of object representations into an element 5 used . In further embodiments , the causing the processor
   of the logic circuit . In further embodiments , the causing the    circuit to execute the first one or more instruction sets for
   logic circuit to execute the first one or more instruction sets    operating the device correlated with the first collection of
   for operating the device correlated with the first collection of   object representations includes modifying one or more
  object representations includes redirecting the logic circuit  instruction sets for operating an application or an object of
  to the first one or more instruction sets for operating the 10 the application , the application running on the processor
  device correlated with the first collection of object repre -  circuit. In further embodiments , the causing the processor
   sentations . In further embodiments , the causing the logic        circuit to execute the first one or more instruction sets for
   circuit to execute the first one or more instruction sets for      operating the device correlated with the first collection of
   operating the device correlated with the first collection of       object representations includes modifying at least one of: an
  object representations includes replacing inputs into the 15 element of the processor circuit, an element of the device, a
   logic circuit with the first one or more instruction sets for      virtual machine, a runtime engine , an operating system , an
   operating the device correlated with the first collection of       execution stack , a program counter, or a user input. In
   object representations. In further embodiments , the causing       further embodiments , the causing the processor circuit to
  the logic circuit to execute the first one or more instruction      execute the first one or more instruction sets for operating
   sets for operating the device correlated with the first collec - 20 the device correlated with the first collection of object
   tion of object representations includes replacing outputs          representations includes modifying one or more instruction
   from the logic circuit with the first one or more instruction      sets at a source code write time, a compile time, an inter
   sets for operating the device correlated with the first collec   pretation time, a translation time, a linking time, a loading
   tion of object representations .                                 time, or a runtime. In further embodiments , the causing the
      In certain embodiments , the causing the processor circuit 25 processor circuit to execute the first one or more instruction
   to execute the first one or more instruction sets for operating  sets for operating the device correlated with the first collec
   the device correlated with the first collection of object tion of object representations includes modifying one or
   representations includes causing an application for operating more code segments , lines of code , statements, instructions,
  the device to execute the first one or more instruction sets for    functions, routines , subroutines, or basic blocks . In further
  operating the device correlated with the first collection of 30 embodiments , the causing the processor circuit to execute
   object representations, the application running on the pro -       the first one or more instruction sets for operating the device
   cessor circuit .                                                   correlated with the first collection of object representations
     In some embodiments, the system further comprises: an            includes a manual, an automatic , a dynamic , or a just in time
  application including instruction sets for operating the            ( JIT ) instrumentation of an application , the application run
  device , the application running on the processor circuit, 35 ning on the processor circuit . In further embodiments, the
  wherein the causing the processor circuit to execute the first causing the processor circuit to execute the first one or more
  one or more instruction sets for operating the device corre    instruction sets for operating the device correlated with the
  lated with the first collection of object representations first collection of object representations includes utilizing
   includes modifying the application .                               one or more of a .NET tool, a .NET application program
   In further embodiments , the causing the processor circuit to 40 ming interface (API), a Java tool, a Java API, an operating
   execute the first one or more instruction sets for operating       system tool, or an independent tool for modifying instruc
   the device correlated with the first collection of object          tion sets . In further embodiments , the causing the processor
  representations includes redirecting an application to the         circuit to execute the first one or more instruction sets for
  first one or more instruction sets for operating the device        operating the device correlated with the first collection of
  correlated with the first collection of object representations, 45 object representations includes utilizing at least one of: a
  the application running on the processor circuit. In further        dynamic , an interpreted , or a scripting programming lan
   embodiments , the causing the processor circuit to execute         guage. In further embodiments , the causing the processor
   the first one or more instruction sets for operating the device    circuit to execute the first one or more instruction sets for
   correlated with the first collection of object representations     operating the device correlated with the first collection of
   includes redirecting an application to one or more alternate 50 object representations includes utilizing at least one of: a
   instruction sets, the application running on the processor         dynamic code , a dynamic class loading, or a reflection . In
  circuit , the alternate instruction sets comprising the first one   further embodiments , the causing the processor circuit to
  or more instruction sets for operating the device correlated        execute the first one or more instruction sets for operating
  with the first collection of object representations. In further     the device correlated with the first collection of object
   embodiments , the causing the processor circuit to execute 55 representations includes utilizing an assembly language . In
   the first one or more instruction sets for operating the device    further embodiments, the causing the processor circuit to
   correlated with the first collection of object representations     execute the first one or more instruction sets for operating
   includes modifying one or more instruction sets of an              the device correlated with the first collection of object
   application, the application running on the processor circuit.     representations includes utilizing at least one of: a metapro
   In further embodiments , the causing the processor circuit to 60 gramming , a self -modifying code, or an instruction set
  execute the first one or more instruction sets for operating        modification tool. In further embodiments , the causing the
   the device correlated with the first collection of object          processor circuit to execute the first one ormore instruction
  representations includes modifying a source code, a byte -          sets for operating the device correlated with the first collec
   code, an intermediate code, a compiled code , an interpreted       tion of object representations includes utilizing at least one
   code, a translated code, a runtime code, an assembly code , 65 of: just in time (JIT ) compiling, JIT interpretation , JIT
   or a machine code. In further embodiments , the causing the translation , dynamic recompiling , or binary rewriting . In
   processor circuit to execute the first one or more instruction further embodiments, the causing the processor circuit to
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                                                        US 10 ,452 , 974 B1
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  execute the first one or more instruction sets for operating              device , or an information on an user . In further embodi
  the device correlated with the first collection of object                m ents , the artificial intelligence unit is further configured to :
  representations includes utilizing at least one of: a dynamic             learn the first collection of object representations correlated
   expression creation , a dynamic expression execution , a                 with the at least one extra information . The learning the first
   dynamic function creation , or a dynamic function execution . 5 collection of object representations correlated with at least
   In further embodiments , the causing the processor circuit to            one extra information may include correlating the first
   execute the first one or more instruction sets for operating             collection of object representations with the at least one
   the device correlated with the first collection of object                extra information . The learning the first collection of object
   representations includes adding or inserting additional code             representations correlated with at least one extra information
   into a code of an application , the application running on the 10 may include storing the first collection of object represen
   processor circuit . In further embodiments, the causing the              tations correlated with the at least one extra information into
   processor circuit to execute the first one or more instruction           the memory unit. In further embodiments , the anticipating
   sets for operating the device correlated with the first collec -         the first one or more instruction sets for operating the device
   tion of object representations includes at least one of:                 correlated with the first collection of object representations
  modifying, removing, rewriting , or overwriting a code of an 15 based on at least a partialmatch between the new collection
   application , the application running on the processor circuit.          of object representations and the first collection of object
   In further embodiments , the causing the processor circuit to            representations includes anticipating the first one or more
  execute the first one or more instruction sets for operating              instruction sets for operating the device correlated with the
  the device correlated with the first collection of object                 first collection of object representations based on at least a
   representations includes at least one of: branching , redirect - 20 partial match between an extra information correlated with
   ing, extending , or hot swapping a code of an application , the          the new collection of object representations and an extra
  application running on the processor circuit . The branching              information correlated with the first collection of object
  or redirecting the code may include inserting at least one of:            representations. The anticipating the first one or more
  a branch , a jump , or a means for redirecting an execution . In          instruction sets for operating the device correlated with the
   further embodiments , the executing the first one or more 25 first collection of object representations based on at least a
   instruction sets for operating the device correlated with the partial match between an extra information correlated with
   first collection of object representations includes implement            the new collection of object representations and an extra
   ing a user' s knowledge , style , or methodology of operating            information correlated with the first collection of object
  the device in a circumstance.                                   representations may include comparing an extra information
     In certain embodiments , the system further comprises: an 30 correlated with the new collection of object representations
   interface configured to cause execution of instruction sets ,            and an extra information correlated with the first collection
  wherein the executing the first one or more instruction sets             of object representations. The anticipating the first one or
  for operating the device correlated with the first collection of         more instruction sets for operating the device correlated with
   object representations is caused by the interface . The inter -          the first collection of object representations based on at least
   face may include a modification interface .                        35 a partialmatch between an extra information correlated with
    In some embodiments , the one or more operations defined                the new collection of object representations and an extra
  by the first one or more instruction sets for operating the               information correlated with the first collection of object
  device correlated with the first collection of object repre - representations may include determining that a similarity
  sentations include one or more operations with or by a        between an extra information correlated with the new col
  computing enabled device . In further embodiments, the 40 lection of object representations and an extra information
  performing the one or more operations defined by the first                correlated with the first collection of object representations
  one or more instruction sets for operating the device corre -             exceeds a similarity threshold .
  lated with the first collection of object representations                    In certain embodiments , the system further comprises : a
  includes implementing a user' s knowledge , style, or meth -              user interface , wherein the artificial intelligence unit is
  odology of operating the device in a circumstance .                 45 further configured to : cause the user interface to present a
      In certain embodiments , the system further comprising:              user with an option to execute the first one or more instruc
   an application running on the processor circuit.                         tion sets for operating the device correlated with the first
      In some embodiments , the instruction sets for operating              collection of object representations.
   the device are part of an application for operating the device ,            In some embodiments, the system further comprises : a
   the application running on the processor circuit .                 50 user interface, wherein the artificial intelligence unit is
     In certain embodiments, the system of further comprises :              further configured to : receive , via the user interface , a user' s
   an application for operating the device , the application                selection to execute the first one or more instruction sets for
  running on the processor circuit . The application for oper -             operating the device correlated with the first collection of
   ating the device may include the instruction sets for oper-              object representations .
  ating the device.                                                   55       In certain embodiments , the artificial intelligence unit is
     In some embodiments, the artificial intelligence unit is               further configured to: rate the executed first one or more
   further configured to : receive at least one extra information .         instruction sets for operating the device correlated with the
   In further embodiments , the at least one extra information              first collection of object representations . The rating the
  include one or more of: a time information , a location                   executed first one or more instruction sets for operating the
   information , a computed information , or a contextual infor- 60 device correlated with the first collection of object repre
  mation . In further embodiments, the at least one extra                   sentations may include causing a user interface to display
   information include one or more of: an information on an                 the executed first one or more instruction sets for operating
  object, an information on an object representation , an infor -           the device correlated with the first collection of object
  mation on a collection of object representations , an infor -             representations along with one or more rating values as
  mation on a device ' s circumstance , an information on an 65 options to be selected by a user. The rating the executed first
  instruction set, an information on an application , an infor -            one or more instruction sets for operating the device corre
  mation on the processor circuit , an information on the                   lated with the first collection of object representations may
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                                                       US 10 ,452 , 974 B1
                                 15                                                                 16
   include rating the executed first one ormore instruction sets      one or more instruction sets for operating the device and the
   for operating the device correlated with the first collection of   second collection of object representations correlated with
   object representations without a user input.                       the second one or more instruction sets for operating the
     In some embodiments, the system further comprises: a             device . The updating the connection between the first col
  user interface , wherein the artificial intelligence unit is 5 lection of object representations correlated with the first one
   further configured to : cause the user interface to present a      or more instruction sets for operating the device and the
   user with an option to cancel the execution of the executed        second collection of object representations correlated with
   first one or more instruction sets for operating the device        the second one or more instruction sets for operating the
   correlated with the first collection of object representations.    device may include updating at least one of: an occurrence
   In further embodiments , the canceling the execution of the 10 count, a weight, a parameter, or a data included in or
  executed first one or more instruction sets for operating the       associated with the connection . In further embodiments, the
  device correlated with the first collection of object repre -       learning the first collection of object representations corre
   sentations includes restoring the processor circuit or the         lated with the first one or more instruction sets for operating
  device to a prior state . The restoring the processor circuit or    the device includes storing the first collection of object
  the device to a prior state may include saving the state of the 15 representations correlated with the first one or more instruc
  processor circuit or the device prior to executing the first one   tion sets for operating the device into a first node of a
   or more instruction sets for operating the device correlated       knowledgebase , and wherein the learning the second col
  with the first collection of object representations.               lection of object representations correlated with the second
     In certain embodiments, the system further comprises : an       one or more instruction sets for operating the device
  input device configured to receive a user ' s operating direc - 20 includes storing the second collection of object representa
  tions, the user ' s operating directions for instructing the tions correlated with the second one or more instruction sets
  processor circuit on how to operate the device .                   for operating the device into a second node of the knowl
      In some embodiments, the autonomous device operating            edgebase . The knowledgebase may include a neural net
   includes a partially or a fully autonomous device operating        work , a graph , a collection of sequences, a sequence , a
   The partially autonomous device operating may include 25 collection of knowledge cells , a knowledge structure , or a
  executing the first one or more instruction sets for operating data structure . The knowledgebase may be stored in the
  the device correlated with the first collection of object memory unit . The learning the first collection of object
  representations responsive to a user confirmation . In further representations correlated with the first one or more instruc
  embodiments, the fully autonomous device operating may tion sets for operating the device and the learning the second
   include executing the first one or more instruction sets for 30 collection of object representations correlated with the sec
   operating the device correlated with the first collection of       ond one or more instruction sets for operating the device
  object representations without a user confirmation .                include creating a connection between the first node and the
      In certain embodiments, the artificial intelligence unit is     second node. The learning the first collection of object
   further configured to : receive a second collection of object      representations correlated with the first one or more instruc
  representations, the second collection of object representa - 35 tion sets for operating the device and the learning the second
  tions including one or more representations of objects              collection of object representations correlated with the sec
  detected by the sensor ; receive a second one or more               ond one or more instruction sets for operating the device
  instruction sets for operating the device ; and learn the           include updating a connection between the first node and the
   second collection of object representations correlated with        second node . In further embodiments, the first collection of
   the second one or more instruction sets for operating the 40 object representations correlated with the first one or more
  device . In further embodiments, the second collection of           instruction sets for operating the device is stored into a first
  object representations includes one or more representations         node of a neural network and the second collection of object
  of objects detected by the sensor at a time. In further             representations correlated with the second one or more
   embodiments , the second collection of object representa           instruction sets for operating the device is stored into a
   tions includes a stream of collections of object representa - 45 second node of the neural network . The first node and the
   tions. In further embodiments , the second collection of         second node may be connected by a connection . The first
  object representations includes or is associated with a time        node may be part of a first layer of the neural network and
   stamp, an order , or a time related information . In further       the second node may be part of a second layer of the neural
   embodiments , the learning the first collection of object          network . In further embodiments , the first collection of
   representations correlated with the first one or more instruc - 50 object representations correlated with the first one or more
  tion sets for operating the device and the learning the second      instruction sets for operating the device is stored into a first
  collection of object representations correlated with the sec -      node of a graph and the second collection of object repre
  ond one or more instruction sets for operating the device           sentations correlated with the second one or more instruction
   include creating a connection between the first collection of      sets for operating the device is stored into a second node of
  object representations correlated with the first one or more 55 the graph . The first node and the second node may be
   instruction sets for operating the device and the second           connected by a connection . In further embodiments, the first
   collection of object representations correlated with the sec -     collection of object representations correlated with the first
  ond one or more instruction sets for operating the device .         one or more instruction sets for operating the device is stored
   The connection may include or be associated with at least          into a first node of a sequence and the second collection of
  one of: an occurrence count, a weight, a parameter , or a data . 60 object representations correlated with the second one or
  In further embodiments , the learning the first collection of       more instruction sets for operating the device is stored into
  object representations correlated with the first one or more        a second node of the sequence .
  instruction sets for operating the device and the learning the        In some aspects , the disclosure relates to a non -transitory
   second collection of object representations correlated with        computer storage medium having a computer program
   the second one or more instruction sets for operating the 65 stored thereon , the program including instructions that when
   device include updating a connection between the first             executed by one ormore processor circuits cause the one or
   collection of object representations correlated with the first     more processor circuits to perform operations comprising :
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  receiving a first collection of object representations, the first   tion of object representations, the one or more operations by
   collection of object representations including one or more         the device performed in response to the executing of ( f ).
   representations of objects detected by a sensor. The opera -          In certain embodiments , the receiving of (b ) includes
   tions may further include: receiving a first one or more           receiving the first one or more instruction sets for operating
   instruction sets for operating a device . The operations may 5 the device from the processor circuit or from another pro
   further include: learning the first collection of object repre -   cessor circuit. In further embodiments, the executing of (f )
  sentations correlated with the first one or more instruction        is performed by the processor circuit or by another processor
   sets for operating the device . The operations may further circuit.
   include : receiving a new collection of object representations,     The operations or steps of the non -transitory computer
   the new collection of object representations including one or 10 storage medium and/or the method may be performed by
  more representations of objects detected by the sensor. The         any of the elements of the above described systems as
  operations may further include : anticipating the first one or      applicable . The non -transitory computer storage medium
  more instruction sets for operating the device correlated with      and / or the method may include any of the operations, steps,
   the first collection of object representations based on at least   and embodiments of the above described systems, non
   a partial match between the new collection of object repre - 15 transitory computer storage media , and / or methods as appli
   sentations and the first collection of object representations . cable as well as the following embodiments .
   The operations may further include : causing an execution of          In some embodiments, the first one or more instruction
   the first one or more instruction sets for operating the device    sets for operating the device are executed by a processor
   correlated with the first collection of object representations,    circuit. In further embodiments, the first one ormore instruc
   the causing performed in response to the anticipating the 20 tion sets for operating the device are part of an application
   first one or more instruction sets for operating the device         for operating the device . In further embodiments , the first
   correlated with the first collection of object representations     one or more instruction sets for operating the device include
   based on at least a partial match between the new collection       one or more inputs into or one or more outputs from a
   of object representations and the first collection of object       processor circuit. In further embodiments , the first one or
  representations, wherein the device performs one or more 25 more instruction sets for operating the device include values
   operations defined by the first one or more instruction sets       or states of one or more registers or elements of a processor
   for operating the device correlated with the first collection of   circuit . In further embodiments , the first one or more instruc
   object representations , the one or more operations by the         tion sets for operating the device include one or more inputs
  device performed in response to the execution .                into a logic circuit . In further embodiments, the first one or
     In certain embodiments , the receiving the first one or 30 more instruction sets for operating the device include one or
  more instruction sets for operating the device includes             more outputs from a logic circuit . In further embodiments ,
  receiving the first one or more instruction sets for operating      the first one or more instruction sets for operating the device
  the device from the one or more processor circuits or from          include one or more instruction sets for operating an appli
   another one or more processor circuits . In further embodi-        cation or an object of the application .
  ments, the execution of the first one or more instruction sets 35 In certain embodiments, the receiving the first one or
  for operating the device correlated with the first collection of more instruction sets for operating the device includes
  object representations is performed by the one or more              receiving the first one or more instruction sets for operating
  processor circuits or by another one or more processor              the device from a processor circuit . In further embodiments,
   circuits .                                                         the receiving the first one or more instruction sets for
      In some aspects , the disclosure relates to a method com - 40 operating the device includes receiving the first one or more
  prising: (a ) receiving a first collection of object representa     instruction sets for operating the device as they are executed
  tions by a processor circuit, the first collection of object        by a processor circuit. In further embodiments , the receiving
   representations including one or more representations of           the first one or more instruction sets for operating the device
   objects detected by a sensor. The method may further                includes receiving the first one or more instruction sets for
   include: ( b ) receiving a first one or more instruction sets for 45 Operating the device from a register or an element of a
   operating a device by the processor circuit. The method may        processor circuit . In further embodiments , the receiving the
   further include : ( c ) learning the first collection of object     first one or more instruction sets for operating the device
   representations correlated with the first one or more instruc -    includes receiving the first one or more instruction sets for
   tion sets for operating the device , the learning of (c ) per -    operating the device from an element that is part of, oper
   formed by the processor circuit . The method may further 50 ating on , or coupled to a processor circuit. In further
   include: (d ) receiving a new collection of object represen -      embodiments , the receiving the first one or more instruction
   tations by the processor circuit, the new collection of object     sets for operating the device includes receiving the first one
   representations including one or more representations of           or more instruction sets for operating the device from at least
   objects detected by the sensor. The method may further             one of: the memory unit, the device , a virtual machine , a
  include: ( e ) anticipating the first one or more instruction sets 55 runtime engine, a hard drive , a storage device, a peripheral
  for operating the device correlated with the first collection of      device , a network connected device , or a user. In further
  object representations based on at least a partial match              embodiments , the receiving the first one or more instruction
  between the new collection of object representations and the          sets for operating the device includes receiving the first one
   first collection of object representations, the anticipating of    or more instruction sets for operating the device from a
   ( e ) performed by the processor circuit. The method may 60 plurality of processor circuits , applications, memory units ,
   further include: (f) executing the first one or more instruc -     devices, virtual machines , runtime engines, hard drives ,
   tion sets for operating the device correlated with the first       storage devices , peripheral devices, network connected
   collection of object representations, the executing of ( f)        devices , or users .
   performed in response to the anticipating of ( e ). The method        In some embodiments , the receiving the first one or more
  may further include : ( g ) performing , by the device , one or 65 instruction sets for operating the device includes receiving
  more operations defined by the first one or more instruction       the first one or more instruction sets for operating the device
  sets for operating the device correlated with the first collec -   from a logic circuit. In further embodiments , the logic circuit
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  includes a microcontroller. In further embodiments, the                representations includes modifying one or more instruction
  receiving the first one or more instruction sets for operating         sets of a processor circuit. In further embodiments, the
   the device from the logic circuit includes receiving the first        executing the first one or more instruction sets for operating
  one ormore instruction sets for operating the device from an           the device correlated with the first collection of object
   element of the logic circuit. In further embodiments , the 5 representations includes modifying a register or an element
  receiving the first one ormore instruction sets for operating          of a processor circuit. In further embodiments , the executing
  the device from the logic circuit includes receiving one or            the first one or more instruction sets for operating the device
  more inputs into the logic circuit. In further embodiments ,      correlated with the first collection of object representations
  the receiving the first one or more instruction sets for          includes inserting the first one or more instruction sets for
  operating the device from the logic circuit includes receiving 10 Operating the device correlated with the first collection of
  one or more outputs from the logic circuit .                           object representations into a register or an element of a
     In certain embodiments, the receiving the first one or              processor circuit. In further embodiments, the executing the
  more instruction sets for operating the device includes                first one or more instruction sets for operating the device
  receiving the first one or more instruction sets for operating         correlated with the first collection of object representations
   the device from an application for operating the device . In 15 includes redirecting a processor circuit to the first one or
  further embodiments, the receiving the first one or more              more instruction sets for operating the device correlated with
  instruction sets for operating the device includes receiving           the first collection of object representations . In further
   the first one or more instruction sets for operating the device       embodiments , the executing the first one or more instruction
   from an application , the application including instruction           sets for operating the device correlated with the first collec
   sets for operating the device . In further embodiments , the 20 tion of object representations includes redirecting a proces
   receiving the first one or more instruction sets for operating        sor circuit to one or more alternate instruction sets, the
   the device includes at least one of: tracing , profiling, or          alternate instruction sets comprising the first one or more
   instrumentation of an element that is part of, operating on           instruction sets for operating the device correlated with the
   or coupled to a processor circuit . In further embodiments ,          first collection of object representations . In further embodi
  the receiving the first one or more instruction sets for 25 ments , the executing the first one or more instruction sets for
   operating the device includes at least one of: tracing, pro -         operating the device correlated with the first collection of
   filing, or instrumentation of a register of a processor circuit       object representations includes transmitting , to a processor
   the memory unit , a storage, or a repository where the first          circuit for execution , the first one or more instruction sets for
   one or more instruction sets for operating the device are             operating the device correlated with the first collection of
   stored . In further embodiments , the receiving the first one or 30 object representations. In further embodiments , the execut
  more instruction sets for operating the device includes at            ing the first one or more instruction sets for operating the
   least one of: tracing, profiling, or instrumentation of a             device correlated with the first collection of object repre
   processor circuit , the device , a virtual machine , a runtime        sentations includes issuing an interrupt to a processor circuit
   engine , an operating system , an execution stack , a program         and executing the first one or more instruction sets for
   counter , or a processing element. In further embodiments , 35 operating the device correlated with the first collection of
   the receiving the first one or more instruction sets for              object representations following the interrupt. In further
  operating the device includes at least one of: tracing , pro -         embodiments , the executing the first one or more instruction
   filing , or instrumentation of a processor circuit or tracing ,       sets for operating the device correlated with the first collec
  profiling , or instrumentation of a component of a processor          tion of object representations includes modifying an element
   circuit . In further embodiments , the receiving the first one or 40 that is part of, operating on , or coupled to a processor circuit.
  more instruction sets for operating the device includes at                In some embodiments, the executing the first one or more
  least one of: tracing, profiling, or instrumentation of an             instruction sets for operating the device correlated with the
  application or an object of the application . In further               first collection of object representations includes executing ,
   embodiments, the receiving the first one or more instruction by a logic circuit, the first one or more instruction sets for
   sets for operating the device includes receiving the first one 45 operating the device correlated with the first collection of
   or more instruction sets for operating the device by an           object representations . In further embodiments, the logic
   interface . The interface may include an acquisition interface .  circuit includes a microcontroller. In further embodiments,
     In some embodiments , the learning the first collection of          the executing , by the logic circuit, the first one or more
   object representations correlated with the first one or more          instruction sets for operating the device correlated with the
   instruction sets for operating the device includes storing the 50 first collection of object representations includes modifying
   first collection of object representations correlated with the        an element of the logic circuit. In further embodiments , the
   first one or more instruction sets for operating the device into      executing, by the logic circuit , the first one or more instruc
   a memory unit, the first collection of object representations         tion sets for operating the device correlated with the first
   correlated with the first one or more instruction sets for            collection of object representations includes inserting the
  operating the device being part of a plurality of collections 55 first one or more instruction sets for operating the device
   of object representations correlated with one or more                 correlated with the first collection of object representations
  instruction sets for operating the device stored in the                into an element of the logic circuit . In further embodiments ,
  memory unit .                                                          the executing, by the logic circuit, the first one or more
      In certain embodiments, the executing the first one or             instruction sets for operating the device correlated with the
  more instruction sets for operating the device correlated with 60 first collection of object representations includes redirecting
  the first collection of object representations includes execut-        the logic circuit to the first one or more instruction sets for
  ing the first one or more instruction sets for operating the           operating the device correlated with the first collection of
  device correlated with the first collection of object repre -          object representations. In further embodiments, the execut
  sentations instead of or prior to an instruction set that would ing, by the logic circuit, the first one or more instruction sets
  have been executed next . In further embodiments, the 65 for operating the device correlated with the first collection of
  executing the first one or more instruction sets for operating  object representations includes replacing inputs into the
  the device correlated with the first collection of object logic circuit with the first one or more instruction sets for
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                                                          US 10 ,452 , 974 B1
                                  21
   operating the device correlated with the first collection of           embodiments , the executing the first one or more instruction
   object representations. In further embodiments, the execut-            sets for operating the device correlated with the first collec
   ing , by the logic circuit , the first one or more instruction sets    tion of object representations includes a manual, an auto
   for operating the device correlated with the first collection of      matic , a dynamic, or a just in time ( JIT) instrumentation of
  object representations includes replacing outputs from the 5 an application . In further embodiments , the executing the
   logic circuit with the first one or more instruction sets for          first one or more instruction sets for operating the device
   operating the device correlated with the first collection of           correlated with the first collection of object representations
   object representations.                                                includes utilizing one or more of a .NET tool, a .NET
     In certain embodiments, the executing the first one or               application programming interface (API), a Java tool, a Java
  more instruction sets for operating the device correlated with 10 API, an operating system tool , or an independent tool for
   the first collection of object representations includes execut -      modifying instruction sets . In further embodiments , the
   ing, by an application for operating the device , the first one        executing the first one or more instruction sets for operating
  or more instruction sets for operating the device correlated            the device correlated with the first collection of object
  with the first collection of object representations . In further       representations includes utilizing at least one of: a dynamic,
  embodiments, the executing the first one or more instruction 15 an interpreted, or a scripting programming language . In
  sets for operating the device correlated with the first collec - further embodiments , the executing the first one or more
  tion of object representations includes modifying an appli- instruction sets for operating the device correlated with the
   cation , the application including instruction sets for operat -       first collection of object representations includes utilizing at
   ing the device . In further embodiments, the executing the least one of: a dynamic code , a dynamic class loading , or a
   first one or more instruction sets for operating the device 20 reflection . In further embodiments , the executing the first
   correlated with the first collection of object representations one or more instruction sets for operating the device corre
   includes redirecting an application to the first one or more   lated with the first collection of object representations
   instruction sets for operating the device correlated with the          includes utilizing an assembly language . In further embodi
   first collection of object representations . In further embodi-       ments , the executing the first one or more instruction sets for
  ments , the executing the first one or more instruction sets for 25 operating the device correlated with the first collection of
  operating the device correlated with the first collection of        object representations includes utilizing at least one of: a
  object representations includes redirecting an application to       metaprogramming, a self -modifying code , or an instruction
  one or more alternate instruction sets , the alternate instruc -    setmodification tool. In further embodiments , the executing
   tion sets comprising the first one or more instruction sets for        the first one or more instruction sets for operating the device
  operating the device correlated with the first collection of 30 correlated with the first collection of object representations
   object representations . In further embodiments, the execut            includes utilizing at least one of: just in time ( JIT ) compil
   ing the first one or more instruction sets for operating the           ing , JIT interpretation , JIT translation , dynamic recompiling,
  device correlated with the first collection of object repre             or binary rewriting. In further embodiments , the executing
  sentations includes modifying one or more instruction sets        the first one or more instruction sets for operating the device
  of an application . In further embodiments , the executing the 35 correlated with the first collection of object representations
   first one or more instruction sets for operating the device            includes utilizing at least one of: a dynamic expression
   correlated with the first collection of object representations         creation , a dynamic expression execution , a dynamic func
   includes modifying a source code, a bytecode, an interme-              tion creation , or a dynamic function execution . In further
   diate code, a compiled code , an interpreted code, a translated        embodiments, the executing the first one or more instruction
   code , a runtime code, an assembly code , or a machine code . 40 sets for operating the device correlated with the first collec
   In further embodiments, the executing the first one or more            tion of object representations includes adding or inserting
   instruction sets for operating the device correlated with the          additional code into a code of an application . In further
   first collection of object representations includes modifying          embodiments , the executing the first one or more instruction
   at least one of: the memory unit , a register of a processor          s ets for operating the device correlated with the first collec
   circuit , a storage , or a repository where instruction sets are 45 tion of object representations includes at least one of:
  stored or used. In further embodiments , the executing the             modifying , removing , rewriting , or overwriting a code of an
   first one or more instruction sets for operating the device            application . In further embodiments, the executing the first
   correlated with the first collection of object representations         one or more instruction sets for operating the device corre
   includes modifying one or more instruction sets for operat-            lated with the first collection of object representations
   ing an application or an object of the application . In further 50 includes at least one of: branching , redirecting , extending, or
   embodiments , the executing the first one or more instruction         hot swapping a code of an application . The branching or
   sets for operating the device correlated with the first collec        redirecting the code may include inserting at least one of: a
   tion of object representations includes modifying at least one        branch , a jump, or a means for redirecting an execution . In
  of: an element of a processor circuit, an element of the                further embodiments, the executing the first one or more
  device , a virtual machine , a runtime engine , an operating 55 instruction sets for operating the device correlated with the
  system , an execution stack , a program counter, or a user              first collection ofobject representations includes implement
   input. In further embodiments, the executing the first one or         ing a user 's knowledge , style , or methodology of operating
  more instruction sets for operating the device correlated with          the device in a circumstance . In further embodiments , the
   the first collection of object representations includes modi           executing the first one or more instruction sets for operating
   fying one or more instruction sets at a source code write 60 the device correlated with the first collection of object
  time, a compile time, an interpretation time, a translation            representations includes executing the first one or more
  time, a linking time, a loading time, or a runtime. In further         instruction sets for operating the device correlated with the
   embodiments , the executing the first one or more instruction    first collection of object representations via an interface . The
   sets for operating the device correlated with the first collec - interface may include a modification interface .
   tion of object representations includes modifying one or 65         In certain embodiments , the operations of the non -tran
  more code segments , lines of code , statements, instructions,          sitory computer storage medium and /or the method further
   functions, routines, subroutines , or basic blocks. In further         comprise : receiving at least one extra information . In further
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                                                        US 10 ,452 , 974 B1
                                 23                                                                   24
   embodiments, the operations of the non -transitory computer         and the first collection of object representations . The opera
   storage medium and /or the method further comprise : learn          tions may further comprise : causing, by the first processor
   ing the first collection of object representations correlated       circuit of the one or more processor circuits , an execution ,
  with the at least one extra information .                            by a second processor circuit of the one or more processor
     In some embodiments , the operations of the non - transi- 5 circuits, of the first one or more instruction sets for operating
  tory computer storage medium and/ or the method further the device correlated with the first collection of object
   comprise : presenting, via a user interface , a user with an        representations, the causing performed in response to the
   option to execute the first one or more instruction sets for        anticipating , by the first processor circuit of the one or more
   operating the device correlated with the first collection of  processor circuits , the first one or more instruction sets for
   object representations.                                    10 operating the device correlated with the first collection of
      In certain embodiments, the operations of the non -tran    object representations based on at least a partial match
   sitory computer storage medium and/ or the method further           between the new collection of object representations and the
   comprise : receiving , via a user interface , a user' s selection   first collection of object representations, wherein the device
  to execute the first one or more instruction sets for operating performs one or more operations defined by the first one or
  the device correlated with the first collection of object 15 more instruction sets for operating the device correlated with
  representations .                                               the first collection of object representations, the one or more
     In some embodiments , the operations of the non -transi-     operations by the device performed in response to the
  tory computer storage medium and/ or the method further         execution .
  comprise: rating the executed first one or more instruction        In some aspects, the disclosure relates to a method com
   sets for operating the device correlated with the first collec - 20 prising: (a ) receiving a first collection of object representa
  tion of object representations .                                     tions by a first processor circuit, the first collection of object
     In certain embodiments, the operations of the non -tran -         representations including one or more representations of
   sitory computer storagemedium and/or the method further             objects detected by a sensor. The method may further
   comprise : presenting, via a user interface , a user with an   comprise : (b ) receiving a first one or more instruction sets
   option to cancel the execution of the executed first one or 25 for operating a device by the first processor circuit . The
  more instruction sets for operating the device correlated with  method may further comprise : ( c ) learning the first collec
   the first collection of object representations.                     tion of object representations correlated with the first one or
     In some embodiments , the operations of the non - transi -        more instruction sets for operating the device , the learning
  tory computer storage medium and /or the method further              of ( c ) performed by the first processor circuit . The method
  comprise : receiving , via an input device , a user ' s operating 30 may further comprise : ( d ) receiving a new collection of
   directions, the user ' s operating directions for instructing a     object representations by the first processor circuit, the new
  processor circuit on how to operate the device .                     collection of object representations including one or more
     In certain embodiments , the operations of the non - tran         representations of objects detected by the sensor. The
   sitory computer storagemedium and/ or the method further            method may further comprise : (e ) anticipating the first one
   comprise : receiving a second collection of object represen - 35 or more instruction sets for operating the device correlated
  tations, the second collection of object representations             with the first collection of object representations based on at
  including one or more representations ofobjects detected by          least a partial match between the new collection of object
  the sensor receiving a second one or more instruction sets for       representations and the first collection of object representa
   operating the device ; and learning the second collection of        tions, the anticipating of (e ) performed by the first processor
  object representations correlated with the second one or 40 circuit . Themethod may further comprise : (f ) executing , by
  more instruction sets for operating the device .                     a second processor circuit, the first one or more instruction
     In some aspects , the disclosure relates to a non -transitory     sets for operating the device correlated with the first collec
   computer storage medium having a computer program                   tion of object representations, the executing of (f) performed
   stored thereon , the program including instructions that when       in response to the anticipating of ( e ). The method may
   executed by one or more processor circuits cause the one or 45 further comprise : ( g ) performing, by the device , one or more
  more
  m     processor circuits to perform operations comprising:           operations defined by the first one or more instruction sets
  receiving, by a first processor circuit of the one or more           for operating the device correlated with the first collection of
  processor circuits , a first collection of object representations, object representations, the one or more operations by the
  the first collection of object representations including one or    device performed in response to the executing of ( f) .
  more representations of objects detected by a sensor. The 50          The operations or steps of the non - transitory computer
   operations may further comprise : receiving , by the first          storage medium and /or the method may be performed by
   processor circuit of the one or more processor circuits , a first   any of the elements of the above described systems as
  one or more instruction sets for operating a device . The            applicable . The non -transitory computer storage medium
  operations may further comprise : learning, by the first and /or the method may include any of the operations, steps,
  processor circuit of the one or more processor circuits , the 55 and embodiments of the above described systems, non
   first collection of object representations correlated with the transitory computer storage media , and /or methods as appli
  first one or more instruction sets for operating the device .    cable .
   The operations may further comprise: receiving, by the first      In some aspects, the disclosure relates to a system for
   processor circuit of the one ormore processor circuits, a new       learning a device 's circumstances for autonomous device
   collection of object representations, the new collection of 60 operating. The system may be implemented at least in part
   object representations including one or more representations        on one or more computing devices . In some embodiments ,
   of objects detected by the sensor. The operationsmay further        the system comprises : a processor circuit configured to
   comprise : anticipating, by the first processor circuit of the      execute instruction sets for operating a device . The system
  one or more processor circuits , the first one or more instruc -     may further comprise : a memory unit configured to store
   tion sets for operating the device correlated with the first 65 data . The system may further comprise : a sensor configured
   collection of object representationsbased on at least a partial     to detect objects . The system may further comprise : an
  match between the new collection of object representations           artificial intelligence unit. The artificial intelligence unit
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                                                       US 10 ,452 , 974 B1
                                 25                                                                  26
  may be configured to : receive a first collection of object         first collection of object representations. The artificial intel
   representations, the first collection of object representations    ligence unit may be further configured to : cause the proces
   including one or more representations of objects detected by       sor circuit to execute the first one or more instruction sets for
   the sensor. The artificial intelligence unit may be further        operating the device correlated with the first collection of
   configured to : receive a first one or more instruction sets for 5 object representations, the causing performed in response to
   operating the device. The artificial intelligence unit may be      the anticipating of the artificial intelligence unit, wherein the
   further configured to : learn the first collection of object device performs one or more operations defined by the first
   representations correlated with the first one or more instruc       one or more instruction sets for operating the device corre
   tion sets for operating the device .                                lated with the first collection of object representations, the
      In some aspects , the disclosure relates to a non -transitory 10 one or more operations performed in response to the execut
   computer storage medium having a computer program                   ing by the processor circuit.
   stored thereon, the program including instructions that when         In some aspects, the disclosure relates to a non - transitory
   executed by one or more processor circuits cause the one or        computer storage medium having a computer program
  more processor circuits to perform operations comprising:           stored thereon , the program including instructions thatwhen
  receiving a first collection of object representations, the first 15 executed by one or more processor circuits cause the one or
   collection of object representations including one or more         more processor circuits to perform operations comprising:
  representations of objects detected by a sensor. The opera -        accessing a memory unit that comprises a plurality of
  tions may further comprise: receiving a first one or more     collections of object representations correlated with one or
  instruction sets for operating a device . The operations may more instruction sets for operating a device , the plurality of
  further comprise : learning the first collection of object 20 collections of object representations correlated with one or
   representations correlated with the first one or more instruc      more instruction sets for operating the device including a
   tion sets for operating the device .                                first collection of object representations correlated with a
      In some aspects , the disclosure relates to a method com -       first one or more instruction sets for operating the device .
   prising: (a ) receiving a first collection of object representa     The operations may further comprise: receiving a new
   tions by a processor circuit, the first collection of object 25 collection of object representations , the new collection of
  representations including one or more representations of            object representations including one or more representations
  objects detected by a sensor. The method may further                of objects detected by a sensor. The operations may further
   comprise : ( b ) receiving a first one or more instruction sets    comprise: anticipating the first one or more instruction sets
  for operating a device by the processor circuit . The method    for operating the device correlated with the first collection of
  may further comprise : (c ) learning the first collection of 30 object representations based on at least a partial match
   object representations correlated with the first one or more       between the new collection of object representations and the
   instruction sets for operating the device , the learning of (c )    first collection of object representations . The operations may
   performed by the processor circuit .                               further comprise : causing an execution of the first one or
      The operations or steps of the non - transitory computer        more instruction sets for operating the device correlated with
   storage medium and /or the method may be performed by 35 the first collection of object representations, the causing
   any of the elements of the above described systems as              performed in response to the anticipating the first one or
   applicable . The non -transitory computer storage medium           more instruction sets for operating the device correlated with
   and / or themethod may include any of the operations, steps,       the first collection of object representations based on at least
   and embodiments of the above described systems, non -               a partial match between the new collection of object repre
   transitory computer storage media , and / or methods as appli- 40 sentations and the first collection of object representations,
   cable .                                                            wherein the device performs one or more operations defined
     In some aspects , the disclosure relates to a system for         by the first one or more instruction sets for operating the
   using a device's circumstances for autonomous device oper -        device correlated with the first collection of object repre
   ating. The system may be implemented at least in part on one        sentations, the one or more operations by the device per
  or more computing devices. In some embodiments , the 45 formed in response to the execution .
   system comprises: a processor circuit configured to execute           In some aspects, the disclosure relates to a method com
   instruction sets for operating a device . The system may           prising : ( a ) accessing a memory unit that comprises a
   further comprise : a memory unit configured to store data .        plurality of collections of object representations correlated
   The system may further comprise : a sensor configured to           with one or more instruction sets for operating a device , the
  detect objects . The system may further comprise : an artifi- 50 plurality of collections of object representations correlated
   cial intelligence unit. The artificial intelligence unit may be    with one or more instruction sets for operating the device
  configured to : access the memory unit that comprises a             including a first collection of object representations corre
  plurality of collections of object representations correlated       lated with a first one or more instruction sets for operating
  with one or more instruction sets for operating the device , the device , the accessing of (a ) performed by a processor
  the plurality of collections of object representations corre - 55 circuit . The method may further comprise : (b ) receiving a
  lated with one or more instruction sets for operating the new collection of object representations by the processor
  device including a first collection of object representations       circuit, the new collection of object representations includ
   correlated with a first one or more instruction sets for           ing one or more representations of objects detected by a
   operating the device. The artificial intelligence unit may be      sensor. The method may further comprise : (c ) anticipating
   further configured to : receive a new collection of object 60 the first one or more instruction sets for operating the device
   representations , the new collection of object representations correlated with the first collection of object representations
   including one or more representations of objects detected by   based on at least a partial match between the new collection
   the sensor. The artificial intelligence unit may be further        of object representations and the first collection of object
   configured to : anticipate the first one ormore instruction sets   representations , the anticipating of (c ) performed by the
  for operating the device correlated with the first collection of 65 processor circuit. The method may further comprise : (d )
   object representations based on at least a partial match           executing the first one or more instruction sets for operating
  between the new collection of object representations and the the device correlated with the first collection of object
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                                                        US 10 ,452 , 974 B1
                                                                                                       28
   representations , the executing of (d ) performed in response         collections of object representations includes one or more
   to the anticipating of (c ). The method may further comprise :        collections of representations of objects detected by the
   ( e ) performing , by the device , one or more operations             sensor over time. In further embodiments , the first or the
   defined by the first one or more instruction sets for operating       new stream of collections of object representations includes
   the device correlated with the first collection of object 5 one or more collections of representations of objects in the
  representations, the one or more operations by the device              device 's surrounding. In further embodiments , the first or
  performed in response to the executing of ( d ).                       the new stream of collections of object representations
      The operations or steps of the non-transitory computer             includes one or more collections of representations of
   storage medium and /or the method may be performed by                 objects in a remote device ' s surrounding. In further embodi
  any of the elements of the above described systems as 10 ments , an object representation of a stream of collections of
   applicable . The non -transitory computer storage medium              object representations includes one or more object proper
   and / or the method may include any of the operations, steps,         ties. In further embodiments , the first or the new stream of
   and embodiments of the above described systems, non                   collections of object representations includes one or more
  transitory computer storage media, and /or methods as appli            object properties . In further embodiments , the first stream of
   cable .                                                            15 collections of object representations includes a comparative
      In some aspects, the disclosure relates to a system for            stream of collections of object representations whose at least
   learning and using a device 's circumstances for autonomous           one portion can be used for comparisons with at least one
   device operating. The system may be implemented at least              portion of streams of collections of object representations
  in part on one ormore computing devices. In some embodi-        subsequent to the first stream of collections of object rep
  ments, the system comprises : a processor circuit configured 20 resentations , the streams of collections of object represen
  to execute instruction sets for operating a device . The system tations subsequent to the first stream of collections of object
  may further comprise : a memory unit configured to store               representations comprising the new stream of collections of
  data . The system may further comprise : a sensor configured           object representations . In further embodiments , the first
  to detect objects . The system may further comprise : an               stream of collections of object representations includes a
  artificial intelligence unit . The artificial intelligence unit 25 comparative stream of collections of object representations
  may be configured to : receive a first stream of collections of        that can be used for comparisons with the new stream of
  object representations, the first stream of collections of            collections of object representations. In further embodi
  object representations including one or more collections of           ments , the new stream of collections of object representa
   representations of objects detected by the sensor. The arti           tions includes an anticipatory stream of collections of object
   ficial intelligence unit may be further configured to : receive 30 representations whose correlated one or more instruction
   a first one or more instruction sets for operating the device .       sets can be used for anticipation of one or more instruction
   The artificial intelligence unit may be further configured to :       sets to be executed by the processor circuit.
  learn the first stream of collections of object representations           In some embodiments , the first one or more instruction
  correlated with the first one or more instruction sets for             sets for operating the device include one or more instruction
   operating the device. The artificial intelligence unit may be 35 sets that temporally correspond to the first stream of collec
   further configured to : receive a new stream of collections of        tions of object representations. In further embodiments , the
  object representations, the new stream of collections of               one or more instruction sets that temporally correspond to
   object representations including one or more collections of           the first stream of collections of object representations
   representations of objects detected by the sensor. The arti-          include one or more instruction sets executed at a time of
   ficial intelligence unit may be further configured to : antici- 40 generating the first stream of collections of object represen
   pate the first one or more instruction sets for operating the         tations . In further embodiments, the one or more instruction
   device correlated with the first stream of collections of             sets that temporally correspond to the first stream of collec
   object representations based on at least a partial match              tions of object representations include one or more instruc
  between the new stream of collections of object represen               tion sets executed prior to generating the first stream of
   tations and the first stream of collections of object repre - 45 collections of object representations. In further embodi
   sentations . The artificial intelligence unit may be further         ments , the one or more instruction sets that temporally
   configured to : cause the processor circuit to execute the first      correspond to the first stream of collections of object rep
  one or more instruction sets for operating the device corre -          resentations include one or more instruction sets executed
   lated with the first stream of collections of object represen -       within a threshold period of time prior to generating the first
   tations, the causing performed in response to the anticipating 50 stream of collections of object representations. In further
   of the artificial intelligence unit , wherein the device per -        embodiments , the one or more instruction sets that tempo
  forms one or more operations defined by the first one or               rally correspond to the first stream of collections of object
  more instruction sets for operating the device correlated with         representations include one or more instruction sets
   the first stream of collections of object representations , the       executed subsequent to generating the first stream of col
  one or more operations performed in response to the execut- 55 lections of object representations. In further embodiments ,
  ing by the processor circuit.                                  the one or more instruction sets that temporally correspond
      In certain embodiments , each collection of object repre -         to the first stream of collections of object representations
   sentations includes one or more representations of objects            include one or more instruction sets executed within a
   detected by the sensor at a time. In further embodiments,             threshold period of time subsequent to generating the first
   each collection of object representations includes one or 60 stream of collections of object representations. In further
  more of object representations . In further embodiments ,     embodiments , the one or more instruction sets that tempo
   each collection of object representations includes or is              rally correspond to the first stream of collections of object
  associated with a time stamp, an order, or a time related              representations include one or more instruction sets
   information . In further embodiments , the first stream of            executed within a threshold period of time prior to gener
   collections of object representations includes one or more 65 ating the first stream of collections of object representations
   collections of representations of objects detected by the             or a threshold period of time subsequent to generating the
   sensor over time. In further embodiments, the new stream of           first stream of collections of object representations .
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                                                       US 10 ,452 , 974 B1
                                 29                                                                  30
     In certain embodiments, the first stream of collections of       lated with one or more instruction sets for operating the
  object representations correlated with the first one or more        device of the plurality of streams of collections of object
  instruction sets for operating the device include a knowledge       representations correlated with one or more instruction sets
   of how the device operated in a circumstance . In further           for operating the device is included in a neuron , a node, a
   embodiments , the first stream of collections of object rep - 5 vertex , or an element of a knowledgebase . The knowledge
  resentations correlated with the first one or more instruction      base may include a neural network , a graph , a collection of
  sets for operating the device are included in a neuron , a          sequences , a sequence , a collection of knowledge cells , a
  node, a vertex , or an element of a knowledgebase . In further      knowledge structure , or a data structure . Some of the neu
   embodiments, the knowledgebase includes a neural net -             rons , nodes, vertices, or elements may be interconnected . In
  work , a graph , a collection of sequences , a sequence , a 10 further embodiments , the plurality of streams of collections
   collection of knowledge cells , a knowledge structure , or a       of object representations correlated with one or more
   data structure . In further embodiments, some of the neurons,      instruction sets for operating the device include a user 's
  nodes, vertices, or elements are interconnected . In further        knowledge , style , or methodology of operating the device in
   embodiments, the first stream of collections of object rep -       circumstances . In further embodiments, the plurality of
  resentations correlated with the first one or more instruction 15 streams of collections of object representations correlated
   sets for operating the device are structured into a knowledge      with one or more instruction sets for operating the device are
   cell . In further embodiments , the knowledge cell is included     stored on a remote computing device or a remote computing
   in a neuron , a node, a vertex , or an element of a knowl-         system . In further embodiments , the plurality of streams of
   edgebase . The knowledgebase may include a neural net-             collections of object representations correlated with one or
  work , a graph , a collection of sequences , a sequence , a 20 more instruction sets for operating the device include an
  collection of knowledge cells, a knowledge structure , or a         artificial intelligence system for knowledge structuring, stor
  data structure. Some of the neurons, nodes, vertices, or           ing, or representation . The artificial intelligence system for
  elements may be interconnected . In further embodiments,            knowledge structuring, storing, or representation may
  the learning the first stream of collections of object repre -      include at least one of: a deep learning system , a supervised
   sentations correlated with the first one or more instruction 25 learning system , an unsupervised learning system , a neural
   sets for operating the device includes correlating the first    network , a search -based system , an optimization -based sys
   stream of collections of object representations with the first     tem , a logic -based system , a fuzzy logic -based system , a
   one or more instruction sets for operating the device . In         tree -based system , a graph -based system , a hierarchical
   further embodiments, the correlating the first stream of           system , a symbolic system , a sub -symbolic system , an
   collections of object representations with the first one or 30 evolutionary system , a genetic system , a multi-agent system ,
  more instruction sets for operating the device includes             a deterministic system , a probabilistic system , or a statistical
  generating a knowledge cell, the knowledge cell comprising          system .
  the first stream of collections of object representations              In certain embodiments, the anticipating the first one or
  correlated with the first one or more instruction sets for          more instruction sets for operating the device correlated with
   operating the device . In further embodiments , the correlating 35 the first stream of collections of object representations based
  the first stream of collections of object representations with      on at least a partial match between the new stream of
  the first one or more instruction sets for operating the device     collections of object representations and the first stream of
   includes structuring a knowledge ofhow the device operated         collections of object representations includes comparing at
   in a circumstance . In further embodiments , the learning the      least one portion of the new stream of collections of object
   first stream of collections of object representations corre - 40 representations with at least one portion of the first stream of
  lated with the first one or more instruction sets for operating     collections of object representations. In further embodi
  the device includes learning a user 's knowledge , style , or       ments , the at least one portion of the new stream of collec
  methodology of operating the device in a circumstance .             tions of object representations include at least one collection
     In some embodiments, the learning the first stream of            of object representations, at least one object representation ,
  collections of object representations correlated with the first 45 or at least one object property of the new stream of collec
  one or more instruction sets for operating the device              tions of object representations. In further embodiments , the
   includes storing the first stream of collections of object         at least one portion of the first stream of collections of object
   representations correlated with the first one or more instruc -    representations include at least one collection of object
  tion sets for operating the device into the memory unit, the        representations , at least one object representation , or at least
   first stream of collections of object representations corre - 50 one object property of the first stream of collections of object
   lated with the first one or more instruction sets for operating    representations. In further embodiments, the anticipating the
  the device being part of a plurality of streams of collections      first one or more instruction sets for operating the device
  of object representations correlated with one or more               correlated with the first stream of collections of object
   instruction sets for operating the device stored in the            representations based on at least a partialmatch between the
  memory unit. In further embodiments, the plurality of 55 new stream of collections of object representations and the
  streams of collections of object representations correlated first stream of collections of object representations includes
  with one or more instruction sets for operating the device  comparing at least one collection of object representations
   include a neural network , a graph , a collection of sequences,    from the new stream of collections of object representations
   a sequence , a collection of knowledge cells , a knowledge         with at least one collection of object representations from
  base , a knowledge structure , or a data structure . In further 60 the first stream of collections of object representations. In
  embodiments , the plurality of streams of collections of           further embodiments , the comparing at least one collection
  object representations correlated with one or more instruc -       of object representations from the new stream of collections
   tion sets for operating the device are organized into a neural of object representations with at least one collection of
   network , a graph , a collection of sequences, a sequence , a  object representations from the first stream of collections of
   collection of knowledge cells, a knowledgebase, a knowl- 65 object representations includes comparing at least one object
   edge structure , or a data structure . In further embodiments,     representation of the at least one collection of object repre
   each stream of collections of object representations corre         sentations from the new stream of collections of object
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                                 31                                                                   32
   representations with at least one object representation of the        object representations may be determined factoring in at
  at least one collection of object representations from the first       least one of: an importance of a collection of object repre
  stream of collections of object representations. The compar-           sentations, an order of a collection of object representations,
   ing at least one object representation of the at least one            a threshold for a similarity in a collection of object repre
   collection of object representations from the new stream of 5 sentations, or a threshold for a difference in a collection of
   collections of object representations with at least one object        object representations. In further embodiments, the deter
   representation of the at least one collection of object repre -      mining that there is at least a partialmatch between the new
   sentations from the first stream of collections of object            stream of collections of object representations and the first
  representations may include comparing at least one object              stream of collections of object representations includes
  property of the at least one object representation of the at 10 determining that a number or a percentage of matching or
  least one collection of object representations from the new           partially matching object representations from the new
  stream of collections of object representations with at least          stream of collections of object representations and from the
  one object property of the at least one object representation          first stream of collections of object representations exceeds
   of the at least one collection of object representations from         a threshold number or threshold percentage . The matching
   the first stream of collections of object representations.         15 or partially matching object representations from the new
     In some embodiments , the anticipating the first one or             stream of collections of object representations and from the
  more instruction sets for operating the device correlated with         first stream of collections of object representations may be
   the first stream of collections of object representations based       determined factoring in at least one of: an association of an
   on at least a partial match between the new stream of                 object representation with a collection of object representa
   collections of object representations and the first stream of 20 tions, a type of an object representation , an importance of an
  collections of object representations includes determining       object representation , a threshold for a similarity in an object
  that there is at least a partial match between the new stream    representation , or a threshold for a difference in an object
  of collections of object representations and the first stream    representation . In further embodiments, the determining that
  of collections of object representations. In further embodi- there is at least a partialmatch between the new stream of
  ments, the determining that there is at least a partial match 25 collections of object representations and the first stream of
  between the new stream of collections of object represen -             collections of object representations includes determining
  tations and the first stream of collections of object repre            that a number or a percentage of matching or partially
   sentations includes determining that there is at least a partial     matching object properties from the new stream of collec
  match between one or more portions of the new stream of tions of object representations and from the first stream of
  collections of object representations and one or more por - 30 collections of object representations exceeds a threshold
  tions of the first stream of collections of object representa  number or threshold percentage . The matching or partially
   tions . In further embodiments, the determining that there is        matching object properties from the new stream of collec
   at least a partial match between the new stream of collec            t ions of object representations and from the first stream of
   tions of object representations and the first stream of col          collections of object representations may be determined
   lections of object representations includes determining that 35 factoring in at least one of : an association of an object
   a similarity between at least one portion of the new stream     property with an object representation , an association of an
   of collections of object representations and at least one             object property with a collection of object representations, a
   portion of the first stream of collections of object represen -       category of an object property , an importance of an object
  tations exceeds a similarity threshold . In further embodi-      property , a threshold for a similarity in an object property , or
  ments, the determining that there is at least a partial match 40 a threshold for a difference in an object property . In further
  between the new stream of collections of object represen -             embodiments , determining that there is at least a partial
  tations and the first stream of collections of object repre -          match between the new stream of collections of object
   sentations includes determining a substantial similarity              representations and the first stream of collections of object
  between at least one portion of the new stream of collections          representations includes determining that there is at least a
   of object representations and at least one portion of the first 45 partial match between at least one collection of object
   stream of collections of object representations . The substan -       representations from the new stream of collections of object
   tial similarity may be achieved when a similarity between             representations and at least one collection of object repre
   the at least one portion of the new stream of collections of          sentations from the first stream of collections of object
   object representations and the at least one portion of the first      representations . The determining that there is at least a
   stream of collections of object representations exceeds a 50 partial match between at least one collection of object
   similarity threshold . The substantial similarity may be              representations from the new stream of collections of object
   achieved when a number or a percentage of matching or                 representations and at least one collection of object repre
   partially matching portions of the new stream of collections          sentations from the first stream of collections of object
  of object representations and portions of the first stream of          representationsmay include determining that there is at least
   collections of object representations exceeds a threshold 55 a partial match between at least one object representation of
  number or threshold percentage . In further embodiments , the          the at least one collection of object representations from the
   determining that there is at least a partial match between the       new stream of collections of object representations and at
  new stream of collections of object representations and the            least one object representation of the at least one collection
  first stream of collections of object representations includes of object representations from the first stream of collections
  determining that a number or a percentage ofmatching or 60 of object representations. The determining that there is at
  partially matching collections of object representations from  least a partial match between at least one object represen
  the new stream of collections of object representations and tation of the at least one collection of object representations
   from the first stream of collections of object representations        from the new stream of collections of object representations
   exceeds a threshold number or threshold percentage . The              and at least one object representation of the at least one
  matching or partially matching collections of object repre - 65 collection of object representations from the first stream of
   sentations from the new stream of collections of object               collections of object representations may include determin
   representations and from the first stream of collections of           ing that there is at least a partial match between at least one
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  object property of the at least one object representation of          the device correlated with the first stream of collections of
  the at least one collection of object representations from the        object representations includes causing the logic circuit to
  new stream of collections of object representations and at           execute the first one or more instruction sets for operating
   least one object property of the at least one object repre -        the device correlated with the first stream of collections of
  sentation of the at least one collection of object representa - 5 object representations. In further embodiments , the logic
  tions from the first stream of collections of object represen -   circuit includes a microcontroller. In further embodiments ,
  tations.                                                          the causing the logic circuit to execute the first one or more
      In some embodiments , the causing the processor circuit to        instruction sets for operating the device correlated with the
   execute the first one or more instruction sets for operating         first stream of collections of object representations includes
   the device correlated with the first stream of collections of 10 modifying an element of the logic circuit . In further embodi
   object representations includes causing the processor circuit       ments , the causing the logic circuit to execute the first one
   to execute the first one or more instruction sets for operating     or more instruction sets for operating the device correlated
   the device correlated with the first stream of collections of       with the first stream of collections of object representations
  object representations instead of or prior to an instruction set includes inserting the first one or more instruction sets for
  that would have been executed next. In further embodi- 15 operating the device correlated with the first stream of
  ments, the causing the processor circuit to execute the first collections of object representations into an element of the
  one or more instruction sets for operating the device corre -        logic circuit. In further embodiments, the causing the logic
  lated with the first stream of collections of object represen -      circuit to execute the first one or more instruction sets for
  tations includes modifying one or more instruction sets of           operating the device correlated with the first stream of
   the processor circuit . In further embodiments , the causing 20 collections of object representations includes redirecting the
   the processor circuit to execute the first one or more instruc -    logic circuit to the first one or more instruction sets for
   tion sets for operating the device correlated with the first         operating the device correlated with the first stream of
   stream of collections of object representations includes             collections of object representations. In further embodi
  modifying a register or an element of the processor circuit.         ments , the causing the logic circuit to execute the first one
  In further embodiments , the causing the processor circuit to 25 or more instruction sets for operating the device correlated
  execute the first one or more instruction sets for operating     with the first stream of collections of object representations
  the device correlated with the first stream of collections of        includes replacing inputs into the logic circuit with the first
  object representations includes inserting the first one or           one or more instruction sets for operating the device corre
  more instruction sets for operating the device correlated with       lated with the first stream of collections of object represen
   the first stream of collections of object representations into 30 tations . In further embodiments, the causing the logic circuit
   a register or an element of the processor circuit. In further to execute the first one or more instruction sets for operating
   embodiments , the causing the processor circuit to execute          the device correlated with the first stream of collections of
   the first one or more instruction sets for operating the device     object representations includes replacing outputs from the
   correlated with the first stream of collections of object           logic circuit with the first one or more instruction sets for
  representations includes redirecting the processor circuit to 35 operating the device correlated with the first stream of
  the first one or more instruction sets for operating the device       collections of object representations.
   correlated with the first stream of collections of object              In some embodiments , the causing the processor circuit to
  representations. In further embodiments , the causing the            execute the first one or more instruction sets for operating
   processor circuit to execute the first one or more instruction      the device correlated with the first stream of collections of
   sets for operating the device correlated with the first stream 40 object representations includes causing an application for
   of collections of object representations includes redirecting        operating the device to execute the first one or more instruc
   the processor circuit to one ormore alternate instruction sets ,    tion sets for operating the device correlated with the first
  the alternate instruction sets comprising the first one or more      stream of collections of object representations, the applica
   instruction sets for operating the device correlated with the        tion running on the processor circuit.
   first stream of collections of object representations. In fur- 45      In certain embodiments , the system further comprises : an
   ther embodiments , the causing the processor circuit to              application including instruction sets for operating the
  execute the first one or more instruction sets for operating         device , the application running on the processor circuit,
  the device correlated with the first stream of collections of        wherein the causing the processor circuit to execute the first
   object representations includes transmitting, to the processor       one or more instruction sets for operating the device corre
   circuit for execution , the first one ormore instruction sets for 50 lated with the first stream of collections of object represen
   operating the device correlated with the first stream of            tations includes modifying the application .
   collections of object representations. In further embodi-              In some embodiments , the causing the processor circuit to
  ments , the executing the first one or more instruction sets for     execute the first one or more instruction sets for operating
   operating the device correlated with the first stream of            the device correlated with the first stream of collections of
   collections of object representations includes issuing an 55 object representations includes redirecting an application to
   interrupt to the processor circuit and executing the first one the first one or more instruction sets for operating the device
  or more instruction sets for operating the device correlated         correlated with the first stream of collections of object
  with the first stream of collections of object representations       representations , the application running on the processor
   following the interrupt. In further embodiments, the causing         circuit . In further embodiments , the causing the processor
   the processor circuit to execute the first one or more instruc - 60 circuit to execute the first one or more instruction sets for
   tion sets for operating the device correlated with the first        operating the device correlated with the first stream of
  stream of collections of object representations includes             collections of object representations includes redirecting an
  modifying an element that is part of, operating on , or              application to one or more alternate instruction sets , the
   coupled to the processor circuit.                               application running on the processor circuit, the alternate
      In certain embodiments , the processor circuit includes a 65 instruction sets comprising the first one or more instruction
   logic circuit, and wherein the causing the processor circuit        s ets for operating the device correlated with the first stream
  to execute the first one ormore instruction sets for operating       of collections of object representations. In further embodi
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  ments , the causing the processor circuit to execute the first       instruction sets for operating the device correlated with the
   one or more instruction sets for operating the device corre         first stream of collections of object representations includes
   lated with the first stream of collections of object represen -     utilizing an assembly language . In further embodiments , the
   tations includes modifying one or more instruction sets of an       causing the processor circuit to execute the first one or more
  application , the application running on the processor circuit . 5 instruction sets for operating the device correlated with the
  In further embodiments , the causing the processor circuit to     first stream of collections of object representations includes
  execute the first one or more instruction sets for operating utilizing at least one of: a metaprogramming , a self -modi
  the device correlated with the first stream of collections of     fying code , or an instruction set modification tool. In further
  object representations includes modifying a source code , a       embodiments , the causing the processor circuit to execute
  bytecode , an intermediate code , a compiled code , an inter - 10 the first one or more instruction sets for operating the device
  preted code , a translated code , a runtime code , an assembly    correlated with the first stream of collections of object
  code , or a machine code . In further embodiments, the representations includes utilizing at least one of: just in time
  causing the processor circuit to execute the first one or more    (JIT ) compiling, JIT interpretation , JIT translation , dynamic
  instruction sets for operating the device correlated with the recompiling, or binary rewriting . In further embodiments,
  first stream of collections of object representations includes 15 the causing the processor circuit to execute the first one or
  modifying at least one of: thememory unit, a register of the more instruction sets for operating the device correlated with
   processor circuit, a storage, or a repository where instruction     the first stream of collections of object representations
   sets are stored or used . In further embodiments , the causing      includes utilizing at least one of: a dynamic expression
   the processor circuit to execute the first one or more instruc -    creation , a dynamic expression execution , a dynamic func
   tion sets for operating the device correlated with the first 20 tion creation , or a dynamic function execution . In further
   stream of collections of object representations includes            embodiments, the causing the processor circuit to execute
  modifying one or more instruction sets for operating an              the first one or more instruction sets for operating the device
   application or an object of the application , the application       correlated with the first stream of collections of object
   running on the processor circuit. In further embodiments , the      representations includes adding or inserting additional code
   causing the processor circuit to execute the first one or more 25 into a code of an application , the application running on the
   instruction sets for operating the device correlated with the     processor circuit. In further embodiments , the causing the
   first stream of collections of object representations includes      processor circuit to execute the first one or more instruction
  modifying at least one of: an element of the processor          s ets for operating the device correlated with the first stream
  circuit , an element of the device, a virtual machine , a        of collections of object representations includes at least one
  runtime engine, an operating system , an execution stack , a 30 of: modifying, removing , rewriting, or overwriting a code of
   program counter , or a user input. In further embodiments ,         an application , the application running on the processor
  the causing the processor circuit to execute the first one or        circuit . In further embodiments , the causing the processor
  more instruction sets for operating the device correlated with       circuit to execute the first one or more instruction sets for
   the first stream of collections of object representations           operating the device correlated with the first stream of
   includes modifying one or more instruction sets at a source 35 collections of object representations includes at least one of:
   code write time, a compile time, an interpretation time, a          branching, redirecting, extending, or hot swapping a code of
   translation time, a linking time, a loading time, or a runtime.     an application , the application running on the processor
   In further embodiments , the causing the processor circuit to       circuit . The branching or redirecting the code may include
   execute the first one or more instruction sets for operating        inserting at least one of: a branch , a jump, or a means for
   the device correlated with the first stream of collections of 40 redirecting an execution . In further embodiments , the
   object representations includes modifying one or more code       executing the first one or more instruction sets for operating
   segments , lines of code, statements, instructions, functions,      the device correlated with the first stream of collections of
   routines, subroutines , or basic blocks. In further embodi-         object representations includes implementing a user' s
  ments, the causing the processor circuit to execute the first        knowledge , style , or methodology of operating the device in
  one or more instruction sets for operating the device corre - 45 a circumstance .
  lated with the first stream of collections of object represen -         In certain embodiments, the system further comprises : an
   tations includes a manual, an automatic , a dynamic , or a just     interface configured to cause execution of instruction sets ,
   in time ( JIT ) instrumentation of an application , the applica -   wherein the executing the first one or more instruction sets
   tion running on the processor circuit. In further embodi-           for operating the device correlated with the first stream of
  ments, the causing the processor circuit to execute the first 50 collections of object representations is caused by the inter
  one or more instruction sets for operating the device corre          face . The interface may include a modification interface .
   lated with the first stream of collections of object represen -        In some embodiments , the performing the one or more
   tations includes utilizing one or more of a .NET tool, a .NET       operations defined by the first one or more instruction sets
   application programming interface (API), a Java tool, a Java        for operating the device correlated with the first stream of
  API, an operating system tool, or an independent tool for 55 collections of object representations includes implementing
  modifying instruction sets . In further embodiments , the            a user 's knowledge , style , or methodology of operating the
  causing the processor circuit to execute the first one or more       device in a circumstance .
   instruction sets for operating the device correlated with the          In certain embodiments, the system further comprises : an
   first stream of collections of object representations includes      application running on the processor circuit.
  utilizing at least one of: a dynamic , an interpreted , or a 60         In some embodiments , the instruction sets for operating
   scripting programming language . In further embodiments ,           the device are part of an application for operating the device ,
  the causing the processor circuit to execute the first one or        the application running on the processor circuit.
  more instruction sets for operating the device correlated with          In certain embodiments, the system further comprises : an
  the first stream of collections of object representations         application for operating the device , the application running
  includes utilizing at least one of: a dynamic code , a dynamic 65 on the processor circuit . The application for operating the
  class loading, or a reflection . In further embodiments , the     device may include the instruction sets for operating the
  causing the processor circuit to execute the first one or more       device .
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     In some embodiments, the artificial intelligence unit is             In some embodiments, the system further comprises : a
   further configured to : receive at least one extra information . user interface, wherein the artificial intelligence unit is
   In further embodiments , the at least one extra information      further configured to : receive , via the user interface, a user' s
   include one or more of: a time information , a location          selection to execute the first one ormore instruction sets for
   information , a computed information , or a contextual infor - 5 operating the device correlated with the first stream of
  mation . In further embodiments, the at least one extra               collections of object representations.
  information include one or more of: an information on an                In certain embodiments, the artificial intelligence unit is
   object, an information on an object representation , an infor        further configured to : rate the executed first one or more
  mation on a collection of object representations, an infor           instruction sets for operating the device correlated with the
  mation on a stream of collections of object representations , 10 rating
                                                                     first stream of collections of object representations . The
                                                                             the executed first one or more instruction sets for
  an information on a device ' s circumstance , an information       operating the device correlated with the first stream of
  on an instruction set, an information on an application , an       collections of object representations may include causing a
  information on the processor circuit, an information on the
                                                                     user
  device , or an information on an user. In further embodi 15 instruction   interface to display the executed first one or more
  ments, the artificial intelligence unit is further configured to : first stream sets for operating the device correlated with the
                                                                                    of collections of object representations along
  learn the first stream of collections of object representations with one or more rating values as options to be selected by
   correlated with the at least one extra information . The            a user. The rating the executed first one ormore instruction
   learning the first stream of collections of object representa sets for operating the device correlated with the first stream
   tions correlated with at least one extra information may 20 of collections of object representations may include rating
   include correlating the first stream of collections of object the executed first one or more instruction sets for operating
   representations with the at least one extra information . The the device correlated with the first stream of collections of
   learning the first stream of collections of object representa -     object representations without a user input.
   tions correlated with at least one extra information may               In some embodiments, the system further comprises: a
   include storing the first stream of collections of object 25 user interface, wherein the artificial intelligence unit is
  representations correlated with the at least one extra infor -       further configured to : cause the user interface to present a
  mation into the memory unit . In further embodiments , the           user with an option to cancel the execution of the executed
  anticipating the first one or more instruction sets for oper -       first one or more instruction sets for operating the device
  ating the device correlated with the first stream of collec          correlated with the first stream of collections of object
   tions of object representations based on at least a partial 30 representations. In further embodiments , the canceling the
  match between the new stream of collections of object                execution of the executed first one or more instruction sets
  representations and the first stream of collections of object        for operating the device correlated with the first stream of
  representations includes anticipating the first one or more          collections of object representations includes restoring the
   instruction sets for operating the device correlated with the       processor circuit or the device to a prior state . The restoring
   first stream of collections of object representations based on 35 the processor circuit or the device to a prior state may
   at least a partial match between an extra information corre -       include saving the state of the processor circuit or the device
   lated with the new stream of collections of object represen -       prior to executing the first one or more instruction sets for
   tations and an extra information correlated with the first          operating the device correlated with the first stream of
   stream of collections of object representations. The antici-        collections of object representations.
  pating the first one or more instruction sets for operating the 40      In certain embodiments, the system further comprises : an
  device correlated with the first stream of collections of            input device configured to receive a user 's operating direc
  object representations based on at least a partial match             tions, the user' s operating directions for instructing the
  between an extra information correlated with the new stream          processor circuit on how to operate the device .
   of collections of object representations and an extra infor-           In some embodiments, the autonomous device operating
  mation correlated with the first stream of collections of 45 includes a partially or a fully autonomous device operating .
  object representations may include comparing an extra           The partially autonomous device operating may include
  information correlated with the new stream of collections of executing the first one or more instruction sets for operating
  object representations and an extra information correlated      the device correlated with the first stream of collections of
  with the first stream of collections of object representations. object representations responsive to a user confirmation . The
  The anticipating the first one or more instruction sets for 50 fully autonomous device operating may include executing
  operating the device correlated with the first stream of the first one or more instruction sets for operating the device
  collections of object representations based on at least a       correlated with the first stream of collections of object
  partial match between an extra information correlated with           representations without a user confirmation .
   the new stream of collections of object representations and     in certain embodiments, the artificial intelligence unit is
   an extra information correlated with the first stream of 55 further configured to : receive a second stream of collections
   collections of object representations may include determin - of object representations, the second stream of collections of
   ing that a similarity between an extra information correlated       object representations including one or more collections of
  with the new stream of collections of object representations         representations of objects detected by the sensor ; receive a
   and an extra information correlated with the first stream of        second one or more instruction sets for operating the device ;
  collections of object representations exceeds a similarity 60 and learn the second stream of collections of object repre
  threshold .                                                   sentations correlated with the second one or more instruction
     In certain embodiments, the system further comprises : a          sets for operating the device . In further embodiments , the
  user interface , wherein the artificial intelligence unit is         second stream of collections of object representations
   further configured to : cause the user interface to present a       includes one or more collections of representations of
  user with an option to execute the first one or more instruc - 65 objects detected by the sensor over time. In further embodi
  tion sets for operating the device correlated with the first     m ents , the second stream of collections of object represen
  stream of collections of object representations.                  tations includes or is associated with a time stamp, an order,
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                                                      US 10 ,452 , 974 B1
                                 39                                                                40
  or a time related information. In further embodiments , the         one or more instruction sets for operating the device is stored
  learning the first stream of collections of object representa       into a second node of the neural network . The first node and
  tions correlated with the first one or more instruction sets for    the second nodemay be connected by a connection . The first
  operating the device and the learning the second stream of          nodemay be part of a first layer of the neural network and
   collections of object representations correlated with the 5 the second node may be part of a second layer of the neural
   second one or more instruction sets for operating the device   network . In further embodiments , the first stream of collec
   include creating a connection between the first stream of      tions of object representations correlated with the first one or
   collections of object representations correlated with the firstmore    instruction sets for operating the device is stored into
   one or more instruction sets for operating the device and the  a first  node of a graph and the second stream of collections
   second stream of collections of object representations cor- 10 of object   representations correlated with the second one or
   related with the second one or more instruction sets for          more instruction sets for operating the device is stored into
  operating the device . The connection may include or is
  associated with at least one of: an occurrence count, a            a second node of the graph . The first node and the second
  weight, a parameter , or a data . In further embodiments , the     node may be connected by a connection. In further embodi
  learning the first stream of collections of object representa - 15 ments , the first stream of collections of object representa
  tions correlated with the first one ormore instruction sets for tions correlated with the first one or more instruction sets for
                                                                      operating the device is stored into a first node of a sequence
  operating the device and the learning the second stream of
   collections of object representations correlated with the          and the second stream of collections of object representa
   second one ormore instruction sets for operating the device        tions correlated with the second one or more instruction sets
   include updating a connection between the first stream of 20 for operating the device is stored into a second node of the
   collections of object representations correlated with the first
                                                                 sequence .
   one or more instruction sets for operating the device and the   In some aspects, the disclosure relates to a non - transitory
   second stream of collections of object representations cor- computer storage medium having a computer program
   related with the second one or more instruction sets for stored thereon , the program including instructions that when
   operating the device . In further embodiments, the updating 25 executed by one or more processor circuits cause the one or
   the connection between the first stream of collections of more processor circuits to perform operations comprising :
  object representations correlated with the first one or more   receiving a first stream of collections of object representa
   instruction sets for operating the device and the second      tions, the first stream of collections of object representations
   stream of collections of object representations correlated    including one or more collections of representations of
   with the second one or more instruction sets for operating 30 objects detected by a sensor. The operations may further
   the device includes updating at least one of: an occurrence        comprise : receiving a first one or more instruction sets for
   count, a weight, a parameter, or a data included in or             operating a device . The operations may further comprise :
   associated with the connection . In further embodiments , the      learning the first stream of collections of object representa
  learning the first stream of collections of object representa
  tions correlated with the first one ormore instruction sets for 2535 operating
                                                                       tions
                                                                        10 correlated  with the first one ormore instruction sets for
                                                                                 the device . The operationsmay further comprise :
  operating the device includes storing the first stream of
   collections of object representations correlated with the first    receiving a new stream of collections of object representa
   one or more instruction sets for operating the device into a       tions, the new stream of collections of object representations
   first node of a knowledgebase , and wherein the learning the       including one or more collections of representations of
  second stream of collections of object representations cor - 40 objects detected by the sensor. The operations may further
   related with the second one or more instruction sets for           comprise : anticipating the first one or more instruction sets
  operating the device includes storing the second stream of          for operating the device correlated with the first stream of
   collections of object representations correlated with the          collections of object representations based on at least a
  second one or more instruction sets for operating the device  partial match between the new stream of collections of
  into a second node of the knowledgebase . The knowledge - 45 object representations and the first stream of collections of
  base may include a neural network , a graph , a collection of object representations . The operations may further com
  sequences, a sequence, a collection of knowledge cells, a           prise : causing an execution of the first one or more instruc
  knowledge structure , or a data structure . In further embodi -     tion sets for operating the device correlated with the first
  ments, the knowledgebase may be stored in the memory             stream of collections of object representations, the causing
  unit . The learning the first stream of collections of object 50 performed in response to the anticipating the first one or
   representations correlated with the first one ormore instruc -    more instruction sets for operating the device correlated with
   tion sets for operating the device and the learning the second     the first stream of collections of object representations based
   stream of collections of object representations correlated  on at least a partial match between the new stream of
   with the second one or more instruction sets for operating  collections of object representations and the first stream of
   the device may include creating a connection between the 55 collections of object representations, wherein the device
   first node and the second node . The learning the first stream    performs one or more operations defined by the first one or
   of collections of object representations correlated with the      more instruction sets for operating the device correlated with
   first one ormore instruction sets for operating the device and    the first stream of collections of object representations , the
   the learning the second stream of collections of object           one or more operations by the device performed in response
  representations correlated with the second one or more 60 to the execution .
   instruction sets for operating the device may include updat -       In certain embodiments , the receiving the first one or
   ing a connection between the first node and the second node .     more instruction sets for operating the device includes
   In further embodiments , the first stream of collections of        receiving the first one or more instruction sets for operating
   object representations correlated with the first one or more       the device from the one or more processor circuits or from
   instruction sets for operating the device is stored into a first 65 another one or more processor circuits . In further embodi
  node of a neural network and the second stream of collec -         ments , the execution of the first one ormore instruction sets
  tions of object representations correlated with the second         for operating the device correlated with the first stream of
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                                                       US 10 ,452 , 974 B1
   collections of object representations is performed by the one         that would have been executed next. In further embodi
  or more processor circuits or by another one or more                   ments , the executing the first one or more instruction sets for
  processor circuits.                                                    operating the device correlated with the first stream of
      In some aspects, the disclosure relates to a method com            collections of object representations includes modifying one
  prising: ( a ) receiving a first stream of collections of object 5 or more instruction sets of a processor circuit . In further
  representations by a processor circuit , the first stream of           embodiments , the executing the first one or more instruction
   collections of object representations including one or more           sets for operating the device correlated with the first stream
   collections of representations of objects detected by a sen -         of collections of object representations includes modifying a
   sor. The method may further comprise : (b ) receiving a first         register or an element of a processor circuit . In further
  one or more instruction sets for operating a device by the 10 embodiments , the executing the first one or more instruction
   processor circuit. The method may further comprise : (c )             sets for operating the device correlated with the first stream
   learning the first stream of collections of object representa         of collections of object representations includes inserting the
   tions correlated with the first one or more instruction sets for      first one or more instruction sets for operating the device
   operating the device , the learning of ( c ) performed by the         correlated with the first stream of collections of object
  processor circuit. The method may further comprise : ( d ) 15 representations into a register or an element of a processor
   receiving a new stream of collections of object representa            circuit . In further embodiments, the executing the first one or
   tions by the processor circuit, the new stream of collections         more instruction sets for operating the device correlated with
  of object representations including one or more collections            the first stream of collections of object representations
   of representations of objects detected by the sensor. The             includes redirecting a processor circuit to the first one or
  method may further comprise : (e ) anticipating the first one 20 more instruction sets for operating the device correlated with
  or more instruction sets for operating the device correlated      the first stream of collections of object representations. In
  with the first stream of collections of object representations further embodiments, the executing the first one or more
  based on at least a partial match between the new stream of instruction sets for operating the device correlated with the
   collections of object representations and the first stream of          first stream of collections of object representations includes
   collections of object representations, the anticipating of ( e ) 25 redirecting a processor circuit to one or more alternate
  performed by the processor circuit. The method may further              instruction sets , the alternate instruction sets comprising the
  comprise : ( f) executing the first one or more instruction sets  first one or more instruction sets for operating the device
  for operating the device correlated with the first stream of      correlated with the first stream of collections of object
  collections of object representations, the executing of (f )      representations. In further embodiments , the executing the
  performed in response to the anticipating of ( e ). The method 30 first one or more instruction sets for operating the device
  may further comprise : (g ) performing, by the device , one or         correlated with the first stream of collections of object
  more operations defined by the first one or more instruction           representations includes transmitting , to a processor circuit
  sets for operating the device correlated with the first stream         for execution , the first one or more instruction sets for
  of collections of object representations , the one or more             operating the device correlated with the first stream of
  operations by the device performed in response to the 35 collections of object representations. In further embodi
   executing of (f).                                                     ments , the executing the first one or more instruction sets for
      In some embodiments, the receiving of (b ) includes                ona
                                                                         operating the device correlated with the first stream  of
   receiving the first one or more instruction sets for operating        collections of object representations includes issuing an
  the device from the processor circuit or from another pro - interrupt to a processor circuit and executing the first one or
  cessor circuit . In further embodiments , the executing of ( f) 40 more instruction sets for operating the device correlated with
   is performed by the processor circuit or by another processor         the first stream of collections of object representations
   circuit .                                                             following the interrupt. In further embodiments, the execut
      The operations or steps of the non -transitory computer           ing the first one or more instruction sets for operating the
   storage medium and /or the method may be performed by                 device correlated with the first stream of collections of
  any of the elements of the above described systems as 45 object representations includes modifying an element that is
   applicable . The non -transitory computer storage medium              part of , operating on , or coupled to a processor circuit.
   and / or the method may include any of the operations, steps ,           In certain embodiments , the executing the first one or
   and embodiments of the above described systems, non -                 more instruction sets for operating the device correlated with
   transitory computer storagemedia , and /ormethods as appli-           the first stream of collections of object representations
   cable as well as the following embodiments .                       50 includes executing , by a logic circuit , the first one or more
      In certain embodiments , the learning the first stream of          instruction sets for operating the device correlated with the
   collections of object representations correlated with the first       first stream of collections of object representations . In fur
  one or more instruction sets for operating the device                  ther embodiments , the logic circuit includes a microcon
   includes storing the first stream of collections of object            troller. In further embodiments, the executing, by the logic
   representations correlated with the first one or more instruc - 55 circuit , the first one or more instruction sets for operating the
   tion sets for operating the device into a memory unit , the first  device correlated with the first stream of collections of
  stream of collections of object representations correlated             object representations includes modifying an element of the
  with the first one or more instruction sets for operating the          logic circuit. In further embodiments , the executing, by the
  device being part of a plurality of streams of collections of          logic circuit , the first one or more instruction sets for
  object representations correlated with one or more instruc - 60 operating the device correlated with the first stream of
  tion sets for operating the device stored in the memory unit .  collections of object representations includes inserting the
     In some embodiments , the executing the first one or more    first one or more instruction sets for operating the device
   instruction sets for operating the device correlated with the     correlated with the first stream of collections of object
   first stream of collections of object representations includes representations into an element of the logic circuit . In further
   executing the first one or more instruction sets for operating 65 embodiments , the executing , by the logic circuit, the first
   the device correlated with the first stream of collections of         one or more instruction sets for operating the device corre
  object representations instead of or prior to an instruction set       lated with the first stream of collections of object represen
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                                                       US 10 ,452,974 B1
                                43                                                                  44
   tations includes redirecting the logic circuit to the first one   further embodiments, the executing the first one or more
   or more instruction sets for operating the device correlated      instruction sets for operating the device correlated with the
  with the first stream of collections of object representations .   first stream of collections of object representations includes
   In further embodiments, the executing , by the logic circuit      modifying one ormore instruction sets at a source code write
   the first one or more instruction sets for operating the device 5 time, a compile time, an interpretation time, a translation
   correlated with the first stream of collections of object         time, a linking time, a loading time, or a runtime. In further
   representations includes replacing inputs into the logic cir -    embodiments , the executing the first one or more instruction
  cuit with the first one or more instruction sets for operating sets for operating the device correlated with the first stream
  the device correlated with the first stream of collections of of collections of object representations includes modifying
  object representations . In further embodiments, the execut- 10 one or more code segments, lines of code, statements ,
  ing , by the logic circuit, the first one or more instruction sets instructions, functions , routines , subroutines, or basic
   for operating the device correlated with the first stream of      blocks . In further embodiments , the executing the first one
   collections of object representations includes replacing out-     or more instruction sets for operating the device correlated
   puts from the logic circuit with the first one or more            with the first stream of collections of object representations
   instruction sets for operating the device correlated with the 15 includes a manual, an automatic , a dynamic , or a just in time
   first stream of collections of object representations.            (JIT ) instrumentation of an application . In further embodi
     In some embodiments , the executing the first one or more ments, the executing the first one or more instruction sets for
  instruction sets for operating the device correlated with the  operating the device correlated with the first stream of
  first stream of collections of object representations includes collections of object representations includes utilizing one or
  executing, by an application for operating the device , the 20 more of a .NET tool, a .NET application programming
  first one or more instruction sets for operating the device    interface (API) , a Java tool, a Java API, an operating system
  correlated with the first stream of collections of object          tool, or an independent tool for modifying instruction sets .
  representations . In further embodiments, the executing the        In further embodiments, the executing the first one or more
   first one or more instruction sets for operating the device       instruction sets for operating the device correlated with the
   correlated with the first stream of collections of object 25 first stream of collections of object representations includes
   representations includes modifying an application , the appli -   utilizing at least one of: a dynamic , an interpreted , or a
   cation including instruction sets for operating the device . In   scripting programming language. In further embodiments ,
   further embodiments, the executing the first one or more          the executing the first one or more instruction sets for
   instruction sets for operating the device correlated with the     operating the device correlated with the first stream of
   first stream of collections of object representations includes 30 collections of object representations includes utilizing at
  redirecting an application to the first one or more instruction    least one of: a dynamic code, a dynamic class loading, or a
  sets for operating the device correlated with the first stream     reflection . In further embodiments , the executing the first
  of collections of object representations. In further embodi-       one or more instruction sets for operating the device corre
  ments, the executing the first one or more instruction sets for    lated with the first stream of collections of object represen
   operating the device correlated with the first stream of 35 tations includes utilizing an assembly language. In further
   collections of object representations includes redirecting an     embodiments , the executing the first one or more instruction
  application to one or more alternate instruction sets , the        sets for operating the device correlated with the first stream
   alternate instruction sets comprising the first one or more       of collections of object representations includes utilizing at
   instruction sets for operating the device correlated with the     least one of: a metaprogramming, a self -modifying code, or
   first stream of collections of object representations. In fur- 40 an instruction set modification tool. In further embodiments ,
   ther embodiments, the executing the first one or more             the executing the first one or more instruction sets for
   instruction sets for operating the device correlated with the     operating the device correlated with the first stream of
   first stream of collections of object representations includes    collections of object representations includes utilizing at
  modifying one or more instruction sets of an application . In      least one of: just in time (JIT ) compiling , JIT interpretation ,
   further embodiments , the executing the first one or more 45 JIT translation , dynamic recompiling , or binary rewriting. In
   instruction sets for operating the device correlated with the     further embodiments, the executing the first one or more
   first stream of collections of object representations includes    instruction sets for operating the device correlated with the
  modifying a source code, a bytecode, an intermediate code ,        first stream of collections of object representations includes
   a compiled code, an interpreted code , a translated code , a      utilizing at least one of: a dynamic expression creation , a
   runtime code , an assembly code, or a machine code. In 50 dynamic expression execution , a dynamic function creation ,
   further embodiments, the executing the first one or more          or a dynamic function execution . In further embodiments ,
   instruction sets for operating the device correlated with the     the executing the first one or more instruction sets for
   first stream of collections of object representations includes    operating the device correlated with the first stream of
  modifying at least one of: the memory unit, a register of a        collections of object representations includes adding or
  processor circuit, a storage, or a repository where instruction 55 inserting additional code into a code of an application . In
   sets are stored or used . In further embodiments , the execut-    further embodiments, the executing the first one or more
   ing the first one or more instruction sets for operating the      instruction sets for operating the device correlated with the
  device correlated with the first stream of collections of          first stream of collections of object representations includes
   object representations includes modifying one or more             at least one of:modifying, removing, rewriting, or overwrit
   instruction sets for operating an application or an object of 60 ing a code of an application . In further embodiments , the
  the application . In further embodiments , the executing the       executing the first one ormore instruction sets for operating
   first one or more instruction sets for operating the device       the device correlated with the first stream of collections of
  correlated with the first stream of collections of object    object representations includes at least one of: branching,
  representations includes modifying at least one of: an ele - redirecting, extending , or hot swapping a code of an appli
  ment of a processor circuit, an element of the device , a 65 cation . The branching or redirecting the code may include
   virtualmachine, a runtime engine , an operating system , an       inserting at least one of: a branch , a jump, or a means for
   execution stack , a program counter, or a user input. In          redirecting an execution . In further embodiments , the
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                                                         US 10 ,452 , 974 B1
                               45                                                                  46
   executing the first one ormore instruction sets for operating       may further comprise : receiving, by the first processor
   the device correlated with the first stream of collections of       circuit of the one or more processor circuits, a first one or
   object representations includes implementing a user 's              more instruction sets for operating a device . The operations
  knowledge , style , or methodology of operating the device in        may further comprise : learning , by the first processor circuit
   a circumstance. In further embodiments , the executing the 5 of the one or more processor circuits , the first stream of
   first one or more instruction sets for operating the device  collections of object representations correlated with the first
  correlated with the first stream of collections of object             one or more instruction sets for operating the device . The
  representations includes executing the first one or more              operations may further comprise : receiving , by the first
   instruction sets for operating the device correlated with the       processor circuit of the one or more processor circuits, a new
   first stream of collections of object representations via an 10 stream of collections of object representations, the new
   interface . The interface may include a modification inter -         stream of collections of object representations including one
   face .                                                              or more collections of representations of objects detected by
      In certain embodiments, the operations of the non -tran -         the sensor. The operations may further comprise : anticipat
   sitory computer storage medium and/ or the method further            ing, by the first processor circuit of the one or more
   comprise : receiving at least one extra information . In further 15 processor circuits , the first one or more instruction sets for
   embodiments , the operations of the non - transitory computer       operating the device correlated with the first stream of
   storage medium and /or the method further comprise : learn -    collections of object representations based on at least a
   ing the first stream of collections of object representations partial match between the new stream of collections of
   correlated with the at least one extra information .            object representations and the first stream of collections of
      In some embodiments , the operations of the non - transi- 20 object representations. The operations may further com
   tory computer storage medium and/ or the method further prise : causing, by the first processor circuit of the one or
   comprise : presenting , via a user interface , a user with an       more processor circuits , an execution , by a second processor
   option to execute the first one or more instruction sets for        circuit of the one or more processor circuits , of the first one
   operating the device correlated with the first stream of            or more instruction sets for operating the device correlated
   collections of object representations.                           25 with the first stream of collections of object representations ,
      In certain embodiments, the operations of the non -tran - the causing performed in response to the anticipating, by the
   sitory computer storage medium and/ or the method further            first processor circuit of the one or more processor circuits,
   comprise : receiving, via a user interface , a user' s selection    the first one or more instruction sets for operating the device
   to execute the first one or more instruction sets for operating     correlated with the first stream of collections of object
   the device correlated with the first stream of collections of 30 representations based on at least a partialmatch between the
   object representations .                                             new stream of collections of object representations and the
      In some embodiments , the operations of the non -transi           first stream of collections of object representations, wherein
   tory computer storage medium and / or the method further             the device performs one or more operations defined by the
   comprise : rating the executed first one or more instruction      first one or more instruction sets for operating the device
   sets for operating the device correlated with the first stream 35 correlated with the first stream of collections of object
   of collections of object representations .                        representations, the one or more operations by the device
     In certain embodiments , the operations of the non - tran          performed in response to the execution .
  sitory computer storage medium and / or the method further              In some aspects , the disclosure relates to a method com
   comprise : presenting , via a user interface , a user with an        prising : (a ) receiving a first stream of collections of object
  option to cancel the execution of the executed first one or 40 representations by a first processor circuit, the first stream of
  more instruction sets for operating the device correlated with        collections of object representations including one or more
   the first stream of collections of object representations           collections of representations of objects detected by a sen
      In some embodiments , the operations of the non - transi -       sor. The method may further comprise : (b ) receiving a first
   tory computer storage medium and/or the method further              one or more instruction sets for operating a device by the
   comprise : receiving , via an input device , a user ' s operating 45 first processor circuit . The method may further comprise: ( C )
   directions, the user ' s operating directions for instructing a      learning the first stream of collections of object representa
  processor circuit on how to operate the device .                      tions correlated with the first one or more instruction sets for
      In certain embodiments, the operations of the non -tran           operating the device , the learning of ( c ) performed by the
   sitory computer storage medium and/ or the method further            first processor circuit. Themethod may further comprise : ( d )
   comprise : receiving a second stream of collections of object 50 receiving a new stream of collections of object representa
   representations, the second stream of collections of object          tions by the first processor circuit , the new stream of
  representations including one or more collections of repre -          collections of object representations including one or more
  sentations of objects detected by the sensor; receiving a             collections of representations of objects detected by the
   second one or more instruction sets for operating the device ;       sensor. The method may further comprise : (e ) anticipating
  and learning the second stream of collections of object 55 the first one or more instruction sets for operating the device
   representations correlated with the second one or more               correlated with the first stream of collections of object
   instruction sets for operating the device .                          representations based on at least a partial match between the
      In some aspects , the disclosure relates to a non - transitory    new stream of collections of object representations and the
   computer storage medium having a computer program                    first stream of collections of object representations , the
   stored thereon , the program including instructions that when 60 anticipating of ( e ) performed by the first processor circuit.
   executed by one or more processor circuits cause the one or          The method may further comprise : (f) executing, by a
  more processor circuits to perform operations comprising:             second processor circuit , the first one or more instruction
   receiving, by a first processor circuit of the one or more    sets for operating the device correlated with the first stream
   processor circuits , a first stream of collections of object of collections of object representations , the executing of (f )
   representations, the first stream of collections of object 65 performed in response to the anticipating of ( e ). The method
   representations including one or more collections of repre - may further comprise : ( g ) performing, by the device , one or
  sentations of objects detected by a sensor. The operations           more operations defined by the first one or more instruction
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                                                       US 10 , 452, 974 B1
                                47                                                                     48
   sets for operating the device correlated with the first stream           In some aspects, the disclosure relates to a system for
   of collections of object representations, the one or more             using a device ' s circumstances for autonomous device oper
   operations by the device performed in response to the                  ating . The system may be implemented at least in part on one
  executing of (f).                                                 or more computing devices . In some embodiments , the
     The operations or steps of the non -transitory computer 5 system comprises : a processor circuit configured to execute
  storage medium and/or the method may be performed by instruction               sets for operating a device . The system may
  any of the elements of the above described systems as further              comprise: a memory unit configured to store data .
                                                                     The system may further comprise : a sensor configured to
  applicable . The non -transitory computer storage medium detect          objects . The system may further comprise : an artifi
  and /or the method may include any of the operations, steps* , 10 cial intelligence  unit . The artificial intelligence unit may be
  and embodiments of the above described systems, non
  transitory computer storage media , and / or methods as appli plurality of streams of the
                                                                    configured   to : access       memory unit that comprises a
                                                                                               collections  of object representations
  cable .                                                                 correlated with one or more instruction sets for operating the
      In some aspects, the disclosure relates to a system for            device , the plurality of streams of collections of object
   learning a device 's circumstances for autonomous device
                                                 us indevice
  operating . The system may be implemented at least    part 15 representations correlated with one or more instruction sets
                                                                for operating the device including a first stream of collec
  on one or more computing devices . In some embodiments , tions of object representations correlated with a first one or
  the system comprises: a processor circuit configured to                more instruction sets for operating the device. The artificial
  execute instruction sets for operating a device . The system           intelligence unit may be further configured to : receive a new
  may further comprise: a memory unit configured to store 20 stream of collections of object representations, the new
  data . The system may further comprise : a sensor configured            stream of collections of object representations including one
  to detect objects. The system may further comprise : an                 or more collections of representations of objects detected by
   artificial intelligence unit. The artificial intelligence unit        the sensor. The artificial intelligence unit may be further
  may be configured to : receive a first stream of collections of configured to : anticipate the first one or more instruction sets
  object representations, the first stream of collections of 25 for operating the device correlated with the first stream of
   object representations including one or more collections of           collections of object representations based on at least a
  representations of objects detected by the sensor. The arti-           partial match between the new stream of collections of
   ficial intelligence unit may be further configured to : receive        object representations and the first stream of collections of
   a first one or more instruction sets for operating the device .        object representations . The artificial intelligence unitmay be
   The artificial intelligence unit may be further configured to : 30 further configured to : cause the processor circuit to execute
   learn the first stream of collections of object representations    the first one or more instruction sets for operating the device
  correlated with the first one or more instruction sets for             correlated with the first stream of collections of object
   operating the device .                                          representations , the causing performed in response to the
      In some aspects, the disclosure relates to a non- transitory anticipating of the artificial intelligence unit, wherein the
   computer storage medium having a computer program 35 device performs one or more operations defined by the first
   stored thereon, the program including instructions that when    one or more instruction sets for operating the device corre
   executed by one or more processor circuits cause the one or           lated with the first stream of collections of object represen
  more processor circuits to perform operations comprising :              tations, the one or more operations performed in response to
  receiving a first stream of collections of object representa -         the executing by the processor circuit.
   tions, the first stream of collections of object representations 40      In some aspects , the disclosure relates to a non -transitory
   including one or more collections of representations of                computer storage medium having a computer program
   objects detected by a sensor . The operations may further              stored thereon , the program including instructions that when
   comprise : receiving a first one or more instruction sets for          executed by one ormore processor circuits cause the one or
   operating a device . The operations may further comprise :            more processor circuits to perform operations comprising:
  learning the first stream of collections of object representa - 45 accessing a memory unit that comprises a plurality of
  tions correlated with the first one or more instruction sets for   streams of collections of object representations correlated
  operating the device .                                                 with one ormore instruction sets for operating a device , the
     In some aspects, the disclosure relates to a non method             plurality of streams of collections of object representations
   comprising: ( a ) receiving a first stream of collections of           correlated with one or more instruction sets for operating the
  object representations by a processor circuit , the first stream 50 device including a first stream of collections of object
   of collections of object representations including one or             representations correlated with a first one or more instruc
  more collections of representations of objects detected by a           tion sets for operating the device . The operations may
  sensor. The method may further comprise : (b ) receiving a             further comprise : receiving a new stream of collections of
   first one or more instruction sets for operating a device by           object representations , the new stream of collections of
  the processor circuit . The method may further comprise : ( c ) 55 object representations including one or more collections of
   learning the first stream of collections of object representa         representations of objects detected by a sensor. The opera
  tions correlated with the first one or more instruction sets for       tionsmay further comprise : anticipating the first one or more
  operating the device, the learning of ( c ) performed by the            instruction sets for operating the device correlated with the
  processor circuit.                                                      first stream of collections of object representations based on
      The operations or steps of the non - transitory computer 60 at least a partial match between the new stream of collec
   storage medium and /or the method may be performed by                 tions of object representations and the first stream of col
   any of the elements of the above described systems as                 lections of object representations. The operations may fur
  applicable . The non -transitory computer storage medium               ther comprise : causing an execution of the first one or more
   and/ or the method may include any of the operations, steps, instruction sets for operating the device correlated with the
   and embodiments of the above described systems, non - 65 first stream of collections of object representations , the
   transitory computer storage media , and /ormethods as appli- causing performed in response to the anticipating the first
   cable .                                                                one or more instruction sets for operating the device corre
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                                                       US 10 ,452 , 974 B1
                                49                                                                   50
   lated with the first stream of collections of object represen      one or more inputs. The artificial intelligence unit may be
  tations based on at least a partial match between the new           further configured to : receive a new collection of object
  stream of collections of object representations and the first       representations, the new collection of object representations
   stream of collections of object representations, wherein the       including one ormore representations of objects detected by
   device performs one or more operations defined by the first 5 the sensor. The artificial intelligence unit may be further
   one or more instruction sets for operating the device corre        configured to : anticipate the first one or more inputs corre
   lated with the first stream of collections of object represen      lated with the first collection of object representations based
   tations, the one or more operations by the device performed        on at least a partial match between the new collection of
   in response to the execution .                                     object representations and the first collection of object
     In some aspects , the disclosure relates to a method com - 10 representations. The artificial intelligence unit may be fur
   prising: (a ) accessing a memory unit that comprises a             ther configured to : cause the logic circuit to receive the first
  plurality of streams of collections of object representations       one or more inputs correlated with the first collection of
  correlated with one or more instruction sets for operating a        object representations, the causing performed in response to
   device, the plurality of streams of collections of object          the anticipating of the artificial intelligence unit, wherein the
  representations correlated with one or more instruction sets 15 device performs one or more operations defined by one or
   for operating the device including a first stream of collec        more outputs for operating the device produced by the logic
  tions of object representations correlated with a first one or      circuit.
  more instruction sets for operating the device , the accessing         In some embodiments , the logic circuit configured to
  of (a ) performed by a processor circuit . The method may           receive inputs and produce outputs includes a logic circuit
   further comprise: (b ) receiving a new stream of collections 20 configured to produce outputs based at least in part on logic
  of object representations by the processor circuit, the new         operations performed on the inputs . In further embodiments ,
  stream of collections of object representations including one       the learning the first collection of object representations
  or more collections of representations of objects detected by       correlated with the first one or more inputs includes corre
   a sensor. The method may further comprise : ( c ) anticipating     lating the first collection of object representations with the
  the first one or more instruction sets for operating the device 25 first one or more inputs . In further embodiments , the learn
  correlated with the first stream of collections of object         i ng the first collection of object representations correlated
  representations based on at least a partialmatch between the       with the first one or more inputs includes storing the first
  new stream of collections of object representations and the        collection of object representations correlated with the first
   first stream of collections of object representations , the        one or more inputs into the memory unit, the first collection
   anticipating of ( c ) performed by the processor circuit . The 30 of object representations correlated with the first one or
  method may further comprise : (d ) executing the first one or       more inputs being part of a plurality of collections of object
  more instruction sets for operating the device correlated with      representations correlated with one or more inputs stored in
  the first stream of collections of object representations, the      the memory unit. In further embodiments , the anticipating
   executing of (d ) performed in response to the anticipating of     the first one or more inputs correlated with the first collec
   ( c ). The method may further comprise : (e ) performing, by 35 tion of object representations based on at least a partial
   the device , one or more operations defined by the first one match between the new collection of object representations
  or more instruction sets for operating the device correlated        and the first collection of object representations includes
  with the first stream of collections of object representations,    comparing at least one portion of the new collection of
  the one or more operations by the device performed in              object representations with at least one portion of the first
  response to the executing of (d ).                              40 collection of object representations. In further embodiments ,
     The operations or steps of the non -transitory computer         the anticipating the first one or more inputs correlated with
  storage medium and /or the method may be performed by               the first collection of object representations based on at least
  any of the elements of the above described systems as               a partial match between the new collection of object repre
   applicable . The non -transitory computer storage medium           sentations and the first collection of object representations
  and / or the method may include any of the operations, steps , 45 includes determining that there is at least a partial match
  and embodiments of the above described systems, non               between the new collection of object representations and the
  transitory computer storage media , and /or methods as appli        first collection of object representations. In further embodi
   cable .                                                         ments , the causing the logic circuit to receive the first one or
      In some aspects , the disclosure relates to a system for more inputs correlated with the first collection of object
   learning and using a device ' s circumstances for autonomous 50 representations includes transmitting, to the logic circuit , the
   device operating. The system may be implemented at least         first one or more inputs correlated with the first collection of
  in part on one or more computing devices . In some embodi-          object representations. In further embodiments , the causing
  ments , the system comprises: a logic circuit configured to         the logic circuit to receive the first one or more inputs
  receive inputs and produce outputs, wherein the outputs are   correlated with the first collection of object representations
  used for operating a device . The system may further com - 55 includes replacing one or more inputs into the logic circuit
  prise : a memory unit configured to store data . The system   with the first one or more inputs correlated with the first
  may further comprise : a sensor configured to detect objects. collection of object representations.
   The system may further comprise : an artificial intelligence          In some aspects , the disclosure relates to a non - transitory
   unit. The artificial intelligence unit may be configured to :      computer storage medium having a computer program
  receive a first collection of object representations, the first 60 stored thereon , the program including instructions that when
   collection of object representations including one or more         executed by one ormore processor circuits cause the one or
  representations of objects detected by the sensor. The arti-        more processor circuits to perform operations comprising:
   ficial intelligence unit may be further configured to : receive    receiving a first collection of object representations , the first
   a first one or more inputs , wherein the first one or more         collection of object representations including one or more
   inputs are also received by the logic circuit. The artificial 65 representations of objects detected by a sensor. The opera
   intelligence unit may be further configured to : learn the first   tions may further comprise : receiving a first one or more
   collection of object representations correlated with the first     inputs, wherein the first one or more inputs are also received
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                                                        US 10 ,452 , 974 B1
                                                                                                     52
  by a logic circuit , and wherein the logic circuit is configured     used for operating a device. The system may further com
  to receive inputs and produce outputs , and wherein the              prise : a memory unit configured to store data . The system
   outputs are used for operating a device . The operations may        may further comprise : a sensor configured to detect objects .
   further comprise : learning the first collection of object          The system may further comprise: an artificial intelligence .
  representations correlated with the first one or more inputs . 5 The artificial intelligence unit may be configured to : receive
   The operations may further comprise : receiving a new               a first collection ofobject representations , the first collection
   collection of object representations , the new collection of        of object representations including one or more representa
   object representations including one or more representations        tions of objects detected by the sensor. The artificial intel
   of objects detected by the sensor. The operationsmay further        ligence unit may be further configured to : receive a first one
   comprise : anticipating the first one or more inputs correlated 10 or more outputs , the first one or more outputs transmitted
  with the first collection of object representations based on at      from the logic circuit. The artificial intelligence unit may be
   least a partial match between the new collection of object          further configured to : learn the first collection of object
  representations and the first collection of object representa        representations correlated with the first one or more outputs .
   tions. The operations may further comprise : causing the            The artificial intelligence unit may be further configured to :
   logic circuit to receive the first one or more inputs correlated 15 receive a new collection of object representations, the new
  with the first collection of object representations, the causing     collection of object representations including one or more
  performed in response to the anticipating the first one or           representations of objects detected by the sensor. The arti
  more inputs correlated with the first collection of object           ficial intelligence unit may be further configured to : antici
  representations based on at least a partialmatch between the         pate the first one or more outputs correlated with the first
  new collection of object representations and the first collec - 20 collection of object representations based on at least a partial
  tion of object representations, wherein the device performs          match between the new collection of object representations
   one or more operations defined by one or more outputs for           and the first collection of object representations . The artifi
  operating the device produced by the logic circuit .                 cial intelligence unit may be further configured to : cause the
     In some aspects , the disclosure relates to a method com - device to perform one or more operations defined by the first
  prising: (a ) receiving a first collection of object representa - 25 one or more outputs correlated with the first collection of
  tions by a processor circuit, the first collection of object         object representations, the causing performed in response to
   representations including one or more representations of            the anticipating of the artificial intelligence unit.
   objects detected by a sensor. The method may further                  In some embodiments, the learning the first collection of
   comprise : ( b ) receiving a first one or more inputs by the        object representations correlated with the first one or more
  processor circuit , wherein the first one or more inputs are 30 outputs includes correlating the first collection of object
   also received by a logic circuit , and wherein the logic circuit    representations with the first one or more outputs . In further
  is configured to receive inputs and produce outputs , and            embodiments, the learning the first collection of object
  wherein the outputs are used for operating a device . The            representations correlated with the first one ormore outputs
  method may further comprise : (c ) learning the first collec -       includes storing the first collection of object representations
   tion of object representations correlated with the first one or 35 correlated with the first one or more outputs into thememory
  more inputs, the learning of (c ) performed by the processor         unit, the first collection of object representations correlated
  circuit. The method may further comprise : ( d ) receiving a         with the first one or more outputs being part of a plurality of
  new collection of object representations by the processor            collections of object representations correlated with one or
   circuit , the new collection of object representations includ -     more outputs stored in the memory unit . In further embodi
   ing one or more representations of objects detected by the 40 ments , the anticipating the first one or more outputs corre
  sensor. The method may further comprise : ( e ) anticipating         lated with the first collection of object representations based
  the first one or more inputs correlated with the first collec -      on at least a partial match between the new collection of
   tion of object representations based on at least a partial          object representations and the first collection of object
  match between the new collection of object representations           representations includes comparing at least one portion of
  and the first collection of object representations, the antici- 45 the new collection of object representations with at least one
   pating of ( e ) performed by the processor circuit. Themethod       portion of the first collection of object representations. In
  may further comprise : (f) receiving, by the logic circuit , the     further embodiments, the anticipating the first one or more
   first one or more inputs correlated with the first collection of outputs correlated with the first collection of object repre
   object representations , the receiving of ( f) performed in      sentations based on at least a partial match between the new
   response to the anticipating of ( e ). The method may further 50 collection of object representations and the first collection of
   comprise: ( g ) performing , by the device , one or more         object representations includes determining that there is at
  operations defined by one or more outputs for operating the          least a partial match between the new collection of object
  device produced by the logic circuit.                                representations and the first collection of object representa
      The operations or steps of the non - transitory computer         tions . In further embodiments, the causing the device to
   storage medium and /or the method may be performed by 55 perform one or more operations defined by the first one or
   any of the elements of the above described systems as               more outputs correlated with the first collection of object
   applicable . The non - transitory computer storage medium           representations includes replacing one ormore outputs from
  and / or the method may include any of the operations , steps ,      the logic circuit with the first one or more outputs correlated
   and embodiments of the above described systems, non -               with the first collection of object representations.
   transitory computer storage media , and / or methods as appli- 60      In some aspects , the disclosure relates to a non -transitory
   cable .                                                             computer storage medium having a computer program
      In some aspects , the disclosure relates to a system for         stored thereon , the program including instructions that when
   learning and using a device ' s circumstances for autonomous        executed by one or more processor circuits cause the one or
   device operating . The system may be implemented at least           more processor circuits to perform operations comprising :
  in part on one or more computing devices . In some embodi- 65 receiving a first collection of object representations , the first
  ments, the system comprises: a logic circuit configured to    collection of object representations including one or more
   receive inputs and produce outputs , wherein the outputs are        representations of objects detected by a sensor. The opera
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                                                       US 10 ,452 , 974 B1
                                53                                                                  54
   tions may further comprise : receiving a first one or more         objects . The system may further comprise : an artificial
   outputs, the first one or more outputs transmitted from a          intelligence unit. The artificial intelligence unit may be
   logic circuit, wherein the logic circuit is configured to          configured to : receive a first collection of object represen
  receive inputs and produce outputs, and wherein the outputs         tations, the first collection of object representations includ
  are used for operating a device . The operations may further 5 ing one or more representations of objects detected by the
   comprise : learning the first collection of object representa -    sensor. The artificial intelligence unit may be further con
   tions correlated with the first one or more outputs . The          figured to : receive a first one ormore inputs , wherein the first
  operations may further comprise : receiving a new collection        one or more inputs are also received by the actuator. The
   of object representations, the new collection of object rep -      artificial intelligence unitmay be further configured to : learn
   resentations including one or more representations of objects 10 the first collection of object representations correlated with
  detected by the sensor. The operations may further comprise:        the first one or more inputs. The artificial intelligence unit
   anticipating the first one or more outputs correlated with the     may be further configured to : receive a new collection of
   first collection of object representations based on at least a     object representations, the new collection of object repre
   partial match between the new collection of object repre -         sentations including one or more representations of objects
   sentations and the first collection of object representations. 15 detected by the sensor. The artificial intelligence unit may be
   The operations may further comprise : causing the device to       further configured to : anticipate the first one or more inputs
   perform one or more operations defined by the first one or         correlated with the first collection of object representations
  more outputs correlated with the first collection of object        based on at least a partialmatch between the new collection
   representations, the causing performed in response to the          of object representations and the first collection of object
   anticipating the first one or more outputs correlated with the 20 representations. The artificial intelligence unit may be fur
   first collection of object representations based on at least a     ther configured to : cause the actuator to receive the first one
   partial match between the new collection of object repre -         or more inputs correlated with the first collection of object
   sentations and the first collection of object representations.     representations, the causing performed in response to the
      In some aspects , the disclosure relates to a method com -      anticipating of the artificial intelligence unit, wherein the
  prising: (a ) receiving a first collection of object representa - 25 actuator performs one or more motions defined by the first
   tions by a processor circuit, the first collection of object       one or more inputs correlated with the first collection of
   representations including one or more representations of           object representations .
   objects detected by a sensor. The method may further                  In some aspects , the disclosure relates to a non -transitory
   comprise : (b ) receiving a first one or more outputs by the       computer storage medium having a computer program
  processor circuit, the first one or more outputs transmitted 30 stored thereon , the program including instructions that when
   from a logic circuit, wherein the logic circuit is configured     executed by one or more processor circuits cause the one or
   to receive inputs and produce outputs, and wherein the            more processor circuits to perform operations comprising :
   outputs are used for operating a device . The method may           receiving a first collection of object representations, the first
   further comprise : (c ) learning the first collection of object    collection of object representations including one or more
  representations correlated with the first one or more outputs , 35 representations of objects detected by a sensor. The opera
  the learning of (c ) performed by the processor circuit. The        tions may further comprise : receiving a first one or more
  method may further comprise: ( d ) receiving a new collection      inputs , wherein the first one or more inputs are also received
  of object representations by the processor circuit , the new       by an actuator , and wherein the actuator is configured to
   collection of object representations including one or more         receive inputs and perform motions. The operations may
  representations of objects detected by the sensor. The 40 further comprise : learning the first collection of object
  method may further comprise : ( e ) anticipating the first one representations correlated with the first one ormore inputs .
  or more outputs correlated with the first collection of object The operations may further comprise : receiving a new
  representations based on at least a partial match between the  collection of object representations, the new collection of
   new collection of object representations and the first collec -    object representations including one or more representations
   tion of object representations, the anticipating of ( e ) per - 45 of objects detected by the sensor . The operations may further
  formed by the processor circuit. The method may further             comprise : anticipating the first one or more inputs correlated
  comprise: (f) performing, by the device , one or more opera -       with the first collection of object representations based on at
  tions defined by the first one or more outputs correlated with      least a partial match between the new collection of object
  the first collection of object representations, the one or more     representations and the first collection of object representa
   operations by the device performed in response to the 50 tions. The operations may further comprise : causing the
  anticipating of ( e ).                                         actuator to receive the first one or more inputs correlated
     The operations or steps of the non - transitory computer with the first collection of object representations, the causing
  storage medium and /or the method may be performed by          performed in response to the anticipating the first one or
  any of the elements of the above described systems as more inputs correlated with the first collection of object
  applicable . The non -transitory computer storage medium 55 representations based on at least a partialmatch between the
  and / or the method may include any of the operations, steps , new collection of object representations and the first collec
  and embodiments of the above described systems, non -         tion of object representations, wherein the actuator performs
  transitory computer storage media , and /ormethods as appli - one or more motions defined by the first one or more inputs
   cable .                                                      correlated with the first collection of object representations.
      In some aspects, the disclosure relates to a system for 60 In some aspects, the disclosure relates to a method com
   learning and using a device ' s circumstances for autonomous       prising : ( a ) receiving a first collection of object representa
   device operating . The system may be implemented at least          tions by a processor circuit, the first collection of object
  in part on one or more computing devices. In some embodi- representations including one or more representations of
  ments, the system comprises : an actuator configured to       objects detected by a sensor. The method may further
  receive inputs and perform motions. The system may further 65 comprise : (b ) receiving a first one or more inputs by the
  comprise : a memory unit configured to store data . The       processor circuit, wherein the first one or more inputs are
  system may further comprise : a sensor configured to detect         also received by an actuator, and wherein the actuator is
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                                                        US 10,452 ,974 B1
                                 55                                                                56
   configured to receive inputs and perform motions. The                FIG . 13 illustrates an embodiment of Knowledge Struc
  method may further comprise: (c ) learning the first collec     turing Unit 520 correlating individual Collections of Object
  tion of object representations correlated with the first one or Representations 525 with any Instruction Sets 526 and /or
  more inputs, the learning of (c ) performed by the processor Extra Info 527 .
  circuit. The method may further comprise : (d ) receiving a 5 FIG . 14 illustrates another embodiment of Knowledge
  new collection of object representations by the processor           Structuring Unit 520 correlating individual Collections of
   circuit , the new collection of object representations includ -    Object Representations 525 with any Instruction Sets 526
   ing one or more representations of objects detected by the         and /or Extra Info 527 .
   sensor. The method may further comprise : (e ) anticipating          FIG . 15 illustrates an embodiment of Knowledge Struc
  the first one or more inputs correlated with the first collec -     turing Unit 520 correlating streams of Collections of Object
  tion of object representations based on at least a partial          Representations 525 with any Instruction Sets 526 and /or
  match between the new collection of object representations          Extra Info 527 .
   and the first collection of object representations, the antici-    FIG . 16 illustrates another embodiment of Knowledge
   pating of ( e ) performed by the processor circuit. Themethod 16 Structuring Unit 520 correlating streams of Collections of
  may further comprise : (f) receiving, by the actuator, the first    Object Representations 525 with any Instruction Sets 526
   one or more inputs correlated with the first collection of         and /or Extra Info 527 .
   object representations, the receiving of (f) performed in            FIG . 17 illustrates various artificial intelligence methods,
   response to the anticipating of (e ). The method may further       systems, and /or models that can be utilized in DCADO Unit
  comprise : (g ) performing, by the actuator, one or more 20 100 embodiments .
  motions defined by the first one or more inputs correlated    FIG . 18A - 18C illustrate embodiments of interconnected
  with the first collection of object representations.        Knowledge Cells 800 and updating weights of Connections
      The operations or steps of the non -transitory computer         853 .
   storage medium and /or the method may be performed by                FIG . 19 illustrates an embodiment of learning Knowledge
   any of the elements of the above described systems as 25 Cells 800 comprising one or more Collections of Object
  applicable . The non-transitory computer storage medium Representations 525 correlated with any Instruction Sets 526
  and / or the method may include any of the operations, steps, and /or Extra Info 527 using Collection of Knowledge Cells
  and embodiments of the above described systems, non              530d .
  transitory computer storage media , and /or methods as appli-       FIG . 20 illustrates an embodiment of learning Knowledge
  cable .                                                        U Cells 800 comprising one or more Collections of Object
     Other features and advantages of the disclosure will
  become apparent from the following description , including Representations
                                                                   and /or Extra
                                                                                     525 correlated with any Instruction Sets 526
                                                                                  Info 527 using Neural Network 530a .
  the claims and drawings .                                          FIG . 21 illustrates an embodiment of learning Knowledge
          BRIEF DESCRIPTION OF THE DRAWINGS                     35 Cells 800 comprising one or more Collections of Object
                                                                      Representations 525 correlated with any Instruction Sets 526
     FIG . 1 illustrates a block diagram of Computing Device          and /or Extra Info 527 using Neural Network 530a compris
  70 that can provide processing capabilities used in some of         ing shortcut Connections 853.
  the disclosed embodiments .                                       FIG . 22 illustrates an embodiment of learning Knowledge
     FIG . 2 illustrates an embodimentof Device 98 comprising 40 Cells 800 comprising one or more Collections of Object
  Unit for Learning and/ or Using a Device 's Circumstances Representations 525 correlated with any Instruction Sets 526
  for Autonomous Device Operation (DCADO Unit 100 ).             and /or Extra Info 527 using Graph 530b .
     FIGS. 3A - 3E illustrate various embodiments of Sensors             FIG . 23 illustrates an embodiment of learning Knowledge
   92 and elements of Object Processing Unit 93.                      Cells 800 comprising one or more Collections of Object
     FIGS. 4A -4B , illustrate an exemplary embodiment of 45 Representations525 correlated with any Instruction Sets 526
  Objects 615 detected in Device ' s 98 surrounding, and result- and /or Extra Info 527 using Collection of Sequences 530c.
  ing Collection of Object Representations 525 .                        FIG . 24 illustrates an embodiment of determining antici
     FIG . 5 illustrates some embodiments of obtaining instruc        patory Instruction Sets 526 from a single Knowledge Cell
  tion sets, data , and/ or other information through tracing,        800
  profiling , or sampling of Processor 11 registers , memory , or 50 FIG . 25 illustrates an embodiment of determining antici
  other computing system components.                                patory Instruction Sets 526 by traversing a single Knowl
     FIGS. 6A -6B illustrate some embodiments of obtaining          edge Cell 800 .
   instruction sets , data , and /or other information through trac
   ing , profiling, or sampling of Logic Circuit 250.                    FIG . 26 illustrates an embodiment of determining antici
      FIGS. 7A - 7E illustrate some embodiments of Instructionin 55ss patory
                                                                      pa
                                                                      parisons
                                                                              Instruction Sets 526 using collective similarity com
                                                                               .
  Sets 526 .
      FIGS. 8A -8B illustrate some embodiments of Extra Infor            FIG . 27 illustrates an embodiment of determining antici
  mation 527.                                                         patory Instruction Sets 526 using Neural Network 530a .
      FIG . 9 illustrates an embodiment where DCADO Unit                 FIG . 28 illustrates an embodiment of determining antici
  100 is part of or operating on Processor 11 .                  60 patory Instruction Sets 526 using Graph 530b.
      FIG . 10 illustrates an embodiment where DCADO Unit                FIG . 29 illustrates an embodiment of determining antici
   100 resides on Server 96 accessible over Network 95 .              patory Instruction Sets 526 using Collection of Sequences
      FIG . 11 illustrates an embodiment of learning and /or 530c.
  using Remote Device ' s 97 circumstances for autonomous                FIG . 30 illustrates some embodiments of modifying
  Remote Device 97 operation.                                    65 execution and/ or functionality of Processor 11 through
      FIG . 12 illustrates an embodiment of Artificial Intelli modification of Processor 11 registers, memory, or other
  gence Unit 110 .                                                    computing system components .
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                                                         US 10 ,452 , 974 B1
                                  57                                                                     58
      FIGS . 31A - 31B illustrate some embodiments of modify               some embodiments of the forthcoming disclosure. Later
   ing execution and /or functionality of Logic Circuit 250                described devices , systems, and methods, in combination
   through modification of inputs and /or outputs of Logic                 with processing capabilities of Computing Device 70 ,
  Circuit 250 .                                                            enable learning and /or using a device 's circumstances for
      FIG . 32 illustrates a flow chart diagram of an embodiment 5 autonomous device operation and /or other functionalities
   of method 9100 for learning and /or using a device ' s cir -    described herein . Various embodiments of the disclosed
  cumstances for autonomous device operation .                             devices, systems, and methods include hardware, functions,
     FIG . 33 illustrates a flow chart diagram ofan embodiment             logic , programs, and /or a combination thereof that can be
   of method 9200 for learning and /or using a device ' s cir - implemented using any type or form of computing, com
   cumstances for autonomous device operation .                 10 puting enabled, or other device or system such as a mobile
      FIG . 34 illustrates a flow chart diagram of an embodiment device , a computer, a computing enabled telephone, a server,
   of method 9300 for learning and/ or using a device 's cir -             a gaming device, a television device , a digital camera , a GPS
   cumstances for autonomous device operation .                            receiver, a media player, an embedded device , a supercom
     FIG . 35 illustrates a flow chart diagram of an embodiment            puter, a wearable device , an implantable device , a cloud , or
  of method 9400 for learning and / or using a device ' s cir - 15 any other type or form of computing, computing enabled , or
   cumstances for autonomous device operation .                            other device or system capable of performing the operations
     FIG . 36 illustrates a flow chart diagram of an embodiment            described herein .
   of method 9500 for learning and /or using a device 's cir-                 In some designs, Computing Device 70 comprises hard
   cumstances for autonomous device operation .                     ware , processing techniques or capabilities , programs, or a
      FIG . 37 illustrates a flow chart diagram of an embodiment 20 combination thereof. Computing Device 70 includes one or
   of method 9600 for learning and / or using a device ' s cir - more central processing units, which may also be referred to
   cumstances for autonomous device operation .                            as processors 11 . Processor 11 includes one or more memory
     FIG . 38 illustrates an exemplary embodiment of Loader                ports 10 and/or one or more input-output ports , also referred
   98a.                                                          to as I/O ports 15 , such as I/ O ports 15A and 15B . Processor
     FIG . 39 illustrates an exemplary embodimentof Boat 98b. 25 11 may be special or general purpose . Computing Device 70
     FIG . 40 illustrates an exemplary embodiment of utilizing may further include memory 12, which can be connected to
   Area of Interest 450 around Boat 98b.                         the remainder of the components of Computing Device 70
     Like reference numerals in different figures indicate like            via bus 5 .Memory 12 can be connected to processor 11 via
  elements. Horizontal or vertical “ . . . " or other such indicia memory port 10 . Computing Device 70 may also include
  may be used to indicate additional instances of the same type 30 display device 21 such as a monitor, projector, glasses ,
  of element. n , m , x , or other such letters or indicia represent and /or other display device . Computing Device 70 may also
   integers or other sequential numbers that follow the                    include Human -machine Interface 23 such as a keyboard , a
   sequence where they are indicated . It should be noted that n ,         pointing device , a mouse , a touchscreen , a joystick , a remote
  m , x , or other such letters or indicia may represent different controller, and /or other input device . In some implementa
  numbers in different elements even where the elements are 35 tions, Human -machine Interface 23 can be connected with
  depicted in the same figure . In general, n , m , x , or other such      bus 5 or directly connected with specific elements of Com
   letters or indicia may follow the sequence and/or context               puting Device 70 . Computing Device 70 may include addi
  where they are indicated . Any of these or other such letters            tional elements such as one or more input/ output devices 13 .
  or indicia may be used interchangeably depending on con -                Processor 11 may include or be interfaced with cache
  text and space available . The drawings are not necessarily to 40 memory 14 . Storage 27 may include memory, which pro
   scale , with emphasis instead being placed upon illustrating            vides an operating system 17 (i. e . also referred to as OS 17 ,
  the embodiments , principles , and concepts of the disclosure.           etc .), additional application programs 18 , and/or data space
  A line or arrow between any of the disclosed elements                    19 in which additional data or information can be stored .
  comprises an interface that enables the coupling, connection ,           Alternative memory device 16 can be connected to the
  and / or interaction between the elements .                           45 remaining components of Computing Device 70 via bus 5 .
                                                                           Network interface 25 can also be connected with bus 5 and
                   DETAILED DESCRIPTION                                    be used to communicate with external computing devices
                                                                           via a network . Some or all described elements of Computing
      The disclosed artificially intelligent devices, systems, and         Device 70 can be directly or operatively connected or
  methods for learning and /or using a device ' s circumstances 50 coupled with each other using any other connection means
   for autonomous device operation comprise apparatuses ,                  known in art. Other additional elements may be included as
   systems, methods, features, functionalities, and /or applica -          needed , or some of the disclosed ones may be excluded , or
   tions that enable learning a device ' s circumstances including         a combination thereof may be utilized in alternate imple
  objects with various properties along with correlated instruc- mentations of Computing Device 70 .
  tion sets for operating the device , storing this knowledge in 55 Processor 11 includes one ormore circuits or devices that
  a knowledgebase (i.e . neural network , graph , sequences,       can execute instructions fetched from memory 12 and /or
   etc .), and operating a device autonomously. The disclosed              other element. Processor 11 may include any combination of
  artificially intelligent devices , systems, and methods for              hardware and / or processing techniques or capabilities for
   learning and / or using a device 's circumstances for autono -          executing or implementing logic functions or programs.
  mous device operation , any of their elements , any of their 60 Processor 11 may include a single core or a multi core
   embodiments, or a combination thereof can generally be                  processor. Processor 11 includes the functionality for load
  referred to as DCADO , DCADO Unit, or as other suitable                  ing operating system 17 and operating any application
  name or reference.                                                       programs 18 thereon . In some embodiments, Processor 11
    Referring now to FIG . 1, an embodiment is illustrated of              can be provided in a microprocessing or a processing unit,
  Computing Device 70 (also referred to simply as computing 65 such as , for example , Snapdragon processor produced by
  device , computing system , or other suitable name or refer - Qualcomm Inc., processor by Intel Corporation ofMountain
   ence, etc.) that can provide processing capabilities used in            View , Calif., processor manufactured by Motorola Corpo
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                                                       US 10 ,452 , 974 B1
                                59                                                             60
  ration of Schaumburg , Ill .; processor manufactured by              Processor 11 can communicate directly with cache
   Transmeta Corporation of Santa Clara , Calif., processor          memory 14 via a connection means such as a secondary bus
  manufactured by International Business Machines of White           which may also sometimes be referred to as a backside bus.
   Plains, N . Y .; processor manufactured by Advanced Micro         In some embodiments, processor 11 can communicate with
  Devices of Sunnyvale , Calif., or any computing circuit or 5 cache memory 14 using the system bus 5 . Cache memory 14
  device for performing similar functions. In other embodi-          may typically have a faster response time than main memory
  ments, processor 11 can be provided in a graphics processing       12 and can include a type of memory which is considered
  unit (GPU ), visual processing unit (VPU ), or other highly        faster than main memory 12 such as, for example , SRAM ,
   parallel processing circuit or device such as, for example ,      BSRAM , or EDRAM . Cache memory includes any structure
  nVidia GeForce line of GPUs, AMD Radeon line ofGPUs, 10 such as multilevel caches, for example . In some embodi
   and/ or others. Such GPUs or other highly parallel processing ments , processor 11 can communicate with one or more I/ O
   circuits or devices may provide superior performance in         devices 13 via a system bus 5 . Various busses can be used
   processing operations on neural networks , graphs, and/ or to connect processor 11 to any of the I/ O devices 13 such as
   other data structures . In further embodiments , processor 11   a VESA VL bus , an ISA bus , an EISA bus , a MicroChannel
   can be provided in a micro controller such as, for example , 15 Architecture (MCA ) bus , a PCI bus, a PCI- X bus , a PCI
   Texas instruments , Atmel, Microchip Technology , ARM ,           Express bus, a NuBus, and / or others . In some embodiments ,
  Silicon Labs, Intel, and /or other lines ofmicro controllers. In   processor 11 can communicate directly with I/O device 13
  further embodiments, processor 11 can be provided in a             via HyperTransport, Rapid I/ O , or InfiniBand . In further
  quantum processor such as, for example , D - Wave Systems,         embodiments , local busses and direct communication can be
  Microsoft, Intel, IBM , Google , Toshiba , and /or other lines of 20 mixed . For example , processor 11 can communicate with an
   quantum processors . In further embodiments, processor 11         1/ 0 device 13 using a local interconnect bus and communi
   can be provided in a biocomputer such as DNA -based               cate with another I/ O device 13 directly . Similar configura
   computer, protein - based computer, molecule -based com -      tions can be used for any other components described herein .
   puter, and /or others . In further embodiments, processor 11      Computing Device 70 may further include alternative
   includes any circuit or device for performing logic opera - 25 memory such as a SD memory slot, a USB memory stick , an
   tions. Processor 11 can be based on any of the aforemen           optical drive such as a CD -ROM drive, a CD -R /RW drive ,
  tioned or other available processors capable of operating as a DVD -ROM drive or a BlueRay disc , a hard -drive , and /or
  described herein . Computing Device 70 may include one or    any other device comprising non - volatile memory suitable
  more of the aforementioned or other processors . In some for storing data or installing application programs. Comput
  designs, processor 11 can communicate with memory 12 via 30 ing Device 70 may further include a storage device 27
  a system bus 5 . In other designs, processor 11 can commu-   comprising any type or form of non - volatile memory for
  nicate directly with memory 12 via a memory port 10 .        storing an operating system (OS ) such as any type or form
     Memory 12 includes one or more circuits or devices        of Windows OS, Mac OS , Unix OS , Linux OS , Android OS,
  capable of storing data . In some embodiments , Memory 12    iPhone OS , mobile version of Windows OS , an embedded
   can be provided in a semiconductor or electronic memory 35 OS , or any other OS that can operate on Computing Device
  chip such as static random access memory (SRAM ), Flash            70. Computing Device 70 may also include application
  memory , Burst SRAM or SynchBurst SRAM (BSRAM ),                   programs 18 , and /or data space 19 for storing additional data
  Dynamic random access memory (DRAM ), Fast Page Mode               or information . In some embodiments , alternative memory
   DRAM ( FPM DRAM ), Enhanced DRAM (EDRAM ),                         16 can be used as or similar to storage device 27. Addition
  Extended Data Output RAM (EDO RAM ), Extended Data 40 ally , OS 17 and/or application programs 18 can be operable
  Output DRAM (EDO DRAM ), Burst Extended Data Output from a bootable medium such as , for example , a flash drive ,
  DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ), a micro SD card , a bootable CD or DVD , and /or other
   synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                     bootable medium .
   SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                         Application Program 18 (also referred to as program ,
  Enhanced SDRAM            (ESDRAM ), SyncLink DRAM 45 computer program , application , script, code, or other suit
   (SLDRAM ), Direct Rambus DRAM (DRDRAM ), Ferro -                  able name or reference ) comprises instructions that can
   electric RAM (FRAM ), and/ or others . In other embodi-           provide functionality when executed by processor 11 . As
  ments , Memory 12 includes any volatile memory . In general,       such , Application Program 18 may be used to operate ( i.e .
  Memory 12 can be based on any of the aforementioned or             perform operations on /with ) or control a device or system .
  other available memories capable of operating as described 50 Application program 18 can be implemented in a high -level
  herein .                                                           procedural or object -oriented programming language , or in
      Storage 27 includes one or more devices or mediums             a low -level machine or assembly language. Any language
   capable of storing data . In some embodiments , Storage 27        used can be compiled , interpreted , or otherwise translated
   can be provided in a device or medium such as a hard drive , into machine language. Application program 18 can be
   flash drive , optical disk , and/ or others. In other embodi- 55 deployed in any form including as a stand -alone program or
  ments , Storage 27 can be provided in a biological storage         as a module , component, subroutine, or other unit suitable
   device such as DNA - based storage device , protein -based        for use in a computing system . Application program 18 does
   storage device , molecule -based storage device , and /or oth -   not necessarily correspond to a file in a file system . A
   ers. In further embodiments, Storage 27 can be provided in        program can be stored in a portion of a file that may hold
  an optical storage device such as holographic storage , and/ or 60 other programs or data , in a single file dedicated to the
   others . In further embodiments , Storage 27 may include any      program , or in multiple files (i.e . files that store one or more
   non - volatile memory . In general, Storage 27 can be based on    modules , sub programs, or portions of code , etc .). Applica
  any of the aforementioned or other available storage devices tion Program 18 can be delivered in various forms such as,
  or mediums capable of operating as described herein . In      for example, executable file , library , script, plugin , addon ,
  some aspects, Storage 27 may include any features, func - 65 applet, interface , console application , web application ,
  tionalities , and embodiments of Memory 12 , and vice versa , application service provider (ASP ) -type application , oper
  as applicable .                                               ating system , and/or other forms. Application program 18
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                                                         US 10 ,452,974 B1
                                                                                                        62
   can be deployed to be executed on one computing device or               input interface or system can be utilized to process input
  on multiple computing devices (i.e. cloud , distributed , or             from Human -machine Interface 23 or other input device for
  parallel computing , etc.), or at one site or distributed across         use by elements of Computing Device 70 . In some aspects ,
  multiple sites interconnected by a communication network Human -machine Interface 23 or other input device itself
  or an interface .                                           5 may include an input interface for processing input for use
    Network interface 25 can be utilized for interfacing by elements of Computing Device 70.
  Computing Device 70 with other devices via a network            Computing Device 70 may include or be connected to
  through a variety of connections including telephone lines , multiple display devices 21 . Display devices 21 can each be
  wired or wireless connections , LAN or WAN links (i.e .             of the same or different type or form . Computing Device 70
  802. 11, T1 , T3 , 56 kb , X .25 , etc .), broadband connections 10 and /or its elements comprise any type or form of suitable
  (i.e . ISDN , Frame Relay , ATM , etc .), or a combination hardware , programs, or a combination thereof to support,
  thereof. Examples of networks include the Internet, an              enable , or provide for the connection and use of multiple
   intranet, an extranet, a local area network (LAN ), a wide              display devices 21. In one example , Computing Device 70
   area network (WAN ), a personal area network (PAN ), a                  includes any type or form of video adapter, video card ,
  home area network (HAN ) , a campus area network (CAN ) , 15 driver, and /or library to interface , communicate , connect, or
   a metropolitan area network (MAN ), a global area network               otherwise use display devices 21. In some aspects, a video
   (GAN ), a storage area network (SAN ), virtual network , a              adapter may include multiple connectors to interface to
  virtual private network (VPN ), a Bluetooth network , a                  multiple display devices 21. In other aspects, Computing
  wireless network , a wireless LAN , a radio network , a                  Device 70 includes multiple video adapters, with each video
  HomePNA , a power line communication network , a G .hn 20 adapter connected to one or more display devices 21. In
  network , an optical fiber network , an Ethernet network , an            some embodiments , Computing Device 's 70 operating sys
  active networking network , a client- server network , a peer -          tem can be configured for using multiple displays 21 . In
  to -peer network , a bus network , a star network , a ring               other embodiments , one or more display devices 21 can be
  network , a mesh network , a star -bus network , a tree network ,        provided by one or more other computing devices such as
   a hierarchical topology network , and / or other networks . 25 remote computing devices connected to Computing Device
  Network interface 25 may include a built - in network             70 via a network or an interface .
  adapter, network interface card , PCMCIA network card ,             Computing Device 70 can operate under the control of
  card bus network adapter, wireless network adapter, Blu -         operating system 17 , which may support Computing
  etooth network adapter,WiFi network adapter, USB network Device 's 70 basic functions, interface with and manage
  adapter, modem , and / or any other device suitable for inter- 30 hardware resources, interface with and manage peripherals ,
  facing Computing Device 70 with any type of network provide common services for application programs, sched
   capable of communication and /or operations described                   ule tasks, and /or perform other functionalities. A modern
  herein .                                                                 operating system enables features and functionalities such as
      I/O devices 13 may be present in various shapes or forms             a high resolution display , graphical user interface (GUI),
   in Computing Device 70 . Examples of I/ O device 13 capable 35 touchscreen , cellular network connectivity (i. e .mobile oper
   of input include a joystick , a keyboard , a mouse , a trackpad , ating system , etc .), Bluetooth connectivity, WiFi connectiv
  a trackpoint, a touchscreen , a trackball , a microphone, a ity, global positioning system (GPS ) capabilities, mobile
   drawing tablet, a glove, a tactile input device , a still or video
                                                                   navigation , microphone, speaker, still picture camera , video
  camera , and /or other input device . Examples of I/O device camera , voice recorder, speech recognition , music player,
  13 capable of output include a video display, a touchscreen , 40 video player, near field communication , personal digital
  a projector, a glasses, a speaker, a tactile output device ,     assistant (PDA ), and /or other features, functionalities, or
  and /or other output device . Examples of I/O device 13 applications. For example , Computing Device 70 can use
  capable of input and output include a disk drive, an optical any conventionaloperating system , any embedded operating
  storage device, a modem , a network card , and /or other system , any real - time operating system , any open source
   input/output device . I/ O device 13 can be interfaced with 45 operating system , any video gaming operating system , any
   processor 11 via an 1/0 port 15 , for example . In some                 proprietary operating system , any online operating system ,
  aspects, I/ O device 13 can be a bridge between system bus        any operating system formobile computing devices, or any
  5 and an external communication bus such as a USB bus, an         other operating system capable of running on Computing
  Apple Desktop Bus , an RS - 232 serial connection , a SCSI Device 70 and performing operations described herein .
  bus , a FireWire bus, a FireWire 800 bus, an Ethernet bus , an 50 Example of operating systems include Windows XP, Win
  AppleTalk bus , a Gigabit Ethernet bus, an Asynchronous dows 7 , Windows 8, Windows 10 , etc . manufactured by
  Transfer Mode bus , a HIPPI bus , a Super HIPPI bus , a Microsoft Corporation of Redmond , Wash .; Mac OS, iPhone
  SerialPlus bus, a SCI/LAMP bus, a FibreChannel bus, a                    OS, etc. manufactured by Apple Computer of Cupertino ,
  Serial Attached small computer system interface bus, and/ or             Calif.; OS / 2 manufactured by International Business
  other bus.                                                            55 Machines of Armonk , N . Y .; Linux, a freely -available oper
      An output interface (not shown) such as a graphical user             ating system distributed by Caldera Corp . of Salt Lake City ,
   interface , an acoustic output interface , a tactile output inter-      Utah ; or any type or form of a Unix operating system , and/or
   face, any device driver ( i.e . audio , video , or other driver ),      others . Any operating systems such as the ones for Android
   and/ or other output interface or system can be utilized to             devices can similarly be utilized .
  process output from elements of Computing Device 70 for 60 Computing Device 70 can be implemented as or be part
  conveyance on an output device such as Display 21. In some of various model architectures such as web services , dis
   aspects, Display 21 or other output device itself may include           tributed computing, grid computing , cloud computing , and /
  an output interface for processing output from elements of               or other architectures . For example , in addition to the
  Computing Device 70 . Further, an input interface (not                   traditional desktop , server, or mobile operating system
  shown ) such as a keyboard listener, a touchscreen listener, a 65 architectures, a cloud -based operating system can be utilized
  mouse listener, any device driver ( i.e . audio , video , key -   to provide the structure on which embodiments of the
  board , mouse , touchscreen , or other driver ), and/or other disclosure can be implemented . Other aspects ofComputing
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                                                         US 10 ,452 , 974 B1
                                 63                                                                    64
  Device 70 can also be implemented in the cloud without                 medium . Computer program can be installed onto a com
  departing from the spirit and scope of the disclosure . For            puting device to cause the computing device to perform the
   example , memory , storage, processing, and /or other ele -           operations and /or functionalities disclosed herein . Machine
  ments can be hosted in the cloud. In some embodiments,                 readable medium , computer- readable medium , or other such
  Computing Device 70 can be implemented on multiple 5 termsmay refer to any computer program product, appara
  devices . For example , a portion of Computing Device 70 can tus , and/ or device for providing instructions and/ or data to
  be implemented on a mobile device and another portion can    one or more programmable processors. As such , machine
  be implemented on wearable electronics.                                readable medium includes any medium that can send and / or
     Computing Device 70 can be or include any mobile                    receive machine instructions as a machine- readable signal.
   device , a mobile phone, a smartphone (i. e . iPhone, Windows 10 Examples of a machine- readable medium include a volatile
   phone , Blackberry phone , Android phone , etc .), a tablet, a        and /or non -volatile medium , a removable and /or non - re
   personal digital assistant (PDA ), wearable electronics ,             movable medium , a communication medium , a storage
   implantable electronics , and / or other mobile device capable        medium , and / or other medium . A communication medium ,
   of implementing the functionalities described herein . Com -          for example , can transmit computer readable instructions
  puting Device 70 can also be or include an embedded 15 and / or data in a modulated data signal such as a carrier wave
  device , which can be any device or system with a dedicated            or other transport technique , and may include any other form
  function within another device or system . Embedded sys -              of information delivery medium known in art. A non
   tems range from the simplest ones dedicated to one task with          transitory machine -readable medium comprises all machine
   no user interface to complex ones with advanced user                  readable media except for a transitory , propagating signal.
   interface that may resemble modern desktop computer sys - 20             In some embodiments , the disclosed artificially intelligent
  tems. Examples of devices comprising an embedded device                devices, systems, and methods for learning and/ or using a
  include a mobile telephone, a personal digital assistant               device 's circumstances for autonomous device operation , or
  ( PDA ), a gaming device , a media player, a digital still or          elements thereof, can be implemented entirely or in part in
  video camera, a pager, a television device , a set-top box , a         a device (i.e . microchip , circuitry, logic gates, electronic
  personal navigation device , a global positioning system 25 device , computing device , special or general purpose pro
  (GPS ) receiver, a portable storage device (i. e . a USB flash  cessor, etc .) or system that comprises (i. e . hard coded ,
  drive , etc .), a digital watch , a DVD player, a printer, a    internally stored , etc . ) or is provided with (i.e . externally
  microwave oven , a washing machine, a dishwasher, a gate - stored, etc .) instructions for implementing DCADO func
  way , a router, a hub , an automobile entertainment system , an tionalities . As such , the disclosed artificially intelligent
  automobile navigation system , a refrigerator, a washing 30 devices, systems, and methods for learning and/ or using a
  machine, a factory automation device , an assembly line         device 's circumstances for autonomous device operation , or
   device, a factory floor monitoring device , a thermostat, an          elements thereof, may include the processing, memory,
   automobile , a factory controller, a telephone, a network             storage, and/ or other features, functionalities , and embodi
  bridge, and /or other devices . An embedded device can ments of Computing Device 70 or elements thereof. Such
  operate under the control of an operating system for embed - 35 device or system can operate on its own (i. e . standalone
  ded devices such as MicroC /OS - II , QNX , VxWorks, eCos, device or system , etc. ), be embedded in another device or
  TinyOS, Windows Embedded , Embedded Linux , and/ or             system ( i.e . an industrial machine, a robot, a vehicle , a toy,
  other embedded device operating systems.                        a smartphone , a television device , an appliance , and /or any
     Various implementations of the disclosed devices, sys - other device or system capable of housing the elements
   tems, and methods can be realized in digital electronic 40 needed for DCADO functionalities ), work in combination
   circuitry , integrated circuitry , logic gates, application spe - with other devices or systems, or be available in any other
   cific integrated circuits (ASICs) , field programmable gate           configuration . In other embodiments , the disclosed artifi
   arrays (FPGAS), computer hardware , firmware , programs,              cially intelligent devices, systems, and methods for learning
   virtual machines, and/ or combinations thereof including              and/or using a device ' s circumstances for autonomous
   their structural, logical, and / or physical equivalents .         45 device operation , or elements thereof, may include Alterna
      The disclosed devices, systems, and methodsmay include             tive Memory 16 that provides instructions for implementing
   clients and servers. A client and server are generally , but not      DCADO functionalities to one or more Processors 11 . In
   always , remote from each other and typically, but not                further embodiments, the disclosed artificially intelligent
   always , interact via a network or an interface . The relation        devices, systems, and methods for learning and/ or using a
   ship of a client and server may arise by virtue of computer 50 device ' s circumstances for autonomous device operation , or
   programs running on their respective computers and having             elements thereof, can be implemented entirely or in part as
   a client- server relationship to each other, for example.             a computer program and executed by one or more Proces
      The disclosed devices, systems, and methods can be                 sors 11 . Such program can be implemented in one or more
  implemented in a computing system that includes a back end             modules or units of a single or multiple computer programs.
   component, a middleware component, a front end compo - 55 Such program may be able to attach to or interface with ,
   nent , or any combination thereof. The components of the              inspect, and/ or take control of another application program
   system can be interconnected by any form or medium of                 to implement DCADO functionalities . In further embodi
  digital data communication such as , for example , a network .         ments , the disclosed artificially intelligent devices , systems,
     Computing Device 70 may include or be interfaced with               and methods for learning and/or using a device 's circum
   a computer program product comprising instructions or 60 stances for autonomous device operation , or elements
   logic encoded on a computer -readable medium . Such           thereof, can be implemented as a network , web , distributed ,
   instructions or logic , when executed ,may configure or cause cloud , or other such application accessed on one or more
   one or more processors to perform the operations and/ or      remote computing devices ( i. e . servers , cloud , etc . ) via
  functionalities disclosed herein . For example , a computer Network Interface 25 , such remote computing devices
  program can be provided or encoded on a computer - readable 65 including processing capabilities and instructions for imple
  medium such as an optical medium (i. e . DVD -ROM , etc .) ,           menting DCADO functionalities. In further embodiments ,
   flash drive, hard drive , any memory, firmware, or other              the disclosed artificially intelligent devices, systems, and
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                                                        US 10 ,452 , 974 B1
                                65                                                                    66
  methods for learning and /or using a device 's circumstances         memory locations or structures, and /or other file , storage ,
   for autonomous device operation , or elements thereof, can          memory , or data arrangements.
  be ( 1 ) attached to or interfaced with any computing device           Where a reference to an interface is used herein , it should
   or application program , (2 ) included as a feature of an           be understood that the interface comprises any hardware ,
   operating system , (3 ) built (i.e . hard coded , etc. ) into any 5 device , system , program , method , and / or combination
   computing device or application program , and/ or ( 4 ) avail- thereof that enable direct or operative coupling, connection ,
  able in any other configuration to provide its functionalities .     and /or interaction of the elements between which the inter
     In some embodiments, the disclosed artificially intelligent       face is indicated . A line or arrow shown in the figures
  devices, systems, and methods for learning and /or using a           between any of the depicted elements comprises such inter
  device 's circumstances for autonomous device operation, or          face. Examples of an interface include a direct connection ,
  elements thereof, can be implemented at least in part in a           an operative connection , a wired connection ( i. e . wire , cable ,
  computer program such as Java application or program . Java          etc .), a wireless connection , a device , a network , a bus , a
  provides a robust and flexible environment for application           circuit, a firmware , a driver, a bridge , a program , a combi
                                                                    nation thereof, and /or others .
  programs including flexible user interfaces , robust security , 15 Where a reference to an element coupled or connected to
  built-in network protocols, powerful application program          another element is used herein , it should be understood that
  ming interfaces, database or DBMS connectivity and inter -           the element may be in communication or other interactive
  facing functionalities , file manipulation capabilities, support     relationship with the other element. Furthermore , an element
  for networked applications, and / or other features or func          coupled or connected to another element can be coupled or
   tionalities. Application programs based on Java can be 20 connected to any other element in alternate implementa
   portable across many devices , yet leverage each device 's          tions. Terms coupled, connected , interfaced , or other such
   native capabilities. Java supports the feature sets of most         terms may be used interchangeably herein depending on
   smartphones and a broad range of connected devices while            context.
   still fitting within their resource constraints . Various Java        Where a reference to an element matching another ele
  platforms include virtual machine features comprising a 25 ment is used herein , it should be understood that the element
  runtime environment for application programs. Java plat -            may be equivalent or similar to the other element. Therefore ,
   forms provide a wide range of user-level functionalities that       the term match or matching can refer to total equivalence or
   can be implemented in application programs such as dis -            similarity depending on context.
   playing text and graphics , playing and recording audio               Where a reference to a device is used herein , it should be
  content, displaying and recording visual content, communi- 30 understood that the device may include or be referred to as
  cating with another computing device, and /or other func - a system , and vice versa depending on context, since a
  tionalities. It should be understood that the disclosed artifi- device may include a system of elements and a system may
   cially intelligent devices , systems, and methods for learning      be embodied in a device .
  and/ or using a device 's circumstances for autonomous       Where a reference to a collection of elements is used
  device operation , or elements thereof, are programming 35 herein , it should be understood that the collection of ele
  language , platform , and operating system independent. ments may include one or more elements . In some aspects
  Examples of programming languages that can be used                   or contexts , a reference to a collection of elements does not
  instead of or in addition to Java include C , C + + , Cobol,         imply that the collection is an element itself.
  Python , Java Script, Tcl, Visual Basic , Pascal, VB Script,            Where a reference to an object is used herein , it should be
  Perl, PHP, Ruby, and/ or other programming languages 40 understood that the object may be a physical object (i.e .
   capable of implementing the functionalities described               object detected in a device 's surrounding, etc .), an electronic
  herein .                                                             object (i.e . object in an object oriented application program ,
     Where a reference to a specific file or file type is used         etc .), and /or other object depending on context.
  herein , other files or file types can be substituted .                 Where a mention of a function ,method , routine , subrou
     Where a reference to a data structure is used herein , it 45 tine, or other such procedure is used herein , it should be
   should be understood that any variety of data structures can        understood that the function , method , routine , subroutine , or
  be used such as , for example , array, list, linked list , doubly    other such procedure comprises a call , reference, or pointer
   linked list, queue, tree, heap , graph , map , grid , matrix ,      to the function ,method , routine , subroutine, or other such
  multi- dimensionalmatrix , table , database , database manage -      procedure .
  ment system (DBMS ), file , neural network , and / or any other 50      Where a mention of data , object, data structure , item ,
   type or form of a data structure including a custom one . A         element, or thing is used herein , it should be understood that
  data structure may include one or more fields or data fields     the data , object, data structure , item , element, or thing
  that are part of or associated with the data structure . A field comprises a reference or pointer to the data , object , data
  or data field may include a data , an object, a data structure , structure , item , element, or thing .
  and / or any other element or a reference/pointer thereto . A 55 Referring to FIG . 2 , an embodiment of Device 98 com
  data structure can be stored in one or more memories , files ,       prising Unit for Learning and / or Using a Device 's Circum
  or other repositories . A data structure and /or elements            stances for Autonomous Device Operation (DCADO Unit
   thereof, when stored in a memory , file , or other repository ,     100 ) is illustrated . Device 98 also comprises interconnected
  may be stored in a different arrangement than the arrange -          Processor 11 , Human -machine Interface 23 , Sensor 92 ,
  ment of the data structure and /or elements thereof. For 60 Object Processing Unit 93 , Memory 12 , and Storage 27 .
   example , a sequence of elements can be stored in an                Processor 11 includes or executes Application Program 18 .
   arrangement other than a sequence in a memory, file , or            DCADO Unit 100 comprises interconnected Artificial Intel
   other repository .                                            ligence Unit 110 , Acquisition Interface 120 , and Modifica
    Where a reference to a repository is used herein , it should tion Interface 130 . Other additional elements can be
  be understood that a repository may be or include one or 65 included as needed , or some of the disclosed ones can be
  more files or file systems, one or more storage locations or         excluded , or a combination thereof can be utilized in alter
  structures, one or more storage systems, one or more                 nate embodiments .
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                                                       US 10 ,452 , 974 B1
                              67                                                                          68
     In one example, the teaching presented by the disclosure           any actions or operations of any of the disclosed methods
   can be implemented in a device or system for learning and /or        such as methods 9100 , 9200 , 9300 , 9400, 9500 , 9600 , and/or
   using a device ' s circumstances for autonomous device               others ( all later described ).
  operation . The device or system may include a processor                Device 98 comprises any hardware , programs, or a com
  circuit (i.e. Processor 11 , etc .) configured to execute instruc - 5 bination thereof. Although , Device 98 is referred to as a
  tion sets (i.e. Instruction Sets 526 , etc .) for operating a device herein , Device 98 may be or include a system as a
  device . The device or system may further include a memory            system may be embodied in Device 98 . Device 98 may
  unit (i.e . Memory 12 , etc.) configured to store data . The include any features , functionalities, and embodiments of
   device or system may further include a sensor (i. e. Sensor          Computing Device 70 , or elements thereof. In some embodi
  92, etc . ) configured to detect objects (i.e . Objects 615 , etc . ). " ments , Device 98 includes a computing enabled device for
  The device or system may further include an artificial performing mechanical or physical operations ( i. e . via actua
  intelligence unit (i.e . Artificial Intelligence Unit 110 , etc . ). tors, etc. ). In other embodiments, Device 98 includes a
   The artificial intelligence unit may be configured to receive           computing enabled device for performing non -mechanical
  a first collection of object representations (i. e . Collection of 16 and/or other operations. Examples of Device 98 include an
  Object Representations 525 , etc . ), the first collection of            industrial machine, a toy, a robot, a vehicle, an appliance , a
  object representations including one or more representations          control device, a smartphone or other mobile computer, any
  of objects detected by the sensor. The artificial intelligence        computer, and /or other computing enabled device or
  unit may also be configured to receive a first one or more            machine. Such device or machine may be built for any
  instruction sets for operating the device. The artificial intel- 20 function or purpose some examples of which are described
  ligence unit may also be configured to learn the first col later .
  lection of object representations correlated with the first one       User 50 (also referred to simply as user or other suitable
  or more instruction sets for operating the device . The name or reference ) comprises a human user or non -human
  artificial intelligence unit may also be configured to receive user. A non -human User 50 includes any device , system ,
  a new collection of object representations, the new collec - 25 program , and/ or other mechanism for operating or control
  tion of object representations including one or more repre ling Device 98 and /or elements thereof. In one example ,
   sentations of objects detected by the sensor. The artificial         User 50 may issue an operating direction to Application
   intelligence unit may also be configured to anticipate the           Program 18 responsive to which Application Program ' s 18
  first one or more instruction sets for operating the device          instructions or instruction sets maybe executed by Processor
                                                               na 3030 11 to perform a desired operation on Device 98 . In another
  correlated with the first collection of object representations       example , User 50 may issue an operating direction to
  based on at least a partial match between the new collection Processor
  of object representations and the first collection of object other processing     11 , Logic Circuit 250 (later described ), and /or
  representations . The artificial intelligence unit may also be                           element responsive to which Processor 11 ,
  configured to cause the processor circuit to execute theensfirst 35 implement logic to, perform
                                                                       Logic   Circuit   250  and /or other processing element may
                                                                                                       a desired operation on Device
  one or more instruction sets for operating the device corre          98 . User 's 50 operating directions comprise any user input
  lated with the first collection of object representations, the ted data (i. e . values , text, symbols, etc .), directions (i. e .
   causing performed in response to the anticipating of the move right, move up ,move forward , copy an item , click on
   artificial intelligence unit , wherein the device performs one   a link , etc .), instructions or instruction sets (i. e. manually
   or more operations defined by the first one or more instruc - 40 inputted instructions or instruction sets , etc .), and /or other
   tion sets for operating the device correlated with the first inputs or information . A non -human User 50 can utilize
   collection of object representations, the one or more opera -        more suitable interfaces instead of, or in addition to , Human
   tions performed in response to the executing by the proces -         machine Interface 23 and / or Display 21 for controlling
   sor circuit. Any of the operations of the aforementioned             Device 98 and /or elements thereof. Examples of such inter
   elements can be performed repeatedly and/ or in different 45 faces include an application programming interface ( API) ,
   orders in alternate embodiments . In some embodiments , a            bridge (i.e . bridge between applications, devices, or systems,
   stream of collections of object representations can be used          etc .), driver, socket, direct or operative connection , handle ,
   instead of or in addition to any collection of object repre -        function / routine/subroutine , and / or other interfaces .
   sentations such as, for example , using a first stream of               In some embodiments, Processor 11 , Logic Circuit 250 ,
   collections of object representations instead of the first 50 Application Program 18 , and / or other processing element
   collection of object representations . In other embodiments,         may control or affect an actuator (not shown). Actuator
   a logic circuit (i. e . Logic Circuit 250, etc. ) may be used        comprises the functionality for implementing motion ,
   instead of the processor circuit. In such embodiments, one or        actions, behaviors , maneuvers , and / or other mechanical or
  more instruction sets for operating the device (i.e . first one       physical operations. Device 98 may include one or more
  or more instruction sets for operating the device , etc .) may 55 actuators to enable Device 98 to perform mechanical, physi
   include or be substituted with one or more inputs into or one        cal, or other operations and/ or to interact with its environ
   or more outputs from the logic circuit . In further embodi-          ment. For example, an actuator may include or be coupled
  ments, an actuator may be included instead of or in addition          to an element such as a wheel, arm , or other element to act
  to the processor circuit. In such embodiments , one or more           upon the environment. Examples of an actuator include a
   instruction sets for operating the device (i . e . first one or more 60 motor, a linear motor, a servomotor, a hydraulic element, a
  instruction sets for operating the device , etc .) may include or     pneumatic element, an electro -magnetic element, a spring
  be substituted with one or more inputs into the actuator.             element, and /or other actuators . Examples of types of actua
  Other additional elements can be included as needed , or              tors include a rotary actuator, a linear actuator, and /or other
  some of the disclosed ones can be excluded , or a combina -           types of actuators . In other embodiments, Processor 11 ,
   tion thereof can be utilized in alternate embodiments. The 65 Logic Circuit 250, Application Program 18 , and /or other
  device or system for learning and/ or using a device 's cir -         processing elementmay control or affect any other device or
  cumstances for autonomous device operation may include                element instead of or in addition to an actuator.
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     Referring to FIGS . 3A - 3E , various embodiments of Sen    can utilize a charge coupled device (CCD ), a complementary
  sors 92 and elements of Object Processing Unit 93 are metal -oxide - semiconductor (CMOS) sensor, and /or other
  illustrated .                                                  electronic image sensor to capture digital pictures that can
     Sensor 92 (also referred to simply as sensor or other then be stored in a memory or storage, or transmitted to any
  suitable name or reference ) comprises the functionality for 5 of the disclosed or other elements for further processing . In
  obtaining or detecting information about its environment, another example , analog Camera 92a can utilize an analog
   and / or other functionalities . As such , one or more Sensors 92            to -digital converter to produce digital pictures . In some
   can be used to detect objects and / or their properties in                   embodiments , Camera 92a can be built, embedded , or
  Device ' s 98 surrounding. In some aspects , Device 's 98                     integrated in Device 98 and/ or other disclosed element. In
   surrounding may include exterior of Device 98 . In other 10 other embodiments , Camera 92a can be an external Camera
   aspects, Device ' s 98 surrounding may include interior of                   92a connected with Device 98 and/ or other disclosed ele
  Device 98 in case of hollow Device 98 , Device 98 com                         ment. In further embodiments , Camera 92a comprises Com
  prising compartments or openings , and / or other variously                   puting Device 70 or elements thereof. In general, Camera
  shaped Device 98 . Examples of aspects of an environment                      92a can be implemented in any suitable configuration to
  that Sensor 92 can measure or be sensitive to include light 15 provide its functionalities . Camera 92a may capture one or
   (i.e . camera , lidar, etc .), electromagnetism /electromagnetic             more digital pictures . A digital picture may include a col
   field (i. e . radar, etc .), sound (i. e . microphone, sonar, etc . ),       lection of color encoded pixels or dots. Examples of file
  physical contact (i. e . tactile sensor, etc . ), magnetism /mag -            formats that can be utilized to store a digital picture include
   netic field (i. e . compass , etc . ), electricity /electric field , tem -   JPEG ,GIF , TIFF, PNG , PDF , and /or other digitally encoded
  perature, gravity , vibration , pressure , and /or others . In some 20 picture formats . A stream of digital pictures (i. e . motion
  aspects , a passive sensor (i.e. camera , microphone , etc.)                  picture, video , etc .) may include one or more digital pic
  measures signals or radiation emitted or reflected by an                      tures. Examples of file formats that can be utilized to store
   object. In other aspects , an active sensor (i. e. lidar, radar ,            a stream of digital pictures include MPEG , AVI, FLV , MOV,
   sonar, etc .) emits signals or radiation and measures the                    RM , SWF, WMV, DivX , and / or other digitally encoded
   signals or radiation reflected or backscattered from an 25 motion picture formats .
  object . A reference to a Sensor 92 herein includes a reference                 In other embodiments , Sensor 92 may be or include
  to one or more Sensors 92 as applicable . In some designs , a                 Microphone 92b as shown in FIG . 3B . Microphone 92b
  plurality of Sensors 92 may be used to detect objects and /or                 comprises the functionality for capturing one or more
   their properties from different angles or sides of Device 98 .               sounds, and / or other functionalities. As such , Microphone
  For example, four Cameras 92a can be placed on four 30 92b can be used to capture sounds from Device 's 98
   corners of Device 98 to cover 360 degrees of view of                         surrounding . Microphone 92b may be useful in detecting
  Device 's 98 surrounding . In other designs, a plurality of                   existence of an object , type of an object, identity of an
   different types of Sensors 92 may be used to detect different                object, bearing /angle of an object, activity i.e . motion ,
  types of objects and /or their properties . For example , one or              sounding, etc .) of an object, and/or other properties of an
  more Cameras 92a can be used to detect and identify an 35 object. In some aspects , Microphone 92b may be omnidi
   object, whereas , Radar 92d can be used to determine dis -                   rectional microphone that enables capturing sounds from
   tance and bearing /angle of the object relative to Device 98 .               any direction . In other aspects , Microphone 92b may be a
   In further designs, a signal- emitting element can be placed                 directional (i.e . unidirectional, bidirectional, etc .) micro
  within or onto an object and Sensor 92 can detect the signal                  phone that enables capturing sounds from one or more
   from the signal- emitting element, thereby detecting the 40 directions while ignoring or being insensitive to sounds from
   object and /or its properties . For example, a radio - frequency             other directions . In general, Microphone 92b may utilize a
   identification (RFID ) emittermay be placed within an object                 membrane sensitive to air pressure and may produce elec
   to help Sensor 92 detect, identify , and / or obtain other                   trical signal from air pressure variations . Samples of the
   information about the object.                                                 electrical signal can then be read to produce a stream of
     In some embodiments, Sensor 92 may be or include 45 digital sound samples. Any other technique known in art can
  Camera 92a as shown in FIG . 3A . Camera 92a comprises be utilized to facilitate Microphone 92b functionalities . In
  the functionality for capturing one or more pictures , and/ or one example , a digital Microphone 92b may include an
  other functionalities . As such , Camera 92a can be used to    integrated analog - to - digital converter to capture a stream of
  capture pictures of Device 's 98 surrounding. Camera 92a       digital sound samples that can then be stored in a memory
  may be useful in detecting existence of an object, type of an 50 or storage, or transmitted to any of the disclosed or other
   object, identity of an object, distance of an object, bearing                elements for further processing. In another example , analog
   angle of an object, location of an object, shape/size of an                  Microphone 92b may utilize an external analog-to - digital
   object, activity of an object, and/ or other properties of an                converter to produce a stream of digital sound samples . In
  object. In some aspects, Camera 92a may be or comprises a                     some embodiments , Microphone 92b can be built, embed
  motion picture camera that can capture streams of pictures 55 ded , or integrated in Device 98 . In other embodiments ,
   (i.e. motion pictures, videos, etc .). In other aspects, Camera              Microphone 92b can be an external Microphone 92b con
   92a may be or comprises a still picture camera that can                      nected with Device 98 . In further embodiments where used
   capture still pictures (i.e . photographs, etc .). In further                in water, Microphone 92b may be or include a hydrophone.
   aspects, Camera 92a may be or comprises a stereo camera                      In further embodiments, Microphone 92b comprises Com
   (i. e . camera with multiple lenses, etc . ) that can capture 60 puting Device 70 or elements thereof. In general, Micro
  stereoscopic or range pictures . In further aspects , Camera                  phone 92b can be implemented in any suitable configuration
  92a may be or comprises any other Camera 92a . In general,                    to provide its functionalities. Examples of file formats that
   Camera 92a may capture any light (i.e. visible light, infrared               can be utilized to store a stream of digital sound samples
   light, ultraviolet light, X -ray light, etc.) across the electro             include WAV , WMA , AIFF , MP3 , RA , OGG , and /or other
  magnetic spectrum onto a light- sensitive material. Any other 65 digitally encoded sound formats .
  technique known in art can be utilized to facilitate Camera         In further embodiments , Sensor 92 may be or include
  92a functionalities . In one example , a digital Camera 92a Lidar 92c as shown in FIG . 3C . Lidar 92c may be useful in
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  detecting existence of an object, type of an object, identity       associated with a time stamp (not shown ), order (not
  of an object, distance of an object, bearing/ angle of an           shown ), or other time related information . For example , one
  object, location of an object, shape/ size of an object, activity   Collection of Object Representations 525 may be associated
  of an object, and /or other properties of an object. In some        with time stamp t1 , another Collection of Object Represen
  aspects, Lidar 92c may emit a light signal ( i. e . laser beam , 5 tations 525 may be associated with time stamp t2 , and so on .
  etc . ) and listen for a signal that is reflected or backscattered Time stamps t1 , t2 , etc . may indicate the times of generating
  from an object. Any other technique known in art can be     Collections of Object Representations 525 , for instance . In
  utilized to facilitate Lidar 92c functionalities .          other embodiments , Object Processing Unit 93 comprises
     In further embodiments , Sensor 92 may be or include a   the functionality for creating or generating a stream of
  Radar 92d as shown in FIG . 3D . Radar 92d may be useful 10 Collections of Object Representations 525 . A stream of
  in detecting existence of an object, type of an object, Collections of Object Representations 525 may include one
   distance of an object, bearing/ angle of an object, location of    Collection of Object Representations 525 or a group ,
   an object, shape/ size of an object , activity of an object,       sequence , or other plurality of Collections of Object Rep
  and/ or other properties of an object. In some aspects, Radar resentations 525 . In some aspects , a stream of Collections of
  92d may emit a radio signal (i. e . radio wave , etc .) and listen 15 Object Representations 525 includes one or more Collec
  for a signal that is reflected or backscattered from an object. tions of Object Representations 525 , and /or other elements
  Any other technique known in art can be utilized to facilitate        or information related to objects detected in Device 's 98
  Radar 92d functionalities .                                     surrounding over time. A stream of Collections of Object
     In further embodiments, Sensor 92 may be or include Representations 525 may, therefore, include knowledge (i.e .
  Sonar 92e as shown in FIG . 3E . Sonar 92e may be useful in 20 unit of knowledge, etc.) of Device 's 98 circumstances
  detecting existence of an object, type of an object, distance including objects with various properties over time. As
  of an object, bearing angle of an object, location of an        circumstances including objects with various properties in
  object, shape/size of an object, activity of an object, and /or Device 's 98 surrounding change (i.e. objects and /or their
  other properties of an object. In some aspects, Sonar 92e properties change ,move , act, transform , etc. ) over time, this
  may emit a sound signal (i. e . sound pulse, etc . ) and listen for 25 change may be captured in a stream of Collections of Object
   a signal that is reflected or backscattered from an object. Any
                                                                 Representations 525 . In some designs , each Collection of
   other technique known in art can be utilized to facilitate    Object Representations 525 in a stream may include or be
   Sonar 92e functionalities.                                    associated with the aforementioned time stamp, order, or
     One of ordinary skill in art will understand that the other time related information . For example , one Collection
   aforementioned sensors are described merely as examples of 30 of Object Representations 525 in a stream may be associated
   a variety of possible implementations, and that while all with order 1 , a next Collection of Object Representations
  possible sensors are too voluminous to describe , other             525 in the stream may be associated with order 2 , and so on .
  sensors known in art that can facilitate detecting of objects       Orders 1 , 2 , etc . may indicate the orders or places of
   and/ or their properties in Device 's 98 surrounding are within    Collections of Object Representations 525 within a stream
   the scope of this disclosure . Any combination of the afore - 35 (i . e . sequence, etc. ), for instance . Examples of objects
  mentioned and/ or other sensors can be used in various              include biological objects (i. e. persons , animals, vegetation ,
   embodiments.                                                       etc .), nature objects (i.e . rocks , bodies of water, etc .), man
     Object Processing Unit 93 comprises the functionality for        made objects ( i. e . buildings, streets , ground / aerial/aquatic
  processing output from Sensor 92 to obtain information of           vehicles, etc .), and /or others. In some aspects, any part of an
  interest, and/ or other functionalities . As such , Object Pro - 40 object may be detected as an object itself. For instance ,
  cessing Unit 93 can be used to process output from Sensor instead of or in addition to detecting a vehicle as an object,
  92 to detect objects and /or their properties in Device 's 98       a wheel and/ or other parts of the vehicle may be detected as
   surrounding . In some embodiments , Object Processing Unit         objects . In general, object may include any object or part
   93 comprises the functionality for creating or generating          thereof that can be detected . Examples of object properties
  Collection ofObject Representations 525 ( also referred to as 45 include existence of an object, type of an object (i. e . person ,
   Coll of Obj Rep or other suitable name or reference ) and          cat, vehicle , building , street, tree, rock , etc .), identity of an
   storing one or more Object Representations 625 (also               object (i.e. name, identifier, etc .), distance of an object,
  referred to simply as object representations, representations bearing/ angle of an object, location of an object (i. e . distance
  of objects , or other suitable name or reference ), Object      and bearing/ angle from a known point, coordinates , etc .),
  Properties 630 (also referred to simply as object properties 50 shape / size of an object (i. e . height, width , depth , computer
  or other suitable name or reference ), and / or other elements model, point cloud , etc .), activity of an object (i. e . motion ,
  or information into the Collection of Object Representations gestures, etc .), and/ or other properties of an object. Type of
  525 . As such , Collection of Object Representations 525        an object, for example, may include any classification of
   comprises the functionality for storing one or more Object         objects ranging from detailed such as person , cat , vehicle ,
  Representations 625 , Object Properties 630 , and /or other 55 building, street, tree , rock , etc . to generalized such as
   elements or information . Object Representation 625 may            biological object, nature object, manmade object, etc ., and
   include an electronic representation of an object (i.e . Object    or others including their sub -types . Location of an object, for
  615 [ later described ], etc .) detected in Device 's 98 surround   example, can include a relative location such as one defined
  ing . In some aspects, Collection of Object Representations by distance and bearing/ angle from a known point or loca
  525 includes one or more Object Representations 625 , 60 tion (i.e . Device 98 location , etc .). Location of an object, for
   Object Properties 630 , and / or other elements or information     example, can also include absolute location such as one
   related to objects detected in Device 's 98 surrounding at a       defined by object coordinates. In general, an object property
  particular time. Collection of Object Representations 525           may include any attribute of an object ( i. e . existence of an
  may, therefore , include knowledge ( i.e . unit of knowledge ,      object, type of an object , identity of an object, shape / size of
  etc .) of Device 's 98 circumstances including objects with 65 an object , etc .), any relationship ofan object with Device 98 ,
  various properties at a particular time. In some designs , a   other objects, or the environment (i.e . distance of an object,
  Collection of Object Representations 525 may include or be bearing /angle of an object, friend / foe relationship , etc.),
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  and /or other information related to an object. In some                ognize multiple objects and /or their properties from a digital
  implementations, Object Processing Unit 93 and /or any of              picture using the aforementioned pixel or feature compari
  its elements or functionalities can be included in Sensor 92 .         sons, and/or other detection or recognition techniques. For
   In other implementations , Object Processing Unit 93 and /or          example , a picture may depict two objects in two of its
  any of its elements or functionalities can be embedded into 5 regions both of which Picture Recognizer 94a can detect
  or operate on Processor 11 . In further implementations,       simultaneously . In further aspects , where objects and /or their
  Object Processing Unit 93 and /or any of its elements or properties span multiple pictures, Picture Recognizer 94a
  functionalities can be embedded into or operate in DCADO       may detect or recognize objects and/ or their properties by
  Unit 100 , and /or other disclosed elements . Object Process - applying the aforementioned pixel or feature comparisons
  ing Unit 93 may be provided in any suitable configuration . 10 and /or other detection or recognition techniques over a
  Object Processing Unit 93 may include any signal process -     stream of digital pictures (i.e . motion picture , video , etc .).
   ing techniques or elements known in art as applicable .               For example , once an object is detected in a digital picture
      In some embodiments , Object Processing Unit 93 may                (i. e . frame, etc .) of a stream of digital pictures ( i.e . motion
   include Picture Recognizer 94a as shown in FIG . 3A .                 picture , video , etc .), the region of pixels comprising the
   Picture Recognizer 94a comprises the functionality for 15 detected object or the object' s features can be searched in
  detecting or recognizing objects and/ or their properties in           other pictures of the stream of digital pictures , thereby
  visual data , and/or other disclosed functionalities . Visual          tracking the object through the stream of digital pictures. In
   data includes digital motion pictures, digital still pictures, further aspects , Picture Recognizer 94a may detect or rec
   and/ or other visual data . Examples of file formats that can be ognize an object 's activities by identifying and /or analyzing
   utilized to store visual data include AVI, DivX , MPEG , 20 differences between a detected region of pixels of one
   JPEG , GIF , TIFF, PNG , PDF, and /or other file formats . For        picture (i. e . frame, etc .) and detected regions of pixels of
   example , Picture Recognizer 94a can be used for detecting            other pictures in a stream of digital pictures . For example, a
   or recognizing objects and /or their properties in one or more        region of pixels comprising a person ' s face can be detected
   digital pictures captured by one or more Cameras 92a .                in multiple consecutive pictures of a stream of digital
   Picture Recognizer 94a can be utilized in detecting or 25 pictures ( i. e . motion picture, video , etc . ). Differences among
  recognizing existence of an object, type of an object, identity        the detected regions of the consecutive pictures may be
  of an object, distance of an object, bearing/ angle of an              identified in the mouth part of the person ' s face to indicate
  object, location ofan object, shape/size of an object, activity        smiling or speaking activity . In further aspects , Picture
  of an object, and/ or other properties of an object. In general,       Recognizer 94a may detect or recognize objects and / or their
  Picture Recognizer 94a can be used for any operation 30 properties using one or more artificial neural networks,
   supported by Picture Recognizer 94a . Picture Recognizer              which may include statistical techniques. Examples of arti
   94a may detect or recognize an object and/or its properties           ficial neural networks that can be used in Picture Recognizer
   as well as track the object and/ or its properties in one or          94a include convolutional neural networks (CNNs ), time
  more digital pictures or streams of digital pictures (i.e .            delay neural networks ( TDNNs), deep neural networks ,
  motion pictures , video , etc . ). In the case of a person , Picture 35 and / or others . In one example , picture recognition tech
  Recognizer 94a may detect or recognize a human head or                 niques and/ or tools involving convolutional neural networks
   face , upper body, full body, or portions/combinations                may include identifying and /or analyzing tiled and /or over
  thereof. In some aspects , Picture Recognizer 94a may detect           lapping regions or features of a digital picture , which may
   or recognize objects and /or their properties from a digital          then be used to search for pictures with matching regions or
   picture by comparing regions of pixels from the digital 40 features . In another example , features of different convolu
   picture with collections of pixels comprising known objects tional neural networks responsible for spatial and temporal
  and / or their properties . The collections of pixels comprising       streams can be fused to detect objects and /or their properties
  known objects and /or their properties can be learned or               in streams of digital pictures ( i.e . motion pictures , videos,
  manually , programmatically, or otherwise defined . The col            etc .). In general, Picture Recognizer 94a may include any
   lections of pixels comprising known objects and /or their 45 machine learning , deep learning, and /or other artificial intel
   properties can be stored in any data structure or repository ligence techniques . In further aspects , Picture Recognizer
   (i.e . one or more files, database , etc.) that resides locally on    94a can detect distance of a recognized object in a picture
  Device 98, or remotely on a remote computing device (i.e .             captured by a camera using structured light, sheet of light, or
   server , cloud , etc .) accessible over a network or an interface .   other lighting schemes , and /or by using phase shift analysis ,
   In other aspects , Picture Recognizer 94a may detect or 50 time of flight, interferometry, or other techniques. In further
   recognize objects and/ or their properties from a digital aspects , Picture Recognizer 94a may detect distance of a
   picture by comparing features (i.e. lines, edges, ridges , recognized object in a picture captured by a stereo camera by
   corners , blobs , regions, etc . ) of the digital picture with    using triangulation and / or other techniques . In further
   features of known objects and /or their properties . The fea      aspects, Picture Recognizer 94amay detect bearing/angle of
   tures of known objects and/ or their properties can be learned 55 a recognized object relative to the camera - facing direction
   or manually , programmatically , or otherwise defined . The by measuring the distance from the vertical centerline of the
   features of known objects and/ or their properties can be             picture to a pixel in the recognized object based on known
   stored in any data structure or repository (i. e . neural net -       picture resolution and camera ' s angle of view . Any other
  work , one or more files , database , etc . ) that resides locally on techniques known in art can be utilized in Picture Recog
  Device 98 , or remotely on a remote computing device (i.e . 60 nizer 94a . For example , thresholds for similarity , statistical
  server, cloud , etc .) accessible over a network or an interface . techniques, and/ or optimization techniques can be utilized to
  Typical steps or elements in a feature oriented picture               determine a match in any of the above - described detection
  recognition include pre - processing, feature extraction ,            or recognition techniques . In someexemplary embodiments ,
  detection / segmentation , decision -making, and /or others , or a    object recognition techniques and / or tools such as OpenCV
   combination thereof, each of which may include its own 65 (Open Source Computer Vision ) library , CamFind API,
  sub - steps or sub - elements depending on the application . In
                                                             Kooaba , 6px API, Dextro API, and/or others can be utilized
   further aspects, Picture Recognizer 94a may detect or rec for detecting or recognizing objects and /or their properties in
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                                                          US 10 ,452 , 974 B1
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   digital pictures. In some aspects , picture recognition tech -        bilinear interpolation , bicubic interpolation , and /or others. In
  niques and /or tools involve identifying and/or analyzing              further implementations, Picture Recognizer 94a can
   features such as lines , edges , ridges , corners , blobs, regions,   manipulate content (i. e . all pixels , one or more regions, one
   and /or their relative positions, sizes, shapes , etc ., which may    or more depicted objects, etc. ) of a digital picture before or
  then be used to search for pictures with matching features. 5 during comparison . Such content manipulation may include
  For example , OpenCV library can detect an object ( i.e . moving , centering , aligning, resizing, transforming, and /or
  person , animal, vehicle , rock , etc .) and /or its properties in otherwise manipulating content of a digital picture . For
   one or more digital pictures captured by Camera 92a or                example , Picture Recognizer 94a can move, center , or align
   stored in an electronic repository , which can then be utilized       content of one picture to make it more comparable to another
   in DCADO Unit 100 , Artificial Intelligence Unit 110 , and /or 10 picture. Any of the publically available , custom , or other
   other elements. In other exemplary embodiments , facial digital picture manipulation techniques or programs can be
   recognition techniques and/or tools such as OpenCV ( Open utilized such as pixel moving , warping , distorting, afore
   Source Computer Vision ) library , Animetrics FaceR API,              mentioned interpolations, and/ or others . In further imple
  Lambda Labs FacialRecognition API, Face + + SDK , Neven            mentations, in digital pictures comprising transparency fea
  Vision (also known as N - Vision ) Engine , and / or others can 15 tures or functionalities, Picture Recognizer 94a can utilize a
   be utilized for detecting or recognizing faces in digital             threshold for acceptable number or percentage transparency
   pictures . In some aspects , facial recognition techniques            difference . Alternatively , transparency can be applied to one
   and /or tools involve identifying and /or analyzing facial            or more pixels of a digital picture and color difference may
  features such as the relative position , size , and/ or shape of then be determined between compared pixels taking into
  the eyes, nose , cheekbones, jaw , etc ., which may then be 20 account the transparency related color effect. Alternatively ,
  used to search for pictures with matching features . For transparent pixels can be excluded from comparison . In
  example , FaceR API can detect a person 's face in one or        further implementations, certain regions or subsets of pixels
  more digital pictures captured by Camera 92a or stored in an           can be ignored or excluded during comparison using a mask .
  electronic repository, which can then be utilized in DCADO        In general, any region or subset of a picture determined to
  Unit 100 , Artificial Intelligence Unit 110 , and / or other 25 contain no content of interest can be excluded from com
  elements.                                                        parison using a mask . Examples of such regions or subsets
     Various aspects or properties of digital pictures or pixels   include background , transparent or partially transparent
  can be taken into account by Picture Recognizer 94a in any regions, regions comprising insignificant content, or any
  of the recognizing or comparisons . Examples of such             arbitrary region or subset . Picture Recognizer 94a can
  aspects or properties include color adjustment, size adjust - 30 perform any other pre -processing or manipulation of digital
  ment, content manipulation , transparency (i.e . alpha chan -          pictures or pixels before or during recognizing or compari
  nel , etc .), use ofmask , and /or others . In some implementa          son .
   tions, as digital pictures can be captured by various picture            In other embodiments , Object Processing Unit 93 may
   taking equipment, in various environments , and under vari-           include Sound Recognizer 94b as shown in FIG . 3B . Sound
  ous lighting conditions, Picture Recognizer 94a can adjust 35 Recognizer 94b comprises the functionality for detecting or
   lighting or color of pixels or otherwise manipulate pixels            recognizing objects and /or their properties in audio data ,
  before or during comparison . Lighting or color adjustment             and /or other disclosed functionalities. Audio data includes
  (also referred to as gray balance, neutral balance , white             digital sound , and/ or other audio data . Examples of file
  balance , etc .) may generally includemanipulating or rebal-           formats that can be utilized to store audio data include WAV,
  ancing the intensities of the colors (i.e. red , green , and/or 40 WMA , AIFF , MP3, RA , OGG , and/or other file formats. For
  blue if RGB color model is used , etc .) of one or more pixels.    example , Sound Recognizer 94b can be used for detecting or
  For example, Picture Recognizer 94a can adjust lighting or recognizing objects and /or their properties in a stream of
  color of some or all pixels of one picture to make it more         digital sound samples captured by one or more Microphones
  comparable to another picture . Picture Recognizer 94a can 92b . In the case of a person , Sound Recognizer 94b may
  also incrementally adjust the pixels such as increasing or 45 detect or recognize human voice . Sound Recognizer 94b can
  decreasing the red , green , and /or blue pixel values by a            be utilized in detecting or recognizing existence of an object,
  certain amount in each cycle of comparisons in order to find           type of an object, identity of an object, bearing/ angle of an
  a substantially similar match at one of the incremental                object, activity ( i.e . motion , sounding , etc . ) of an object,
  adjustment levels . Any of the publically available , custom ,         and /or other properties of an object. In general, Sound
  or other lighting or color adjustment techniques or programs 50 Recognizer 94h can be used for any operation supported by
   can be utilized such as color filters , color balancing, color        Sound Recognizer 94b . In some aspects, Sound Recognizer
  correction , and /or others. In other implementations , Picture        94b may detect or recognize an object and /or its properties
  Recognizer 94a can resize or otherwise transform a digital             from a stream of digital sound samples by comparing
  picture before or during comparison . Such resizing or trans           collections of sound samples from the stream of digital
   formation may include increasing or decreasing the number 55 sound samples with collections of sound samples of known
  of pixels of a digital picture . For example , Picture Recog-          objects and / or their properties . The collections of sound
   nizer 94a can increase or decrease the size of a digital              samples of known objects and/or their properties can be
   picture proportionally (i.e . increase or decrease length and         learned , or manually , programmatically , or otherwise
   or width keeping aspect ratio constant, etc .) to equate its size     defined . The collections of sound samples of known objects
  with the size of another digital picture . Picture Recognizer 60 and /or their properties can be stored in any data structure or
  94a can also incrementally resize a digital picture such as      repository (i. e . one ormore files , database , etc . ) that resides
  increasing or decreasing the size of the digital picture         locally on Device 98 , or remotely on a remote computing
  proportionally by a certain amount in each cycle of com -        device (i.e . server , cloud, etc .) accessible over a network or
  parisons in order to find a substantially similar match at one   an interface . In other aspects , Sound Recognizer 94b may
  of the incremental sizes . Any of the publically available , 65 detect or recognize an object and /or its properties from a
  custom , or other digital picture resizing techniques or pro -  stream of digital sound samples by comparing features from
  grams can be utilized such as nearest-neighbor interpolation , the stream of digital sound samples with features of sounds
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                                                            US 10 ,452 , 974 B1
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   of known objects and/or their properties . The features of              properties in a stream of digital sound samples captured by
   sounds of known objects and / or their properties can be                Microphone 92b or stored in an electronic repository , which
   learned , or manually, programmatically , or otherwise                  can then be utilized in DCADO Unit 100 , Artificial Intelli
   defined . The features of sounds of known objects and /or               gence Unit 110 , and / or other elements .
  their properties can be stored in any data structure or 5 In further embodiments, Object Processing Unit 93 may
  repository (i.e . one or more files , database , neural network , include Lidar Processing Unit 94c as shown in FIG . 3C .
   etc .) that resides locally on Device 98 , or remotely on a             Lidar Processing Unit 94c comprises the functionality for
   remote computing device (i.e. server, cloud, etc .) accessible          detecting or recognizing objects and/or their properties using
   over a network or an interface . Typical steps or elements in    light, and / or other disclosed functionalities . As such , Lidar
   a feature oriented sound recognition include pre -processing, 10 Processing Unit 94c can be utilized in detecting existence of
   feature extraction , acoustic modeling, language modeling,              an object, type of an object, identity of an object, distance of
   and / or others , or a combination thereof, each of which may           an object, bearing angle of an object , location of an object ,
   include its own sub -steps or sub - elements depending on the           shape / size of an object, activity of an object, and /or other
   application . In further aspects, Sound Recognizer 94b may              properties of an object. In general, Lidar Processing Unit
   detect or recognize a variety of sounds from a stream of 15 94c can be used for any operation supported by Lidar
  digital sound samples using the aforementioned sound                     Processing Unit 94c. In one example , Lidar Processing Unit
   sample or feature comparisons , and/ or other detection or              94c may detect distance of an object by measuring time
   recognition techniques. For example , sound of a person ,               delay between emission of a light signal (i.e . laser beam ,
   animal, vehicle, and/ or other sounds can be detected by                etc . ) and return of the light signal reflected from the object
  Sound Recognizer 94b . In further aspects , Sound Recog - 20 based on known speed of light. In another example , Lidar
   nizer 94b may detect or recognize sounds using Hidden                   Processing Unit 94c may detect bearing/ angle of an object
  Markov Models (HMM ), Artificial Neural Networks ,                       by analyzing the amplitudes of a light signal received by an
  Dynamic Time Warping (DTW ), Gaussian Mixture Models                     array of detectors (i.e. detectors arranged into a quadrant or
   (GMM ), and/ or other models or techniques, or a combina -              other arrangement, etc .). In a further example , Lidar Pro
   tion thereof. Some or all of these models or techniques may 25 cessing Unit 94c may detect existence, type, identity , shapel
   include statistical techniques. Examples of artificial neural           size , activity, and /or other properties of an object by illu
  networks that can be used in Sound Recognizer 94b include                minating the object with light and acquiring an image of the
  recurrent neural networks , time delay neural networks                   object, which can then be processed using some of the
  ( TDNNs ), deep neural networks, convolutional neural net- previously described or other picture recognition techniques .
  works , and /or others . In general, Sound Recognizer 94b may 30 In a further example , Lidar Processing Unit 94c may detect
   include any machine learning, deep learning, and/or other               existence , type , identity, shape size , activity, and /or other
   artificial intelligence techniques. In further aspects, Sound           properties of an object by illuminating the object with light
  Recognizer 94b may detect bearing / angle of a recognized                and acquiring a point cloud representation of the object.
  object by measuring the direction in which Microphone 92b                Lidar Processing Unit 94c may detect objects and / or their
   is pointing when sound of maximum strength is received , by 35 properties by utilizing any lidar or light- related techniques
   analyzing amplitude of the sound, by performing phase known in art.
   analysis (i. e . with microphone array, etc .) of the sound,      In further embodiments, Object Processing Unit 93 may
   and /or by utilizing other techniques . Any other techniques            include Radar Processing Unit 94d as shown in FIG . 3D .
   known in art can be utilized in Sound Recognizer 94b . For              Radar Processing Unit 94d comprises the functionality for
   example , thresholds for similarity , statistical techniques , 40 detecting or recognizing objects and / or their properties using
   and/ or optimization techniques can be utilized to determine            radio waves, and/or other disclosed functionalities. As such ,
   a match in any of the above -described detection or recog -             Radar Processing Unit 94d can be utilized in detecting
   nition techniques . In some exemplary embodiments , oper -              existence of an object, type of an object, distance of an
   ating system 's Sound recognition functionalities such as               object, bearing/ angle of an object, location of an object,
   iOS ' s Voice Services , Siri, and/ or others can be utilized in 45 shape size of an object, activity of an object, and /or other
  Sound Recognizer 94b . For example , iOS Voice Services                  properties of an object. In general, Radar Processing Unit
  can detect an object (i.e . person , etc .) and / or its properties in   94d can be used for any operation supported by Radar
   a stream of digital sound samples captured by Microphone                Processing Unit 94d . In one example, Radar Processing Unit
   92b or stored in an electronic repository , which can then be           94d may detect existence of an object by emitting a radio
  utilized in DCADO Unit 100 , Artificial Intelligence Unit 50 signal and listening for the radio signal reflected from the
  110 , and / or other elements. In other exemplary embodi-                object. In another example , Radar Processing Unit 94d may
  ments, Java Speech API ( JSAPI) implementation such as                   detect distance of an object by measuring time delay
   The Cloud Garden , Sphinx , and/ or others can be utilized in           between emission of a radio signal and return of the radio
  Sound Recognizer 94b. For example , Cloud Garden JSAPI                   signal reflected from the object based on known speed of the
   can detect an object (i.e . person , animal, vehicle , etc.) and /or 55 radio signal. In a further example, Radar Processing Unit
   its properties in a stream of digital sound samples captured            94d may detect bearing / angle of an object by measuring the
  by Microphone 92b or stored in an electronic repository,                 direction in which the antenna is pointing when the return
  which can then be utilized in DCADO Unit 100 , Artificial                signal ofmaximum strength is received , by analyzing ampli
  Intelligence Unit 110 , and/ or other elements . Any other               tude of the return signal, by performing phase analysis (i. e .
  programming language ' s or platform ' s speech or sound 60 with antenna array, etc .) of the return signal, and/or by
  processing API can similarly be utilized . In further exem - utilizing any amplitude , phase , or other techniques . In a
   plary embodiments, applications or engines providing                    further example, Radar Processing Unit 94d may detect
  Sound recognition functionalities such as HTK (Hidden existence, type, identity, shape/size , activity, and / or other
  Markov Model Toolkit ), Kaldi, OpenEars, Dragon Mobile , properties of an object by illuminating the object with radio
  Julius, iSpeech , CeedVocal, and/or others can be utilized in 65 waves and acquiring an image of the object, which can then
  Sound Recognizer 94b. For example , Kaldi SDK can detect be processed using some of the previously described or other
  an object (i.e . person , animal, vehicle , etc .) and /or its picture recognition techniques. Radar Processing Unit 94d
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  may detect objects and /or their properties by utilizing any        may be detected at a bearing/angle of 287° from Device 's 98
   radar or radio -related techniques known in art.                   centerline. Any other Objects 615 instead of or in addition
     In further embodiments , Object Processing Unit 93 may           to Object 615a , Object 615b , and Object 6150 may be
   include Sonar Processing Unit 94e as shown in FIG . 3E .           detected . In some aspects, any features , functionalities , and
  Sonar Processing Unit 94e comprises the functionality for 5 embodiments of Camera 92a /Picture Recognizer 94a ,
   detecting or recognizing objects and / or their properties using   Microphone 92b /Sound Recognizer 94b , and / or other sen
   sound, and/ or other disclosed functionalities. As such , Sonar    sors or techniques can be utilized for recognizing and /or
  Processing Unit 94e can be utilized in detecting existence of        identifying a person , a cat, a tree , and/or other Objects 615 .
   an object, type of an object, distance of an object, bearing        In further aspects , any features, functionalities , and embodi
  angle of an object, location of an object , shape /size of an 10 ments of Camera 92a /Picture Recognizer 94a , Microphone
   object, activity of an object, and/ or other properties of an      92b /Sound Recognizer 94b , Lidar 92c /Lidar Processing Unit
   object. In general, Sonar Processing Unit 94e can be used for      94c , Radar 92d /Radar Processing Unit 94d , Sonar 92e /Sonar
   any operation supported by Sonar Processing Unit 94e. In           Processing Unit 94e , and / or other sensors or techniques can
   one example, Sonar Processing Unit 94e may detect exis -           be utilized for detecting distance , bearing / angle , and /or other
   tence of an object by emitting a sound signal and listening 15 object properties .
   for the sound signal reflected from the object. In another           As shown for example in FIG . 4B , Object Processing Unit
   example , Sonar Processing Unit 94e may detect distance of         93 may create or generate Collection of Object Represen
  an object by measuring time delay between emission of a             tations 525 including Object Representation 625a represent
   sound signal and return of the sound signal reflected from   ing Object 615a , Object Representation 625b representing
   the object based on known speed of the sound signal. In a 20 Object 615b , Object Representation 625c representing
   further example , Sonar Processing Unit 94e may detect             Object 615c, etc. For instance, Object Representation 625a
  bearing/angle of an object by measuring the direction in            may include Object Property 630aa “ Cat" in Category
  which the microphone is pointing when the return signal of 635aa “ Type” , Object Property 630ab “ 6 m ” in Category
  maximum strength is received , by analyzing amplitude of 635ab “ Distance ” , Object Property 630ac “ 560” in Category
  the return signal , by performing phase analysis (i.e . with 25 635ac “ Bearing ” , etc. Also , Object Representation 625b
  microphone array, etc .) of the return signal, and /or by may include Object Property 630ba “ Tree” in Category
  utilizing any amplitude, phase, or other techniques. In a 635ba “ Type” , Object Property 630bb " 10 m ” in Category
  further example, Sonar Processing Unit 94e may detect 635bb “ Distance” , Object Property 630bc " 131 ” in Cat
  existence, type , identity , shape/size , activity , and / or other e gory 635bc " Bearing” , etc . Also , Object Representation
  properties of an objectby illuminating the object with sound 30 625c may include Object Property 630ca “ Person ” in Cat
  pulses and acquiring an image of the object , which can then egory 635ca “ Type” , Object Property 630cb “ John Doe ” in
  be processed using someof the previously described or other Category 635cb " Identity ” , Object Property 630cc " 8 m ” in
  picture recognition techniques . Sonar Processing Unit 94e           Category 635cc " Distance” , Object Property 630cd " 28709
  may detect objects and /or their properties by utilizing any in Category 635cd “ Bearing” , etc . Any number of Object
   sonar or sound - related techniques known in art.       35 Representations 625 , and/ or other elements or information
     One of ordinary skill in art will understand that the    can be included in Collection ofObject Representations 525 .
  aforementioned techniques for detecting or recognizing               Any number of Object Properties 630 (also referred to
   objects and / or their properties are described merely as           simply as object properties or other suitable name or refer
  examples of a variety of possible implementations, and that          ence), and / or other elements or information can be included
  while all possible techniques for detecting or recognizing 40 in an Object Representation 625 . In some aspects , a refer
  objects and/or their properties are too voluminous to                ence to Collection of Object Representations 525 comprises
   describe, other techniques for detecting or recognizing            a reference to a collection of Object Properties 630 and /or
   objects and /or their properties known in art are within the       other elements or information related to one or more Objects
   scope of this disclosure . Also , any signal processing tech -     615 . Other additional Object Representations 625 , Object
  nique known in art that can facilitate the disclosed function - 45 Properties 630 , elements , and /or information can be
  alities can be utilized in various embodiments . Any combi-        included as needed , or some of the disclosed ones can be
  nation of the aforementioned and/or other sensors, object            excluded , or a combination thereof can be utilized in alter
  detecting or recognizing techniques, signal processing tech -       nate embodiments of Collection of Object Representations
  niques, and/ or other elements or techniques can be used in 525 .
  various embodiments .                                      50 Referring now to DCADO Unit 100 , DCADO Unit 100
    Referring to FIGS. 4A -4B , an exemplary embodiment of comprises any hardware , programs, or a combination
   Objects 615 ( also referred to simply as objects or other          thereof . DCADO Unit 100 comprises the functionality for
   suitable name or reference ) detected in Device 's 98 sur    learning the operation of Device 98 in circumstances includ
   rounding , and resulting Collection of Object Representa     ing objects with various properties. DCADO Unit 100
   tions 525 are illustrated .                               55 comprises the functionality for structuring and /or storing
      As shown for example in FIG . 4A , Object 615a is this knowledge in a knowledgebase (i.e. neural network ,
   detected . Object 615a may be recognized as a cat. Object graph , sequences, other repository , etc.). DCADO Unit 100
  615a may be detected at a distance of 6 m from Device 98 .     comprises the functionality for enabling autonomous opera
  Object 615a may be detected at a bearing/angle of 56° from     tion of Device 98 in circumstances including objects with
  Device ' s 98 centerline. Furthermore , Object 615b is also 60 various properties . DCADO Unit 100 comprises the func
  detected. Object 615b may be recognized as a tree . Object          tionality for interfacing with or attaching to Application
  615b may be detected at a distance of 10 m from Device 98 .         Program 18 , Processor 11 , Logic Circuit 250 (later
  Object 615b may be detected at a bearing/ angle of 131 from      described ), and /or other processing element. DCADO Unit
  Device 's 98 centerline . Furthermore, Object 615c is also       100 comprises the functionality for obtaining instruction
  detected . Object 615c may be recognized as a person . Object 65 sets , data , and /or other information used , implemented ,
  615c may be identified as John Doe. Object 615c may be           and /or executed by Application Program 18 , Processor 11 ,
  detected at a distance of 8 m from Device 98 . Object 615C Logic Circuit 250 , and /or other processing element.
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   DCADO Unit 100 comprises the functionality formodifying             example involving partially autonomous Device 98 operat
  instruction sets, data , and/or other information used , imple -     ing, a user confirms DCADO Unit 100 -generated instruc
  mented , and/ or executed by Application Program 18 , Pro -          tions or instruction sets prior to their execution . In an
  cessor 11 , Logic Circuit 250 , and /or other processing ele         example involving fully autonomous application operating,
  ment. DCADO Unit 100 comprises learning , anticipating, 5 DCADO Unit 100 - generated instructions or instruction sets
   decision making, automation , and /or other functionalities         are executed without user or other system confirmation (i.e .
  disclosed herein . Statistical , artificial intelligence, machine    automatically , etc .).
   learning , and /or other models or techniques are utilized to     In some embodiments, a combination of DCADO Unit
   implement the disclosed devices , systems, and methods .        100 and other systems and/ or techniques can be utilized to
      When DCADO Unit 100 functionalities are applied on 10 implement Device ' s 98 operation . In one example , DCADO
   Application Program 18 , Processor 11 , Logic Circuit 250      Unit 100 may be a primary or preferred system for imple
   (later described ), and/ or other processing element of Device menting Device 's 98 operation . While operating autono
   98 , Device 98 may become autonomous . DCADO Unit 100               mously under the control of DCADO Unit 100 , Device 98
  may take control from , share control with , and/ or release         may encounter a circumstance including objects with vari
  control to Application Program 18 , Processor 11 , Logic 15 ous properties that has not been encountered or learned
  Circuit 250 , and /or other processing element to implement before . In such situations, User 50 and /or non -DCADO
   autonomous operation of Device 98 . DCADO Unit 100 may              system may take control of Device' s 98 operation . DCADO
   take control from , share control with , and / or release control   Unit 100 may take control again when Device 98 encounters
   to Application Program 18 , Processor 11, Logic Circuit 250 ,       a previously learned circumstance including objects with
   and /or other processing element automatically or after 20 various properties. Naturally, DCADO Unit 100 can learn
  prompting User 50 to allow it. In some aspects , Application       Device 's 98 operation in circumstances while User 50
  Program 18 , Processor 11 , Logic Circuit 250, and / or other      and /or non -DCADO system is in control of Device 98 ,
  processing element of an autonomous Device 98 may                  thereby reducing or eliminating the need for future involve
  include or be provided with anticipatory ( also referred to as ment of User 50 and / or non -DCADO system . In another
  alternate or other suitable name or reference ) instructions or 25 example , User 50 and/ or non - DCADO system may be a
  instruction sets that User 50 did not issue or cause to be primary or preferred system for implementing Device 's 98
  executed . Such anticipatory instructions or instruction sets      operation . While operating under the control of User 50
  include instruction sets that User 50 may want or is likely to     and /or non -DCADO system , User 50 and / or non -DCADO
  issue or cause to be executed . Anticipatory instructions or system may release control to DCADO Unit 100 for any
  instruction sets can be generated by DCADO Unit 100 or 30 reason (i. e . User 50 gets tired or distracted , non -DCADO
   elements thereof based on Device 's 98 circumstances                system gets stuck or cannot make a decision , etc .) , at which
   including objects with various properties . As such , Appli-        point Device 98 can be controlled by DCADO Unit 100 . In
   cation Program 18 , Processor 11, Logic Circuit 250 , and /or       some designs , DCADO Unit 100 may take control in certain
   other processing element of an autonomous Device 98 may special circumstances including objects with various prop
   include or be provided with some or all original instructions 35 erties where DCADO Unit 100 may offer superior perfor
   or instruction sets and /or any anticipatory instructions or m ance even though User 50 and/or non -DCADO system
   instruction sets generated by DCADO Unit 100. Therefore, may generally be preferred . Once Device 98 leaves such
  autonomous Device 98 operating may include executing              special circumstances , DCADO Unit 100 may release con
  some or all original instructions or instruction sets and /or     trol to User 50 and /or non - DCADO system . In general,
  any anticipatory instructions or instruction sets generated by 40 DCADO Unit 100 can take control from , share control with ,
  DCADO Unit 100 . In one example , DCADO Unit 100 can              or release control to User 50 , non -DCADO system , and /or
   overwrite or rewrite the original instructions or instruction       other system or process at any time, in any circumstances,
   sets of Application Program 18 , Processor 11 , Logic Circuit       and remain in control for any period of time as needed .
   250, and/ or other processing element with DCADO Unit                 In some embodiments, DCADO Unit 100 may control
   100- generated instructions or instruction sets. In another 45 one or more sub - devices, sub - systems, or elements of
   example , DCADO Unit 100 can insert or embed DCADO             Device 98 while User 50 and /or non -DCADO system may
  Unit 100 - generated instructions or instruction sets among          control other one or more sub -devices, sub -systems, or
  the original instructions or instruction sets of Application         elements of Device 98 .
  Program 18, Processor 11 , Logic Circuit 250, and /or other        It should be understood that a reference to autonomous
  processing element. In a further example , DCADO Unit 100 50 operating of Device 98 may include autonomous operating
  can branch , redirect, or jump to DCADO Unit 100 - generated    of Application Program 18 , Processor 11 , Logic Circuit 250 ,
  instructions or instruction sets from the original instructions and /or other processing element depending on context.
  or instruction sets of Application Program 18 , Processor 11,          Referring now to Acquisition Interface 120 , Acquisition
  Logic Circuit 250 , and /or other processing element.     Interface 120 comprises the functionality for obtaining and /
     In some embodiments, autonomous Device 98 operating 55 or receiving instruction sets, data , and /or other information .
  comprises determining, by DCADO Unit 100 , a next Acquisition Interface 120 comprises the functionality for
   instruction or instruction set to be executed based on              obtaining and/ or receiving instruction sets , data , and / or other
  Device ' s 98 circumstances including objects with various           information from Processor 11 , Application Program 18 ,
   properties prior to the user issuing or causing to be executed      Logic Circuit 250 ( later described ), and / or other processing
  the next instruction or instruction set . In yet other embodi- 60 element. Acquisition Interface 120 comprises the function
  ments , autonomous application operating comprises deter -        ality for obtaining and / or receiving instruction sets , data ,
  mining, by DCADO Unit 100, a next instruction or instruc -           and /or other information at runtime. In some aspects , an
   tion set to be executed based on Device 's 98 circumstancesinstruction set may include any computer command , instruc
   including objects with various properties prior to the system
                                                              tion , signal, or input used in Application Program 18 ,
   receiving the next instruction or instruction set.      65 Processor 11 , Logic Circuit 250, and/ or other processing
      In some embodiments , autonomous Device 98 operating    element. Therefore , the terms instruction set, command ,
  includes a partially or fully autonomous operating . In an           instruction , signal, input, or other such terms may be used
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   interchangeably herein depending on context. Acquisition             (if VM is used ), in operating system , in Processor 11 , and/or
  Interface 120 also comprises the functionality for attaching in other layers or areas that may exist in a particular
  to or interfacing with Application Program 18 , Processor 11 , computing system implementation . In yet other aspects ,
  Logic Circuit 250 , and /or other processing element. In one instrumentation can be performed at various time periods in
  example, Acquisition Interface 120 comprises the function - 5 an application 's execution such as source code write time,
  ality to access and /or read runtime engine / environment, compile time, interpretation time, translation time, linking
   virtual machine , operating system , compiler, just - in - time      time, loading time, runtime, and / or other time periods. In yet
   ( JIT) compiler, interpreter, translator, execution stack , file ,   other aspects , instrumentation can be performed at various
  object, data structure , and / or other computing system ele    granularities or code segments such as some or all lines of
  ments . In another example , Acquisition Interface 120 com - 10 code , some or all statements , some or all instructions or
  prises the functionality to access and/ or read memory, stor          instruction sets, some or all basic blocks, some or all
  age , bus, interfaces, and /or other computing system                 functions /routines/ subroutines, and /or some or all other code
   elements. In a further example , Acquisition Interface 120           segments .
   comprises the functionality to access and /or read Processor
                                                                         In some embodiments , Application Program 18 can be
   11 registers and /or other Processor 11 elements . In a further 15 automatically
  example, Acquisition Interface 120 comprises the function                         instrumented . For example , Acquisition Inter
  ality to access and/ or read inputs and /or outputs of Appli -face 120 can access Application Program 's 18 source code,
  cation Program 18 , Processor 11 , Logic Circuit 250 , and /orbytecode, or machine code and select instrumentation points
  other processing element. In a further example , Acquisition of interest. Selecting instrumentation points may include
  Interface 120 comprises the functionality to access and/or 20 finding locations in the source code, bytecode, or machine
  read functions, methods, procedures, routines , subroutines, code corresponding to function calls, function entries, func
  and /or other elements of Application Program 18 . In a tion exits, object creations, object destructions, event han
   further example , Acquisition Interface 120 comprises the             dler calls, new lines (i.e.to instrumentall lines of code, etc .),
   functionality to access and / or read source code , bytecode , thread creations , throws, and /or other points of interest .
   compiled , interpreted , or otherwise translated code,machine 25 Instrumentation code can then be inserted at the instrumen
   code, and/ or other code. In a further example , Acquisition     tation points of interest to output Application Program ' s 18
   Interface 120 comprises the functionality to access and /or           instruction sets, data, and /or other information . In response
  read values , variables , parameters, and / or other data or          to executing instrumentation code , Application Program 's
   information . Acquisition Interface 120 also comprises the        18 instruction sets , data , and /or other information may be
  functionality for transmitting the obtained instruction sets , 30 received
  data, and / or other information to Artificial Intelligence Unit Applicationby Acquisition
                                                                                   Program   ’s
                                                                                                  Interface 120 . In some aspects,
                                                                                                  18   source code , bytecode, or
  110 and/or other element. As such , Acquisition Interface 120 machine code can be dynamically                  instrumented . For
  provides input into Artificial Intelligence Unit 110 for example , instrumentation code can be dynamically                inserted
  knowledge structuring , anticipating , decision making, and / 35 into Application Program 18 at runtime.
  or other functionalities later in the process. Acquisition 35 moIn other embodiments, Application Program 18 can be
  Interface 120 also comprises other disclosed functionalities.
     Acquisition Interface 120 can employ various techniques manually instrumented . In one example, a programmer can
  for obtaining instruction sets ,data , and /or other information . instrument a function call by placing an instrumenting
  In one example, Acquisition Interface 120 can attach to            instruction immediately after the function call as in the
  and /or obtain Processor's 11 , Application Program 's 18 , 40 following example.
  Logic Circuits 250 , and/ or other processing element's              Devicel.moveForward ( 12 );
  instruction sets , data , and /or other information through trac     trace Application (‘Devicel.moveForward ( 12);");
   ing or profiling techniques. Tracing or profiling may be used         In another example , an instrumenting instruction can be
   for outputting Processor' s 11 , Application Program 's 18 ,         placed immediately before the function call , or at the begin
  Logic Circuits 250 , and / or other processing element' s 45 ning, end , or anywhere within the function itself. A pro
   instruction sets, data , and /or other information at runtime.        grammer may instrument all function calls or only function
  For instance, tracing or profiling may include adding trace           calls of interest. In a further example , a programmer can
  code (i. e . instrumentation , etc .) to an application and /or       instrument all lines of code or only code lines of interest. In
   outputting trace information to a specific target. The out-           a further example , a programmer can instrument other
  putted trace information (i. e . instruction sets , data , and/ or 50 elements utilized or implemented within Application Pro
   other information , etc .) can then be provided to or recorded         gram 18 such as objects and/ or any of their functions, data
   into a file, data structure , repository , an application , and/ or    structures and/ or any of their functions, event handlers
   other system or target that may receive such trace informa-            and /or any of their functions, threads and/ or any of their
   tion . As such , Acquisition Interface 120 can utilize tracing or      functions, and/ or other elements or functions . Similar instru
   profiling to obtain instruction sets, data , and/ or other infor - 55 mentation as in the preceding examples can be performed
  mation and provide them as input into Artificial Intelligence         automatically or dynamically . In some designs where
  Unit 110 . In some aspects , instrumentation can be performed         manual code instrumentation is utilized , Acquisition Inter
   in source code, bytecode , compiled , interpreted , or other          face 120 can optionally be omitted and Application Pro
  wise translated code , machine code, and /or other code . In           gram ' s 18 instruction sets , data , and /or other information
   other aspects, instrumentation can be performed in various 60 may be transmitted directly to Artificial Intelligence Unit
   elements of a computing system such as memory , virtual               110 .
  machine, runtime engine/environment, operating system ,                   In someembodiments , DCADO Unit 100 can be selective
  compiler, interpreter, translator, processor registers , execu -      in learning instruction sets, data , and/or other information to
  tion stack , program counter, and/ or other elements . In yet         those implemented , utilized , or related to an object, data
   other aspects, instrumentation can be performed in various 65 structure, repository , thread , function , and /or other element
   abstraction layers of a computing system such as in software   of Application Program 18 . In some aspects, Acquisition
   layer (i.e . Application Program 18 , etc.), in virtualmachine Interface 120 can obtain Application Program 's 18 instruc
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   tion sets, data , and /or other information implemented , uti      runtime stack , machine stack , the stack , etc .) includes a data
   lized , or related to a certain object in an object oriented       structure that can store information about active subroutines
   Application Program 18 .                                           of an application . The Profiling API may provide a stack
      In some embodiments , various computing systems and /or         snapshot method , which enables a trace of the stack at a
  platformsmay provide native tools for obtaining instruction 5 particular point in time. The Profiling API may also provide
  sets , data , and /or other information . Also , independent ven - a shadow stack method , which tracks the call stack at every
  dors may provide portable tools with similar functionalities        instant. A shadow stack can obtain function arguments ,
  that can be utilized across different computing systems             return values, and information about generic instantiations.
  and /or platforms. These native and portable tools may             function such as FunctionEnter can be utilized to notify
  provide a wide range of functionalities to obtain runtimeand 10 the profiler that control is being passed to a function and can
  other information such as instrumentation , tracing or pro - provide information about the stack frame and function
  filing , logging application or system messages, outputting     arguments. A function such as FunctionLeave can be utilized
   custom text messages, outputting objects or data structures ,      to notify the profiler that a function is about to return to the
   outputting functions/routines /subroutines or their invoca -       caller and can provide information about the stack frame and
   tions, outputting variable or parameter values , outputting 15 function return value. An alternative to call stack profiling
   thread or process behaviors , outputting call or other stacks ,    includes call stack sampling in which the profiler can
  outputting processor registers, providing runtime memory            periodically examine the stack . In some aspects , the Profil
  access , providing inputs and / or outputs , performing live        ing API enables the profiler to change the in -memory code
   application monitoring, and /or other capabilities. One of         stream for a routine before it is just -in -time (JIT) compiled
  ordinary skill in art will understand that, while all possible 20 where the profiler can dynamically add instrumentation code
  variations of the techniques to obtain instruction sets , data ,  to all or particular routines of interest. Other platforms,
   and /or other information are too voluminous to describe ,         tools, and /or techniques may provide equivalent or similar
   these techniques are within the scope of this disclosure .         functionalities as the above described ones.
      In one example , obtaining instruction sets, data , and/ or In a further example , obtaining instruction sets, data ,
   other information can be implemented through the .NET 25 and /or other information can be implemented through Java
  platform ' s native tools for application tracing or profiling      platform ' s APIs for application tracing or profiling such as
   such as System .Diagnostics. Trace , System .Diagnostics .De -     Java Virtual Machine Profiling Interface ( JVMPI), Java
   bug , and System . Diagnostics. TraceSource classes for trac - VirtualMachine Tool Interface ( JVMTI), and /or other APIs
   ing execution flow , and System .Diagnostics .Process, Sys -    or tools. These APIs can be used for instrumentation of an
   tem .Diagnostics . EventLog ,                            and 30 application , for notification of Java Virtual Machine (VM )
   System .Diagnostics.PerformanceCounter classes for profil-         events , and/ or other functionalities. One of the tracing or
   ing code, accessing local and remote processes, starting and       profiling techniques that can be utilized includes bytecode
   stopping system processes, and interacting with Windows            instrumentation . The profiler can insert bytecodes into all or
   event logs , etc. For instance , a set of trace switches can be    some of the classes. In application execution profiling, for
   created that output an application ' s information . The 35 example , these bytecodes may include methodEntry and
   switches can be configured using the .config file . For a Web      methodExit calls . In memory profiling, for example , the
  application, this may typically be Web .config file associated      bytecodes may be inserted after each new or after each
  with the project. In a Windows application , this file may          constructor. In some aspects , insertion of instrumentation
  typically be named application Name.exe .config . Trace code        bytecode can be performed either by a post- compiler or a
  can be added to application code automatically or manually 40 custom class loader. An alternative to bytecode instrumen
  as previously described . Appropriate listener can be created     tation includes monitoring events generated by the JVMPI
  where the trace output is received . Trace code may output or JVMTI interfaces. Both APIs can generate events for
  trace messages to a specific target such as a file , a log , a method entry / exit, object allocation , and / or other events . In
  database , an object, a data structure , and/ or other repository some aspects , JVMTI can be utilized for dynamic bytecode
  or system . Acquisition Interface 120 or Artificial Intelli- 45 instrumentation where insertion of instrumentation byte
   gence Unit 110 can then read or obtain the trace information       codes is performed at runtime. The profiler may insert the
   from these targets. In some aspects, trace code may output         necessary instrumentation when a selected class is invoked
  trace messages directly to Acquisition Interface 120 . In other     in an application . This can be accomplished using the
   aspects, trace code may output trace messages directly to          JVMTI' s redefineClasses method , for example . This
   Artificial Intelligence Unit 110 . In the case of outputting 50 approach also enables changing of the level of profiling as
   trace messages to Acquisition Interface 120 or directly to         the application is running. If needed , these changes can be
   Artificial Intelligence Unit 110 , custom listeners can be built   made adaptively without restarting the application . Other
   to accommodate these specific targets . Other platforms,           platforms, tools , and / or techniques may provide equivalent
  tools , and/ or techniques can provide equivalent or similar        or similar functionalities as the above described ones .
   functionalities as the above described ones.                    55 In a further example , obtaining instruction sets , data ,
      In another example , obtaining instruction sets, data , and/   and/ or other information can be implemented through JVM
   or other information can be implemented through the .NET TI's programming interface that enables creation of software
   platform 's Profiling API that can be used to create a custom     agents that can monitor and control a Java application . An
   profiler application for tracing, monitoring, interfacing with , agent may use the functionality of the interface to register
   and/ or managing a profiled application . The Profiling API 60 for notification of events as they occur in the application ,
   provides an interface that includes methods to notify the          and to query and control the application . A JVMTI agent
   profiler of events in the profiled application . The Profiling     may use JVMTI functions to extract information from a Java
   API may also provide an interface to enable the profiler to        application . A JVMTI agent can be utilized to obtain an
   call back into the profiled application to obtain information      application 's runtime information such as method calls ,
  about the state of the profiled application . The Profiling API 65 memory allocation , CPU utilization , lock contention , and /or
  may further provide call stack profiling functionalities. Call      other information . JVMTI may include functions to obtain
   stack ( also referred to as execution stack , control stack ,      information about variables, fields, methods, classes, and /or
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  other information . JVMTImay also provide notification for             logs on a computing device; retrieval of configuration infor
   numerous events such as method entry and exit , exception ,           mation for a specific log ; retrieval of event publishers on a
   field access and modification , thread start and end, and/ or         computing device ; reading events from an event log , from a
   other events. Examples of JVMTI built- in methods include             log file , or using a structured query ; exporting events from
  GetMethodName to obtain the name of an invoked method , 5 an event log, from a log file , or using a structured query to
  GetThreadInfo to obtain information for a specific thread ,            a specific target; and/or other capabilities . Operating system
  GetClassSignature to obtain information about the class of             logs can be utilized solely if they contain sufficient infor
  an object, GetStackTrace to obtain information about the               mation on an application 's instruction sets , data , and /or
  stack including information about stack frames, and /or other          other information . Alternatively, operating system logs can
  methods. Other platforms, tools, and / or techniques may 10 be utilized in combination with another source of informa
   provide equivalent or similar functionalities as the above            tion (i.e . trace information , call stack , processor registers ,
   described ones.                                                       memory , etc .) to reconstruct the application ' s instruction
     In a further example, obtaining instruction sets, data ,            sets, data , and /or other information needed for Artificial
   and/ or other information can be implemented through                  Intelligence Unit 110 and/ or other elements. In addition to
   java . lang. Runtime class that provides an interface for appli- 15 logging capabilities native to their respective platforms
   cation tracing or profiling. Examples ofmethods provided in           and /or operating systems, many independent tools exist that
  java.lang.Runtimethat can be used to obtain an application 's provide logging on different platforms and/or operating
  instruction sets, data , and /or other information include systems. Examples of these tools include Log 43, Logback ,
  tracemethodcalls , traceinstructions, and /or other methods . SmartInspect, N Log, log 4net, Microsoft Enterprise Library ,
   These methods prompt the Java Virtual Machine to output 20 ObjectGuy Framework , and /or others . Other platforms,
  trace information for a method or instruction in the virtual tools, and /or techniques may provide equivalent or similar
  machine as it is executed . The destination of trace output functionalities as the above described ones .
  may be system dependent and include a file, a listener,                In a further example, obtaining instruction sets , data ,
  and/ or other destinations where Acquisition Interface 120 ,         and /or other information can be implemented through trac
   Artificial Intelligence Unit 110 , and /or other disclosed ele - 25 ing or profiling the operating system on which an application
  ments can access needed information . In addition to tracing           runs . As in tracing or profiling an application , one of the
  or profiling tools native to their respective computing sys -          techniques that can be utilized includes adding instrumen
  tems and /or platforms, many independent tools exist that              tation code to the operating system 's source code . Such
  provide tracing or profiling functionalities on more than one          instrumentation code can be added to the operating system ' s
   computing system and /or platform . Examples of these tools 30 source code before kernel compilation or recompilation , for
   include Pin , DynamoRIO , KernInst, DynInst, Kprobes,                 instance. This type of instrumentation may involve defining
   OpenPAT, DTrace , SystemTap , and /or others. Other plat-             or finding locations in the operating system 's source code
   forms, tools , and / or techniques may provide equivalent or          where instrumentation code may be inserted . Kernel instru
  similar functionalities as the above described ones.                   mentation can also be performed without the need for kernel
      In a further example , obtaining instruction sets , data , 35 recompilation or rebooting. In some aspects , instrumenta
   and /or other information can be implemented through log -            tion code can be added at locations of interest through binary
   ging tools of the platform and / or operating system on which         rewriting of compiled kernel code. In other aspects , kernel
   an application runs . Some logging tools may include nearly           instrumentation can be performed dynamically where instru
   full feature sets of the tracing or profiling tools previously        mentation code is added and /or removed where needed at
  described . In one example , Visual Basic enables logging of 40 runtime. For instance , dynamic instrumentation may over
   runtime messages through its Microsoft.VisualBasic . Log -            write kernel code with a branch instruction that redirects
   ging namespace that provides a log listener where the log             execution to instrumentation code or instrumentation rou
  listener may direct logging output to a file and / or other            tine . In yet other aspects , kernel instrumentation can be
  target. In another example , Java enables logging through its          performed using just -in - time (JIT ) dynamic instrumentation
  java .util .logging class . In some aspects , obtaining an appli - 45 where execution may be redirected to a copy of kernel' s
   cation ' s instruction sets , data , and /or other information can    code segment that includes instrumentation code. This type
  be implemented through logging capabilities of the operat -            of instrumentation may include a JIT compiler and creation
  ing system on which an application runs. For example ,                 of a copy of the original code segment having instrumen
   Windows NT features centralized log service that applica -            tation code or calls to instrumentation routines embedded
   tions and operating - system components can utilize to report 50 into the original code segment. Instrumentation of the oper
   their events including any messages. Windows NT provides              ating system may enable total system visibility including
   functionalities for system , application , security , and /or other   visibility into an application ' s behavior by enabling genera
   logging. An application log may include events logged by              tion of low level trace information . Other platforms, tools ,
  applications. Windows NT, for example , may include sup               and /or techniques may provide equivalent or similar func
  port for defining an event source (i.e . application that created 55 tionalities as the above described ones .
  the event, etc .). Windows Vista , for example , supports a              In a further example, obtaining instruction sets, data ,
  structured XML log- format and designated log types to and /or other information can be implemented through trac
  allow applications to more precisely log events and to help          i ng or profiling the processor on which an application runs.
  interpret the events . Examples of different types of event For example, some Intel processors provide Intel Processor
  logs include administrative , operational, analytic , debug , 60 Trace ( i. e . Intel PT, etc . ), a low - level tracing feature that
  and / or other log types including any of their subcategories .  enables recording executed instruction sets , and / or other
  Examples of event attributes that can be utilized include              data or information of one or more applications . Intel PT is
   eventID , level, task , opcode , keywords, and/ or other event facilitated by the Processor Trace Decoder Library along
   attributes. Windows wevtutil tool enables access to events ,     with its related tools . Intel PT is a low -overhead execution
   their structures , registered event publishers, and /or their 65 tracing feature that records information about application
   configuration even before the events are fired . Wevtutil             execution on each hardware thread using dedicated hard
   supports capabilities such as retrieval of the names of all           ware facilities . The recorded execution /trace information is
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  collected in data packets that can be buffered internally                information through accessing and/or reading instruction
  before being sent to a memory subsystem or another system                register, program counter, other processor registers ,memory
  or element (i.e . Acquisition Interface 120 , Artificial Intelli-        locations, and/ or other components of a computing system .
   gence Unit 110 , etc . ). Intel PT also enables navigating the In yet other aspects, high -level programming languages may
   recorded execution / trace information via reverse stepping 5 call or execute an external assembly language program to
   commands. Intel PT can be included in an operating sys -                facilitate obtaining instruction sets, data , and/ or other infor
   tem ' s core files and provided as a feature of the operating           mation as previously described . In yet other aspects , rela
   system . Intel PT can trace globally some or all applications           tively low -level programming languages such as C may
  running on an operating system . Acquisition Interface 120 or            allow embedding assembly language directly in their source
   Artificial Intelligence Unit 110 can read or obtain the 10 code such as , for example , using asm keyword of C . Other
   recorded execution /trace information from Intel PT. Other              platforms, tools, and/ or techniques may provide equivalent
  platforms, tools , and/ or techniques may provide equivalent             or similar functionalities as the above described ones .
  or similar functionalities as the above described ones .                   In a further example , it may be sufficient to obtain user or
     In a further example, obtaining instruction sets , data ,             other inputs, variables, parameters, and/ or other data in
   and / or other information can be implemented through 15 some procedural, simple object oriented , or other applica
   branch tracing or profiling . Branch tracing may include an             tions. In one instance , a simple procedural application
   abbreviated instruction trace in which only the successful              executes a sequence of instruction sets until the end of the
  branch instruction sets are traced or recorded . Branch tracing          program . During its execution , the application may receive
   can be implemented through utilizing dedicated processor                user or other input, store the input in a variable, and perform
   commands, for example . Executed branches may be saved 20 calculations using the variable to reach a result. The value of
   into special branch trace store area of memory . With the the variable can be obtained or traced . In another instance ,
   availability and reference to a compiler listing of the appli-          a more complex procedural application comprises one or
   cation together with branch trace information , a full path of         more functions/routines/subroutines each of which may
   executed instruction sets can be reconstructed . The full path          include a sequence of instruction sets. The application may
   can also be reconstructed with a memory dump ( containing 25 execute a main sequence of instruction sets with a branch to
   the program storage ) and branch trace information . In some            a function /routine / subroutine. During its execution , the
   aspects, branch tracing can be utilized for pre -learning or            application may receive user or other input, store the input
  automated learning of an application ' s instruction sets , data ,       in a variable , and pass the variable as a parameter to the
   and/ or other information where a number of application                 function /routine /subroutine. The function / routine/subrou
   simulations ( i. e . simulations of likely / common operations, 30 tine may perform calculations using the parameter and
  etc .) are performed . As such , the application 's operation can        return a value that the rest of the application can use to reach
  be learned automatically saving the time that would be                   a result . The value of the variable or parameter passed to the
  needed to learn the application 's operation directed by a               function /routine /subroutine, and/ or return value can be
   user. Other platforms, tools, and/or techniques may provide             obtained or traced . Values of user or other inputs, variables,
   equivalent or similar functionalities as the above described 35 parameters , and/ or other items of interest can be obtained
   ones .                                                          through previously described tracing, instrumentation, and/
     In a further example , obtaining instruction sets, data ,             or other techniques. Other platforms, tools, and/or tech
   and/ or other information can be implemented through                    niques may provide equivalent or similar functionalities as
   assembly language . Assembly language is a low -level pro -             the above described ones.
   gramming language for a computer or other programmable 40                  Referring to FIG . 5 , in yet another example , obtaining
   device in which there is a strong correlation between the               instruction sets , data , and /or other information may be
   language and the architecture ' s machine instruction sets.             implemented through tracing , profiling, or sampling of
  Syntax , addressing modes , operands, and /or other elements             instruction sets or data in processor registers, memory , or
  of an assembly language instruction set may translate                    other computing system components where instruction sets,
   directly into numeric ( i. e . binary , etc . ) representations of that 45 data , and /or other information may be stored or utilized . For
   particular instruction set. Because of this direct relationship         example , Instruction Register 212 may be part of Processor
  with the architecture ’ s machine instruction sets, assembly             11 and it may store the instruction set currently being
  language can be a powerful tool for tracing or profiling an     executed or decoded . In some processors , Program Counter
  application ' s execution in processor registers , memory , and 211 (also referred to as instruction pointer, instruction
  or other computing system components . For example , using 50 address register, instruction counter, or part of instruction
   assembly language , memory locations of a loaded applica -              sequencer ) may be incremented after fetching an instruction
   tion can be accessed , instrumented , and /or otherwise                 set, and it may hold or point to the memory address of the
  manipulated . In some aspects , assembly language can be                 next instruction set to be executed . In a processor where the
  used to rewrite or overwrite original in -memory instruction             incrementation precedes the fetch , Program Counter 211
   sets of an application with instrumentation instruction sets . 55 may point to the current instruction set being executed . In
   In other aspects, assembly language can be used to redirect             the instruction cycle , an instruction set may be loaded into
   application 's execution to instrumentation routine / subrou -          Instruction Register 212 after Processor 11 fetches it from
   tine or other code segment elsewhere in memory by insert-               location in Memory 12 pointed to by Program Counter 211 .
   ing a jump into the application 's in -memory code, by                  Instruction Register 212 may hold the instruction set while
   redirecting program counter, or by other techniques . Some 60 it is decoded by Instruction Decoder 213 , prepared , and
   operating systemsmay implement protection from changes        executed . In some aspects , data (i. e. operands , etc .) needed
   to applications loaded into memory. Operating system , pro -            for instruction set execution may be loaded from Memory 12
   cessor, or other low level commands such as Linux mprotect              into a register within Register Array 214 . In other aspects,
   command or similar commands in other operating systems                  the data may be loaded directly into Arithmetic Logic Unit
  may be used to unprotect the protected locations in memory 65 215 . For instance, as instruction sets pass through Instruc
  before the change . In yet other aspects , assembly language             tion Register 212 during application execution, they may be
   can be used to obtain instruction sets, data , and /or other            transmitted to Acquisition Interface 120 as shown. Examples
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  of the steps in execution of a machine instruction set may          described separately here to offer additional detail on its
  include decoding the opcode (i.e . portion of a machine             functioning . Some Devices 98 may not need the processing
   instruction set that may specify the operation to be per -         capabilities of an entire Processor 11 , but instead a more
   formed ), determining where the operands may be located            tailored Logic Circuit 250. Examples of such Devices 98
   (depending on architecture , operandsmay be in registers , the 5 include home appliances, audio or video electronics, vehicle
   stack , memory, I/O ports , etc.), retrieving the operands,        systems, toys, industrial machines, robots, and /or others .
   allocating processor resources to execute the instruction set      Logic Circuit 250 comprises the functionality for perform
   (needed in some types of processors ), performing the opera        ing logic operations. Logic Circuit 250 comprises the func
  tion indicated by the instruction set, saving the results of        tionality for performing logic operations using the circuit 's
   execution , and / or other execution steps. Examples of the 10 inputs and producing outputs based on the logic operations
  types ofmachine instruction sets that can be utilized include       performed on the inputs . Logic Circuit 250 may generally be
  arithmetic , data handling , logical, program control, as well      implemented using transistors, diodes , and /or other elec
   as special and / or other instruction set types. In addition to    tronic switches , but can also be constructed using vacuum
   the ones described or shown, examples of other computing           tubes, electromagnetic relays (relay logic ), fluidic logic ,
   system or processor components that can be used during an 15 pneumatic logic , optics , molecules, or even mechanical
   instruction cycle include memory address register (MAR )     elements . In some aspects , Logic Circuit 250 may be or
  thatmay hold the address of a memory block to be read from         include a microcontroller, field -programmable gate array
  or written to ; memory data register (MDR ) that may hold (FPGA ), application -specific integrated circuit (ASIC ), and /
  data fetched from memory or data waiting to be stored in           or other computing circuit or device . In other aspects, Logic
  memory ; data registers that may hold numeric values, char- 20 Circuit 250 may be or include any circuit or device com
  acters , small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors, one
  may hold addresses used by instruction sets that indirectly or more switches, and /or one or more other logic compo
  access memory ; general purpose registers (GPRs) that may nents. In further aspects, Logic Circuit 250 may be or
  store both data and addresses ; conditional registers that may     include any integrated or other circuit or device that can
  hold truth values often used to determine whether some 25 perform logic operations. Logic may generally refer to
  instruction set should or should not be executed ; floating Boolean logic utilized in binary operations , but other logics
  point registers (FPRs) thatmay store floating point numbers ; can also be used . Input into Logic Circuit 250 may include
  constant registers that may hold read -only values such as or refer to a value inputted into the Logic Circuit 250,
   zero , one , or pi; special purpose registers (SPRs) such as   therefore , these terms may be used interchangeably herein
   status register, program counter, or stack pointer that may 30 depending on context. In one example , Logic Circuit 250
  hold information on program state ;machine -specific regis          may perform some logic operations using four input values
  ters that may store data and settings related to a particular       and produce two output values. As the four input values are
  processor; Register Array 214 that may include an array of          delivered to or received by Logic Circuit 250 , they may be
   any number of processor registers ; Arithmetic Logic Unit          obtained by Acquisition Interface 120 through the four
   215 that may perform arithmetic and logic operations; 35 hardwired connections as shown in FIG . 6A . In another
   control unit that may direct processor 's operation ; and/or       example, Logic Circuit 250 may perform some logic opera
  other circuits or components . Tracing , profiling, or sampling     tions using four input values and produce two output values.
   of processor registers , memory, or other computing system         As the two output values are generated by or transmitted out
  components can be implemented in a program , combination            of Logic Circuit 250 , they may be obtained by Acquisition
  of hardware and program , or purely hardware system . Dedi- 40 Interface 120 through the two hardwired connections as
   cated hardware may be built to perform tracing, profiling, or      shown in FIG . 6B . In a further example , instead of or in
   sampling of processor registers or any computing system            addition to obtaining input and/ or output values of Logic
   components with marginal or no impact to computing over Circuit 250 , the state of Logic Circuit 250 may be obtained
  head .                                                         by reading or accessing values from one or more Logic
     One of ordinary skill in art will recognize that FIG . 5 45 Circuit 's 250 internal components such as registers , memo
  depicts one of many implementations of processor or com -           ries , buses, and/ or others (i.e . similar to the previously
  puting system components , and that various additional com -        described tracing, profiling, and /or sampling of Processor 11
  ponents can be included , or some of the disclosed ones can         components , etc .). Tracing, profiling , or sampling of Logic
  be excluded , or a combination thereof can be utilized in           Circuit 250 can be implemented in a program , combination
   alternate implementations. Processor or computing system 50 of hardware and program , or purely hardware system . Dedi
   components may be arranged or connected differently in             cated hardware may be built to perform tracing , profiling , or
   alternate implementations. Processor or computing system           sampling of Logic Circuit 250 with marginal or no impact to
   components may also be connected with external elements            computing overhead. Any of the elements and /or techniques
   using various connections. For instance , the connection           for tracing , profiling , or sampling of Logic Circuit 250 can
  between Instruction Register 212 and Acquisition Interface 55 similarly be implemented with Processor 11 and/ or other
   120 may include any number or types of connections such         processing elements. In some designs , DCADO Unit 100
  as, for example , a dedicated connection for each bit of may include clamps and/ or other elements to attach DCADO
  Instruction Register 212 i. e . 32 connections for a 32 bit Unit 100 to inputs (i.e . input wires, etc .) into and/ or outputs
  Instruction Register 212 , etc .). Any of the described or other ( i.e . output wires , etc .) from Logic Circuit 250 . Such clamps
   connections or interfaces may be implemented among any 60 and / or attachment elements enable seamless attachment of
   processor or computing system components and Acquisition           DCADO Unit 100 to any circuit or computing device
   Interface 120 or other elements .                                  without the need to redesign or alter the circuit or computing
    Referring to FIGS. 6A -6B , in yet another example ,              device .
  obtaining instruction sets, data , and/ or other information    In some embodiments , DCADO Unit 100 may learn input
  may be implemented through tracing, profiling, or sampling 65 values directly from an actuator (previously described , not
   of Logic Circuit 250 . While Processor 11 includes any type        shown ). For example , Logic Circuit 250 or other processing
   or embodiment of logic circuit, Logic Circuit 250 is               element may control an actuator that enables Device 98 to
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                                                            US 10 ,452 , 974 B1
                                93                                                                        94
  perform mechanical, physical, and /or other operations. An                with Extra Info 527 . In an embodiment shown in FIG . 8B ,
  actuator may receive one or more input values or control                  Instruction Set 526 may include or be associated with Extra
  signals from Logic Circuit 250 or other processing element                Info 527 .
  directing the actuator to perform specific operations . As one               Extra Info 527 comprises the functionality for storing any
  or more input values or control signals are delivered to or 5 information useful in comparisons or decision making per
   received
   re       by the actuator, they may be obtained by Acquisi                formed in autonomous device operation , and /or other func
  tion Interface 120 as previously described with respect to                tionalities . One or more Extra Infos 527 can be stored in ,
  obtaining input values of Logic Circuit 250. Specifically , for           appended to , or associated with a Collection of Object
   instance , one or more input values or control signals of an             Representations 525 , Instruction Set 526 , and /or other ele
  actuator may be obtained by Acquisition Interface 120 via 10 ment. In some embodiments , the system can obtain Extra
  hardwired or other connections .                                          Info 527 at a time of creating or generating Collection of
     One of ordinary skill in art will recognize that FIGS.                 Object Representations 525 . In other embodiments, the
  6A -6B depict one of many implementations of Logic Circuit                system can obtain Extra Info 527 at a time of acquiring
  250 and that any number of input and/ or output values can    Instruction Set 526 . In general, Extra Info 527 can be
  be utilized in alternate implementations . One of ordinary 15 obtained at any time. Examples of Extra Info 527 include
  skill in art will also recognize that Logic Circuit 250 may time information , location information , computed informa
  include any number and /or combination of logic compo - tion , contextual information , and/ or other information . Any
  nents to implement any logic operations.                      information can be utilized that can provide information for
      Other additional techniques or elements may be utilized               enhanced comparisons or decision making performed in
   as needed for obtaining instruction sets , data , and /or other 20 autonomous device operation . Which information is utilized
   information , or someof the disclosed techniques or elements             and / or stored in Extra Info 527 can be set by a user, by
  may be excluded , or a combination thereofmay be utilized                 DCADO system administrator, or automatically by the sys
  in alternate embodiments .                                         tem . Extra Info 527 may include or be referred to as
     Referring to FIGS . 7A - 7E , some embodiments of Instruc -     contextual information , and vice versa . Therefore , these
  tion Sets 526 are illustrated . In someaspects, Instruction Set 25 terms may be used interchangeably herein depending on
  526 includes one or more instructions or commands of                      context.
  Application Program 18 . For example, Instruction Set 526         In some aspects , time information (i.e . time stamp, etc . )
  may include one or more instructions or commands of a          can be utilized and /or stored in Extra Info 527 . Time
  high - level programming language such as Java or SQL , a      information can be useful in comparisons or decision mak
  low - level language such as assembly or machine language , 30 ing performed in autonomous device operation related to a
  an intermediate language or construct such as bytecode,                   specific time period as Device 98 may be required to
  and / or any other language or construct. In other aspects ,              perform specific operations at certain parts of day , month ,
  Instruction Set 526 includes one or more inputs into and/ or              year , and /or other time periods. Time information can be
  outputs from Logic Circuit 250, Processor 11 , Application                obtained from the system clock , online clock , oscillator, or
  Program 18 , and /or other processing element. In further 35 other time source . In general, Extra Info 527 may include
  aspects, Instruction Set 526 includes one or more values or time information related to when Device 98 performed an
   states of registers and/or other components of Logic Circuit             operation . In other aspects , location information (i.e . coor
   250 , Processor 11 , and/ or other processing element. In                dinates, distance /angle from a known point, address, etc . )
   general, Instruction Set 526 may include one or more                     can be utilized and /or stored in Extra Info 527 . Location
   instructions, commands, keywords, symbols (i. e . parenthe- 40 information can be useful in comparisons or decision mak
   ses , brackets , commas , semicolons, etc . ), operators                 ing performed in autonomous device operation related to a
   (i.e . = , < , > , etc . ), variables, values, objects, data structures, specific place as Device 98 may be required to perform
   functions (i.e . Function1( ) , FIRST ( ), MINO , SORT ( ), specific operations at certain places . Location information
   etc .), parameters, states , signals , inputs , outputs , characters ,   can be obtained from a positioning system (i.e. radio signal
  digits, references thereto , and / or other components for per - 45 triangulation , GPS capabilities , etc .) , sensors , and /or other
   forming an operation .                                                   location system . In general, Extra Info 527 may include
      In an embodiment shown in FIG . 7A , Instruction Set 526              location information related to where Device 98 performed
   includes code of a high - level programming language ( i. e .            an operation . In further aspects , computed information can
   Java , C + + , etc .) comprising the following function call             be utilized and /or stored in Extra Info 527 . Computed
   construct :      Function1         (Parameter1 ,       Parameter2, 50 information can be useful in comparisons or decision mak
  Parameter3 , . . . ). An example of a function cal applying the           ing performed in autonomous device operation where infor
  above construct includes the following Instruction Set 526 :              mation can be calculated , inferred , or derived from other
  moveTo (Devicel, 14 , 8 ). The function or reference thereto available information . DCADO Unit 100 and /or other dis
  “ moveTo (Devicel , 14 , 8 ) ” may be an Instruction Set 526    closed elements may include computational functionalities
   directing Devicel to move to a location with coordinates 14 55 to create Extra Info 527 by performing calculations or
   and 8 , for example . In another embodiment shown in FIG .               inferences using other information . In one example ,
   7B , Instruction Set 526 includes structured query language              Device 's 98 speed can be computed or estimated from
   (SQL ) . In a further embodiment shown in FIG . 7C , Instruc -           Device ' s 98 location and /or time information . In another
   tion Set 526 includes bytecode (i. e . Java bytecode , Python            example , Device 's 98 bearing (i.e . angle or direction of
  bytecode, CLR bytecode, etc . ). In a further embodiment 60 movement, etc . ) can be computed or estimated from
  shown in FIG . 7D , Instruction Set 526 includes assembly                 Device's 98 location information by utilizing Pythagorean
   code . In a further embodiment shown in FIG . 7E , Instruction           theorem , trigonometry, and /or other theorems, formulas , or
  Set 526 includes machine code .                                           disciplines. In a further example , speeds, bearings , dis
     Referring to FIGS. 8A - 8B , some embodiments of Extra                 tances , and /or other properties of objects around Device 98
   Information 527 (also referred to as Extra Info 527 ) are 65 can similarly be computed or inferred using known infor
   illustrated . In an embodiment shown in FIG . 8A , Collection            mation . In further aspects , observed information can be
   of Object Representations 525 may include or be associated               utilized and /or stored in Extra Info 527 . In further aspects ,
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   other information can be utilized and /or stored in Extra Info      Remote Device 's 97 surrounding . As User 50 operates
  527 . Examples of such other information include user spe-           Remote Device 97 , DCADO Unit 100 may learn Remote
   cific information (i.e. skill level , age, gender, etc.), group     Device 's 97 operation in circumstances including objects
   user information (i.e . access level, etc.), version of Appli       with various properties. Such embodiments can be utilized
   cation Program 18 , type of Application Program 18 , type of 5 in any situation where one device controls (i. e . remote
  Processor 11 , type of Logic Circuit 250, type of Device 98 ,        controls, etc . ) another device , any situation where some or
  and/ or other information .                                          all of the processing is on one device and sensor capabilities
    Referring to FIG . 9 , an embodiment where DCADO Unit              are on another device, and / or other situations. In one
  100 is part of or operating on Processor 11 is illustrated . In      example , a drone controlling device ( i. e . Device 98 , etc . )
  one example , DCADO Unit 100 may be a hardware element 10 may send control signals to operate a drone (i . e . Remote
   or circuit embedded or built into Processor 11 . In another         Device 97, etc .) and receive information on the drone' s
   example , DCADO Unit 100 may be a program operating on              surrounding from Sensor 92 on the drone. In another
   Processor 11 .                                                      example , a robot controlling device (i.e. Device 98 , etc.)
     Referring to FIG . 10 , an embodiment where DCADO                 may send control signals to operate a robot ( i. e . Remote
  Unit 100 resides on Server 96 accessible over Network 95 is 15 Device 97 , etc .) and receive information on the robot 's
  illustrated . Any number of Devices 98 may connect to such     surrounding from Sensor 92 on the robot. Any of the
  remote DCADO Unit 100 and the remote DCADO Unit 100            disclosed elements in addition to Sensor 92 may reside on
  may learn their operations in circumstances including Remote Device 97 in alternate implementations .
  objects with various properties . In turn , any number of        Referring to FIG . 12 , an embodiment of Artificial Intel
  Devices 98 can utilize the remote DCADO Unit 100 for 20 ligence Unit 110 is illustrated . Artificial Intelligence Unit
  autonomous operation in circumstances including objects 110 comprises interconnected Knowledge Structuring Unit
  with various properties. A remote DCADO Unit 100 can be              520 , Knowledgebase 530 , Decision -making Unit 540 , and
  offered as a network service (i.e . online application , etc.). In   Confirmation Unit 550 . Other additional elements can be
  some aspects , a remote DCADO Unit 100 (i. e . global       included as needed , or some of the disclosed ones can be
  DCADO Unit 100 , etc.) may reside on the Internet and be 25 excluded , or a combination thereof can be utilized in alter
   available to all the world ' s Devices 98 configured to trans       nate embodiments .
  mit their operations in circumstances including objects with            Artificial Intelligence Unit 110 comprises the functional
  various properties and/ or configured to utilize the remote        ity for learning Device 's 98 operation in circumstances
  DCADO Unit 100 for autonomous operation in circum -                including objects with various properties . Artificial Intelli
  stances including objects with various properties. For 30 gence Unit 110 comprises the functionality for learning one
  example , multiple operators (i. e . Users 50 , etc .) may operate or more collections of object representations correlated with
  their Devices 98 where the Devices 98 may be configured to   any instruction sets , data , and/ or other information . In some
  transmit their operations in circumstances including objects aspects , Artificial Intelligence Unit 110 comprises the func
  with various properties to a remote DCADO Unit 100 . Such    tionality for learning one or more Collections of Object
  remote DCADO Unit 100 enables learning of the operators ' 35 Representations 525 correlated with any Instruction Sets 526
   collective knowledge of operating Device 98 in circum               and /or Extra Info 527 . In other aspects , Artificial Intelli
   stances including objects with various properties. Server 96        gence Unit 110 comprises the functionality for learning one
  may be or include any type or form of a remote computing          or more Collections of Object Representations 525 some of
  device such as an application server, a network service which may not be correlated with any Instruction Sets 526
  server, a cloud server, a cloud , and/ or other remote comput- 40 and /or Extra Info 527 . Further, Artificial Intelligence Unit
  ing device . Server 96 may include any features , functional-     110 comprises the functionality for anticipating Device ' s 98
  ities , and embodiments of the previously described Com -         operation in circumstances including objects with various
  puting Device 70 . It should be understood that Server 96            properties . Artificial Intelligence Unit 110 comprises the
  does not have to be a separate computing device and that             functionality for anticipating one or more instruction sets,
  Server 96 , its elements , or its functionalities can be imple - 45 data , and/ or other information . Artificial Intelligence Unit
  mented on Device 98 . Network 95 may include various                110 comprises the functionality for anticipating one or more
  networks, connection types, protocols, interfaces , APIs, and        Instruction Sets 526 based on one or more incoming Col
  or other elements or techniques known in art all ofwhich are         lections of Object Representations 525 . Artificial Intelli
  within the scope of this disclosure . Any of the previously          gence Unit 110 comprises the functionality for anticipating
  described networks, network or connection types, network - 50 one or more Instruction Sets 526 to be used or executed in
   ing interfaces , and /or other networking elements or tech -        Device 's 98 autonomous operation . Artificial Intelligence
   niques can similarly be utilized. Any of the disclosed ele -        Unit 110 also comprises other disclosed functionalities.
  mentsmay reside on Server 96 in alternate implementations .            Knowledge Structuring Unit 520, Knowledgebase 530 ,
  In one example, Artificial Intelligence Unit 110 can reside on and Decision -making Unit 540 are described later.
  Server 96 and Acquisition Interface 120 and/ orModification 55 Confirmation Unit 550 comprises the functionality for
  Interface 130 can reside on Device 98 . In another example ,   confirming, modifying, evaluating (i.e . rating, etc. ), and /or
  Knowledgebase 530 can reside on Server 96 and the rest of canceling one or more anticipatory Instruction Sets 526 ,
  the elements ofDCADO Unit 100 can reside on Device 98 .        and/ or other functionalities . Confirmation Unit 550 is an
  Any other combination of local and remote elements can be      optional element that can be omitted depending on imple
   implemented .                                        60 mentation. In some embodiments, Confirmation Unit 550
     Referring to FIG . 11 , an embodiment of learning and /or
                                                           can serve as a means of confirming anticipatory Instruction
  using Remote Device 's 97 circumstances for autonomous Sets 526 . For example, Decision-making Unit 540 may
  Remote Device 97 operation is illustrated . In such embodi- determine one or more anticipatory Instruction Sets 526 and
  ments, in addition to providing input into Object Processing provide them to User 50 for confirmation . User 50 may be
  Unit 93 for learning functionalities herein , Sensor 92 (i.e . 65 provided with an interface (i.e . graphical user interface ,
  Camera 92a , Radar 92d , Sonar 92e , etc .) can provide input selectable list of anticipatory Instruction Sets 526 , etc . ) to
   into Display 21 or other device for User's 50 perception of         approve or confirm execution of the anticipatory Instruction
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                                    97                                                                   98
  Sets 526 . In some aspects, Confirmation Unit 550 can user confirmation step , whereas, a vehicle may be less
  automate User 50 confirmation . In one example , if one or suitable for implementing such interrupting step due to the
  more incoming Collections of Object Representations 525     real time nature of vehicle operation .
  from Object Processing Unit 93 and one ormore Collections     Referring to FIG . 13, an embodiment of Knowledge
  of Object Representations 525 from a Knowledge Cell 800 5 Structuring Unit 520 correlating individual Collections of
  were found to be a perfect or highly similar match , antici Object Representations 525 with any Instruction Sets 526
  patory Instruction Sets 526 correlated with the one or more and /or Extra Info 527 is illustrated . Knowledge Structuring
  Collections of Object Representations 525 from the Knowl- Unit 520 comprises the functionality for structuring the
  edge Cell 800 can be automatically executed without User 's knowledge of a device ' s operation in circumstances includ
  50 confirmation . Conversely, if one or more incoming 10 ing objects with various properties , and /or other function
  Collections of Object Representations 525 from Object       alities . Knowledge Structuring Unit 520 comprises the func
  Processing Unit 93 and one or more Collections of Object tionality for correlating one or more Collections of Object
  Representations 525 from a Knowledge Cell 800 were found Representations 525 with any Instruction Sets 526 and /or
  to be less than a highly similar match , anticipatory Instruc - Extra Info 527 . Knowledge Structuring Unit 520 comprises
  tion Sets 526 correlated with the one ormore Collections of 15 the functionality for creating or generating Knowledge Cell
   Object Representations 525 from the Knowledge Cell 800                   800 and storing one or more Collections of Object Repre
   can be presented to User 50 for confirmation and /or modi-               sentations 525 correlated with any Instruction Sets 526
   fying . Any features, functionalities , and /or embodiments of          and /or Extra Info 527 into the Knowledge Cell 800 . As such ,
  Similarity Comparison 125 (later described ) can be utilized Knowledge Cell 800 comprises the functionality for storing
  for such similarity determination . In other embodiments, 20 one or more Collections of Object Representations 525
  Confirmation Unit 550 can serve as a means ofmodifying or                correlated with any Instruction Sets 526 and / or Extra Info
   editing anticipatory Instruction Sets 526 . For example , Deci          527. Knowledge Cell 800 includes knowledge (i.e. unit of
   sion -making Unit 540 may determine one or more antici                  knowledge , etc.) of how Device 98 operated in a circum
   patory Instruction Sets 526 and provide them to User 50 for              stance including objects with various properties . Once cre
  modification . User 50 may be provided with an interface ( i.e . 25 ated or generated , Knowledge Cells 800 can be used in / as
   graphical user interface , etc .) to modify the anticipatory            neurons , nodes , vertices, or other elements in any of the data
   Instruction Sets 526 before their execution . In further                 structures or arrangements (i.e. neural networks, graphs,
   embodiments , Confirmation Unit 550 can serve as a means                 sequences, etc .) used for storing the knowledge of Device 's
  of evaluating or rating anticipatory Instruction Sets 526 if             98 operation in circumstances including objects with various
   they matched User 's 50 intended operation . For example , 30 properties, thereby facilitating learning functionalities
  Decision -making Unit 540 may determine one or more                      herein . It should be noted that Extra Info 527 may be
   anticipatory Instruction Sets 526 , which the system may                 optionally used in some implementations to enable enhanced
   automatically execute . User 50 may be provided with an                  comparisons or decision making in autonomous device
   interface (i.e . graphical user interface, etc .) to rate (i.e . on a   operation where applicable , and that Extra Info 527 can be
   scale from 0 to 1 , etc . ) how well Decision -making Unit 540 35 omitted in alternate implementations .
   predicted the executed anticipatory Instruction Sets 526 . In              In some embodiments , Knowledge Structuring Unit 520
  some aspects , rating can be automatic and based on a                    receives one or more Collections of Object Representations
  particular function or method that rates how well the antici-            525 from Object Processing Unit 93 . Knowledge Structuring
  patory Instruction Sets 526 matched the desired operation .              Unit 520 may also receive one or more Instruction Sets 526
   In one example , a rating function or method can assign a 40 from Acquisition Interface 120 .Knowledge Structuring Unit
   higher rating to anticipatory Instruction Sets 526 that were            520 may further receive any Extra Info 527 . Although , Extra
   least modified in the confirmation process. In another                  Info 527 is not shown in this and/ or other figures for clarity
   example , a rating function or method can assign a higher               of illustration , it should be noted that any Collection of
   rating to anticipatory Instruction Sets 526 that were canceled          Object Representations 525 , Instruction Set 526 , and /or
   least number of times by User 50 . Any other automatic 45 other element may include or be associated with Extra Info
   rating function or method can be utilized . In yet other  527 . Knowledge Structuring Unit 520 may correlate one or
   embodiments, Confirmation Unit 550 can serve as a means                 more Collections of Object Representations 525 with any
  of canceling anticipatory Instruction Sets 526 if they did not            Instruction Sets 526 and /or Extra Info 527. Knowledge
  match User ' s 50 intended operation . For example, Decision              Structuring Unit 520 may then create Knowledge Cell 800
  making Unit 540 may determine one or more anticipatory 50 and store the one or more Collections of Object Represen
  Instruction Sets 526 , which the system may automatically tations 525 correlated with Instruction Sets 526 and /or Extra
   execute . The system may save the state of Device 98 ,                  Info 527 into the Knowledge Cell 800 . Knowledge Cell 800
   Processor 11 ( save its register values , etc .), Logic Circuit         may include any data structure or arrangement that can
   250, Application Program 18 (i. e. save its variables, data              facilitate such storing. For example , Knowledge Structuring
   structures , objects, location of its current instruction , etc . ), 55 Unit 520 may create Knowledge Cell 800ax and structure
   and / or other processing elements before executing anticipa            within it Collection of Object Representations 525al corre
   tory Instruction Sets 526 . User 50 may be provided with an             lated with Instruction Sets 526a1-526a3 and/ or any Extra
   interface (i.e. graphical user interface , selectable list of prior     Info 527 (not shown ). Knowledge Structuring Unit 520 may
   executed anticipatory Instruction Sets 526 , etc .) to cancel            further structure within Knowledge Cell 800ax a Collection
  one or more of the prior executed anticipatory Instruction 60 of Object Representations 525a2 correlated with Instruction
  Sets 526 , and restore Device 98 , Processor 11, Logic Circuit Set 526a4 and / or any Extra Info 527 (not shown ). Knowl
  250 , Application Program 18 , and/or other processing ele - edge Structuring Unit 520 may further structure within
  ments to a prior state . In some aspects, Confirmation Unit Knowledge Cell 800ax a Collection of Object Representa
  550 can optionally be disabled or omitted in order to provide  tions 525a3 without a correlated Instruction Set 526 and /or
  an uninterrupted operation of Device 98 , Processor 11 , 65 Extra Info 527 . Knowledge Structuring Unit 520 may fur
  Logic Circuit 250 , and/ or Application Program 18 . For                 ther structure within Knowledge Cell 800ax a Collection of
   example , a thermostat may be suitable for implementing the             Object Representations 525a4 correlated with Instruction
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                                                       US 10 ,452 , 974 B1
                                 99                                                              100
  Sets 526a5 -526a6 and/or any Extra Info 527 (not shown ).             In some embodiments , Knowledge Structuring Unit 520
  Knowledge Structuring Unit 520 may further structure               can structure the knowledge of Device 's 98 operation in a
  within Knowledge Cell 800ax a Collection of Object Rep             circumstance including objects with various properties into
  resentations 525a5 without a correlated Instruction Set 526        any number of Knowledge Cells 800 . In some aspects ,
   and/ or Extra Info 527 . Knowledge Structuring Unit 520 may 5 Knowledge Structuring Unit 520 can structure into a Knowl
  structure within Knowledge Cell 800ax additional Collec edge Cell 800 a single Collection of Object Representations
  tions of Object Representations 525 correlated with any 525 correlated with any Instruction Sets 526 and /or Extra
  number (including zero [i.e. uncorrelated ]) of Instruction Info 527. In other aspects, Knowledge Structuring Unit 520
  Sets 526 and/or Extra Info 527 by following similar logic as can structure into a Knowledge Cell 800 any number (i.e. 2 ,
  described above .                                           10
     In some embodiments, Knowledge Structuring Unit 520 104      , 7 , 17 , 29 , 87, 1415 , 23891, 323674 , 8132401, etc . ) of
                                                                 Collections of Object Representations 525 correlated with
  may correlate a Collection of Object Representations 525           any Instruction Sets 526 and /or Extra Info 527 . In a special
  with one or more temporally corresponding Instruction Sets         case , Knowledge Structuring Unit 520 can structure all
   526 and /or Extra Info 527 . This way, Knowledge Structuring
  Unit 520 can structure the knowledge of Device 's 98 opera - 15 Collections of Object Representations 525 correlated with
   tion at or around the time of generating Collections of Object    any Instruction Sets 526 and/ or Extra Info 527 into a single
   Representations 525 . Such functionality enables spontane         long Knowledge Cell 800. In further aspects, Knowledge
   ous or seamless learning of Device 's 98 operation in cir         Structuring Unit 520 can structure Collections of Object
   cumstances including objects with various properties as           Representations 525 correlated with any Instruction Sets 526
   Device 98 is operated in real life situations. In some designs, 20 and /or Extra Info 527 into a plurality of Knowledge Cells
  Knowledge Structuring Unit 520 may receive a stream of             800 . In a special case, Knowledge Structuring Unit 520 can
  Instruction Sets 526 used or executed to effect Device ' s 98  store periodic streams of Collections of Object Representa
  operations as well as a stream of Collections of Object       tions 525 correlated with any Instruction Sets 526 and /or
  Representations 525 as the operations are performed . Extra Info 527 into a plurality of Knowledge Cells 800 such
  Knowledge Structuring Unit 520 can then correlate Collec - 25 as hourly , daily , weekly, monthly, yearly , or other periodic
   tions of Object Representations 525 from the stream of            Knowledge Cells 800.
   Collections of Object Representations 525 with temporally          I n some embodiments, Device 98 may include a plurality
   corresponding Instruction Sets 526 from the stream of             of Sensors 92 and / or their corresponding Object Processing
   Instruction Sets 526 and / or any Extra Info 527 . Collections    Units 93. In one example , multiple Sensors 92 may detect
   of Object Representations 525 without a temporally corre - 30 objects and/ or their properties from different angles or on
   sponding Instruction Set 526 may be uncorrelated , for            different sides of Device 98 . In another example , one or
   instance . In some aspects , Instruction Sets 526 and/ or Extra   more Sensors 92 may be placed on different sub - devices ,
   Info 527 that temporally correspond to a Collection of            sub - systems, or elements of Device 98 . Using multiple
  Object Representations 525 may include Instruction Sets            Sensors 92 and/ or their corresponding Object Processing
  526 used and/ or Extra Info 527 obtained at the time of 35 Units 93 may provide additional detail in learning and/ or
  generating the Collection of Object Representations 525 . In using Device 's 98 circumstances for autonomous Device 98
  other aspects, Instruction Sets 526 and /or Extra Info 527 that    operation . In some designs where multiple Sensors 92
  temporally correspond to a Collection of Object Represen -     and /or their corresponding Object Processing Units 93 are
  tations 525 may include Instruction Sets 526 used and /or utilized , multiple DCADO Units 100 can also be utilized
  Extra Info 527 obtained within a certain time period before 40 (i.e . one DCADO Unit 100 for each Sensor 92 and its
  and/ or after generating the Collection of Object Represen -   corresponding Object Processing Unit 93 , etc .). In such
  tations 525 . For example , Instruction Sets 526 and /or Extra designs, Collections of Object Representations 525 can be
   Info 527 that temporally correspond to a Collection of correlated with any Instruction Sets 526 and /or Extra Info
  Object Representations 525 may include Instruction Sets          527 as previously described . In other designs where multiple
  526 used and /or Extra Info 527 obtained within 50 milli - 45 Sensors 92 and /or their corresponding Object Processing
  seconds, 1 second , 3 seconds, 20 seconds, 1 minute , 41 Units 93 are utilized , collective Collections of Object Rep
  minutes , 2 hours, or any other time period before and /or after resentations 525 from multiple Sensors 92 and their corre
   generating the Collection of Object Representations 525 . sponding Object Processing Units 93 can be correlated with
  Such time periods can be defined by a user, by DCADO             any Instruction Sets 526 and/or Extra Info 527 .
  system administrator, or automatically by the system based 50 In some embodiments, Device 98 may include a plurality
  on experience, testing, inquiry , analysis, synthesis , or other   of Logic Circuits 250 , Processors 11, Application Programs
  techniques, knowledge, or input. In other aspects, Instruc -       18 , and /or other processing elements. For example, each
  tion Sets 526 and/ or Extra Info 527 that temporally corre -       processing elementmay control a sub -device, sub - system , or
  spond to a Collection of Object Representations 525 may            an element of Device 98 . Using multiple processing ele
   include Instruction Sets 526 used and/ or Extra Info 527 55 ments may provide enhanced control over Device ' s 98
   obtained from the time of generating the Collection of operation . In some designs where multiple processing ele
   Object Representations 525 to the time of generating a next ments are utilized , multiple DCADO Units 100 can also be
   Collection of Object Representations 525 . In further aspects, utilized (i. e . one DCADO Unit 100 for each processing
   Instruction Sets 526 and/ or Extra Info 527 that temporally    element, etc .). In such designs , Collections of Object Rep
  correspond to a Collection of Object Representations 525 60 resentations 525 can be correlated with any Instruction Sets
  may include Instruction Sets 526 used and/or Extra Info 527 526 and/or Extra Info 527 as previously described . In other
  obtained from the time of generating a previous Collection  designs where multiple processing elements are utilized ,
  of Object Representations 525 to the time of generating the Collections of Object Representations 525 can be correlated
   Collection of Object Representations 525 . Any other tem          with any collective Instruction Sets 526 and / or Extra Info
  poral relationship or correspondence between Collections of 65 527 used or executed by a plurality of processing elements .
  Object Representations 525 and correlated Instruction Sets       Any combination of the aforementioned multiple Sensors
  526 and /or Extra Info 527 can be implemented .                92 and/or their corresponding Object Processing Units 93 ,
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                               101                                                                 102
  multiple processing elements , and /or other elements can be       other embodiments , Knowledgebase 530 may be or include
  implemented in alternate embodiments .                            Graph 530b ( later described ).
     Referring to FIG . 14 , another embodiment of Knowledge           In further embodiments , Knowledgebase 530 may be or
   Structuring Unit 520 correlating individual Collections of        include Collection of Sequences 530c (later described ). In
  Object Representations 525 with any Instruction Sets 526 5 further embodiments , Knowledgebase 530 may be or
  and /or Extra Info 527 is illustrated . In such embodiments ,   include Sequence 533 (later described ). In further embodi
  Knowledge Structuring Unit 520 may generate Knowledgem ents , Knowledgebase 530 may be or include Collection of
  Cells 800 each comprising a single Collection of Object         Knowledge Cells 530d (later described ). In general, Knowl
  Representations 525 correlated with any Instruction Sets 526    edgebase 530 may be or include any data structure or
  and/ or Extra Info 527 .                                     10 arrangement capable of storing the knowledge of a device ' s
      Referring to FIG . 15 , an embodiment of Knowledge             operation in circumstances including objects with various
   Structuring Unit 520 correlating streams of Collections of        properties . Knowledgebase 530 may reside locally on
  Object Representations 525 with any Instruction Sets 526           Device 98 , or remotely (i.e. remote Knowledgebase 530 ,
  and/or Extra Info 527 is illustrated . For example , Knowl-        etc .) on a remote computing device (i. e . server, cloud , etc.)
  edge Structuring Unit 520 may create Knowledge Cell 15 accessible over a network or an interface .
  800ax and structure within it a stream of Collections of   In some embodiments , Knowledgebase 530 from one
  Object Representations 525a1-525an correlated with       Device 98 or DCADO Unit 100 can be transferred to one or
   Instruction Set 526al and /or any Extra Info 527 (not more other Devices 98 or DCADO Units 100 . Therefore, the
   shown). Knowledge Structuring Unit 520 may further struc -     knowledge of Device 's 98 operation in circumstances
   ture within Knowledge Cell 800ax a stream of Collections of 20 including objects with various properties learned on one
   Object Representations 525b1-525bn correlated with Device 98 or DCADO Unit 100 can be transferred to one or
   Instruction Sets 526a2 -526a4 and/ or and Extra Info 527 (not more other Devices 98 or DCADO Units 100 . In one
   shown). Knowledge Structuring Unit 520 may further struc       example , Knowledgebase 530 can be copied or downloaded
  ture within Knowledge Cell 800ax a stream of Collections of to a file or other repository from one Device 98 or DCADO
  Object Representations 525c1 -525cn without correlated 25 Unit 100 and loaded or inserted into another Device 98 or
   Instruction Sets 526 and /or Extra Info 527. Knowledge            DCADO Unit 100. In another example , Knowledgebase 530
   Structuring Unit 520 may further structure within Knowl-          from one Device 98 or DCADO Unit 100 can be available
   edge Cell 800ax a stream of Collections of Object Repre -         on a server accessible by other Devices 98 or DCADO Units
   sentations 525d1 -525dn correlated with Instruction Sets          100 over a network or an interface . Once loaded into or
  526a5 -526a6 and/or any Extra Info 527 (not shown ). 30 accessed by a receiving Device 98 or DCADO Unit 100 , the
  Knowledge Structuring Unit 520 may further structure               receiving Device 98 or DCADO Unit 100 can then imple
  within Knowledge Cell 800ax additional streamsof Collec - ment the knowledge of Device 's 98 operation in circum
  tions of Object Representations 525 correlated with any stances including objects with various properties learned on
  number ( including zero [i.e . uncorrelated ]) of Instruction the originating Device 98 or DCADO Unit 100 .
  Sets 526 and /or Extra Info 527 by following similar logic as 35 In some embodiments, multiple Knowledgebases 530 (i.e .
  described above. The number of Collections of Object Knowledgebases 530 from different Devices 98 or DCADO
  Representations525 in some or all streamsof Collections of Units 100 , etc .) can be combined to accumulate collective
  Object Representations 525a1 -525an , 525b1-525bn , etc . knowledge of operating Device 98 in circumstances includ
  may be equal or different. It should be noted that n or other ing objects with various properties. In one example, one
   such letters or indicia may follow the sequence and/or 40 Knowledgebase 530 can be appended to another Knowl
   context where they are indicated . Also , a same letter or        edgebase 530 such as appending one Collection of
   indicia such as n may represent a different number in             Sequences 530c ( later described ) to another Collection of
   different elements of a drawing .                                 Sequences 530c , appending one Sequence 533 (later
     Referring to FIG . 16 , another embodiment of Knowledge         described ) to another Sequence 533, appending one Collec
   Structuring Unit 520 correlating streams of Collections of 45 tion of Knowledge Cells 530d ( later described ) to another
  Object Representations 525 with any Instruction Sets 526           Collection of Knowledge Cells 530d , and / or appending
   and/ or Extra Info 527 is illustrated . In such embodiments,      other data structures or elements thereof. In another
  Knowledge Structuring Unit 520 may generate Knowledge              example , one Knowledgebase 530 can be copied into
  Cells 800 each comprising a single stream of Collections of another Knowledgebase 530 such as copying one Collection
  Object Representations 525 correlated with any Instruction 50 of Sequences 530c into another Collection of Sequences
   Sets 526 and /or Extra Info 527 .                                 530c, copying one Collection of Knowledge Cells 530d into
     Knowledgebase 530 comprises the functionality for stor          another Collection of Knowledge Cells 530d , and/or copy
   ing the knowledge of a device 's operation in circumstances       ing other data structures or elements thereof. In a further
   including objects with various properties, and/ or other func-    example , in the case of Knowledgebase 530 being or includ
  tionalities. Knowledgebase 530 comprises the functionality 55 ing Graph 530b or graph - like data structure (i.e. Neural
  for storing one or more Collections of Object Representa -        Network 530a , tree , etc .), a union can be utilized to combine
  tions 525 correlated with any Instruction Sets 526 and /or        two or more Graphs 530b or graph - like data structures. For
  Extra Info 527 . Knowledgebase 530 comprises the function          instance , a union of two Graphs 530b or graph -like data
  ality for storing one or more Knowledge Cells 800 each            structures may include a union of their vertex (i. e . node, etc . )
   including one or more Collections ofObject Representations 60 sets and their edge ( i. e . connection , etc .) sets . Any other
  525 correlated with any Instruction Sets 526 and/or Extra          operations or combination thereof on graphs or graph -like
  Info 527 . In some aspects , Collections of Object Represen -      data structures can be utilized to combine Graphs 530b or
  tations 525 correlated with Instruction Sets 526 and /or Extra     graph - like data structures . In a further example , one Knowl
  Info 527 can be stored directly within Knowledgebase 530 edgebase 530 can be combined with another Knowledgebase
  without using Knowledge Cells 800 as the intermediary data 65 530 through later described learning processes where
   structures . In some embodiments , Knowledgebase 530 may          Knowledge Cells 800 may be applied one at a time and
  be or include Neural Network 530a ( later described ). In          connected with prior and/or subsequent Knowledge Cells
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                                                           US 10 ,452 ,974 B1
                                  103                                                                       104
   800 such as in Graph 530b or NeuralNetwork 530a . In such                   grammed or learned function or method . For example, a
   embodiments , instead of Knowledge Cells 800 generated by                  neural network may include one or more input neurons that
  Knowledge Structuring Unit 520 , the learning process may                    can be activated by inputs . Activations of these neurons can
  utilize Knowledge Cells 800 from one Knowledgebase 530                      then be passed on , weighted , and transformed by a function
   to apply them onto another Knowledgebase 530 . Any other 5 to other neurons. Neural networks may range from those
   techniques known in art including custom techniques for    with only one layer of single direction logic to multi - layer of
   combining data structures can be utilized for combining                    multi- directional feedback loops. A neural network can use
  Knowledgebases 530 in alternate implementations . In any of                 weights to change the parameters of the network ' s through
  the aforementioned and/ or other combining techniques,                      put. A neural network can learn by input from its environ
   similarity of elements ( i. e . nodes /vertices , edges / connec - 10 ment or from self -teaching using written -in rules. A neural
   tions , etc . ) can be utilized in determining whether an ele -            network can be utilized as a predictive modeling approach in
  ment from one Knowledgebase 530 matches an element                          machine learning. An exemplary embodiment of a neural
   from another Knowledgebase 530 , and substantially or                      network (i. e . Neural Network 530a, etc . ) is described later.
   otherwise similar elements may be considered a match for                      In another example shown in Model B , the disclosed
   combining purposes in some designs. Any features , func - 15 artificially intelligent devices, systems, and methods for
   tionalities, and embodiments of Similarity Comparison 125                   learning and / or using a device 's circumstances for autono
   ( later described ) can be used in such similarity determina -             mous device operation may include a graph or graph -like
  tions . A combined Knowledgebase 530 can be offered as a                    data structure . As such ,machine learning, knowledge struc
  network service (i.e . online application , etc . ), downloadable           turing or representation , decision making, pattern recogni
   file , or other repository to all DCADO Units 100 configured 20 tion , and / or other artificial intelligence functionalities may
   to utilize the combined Knowledgebase 530 . For example, a                 include Nodes 852 ( also referred to as vertices or points ,
  Device 98 including or interfaced with DCADO Unit 100                        etc .) and Connections 853 (also referred to as edges, arrows,
  having access to a combined Knowledgebase 530 can use                       lines, arcs , etc .) organized as a graph . In general, any Node
  the collective knowledge learned from multiple Devices 98                   852 in a graph can be connected to any other Node 852 . A
   for the Device 's 98 autonomous operation.                              25 Connection 853 may include unordered pair of Nodes 852 in
     Referring to FIG . 17 , the disclosed artificially intelligent           an undirected graph or ordered pair of Nodes 852 in a
  devices, systems, and methods for learning and /or using a                  directed graph . Nodes 852 can be part of the graph structure
  device 's circumstances for autonomous device operation                     or external entities represented by indices or references . A
  may include various artificial intelligence models and/ or                  graph can be utilized as a predictive modeling approach in
   techniques . The disclosed systems, devices , and methods are 30 machine learning. Nodes 852, Connections 853 , and / or other
   independent of the artificial intelligence model and / or tech -            elements or operations of a graph may include any features ,
  nique used and any model and /or technique can be utilized                  functionalities, and embodiments of the aforementioned
   to facilitate the functionalities described herein . Examples of           Nodes 852, Connections 853 , and /or other elements or
   these models and/ or techniques include deep learning,                     operations of a neural network , and vice versa . An exem
   supervised learning , unsupervised learning, neural networks 35 plary embodiment of a graph ( i.e . Graph 530b , etc .) is
  (i.e . convolutional neuralnetwork , recurrent neural network ,             described later.
  deep neural network , etc .), search -based , logic and /or fuzzy              In a further example shown in Model C , the disclosed
   logic -based , optimization -based , tree / graph /other data struc        artificially intelligent devices , systems, and methods for
  ture -based , hierarchical, symbolic and /or sub - symbolic ,               learning and /or using a device 's circumstances for autono
   evolutionary, genetic , multi -agent, deterministic , probabilis - 40 mous device operation may include a tree or tree- like data
  tic , statistical, and/ or other models and/ or techniques .                 structure . As such , machine learning, knowledge structuring
     In one example shown in Model A , the disclosed artifi-                  or representation , decision making, pattern recognition , and /
  cially intelligent devices, systems, and methods for learning               or other artificial intelligence functionalities may include
   and/ or using a device 's circumstances for autonomous                     Nodes 852 and Connections 853 (also referred to as refer
  device operation may include a neural network (also referred 45 ences , edges , etc .) organized as a tree. In general, a Node
  to as artificial neural network , etc .). As such , machine                 852 in a tree can be connected to any number (i.e . including
  learning , knowledge structuring or representation , decision               zero , etc .) of children Nodes 852. A tree can be utilized as
  making , pattern recognition , and/or other artificial intelli- a predictive modeling approach in machine learning . Nodes
   gence functionalities may include a network of Nodes 852       852 , Connections 853 , and / or other elements or operations
  ( also referred to as neurons, etc .) and Connections 853 50 of a tree may include any features , functionalities , and
   similar to that of a brain . Node 852 can store any data ,                  embodiments of the aforementioned Nodes 852, Connec
  object , data structure , and / or other item , or reference thereto .      tions 853 , and /or other elements or operations of a neural
  Node 852 may also include a function for transforming or                    network and /or graph , and vice versa .
  manipulating any data , object, data structure, and/ or other                  In a further example shown in Model D , the disclosed
   item . Examples of such transformation functions include 55 artificially intelligent devices, systems, and methods for
  mathematical functions ( i. e . addition , subtraction , multipli-          learning and /or using a device ' s circumstances for autono
   cation , division, sin , cos, log , derivative , integral, etc .),         mous device operation may include a sequence or sequence
  object manipulation functions ( i. e . creating an object , modi-           like data structure . As such , machine learning , knowledge
   fying an object, deleting an object, appending objects, etc .),            structuring or representation , decision making, pattern rec
   data structure manipulation functions (i. e . creating a data 60 ognition , and /or other artificial intelligence functionalities
   structure , modifying a data structure, deleting a data struc -            may include a structure of Nodes 852 and /or Connections
  ture , creating a data field , modifying a data field , deleting a          853 organized as a sequence . In some aspects , Connections
  data field , etc . ), and/or other transformation functions. Con -          853 may be optionally omitted from a sequence as the
  nection 853 may include or be associated with a value such                  sequential order of Nodes 852 in a sequence may be implied
   as a symbolic label or numeric attribute (i.e . weight, cost, 65 in the structure. A sequence can be utilized as a predictive
   capacity, length , etc .). A computational model can be uti-               modeling approach in machine learning. Nodes 852, Con
   lized to compute values from inputs based on a pre -pro -                  nections 853, and/or other elements or operations of a
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                                                        US 10 ,452 , 974 B1
                                105                                                                   106
   sequence may include any features, functionalities, and               include optimization techniques , while others may use other
   embodiments of the aforementioned Nodes 852 , Connec                 or a combination of models and /or techniques. In general,
  tions 853 , and/or other elements or operations of a neural any artificial intelligence model and /or technique can be
  network , graph, and /or tree, and vice versa . An exemplaryutilized that can facilitate the functionalities described
   embodiment of a sequence (i. e . Collection of Sequences 5 herein .
   530c, Sequence 533 , etc .) is described later.               Referring to FIGS. 18A - 18C , embodiments of intercon
     In yet another example , the disclosed artificially intelli - nected Knowledge Cells 800 and updating weights of Con
  gent devices, systems, and methods for learning and /or using nections 853 are illustrated . As shown for example in FIG .
  a device's circumstances for autonomous device operation         18A , Knowledge Cell 800za is connected to Knowledge
  may include a search -based model and / or technique . As 10 Cell 800zb and Knowledge Cell 800zc by Connection 853z1
  such , machine learning, knowledge structuring or represen -     and Connection 853z2 , respectively . Each of Connection
  tation , decision making, pattern recognition , and/ or other 853z1 and Connection 853z2 may include or be associated
   artificial intelligence functionalities may include searching        with occurrence count, weight, and /or other parameter or
   through a collection of possible solutions. For example, a           data . The number of occurrences may track or store the
  search method can search through a neural network , graph , 15 number of observations that a Knowledge Cell 800 was
  tree , sequence, or other data structure that includes data    followed by another Knowledge Cell 800 indicating a con
   elements of interest. A search may use heuristics to limit the       nection or relationship between them . For example, Knowl
   search for solutions by eliminating choices that are unlikely         edge Cell 800za was followed by Knowledge Cell 800zb 10
   to lead to the goal. Heuristic techniques may provide a best         times as indicated by the number of occurrences of Con
   guess solution . A search can also include optimization . For 20 nection 853z1 . Also , Knowledge Cell 800za was followed
  example , a search may begin with a guess and then refine the         by Knowledge Cell 800zc 15 times as indicated by the
   guess incrementally until no more refinements can be made .          number of occurrences of Connection 853z2 . The weight of
  In a further example , the disclosed systems, devices , and           Connection 853zl can be calculated or determined as the
  methods may include logic - based model and /or technique .           number of occurrences of Connection 853z1 divided by the
  As such , machine learning, knowledge structuring or repre - 25 sum of occurrences of all connections (i. e . Connection
   sentation , decision making, pattern recognition , and/ or other      853z1 and Connection 853z2, etc .) originating from Knowl
   artificial intelligence functionalities can use formal or other       edge Cell 800za . Therefore , the weight of Connection 853z1
   type of logic . Logic based models may involve making                can be calculated or determined as 10 /( 10 + 15 ) = 0 .4 , for
   inferences or deriving conclusions from a set of premises . As       example. Also , the weight of Connection 853z2 can be
   such , a logic based system can extend existing knowledge or 30 calculated or determined as 15 /( 10 + 15 ) = 0 .6 , for example .
   create new knowledge automatically using inferences.            Therefore , the sum of weights of Connection 853z1 , Con
   Examples of the types of logic that can be utilized include nection 853z2 , and/ or any other Connections 853 originating
   propositional or sentential logic that comprises logic of       from Knowledge Cell 800za may equal to 1 or 100 % . As
   statements which can be true or false ; first-order logic that       shown for example in FIG . 18B , in the case that Knowledge
  allows the use of quantifiers and predicates and that can 35 Cell 800zd is inserted and an observation is made that
   express facts about objects, their properties, and their rela        Knowledge Cell 800zd follows Knowledge Cell 800za ,
  tions with each other, fuzzy logic that allows degrees of truth       Connection 853z3 can be created between Knowledge Cell
   to be represented as a value between 0 and 1 rather than              800za and Knowledge Cell 800zd . The occurrence count of
   simply 0 (false ) or 1 ( true ), which can be used for uncertain      Connection 853z3 can be set to 1 and weight determined as
  reasoning; subjective logic that comprises a type of proba - 40 1 / ( 10 + 15 + 1 ) = 0 . 038 . The weights of all other connections
  bilistic logic that may take uncertainty and belief into              ( i.e . Connection 853z1 , Connection 853z2, etc .) originating
   account, which can be suitable for modeling and analyzing             from Knowledge Cell 800za may be updated to account for
   situations involving uncertainty , incomplete knowledge and          the creation of Connection 853z3. Therefore, the weight of
   different world views; and /or other types of logic . In a           Connection 853z1 can be updated as 10 / ( 10 + 15 + 1 ) = 0 .385 .
   further example , the disclosed systems, devices, and meth - 45 The weight of Connection 853z2 can also be updated as
   ods may include a probabilistic model and / or technique . As   15 / ( 10 + 15 + 1 ) = 0 .577 . As shown for example in FIG . 18C , in
   such , machine learning, knowledge structuring or represen -         the case that an additional occurrence of Connection 853z1
   tation , decision making, pattern recognition , and/ or other        is observed (i. e. Knowledge Cell 800zb followed Knowl
   artificial intelligence functionalities can be implemented to        edge Cell 800za , etc .), occurrence count of Connection
   operate with incomplete or uncertain information where 50 853z1 and weights ofall connections (i.e. Connection 853z1 ,
   probabilities may affect outcomes . Bayesian network ,    Connection 853z2 , and Connection 853z3 , etc . ) originating
   among other models, is an example of a probabilistic tool from Knowledge Cell 800za may be updated to account for
   used for purposes such as reasoning , learning, planning, this observation . The occurrence count of Connection 853z1
   perception , and /or others . One of ordinary skill in art will can be increased by 1 and its weight updated as 11 / ( 11 + 15 +
   understand that the aforementioned artificial intelligence 55 1 ) = 0 .407. The weight of Connection 853z2 can also be
  models and/or techniques are described merely as examples             updated as 15 /( 11 + 15 + 1) = 0 . 556 . The weight of Connection
  of a variety of possible implementations, and that while all          853z3 can also be updated as 1/ ( 11 + 15 + 1 ) = 0 .037.
  possible artificial intelligence models and /or techniques are          Referring to FIG . 19 , an embodiment of learning Knowl
   too voluminous to describe , other artificial intelligence           edge Cells 800 comprising one or more Collections of
  models and/ or techniques known in art are within the scope 60 Object Representations 525 correlated with any Instruction
  of this disclosure . One of ordinary skill in art will also           Sets 526 and /or Extra Info 527 using Collection of Knowl
  recognize that an intelligent system may solve a specific             edge Cells 530d is illustrated . Collection of Knowledge
  problem by using any model and/or technique that works                Cells 530d comprises the functionality for storing any
   such as, for example, some systems can be symbolic and number of Knowledge Cells 800 . In some aspects , Knowl
   logical, some can be sub -symbolic neural networks , some 65 edge Cells 800 may be stored into or applied onto Collection
   can be deterministic or probabilistic , some can be hierar - of Knowledge Cells 530d in a learning or training process .
  chical, some may include searching techniques , somemay               In effect , Collection of Knowledge Cells 530d may store
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                                                      US 10 ,452 , 974 B1
                           107                                                                  108
   Knowledge Cells 800 that can later be used to enable             the case that a substantially similar match is not found, the
   autonomous Device 98 operation . In some embodiments,            system may insert a new Knowledge Cell 800 into Collec
   Knowledge Structuring Unit 520 structures or generates           tion of Knowledge Cells 530d and copy Knowledge Cell
   Knowledge Cells 800 as previously described and the sys - 800be into the inserted new Knowledge Cell 800 . Applying
   tem applies them onto Collection of Knowledge Cells 530d , 5 any additional Knowledge Cells 800 from Knowledge Struc
   thereby implementing learning Device 's 98 operation in turing Unit 520 onto Collection of Knowledge Cells 530d
   circumstances including objects with various properties. The follows similar logic or process as the above-described .
   term apply or applying may refer to storing , copying,              Referring to FIG . 20 , an embodiment of learning Knowl
   inserting , updating , or other similar action , therefore, these edge Cells 800 comprising one or more Collections of
   terms may be used interchangeably herein depending on 10 Object Representations 525 correlated with any Instruction
   context. The system can perform Similarity Comparisons           Sets 526 and /or Extra Info 527 using Neural Network 530a
   125 (later described ) of a newly structured Knowledge Cell      is illustrated . Neural Network 530a includes a number of
   800 from Knowledge Structuring Unit 520 with Knowledge           neurons or Nodes 852 interconnected by Connections 853 as
   Cells 800 in Collection of Knowledge Cells 530d . If a      previously described. Knowledge Cells 800 are shown
   substantially similar Knowledge Cell 800 is not found in 15 instead ofNodes 852 to simplify the illustration as Node 852
   Collection of Knowledge Cells 530d , the system may insert       includes a Knowledge Cell 800, for example. Therefore ,
   (i.e . copy, store , etc .) the Knowledge Cell 800 from Knowl-   Knowledge Cells 800 and Nodes 852 can be used inter
   edge Structuring Unit 520 into Collection of Knowledge           changeably herein depending on context. It should be noted
   Cells 530d , for example . On the other hand, if a substantially that Node 852 may include other elements and /or function
   similar Knowledge Cell 800 is found in Collection of 20 alities instead of or in addition to Knowledge Cell 800 . In
   Knowledge Cells 530d , the system may optionally omit            some aspects , Knowledge Cells 800 may be stored into or
   inserting the Knowledge Cell 800 from Knowledge Struc            applied onto Neural Network 530a individually or collec
   turing Unit 520 as inserting a substantially similar Knowl-      tively in a learning or training process. In some designs,
   edge Cell 800 may not add much or any additional knowl- Neural Network 530a comprises a number of Layers 854
   edge to the Collection of Knowledge Cells 530d , for 25 each of which may include one or more Knowledge Cells
   example . Also , inserting a substantially similar Knowledge     800 . Knowledge Cells 800 in successive Layers 854 can be
   Cell 800 can optionally be omitted to save storage resources     connected by Connections 853. Connection 853 may include
   and limit the number of Knowledge Cells 800 thatmay later        or be associated with occurrence count, weight, and/ or other
   need to be processed or compared . Any features , function       parameter or data as previously described . Neural Network
   alities, and embodiments of Similarity Comparison 125 , 30 530a may include any number of Layers 854 comprising any
   importance index (later described ) , similarity index (later    number of Knowledge Cells 800 . In some aspects , Neural
   described ), and /or other disclosed elements can be utilized    Network 530a may store Knowledge Cells 800 intercon
   to facilitate determination of substantial or other similarity   nected by Connections 853 where following a path through
   and whether to insert a newly structured Knowledge Cell          the Neural Network 530a can later be used to enable
   800 into Collection of Knowledge Cells 530d .           35 autonomous Device 98 operation . It should be understood
      For example , the system can perform Similarity Com - that, in some embodiments , Knowledge Cells 800 in one
   parisons 125 (later described ) of Knowledge Cell 800ba Layer 854 ofNeural Network 530a need not be connected
   from Knowledge Structuring Unit 520 with Knowledge               only with Knowledge Cells 800 in a successive Layer 854 ,
   Cells 800 in Collection of Knowledge Cells 530d . In the    but also in any other Layer 854 , thereby creating shortcuts
   case that a substantially similar match is found between 40 (i. e . shortcut Connections 853 , etc .) through Neural Network
   Knowledge Cell 800ba and any of the Knowledge Cells 800          530a . A Knowledge Cell 800 can also be connected to itself
   in Collection of Knowledge Cells 530d , the system may           such as , for example , in recurrent neural networks. In
   perform no action . The system can then perform Similarity       general , any Knowledge Cell 800 can be connected with any
   Comparisons 125 of Knowledge Cell 800bb from Knowl-      other Knowledge Cell 800 anywhere else in NeuralNetwork
   edge Structuring Unit 520 with Knowledge Cells 800 in 45 530a . In further embodiments , back -propagation ofany data
   Collection of Knowledge Cells 530d . In the case that a  or information can be implemented. In one example, back
   substantially similar match is not found, the system may propagation of similarity i.e . similarity index , etc .) of
   insert a new Knowledge Cell 800 into Collection of Knowl compared Knowledge Cells 800 in a path through Neural
   edge Cells 530d and copy Knowledge Cell 800bb into the Network 530a can be implemented. In another example ,
   inserted new Knowledge Cell 800 . The system can then 50 back -propagation of errors can be implemented . Such back
   perform Similarity Comparisons 125 of Knowledge Cell             propagations can then be used to adjust occurrence counts
   800bc from Knowledge Structuring Unit 520 with Knowl-            and/ or weights of Connections 853 for better future predic
   edge Cells 800 in Collection of Knowledge Cells 530d. In tions, for example. Any other back -propagation can be
   the case that a substantially similar match is found between implemented for other purposes. Any combination of Nodes
   Knowledge Cell 800bc and any of the Knowledge Cells 800 55 852 (i.e. Nodes 852 comprising Knowledge Cells 800 , etc .),
   in Collection of Knowledge Cells 530d , the system may Connections 853, Layers 854 , and /or other elements or
   perform no action . The system can then perform Similarity   techniques can be implemented in alternate embodiments .
   Comparisons 125 of Knowledge Cell 800bd from Knowl Neural Network 530a may include any type or form of a
   edge Structuring Unit 520 with Knowledge Cells 800 in      neural network known in art such as a feed - forward neural
   Collection of Knowledge Cells 530d . In the case that a 60 network , a back -propagating neural network , a recurrent
   substantially similar match is not found , the system may neural network , a convolutional neural network , deep neural
   insert a new Knowledge Cell 800 into Collection of Knowl- network , and/ or others including a custom neural network .
   edge Cells 530d and copy Knowledge Cell 800bd into the       In some embodiments, Knowledge Structuring Unit 520
   inserted new Knowledge Cell 800 . The system can then     structures or generates Knowledge Cells 800 and the system
   perform Similarity Comparisons 125 of Knowledge Cell 65 applies them onto Neural Network 530a, thereby imple
   800be from Knowledge Structuring Unit 520 with Knowl- menting learning Device ' s 98 operation in circumstances
   edge Cells 800 in Collection of Knowledge Cells 530d . In including objects with various properties . The system can
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                                                     US 10 ,452 , 974 B1
                               109                                                                   110
   perform Similarity Comparisons 125 ( later described ) of a      Knowledge Cell 800ed and Knowledge Cell 800ee with
   Knowledge Cell 800 from Knowledge Structuring Unit 520           occurrence count of 1 and weight of 1. Applying any
   with Knowledge Cells 800 in a Layer 854 of Neural Net additional Knowledge Cells 800 from Knowledge Structur
   work 530a. If a substantially similar Knowledge Cell 800 is      ing Unit 520 onto Neural Network 530a follows similar
   not found in the Layer 854 of Neural Network 530a , the 5 logic or process as the above - described .
   system may insert (i.e . copy, store , etc .) the Knowledge Cell   Referring now to Similarity Comparison 125 , Similarity
   800 from Knowledge Structuring Unit 520 into the Layer Comparison 125 comprises the functionality for comparing
   854 of Neural Network 530a, and create a Connection 853 or matching Knowledge Cells 800 or portions thereof,
   to the inserted Knowledge Cell 800 from a Knowledge Cell         and /or other functionalities . Similarity Comparison 125
   800 in a prior Layer 854 including assigning an occurrence 10 comprises the functionality for comparing or matching Col
   count to the new Connection 853, calculating a weight of the     lections of Object Representations 525 or portions thereof.
   new Connection 853 , and updating any other Connections          Similarity Comparison 125 comprises the functionality for
   853 originating from the Knowledge Cell 800 in the prior         comparing or matching streams of Collections of Object
   Layer 854 . On the other hand , if a substantially similar       Representations 525 or portions thereof. Similarity Com
   Knowledge Cell 800 is found in the Layer 854 of Neural 15 parison 125 comprises the functionality for comparing or
   Network 530a, the system may update occurrence count and     matching Object Representations 625 or portions thereof.
   weight of Connection 853 to that Knowledge Cell 800 from     Similarity Comparison 125 comprises the functionality for
   a Knowledge Cell 800 in a prior Layer 854 , and update any comparing or matching Object Properties 630 or portions
   other Connections 853 originating from the Knowledge Cell thereof. Similarity Comparison 125 comprises the function
   800 in the prior Layer 854 .                              20 ality for comparing or matching Instruction Sets 526 , Extra
     For example , the system can perform Similarity Com -          Info 527 , text (i. e . characters , words, phrases, etc . ), numbers ,
   parisons 125 (later described ) of Knowledge Cell 800ba          and /or other elements or portions thereof. Similarity Com
   from Knowledge Structuring Unit 520 with Knowledge parison 125 may include functions , rules, and /or logic for
   Cells 800 in Layer 854a ofNeural Network 530a . In the case performing matching or comparisons and for determining
   that a substantially similar match is found between Knowl- 25 that while a perfect match is not found, a partial or similar
   edge Cell 800ba and Knowledge Cell 800ea , the system may match has been found. In someaspects , a partialmatch may
   perform no action since Knowledge Cell 800ea is the initial include a substantially or otherwise similar match , and vice
   Knowledge Cell 800 . The system can then perform Simi- versa . Therefore, these terms may be used interchangeably
   larity Comparisons 125 of Knowledge Cell 800bb from           herein depending on context. As such , Similarity Compari
   Knowledge Structuring Unit 520 with Knowledge Cells 800 30 son 125 may include determining substantial similarity or
   in Layer 854b of Neural Network 530a . In the case that a substantial match of compared elements. Although , substan
   substantially similar match is found between Knowledge        tial similarity or substantial match is frequently used herein ,
   Cell 800bb and Knowledge Cell 800eb , the system may it should be understood that any level of similarity, however
   update occurrence count and weight of Connection 853e1 high or low , may be utilized as defined by the rules (i.e .
   between Knowledge Cell 800ea and Knowledge Cell 800eb , 35 thresholds, etc .) for similarity . The rules for similarity or
   and update weights of other Connections 853 originating similar match can be defined by a user, by DCADO system
    from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
   system can then perform Similarity Comparisons 125 of experience , testing, inquiry, analysis, synthesis, or other
   Knowledge Cell 800bc from Knowledge Structuring Unit techniques , knowledge , or input. In some designs, Similarity
   520 with Knowledge Cells 800 in Layer 854c of Neural 40 Comparison 125 comprises the functionality to automati
   Network 530a . In the case that a substantially similar match    cally define appropriately strict rules for determining simi
   is not found , the system may insert Knowledge Cell 800ec       larity of the compared elements. Similarity Comparison 125
   into Layer 854c and copy Knowledge Cell 800bc into the           can therefore set, reset, and /or adjust the strictness of the
   inserted Knowledge Cell 800ec . The system may also create       rules for finding or determining similarity of the compared
   Connection 853e2 between Knowledge Cell 800eb and 45 elements , thereby fine tuning Similarity Comparison 125 so
   Knowledge Cell 800ec with occurrence count of 1 and              that the rules for determining similarity are appropriately
   weight calculated based on the occurrence count as previ-        strict. In some aspects, the rules for determining similarity
   ously described . The system may also update weights of may include a similarity threshold . As such , Similarity
   other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
   from Knowledge Cell 800eb as previously described . The 50 ments if their similarity exceeds a similarity threshold . In
   system can then perform Similarity Comparisons 125 of other aspects , the rules for determining similarity may
   Knowledge Cell 800bd from Knowledge Structuring Unit include a difference threshold . As such , Similarity Compari
   520 with Knowledge Cells 800 in Layer 854d of Neural son 125 can determine similarity of compared elements if
   Network 530a. In the case that a substantially similar match  their difference is lower than a difference threshold . In
    is not found , the system may insert Knowledge Cell 800ed 55 further aspects , the rules for determining similarity may
   into Layer 854d and copy Knowledge Cell 800bd into the include other thresholds. Similarity Comparison 125 enables
   inserted Knowledge Cell 800ed. The system may also create comparing circumstances including objects with various
   Connection 853e3 between Knowledge Cell 800ec and                properties and determining their similarity or match . In one
   Knowledge Cell 800ed with occurrence count of 1 and              example , a circumstance including an object detected at a
   weight of 1 . The system can then perform Similarity Com - 60 distance of 8 m and an angle /bearing of 64° relative to
   parisons 125 of Knowledge Cell 800be from Knowledge Device 98 may be found similar or matching by Similarity
   Structuring Unit 520 with Knowledge Cells 800 in Layer           Comparison 125 to a circumstance including the same or
   854e of Neural Network 530a . In the case that a substan         similar object detected at a distance of 8 .6 m and an
   tially similar match is not found , the system may insert        angle /bearing of 59° relative to Device 98 . In another
   Knowledge Cell 800ee into Layer 854e and copy Knowl- 65 example , a circumstance including an object detected as a
   edge Cell 800be into the inserted Knowledge Cell 800ee .         passenger vehicle may be found similar or matching by
   The system may also create Connection 853e4 between              Similarity Comparison 125 to a circumstance including an
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                        Exhibit B
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   (52) U.S. Ci.                                                                                            Primary Examiner Santiago Garcia
             CPC                GO6N 3/08 (2013.01 ) ; GO6N 5/022
                                                         (2013.01 )                                         ( 57 )                                 ABSTRACT
   ( 58 ) Field of Classification Search                                                                    Aspects of the disclosure generally relate to computing
             None                                                                                           enabled devices and / or systems , and may be generally
             See application file for complete search history.                                              directed to devices , systems, methods, and / or applications
   ( 56 )                   References Cited                                                                for learning a device's operation in various circumstances ,
                                                                                                            storing this knowledge in a knowledgebase ( i.e. neural
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                                                                    Object                  Processor
                                                                    Processing                            Appilcation Program
                                                                    Unit

                                                                                                                                             100

                                                OCADO Unit                                                   120                     130
                                                                                            Acquisition               Modiication
                                                                                            Interface                 interface
                                                             110

                                                     Artificial                                                                        530
                                                     Intelligence
                                                     Unit                                                     520
                                                                                                                           Knowledgebase
                                                                             Knowledge Structuring Unit
                                                                                                              540

                                                                    Decision -making Unit

                                                                                                              550

                                                                             Carifirmation Unit
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                                          18                 19                                  5
                                                                                                          25

                      27
                                                                                                                 Network Interface
                                                              APproligcatmosn DSaptcae                    16

                           Storage        OS
                                                                                                                 Alternaive Memory
                                                                                                                                                                         FIG
                                                                                                                                                                         .
                                                                                                                                                                         1
                                                                                                                                     23
                                     14
                                                 Cache
                                                                                                                                              -mHaucmhiane
                                 11
                                                              PMeomroty              Memory                                                                  Interface
   70DCoemvpuitceng                                                                                  12
                                                                                                                                     21

                                               Proces r        10Port                1/0Device       13

                                                               O
                                                               W
                                                               Port
                                                               /
                                                                                                                                          Deivspilcaey
                                                                              15A
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 141 of 2562 PageID #: 7642


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    98
               100
                                                                                           Artifcal Intelig120ncUnite
                                                                    110
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                       Levaimcien'gs
                       for
                       DUnit
                        a
                        Using
                        or
                        /
                        and            DAfCiuretcovmnsiarcue O(DCADOUnit)peration                                                                              12

                                                                                                                  AcquistonInterface Modifcaton Iterface            Memory Storage
               92                                93

                          Sensor ObjectProces ingUnit
                                                                                                                                                                                     .
                                                                                                                                                                                     FIG
                                                                                                                                                                                     2


                              23
                                                                             Human machine Interface
                                                                                                                                              APprloicgatomn   11


              Device                                                                                                         Procesor                          18

         50
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                                       92a                                                  92b
            Camera                                                 Microphone

     Object Processing Unit                  93          Object Processing Unit                   93
                                             94a                                                  946
       Picture Recognizer                                  Sound Recognizer

                                         110                                                  110
        Artificial Intelligence Unit                         Artificial Intelligence Unit
               FIG . 3A                                            FIG . 3B


            Lidar                      92c                         Radar                    92d


     Object Processing Unit                  93           Object Processing Unit                  93
                                             94c                                                  94d
      Lidar Processing Unit                                 Radar Processing Unit

                                         110                                                  110
        Artificial Intelligence Unit                         Artificial Intelligence Unit
               FIG . 3C                                              FIG . 3D
                                                                            X




            Sonar                      92e


     Object Processing Unit                  93
                                             94e
       Sonar Processing Unit

                                         110
        Artificial Intelligence Unit
               FIG . 3E
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                 6150                                         1
                                                              5

                                                              B

                  John Doe                                                                             615a



                                                              R

                        8m                                    S      56 °             6m
                                                            Device                                             615b
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                                                  2870
                                                              R
                                                                                            10m
                                                              R
                                                              3
                                                              3
                                                              R

                                                              B
                                                              1




                                                         FIG . 4A

                                                                                                                         93
    Object Processing Unit                                                                                          4
                                                                                                                   525
       Collection of Object Representations
             635aa 635ab 635ac           635ba 635bb 635bc                   635ca 635cb 635cc 635cd
         Object Representation Object Representation Object Representation
           Type Distance Bearing      Type Distance Bearing           Type    Identity Distance Bearing       80
          Cat 6m         56 °          Tree 10m     131 °             Person John Doel 8m       2879

       630aa 630ab 630ac 630ba 630bb 630bc 630ca 630cb 630cc 630cd
                                                                                     7
                      625a              6256                     6250

                                                         FIG . 4B
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 144 of 2562 PageID #: 7645


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    100
    120                                                                                                                 11


                                                      215
                                                            Arithmeic          UnitLogic
                                                                                                                214
                                                                                                 RAergisateyr
                                                             DInestcroudeirn                                                       .
                                                                                                                                   FIG
                                                                                                                                   5


                                                                                           213
                                                            IRnsetgriucteonr
                                                                                           212                                     12

          IUDCnAiDtO Anctqeuirsfatceon                      CPorungtream
                                           Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 145 of 2562 PageID #: 7646


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                             100        120
         DCADO Unit
                      Acquisition Interface
                                                            250
                                               Logic Circuit
           input 1                                                                   output 1
           input 2                                                                   output 2
           input 3                                                                   power

           input 4                                                                   ground


                                              FIG . 6A

                                                                100        120
                                        DCADO Unit
                                                         Acquisition Interface

                                    Logic Circuit
           input 1                                                                   output 1
           input 2                                                                   output 2
           input 3                                                                   power

           input 4                                                                   ground

                             250
                                              FIG . 6B
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                                                                   526

             Instruction Set
              Function ( Parameter1 , Parameter2 , Parameter3 , ... )
                                              FIG . 7A
                                                                   526

             Instruction Set
              SELECT Coll , Col2 ... FROM Tb11 , Tb12 ... ;

                                              FIG . 7B
                                                                   526

             Instruction Set
              iconst_Value
                                              FIG . 7C
                                                                   526

             Instruction Set
              add Register1 Register2

                                              FIG . 7D
                                                                   526

             Instruction Set
              000000 00001 00010 00110 00000 100000

                                              FIG . 7E
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                                                              525                   527

    Collection of Object Representations                            Extra Info
                                                                    time info , location
                                                                    info , computed
                                                                    info , contextual
                                                                    info , etc.

                                          FIG . SA




                                                              526                   527

     Instruction Set                                                Extra Info
                                                                    time info , location
                                                                    info , computed
                                                                    info , contextual
                                                                    info , etc.
                                          FIG . 8B
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    98       11
                      100                                                                                                                                                    27

                                                                                                      Artifcal Intelig120nUnitce
                                                                                      110

                                                                                                                                                   130
                                       Levaimcien'gs
                                       for
                                       DUnit
                                        a
                                        Using
                                        or
                                        /
                                        and            ACDfiuretcovnmsiacrues Unit)(DOpCerAatDioOn                                                                                Storage
                                                                                                                              AcquistonInterface Modifcaton Iterface         12



                                                                                                                                                                       18
                                                                                                                                                                                  Memory
                    Proces r                                                                                                 AplicatonProgram                                               FIG.9
               23                                                               93                                                 92

                        Human machine Interface                                                            Procesing
                                                                                                     Object Unit                               Sensor
          Device
     50
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    95
          96
                    100
                                                                                                 Artifcal Intelig120ncUnite
                                                                         110

                                                                                                                                           130
                          Levaircnei'nsg
                          for
                          DUnit
                           a
                           Using
                           or
                           /
                           and             DAfCiuretcovmnsiarcue (DCADOOUnit)peration
                                                                                                                       AcquistonInterface Modifcaton Iterface
         Network Server
         98        92                      93                                                                                                                             27          10
                                                                                                                                                                                      .
                                                                                                                                                                                      FIG

                             Sensor ObjectProces ingUnit
                                                                                                                        11
                                                                                                                                      18                        12



                 Device                       23                                         Human machine Interface Proces r A p l i c a t o nP r o g r a m             Memory Storage
         50
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    95
           97                                                                                                                                            92
                        RDemvoitce                                                                                                                                 Sensor
         Network
              98
                                                                                                                                                    93
                                                                   110
                                                                          Artifcal Intelig120ncUnite                                                             Procesing
                                                                                                                                                              Object Unit
                                                                                                                       130                                27
                                          Land
                                          for
                                          Unit
                                          100       DAfCiuretcovmnsiacrue
                                           Devaimcien'gs Unit
                                           a
                                           Using
                                           or
                                           /             )(DOpCerAatDioOn
                                                                                                    AcquistonInterface Modifcaton Iterface           12

                                                                                                                                                          Memory Storage     11
                                                                                                                                                                             .
                                                                                                                                                                             FIG



                                         21                                 23               11



                                Device
                                                 Display Human machine Interface                            Proces r A p l i c a t o nP r g r a m   18

                   50
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                                     93

                        Object                  Processor
                        Processing                          Application Program

                                                                                                 100

     DCADO Unit                                                 120                     130

                                                Acquisition              Modification
                                                Interface                Interface


        Artificial
         Intelligence                                                                     530
                                                                520
                                                                             Knowledgebase
                                  Knowledge Structuring Unit
                                                                540

                        Decision -making Unit

                                                                550

                                  Confirmation Unit




                                                    FIG . 12
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                 Object Processing                93
                                                         Acquisition Interface           120
                 Unit                                                                          520                530

     Knowledge                                                                                          Knowledgebase
    Structuring Unit                                                                    800ax
       Knowledge
       Cell

                           Coll of Ob Rep                       Instruction Set
                                                                                   3
                                                                                   3

                                 :               525a5      3                      3
                       }                                    }                      3
                       }                                    3                      3
                                                                                   3
                           Coll of Ob Rep                   3
                                                                                       526a6
                       I                                                           3
                       1                     3
                                                 525a4                                 526a5
                       }
                                                                Instruction Set
                           Coll of Ob Rep {                     Instruction Set    3
                                                                                   {
                                                            }                      3
                       }                     {              }
                       1                     3   525a3                             3
                                                                                   3
                                                                                   3
                                                            3                      3
                                                            3                      3
                           Col of Ob Rep                    }                      3
                                                            {                      3
                                                            {
                                                            3
                                             ?3 525a2                                  526a4
                                                                                       526a3
                           Coll of Obi Rep                       Instruction Set
                                                                                       526a2
                                             3                  Instruction Set
                                                 525a                                  526a1
                                                                Instruction Set
                           Coll of Ob Rep                        Instruction Set
                                             3




                                                   ?                                    800ab
       Knowledge Cell
                                                                                        800aa
       Knowledge Cell

                                                           FIG . 13
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                  Object Processing               93
                                                         Acquisition Interface          120
                  Unit                                                                        520                530

     Knowledge                                                                                         Knowledgebase
    Structuring Unit                                            3                      800ax
        Knowledge                                                                 3
                                                                                  3
       Cell                Coll of Ob Rep                       Instruction Set

                                                    ;                                  800ae
        Knowledge                            | 52525        3
                                                                                  3
       Cell                                                 3                     }
                                                                                  {
                                                            3
                       1                                                          3
                                                            3
                           Coll of Ob Rep                                         3


                                                                                  3
                                                            3
                                                            }                     3    800ad
                                                                                  3
        Knowledge                                           {
                                                            {
                                                                                  {
                                                                                      526a6
       Cell                                  3
                                             3              3
                                                                                  3
                       }                         525a4                                526a5
                       }                                        Instruction Set
                       }
                           Coll of Ob Rep                       Instruction Set
                                             3
                                                            {                     3
                                             3
                                             3              3                          800ac
        Knowledge                                525a3      3
                                                            3
                                                                                  3
                                                                                  3
                                                            3
                                                                                  3
                                                            3
                                                                                  3
                                                            {
                           Coll of Obi Rep                                        3
                                                                                  3
                                                                                  3
                                             3
                                             }
                                                                                       800ab
        Knowledge                            { 525a2        {
                                                            }
                                                                                  3
                                                                                  152624
                                                                                  3
       Cell                                                 {                     3

                       }
                           Coll ofOb Rep                        Instruction Set
                                             3
                       1                     3              3
                                                                                  3
                                                                                  3    800aa
        Knowledge                            3              }
                                                            {
                                                                                      526a3
       Cell            }                     3
                       }
                       }
                                                                                      526a2
                                                                Instruction Set
                                                 525a1                                526a1
                       I                                        Instruction Set
                           Col of Ob Rep                        Instruction Set

                                                           FIG . 14
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                 Object Processing                 93
                                                          Acquisition Interface           120
                 Unit                                                                           520                530

     Knowledge                                                                                           Knowledgebase
    Structuring Unit                                                                     800ax
       Knowledge
       Cell            pok

                                                                                    {
                             Collof Obj Rep                      Instruction Set
                                                                 Instruction Set
                1 Coll ofOb Rep                                   Instruction Set
          525dni                                             3                      3

                                    :          3
                                                             3

                                                             {
                                                                        :           3
                                                                                    3
                                                                                    3   526a6
                             Coll of Obj Rep                                        3
          525d1                                                                         526a5
          525cn                     :                            Instruction Set
                             Coll of Ob Rep                      Instruction Set
                             Coll of Ob Rep                                         3
                                                                                    }
          52501                                              }
                                                             3                      3

          525bn                     :                        3
                                                             {                    152624
                             Collof Ob Rep
                                                                                   526a3
          525b1
                             Coll of Ob Rep                       Instruction Set
                                                                                   526a2
                                    :                            Instruction Set
          525an
                             Coll of Obi Rep                     Instruction Set 3
                             Coll of Ob Rep                  3
          525a1                                              }                          526a1
                                                                                    3
                                    :                        {

                   i Col ofOb Rep                                Instruction Set


                                                   ?                                     800ab
       Knowledge Cell
                                                                                         800aa
       Knowledge Cell

                                                            FIG . 15
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                  Object Processing             93
                                                       Acquisition Interface          120
                  Unit                                                                      520                530

    Knowledge                                                                                        Knowledgebase
    Structuring Unit                                      {                     {   800ax
      Knowledge
       Cell                Col of Ob Rep                      Instruction Set
                                 :                            Instruction Set
                           Coll of Ob Rep                      Instruction Set !3
                                                                                {

                       ?
                                                 ?        }
                                                                                3
                                                                                    800ad
       Knowledge                                          3
                                                          3                     3
      Cell                 Coll of Ob Rep                 3
                                                                                3
        525dn                    :          {                  Instruction Set 526a6
                                                                                3

         525d1             Coll of ObRep                      Instruction Set 3 526a5
                                                          {                     3
                       }
                                                          }
                                                          {
                                                                                     800ac
       Knowledge                            3             3

       Cell                Coll of Ob Rep   3
                                                          }
                                                          3
                                            §             3
         525cni                    :                      3
                                                          3
                                                                                3
                                                                                }
                                                          3
         52501             Coll of Ob Rep                 }                     3
                       ?                                  3
                                                          3                     3
                                                          3                     3    800ab
       ColWedge Coll ofObiRep !                               Instruction Set 3 526a4
                                                                                3
         525bn                                                Instruction Set     526a3
                                                                                3

         5251              Coll of Ob Rep                     Instruction Set   3
                                                                                  526a2
                       }                                  3                     3
                       }                                                             800aa
                                            3             3

       Knowledge                                          }                     3
       Cell     Coll of Ob Rep                            3
                                                                                3
                                                                                3
                                                          {                     3
         525ani         :                                 {                     3


         525a1             Collof Ob Rep                      Instruction Set       526a1


                                                         FIG . 16
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          852
    853
                                                                      853
                                               ?-?
                                                                            852

                  MBodel                                     MDodel
                                                                                    17
                                                                                    .
                                                                                    FIG



                  AModel                                     MCodel
           852
    853

                                                 853
                                                       852
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                              800zb                            800zc
     Knowledge Cell                      Knowledge Cell
           Occurrences = 10                               Occurrences = 15
           Weight=0.4                                     Weight=0.6

                   85321                                                     85322
                                         Knowledge Cell
                                                             800za
                                                  FIG . 18A

                              800zb                            800zc                                 800zd
     Knowledge Cell                      Knowledge Cell                      Knowledge Cell
           Occurrences = 10                               Occurrences = 15           Occurrences = 1
           Weight=0.385                                   Weight=0.577               Weight =0.038
                                                                                                 85323
                    853 %                                                    85322
                                         Knowledge Cell
                                                             800za
                                                  FIG . 18B

                              800zb                            83zc                                  800zd
     Knowledge Cell                      Knowledge Cell                      Knowledge Cell
           Occurrences =11                                Occurrences = 15           Occurrences = 1
           Weight=0.407                                   Weight=0.556               Weight=0.037
                                                                                                 -85323
                    85321                                                    85372
                                         Knowledge Cell
                                                             800za
                                                  FIG . 18C
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                                                                                                                                                                         530d
                               Knowledg   Cell



              80 ce Knowledg Cell
              80 cd KnowledgCell
                                                                                                                                                                                19
                                                                                                                                                                                .
                                                                                                                                                                                FIG
              80 C Knowledg Cell
              80 cb Knowledg Cell
    CofKonlewlcetdigosne 80 ca Knowledg
                                          Cell



                                                 KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                         520
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                               Layer :854e Layer                         Layer            Layer                  Layer                   Layer                     530a
                                                                  854d                                    8546                  854b                    854a
                               KCnoewl dlge 80 e                80 ed CKnoewldlge 80 ec CKnoewldlge 853e2
                                              :




                                                   CKnoewl dlge   8
                                                                  . 5 3 e 4
                                                                                                                   8 0 e b
                                                                                        8 5 3 e
                               KCnoewl dlge   :
                                                                            KCnoewl dlge CKnoewl dlge CKnoewl dlge                     853e1 80 ea
                                                                         CKnoewl dlge      CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                          20
                                                                                                                                                                          .
                                                                                                                                                                          FIG
                               CKnoewledlge   :    CKnoewl dlge          CKneowledlge      CelKnowledge          CKnoewl dlge            CKneowledlge

                                                                                           CKnoewlldge           CKnoewlidlge            CKnoewlldge
                                                   CeKnowledge           CKnoewl dlge      CKnoewl dlge
    Netuwroalk
                                                                                                                                                                    125
                               KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba CKnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                   520
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                               Layer          :
                                                     Layer                  Layer           Layer                  Layer                  Layer                     530a
                                              854e                   854d                                   854c                   854b                  854a
                               KCnoewl dlge   :       CKnoewl dlge           CKnoewl dlge   CKnoewl dlge
                                                      CKnoewldlge           CWhoewl dlge     CKnoewl dlge          CKnoewl dlge 853
                                                                                                                                    800
                               KCnoewl dgie   :      CKnoewl dlge           CKnoewl dlge    KCnoewl dlge            CKnoewl dlge          CKnoewl dlge
                                                                                                                                                                           21
                                                                                                                                                                           .
                                                                                                                                                                           FIG
                                                                                            CKneowledge            CKnoewl dlge           CKnoewledlge

                               CKnoewlldge    :      KCnowel dlge            CKnowel dige    CKnowel dige           CKnoewlldge           CKnoewlldge
                                                                            KCnoewl dlge    CKnoewl dlge
    Netuwroalk
                               KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                    520
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                                                                            80 he CKnoewledlge                                                                        530b
                                                                                                                  CKneowledlge
                                              80 hd CKnoewldlge
                                                                                 853h4
                               CKnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                        8 0 h a
                                                                                                 80 k
                                                                                                   CKnoewl dlge                    853h1                          :


                                                                                                                                                                             22
                                                                                                                                                                             .
                                                                                                                                                                             FIG
                               CKnoewl dlge                                                        CKnoewl dlge                  853h2
                                                          CKnoewl dlge                                            CKnoewl dlge CKnoewl dlge
                                                                                                                                            8 0 h b

                               CKnoewl dlge
    Graph

                               KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                      520
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                                                                                                                                                                        530c
                               Sequnce   KCnoewledlge   :    CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge        CKnoewl dlge

                                                                                                                                                                800
                                                                                                                                                                533
                     Sequnce             CKnoewledlge   :    CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge

                               CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKneowl dlge CKnoewledlge
                     Sequnce                            :
                                                                                                                                                                               23
                                                                                                                                                                               .
                                                                                                                                                                               FIG


                              CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge
                     Sequnce                            :




                                K
                                C n o
                                    e w l dlg e
    CofSoelquctnioes Sequ nce                   K
                                                C n o
                                                    e w l dlg e C
                                                                K neo w l e d
                                                                            l g e K
                                                                                  C n o
                                                                                      e w l dlg e K
                                                                                                  C n o
                                                                                                      e w l dlg e K
                                                                                                                  C n o w
                                                                                                                        e l l
                                                                                                                            d g e


                                         KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                        520
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                                                                                                                                                                                                               530d
          Knowledg                  Cell
                                                                                                                       *
     80 c Knowledg
                                    Cel
     80 b Knowledg
                   Cell
      80 oa                                                              526a 526a5                                                      526 4 526a3 526a2 526a1
                                           SInsteruction   :

                                                                                       ISet|nstruction ISnsteruction                               ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                                 24
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 FIG


                                                           52 a5               52 a4                                       52 a3         52 a2                           52 a1
    CofKonlewlcetidogsne CKneowl dlge      of
                                           Col
                                           Ob
                                           Rep             :
                                                                      Col
                                                                      Obi
                                                                      of
                                                                      Rep                                 Coll
                                                                                                          Obi
                                                                                                          of
                                                                                                          Rep                      Col
                                                                                                                                   of
                                                                                                                                   Rep
                                                                                                                                   Obj             Obj
                                                                                                                                                   of
                                                                                                                                                   Coll
                                                                                                                                                   Rep                                             Col
                                                                                                                                                                                                   Obi
                                                                                                                                                                                                   of
                                                                                                                                                                                                   Rep




                                                                                                                                                                                                               540
    Decison -making N                                                 ?                                                                                                                                         125
                                                               52515 ColorObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 ColofObjRep 5251 CollofObjRep                                                     93

    Object UnitProcesing                   Rep
                                           Obj
                                           of
                                           Coll            :
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                                                                                                                                                                                                                       530d
                           Knowledg Cell
                                                                                                                        *
     80 c
     80 b KnowledgCellCel
     80 oa                                                               526a 526a5                                                              526 4 526a3 526a2 526a1
                                           SInsteruction   :

                                                                                        ISet|nstruction ISnsteruction                                      ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                                        25
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                        FIG

                                                           52 a5                52 a4                                       52 a3               52 a2                            52 a1
    CofKonlewlcetidogsne CKneowl dlge      of
                                           Col
                                           Ob
                                           Rep             :
                                                                      Col
                                                                      Obi
                                                                      of
                                                                      Rep                                  Coll
                                                                                                           Obi
                                                                                                           of
                                                                                                           Rep                         Col
                                                                                                                                       of
                                                                                                                                       Rep
                                                                                                                                       Obj                 Obj
                                                                                                                                                           of
                                                                                                                                                           Coll
                                                                                                                                                           Rep                                             Col
                                                                                                                                                                                                           Obi
                                                                                                                                                                                                           of
                                                                                                                                                                                                           Rep




                                                                                                                                                                                                                       540
    Decison -making N                                                 ?                                                                                                                                                 125
                                                                                                                                                                                                          11




                                                               52513 ColorObjRep 52 12                                          52 1 CollofObjRep 52 1 RepCallofOb 5251 CollofObjRep                                   93

    Object UnitProcesing                   of
                                           Coll
                                           Rep
                                           Obj             :
                                                                                                           Coll
                                                                                                           Obi
                                                                                                           of
                                                                                                           Rep
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                                                                                                                   530d
                            CKneowledlge CollofObiRep      :
                                                               Obi
                                                               of
                                                               Coll
                                                               Rep       Coll
                                                                         Obi
                                                                         of
                                                                         Rep    Coll
                                                                                Obi
                                                                                of
                                                                                Rep       Coll
                                                                                          of
                                                                                          Obi
                                                                                          Rep    of
                                                                                                 Coll
                                                                                                 Rep
                                                                                                 Ob




                                                                52 d5 52 d4 52 d3 52 d2 52 01
              80 rd CKneowledlge                Coll
                                                of
                                                Rep
                                                Ob         :
                                                               Obi
                                                               of
                                                               Coll
                                                               Rep       Coll
                                                                         Rep
                                                                         Obi
                                                                         of     Coll
                                                                                Obi
                                                                                of
                                                                                Rep       of
                                                                                          Col
                                                                                          Rep
                                                                                          Obi    Rep
                                                                                                 Obi
                                                                                                 of
                                                                                                 Coll



              80 rc KCnoewl dlge CollofObiRep              :
                                                               Rep
                                                               Obi
                                                               of
                                                               Coll      Coll
                                                                         Obi
                                                                         of
                                                                         Rep    Col
                                                                                Obi
                                                                                of
                                                                                Rep       Coll
                                                                                          of
                                                                                          Obi
                                                                                          Rep    Coll
                                                                                                 Obi
                                                                                                 of
                                                                                                 Rep       52 c1         FIG
                                                                                                                         26
                                                                                                                         .

              80 rb CKneowledlge                                         Coll
                                                                         Obi
                                                                         of
                                                                         Rep
                                                                                                           52 c2
                                                Coll
                                                of
                                                Red
                                                Obi        :
                                                               Obj
                                                               of
                                                               Coll
                                                               Rep              Coll
                                                                                of
                                                                                Ob
                                                                                Rep       Coll
                                                                                          Obi
                                                                                          of
                                                                                          Rep    Coll
                                                                                                 Ob
                                                                                                 of
                                                                                                 Rep


    CofKonlewlcetdigosne 80 ra CKnoewledlge CollofObiRep   :
                                                               Coll
                                                               of
                                                               Rep
                                                               Obi       Obi
                                                                         of
                                                                         Coll
                                                                         Rep    Obi
                                                                                of
                                                                                Col
                                                                                Rep       Col
                                                                                          of
                                                                                          Obi
                                                                                          Rep    Coll
                                                                                                 Obi
                                                                                                 of
                                                                                                 Rep


                                                                                                                    540
    Decis on -making                                                     > ? ?                                       125
                                                     52 15 52 14 CollofObiRep 52 13 52 12 52 1                      93

    Object  Procesing                           Coll
                                                Obi
                                                of
                                                Rep            Rep
                                                               Obi
                                                               of
                                                               Coll             Coll
                                                                                of
                                                                                Ob
                                                                                Rep       Coll
                                                                                          Obi
                                                                                          of
                                                                                          Rep    Coll
                                                                                                 Obi
                                                                                                 of
                                                                                                 Rep
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                               Layer                    Layer                         Layer                      Layer                   Layer                      Layer                530a
                                              854e                         854d                                                 854c                     854b                     854a
                                                                                      CKnoewl dlge               KCnoewl dlge

                                                         CelKnowledge                 CKnoewl dlge               CKnoewl dlge             CKnoewl dlge              CKneowledge
                                                                          0.25                                                                            0.35

                               CKnoewl dlge                               0.75 CKnoewl dlge
                                                                                                     80 td                                KCnoewl dlge 0.35 CKneowledlge 80 ta
                                              :
                                                                                                                 KCnoewl dlge
                                                         CKCelneowledlge 85314 853t                    0.80
                                                                                                                           8 5 3 t 1
                                              80 te                   CKnoewledlge CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                       0.20                       1
                                                                                                                                                          0.30                                  27
                                                                                                                                                                                                ,
                                                                                                                                                                                                FIG
                                                                                                     8 5 3
                                                                                   80 tc CKneowledlge 80 tbt 2
                               CKnoewl dlge              CKnoewledlge CKnoewl dlge                             CKnoewlldge

    Netuwroalk                 CKnoewledlge   :          CelKnowledge                 CKnoewledlge               CKnoewledlge
                                                                                                                                                                                         540
    Decison -making                                                                                                                                                                       125
                                                                                                                                                                                         93

    Object Unit  Procesing   Rep Coll
                             Col
                             Ob
                             of  Rep
                                 Ob
                                 of
                                              :
                                                      525en 525e1
                                                      Col
                                                      of
                                                      Rep
                                                      Ob    Rep
                                                            Obj Ob
                                                            of
                                                            Col   of Rep
                                                                  Coll
                                                                  525dn
                                                                  Rep   of
                                                                        Call
                                                                        52501
                                                                        Ob                                    Rep
                                                                                                              Obi Rep
                                                                                                              of
                                                                                                              Coll
                                                                                                              525cn
                                                                                                                  :

                                                                                                                    of
                                                                                                                    Col
                                                                                                                    525c1
                                                                                                                    Ob                 Rep
                                                                                                                                       Obj 52561
                                                                                                                                       of
                                                                                                                                       Coll
                                                                                                                                       525bn Rep
                                                                                                                                             Ob
                                                                                                                                             of
                                                                                                                                             Col                 Col
                                                                                                                                                                 Obi
                                                                                                                                                                 of
                                                                                                                                                                 Rep
                                                                                                                                                                 525an Rep
                                                                                                                                                                       Obj
                                                                                                                                                                       of
                                                                                                                                                                       Col
                                                                                                                                                                       525a1
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                                                                                                             80
                                                                                                             $
                                                                                                                                      KCnoewl dlge 80 ub                                    530b
                                                                853u1                                                        0.60 0.30 0.10
                                 80 ua KCnoewldlge 0.15                                   CKnoewl dlge
                                                         0.85                                                        85302
                                                                                                                                      CKnoewl dlge           CKnoewl dlge

         :
                                                                CKnoewl dlge                             80 uc CKnoewldlge                                                              :




                                         CKnoewl dlge                  80 ud   0.20 CKnoewl dlge                    853u 8534                                                                      28
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                                                                                                                                                                                                   FIG

                                                                                                             0.80
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                                          CKnoewl dlge                                    CKnoewl dlge
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                          Unit                                                                           >                                                                                   125
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                                                                                                                                                                      530
                                           CKnoewledlge           CKnoewledlge        CKnoewledlge       CellKnowledge       CKnoewledlge      CKneowledge
                          Sequnce                         :




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                          Sequnce
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                           Sequnce                                                                                                                                          29
                                                                                                                                                                            .
                                                                                                                                                                            FIG

                     53 wb CKnoewledlge                           CKnoewledlge        CKnoewl dlge       CKnoewledlge        CKnoewl dlge      CKnoewledlge
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                           Sequnce                        ??




    CofSolequctnioes 53 wa Sequ nce CKnoewledlge          :
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    Object Unit
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 169 of 2562 PageID #: 7670


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                             100        130
         DCADO Unit
                      Modification Interface
                                                            250
                                                Logic Circuit
           input 1                                                             output 1
           input 2                                                             output 2
           input 3                                                             power

           input 4                                                             ground

                       251
                                               FIG . 31A

                                                                100   130
                                       DCADO Unit Modification Interface


                                   Logic Circuit
           input 1                                                             output 1
           input 2                                                             output 2
                                                                251
           input 3                                                             power

           input 4                                                             ground

                            250
                                               FIG . 31B
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                        9125Step                                                      9130Step                                                                                                 9135Step                                                                                                                                           9140Step                                                                                                                                                                                                 9145Step



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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 172 of 2562 PageID #: 7673


   U.S. Patent                                               Feb. 1 , 2022                                                                                                                                                                        Sheet 33 of 40                                                                                                                                                                                               US 11,238,344 B1


                                                                                                                                                                                                                                                                                        9230Step                                                                                                                                                                                          9235Step



                ranewcofoeStep9220pblrejsicnvetacinogts   setsforimoreoneorthefanstircupsatitongthefwcdoipervtlaischendg onbrofocatepaljsenctaido9225Steptofcnnewthesbompaleatrwcateicsoahntlofcthefandroeplibesrjcntsaiconts                        setsforiormoreonethefenxsitrcutsiotngfthewcdoipervtlaischendg                                                                                                                  oneormoreo,bythedperfvoaritmconegssetsforoneormoreibythefdnesitfriucnsteitodn fthewcdopiervtalischtendg
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 173 of 2562 PageID #: 7674


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                        9325Step                                                                           9S3te0p

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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 174 of 2562 PageID #: 7675


   U.S. Patent                                                           Feb. 1 , 2022                                                                                                                                                       Sheet 35 of 40                                                                                                                                                                                                   US 11,238,344 B1


                                                                                       9S4t3e0p                                                                                                                            9435Step                                                                                                                      9440Step                                                                                                                                      9445Step



                ranewcofoeStep9425pblrejsicventacinogts                           ofocfrthewepblijsernctsaihotns                                                                    mataplisdthatteahrtaemicsrnahtelg ocofthefandrebplijsercntsaiotns                                                                            riecreciuvintg of
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                                                9405Step
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 175 of 2562 PageID #: 7676


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                        9525Step                                                      9S5t3e0p                                                                                                                                      9535Step                                                                                                                                  9540Step



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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FIG




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                                               9505Step
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                        9625Step                                                      9S6t3e0p                                                                                                                                                        9635Step                                                                                                                         9640Step                                                                                                                                        9645Step



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                                               9605Step
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 177 of 2562 PageID #: 7678


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                                                                     615ab
    615a                                                     1



                                                             26m
                                  701

                       970                           2740
                                                             15m
                             A.               346
                                              °                                           38
                                                                                          .
                                                                                          FIG


                                                     615ac
             98a
                        35m


                   .




     615ad
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                                                                      615b
                                                                     90m
                                                                              7.

                 615ba           1 0m                    149
                                                          710
                                                                               98b 3080                        39
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                                                                                                               FIG

                                                               ***
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                                                                                          615bc
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 179 of 2562 PageID #: 7680


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                                                                  10000


                      mu
                                                                          615b                                     BER



                                                                                       $

                                                                      106
                                                                                  7.

             615ba            110m                   1490
                                                                                   98b 308                               40
                                                                                                                         .
                                                                                                                         FIG
                                                      710
    20




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                        seanno



                                              120m
                      615bd                                                                                  120




                                                            450                              615bc       2
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                                                       US 11,238,344 B1
                                   1                                                                 2
        ARTIFICIALLY INTELLIGENT SYSTEMS ,                              correlated with the first one or more instruction sets for
       DEVICES , AND METHODS FOR LEARNING                               operating the device . The artificial intelligence unit may be
                 AND /OR USING A DEVICE'S                               further configured to : receive a new collection of object
          CIRCUMSTANCES FOR AUTONOMOUS                                 representations, the new collection of object representations
                      DEVICE OPERATION                               5 including one or more representations of objects detected by
                                                                     the sensor. The artificial intelligence unit may be further
              CROSS REFERENCE TO RELATED                             configured to : anticipate the first one or more instruction sets
                      APPLICATION                                    for operating the device correlated with the first collection of
                                                                     object representations based on at least a partial match
      This application is aa continuation of, and claims priority 10 between   the new collection of object representations and the
   under 35 U.S.C. § 120 from , nonprovisional U.S. patent ligence unit mayofbeobject
                                                                     first collection           representations. The artificial intel
   application Ser. No. 15 /340,991 entitled “ ARTIFICIALLY sor circuit to executefurther   the
                                                                                                    configured to : cause the proces
                                                                                                first one or more instruction sets for
   INTELLIGENT SYSTEMS , DEVICES , AND METHODS operating the device correlated                            with the first collection of
   FOR LEARNING AND /OR USING A DEVICE'S CIR
   CUMSTANCES FOR AUTONOMOUS DEVICE OPERA- 15 object representations, the causing performed in response to
   TION ” , filed on Nov. 2 , 2016. The disclosure of the fore          the anticipating of the artificial intelligence unit, wherein the
   going document is incorporated herein by reference .                 device performs one or more operations defined by the first
                                                                one or more instruction sets for operating the device corre
                                FIELD                           lated with the first collection of object representations, the
                                                             20 one or more operationsperformed in response to the execut
     The disclosure generally relates to computing enabled ing by the processor circuit .
                                                                   In some embodiments, at least one of: the processor
   devices and / or systems. The disclosure includes devices, circuit
   apparatuses , systems , and related methods for providing gence    , the memory unit , the sensor, or the artificial intelli
   advanced learning, anticipating, decision making , automa          unit are part of, operating on , or coupled to the device .
   tion, and / or other functionalities.                             25 In further embodiments, the device includes one or more
                                                                        devices. In further embodiments, the device includes a
                      COPYRIGHT NOTICE                            construction machine, an assembly machine , an object han
                                                                  dling machine, an object dispensing machine, a sorting
      A portion of the disclosure of this patent document machine , a restocking machine , an industrial machine , an
   contains material which is subject copyright protection. 30 agricultural machine , a harvesting machine , an appliance, a
   The copyright owner has no objection to the facsimile toy, a robot , a ground vehicle , an aerial vehicle , an aquatic
   reproduction by anyone of the patent document or the patent vehicle , a computer, a smartphone, control device, or a
   disclosure as it appears in the Patent and Trademark Office computing enabled device . In further embodiments, the
   patent file or records, but otherwise reserves all copyright processor circuit includes one or more processor circuits . In
   rights whatsoever.                                          35 further embodiments , the processor circuit includes a logic
                                                                  circuit . The logic circuit may include a microcontroller. The
                         BACKGROUND                               one or more instruction sets may include one or more inputs
                                                                  into or one or more outputs from the logic circuit.
      Devices or systems commonly operate by receiving a             In certain embodiments, the processor circuit includes a
   user's operating directions in various circumstances. 40 logic circuit, the instruction sets for operating the device
   Instructions are then executed to effect the operation of a include inputs into the logic circuit , and executing instruc
   device or system based on user's operating directions . tion sets for operating the device includes performing logic
   Hence, devices or systems rely on the user to direct their operations on the inputs into the logic circuit and producing
   behaviors. Commonly employed device or system operating outputs for operating the device . The logic circuit includes
   techniques lack a way to learn operation of a device or 45 a microcontroller.
   system and enable autonomous operation of a device or             In some embodiments, the processor circuit includes a
   system .                                                       logic circuit, the instruction sets for operating the device
                                                                  include outputs from the logic circuit for operating the
                            SUMMARY                               device, and executing instruction sets for operating the
                                                               50 device includes performing logic operations on inputs into
      In some aspects , the disclosure relates to a system for the logic circuit and producing the outputs from the logic
   learning and using a device's circumstances for autonomous circuit for operating the device .
   device operating. The system may be implemented at least          In certain embodiments, the memory unit includes one or
   in part on one or more computing devices . In some embodi- more memory units . In further embodiments , the memory
   ments, the system comprises a processor circuit configured 55 unit resides on a remote computing device or a remote
   to execute instruction sets for operating a device . The system computing system , the remote computing device or the
   may further include a memory unit configured to store data .         remote computing system coupled to the processor circuit
   The system may further include a sensor configured to detect         via aa network or an interface. The remote computing device
   objects. The system may further include an artificial intel-         or the remote computing system may include a server, a
   ligence unit . The artificial intelligence unit may be config- 60 cloud , a computing device , or a computing system acces
   ured to : receive a first collection of object representations,      sible over the network or the interface .
   the first collection of object representations including one or     In some embodiments , the sensor includes one or more
   more representations of objects detected by the sensor . The sensors. In further embodiments, the sensor includes a
   artificial intelligence unit may be further configured to : camera , a microphone , a lidar, a radar, a sonar, or a detector.
   receive a first one or more instruction sets for operating the 65 In further embodiments, the sensor is part of a remote
   device . The artificial intelligence unit may be further con- device. In further embodiments, the sensor is configured to
   figured to learn the first collection of object representations detect objects in the device's surrounding.
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                                                      US 11,238,344 B1
                                 3                                                                 4
      In certain embodiments , the artificial intelligence unit is representations subsequent to the first collection of object
   coupled to the sensor . In further embodiments, the artificial representations, the collections of object representations
   intelligence unit is coupled to the memory unit. In further subsequent to the first collection of object representations
   embodiments , the artificial intelligence unit is part of, oper- comprising the new collection of object representations. In
                 2

   ating on, or coupled to the processor circuit . In further 5 further embodiments, the first collection of object represen
   embodiments , the system further comprises: an additional tations includes a comparative collection of object repre
   processor circuit, wherein the artificial intelligence unit is sentations that can be used for comparisons with the new
   part of, operating on , or coupled to the additional processor collection of object representations. In further embodiments ,
   circuit . In further embodiments , the artificial intelligence the new collection of object representations includes an
   unit is part of, operating on , or coupled to a remote com- 10 anticipatory collection of object representations whose cor
   puting device or a remote computing system , the remote related one or more instruction sets can be used for antici
   computing device or the remote computing system coupled pation of one or more instruction sets to be executed by the
   to the processor circuit via a network or an interface . In processor circuit.
   further embodiments, the artificial intelligence unit includes      In certain embodiments , the first one or more instruction
   a circuit, a computing apparatus, or a computing system 15 sets for operating the device include one or more instruction
   attachable to the processor circuit . In further embodiments, sets that temporally correspond to the first collection of
   the artificial intelligence unit includes a circuit, a computing object representations. In further embodiments, the one or
   apparatus, or a computing system attachable to the device . In more instruction sets that temporally correspond to the first
   further embodiments, the artificial intelligence unit is attach- collection of object representations include one or more
   able to an application for operating the device, the applica- 20 instruction sets executed at a time of generating the first
   tion running on the processor circuit . In further embodi- collection of object representations. In further embodiments ,
   ments, the artificial intelligence unit includes a circuit , a the one or more instruction sets that temporally correspond
   computing apparatus, or a computing system built into the to the first collection of object representations include one or
   processor circuit. In further embodiments, the artificial intel- more instruction sets executed prior to generating the first
   ligence unit includes a circuit, a computing apparatus, or a 25 collection of object representations. In further embodiments,
   computing system built into the device . In further embodi- the one or more instruction sets that temporally correspond
   ments, the artificial intelligence unit is built into an appli- to the first collection of object representations include one or
   cation for operating the device, the application running on more instruction sets executed within aa threshold period of
   the processor circuit . In further embodiments, the artificial time prior to generating the first collection of object repre
   intelligence unit is provided as a feature of the processor 30 sentations. In further embodiments, the one or more instruc
   circuit . In further embodiments, the artificial intelligence tion sets that temporally correspond to the first collection of
   unit is provided as a feature of an application running on the    object representations include one or more instruction sets
   processor circuit. In further embodiments, the artificial intel- executed subsequent to generating the first collection of
   ligence unit is provided as a feature of the device . In further object representations. In further embodiments , the one or
   embodiments, the artificial intelligence unit is further con- 35 more instruction sets that temporally correspond to the first
   figured to : take control from , share control with, or release collection of object representations include one or more
   control to the processor circuit. In further embodiments, the instruction sets executed within aa threshold period of time
   artificial intelligence unit is further configured to : take subsequent to generating the first collection of object rep
   control from , share control with , or release control to an      resentations. In further embodiments , the one or more
   application or an object of the application , the application 40 instruction sets that temporally correspond to the first col
   running on the processor circuit.                                lection of object representations include one or more instruc
      In some embodiments, the first collection of object rep- tion sets executed within a threshold period of time prior to
   resentations includes one or more representations of objects generating the first collection of object representations or a
   detected by the sensor at a time . In further embodiments, the threshold period of time subsequent to generating the first
   new collection of object representations includes one or 45 collection of object representations.
   more representations of objects detected by the sensor at a       In some embodiments, the first one or more instruction
   time . In further embodiments , the first collection of object sets for operating the device are executed by the processor
   representations includes a stream of collections of object        circuit. In further embodiments , the first one or more instruc
   representations. In further embodiments , the new collection      tion sets for operating the device are part of an application
   of object representations includes a stream of collections of 50 for operating the device , the application running on the
   object representations. In further embodiments, the first or processor circuit . In further embodiments , the first one or
   the new collection of object representations includes or is more instruction sets for operating the device include one or
   associated with a time stamp, an order, or a time related more inputs into or one or more outputs from the processor
   information . In further embodiments , the first or the new circuit . In further embodiments, the first one or more instruc
   collection of object representations includes one or more 55 tion sets for operating the device include values or states of
   representations of objects in the device's surrounding. In one or more registers or elements of the processor circuit . In
   further embodiments , the first or the new collection of object further embodiments, the first one or more instruction sets
   representations includes one or more representations of for operating the device include at least one of: a command ,
   objects in a remote device's surrounding. In further embodi- a keyword , a symbol, an instruction , an operator, a variable,
   ments , an object representation of the one or more object 60 a value , an object, a data structure, a function , a parameter,
   representations includes one or more object properties. In a state , a signal, an input, an output, a character, a digit , or
   further embodiments, the first or the new collection of object a reference thereto . In further embodiments , the first one or
   representations includes one or more object properties. In more instruction sets for operating the device include a
   further embodiments , the first collection of object represen- source code, a bytecode , an intermediate code , a compiled
   tations includes a comparative collection of object repre- 65 code , an interpreted code , a translated code , a runtime code ,
   sentations whose at least one portion can be used for an assembly code , a structured query language ( SQL) code ,
   comparisons with at least one portion of collections of object or a machine code . In further embodiments , the first one or
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   more instruction sets for operating the device include one or for operating the device includes receiving the first one or
   more code segments, lines of code, statements, instructions, more instruction sets for operating the device from the
   functions, routines , subroutines , or basic blocks . In further application .
   embodiments, the processor circuit includes a logic circuit .         In certain embodiments, the receiving the first one or
   The first one or more instruction sets for operating the device 5 more instruction sets for operating the device includes
                                                                      receiving the one or more instruction sets at a source code
   may include one or more inputs into a logic circuit . The first write
   one or more instruction sets for operating the device may                 time , a compile time , an interpretation time , a trans
   include one or more outputs from a logic circuit .                 lation time , a linking time , a loading time , or a runtime. In
                    embodiments, the first one or more instruction further embodiments, the receiving the first one or more
   setsInforcertain
              operating the device include one or more instruction 10 instruction  sets for operating the device includes at least one
                                                                      of: tracing, profiling, or instrumentation of a source code , a
   sets for operating an application or an object of the appli bytecode         , an intermediate code, a compiled code , an inter
   cation , the application running on the processor circuit. In preted code        , a translated code , a runtime code , an assembly
   further embodiments, the receiving the first one or more          code , a structured query language ( SQL ) code, or a machine
   instruction sets for operating the device includes obtaining 15 code
   the first one or more instruction sets for operating the device more. In    further embodiments, the receiving the first one or
                                                                            instruction  sets for operating the device includes at
   from the processor circuit. In further embodiments , the least one of: tracing            , profiling, or instrumentation of an
   receiving the first one or more instruction sets for operating element that is part of, operating on, or coupled to the
   the device includes receiving the first one or more instruc- processor circuit . In further embodiments, the receiving the
   tion sets for operating the device as they are executed by the 20 first one or more instruction sets for operating the device
   processor circuit . In further embodiments , the receiving the includes at least one of: tracing, profiling, or instrumentation
   first one or more instruction sets for operating the device of a register of the processor circuit , the memory unit , a
   includes receiving the first one or more instruction sets for storage, or a repository where the first one or more instruc
   operating the device from a register or an element of the tion sets for operating the device are stored . In further
   processor circuit . In further embodiments, the receiving the 25 embodiments, the receiving the first one or more instruction
   first one or more instruction sets for operating the device sets for operating the device includes at least one of: tracing,
   includes receiving the first one or more instruction sets for profiling, or instrumentation of the processor circuit, the
   operating the device from an element that is part of, oper- device, a virtual machine , a runtime engine, an operating
   ating on, or coupled to the processor circuit . In further system , an execution stack, a program counter, or a process
   embodiments , the receiving the first one or more instruction 30 ing element. In further embodiments, the receiving the first
                 ?

   sets for operating the device includes receiving the first one one or more instruction sets for operating the device
   or more instruction sets for operating the device from at least includes at least one of: tracing, profiling, or instrumentation
   one of: the memory unit, the device , a virtual machine, a of the processor circuit or tracing, profiling, or instrumen
   runtime engine, a hard drive, a storage device, a peripheral tation of a component of the processor circuit. In further
   device , a network connected device, or a user . In further 35 embodiments , the receiving the first one or more instruction
   embodiments, the receiving the first one or more instruction sets for operating the device includes at least one of: tracing,
   sets for operating the device includes receiving the first one profiling, or instrumentation of an application or an object of
   or more instruction sets for operating the device from a the application, the application running on the processor
   plurality of processor circuits, applications, memory units , circuit . In further embodiments, the receiving the first one or
   devices, virtual machines , runtime engines, hard drives, 40 more instruction sets for operating the device includes at
   storage devices , peripheral devices , network connected least one of: tracing, profiling, or instrumentation at a source
   devices, or users .                                              code write time , a compile time , an interpretation time , a
      In some embodiments, the processor circuit includes a translation time , a linking time , a loading time , or a runtime.
   logic circuit , and wherein the receiving the first one or more In further embodiments, the receiving the first one or more
   instruction sets for operating the device includes receiving 45 instruction sets for operating the device includes at least one
   the first one or more instruction sets for operating the device of: tracing, profiling, or instrumentation of one or more of
   from the logic circuit . In further embodiments, the logic code segments, lines of code, statements, instructions, func
   circuit includes a microcontroller. In further embodiments ,        tions , routines, subroutines, or basic blocks . In further
   the receiving the first one or more instruction sets for embodiments, the receiving the first one or more instruction
   operating the device from the logic circuit includes receiving 50 sets for operating the device includes at least one of: tracing,
   the first one or more instruction sets for operating the device profiling, or instrumentation of a user input. In further
   from an element of the logic circuit. In further embodiments , embodiments, the receiving the first one or more instruction
   the receiving the first one or more instruction sets for sets for operating the device includes at least one of: a
   operating the device from the logic circuit includes receiving manual, an automatic , a dynamic , or a just in time ( JIT )
   one or more inputs into the logic circuit . In further embodi- 55 tracing, profiling, or instrumentation . In further embodi
   ments , the receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
   operating the device from the logic circuit includes receiving operating the device includes utilizing at least one of: a
   one or more outputs from the logic circuit .                      .NET tool , a .NET application programming interface (API ),
      In certain embodiments , the receiving the first one or a Java tool , a Java API , a logging tool , or an independent tool
   more instruction sets for operating the device includes 60 for obtaining instruction sets. In further embodiments, the
   receiving the first one or more instruction sets for operating receiving the first one or more instruction sets for operating
   the device from an application for operating the device, the the device includes utilizing an assembly language. In
   application running on the processor circuit.                     further embodiments, the receiving the first one or more
      In some embodiments, the system further comprises: an instruction sets for operating the device includes utilizing a
   application including instruction sets for operating the 65 branch or a jump. In further embodiments , the receiving the
   device, the application running on the processor circuit , first one or more instruction sets for operating the device
   wherein the receiving the first one or more instruction sets includes a branch tracing or a simulation tracing. In further
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   embodiments, the system further comprises: an interface data structure . In further embodiments, each of the plurality
                                                                                                             2

   configured to receive instruction sets , wherein the first one of collections of object representations correlated with one
   or more instruction sets for operating the device are received or more instruction sets for operating the device is included
   by the interface. The interface may include an acquisition in a neuron , a node, a vertex , or an element of a knowl
   interface .                                                    5 edgebase. The knowledgebase may include a neural net
      In some embodiments, the first collection of object rep- work , a graph, a collection of sequences, a sequence , a
   resentations correlated with the first one or more instruction collection of knowledge cells , a knowledge structure , or a
   sets for operating the device include a knowledge of how the data structure. Some of the neurons, nodes, vertices, or
   device operated in a circumstance . In further embodiments , elements may be interconnected . In further embodiments ,
   the first collection of object representations correlated with 10 the plurality of collections of object representations corre
   the first one or more instruction sets for operating the device lated with one or more instruction sets for operating the
   are included in a neuron , a node , a vertex , or an element of device include a user's knowledge, style , or methodology of
   a knowledgebase . In further embodiments, the knowledge- operating the device in circumstances. In further embodi
   base includes a neural network , a graph , a collection of         ments, the plurality of collections of object representations
   sequences, a sequence, a collection of knowledge cells , a 15 correlated with one or more instruction sets for operating the
   knowledge structure, or a data structure . In further embodi- device are stored on a remote computing device or a remote
   ments , some of the neurons, nodes , vertices, or elements are computing system . In further embodiments, the plurality of
   interconnected . In further embodiments , the first collection collections of object representations correlated with one or
   of object representations correlated with the first one or more instruction sets for operating the device include an
   morea instruction sets for operating the device are structured 20 artificial intelligence system for knowledge structuring, stor
   into a knowledge cell . In further embodiments, the knowl- ing , or representation. The artificial intelligence system for
   edge cell is included in a neuron , a node, a vertex , or an knowledge structuring, storing, or representation may
   element of a knowledgebase. The knowledgebase may include at least one of: a deep learning system , a supervised
   include a neural network , a graph, a collection of sequences , learning system , an unsupervised learning system , a neural
   a sequence, a collection of knowledge cells , a knowledge 25 network , a search -based system, an optimization-based sys
   structure , or a data structure . Some of the neurons , nodes, tem , a logic -based system , a fuzzy logic -based system , a
   vertices, or elements may be interconnected . In further tree - based system , a graph -based system , a hierarchical
   embodiments, the learning the first collection of object system , a symbolic system , a sub - symbolic system , an
   representations correlated with the first one or more instruc- evolutionary system , a genetic system , a multi -agent system ,
   tion sets for operating the device includes correlating the 30 a deterministic system , a probabilistic system , or a statistical
   first collection of object representations with the first one or system .
   more instruction sets for operating the device. In further           In some embodiments, the anticipating the first one or
   embodiments, the correlating the first collection of object more instruction sets for operating the device correlated with
   representations with the first one or more instruction sets for the first collection of object representations based on at least
   operating the device includes generating a knowledge cell , 35 a partial match between the new collection of object repre
   the knowledge cell comprising the first collection of object sentations and the first collection of object representations
   representations correlated with the first one or more instruc- includes comparing at least one portion of the new collection
   tion sets for operating the device. In further embodiments , of object representations with at least one portion of the first
   the correlating the first collection of object representations collection of object representations. In further embodiments,
   with the first one or more instruction sets for operating the 40 the at least one portion of the new collection of object
   device includes structuring a knowledge of how the device representations include at least one object representation or
   operated in a circumstance . In further embodiments, the at least one object property of the new collection of object
   learning the first collection of object representations corre- representations. In further embodiments, the at least one
   lated with the first one or more instruction sets for operating portion of the first collection of object representations
   the device includes learning a user's knowledge, style, or 45 include at least one object representation or at least one
   methodology of operating the device in a circumstance .           object property of the first collection of object representa
      In certain embodiments, the learning the first collection of tions . In further embodiments, the anticipating the first one
   object representations correlated with the first one or more or more instruction sets for operating the device correlated
   instruction sets for operating the device includes storing the with the first collection of object representations based on at
   first collection of object representations correlated with the 50 least a partial match between the new collection of object
   first one or more instruction sets for operating the device into representations and the first collection of object representa
   the memory unit, the first collection of object representa- tions includes comparing at least one object representation
   tions correlated with the first one or more instruction sets for from the new collection of object representations with at
   operating the device being part of a plurality of collections least one object representation from the first collection of
   of object representations correlated with one or more 55 object representations. In further embodiments, the compar
   instruction sets for operating the device stored in the ing at least one object representation from the new collection
   memory unit . In further embodiments, the plurality of col- of object representations with at least one object represen
   lections of object representations correlated with one or tation from the first collection of object representations
   more instruction sets for operating the device include a includes comparing at least one object property of the at
   neural network , a graph , a collection of sequences, a 60 least one object representation from the new collection of
   sequence, a collection of knowledge cells , a knowledgebase , object representations with at least one object property of the
   a knowledge structure, or a data structure . In further embodi- at least one object representation from the first collection of
   ments, the plurality of collections of object representations object representations.
   correlated with one or more instruction sets for operating the       In certain embodiments, the anticipating the first one or
   device are organized into a neural network , a graph, a 65 more instruction sets for operating the device correlated with
   collection of sequences, a sequence , a collection of knowl- the first collection of object representations based on at least
   edge cells , a knowledgebase, a knowledge structure, or a          a partial match between the new collection of object repre
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   sentations and the first collection of object representations representations and at least one object representation from
   includes determining that there is at least a partial match the first collection of object representations. The determin
   between the new collection of object representations and the ing that there is at least a partial match between at least one
   first collection of object representations. In further embodi- object representation from the new collection of object
   ments, the determining that there is at least a partial match 5 representations and at least one object representation from
   between the new collection of object representations and the the first collection of object representations includes deter
   first collection of object representations includes determin- mining that there is at least a partial match between at least
   ing that there is at least a partial match between one or more one object property of the at least one object representation
   portions of the new collection of object representations and from the new collection of object representations and at least
   one or more portions of the first collection of object repre- 10 one object property of the at least one object representation
   sentations . In further embodiments, the determining that from the first collection of object representations.
   there is at least a partial match between the new collection       In certain embodiments, the causing the processor circuit
   of object representations and the first collection of object to execute the first one or more instruction sets for operating
   representations includes determining that a similarity the device correlated with the first collection of object
   between at least one portion of the new collection of object 15 representations includes causing the processor circuit to
   representations and at least one portion of the first collection execute the first one or more instruction sets for operating
   of object representations exceeds a similarity threshold. In the device correlated with the first collection of object
   further embodiments, the determining that there is at least a representations instead of or prior to an instruction set that
   partial match between the new collection of object repre-         would have been executed next. In further embodiments, the
   sentations and the first collection of object representations 20 causing the processor circuit to execute the first one or more
   includes determining a substantial similarity between at least instruction sets for operating the device correlated with the
   one portion of the new collection of object representations first collection of object representations includes modifying
   and at least one portion of the first collection of object        one or more instruction sets of the processor circuit . In
   representations. The substantial similarity may be achieved further embodiments, the causing the processor circuit to
   when aa similarity between the at least one portion of the new 25 execute the first one or more instruction sets for operating
   collection of object representations and the at least one the device correlated with the first collection of object
   portion of the first collection of object representations representations includes modifying a register or an element
   exceeds a similarity threshold . The substantial similarity of the processor circuit . In further embodiments, the causing
   may be achieved when a number or a percentage of match- the processor circuit to execute the first one or more instruc
   ing or partially matching portions of the new collection of 30 tion sets for operating the device correlated with the first
   object representations and portions of the first collection of collection of object representations includes inserting the
   object representations exceeds a threshold number or thresh- first one or more instruction sets for operating the device
   old percentage. In further embodiments , the determining that correlated with the first collection of object representations
   there is at least a partial match between the new collection into a register or an element of the processor circuit . In
   of object representations and the first collection of object 35 further embodiments, the causing the processor circuit to
   representations includes determining that a number or a execute the first one or more instruction sets for operating
   percentage of matching or partially matching object repre- the device correlated with the first collection of object
   sentations from the new collection of object representations representations includes redirecting the processor circuit to
   and from the first collection of object representations the first one or more instruction sets for operating the device
   exceeds a threshold number or threshold percentage. The 40 correlated with the first collection of object representations.
   matching or partially matching object representations from In further embodiments, the causing the processor circuit to
   the new collection of object representations and from the execute the first one or more instruction sets for operating
   first collection of object representations may be determined the device correlated with the first collection of object
   factoring in at least one of: a type of an object representation, representations includes redirecting the processor circuit to
   an importance of an object representation, aa threshold for a 45 one or more alternate instruction sets, the alternate instruc
   similarity in an object representation , or a threshold for a tion sets comprising the first one or more instruction sets for
   difference in an object representation. In further embodi- operating the device correlated with the first collection of
   ments, the determining that there is at least a partial match object representations. In further embodiments, the causing
   between the new collection of object representations and the the processor circuit to execute the first one or more instruc
   first collection of object representations includes determin- 50 tion sets for operating the device correlated with the first
   ing that a number or a percentage of matching or partially collection of object representations includes transmitting, to
   matching object properties from the new collection of object the processor circuit for execution , the first one or more
   representations and from the first collection of object rep- instruction sets for operating the device correlated with the
   resentations exceeds a threshold number or threshold per- first collection of object representations. In further embodi
   centage. The matching or partially matching object proper- 55 ments, the executing the first one or more instruction sets for
   ties from the new collection of object representations and operating the device correlated with the first collection of
   from the first collection of object representations may be object representations includes issuing an interrupt to the
   determined factoring in at least one of: an association of an processor circuit and executing the first one or more instruc
   object property with an object representation , a category of tion sets for operating the device correlated with the first
   an object property, an importance of an object property, a 60 collection of object representations following the interrupt.
   threshold for a similarity in an object property, or a threshold In further embodiments, the causing the processor circuit to
   for a difference in an object property . In further embodi- execute the first one or more instruction sets for operating
   ments, the determining that there is at least a partial match the device correlated with the first collection of object
   between the new collection of object representations and the representations includes modifying an element that is part
   first collection of object representations includes determin- 65 of, operating on , or coupled to the processor circuit .
   ing that there is at least a partial match between at least one     In some embodiments, the processor circuit includes a
   object representation from the new collection of object logic circuit , and wherein the causing the processor circuit
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   to execute the first one or more instruction sets for operating correlated with the first collection of object representations
   the device correlated with the first collection of object includes modifying one or more instruction sets of an
   representations includes causing the logic circuit to execute application, the application running on the processor circuit .
   the first one or more instruction sets for operating the device In further embodiments, the causing the processor circuit to
   correlated with the first collection of object representations. 5 execute the first one or more instruction sets for operating
   In further embodiments , the logic circuit includes a micro- the device correlated with the first collection of object
   controller. In further embodiments, the causing the logic representations includes modifying a source code , a byte
   circuit to execute the first one or more instruction sets for code , an intermediate code , a compiled code , an interpreted
   operating the device correlated with the first collection of code , a translated code, a runtime code, an assembly code ,
   object representations includes modifying an element of the 10 or a machine code . In further embodiments, the causing the
   logic circuit. In further embodiments, the causing the logic processor circuit to execute the first one or more instruction
   circuit to execute the first one or more instruction sets for sets for operating the device correlated with the first collec
   operating the device correlated with the first collection of tion of object representations includes modifying at least one
   object representations includes inserting the first one or of: the memory unit , a register of the processor circuit, a
   more instruction sets for operating the device correlated with 15 storage, or a repository where instruction sets are stored or
   the first collection of object representations into an element used . In further embodiments , the causing the processor
   of the logic circuit . In further embodiments, the causing the circuit to execute the first one or more instruction sets for
   logic circuit to execute the first one or more instruction sets operating the device correlated with the first collection of
   for operating the device correlated with the first collection of object representations includes modifying one or more
   object representations includes redirecting the logic circuit 20 instruction sets for operating an application or an object of
   to the first one or more instruction sets for operating the the application , the application running on the processor
   device correlated with the first collection of object repre- circuit. In further embodiments, the causing the processor
   sentations. In further embodiments, the causing the logic          circuit to execute the first one or more instruction sets for
   circuit to execute the first one or more instruction sets for      operating the device correlated with the first collection of
   operating the device correlated with the first collection of 25 object representations includes modifying at least one of: an
   object representations includes replacing inputs into the element of the processor circuit, an element of the device, a
   logic circuit with the first one or more instruction sets for virtual machine , a runtime engine, an operating system , an
   operating the device correlated with the first collection of execution stack , a program counter, or a user input. In
   object representations. In further embodiments, the causing further embodiments, the causing the processor circuit to
   the logic circuit to execute the first one or more instruction 30 execute the first one or more instruction sets for operating
   sets for operating the device correlated with the first collec- the device correlated with the first collection of object
   tion of object representations includes replacing outputs representations includes modifying one or more instruction
   from the logic circuit with the first one or more instruction sets at a source code write time , a compile time , an inter
   sets for operating the device correlated with the first collec- pretation time , a translation time , a linking time , a loading
   tion of object representations.                                  35 time , or a runtime. In further embodiments, the causing the
      In certain embodiments, the causing the processor circuit processor circuit to execute the first one or more instruction
   to execute the first one or more instruction sets for operating sets for operating the device correlated with the first collec
   the device correlated with the first collection of object tion of object representations includes modifying one or
   representations includes causing an application for operating more code segments, lines of code, statements, instructions,
   the device to execute the first one or more instruction sets for 40 functions, routines, subroutines, or basic blocks . In further
   operating the device correlated with the first collection of embodiments, the causing the processor circuit to execute
   object representations, the application running on the pro- the first one or more instruction sets for operating the device
   cessor circuit.                                                     correlated with the first collection of object representations
      In some embodiments, the system further comprises: an includes a manual, an automatic, a dynamic, or a just in time
   application including instruction sets for operating the 45 (JIT ) instrumentation of an application , the application run
   device , the application running on the processor circuit , ning on the processor circuit . In further embodiments, the
   wherein the causing the processor circuit to execute the first causing the processor circuit to execute the first one or more
   one or more instruction sets for operating the device corre- instruction sets for operating the device correlated with the
   lated with the first collection of object representations first collection of object representations includes utilizing
   includes modifying the application .                             50 one or more of a .NET tool , a .NET application program
      In further embodiments, the causing the processor circuit ming interface (API ) , a Java tool , a Java API , an operating
   to execute the first one or more instruction sets for operating system tool , or an independent tool for modifying instruc
   the device correlated with the first collection of object          tion sets . In further embodiments , the causing the processor
   representations includes redirecting an application to the         circuit to execute the first one or more instruction sets for
   first one or more instruction sets for operating the device 55 operating the device correlated with the first collection of
   correlated with the first collection of object representations, object representations includes utilizing at least one of: a
   the application running on the processor circuit . In further dynamic, an interpreted , or a scripting programming lan
   embodiments, the causing the processor circuit to execute guage . In further embodiments, the causing the processor
   the first one or more instruction sets for operating the device    circuit to execute the first one or more instruction sets for
   correlated with the first collection of object representations 60 operating the device correlated with the first collection of
   includes redirecting an application to one or more alternate object representations includes utilizing at least one of: a
   instruction sets, the application running on the processor dynamic code , a dynamic class loading , or a reflection . In
   circuit , the alternate instruction sets comprising the first one further embodiments, the causing the processor circuit to
   or more instruction sets for operating the device correlated execute the first one or more instruction sets for operating
   with the first collection of object representations. In further 65 the device correlated with the first collection of object
   embodiments, the causing the processor circuit to execute representations includes utilizing an assembly language. In
   the first one or more instruction sets for operating the device further embodiments, the causing the processor circuit to
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   execute the first one or more instruction sets for operating           In some embodiments, the artificial intelligence unit is
   the device correlated with the first collection of object           further configured to : receive at least one extra information .
   representations includes utilizing at least one of: a metapro-      In further embodiments, the at least one extra information
   gramming, a self-modifying code , or an instruction set include one or more of: a time information, a location
   modification tool . In further embodiments, the causing the 5 information , a computed information , or a contextual infor
   processor circuit to execute the first one or more instruction mation . In further embodiments, the at least one extra
   sets for operating the device correlated with the first collec- information include one or more of: an information on an
   tion of object representations includes utilizing at least one object, an information on an object representation, an infor
   of: just in time ( JIT ) compiling, JIT interpretation , JIT 10 mation on a collection of object representations, an infor
   translation , dynamic recompiling , or binary rewriting. In mation on a device's circumstance, an information on an
   further embodiments, the causing the processor circuit to instruction set , an information on an application, an infor
   execute the first one or more instruction sets for operating mation on the processor circuit , an information on the
   the device correlated with the first collection of object device , or an information on an user. In further embodi
   representations includes utilizing at least one of
                                                    : a dynamic 15 ments,, the artificial intelligence unit is further configured to :
   expression creation , a dynamic expression execution, a learn the first collection of object representations correlated
   dynamic function creation, or a dynamic function execution . with the at least one extra information . The learning the first
   In further embodiments , the causing the processor circuit to collection of object representations correlated with at least
   execute the first one or more instruction sets for operating one extra information may include correlating the first
   the device correlated with the first collection of object 20 collection of object representations with the at least one
   representations includes adding or inserting additional code extra information . The learning the first collection of object
   into aa code of an application, the application running on the representations correlated with at least one extra information
   processor circuit. In further embodiments, the causing the may include storing the first collection of object represen
   processor circuit to execute the first one or more instruction tations correlated with the at least one extra information into
   sets for operating the device correlated with the first collec- 25 the memory unit . In further embodiments, the anticipating
   tion of object representations includes at least one of: the first one or more instruction sets for operating the device
   modifying, removing, rewriting, or overwriting a code of an correlated with the first collection of object representations
   application, the application running on the processor circuit . based on at least a partial match between the new collection
   In further embodiments, the causing the processor circuit to of object representations and the first collection of object
   execute the first one or more instruction sets for operating 30 representations includes anticipating the first one or more
   the device correlated with the first collection of object           instruction sets for operating the device correlated with the
   representations includes at least one of: branching, redirect-     first collection of object representations based on at least a
   ing , extending, or hot swapping a code of an application , the    partial match between an extra information correlated with
   application running on the processor circuit . The branching the new collection of object representations and an extra
   ora redirecting the code may include inserting at least one of: 35 information correlated with the first collection of object
   a branch , a jump, or a means for redirecting an execution . In representations. The anticipating the first one or more
   further embodiments , the executing the first one or more instruction sets for operating the device correlated with the
   instruction sets for operating the device correlated with the first collection of object representations based on at least a
   first collection of object representations includes implement- partial match between an extra information correlated with
   ing a user's knowledge, style, or methodology of operating 40 the new collection of object representations and an extra
   the device in a circumstance .                                      information correlated with the first collection of object
      In certain embodiments, the system further comprises: an representations may include comparing an extra information
   interface configured to cause execution of instruction sets , correlated with the new collection of object representations
   wherein the executing the first one or more instruction sets and an extra information correlated with the first collection
   for operating the device correlated with the first collection of 45 of object representations. The anticipating the first one or
   object representations is caused by the interface . The inter- more instruction sets for operating the device correlated with
   face may include aa modification interface .                        the first collection of object representations based on at least
      In some embodiments, the one or more operations defined a partial match between an extra information correlated with
   by the first one or more instruction sets for operating the the new collection of object representations and an extra
   device correlated with the first collection of object repre- 50 information correlated with the first collection of object
   sentations include one or more operations with or by a representations may include determining that a similarity
   computing enabled device . In further embodiments, the between an extra information correlated with the new col
   performing the one or more operations defined by the first lection of object representations and an extra information
   one or more instruction sets for operating the device corre- correlated with the first collection of object representations
   lated with the first collection of object representations 55 exceeds a similarity threshold .
   includes implementing a user's knowledge, style , or meth-             In certain embodiments, the system further comprises : a
   odology of operating the device in a circumstance .                 user interface, wherein the artificial intelligence unit is
      In certain embodiments , the system further comprising: further configured to : cause the user interface to present a
   an application running on the processor circuit .                   user with an option to execute the first one or more instruc
      In some embodiments, the instruction sets for operating 60 tion sets for operating the device correlated with the first
   the device are part of an application for operating the device , collection of object representations .
   the application running on the processor circuit .                     In some embodiments, the system further comprises : a
      In certain embodiments, the system of further comprises: user interface, wherein the artificial intelligence unit is
   an application for operating the device , the application further configured to : receive, via the user interface, a user's
   running on the processor circuit . The application for oper- 65 selection to execute the first one or more instruction sets for
   ating the device may include the instruction sets for oper- operating the device correlated with the first collection of
   ating the device.                                                   object representations.
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      In certain embodiments , the artificial intelligence unit is object representations correlated with the first one or more
   further configured to : rate the executed first one or more instruction sets for operating the device and the second
   instruction sets for operating the device correlated with the collection of object representations correlated with the sec
   first collection of object representations. The rating the ond one or more instruction sets for operating the device .
   executed first one or more instruction sets for operating the 5 The connection may include or be associated with at least
   device correlated with the first collection of object repre- one of: an occurrence count, a weight, a parameter, or a data .
   sentations may include causing a user interface to display In further embodiments, the learning the first collection of
   the executed first one or more instruction sets for operating object representations correlated with the first one or more
   the device correlated with the first collection of object instruction sets for operating the device and the learning the
   representations along with one or more rating values as 10 second collection of object representations correlated with
   options to be selected by a user. The rating the executed first the second one or more instruction sets for operating the
   one or more instruction sets for operating the device corre- device include updating a connection between the first
   lated with the first collection of object representations may collection of object representations correlated with the first
   include rating the executed first one or more instruction sets one or more instruction sets for operating the device and the
   for operating the device correlated with the first collection of 15 second collection of object representations correlated with
   object representations without a user input.                        the second one or more instruction sets for operating the
      In some embodiments , the system further comprises : a device . The updating the connection between the first col
   user interface , wherein the artificial intelligence unit is lection of object representations correlated with the first one
   further configured to : cause the user interface to present a or more instruction sets for operating the device and the
   user with an option to cancel the execution of the executed 20 second collection of object representations correlated with
   first one or more instruction sets for operating the device the second one or more instruction sets for operating the
   correlated with the first collection of object representations. device may include updating at least one of: an occurrence
   In further embodiments, the canceling the execution of the count , a weight, a parameter, or a data included in or
   executed first one or more instruction sets for operating the associated with the connection . In further embodiments, the
   device correlated with the first collection of object repre- 25 learning the first collection of object representations corre
   sentations includes restoring the processor circuit or the lated with the first one or more instruction sets for operating
   device to a prior state . The restoring the processor circuit or the device includes storing the first collection of object
   the device to a prior state may include saving the state of the representations correlated with the first one or more instruc
   processor circuit or the device prior to executing the first one tion sets for operating the device into a first node of a
   or more instruction sets for operating the device correlated 30 knowledgebase , and wherein the learning the second col
   with the first collection of object representations.               lection of object representations correlated with the second
      In certain embodiments, the system further comprises: an one or more instruction sets for operating the device
   input device configured to receive a user's operating direc- includes storing the second collection of object representa
   tions , the user's operating directions for instructing the tions correlated with the second one or more instruction sets
   processor circuit on how to operate the device .                35 for operating the device into a second node of the knowl
      In some embodiments, the autonomous device operating edgebase. The knowledgebase may include a neural net
   includes a partially or a fully autonomous device operating. work , a graph, a collection of sequences , a sequence , a
   The partially autonomous device operating may include collection of knowledge cells , a knowledge structure , or a
   executing the first one or more instruction sets for operating data structure . The knowledgebase may be stored in the
   the device correlated with the first collection of object 40 memory unit. The learning the first collection of object
   representations responsive to a user confirmation . In further representations correlated with the first one or more instruc
   embodiments, the fully autonomous device operating may tion sets for operating the device and the learning the second
   include executing the first one or more instruction sets for collection of object representations correlated with the sec
   operating the device correlated with the first collection of ond one or more instruction sets for operating the device
   object representations without a user confirmation .           45 include creating a connection between the first node and the
      In certain embodiments , the artificial intelligence unit is second node . The learning the first collection of object
   further configured to : receive a second collection of object representations correlated with the first one or more instruc
   representations, the second collection of object representa- tion sets for operating the device and the learning the second
   tions including one or more representations of objects collection of object representations correlated with the sec
   detected by the sensor ; receive a second one or more 50 ond one or more instruction sets for operating the device
   instruction sets for operating the device ; and learn the include updating a connection between the first node and the
   second collection of object representations correlated with second node . In further embodiments, the first collection of
   the second one or more instruction sets for operating the object representations correlated with the first one or more
   device . In further embodiments, the second collection of         instruction sets for operating the device is stored into a first
   object representations includes one or more representations 55 node of a neural network and the second collection of object
   of objects detected by the sensor at a time . In further          representations correlated with the second one or more
   embodiments, the second collection of object representa-          instruction sets for operating the device is stored into a
   tions includes a stream of collections of object representa-      second node of the neural network . The first node and the
   tions . In further embodiments, the second collection of         second node may be connected by a connection . The first
   object representations includes or is associated with a time 60 node may be part of a first layer of the neural network and
   stamp , an order, or a time related information . In further the second node may be part of a second layer of the neural
   embodiments, the learning the first collection of object network . In further embodiments, the first collection of
   representations correlated with the first one or more instruc- object representations correlated with the first one or more
   tion sets for operating the device and the learning the second instruction sets for operating the device is stored into a first
   collection of object representations correlated with the sec- 65 node of a graph and the second collection of object repre
   ond one or more instruction sets for operating the device sentations correlated with the second one or more instruction
   include creating a connection between the first collection of sets for operating the device is stored into a second node of
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   the graph . The first node and the second node may be include: ( e) anticipating the first one or more instruction sets
   connected by a connection . In further embodiments, the first for operating the device correlated with the first collection of
   collection of object representations correlated with the first object representations based on at least a partial match
   one or more instruction sets for operating the device is stored between the new collection of object representations and the
   into aa first node of a sequence and the second collection of 5 first collection of object representations, the anticipating of
   object representations correlated with the second one or (e ) performed by the processor circuit . The method may
   more instruction sets for operating the device is stored into further include: ( f) executing the first one or more instruc
   a second node of the sequence .                                   tion sets for operating the device correlated with the first
      In some aspects , the disclosure relates to a non - transitory collection of object representations, the executing of (f)
   computer storage medium having a computer program 10 performed in response to the anticipating of (e ) . The method
   stored thereon , the program including instructions that when       may further include : (g ) performing, by the device , one or
   executed by one or more processor circuits cause the one or         more operations defined by the first one or more instruction
   more processor circuits to perform operations comprising:           sets for operating the device correlated with the first collec
   receiving a first collection of object representations, the first   tion of object representations, the one or more operations by
   collection of object representations including one or more 15 the device performed in response to the executing of (f).
   representations of objects detected by a sensor. The opera-        In certain embodiments, the receiving of (b ) includes
   tions may further include: receiving a first one or more receiving the first one or more instruction sets for operating
   instruction sets for operating a device . The operations may the device from the processor circuit or from another pro
   further include : learning the first collection of object repre- cessor circuit . In further embodiments, the executing of ( f)
   sentations correlated with the first one or more instruction 20 is performed by the processor circuit or by another processor
   sets for operating the device . The operations may further          circuit.
   include : receiving a new collection of object representations,       The operations or steps of the non - transitory computer
   the new collection of object representations including one or storage medium and / or the method may be performed by
   more representations of objects detected by the sensor . The any of the elements of the above described systems as
   operations may further include: anticipating the first one or 25 applicable . The non -transitory computer storage medium
   more instruction sets for operating the device correlated with and / or the method may include any of the operations, steps ,
   the first collection of object representations based on at least and embodiments of the above described systems , non
   a partial match between the new collection of object repre- transitory computer storage media , and / or methods as appli
   sentations and the first collection of object representations. cable as well as the following embodiments.
   The operations may further include : causing an execution of 30 In some embodiments , the first one or more instruction
   the first one or more instruction sets for operating the device sets for operating the device are executed by a processor
   correlated with the first collection of object representations, circuit. In further embodiments, the first one or more instruc
   the causing performed in response to the anticipating the tion sets for operating the device are part of an application
   first one or more instruction sets for operating the device for operating the device . In further embodiments , the first
   correlated with the first collection of object representations 35 one or more instruction sets for operating the device include
   based on at least a partial match between the new collection one or more inputs into or one or more outputs from a
   of object representations and the first collection of object processor circuit . In further embodiments, the first one or
   representations, wherein the device performs one or more more instruction sets for operating the device include values
   operations defined by the first one or more instruction sets or states of one or more registers or elements of a processor
   for operating the device correlated with the first collection of 40 circuit . In further embodiments, the first one or more instruc
   object representations, the one or more operations by the tion sets for operating the device include one or more inputs
   device performed in response to the execution .                     into a logic circuit. In further embodiments, the first one or
      In certain embodiments, the receiving the first one or more instruction sets for operating the device include one or
   more instruction sets for operating the device includes more outputs from a logic circuit. In further embodiments,
   receiving the first one or more instruction sets for operating 45 the first one or more instruction sets for operating the device
   the device from the one or more processor circuits or from include one or more instruction sets for operating an appli
   another one or more processor circuits . In further embodi- cation or an object of the application .
   ments, the execution of the first one or more instruction sets         In certain embodiments, the receiving the first one or
   for operating the device correlated with the first collection of more instruction sets for operating the device includes
   object representations is performed by the one or more 50 receiving the first one or more instruction sets for operating
   processor circuits or by another one or more processor the device from a processor circuit. In further embodiments ,
   circuits .                                                          the receiving the first one or more instruction sets for
      In some aspects , the disclosure relates to a method com- operating the device includes receiving the first one or more
   prising: (a ) receiving a first collection of object representa- instruction sets for operating the device as they are executed
   tions by a processor circuit , the first collection of object 55 by a processor circuit . In further embodiments, the receiving
   representations including one or more representations of the first one or more instruction sets for operating the device
   objects detected by a sensor. The method may further includes receiving the first one or more instruction sets for
   include : (b ) receiving a first one or more instruction sets for operating the device from a register or an element of a
   operating a device by the processor circuit . The method may processor circuit . In further embodiments, the receiving the
   further include: (c ) learning the first collection of object 60 first one or more instruction sets for operating the device
   representations correlated with the first one or more instruc- includes receiving the first one or more instruction sets for
   tion sets for operating the device, the learning of (c ) per- operating the device from an element that is part of, oper
   formed by the processor circuit. The method may further ating on, or coupled to a processor circuit . In further
   include : (d) receiving a new collection of object represen- embodiments, the receiving the first one or more instruction
   tations by the processor circuit, the new collection of object 65 sets for operating the device includes receiving the first one
   representations including one or more representations of or more instruction sets for operating the device from at least
   objects detected by the sensor. The method may further one of: the memory unit, the device, a virtual machine , a
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   runtime engine, a hard drive, a storage device, a peripheral operating the device being part of a plurality of collections
   device, a network connected device, or a user. In further of object representations correlated with one or more
   embodiments, the receiving the first one or more instruction instruction sets for operating the device stored in the
   sets for operating the device includes receiving the first one memory unit.
   or more instruction sets for operating the device from a 5 In certain embodiments , the executing the first one or
   plurality of processor circuits, applications, memory units , more instruction sets for operating the device correlated with
   devices, virtual machines , runtime engines, hard drives, the first collection of object representations includes execut
   storage devices , peripheral devices, network connected ing the first one or more instruction sets for operating the
   devices, or users .                                               device correlated with the first collection of object repre
      In some embodiments, the receiving the first one or more 10 sentations instead of or prior to an instruction set that would
                             2

   instruction sets for operating the device includes receiving have been executed next. In further embodiments, the
   the first one or more instruction sets for operating the device executing the first one or more instruction sets for operating
   from a logic circuit . In further embodiments, the logic circuit the device correlated with the first collection of object
   includes a microcontroller. In further embodiments, the representations includes modifying one or more instruction
   receiving the first one or more instruction sets for operating 15 sets of a processor circuit . In further embodiments, the
   the device from the logic circuit includes receiving the first executing the first one or more instruction sets for operating
   one or more instruction sets for operating the device from an the device correlated with the first collection of object
   element of the logic circuit. In further embodiments , the representations includes modifying a register or an element
   receiving the first one or more instruction sets for operating of a processor circuit . In further embodiments, the executing
   the device from the logic circuit includes receiving one or 20 the first one or more instruction sets for operating the device
   more inputs into the logic circuit . In further embodiments, correlated with the first collection of object representations
   the receiving the first one or more instruction sets for includes inserting the first one or more instruction sets for
   operating the device from the logic circuit includes receiving operating the device correlated with the first collection of
   one or more outputs from the logic circuit.                       object representations into a register or an element of a
      In certain embodiments, the receiving the first one or 25 processor circuit . In further embodiments, the executing the
   more instruction sets for operating the device includes first one or more instruction sets for operating the device
   receiving the first one or more instruction sets for operating correlated with the first collection of object representations
   the device from an application for operating the device. In includes redirecting a processor circuit to the first one or
   further embodiments, the receiving the first one or more more instruction sets for operating the device correlated with
   instruction sets for operating the device includes receiving 30 the first collection of object representations. In further
   the first one or more instruction sets for operating the device embodiments, the executing the first one or more instruction
   from an application, the application including instruction sets for operating the device correlated with the first collec
   sets for operating the device . In further embod ents , the tion of object representations includes redirecting a proces
   receiving the first one or more instruction sets for operating sor circuit to one or more alternate instruction sets , the
   the device includes at least one of: tracing, profiling, or 35 alternate instruction sets comprising
                                                                                                ?          the first one or more
   instrumentation of an element that is part of, operating on ,        instruction sets for operating the device correlated with the
   or coupled to a processor circuit. In further embodiments ,          first collection of object representations. In further embodi
   the receiving the first one or more instruction sets for             ments, the executing the first one or more instruction sets for
   operating the device includes at least one of: tracing, pro-         operating the device correlated with the first collection of
   filing, or instrumentation of a register of a processor circuit , 40 object representations includes transmitting, to a processor
   the memory unit, a storage, or a repository where the first circuit for execution , the first one or more instruction sets for
   one or more instruction sets for operating the device are operating the device correlated with the first collection of
   stored . In further embodiments, the receiving the first one or object representations. In further embodiments, the execut
   more instruction sets for operating the device includes at ing the first one or more instruction sets for operating the
   least one of: tracing, profiling, or instrumentation of a 45 device correlated with the first collection of object repre
   processor circuit, the device, a virtual machine , a runtime sentations includes issuing an interrupt to a processor circuit
   engine, an operating system , an execution stack, a program and executing the first one or more instruction sets for
   counter, or a processing element. In further embodiments , operating the device correlated with the first collection of
   the receiving the first one or more instruction sets for object representations following the interrupt . In further
   operating the device includes at least one of: tracing, pro- 50 embodiments, the executing the first one or more instruction
   filing, or instrumentation of a processor circuit or tracing, sets for operating the device correlated with the first collec
   profiling, or instrumentation of a component of a processor tion of object representations includes modifying an element
   circuit . In further embodiments , the receiving the first one or that is part of, operating on , or coupled to a processor circuit .
   more instruction sets for operating the device includes at             In some embodiments, the executing the first one or more
   least one of: tracing, profiling, or instrumentation of an 55 instruction sets for operating the device correlated with the
   application or an object of the application. In further first collection of object representations includes executing ,
   embodiments, the receiving the first one or more instruction by a logic circuit, the first one or more instruction sets for
                 >

   sets for operating the device includes receiving the first one operating the device correlated with the first collection of
   or more instruction sets for operating the device by an object representations. In further embodiments, the logic
   interface . The interface may include an acquisition interface . 60 circuit includes a microcontroller. In further embodiments,
      In some embodiments, the learning the first collection of the executing, by the logic circuit, the first one or more
   object representations correlated with the first one or more instruction sets for operating the device correlated with the
   instruction sets for operating the device includes storing the first collection of object representations includes modifying
   first collection of object representations correlated with the an element of the logic circuit. In further embodiments, the
   first one or more instruction sets for operating the device into 65 executing , by the logic circuit, the first one or more instruc
   a memory unit, the first collection of object representations tion sets for operating the device correlated with the first
   correlated with the first one or more instruction sets for           collection of object representations includes inserting the
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   first one or more instruction sets for operating the device          device, a virtual machine , a runtime engine, an operating
   correlated with the first collection of object representations       system , an execution stack , a program counter, or a user
   into an element of the logic circuit. In further embodiments,        input. In further embodiments, the executing the first one or
                                                                                                        >

   the executing, by the logic circuit, the first one or more           more instruction sets for operating the device correlated with
   instruction sets for operating the device correlated with the 5 the first collection of object representations includes modi
   first collection of object representations includes redirecting fying one or more instruction sets at a source code write
   the logic circuit to the first one or more instruction sets for time , a compile time , an interpretation time , a translation
   operating the device correlated with the first collection of time , a linking time , a loading time , or a runtime. In further
   object representations. In further embodiments, the execut- embodiments, the executing the first one or more instruction
   ing , by the logic circuit , the first one or more instruction sets 10 sets for operating the device correlated with the first collec
   for operating the device correlated with the first collection of tion of object representations includes modifying one or
   object representations includes replacing inputs into the more code segments, lines of code, statements , instructions,
   logic circuit with the first one or more instruction sets for       functions, routines, subroutines, or basic blocks . In further
   operating the device correlated with the first collection of        embodiments, the executing the first one or more instruction
   object representations. In further embodiments, the execut- 15 sets for operating the device correlated with the first collec
   ing , by the logic circuit , the first one or more instruction sets tion of object representations includes a manual, an auto
   for operating the device correlated with the first collection of matic , a dynamic, or a just in time (JIT ) instrumentation of
   object representations includes replacing outputs from the an application . In further embodiments, the executing the
   logic circuit with the first one or more instruction sets for first one or more instruction sets for operating the device
   operating the device correlated with the first collection of 20 correlated with the first collection of object representations
   object representations.                                             includes utilizing one or more of a .NET tool , a .NET
      In certain embodiments , the executing the first one or application programming interface ( API), a Java tool , a Java
   more instruction sets for operating the device correlated with API , an operating system tool , or an independent tool for
   the first collection of object representations includes execut- modifying instruction sets . In further embodiments, the
   ing , by an application for operating the device , the first one 25 executing the first one or more instruction sets for operating
   or more instruction sets for operating the device correlated the device correlated with the first collection of object
   with the first collection of object representations. In further representations includes utilizing at least one of: a dynamic ,
   embodiments , the executing the first one or more instruction an interpreted, or a scripting programming language. In
   sets for operating the device correlated with the first collec- further embodiments, the executing the first one or more
   tion of object representations includes modifying an appli- 30 instruction sets for operating the device correlated with the
   cation , the application including instruction sets for operat- first collection of object representations includes utilizing at
   ing the device . In further embodiments, the executing the least one of: a dynamic code , a dynamic class loading, or a
   first one or more instruction sets for operating the device reflection . In further embodiments, the executing the first
   correlated with the first collection of object representations one or more instruction sets for operating the device corre
   includes redirecting an application to the first one or more 35 lated with the first collection of object representations
   instruction sets for operating the device correlated with the includes utilizing an assembly language. In further embodi
   first collection of object representations. In further embodi- ments, the executing the first one or more instruction sets for
   ments, the executing the first one or more instruction sets for operating the device correlated with the first collection of
   operating the device correlated with the first collection of object representations includes utilizing at least one of: a
   object representations includes redirecting an application to 40 metaprogramming, a self-modifying code, or an instruction
   one or more alternate instruction sets, the alternate instruc- set modification tool . In further embodiments, the executing
   tion sets comprising the first one or more instruction sets for the first one or more instruction sets for operating the device
   operating the device correlated with the first collection of correlated with the first collection of object representations
   object representations. In further embodiments, the execut- includes utilizing at least one of: just in time ( JIT ) compil
   ing the first one or more instruction sets for operating the 45 ing , JIT interpretation , JIT translation , dynamic recompiling,
   device correlated with the first collection of object repre- or binary rewriting. In further embodiments, the executing
   sentations includes modifying one or more instruction sets the first one or more instruction sets for operating the device
   of an application. In further embodiments , the executing the correlated with the first collection of object representations
   first one or more instruction sets for operating the device includes utilizing at least one of: a dynamic expression
   correlated with the first collection of object representations 50 creation , a dynamic expression execution, a dynamic func
   includes modifying a source code , a bytecode , an interme- tion creation, or a dynamic function execution . In further
   diate code , a compiled code , an interpreted code , a translated embodiments , the executing the first one or more instruction
   code , a runtime code , an assembly code, or a machine code . sets for operating the device correlated with the first collec
   In further embodiments, the executing the first one or more tion of object representations includes adding or inserting
   instruction sets for operating the device correlated with the 55 additional code into a code of an application. In further
   first collection of object representations includes modifying embodiments, the executing the first one or more instruction
   at least one of: the memory unit, a register of a processor sets for operating the device correlated with the first collec
   circuit , a storage, or a repository where instruction sets are tion of object representations includes at least one of:
   stored or used . In further embodiments, the executing the modifying, removing , rewriting, or overwriting a code of an
   first one or more instruction sets for operating the device 60 application . In further embodiments, the executing the first
   correlated with the first collection of object representations one or more instruction sets for operating the device corre
   includes modifying one or more instruction sets for operat- lated with the first collection of object representations
   ing an application or an object of the application . In further includes at least one of: branching, redirecting, extending, or
   embodiments , the executing the first one or more instruction hot swapping a code of an application . The branching or
   sets for operating the device correlated with the first collec- 65 redirecting the code may include inserting at least one of: a
   tion of object representations includes modifying at least one branch , a jump, or a means for redirecting an execution . In
   of: an element of a processor circuit , an element of the further embodiments , the executing the first one or more
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   instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits, the
   first collection of object representations includes implement- first collection of object representations correlated with the
   ing a user's knowledge, style, or methodology of operating first one or more instruction sets for operating the device .
   the device in a circumstance. In further embodiments, the The operations may further comprise: receiving, by the first
   executing the first one or more instruction sets for operating 5 processor circuit of the one or more processor circuits , a new
   the device correlated with the first collection of object collection of object representations, the new collection of
   representations includes executing the first one or more object representations including one or more representations
   instruction sets for operating the device correlated with the of objects detected by the sensor. The operations may further
   first collection of object representations via an interface . The comprise: anticipating, by the first processor circuit of the
   interface may include a modification interface .                 10 one or more processor circuits , the first one or more instruc
      In certain embodiments, the operations of the non - tran- tion sets for operating the device correlated with the first
   sitory computer storage medium and / or the method further collection of object representations based on at least a partial
   comprise : receiving at least one extra information . In further match between the new collection of object representations
   embodiments , the operations of the non -transitory computer and the first collection of object representations. The opera
   storage medium and / or the method further comprise: learn- 15 tions may further comprise : causing, by the first processor
   ing the first collection of object representations correlated circuit of the one or more processor circuits , an execution ,
   with the at least one extra information .                           by a second processor circuit of the one or more processor
      In some embodiments, the operations of the non - transi- circuits, of the first one or more instruction sets for operating
   tory computer storage medium and /or the method further the device correlated with the first collection of object
   comprise : presenting, via a user interface , a user with an 20 representations, the causing performed in response to the
   option to execute the first one or more instruction sets for anticipating, by the first processor circuit of the one or more
   operating the device correlated with the first collection of processor circuits, the first one or more instruction sets for
   object representations.                                             operating the device correlated with the first collection of
      In certain embodiments, the operations of the non -tran- object representations based on at least a partial match
   sitory computer storage medium and / or the method further 25 between the new collection of object representations and the
   comprise : receiving, via a user interface, a user's selection first collection of object representations, wherein the device
   to execute the first one or more instruction sets for operating performs one or more operations defined by the first one or
   the device correlated with the first collection of object more instruction sets for operating the device correlated with
   representations.                                                    the first collection of object representations, the one or more
      In some embodiments, the operations of the non - transi- 30 operations by the device performed in response to the
   tory computer storage medium and /or the method further execution .
   comprise : rating the executed first one or more instruction           In some aspects , the disclosure relates to a method com
   sets for operating the device correlated with the first collec- prising: (a ) receiving a first collection of object representa
   tion of object representations.                                     tions by a first processor circuit, the first collection of object
      In certain embodiments, the operations of the non -tran- 35 representations including one or more representations of
   sitory computer storage medium and/ or the method further objects detected by a sensor. The method may further
   comprise : presenting, via a user interface, a user with an comprise: (b ) receiving a first one or more instruction sets
   option to cancel the execution of the executed first one or for operating a device by the first processor circuit. The
   more instruction sets for operating the device correlated with method may further comprise: ( c ) learning the first collec
   the first collection of object representations.                  40 tion of object representations correlated with the first one or
      In some embodiments, the operations of the non -transi- more instruction sets for operating the device, the learning
   tory computer storage medium and /or the method further of ( c ) performed by the first processor circuit. The method
   comprise : receiving, via an input device , a user's operating may further comprise : (d) receiving a new collection of
   directions, the user's operating directions for instructing a object representations by the first processor circuit, the new
   processor circuit on how to operate the device .                 45 collection of object representations including one or more
      In certain embodiments, the operations of the non - tran- representations of objects detected by the sensor. The
   sitory computer storage medium and / or the method further method may further comprise: (e ) anticipating the first one
   comprise : receiving a second collection of object represen- or more instruction sets for operating the device correlated
   tations , the second collection of object representations with the first collection of object representations based on at
   including one or more representations of objects detected by 50 least a partial match between the new collection of object
   the sensor ; receiving a second one or more instruction sets representations and the first collection of object representa
   for operating the device ; and learning the second collection tions , the anticipating of ( e) performed by the first processor
   of object representations correlated with the second one or circuit . The method may further comprise: ( f) executing, by
   more instruction sets for operating the device.                      a second processor circuit , the first one or more instruction
      In some aspects , the disclosure relates to a non - transitory 55 sets for operating the device correlated with the first collec
   computer storage medium having a computer program tion of object representations, the executing of ( f) performed
   stored thereon, the program including instructions that when in response to the anticipating of ( e) . The method may
   executed by one or more processor circuits cause the one or further comprise : ( g) performing, by the device, one or more
   more processor circuits to perform operations comprising : operations defined by the first one or more instruction sets
   receiving, by a first processor circuit of the one or more 60 for operating the device correlated with the first collection of
   processor circuits , a first collection of object representations, object representations, the one or more operations by the
   the first collection of object representations including one or device performed in response to the executing of ( f ).
   more representations of objects detected by a sensor. The               The operations or steps of the non - transitory computer
   operations may further comprise : receiving, by the first storage medium and / or the method may be performed by
   processor circuit of the one or more processor circuits, a first 65 any of the elements of the above described systems as
   one or more instruction sets for operating a device. The applicable . The non - transitory computer storage medium
   operations may further comprise : learning, by the first and / or the method may include any of the operations, steps ,
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   and embodiments of the above described systems, non-                the plurality of collections of object representations corre
   transitory computer storage media , and / or methods as appli-      lated with one or more instruction sets for operating the
   cable .                                                      device including a first collection of object representations
      In some aspects , the disclosure relates to a system for  correlated with a first one or more instruction sets for
   learning a device's circumstances for autonomous device 5 operating the device . The artificial intelligence unit may be
   operating. The system may be implemented at least in part further configured to : receive a new collection of object
   on one or more computing devices. In some embodiments, representations, the new collection of object representations
   the system comprises: a processor circuit configured to including one or more representations of objects detected by
   execute instruction sets for operating a device . The system the sensor. The artificial intelligence unit may be further
   may further comprise : a memory unit configured to store 10 configured to : anticipate the first one or more instruction sets
   data. The system may further comprise: a sensor configured for operating the device correlated with the first collection of
   to detect objects. The system may further comprise: an object representations based on at least a partial match
   artificial intelligence unit . The artificial intelligence unit between the new collection of object representations and the
   may be configured to : receive a first collection of object first collection of object representations. The artificial intel
   representations, the first collection of object representations 15 ligence unit may be further configured to : cause the proces
   including one or more representations of objects detected by sor circuit to execute the first one or more instruction sets for
   the sensor. The artificial intelligence unit may be further operating the device correlated with the first collection of
   configured to : receive a first one or more instruction sets for object representations, the causing performed in response to
   operating the device . The artificial intelligence unit may be the anticipating of the artificial intelligence unit, wherein the
   further configured to : learn the first collection of object 20 device performs one or more operations defined by the first
   representations correlated with the first one or more instruc- one or more instruction sets for operating the device corre
   tion sets for operating the device .                                lated with the first collection of object representations, the
      In some aspects , the disclosure relates to a non - transitory one or more operations performed in response to the execut
   computer storage medium having a computer program ing by the processor circuit .
   stored thereon , the program including instructions that when 25 In some aspects , the disclosure relates to a non -transitory
   executed by one or more processor circuits cause the one or computer storage medium having a computer program
   more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
   receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
   collection of object representations including one or more more processor circuits to perform operations comprising:
   representations of objects detected by a sensor. The opera- 30 accessing a memory unit that comprises a plurality of
   tions may further comprise : receiving a first one or more collections of object representations correlated with one or
   instruction sets for operating a device. The operations may more instruction sets for operating a device, the plurality of
   further comprise: learning the first collection of object collections of object representations correlated with one or
   representations correlated with the first one or more instruc- more instruction sets for operating the device including a
   tion sets for operating the device .                             35 first collection of object representations correlated with a
      In some aspects , the disclosure relates to a method com- first one or more instruction sets for operating the device .
   prising: (a ) receiving a first collection of object representa- The operations may further comprise: receiving a new
   tions by a processor circuit , the first collection of object collection of object representations, the new collection of
   representations including one or more representations of object representations including one or more representations
   objects detected by a sensor. The method may further 40 of objects detected by a sensor. The operations may further
   comprise : (b ) receiving a first one or more instruction sets comprise: anticipating the first one or more instruction sets
   for operating a device by the processor circuit . The method for operating the device correlated with the first collection of
   may further comprise : (c ) learning the first collection of object representations based on at least a partial match
   object representations correlated with the first one or more between the new collection of object representations and the
   instruction sets for operating the device , the learning of (c ) 45 first collection of object representations. The operations may
   performed by the processor circuit .                                further comprise: causing an execution of the first one or
      The operations or steps of the non - transitory computer more instruction sets for operating the device correlated with
   storage medium and / or the method may be performed by the first collection of object representations, the causing
   any of the elements of the above described systems as performed in response to the anticipating the first one or
   applicable. The non - transitory computer storage medium 50 more instruction sets for operating the device correlated with
   and / or the method may include any of the operations, steps,       the first collection of object representations based on at least
   and embodiments of the above described systems, non- a partial match between the new collection of object repre
   transitory computer storage media , and / or methods as appli- sentations and the first collection of object representations,
   cable .                                                             wherein the device performs one or more operations defined
      In some aspects , the disclosure relates to a system for 55 by the first one or more instruction sets for operating the
   using a device's circumstances for autonomous device oper- device correlated with the first collection of object repre
   ating. The system may be implemented at least in part on one sentations, the one or more operations by the device per
   or more computing devices. In some embodiments, the                 formed in response to the execution .
   system comprises: a processor circuit configured to execute           In some aspects , the disclosure relates to a method com
   instruction sets for operating a device. The system may 60 prising: (a) accessing a memory unit that comprises a
   further comprise: a memory unit configured to store data .          plurality of collections of object representations correlated
   The system may further comprise : a sensor configured to with one or more instruction sets for operating a device, the
   detect objects. The system may further comprise: an artifi- plurality of collections of object representations correlated
   cial intelligence unit . The artificial intelligence unit may be with one or more instruction sets for operating the device
   configured to : access the memory unit that comprises a 65 including a first collection of object representations corre
   plurality of collections of object representations correlated lated with a first one or more instruction sets for operating
   with one or more instruction sets for operating the device , the device, the accessing of ( a) performed by a processor
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   circuit . The method may further comprise: (b ) receiving a              the first stream of collections of object representations , the
   new collection of object representations by the processor                one or more operations performed in response to the execut
   circuit , the new collection of object representations includ-           ing by the processor circuit .
   ing one or more representations of objects detected by a         In certain embodiments, each collection of object repre
   sensor. The method may further comprise : (c ) anticipating 5 sentations includes one or more representations of objects
   the first one or more instruction sets for operating the device detected        by the sensor at a time . In further embodiments ,
   correlated with the first collection of object representations each collection of object representations includes one or
   based on at least a partial match between the new collection more      each
                                                                                 of object representations. In further embodiments,
                                                                                collection    of object representations includes or is
   of object representations and the first collection of object
   representations  , the anticipating of (c) performed by the 10 associated          with   a time stamp   , an order, the
                                                                                                                        , or first
                                                                                                                              a timestream
                                                                                                                                       relatedof
   processor circuit. The method may further comprise: (d) information                 . In further   embodiments
                                                                          collections of object representations includes one or more
   executing the first one or more instruction sets for operating collections           of representations of objects detected by the
   the device correlated with the first collection of object sensor over time               . In further embodiments, the new stream of
   representations  , the executing   of ( d ) performed   in response 15 collections of  object   representations includes one or more
   to the anticipating of (c ) . The method may further comprise: collections of representations of objects detected by the
   ( e) performing, by the device , one or more operations sensor over time . In further embodiments , the first or the
   defined by the first one or more instruction sets for operating new stream of collections of object representations includes
   the device correlated with the first collection of object one or more collections of representations of objects in the
   representations  , the onetoorthemore
   performed in response                   operations
                                     executing    of (dby
                                                        ). the device 20 the
                                                                          device's  surrounding. In further embodiments, the first or
                                                                               new stream of collections of object representations
       The operations or steps of the non -transitory computer includes one or more collections of representations of
   storage medium and / or the method may be performed by objects in a remote device's surrounding. In further embodi
   any of the elements of the above described systems as ments, an object representation of a stream of collections of
   applicable . The non -transitory computer storage medium 25 object representations includes one or more object proper
   and /or the method may include any of the operations, steps ,            ties . In further embodiments, the first or the new stream of
   and embodiments of the above described systems, non-                     collections of object representations includes one or more
   transitory computer storage media , and / or methods as appli-           object properties. In further embodiments, the first stream of
   cable .                                                                  collections of object representations includes a comparative
      In some aspects , the disclosure relates to a system for 30 stream of collections of object representations whose at least
   learning and using a device's circumstances for autonomous one portion can be used for comparisons with at least one
   device operating. The system may be implemented at least portion of streams of collections of object representations
   in part on one or more computing devices . In some embodi- subsequent to the first stream of collections of object rep
   ments , the system comprises: a processor circuit configured resentations, the streams of collections of object represen
   to execute instruction sets for operating a device . The system 35 tations subsequent to the first stream of collections of object
   may further comprise : a memory unit configured to store representations comprising the new stream of collections of
   data. The system may further comprise : a sensor configured object representations. In further embodiments, the first
   to detect objects. The system may further comprise: an stream of collections of object representations includes a
   artificial intelligence unit . The artificial intelligence unit comparative stream of collections of object representations
   may be configured to : receive a first stream of collections of 40 that can be used for comparisons with the new stream of
   object representations, the first stream of collections of collections of object representations. In further embodi
   object representations including one or more collections of ments, the new stream of collections of object representa
   representations of objects detected by the sensor . The arti- tions includes an anticipatory stream of collections of object
   ficial intelligence unit may be further configured to : receive representations whose correlated one or more instruction
   a first one or more instruction sets for operating the device . 45 sets can be used for anticipation of one or more instruction
   The artificial intelligence unit may be further configured to : sets to be executed by the processor circuit .
   learn the first stream of collections of object representations       In some embodiments, the first one or more instruction
   correlated with the first one or more instruction sets for sets for operating the device include one or more instruction
   operating the device . The artificial intelligence unit may be sets that temporally correspond to the first stream of collec
   further configured to : receive a new stream of collections of 50 tions of object representations. In further embodiments, the
   object representations, the new stream of collections of one or more instruction sets that temporally correspond to
   object representations including one or more collections of the first stream of collections of object representations
   representations of objects detected by the sensor. The arti- include one or more instruction sets executed at a time of
   ficial intelligence unit may be further configured to : antici- generating the first stream of collections of object represen
   pate the first one or more instruction sets for operating the 55 tations . In further embodiments , the one or more instruction
   device correlated with the first stream of collections of                sets that temporally correspond to the first stream of collec
   object representations based on at least a partial match                 tions of object representations include one or more instruc
   between the new stream of collections of object represen- tion sets executed prior to generating the first stream of
   tations and the first stream of collections of object repre- collections of object representations. In further embodi
   sentations. The artificial intelligence unit may be further 60 ments , the one or more instruction sets that temporally
   configured to : cause the processor circuit to execute the first correspond to the first stream of collections of object rep
   one or more instruction sets for operating the device corre- resentations include one or more instruction sets executed
   lated with the first stream of collections of object represen- within a threshold period of time prior to generating the first
   tations , the causing performed in response to the anticipating stream of collections of object representations. In further
   of the artificial intelligence unit, wherein the device per- 65 embodiments, the one or more instruction sets that tempo
                                                                                           >

   forms one or more operations defined by the first one or rally correspond to the first stream of collections of object
   more instruction sets for operating the device correlated with           representations include one or more instruction sets
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   executed subsequent to generating the first stream of col- instruction sets for operating the device stored in the
   lections of object representations. In further embodiments , memory unit . In further embodiments , the plurality of
   the one or more instruction sets that temporally correspond streams of collections of object representations correlated
   to the first stream of collections of object representations with one or more instruction sets for operating the device
   include one or more instruction sets executed within a 5 include a neural network , a graph, a collection of sequences,
   threshold period of time subsequent to generating the first a sequence, a collection of knowledge cells , a knowledge
   stream of collections of object representations. In further base , a knowledge structure, or a data structure . In further
   embodiments , the one or more instruction sets that tempo- embodiments , the plurality of streams of collections of
   rally correspond to the first stream of collections of object object representations correlated with one or more instruc
   representations include one or more instruction sets 10 tion sets for operating the device are organized into aa neural
   executed within a threshold period of time prior to gener- network, a graph , a collection of sequences, a sequence , a
   ating the first stream of collections of object representations collection of knowledge cells , a knowledgebase, a knowl
   or a threshold period of time subsequent to generating the edge structure , or a data structure. In further embodiments ,
   first stream of collections of object representations.            each stream of collections of object representations corre
      In certain embodiments, the first stream of collections of 15 lated with one or more instruction sets for operating the
   object representations correlated with the first one or more device of the plurality of streams of collections of object
   instruction sets for operating the device include a knowledge representations correlated with one or more instruction sets
   of how the device operated in a circumstance . In further for operating the device is included in a neuron , a node, a
   embodiments, the first stream of collections of object rep- vertex , or an element of a knowledgebase. The knowledge
   resentations correlated with the first one or more instruction 20 base may include aa neural network , a graph , a collection of
   sets for operating the device are included in a neuron , a sequences, a sequence, a collection of knowledge cells , a
   node, a vertex , or an element of a knowledgebase. In further knowledge structure, or a data structure. Some of the neu
   embodiments, the knowledgebase includes a neural net- rons, nodes , vertices , or elements may be interconnected . In
   work , a graph , a collection of sequences, a sequence , a further embodiments, the plurality of streams of collections
   collection of knowledge cells , a knowledge structure, or a 25 of object representations correlated with one or more
   data structure . In further embodiments, some of the neurons , instruction sets for operating the device include a user's
   nodes , vertices , or elements are interconnected . In further knowledge, style , or methodology of operating the device in
   embodiments, the first stream of collections of object rep- circumstances. In further embodiments, the plurality of
   resentations correlated with the first one or more instruction streams of collections of object representations correlated
   sets for operating the device are structured into a knowledge 30 with one or more instruction sets for operating the device are
   cell . In further embodiments, the knowledge cell is included stored on a remote computing device or a remote computing
   in a neuron , a node , a vertex , or an element of a knowl- system . In further embodiments, the plurality of streams of
   edgebase . The knowledgebase may include a neural net             collections of object representations correlated with one or
   work, a graph, a collection of sequences, a sequence , a more instruction sets for operating the device include an
   collection of knowledge cells , a knowledge structure, or a 35 artificial intelligence system for knowledge structuring, stor
   data structure. Some of the neurons , nodes , vertices , or ing , or representation. The artificial intelligence system for
   elements may be interconnected . In further embodiments, knowledge structuring, storing, or representation may
   the learning the first stream of collections of object repre- include at least one of: a deep learning system , a supervised
   sentations correlated with the first one or more instruction       learning system , an unsupervised learning system , a neural
   sets for operating the device includes correlating the first 40 network , a search - based system , an optimization - based sys
   stream of collections of object representations with the first     tem , a logic -based system , a fuzzy logic -based system , a
   one or more instruction sets for operating the device . In         tree -based system , graph - based system , a hierarchical
   further embodiments, the correlating the first stream of system , a symbolic system , a sub - symbolic system , an
   collections of object representations with the first one or evolutionary system , a genetic system , a multi-agent system ,
   more instruction sets for operating the device includes 45 a deterministic system , a probabilistic system , or a statistical
   generating a knowledge cell , the knowledge cell comprising system .
   the first stream of collections of object representations     In certain embodiments, the anticipating the first one or
   correlated with the first one or more instruction sets for         more instruction sets for operating the device correlated with
   operating the device . In further embodiments, the correlating     the first stream of collections of object representations based
   the first stream of collections of object representations with 50 on at least a partial match between the new stream of
   the first one or more instruction sets for operating the device collections of object representations and the first stream of
   includes structuring a knowledge of how the device operated collections of object representations includes comparing at
   in a circumstance . In further embodiments, the learning the least one portion of the new stream of collections of object
   first stream of collections of object representations corre- representations with at least one portion of the first stream of
   lated with the first one or more instruction sets for operating 55 collections of object representations. In further embodi
   the device includes learning a user's knowledge, style, or ments, the at least one portion of the new stream of collec
   methodology of operating the device in a circumstance .            tions of object representations include at least one collection
      In some embodiments, the learning the first stream of of object representations, at least one object representation ,
   collections of object representations correlated with the first or at least one object property of the new stream of collec
   one or more instruction sets for operating the device 60 tions of object representations. In further embodiments , the
   includes storing the first stream of collections of object at least one portion of the first stream of collections of object
   representations correlated with the first one or more instruc- representations include at least one collection of object
   tion sets for operating the device into the memory unit, the representations, at least one object representation, or at least
   first stream of collections of object representations corre- one object property of the first stream of collections of object
   lated with the first one or more instruction sets for operating 65 representations. In further embodiments , the anticipating the
   the device being part of a plurality of streams of collections first one or more instruction sets for operating the device
   of object representations correlated with one or more correlated with the first stream of collections of object
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   representations based on at least a partial match between the    of object representations and portions of the first stream of
   new stream of collections of object representations and the collections of object representations exceeds a threshold
   first stream of collections of object representations includes number or threshold percentage. In further embodiments, the
   comparing at least one collection of object representations determining that there is at least a partial match between the
   from the new stream of collections of object representations 5 new stream of collections of object representations and the
   with at least one collection of object representations from      first stream of collections of object representations includes
   the first stream of collections of object representations. In    determining that a number or a percentage of matching or
   further embodiments, the comparing at least one collection       partially matching collections of object representations from
   of object representations from the new stream of collections     the new stream of collections of object representations and
   of object representations with at least one collection of 10 from the first stream of collections of object representations
   object representations from the first stream of collections of exceeds a threshold number or threshold percentage. The
   object representations includes comparing at least one object matching or partially matching collections of object repre
   representation of the at least one collection of object repre- sentations from the new stream of collections of object
   sentations from the new stream of collections of object representations and from the first stream of collections of
   representations with at least one object representation of the 15 object representations may be determined factoring in at
   at least one collection of object representations from the first least one of: an importance of aa collection of object repre
   stream of collections of object representations. The compar- sentations, an order of ?a collection of object representations,
   ing at least one object representation of the at least one a threshold for a similarity in a collection of object repre
   collection of object representations from the new stream of sentations, or a threshold for aa difference in a collection of
   collections of object representations with at least one object 20 object representations. In further embodiments, the deter
   representation of the at least one collection of object repre- mining that there is at least a partial match between the new
   sentations from the first stream of collections of object stream of collections of object representations and the first
   representations may include comparing at least one object stream of collections of object representations includes
   property of the at least one object representation of the at determining that a number or a percentage of matching or
   least one collection of object representations from the new 25 partially matching object representations from the new
   stream of collections of object representations with at least stream of collections of object representations and from the
   one object property of the at least one object representation first stream of collections of object representations exceeds
   of the at least one collection of object representations from a threshold number or threshold percentage . The matching
   the first stream of collections of object representations.        or partially matching object representations from the new
      In some embodiments, the anticipating the first one or 30 stream of collections of object representations and from the
   more instruction sets for operating the device correlated with first stream of collections of object representations may be
   the first stream of collections of object representations based determined factoring in at least one of: an association of an
   on at least a partial match between the new stream of object representation with aa collection of object representa
   collections of object representations and the first stream of tions , a type of an object representation, an importance of an
   collections of object representations includes determining 35 object representation, a threshold for a similarity in an object
   that there is at least a partial match between the new stream representation, or a threshold for a difference in an object
   of collections of object representations and the first stream representation. In further embodiments , the determining that
   of collections of object representations. In further embodi-     there is at least a partial match between the new stream of
   ments, the determining that there is at least a partial match    collections of object representations and the first stream of
   between the new stream of collections of object represen- 40 collections of object representations includes determining
   tations and the first stream of collections of object repre- that a number or a percentage of matching or partially
   sentations includes determining that there is at least a partial matching object properties from the new stream of collec
   match between one or more portions of the new stream of tions of object representations and from the first stream of
   collections of object representations and one or more por- collections of object representations exceeds a threshold
   tions of the first stream of collections of object representa- 45 number or threshold percentage . The matching or partially
   tions . In further embodiments, the determining that there is matching object properties from the new stream of collec
   at least a partial match between the new stream of collec- tions of object representations and from the first stream of
   tions of object representations and the first stream of col- collections of object representations may be determined
   lections of object representations includes determining that factoring in at least one of: an association of an object
   a similarity between at least one portion of the new stream 50 property with an object representation, an association of an
   of collections of object representations and at least one object property with aa collection of object representations, a
   portion of the first stream of collections of object represen- category of an object property, an importance of an object
   tations exceeds a similarity threshold . In further embodi- property, a threshold for a similarity in an object property, or
   ments, the determining that there is at least a partial match a threshold for a difference in an object property . In further
                                                                                    a

   between the new stream of collections of object represen- 55 embodiments, determining that there is at least a partial
   tations and the first stream of collections of object repre- match between the new stream of collections of object
   sentations includes determining a substantial similarity representations and the first stream of collections of object
   between at least one portion of the new stream of collections representations includes determining that there is at least a
   of object representations and at least one portion of the first partial match between at least one collection of object
   stream of collections of object representations. The substan- 60 representations from the new stream of collections of object
   tial similarity may be achieved when a similarity between representations and at least one collection of object repre
   the at least one portion of the new stream of collections of sentations from the first stream of collections of object
   object representations and the at least one portion of the first representations. The determining that there is at least a
   stream of collections of object representations exceeds a partial match between at least one collection of object
   similarity threshold . The substantial similarity may be 65 representations from the new stream of collections of object
   achieved when a number or a percentage of matching or representations and at least one collection of object repre
   partially matching portions of the new stream of collections sentations from the first stream of collections of object
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                                33                                                                 34
   representations may include determining that there is at least     operating the device correlated with the first stream of
   a partial match between at least one object representation of    collections of object representations includes issuing an
   the at least one collection of object representations from the   interrupt to the processor circuit and executing the first one
   new stream of collections of object representations and at or more instruction sets for operating the device correlated
   least one object representation of the at least one collection 5 with the first stream of collections of object representations
   of object representations from the first stream of collections following the interrupt. In further embodiments, the causing
   of object representations. The determining that there is at the processor circuit to execute the first one or more instruc
   least a partial match between at least one object represen- tion sets for operating the device correlated with the first
   tation of the at least one collection of object representations stream of collections of object representations includes
   from the new stream of collections of object representations 10 modifying an element that is part of, operating on , or
   and at least one object representation of the at least one coupled to the processor circuit .
   collection of object representations from the first stream of       In certain embodiments, the processor circuit includes a
   collections of object representations may include determin- logic circuit , and wherein the causing the processor circuit
   ing that there is at least a partial match between at least one    to execute the first one or more instruction sets for operating
   object property of the at least one object representation of 15 the device correlated with the first stream of collections of
   the at least one collection of object representations from the     object representations includes causing the logic circuit to
   new stream of collections of object representations and at execute the first one or more instruction sets for operating
   least one object property of the at least one object repre- the device correlated with the first stream of collections of
   sentation of the at least one collection of object representa- object representations. In further embodiments, the logic
   tions from the first stream of collections of object represen- 20 circuit includes a microcontroller. In further embodiments ,
   tations .                                                         the causing the logic circuit to execute the first one or more
      In some embodiments , the causing the processor circuit to instruction sets for operating the device correlated with the
   execute the first one or more instruction sets for operating first stream of collections of object representations includes
   the device correlated with the first stream of collections of modifying an element of the logic circuit. In further embodi
   object representations includes causing the processor circuit 25 ments, the causing the logic circuit to execute the first one
   to execute the first one or more instruction sets for operating or more instruction sets for operating the device correlated
   the device correlated with the first stream of collections of with the first stream of collections of object representations
   object representations instead of or prior to an instruction set includes inserting the first one or more instruction sets for
   that would have been executed next. In further embodi-             operating the device correlated with the first stream of
   ments, the causing the processor circuit to execute the first 30 collections of object representations into an element of the
   one or more instruction sets for operating the device corre- logic circuit. In further embodiments, the causing the logic
   lated with the first stream of collections of object represen-     circuit to execute the first one or more instruction sets for
   tations includes modifying one or more instruction sets of operating the device correlated with the first stream of
   the processor circuit. In further embodiments, the causing collections of object representations includes redirecting the
   the processor circuit to execute the first one or more instruc- 35 logic circuit to the first one or more instruction sets for
   tion sets for operating the device correlated with the first operating the device correlated with the first stream of
   stream of collections of object representations includes collections of object representations. In further embodi
   modifying a register or an element of the processor circuit . ments, the causing the logic circuit to execute the first one
   In further embodiments , the causing the processor circuit to or more instruction sets for operating the device correlated
   execute the first one or more instruction sets for operating 40 with the first stream of collections of object representations
   the device correlated with the first stream of collections of includes replacing inputs into the logic circuit with the first
   object representations includes inserting the first one or one or more instruction sets for operating the device corre
   more instruction sets for operating the device correlated with lated with the first stream of collections of object represen
   the first stream of collections of object representations into tations . In further embodiments, the causing the logic circuit
   a register or an element of the processor circuit . In further 45 to execute the first one or more instruction sets for operating
   embodiments, the causing the processor circuit to execute the device correlated with the first stream of collections of
   the first one or more instruction sets for operating the device object representations includes replacing outputs from the
   correlated with the first stream of collections of object logic circuit with the first one or more instruction sets for
   representations includes redirecting the processor circuit to operating the device correlated with the first stream of
   the first one or more instruction sets for operating the device 50 collections of object representations.
   correlated with the first stream of collections of object             In some embodiments, the causing the processor circuit to
   representations. In further embodiments, the causing the execute the first one or more instruction sets for operating
   processor circuit to execute the first one or more instruction     the device correlated with the first stream of collections of
   sets for operating the device correlated with the first stream object representations includes causing an application for
   of collections of object representations includes redirecting 55 operating the device to execute the first one or more instruc
   the processor circuit to one or more alternate instruction sets , tion sets for operating the device correlated with the first
   the alternate instruction sets comprising the first one or more stream of collections of object representations, the applica
   instruction sets for operating the device correlated with the tion running on the processor circuit .
   first stream of collections of object representations. In fur-        In certain embodiments, the system further comprises : an
   ther embodiments, the causing the processor circuit to 60 application including instruction sets for operating the
   execute the first one or more instruction sets for operating device , the application running on the processor circuit ,
   the device correlated with the first stream of collections of wherein the causing the processor circuit to execute the first
   object representations includes transmitting, to the processor one or more instruction sets for operating the device corre
   circuit for execution , the first one or more instruction sets for lated with the first stream of collections of object represen
   operating the device correlated with the first stream of 65 tations includes modifying the application.
   collections of object representations. In further embodi-             In some embodiments , the causing the processor circuit to
   ments , the executing the first one or more instruction sets for execute the first one or more instruction sets for operating
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                                35                                                               36
   the device correlated with the first stream of collections of application programming interface (API), a Java tool , a Java
   object representations includes redirecting an application to API , an operating system tool , or an independent tool for
   the first one or more instruction sets for operating the device modifying instruction sets . In further embodiments, the
   correlated with the first stream of collections of object causing the processor circuit to execute the first one or more
   representations, the application running on the processors instruction sets for operating the device correlated with the
   circuit . In further embodiments , the causing the processor first stream of collections of object representations includes
   circuit to execute the first one or more instruction sets for utilizing at least one of: a dynamic, an interpreted, or a
   operating the device correlated with the first stream of scripting programming language. In further embodiments ,
   collections of object representations includes redirecting an the causing the processor circuit to execute the first one or
   application to one or more alternate instruction sets , the 10 more instruction sets for operating the device correlated with
   application running on the processor circuit, the alternate the first stream of collections of object representations
   instruction sets comprising the first one or more instruction includes utilizing at least one of: a dynamic code , a dynamic
   sets for operating the device correlated with the first stream class loading , or a reflection . In further embodiments, the
   of collections of object representations. In further embodi- causing the processor circuit to execute the first one or more
   ments, the causing the processor circuit to execute the first 15 instruction sets for operating the device correlated with the
   one or more instruction sets for operating the device corre- first stream of collections of object representations includes
   lated with the first stream of collections of object represen- utilizing an assembly language. In further embodiments, the
   tations includes modifying one or more instruction sets of an causing the processor circuit to execute the first one or more
   application, the application running on the processor circuit . instruction sets for operating the device correlated with the
   In further embodiments, the causing the processor circuit to 20 first stream of collections of object representations includes
   execute the first one or more instruction sets for operating utilizing at least one of: a metaprogramming, a self-modi
   the device correlated with the first stream of collections of fying code , or an instruction set modification tool . In further
   object representations includes modifying a source code , a embodiments, the causing the processor circuit to execute
   bytecode , an intermediate code, a compiled code , an inter- the first one or more instruction sets for operating the device
   preted code , a translated code , a runtime code , an assembly 25 correlated with the first stream of collections of object
   code , or a machine code . In further embodiments, the representations includes utilizing at least one of: just in time
   causing the processor circuit to execute the first one or more (JIT ) compiling, JIT interpretation , JIT translation , dynamic
   instruction sets for operating the device correlated with the recompiling, or binary rewriting. In further embodiments ,
   first stream of collections of object representations includes the causing the processor circuit to execute the first one or
   modifying at least one of: the memory unit, a register of the 30 more instruction sets for operating the device correlated with
   processor circuit, a storage , or a repository where instruction the first stream of collections of object representations
   sets are stored or used . In further embodiments, the causing includes utilizing at least one of: a dynamic expression
   the processor circuit execute the first one or more instruc-  creation, a dynamic expression execution, a dynamic func
   tion sets for operating the device correlated with the first tion creation, or a dynamic function execution . In further
   stream of collections of object representations includes 35 embodiments, the causing the processor circuit to execute
   modifying one or more instruction sets for operating an the first one or more instruction sets for operating the device
   application or an object of the application, the application correlated with the first stream of collections of object
   running on the processor circuit . In further embodiments, the representations includes adding or inserting additional code
   causing the processor circuit to execute the first one or more into a code of an application, the application running on the
   instruction sets for operating the device correlated with the 40 processor circuit. In further embodiments, the causing the
   first stream of collections of object representations includes processor circuit to execute the first one or more instruction
   modifying at least one of: an element of the processor sets for operating the device correlated with the first stream
   circuit , an element of the device , a virtual machine , a of collections of object representations includes at least one
   runtime engine, an operating system , an execution stack , a of modifying , removing, rewriting, or overwriting a code of
   program counter, or a user input. In further embodiments, 45 an application, the application running on the processor
   the causing the processor circuit to execute the first one or circuit. In further embodiments, the causing the processor
   more instruction sets for operating the device correlated with circuit to execute the first one or more instruction sets for
   the first stream of collections of object representations operating the device correlated with the first stream of
   includes modifying one or more instruction sets at a source collections of object representations includes at least one of:
   code write time , a compile time , an interpretation time , a 50 branching, redirecting, extending, or hot swapping a code of
   translation time , a linking time , a loading time , or a runtime. an application, the application running on the processor
   In further embodiments, the causing the processor circuit to circuit. The branching or redirecting the code may include
   execute the first one or more instruction sets for operating inserting at least one of: a branch, a jump, or a means for
   the device correlated with the first stream of collections of     redirecting an execution . In further embodiments, the
   object representations includes modifying one or more code 55 executing the first one or more instruction sets for operating
   segments, lines of code , statements, instructions, functions,    the device correlated with the first stream of collections of
   routines, subroutines, or basic blocks . In further embodi- object representations includes implementing a user's
   ments, the causing the processor circuit to execute the first knowledge, style, or methodology of operating the device in
   one or more instruction sets for operating the device corre- a circumstance.
   lated with the first stream of collections of object represen- 60 In certain embodiments, the system further comprises : an
   tations includes a manual, an automatic , a dynamic, or a just interface configured to cause execution of instruction sets ,
   in time (JIT ) instrumentation of an application , the applica- wherein the executing the first one or more instruction sets
   tion running on the processor circuit . In further embodi- for operating the device correlated with the first stream of
   ments, the causing the processor circuit to execute the first collections of object representations is caused by the inter
   one or more instruction sets for operating the device corre- 65 face . The interface may include aa modification interface .
   lated with the first stream of collections of object represen-     In some embodiments , the performing the one or more
   tations includes utilizing one or more of a .NET tool , a .NET operations defined by the first one or more instruction sets
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   for operating the device correlated with the first stream of     an extra information correlated with the first stream of
   collections of object representations includes implementing      collections of object representations may include determin
   a user's knowledge, style , or methodology of operating the      ing that a similarity between an extra information correlated
   device in a circumstance .                                       with the new stream of collections of object representations
      In certain embodiments , the system further comprises: an 5 and an extra information correlated with the first stream of
   application running on the processor circuit.                    collections of object representations exceeds a similarity
      In some embodiments , the instruction sets for operating threshold
   the device are part of an application for operating the device ,    In certain embodiments, the system further comprises : a
   the application running on the processor circuit .
      In certain embodiments , the system further comprises: an 10 furtherinterface
                                                                    user            , wherein the artificial intelligence unit is
                                                                             configured to : cause the user interface to present a
   application for operating the device, the application running user
   on the processor circuit. The application for operating the tion with  sets
                                                                               an option to execute the first one or more instruc
                                                                               for operating the device correlated with the first
   device may include the instruction sets for operating the stream of collections          of object representations.
   device.
      In some embodiments , the artificial intelligence unit is 15     In  some  embodiments   , the system further comprises : a
   further configured to : receive at least one extra information . user interface , wherein the artificial intelligence unit is
   In further embodiments, the at least one extra information further configured to : receive, via the user interface, a user's
   include one or more of: a time information, a location selection to execute the first one or more instruction sets for
   information , a computed information , or a contextual infor- operating the device correlated with the first stream of
   mation . In further embodiments, the at least one extra 20 collections of object representations.
   information include one or more of: an information on an              In certain embodiments, the artificial intelligence unit is
   object, an information on an object representation, an infor- further configured to : rate the executed first one or more
   mation on a collection of object representations, an infor- instruction sets for operating the device correlated with the
   mation on a stream of collections of object representations, first stream of collections of object representations. The
   an information on a device's circumstance, an information 25 rating the executed first one or more instruction sets for
   on an instruction set , an information on an application, an operating the device correlated with the first stream of
   information on the processor circuit, an information on the collections of object representations may include causing a
   device , or an information on an user . In further embodi- user interface to display the executed first one or more
   ments, the artificial intelligence unit is further configured to : instruction sets for operating the device correlated with the
   learn the first stream of collections of object representations 30 first stream of collections of object representations along
   correlated with the at least one extra information . The with one or more rating values as options to be selected by
   learning the first stream of collections of object representa- a user . The rating the executed first one or more instruction
   tions correlated with at least one extra information may sets for operating the device correlated with the first stream
   include correlating the first stream of collections of object of collections of object representations may include rating
   representations with the at least one extra information . The 35 the executed first one or more instruction sets for operating
   learning the first stream of collections of object representa- the device correlated with the first stream of collections of
   tions correlated with at least one extra information may object representations without a user input.
   include storing the first stream of collections of object             In some embodiments, the system further comprises: a
   representations correlated with the at least one extra infor- user interface, wherein the artificial intelligence unit is
   mation into the memory unit. In further embodiments, the 40 further configured to : cause the user interface to present a
   anticipating the first one or more instruction sets for oper- user with an option to cancel the execution of the executed
   ating the device correlated with the first stream of collec- first one or more instruction sets for operating the device
   tions of object representations based on at least a partial correlated with the first stream of collections of object
   match between the new stream of collections of object representations. In further embodiments, the canceling the
   representations and the first stream of collections of object 45 execution of the executed first one or more instruction sets
   representations includes anticipating the first one or more for operating the device correlated with the first stream of
   instruction sets for operating the device correlated with the collections of object representations includes restoring the
   first stream of collections of object representations based on processor circuit or the device to a prior state . The restoring
   at least a partial match between an extra information corre- the processor circuit or the device to a prior state may
   lated with the new stream of collections of object represen- 50 include saving the state of the processor circuit or the device
   tations and an extra information correlated with the first prior to executing the first one or more instruction sets for
   stream of collections of object representations. The antici- operating the device correlated with the first stream of
   pating the first one or more instruction sets for operating the collections of object representations.
   device correlated with the first stream of collections of            In certain embodiments, the system further comprises : an
   object representations based on at least a partial match 55 input device configured to receive a user's operating direc
   between an extra information correlated with the new stream       tions , the user's operating directions for instructing the
   of collections of object representations and an extra infor- processor circuit on how to operate the device . In some
   mation correlated with the first stream of collections of embodiments , the autonomous device operating includes a
   object representations may include comparing an extra partially or a fully autonomous device operating. The par
   information correlated with the new stream of collections of 60 tially autonomous device operating may include executing
   object representations and an extra information correlated the first one or more instruction sets for operating the device
   with the first stream of collections of object representations. correlated with the first stream of collections of object
   The anticipating the first one or more instruction sets for representations responsive to a user confirmation . The fully
   operating the device correlated with the first stream of autonomous device operating may include executing the first
   collections of object representations based on at least a 65 one or more instruction sets for operating the device corre
   partial match between an extra information correlated with lated with the first stream of collections of object represen
   the new stream of collections of object representations and tations without a user confirmation .
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     In certain embodiments, the artificial intelligence unit is      with the second one or more instruction sets for operating
   further configured to : receive a second stream of collections the device may include creating a connection between the
   of object representations, the second stream of collections of first node and the second node . The learning the first stream
   object representations including one or more collections of of collections of object representations correlated with the
   representations of objects detected by the sensor ; receive a 5 first one or more instruction sets for operating the device and
   second one or more instruction sets for operating the device ; the learning the second stream of collections of object
   and learn the second stream of collections of object repre- representations correlated with the second one or more
   sentations correlated with the second one or more instruction instruction sets for operating the device may include updat
   sets for operating the device . In further embodiments , the ing a connection between the first node and the second node .
   second stream of collections of object representations 10 In further embodiments, the first stream of collections of
   includes one or more collections of representations of object representations correlated with the first one or more
   objects detected by the sensor over time . In further embodi- instruction sets for operating the device is stored into a first
   ments, the second stream of collections of object represen- node of a neural network and the second stream of collec
   tations includes or is associated with aa time stamp, an order, tions of object representations correlated with the second
   or a time related information . In further embodiments, the 15 one ora more instruction sets for operating the device is stored
   learning the first stream of collections of object representa- into a second node of the neural network . The first node and
   tions correlated with the first one or more instruction sets for the second node may be connected by a connection . The first
   operating the device and the learning the second stream of node may be part of a first layer of the neural network and
   collections of object representations correlated with the the second node may be part of a second layer of the neural
   second one or more instruction sets for operating the device 20 network . In further embodiments, the first stream of collec
   include creating a connection between the first stream of tions of object representations correlated with the first one or
   collections of object representations correlated with the first more instruction sets for operating the device is stored into
   one or more instruction sets for operating the device and the a first node of a graph and the second stream of collections
   second stream of collections of object representations cor- of object representations correlated with the second one or
   related with the second one or more instruction sets for 25 more instruction sets for operating the device is stored into
   operating the device . The connection may include or is a second node of the graph. The first node and the second
   associated with at least one of : an occurrence count, a node may be connected by a connection . In further embodi
   weight, a parameter, or a data . In further embodiments , the ments, the first stream of collections of object representa
   learning the first stream of collections of object representa- tions correlated with the first one or more instruction sets for
   tions correlated with the first one or more instruction sets for 30 operating the device is stored into a first node of a sequence
   operating the device and the learning the second stream of and the second stream of collections of object representa
   collections of object representations correlated with the tions correlated with the second one or more instruction sets
   second one or more instruction sets for operating the device for operating the device is stored into a second node of the
   include updating a connection between the first stream of sequence .
   collections of object representations correlated with the first 35 In some aspects , the disclosure relates to a non - transitory
   one or more instruction sets for operating the device and the computer storage medium having a computer program
   second stream of collections of object representations cor- stored thereon , the program including instructions that when
   related with the second one or more instruction sets for executed by one or more processor circuits cause the one or
   operating the device . In further embodiments, the updating more processor circuits to perform operations comprising:
   the connection between the first stream of collections of 40 receiving a first stream of collections of object representa
   object representations correlated with the first one or more tions , the first stream of collections of object representations
   instruction sets for operating the device and the second including one or more collections of representations of
   stream of collections of object representations correlated objects detected by a sensor. The operations may further
   with the second one or more instruction sets for operating comprise: receiving a first one or more instruction sets for
   the device includes updating at least one of: an occurrence 45 operating a device . The operations may further comprise :
   count, a weight, a parameter, or a data included in or learning the first stream of collections of object representa
   associated with the connection . In further embodiments, the       tions correlated with the first one or more instruction sets for
   learning the first stream of collections of object representa- operating the device . The operations may further comprise :
   tions correlated with the first one or more instruction sets for receiving a new stream of collections of object representa
   operating the device includes storing the first stream of 50 tions , the new stream of collections of object representations
   collections of object representations correlated with the first including one or more collections of representations of
   one or more instruction sets for operating the device into a       objects detected by the sensor . The operations may further
   first node of a knowledgebase, and wherein the learning the        comprise: anticipating the first one or more instruction sets
   second stream of collections of object representations cor-        for operating the device correlated with the first stream of
   related with the second one or more instruction sets for 55 collections of object representations based on at least a
   operating the device includes storing the second stream of partial match between the new stream of collections of
   collections of object representations correlated with the object representations and the first stream of collections of
   second one or more instruction sets for operating the device object representations. The operations may further com
   into a second node of the knowledgebase. The knowledge- prise: causing an execution of the first one or more instruc
   base may include aa neural network , a graph , a collection of 60 tion sets for operating the device correlated with the first
   sequences, a sequence , a collection of knowledge cells , a stream of collections of object representations, the causing
   knowledge structure, or a data structure . In further embodi- performed in response to the anticipating the first one or
   ments, the knowledgebase may be stored in the memory more instruction sets for operating the device correlated with
   unit . The learning the first stream of collections of object the first stream of collections of object representations based
   representations correlated with the first one or more instruc- 65 on at least a partial match between the new stream of
   tion sets for operating the device and the learning the second collections of object representations and the first stream of
   stream of collections of object representations correlated collections of object representations, wherein the device
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   performs one or more operations defined by the first one or tion sets for operating the device into a memory unit , the first
   more instruction sets for operating the device correlated with stream of collections of object representations correlated
   the first stream of collections of object representations, the with the first one or more instruction sets for operating the
   one or more operations by the device performed in response device being part of a plurality of streams of collections of
   to the execution .                                            5 object representations correlated with one or more instruc
      In certain embodiments, the receiving the first one or tion sets for operating the device stored in the memory unit.
   more instruction sets for operating the device includes           In some embodiments, the executing the first one or more
   receiving the first one or more instruction sets for operating instruction sets for operating the device correlated with the
   the device from the one or more processor circuits or from first stream of collections of object representations includes
   another one or more processor circuits . In further embodi- 10 executing the first one or more instruction sets for operating
   ments, the execution of the first one or more instruction sets the device correlated with the first stream of collections of
   for operating the device correlated with the first stream of object representations instead of or prior to an instruction set
   collections of object representations is performed by the one that would have been executed next. In further embodi
   or more processor circuits or by another one or more ments, the executing the first one or more instruction sets for
   processor circuits.                                          15 operating the device correlated with the first stream of
      In some aspects , the disclosure relates to a method com- collections of object representations includes modifying one
   prising: (a ) receiving a first stream of collections of object or more instruction sets of a processor circuit . In further
   representations by a processor circuit , the first stream of embodiments , the executing the first one or more instruction
   collections of object representations including one or more sets for operating the device correlated with the first stream
   collections of representations of objects detected by a sen- 20 of collections of object representations includes modifying a
   sor. The method may further comprise : ( b ) receiving a first register or an element of a processor circuit . In further
   one or more instruction sets for operating a device by the embodiments, the executing the first one or more instruction
   processor circuit . The method may further comprise: (c ) sets for operating the device correlated with the first stream
   learning the first stream of collections of object representa- of collections of object representations includes inserting the
   tions correlated with the first one or more instruction sets for 25 first one or more instruction sets for operating the device
   operating the device, the learning of ( c ) performed by the correlated with the first stream of collections of object
   processor circuit . The method may further comprise : (d) representations into a register or an element of a processor
   receiving a new stream of collections of object representa- circuit. In further embodiments, the executing the first one or
   tions by the processor circuit, the new stream of collections more instruction sets for operating the device correlated with
   of object representations including one or more collections 30 the first stream of collections of object representations
   of representations of objects detected by the sensor. The includes redirecting a processor circuit to the first one or
   method may further comprise: ( e) anticipating the first one more instruction sets for operating the device correlated with
   or more instruction sets for operating the device correlated the first stream of collections of object representations. In
   with the first stream of collections of object representations further embodiments, the executing the first one or more
   based on at least a partial match between the new stream of 35 instruction sets for operating the device correlated with the
   collections of object representations and the first stream of first stream of collections of object representations includes
   collections of object representations, the anticipating of ( e ) redirecting a processor circuit to one or more alternate
   performed by the processor circuit. The method may further instruction sets , the alternate instruction sets comprising the
   comprise : ( f) executing the first one or more instruction sets first one or more instruction sets for operating the device
   for operating the device correlated with the first stream of 40 correlated with the first stream of collections of object
   collections of object representations, the executing of ( f) representations. In further embodiments, the executing the
   performed in response to the anticipating of ( e) . The method first one or more instruction sets for operating the device
   may further comprise: ( g) performing, by the device, one or correlated with the first stream of collections of object
   more operations defined by the first one or more instruction representations includes transmitting, to a processor circuit
   sets for operating the device correlated with the first stream 45 for execution, the first one or more instruction sets for
   of collections of object representations, the one or more operating the device correlated with the first stream of
   operations by the device performed in response to the collections of object representations. In further embodi
   executing of ( f ).                                               ments, the executing the first one or more instruction sets for
      In some embodiments, the receiving of ( b ) includes operating the device correlated with the first stream of
   receiving the first one or more instruction sets for operating 50 collections of object representations includes issuing an
   the device from the processor circuit or from another pro- interrupt to a processor circuit and executing the first one or
   cessor circuit. In further embodiments, the executing of ( f) more instruction sets for operating the device correlated with
   is performed by the processor circuit or by another processor the first stream of collections of object representations
   circuit .                                                         following the interrupt. In further embodiments, the execut
     The operations or steps of the non -transitory computer 55 ing the first one or more instruction sets for operating the
   storage medium and / or the method may be performed by device correlated with the first stream of collections of
   any of the elements of the above described systems as object representations includes modifying an element that is
   applicable. The non - transitory computer storage medium part of, operating on , or coupled to a processor circuit.
   and /or the method may include any of the operations, steps , In certain embodiments, the executing the first one or
   and embodiments of the above described systems, non- 60 more instruction sets for operating the device correlated with
   transitory computer storage media , and / or methods as appli- the first stream of collections of object representations
   cable as well as the following embodiments.                     includes executing, by a logic circuit, the first one or more
      In certain embodiments, the learning the first stream of instruction sets for operating the device correlated with the
   collections of object representations correlated with the first first stream of collections of object representations. In fur
   one or more instruction sets for operating the device 65 ther embodiments, the logic circuit includes a microcon
   includes storing the first stream of collections of object         troller. In further embodiments , the executing, by the logic
   representations correlated with the first one or more instruc-     circuit, the first one or more instruction sets for operating the
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                                                       US 11,238,344 B1
                             43                                                                      44
   device correlated with the first stream of collections of          sets are stored or used . In further embodiments, the execut
   object representations includes modifying an element of the        ing the first one or more instruction sets for operating the
   logic circuit . In further embodiments, the executing, by the      device correlated with the first stream of collections of
   logic circuit , the first one or more instruction sets for object representations includes modifying one or more
   operating the device correlated with the first stream of 5 instruction sets for operating an application or an object of
   collections of object representations includes inserting the       the application. In further embodiments, the executing the
   first one or more instruction sets for operating the device        first one or more instruction sets for operating the device
   correlated with the first stream of collections of object          correlated with the first stream of collections of object
   representations into an element of the logic circuit. In further representations includes modifying at least one of: an ele
   embodiments, the executing, by the logic circuit , the first 10 ment of a processor circuit , an element of the device , a
   one or more instruction sets for operating the device corre-       virtual machine , a runtime engine, an operating system , an
   lated with the first stream of collections of object represen-     execution stack , a program counter, or a user input. In
   tations includes redirecting the logic circuit to the first one    further embodiments, the executing the first one or more
   or more instruction sets for operating the device correlated       instruction sets for operating the device correlated with the
   with the first stream of collections of object representations. 15 first stream of collections of object representations includes
   In further embodiments , the executing, by the logic circuit, modifying one or more instruction sets at a source code write
   the first one or more instruction sets for operating the device time , a compile time , an interpretation time , a translation
   correlated with the first stream of collections of object time , a linking time , a loading time , or a runtime. In further
   representations includes replacing inputs into the logic cir- embodiments, the executing the first one or more instruction
   cuit with the first one or more instruction sets for operating 20 sets for operating the device correlated with the first stream
   the device correlated with the first stream of collections of of collections of object representations includes modifying
   object representations. In further embodiments, the execut- one or more code segments , lines of code , statements,
   ing , by the logic circuit , the first one or more instruction sets instructions, functions, routines, subroutines, or basic
   for operating the device correlated with the first stream of blocks . In further embodiments, the executing the first one
   collections of object representations includes replacing out- 25 or more instruction sets for operating the device correlated
   puts from the logic circuit with the first one or more with the first stream of collections of object representations
   instruction sets for operating the device correlated with the includes a manual, an automatic, a dynamic, or a just in time
   first stream of collections of object representations.              (JIT ) instrumentation of an application . In further embodi
      In some embodiments , the executing the first one or more ments, the executing the first one or more instruction sets for
   instruction sets for operating the device correlated with the 30 operating the device correlated with the first stream of
   first stream of collections of object representations includes collections of object representations includes utilizing one or
   executing, by an application for operating the device , the more of a .NET tool , a .NET application programming
   first one or more instruction sets for operating the device interface ( API), a Java tool , a Java API , an operating system
   correlated with the first stream of collections of object tool , or an independent tool for modifying instruction sets .
   representations. In further embodiments, the executing the 35 In further embodiments , the executing the first one or more
   first one or more instruction sets for operating the device instruction sets for operating the device correlated with the
   correlated with the first stream of collections of object first stream of collections of object representations includes
   representations includes modifying an application, the appli- utilizing at least one of: a dynamic, an interpreted, or a
   cation including instruction sets for operating the device . In scripting programming language. In further embodiments ,
   further embodiments, the executing the first one or more 40 the executing the first one or more instruction sets for
   instruction sets for operating the device correlated with the operating the device correlated with the first stream of
   first stream of collections of object representations includes collections of object representations includes utilizing at
   redirecting an application to the first one or more instruction least one of: a dynamic code , a dynamic class loading, or a
   sets for operating the device correlated with the first stream reflection . In further embodiments , the executing the first
   of collections of object representations. In further embodi- 45 one or more instruction sets for operating the device corre
   ments, the executing the first one or more instruction sets for lated with the first stream of collections of object represen
   operating the device correlated with the first stream of tations includes utilizing an assembly language. In further
   collections of object representations includes redirecting an embodiments, the executing the first one or more instruction
   application to one or more alternate instruction sets , the sets for operating the device correlated with the first stream
   alternate instruction sets comprising the first one or more 50 of collections of object representations includes utilizing at
   instruction sets for operating the device correlated with the least one of: a metaprogramming, a self-modifying code , or
   first stream of collections of object representations. In fur- an instruction set modification tool . In further embodiments ,
   ther embodiments, the executing the first one or more the executing the first one or more instruction sets for
   instruction sets for operating the device correlated with the operating the device correlated with the first stream of
   first stream of collections of object representations includes 55 collections of object representations includes utilizing at
   modifying one or more instruction sets of an application . In least one of:just in time (JIT ) compiling, JIT interpretation,
   further embodiments, the executing the first one or more JIT translation, dynamic recompiling, or binary rewriting. In
   instruction sets for operating the device correlated with the further embodiments, the executing the first one or more
   first stream of collections of object representations includes instruction sets for operating the device correlated with the
   modifying a source code , a bytecode, an intermediate code, 60 first stream of collections of object representations includes
   a compiled code , an interpreted code , a translated code , a utilizing at least one of a dynamic expression creation , a
   runtime code, an assembly code , or a machine code . In dynamic expression execution , a dynamic function creation ,
   further embodiments, the executing the first one or more or a dynamic function execution . In further embodiments ,
   instruction sets for operating the device correlated with the the executing the first one or more instruction sets for
   first stream of collections of object representations includes 65 operating the device correlated with the first stream of
   modifying at least one of: the memory unit , a register of a collections of object representations includes adding or
   processor circuit, a storage , or a repository where instruction inserting additional code into a code of an application. In
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                                45                                                                  46
   further embodiments, the executing the first one or more           representations correlated with the second one or more
   instruction sets for operating the device correlated with the      instruction sets for operating the device .
   first stream of collections of object representations includes        In some aspects , the disclosure relates to a non -transitory
   at least one of: modifying, removing, rewriting, or overwrit- computer storage medium having a computer program
   ing a code of an application. In further embodiments, the 5 stored thereon , the program including instructions that when
   executing the first one or more instruction sets for operating     executed by one or more processor circuits cause the one or
   the device correlated with the first stream of collections of      more processor circuits to perform operations comprising :
   object representations includes at least one of: branching,        receiving, by a first processor circuit of the one or more
   redirecting, extending, or hot swapping a code of an appli-        processor circuits , a first stream of collections of object
   cation . The branching or redirecting the code may include 10 representations, the first stream of collections of object
   inserting at least one of: a branch , a jump, or a means for representations including one or more collections of repre
   redirecting an execution . In further embodiments, the sentations of objects detected by a sensor. The operations
   executing the first one or more instruction sets for operating may further comprise: receiving , by the first processor
   the device correlated with the first stream of collections of      circuit of the one or more processor circuits , a first one or
   object representations includes implementing a user's 15 more instruction sets for operating a device . The operations
   knowledge, style, or methodology of operating the device in may further comprise : learning, by the first processor circuit
   a circumstance . In further embodiments , the executing the of the one or more processor circuits , the first stream of
   first one or more instruction sets for operating the device collections of object representations correlated with the first
   correlated with the first stream of collections of object one or more instruction sets for operating the device. The
   representations includes executing the first one or more 20 operations may further comprise : receiving, by the first
   instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits , a new
   first stream of collections of object representations via an stream of collections of object representations, the new
   interface . The interface may include a modification inter- stream of collections of object representations including one
   face.                                                              or more collections of representations of objects detected by
      In certain embodiments, the operations of the non - tran- 25 the sensor. The operations may further comprise: anticipat
   sitory computer storage medium and / or the method further ing , by the first processor circuit of the one or more
   comprise : receiving at least one extra information . In further processor circuits, the first one or more instruction sets for
   embodiments , the operations of the non - transitory computer operating the device correlated with the first stream of
   storage medium and / or the method further comprise: learn- collections of object representations based on at least a
   ing the first stream of collections of object representations 30 partial match between the new stream of collections of
   correlated with the at least one extra information .               object representations and the first stream of collections of
      In some embodiments, the operations of the non - transi- object representations. The operations may further com
   tory computer storage medium and / or the method further prise : causing, by the first processor circuit of the one or
   comprise : presenting, via a user interface , a user with an more processor circuits, an execution , by a second processor
   option to execute the first one or more instruction sets for 35 circuit of the one or more processor circuits , of the first one
   operating the device correlated with the first stream of or more instruction sets for operating the device correlated
   collections of object representations.                             with the first stream of collections of object representations,
      In certain embodiments, the operations of the non -tran- the causing performed in response to the anticipating, by the
   sitory computer storage medium and / or the method further first processor circuit of the one or more processor circuits,
   comprise : receiving, via a user interface , a user's selection 40 the first one or more instruction sets for operating the device
   to execute the first one or more instruction sets for operating correlated with the first stream of collections of object
   the device correlated with the first stream of collections of representations based on at least a partial match between the
   object representations.                                            new stream of collections of object representations and the
      In some embodiments, the operations of the non - transi- first stream of collections of object representations, wherein
   tory computer storage medium and / or the method further 45 the device performs one or more operations defined by the
   comprise : rating the executed first one or more instruction first one or more instruction sets for operating the device
   sets for operating the device correlated with the first stream correlated with the first stream of collections of object
   of collections of object representations.                          representations, the one or more operations by the device
      In certain embodiments, the operations of the non -tran- performed in response to the execution .
   sitory computer storage medium and / or the method further 50 In some aspects , the disclosure relates to a method com
   comprise : presenting, via a user interface, a user with an prising: (a ) receiving a first stream of collections of object
   option to cancel the execution of the executed first one or representations by a first processor circuit, the first stream of
   more instruction sets for operating the device correlated with collections of object representations including one or more
   the first stream of collections of object representations.     collections of representations of objects detected by a sen
      In some embodiments, the operations of the non -transi- 55 sor. The method may further comprise: ( b ) receiving a first
   tory computer storage medium and /or the method further one or more instruction sets for operating a device by the
   comprise : receiving, via an input device , a user's operating first processor circuit . The method may further comprise: (c )
   directions , the user's operating directions for instructing a learning the first stream of collections of object representa
   processor circuit on how to operate the device .               tions correlated with the first one or more instruction sets for
      In certain embodiments, the operations of the non -tran- 60 operating the device, the learning of ( c) performed by the
   sitory computer storage medium and /or the method further first processor circuit. The method may further comprise : (d)
   comprise : receiving aa second stream of collections of object receiving a new stream of collections of object representa
   representations, the second stream of collections of object tions by the first processor circuit, the new stream of
   representations including one or more collections of repre- collections of object representations including one or more
   sentations of objects detected by the sensor; receiving a 65 collections of representations of objects detected by the
   second one or more instruction sets for operating the device ; sensor. The method may further comprise: (e ) anticipating
   and learning the second stream of collections of object the first one or more instruction sets for operating the device
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   correlated with the first stream of collections of object            tions correlated with the first one or more instruction sets for
   representations based on at least a partial match between the operating the device , the learning of ( c ) performed by the
   new stream of collections of object representations and the processor circuit.
   first stream of collections of object representations, the           The operations or steps of the non - transitory computer
   anticipating of (e ) performed by the first processor circuit . 5 storage medium and /or the method may be performed by
   The method may further comprise: ( f) executing, by a any of the elements of the above described systems as
   second processor circuit , the first one or more instruction applicable . The non - transitory computer storage medium
   sets for operating the device correlated with the first stream    and /or the method may include any of the operations, steps ,
   of collections of object representations, the executing of ( f) and embodiments of the above described systems , non
   performed in response to the anticipating of ( e) . The method 10 transitory computer storage media , and / or methods as appli
   may further comprise: ( g) performing, by the device, one or         cable .
   more operations defined by the first one or more instruction           In some aspects , the disclosure relates to a system for
   sets for operating the device correlated with the first stream       using a device's circumstances for autonomous device oper
   of collections of object representations, the one or more ating . The system may be implemented at least in part on one
   operations by the device performed in response to the 15 or more computing devices. In some embodiments, the
   executing of ( f ).                                       system comprises: a processor circuit configured to execute
     The operations or steps of the non -transitory computer instruction sets for operating a device . The system may
   storage medium and / or the method may be performed by further comprise : a memory unit configured to store data .
   any of the elements of the above described systems as The system may further comprise : a sensor configured to
   applicable. The non -transitory computer storage medium 20 detect objects. The system may further comprise : an artifi
   and /or the method may include any of the operations, steps , cial intelligence unit . The artificial intelligence unit may be
   and embodiments of the above described systems, non- configured to : access the memory unit that comprises a
   transitory computer storage media , and / or methods as appli- plurality of streams of collections of object representations
   cable .                                                             correlated with one or more instruction sets for operating the
      In some aspects , the disclosure relates to a system for 25 device, the plurality of streams of collections of object
   learning a device's circumstances for autonomous device representations correlated with one or more instruction sets
   operating. The system may be implemented at least in part for operating the device including a first stream of collec
   on one or more computing devices. In some embodiments, tions of object representations correlated with aa first one or
   the system comprises: a processor circuit configured to more instruction sets for operating the device . The artificial
   execute instruction sets for operating a device . The system 30 intelligence unit may be further configured to : receive a new
   may further comprise : a memory unit configured to store stream of collections of object representations, the new
   data . The system may further comprise : a sensor configured stream of collections of object representations including one
   to detect objects . The system may further comprise: an or more collections of representations of objects detected by
   artificial intelligence unit . The artificial intelligence unit the sensor. The artificial intelligence unit may be further
   may be configured to : receive aa first stream of collections of 35 configured to : anticipate the first one or more instruction sets
   object representations, the first stream of collections of for operating the device correlated with the first stream of
   object representations including one or more collections of collections of object representations based on at least a
   representations of objects detected by the sensor. The arti- partial match between the new stream of collections of
   ficial intelligence unit may be further configured to : receive object representations and the first stream of collections of
   a first one or more instruction sets for operating the device . 40 object representations. The artificial intelligence unit may be
   The artificial intelligence unit may be further configured to : further configured to : cause the processor circuit to execute
   learn the first stream of collections of object representations the first one or more instruction sets for operating the device
   correlated with the first one or more instruction sets for correlated with the first stream of collections of object
   operating the device.                                               representations, the causing performed in response to the
      In some aspects , the disclosure relates to a non -transitory 45 anticipating of the artificial intelligence unit, wherein the
   computer storage medium having a computer program device performs one or more operations defined by the first
   stored thereon , the program including instructions that when one or more instruction sets for operating the device corre
   executed by one or more processor circuits cause the one or lated with the first stream of collections of object represen
   more processor circuits to perform operations comprising : tations , the one or more operations performed in response to
   receiving a first stream of collections of object representa- 50 the executing by the processor circuit .
   tions , the first stream of collections of object representations      In some aspects , the disclosure relates to a non - transitory
   including one or more collections of representations of computer storage medium having a computer program
   objects detected by a sensor. The operations may further stored thereon , the program including instructions that when
   comprise : receiving a first one or more instruction sets for executed by one or more processor circuits cause the one or
   operating a device . The operations may further comprise : 55 more processor circuits to perform operations comprising:
   learning the first stream of collections of object representa- accessing a memory unit that comprises a plurality of
   tions correlated with the first one or more instruction sets for streams of collections of object representations correlated
   operating the device.                                               with one or more instruction sets for operating a device, the
      In some aspects , the disclosure relates to a non method plurality of streams of collections of object representations
   comprising : ( a) receiving a first stream of collections of 60 correlated with one or more instruction sets for operating the
   object representations by a processor circuit, the first stream device including a first stream of collections of object
   of collections of object representations including one or representations correlated with a first one or more instruc
   more collections of representations of objects detected by a tion sets for operating the device . The operations may
   sensor . The method may further comprise : (b ) receiving a further comprise : receiving a new stream of collections of
   first one or more instruction sets for operating a device by 65 object representations, the new stream of collections of
   the processor circuit . The method may further comprise : (c ) object representations including one or more collections of
   learning the first stream of collections of object representa- representations of objects detected by a sensor. The opera
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   tions may further comprise : anticipating the first one or more may further comprise: a sensor configured to detect objects.
   instruction sets for operating the device correlated with the The system may further comprise: an artificial intelligence
   first stream of collections of object representations based on unit . The artificial intelligence unit may be configured to :
   at least a partial match between the new stream of collec- receive a first collection of object representations, the first
   tions of object representations and the first stream of col- 5 collection of object representations including one or more
   lections of object representations. The operations may fur representations of objects detected by the sensor. The arti
   ther comprise: causing an execution of the first one or more ficial intelligence unit may be further configured to : receive
   instruction sets for operating the device correlated with the a first one or more inputs, wherein the first one or more
   first stream of collections of object representations, the
   causing performed in response to the anticipating the first 10 inputs      are also received by the logic circuit . The artificial
   one or more instruction sets for operating the device corre collection ofunit
                                                                      intelligence      may be further configured to : learn the first
   lated with the first stream of collections of object represen one or more inputs. representations
                                                                                     object                   correlated with the first
   tations based on at least a partial match between the new further configured to : receive a new collectionunitofmay
                                                                                             The  artificial intelligence           be
                                                                                                                                object
   stream of collections of object representations and the first
   stream    of collections of object representations, wherein the 1s representations, the new collection of object representations
   device performs one or more operations defined by the first including one or more representations of objects detected by
   one or more instruction sets for operating the device corre- the sensor. The artificial intelligence unit may be further
   lated with the first stream of collections of object represen configured to : anticipate the first one or more inputs corre
   tations , the one or more operations by the device performed lated with the first collection of object representations based
   in response to the execution.                                   20 on at least a partial match between the new collection of
        In some aspects , the disclosure relates to a method com- object representations and the first collection of object
   prising: ( a) accessing a memory unit that comprises a representations. The artificial intelligence unit may be fur
   plurality of streams of collections of object representations ther configured to : cause the logic circuit to receive the first
   correlated with one or more instruction sets for operating a one or more inputs correlated with the first collection of
   device, the plurality of streams of collections of object 25 object representations, the causing performed in response to
   representations correlated with one or more instruction sets the anticipating of the artificial intelligence unit, wherein the
   for operating the device including a first stream of collec- device performs one or more operations defined by one or
   tions of object representations correlated with a first one or more outputs for operating the device produced by the logic
   more instruction sets for operating the device , the accessing circuit.
   of ( a) performed by a processor circuit . The method may 30 In some embodiments, the logic circuit configured to
   further comprise: ( b ) receiving a new stream of collections receive inputs and produce outputs includes a logic circuit
   of object representations by the processor circuit, the new configured to produce outputs based at least in part on logic
   stream of collections of object representations including one operations performed on the inputs. In further embodiments,
   or more collections of representations of objects detected by the learning the first collection of object representations
   a sensor. The method may further comprise: ( c ) anticipating 35 correlated with the first one or more inputs includes corre
   the first one or more instruction sets for operating the device lating the first collection of object representations with the
   correlated with the first stream of collections of object first one or more inputs. In further embodiments , the learn
   representations based on at least a partial match between the ing the first collection of object representations correlated
   new stream of collections of object representations and the with the first one or more inputs includes storing the first
   first stream of collections of object representations, the 40 collection of object representations correlated with the first
   anticipating of (c ) performed by the processor circuit . The one or more inputs into the memory unit, the first collection
   method may further comprise: (d) executing the first one or of object representations correlated with the first one or
   more instruction sets for operating the device correlated with more inputs being part of a plurality of collections of object
   the first stream of collections of object representations, the representations correlated with one or more inputs stored in
   executing of ( d) performed in response to the anticipating of 45 the memory unit . In further embodiments, the anticipating
   ( c ) . The method may further comprise: (e ) performing, by the first one or more inputs correlated with the first collec
   the device, one or more operations defined by the first one tion of object representations based on at least a partial
   or more instruction sets for operating the device correlated match between the new collection of object representations
   with the first stream of collections of object representations, and the first collection of object representations includes
   the one or more operations by the device performed in 50 comparing at least one portion of the new collection of
   response to the executing of ( d ).                                object representations with at least one portion of the first
        The operations or steps of the non - transitory computer collection of object representations. In further embodiments,
   storage medium and / or the method may be performed by the anticipating the first one or more inputs correlated with
   any of the elements of the above described systems as the first collection of object representations based on at least
   applicable. The non -transitory computer storage medium 55 a partial match between the new collection of object repre
   and / or the method may include any of the operations, steps , sentations and the first collection of object representations
   and embodiments of the above described systems, non- includes determining that there is at least a partial match
   transitory computer storage media , and / or methods as appli- between the new collection of object representations and the
   cable .                                                            first collection of object representations. In further embodi
        In some aspects , the disclosure relates to a system for 60 ments, the causing the logic circuit to receive the first one or
   learning and using a device's circumstances for autonomous more inputs correlated with the first collection of object
   device operating. The system may be implemented at least representations includes transmitting, to the logic circuit , the
   in part on one or more computing devices . In some embodi- first one or more inputs correlated with the first collection of
   ments , the system comprises: a logic circuit configured to object representations. In further embodiments, the causing
   receive inputs and produce outputs, wherein the outputs are 65 the logic circuit to receive the first one or more inputs
   used for operating a device . The system may further com- correlated with the first collection of object representations
   prise: a memory unit configured to store data . The system includes replacing one or more inputs into the logic circuit
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   with the first one or more inputs correlated with the first         any of the elements of the above described systems as
   collection of object representations.                               applicable . The non - transitory computer storage medium
      In some aspects , the disclosure relates to a non - transitory   and / or the method may include any of the operations, steps ,
   computer storage medium having a computer program                   and embodiments of the above described systems , non
   stored thereon , the program including instructions that when 5 transitory computer storage media , and / or methods as appli
   executed by one or more processor circuits cause the one or cable .
   more processor circuits to perform operations comprising :             In some aspects , the disclosure relates to a system for
   receiving a first collection of object representations, the first learning and using a device's circumstances for autonomous
   collection of object representations including one or more device operating. The system may be implemented at least
   representations of objects detected by a sensor. The opera- 10 in part on one or more computing devices . In some embodi
   tions may further comprise : receiving a first one or more ments, the system comprises : a logic circuit configured to
   inputs , wherein the first one or more inputs are also received receive inputs and produce outputs, wherein the outputs are
   by a logic circuit, and wherein the logic circuit is configured used for operating a device . The system may further com
   to receive inputs and produce outputs, and wherein the prise : a memory unit configured to store data . The system
   outputs are used for operating a device . The operations may 15 may further comprise : a sensor configured to detect objects.
   further comprise: learning the first collection of object The system may further comprise : an artificial intelligence .
   representations correlated with the first one or more inputs . The artificial intelligence unit may be configured to : receive
   The operations may further comprise: receiving a new a first collection of object representations, the first collection
   collection of object representations, the new collection of of object representations including one or more representa
   object representations including one or more representations 20 tions of objects detected by the sensor. The artificial       intel
   of objects detected by the sensor. The operations may further ligence unit may be further configured to : receive aa first one
   comprise : anticipating the first one or more inputs correlated or more outputs, the first one or more outputs transmitted
   with the first collection of object representations based on at from the logic circuit. The artificial intelligence unit may be
   least a partial match between the new collection of object further configured to : learn the first collection of object
   representations and the first collection of object representa- 25 representations correlated with the first one or more outputs.
   tions . The operations may further comprise: causing the The artificial intelligence unit may be further configured to :
   logic circuit to receive the first one or more inputs correlated receive a new collection of object representations, the new
   with the first collection of object representations, the causing collection of object representations including one or more
   performed in response to the anticipating the first one or representations of objects detected by the sensor . The arti
   more inputs correlated with the first collection of object 30 ficial intelligence unit may be further configured to : antici
   representations based on at least a partial match between the pate the first one or more outputs correlated with the first
   new collection of object representations and the first collec- collection of object representations based on at least a partial
   tion of object representations, wherein the device performs match between the new collection of object representations
   one or more operations defined by one or more outputs for and the first collection of object representations. The artifi
   operating the device produced by the logic circuit .             35 cial intelligence unit may be further configured to : cause the
      In some aspects , the disclosure relates to a method com- device to perform one or more operations defined by the first
   prising: (a ) receiving a first collection of object representa- one or more outputs correlated with the first collection of
   tions by a processor circuit , the first collection of object object representations, the causing performed in response to
   representations including one or more representations of the anticipating of the artificial intelligence unit .
   objects detected by a sensor. The method may further 40 In some embodiments, the learning the first collection of
   comprise : (b ) receiving a first one or more inputs by the object representations correlated with the first one or more
   processor circuit, wherein the first one or more inputs are outputs includes correlating the first collection of object
   also received by a logic circuit , and wherein the logic circuit representations with the first one or more outputs. In further
   is configured to receive inputs and produce outputs, and embodiments, the learning the first collection of object
   wherein the outputs are used for operating a device. The 45 representations correlated with the first one or more outputs
   method may further comprise: ( c ) learning the first collec- includes storing the first collection of object representations
   tion of object representations correlated with the first one or correlated with the first one or more outputs into the memory
   more inputs, the learning of ( c ) performed by the processor unit, the first collection of object representations correlated
   circuit . The method may further comprise: ( d) receiving a with the first one or more outputs being part of a plurality of
   new collection of object representations by the processor 50 collections of object representations correlated with one or
   circuit , the new collection of object representations includ- more outputs stored in the memory unit . In further embodi
   ing one or more representations of objects detected by the ments, the anticipating the first one or more outputs corre
   sensor . The method may further comprise : (e ) anticipating lated with the first collection of object representations based
   the first one or more inputs correlated with the first collec- on at least a partial match between the new collection of
   tion of object representations based on at least a partial 55 object representations and the first collection of object
   match between the new collection of object representations representations includes comparing at least one portion of
   and the first collection of object representations, the antici- the new collection of object representations with at least one
   pating of ( e ) performed by the processor circuit. The method portion of the first collection of object representations. In
   may further comprise: ( f) receiving , by the logic circuit, the further embodiments, the anticipating the first one or more
   first one or more inputs correlated with the first collection of 60 outputs correlated with the first collection of object repre
   object representations, the receiving of ( f) performed in sentations based on at least a partial match between the new
   response to the anticipating of (e ) . The method may further collection of object representations and the first collection of
   comprise : (g) performing, by the device, one or more object representations includes determining that there is at
   operations defined by one or more outputs for operating the least a partial match between the new collection of object
   device produced by the logic circuit .                           65 representations and the first collection of object representa
      The operations or steps of the non - transitory computer tions . In further embodiments , the causing the device to
   storage medium and / or the method may be performed by perform one or more operations defined by the first one or
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                                                     US 11,238,344 B1
                                53                                                                54
   more outputs correlated with the first collection of object and /or the method may include any of the operations, steps ,
   representations includes replacing one or more outputs from and embodiments of the above described systems , non
   the logic circuit with the first one or more outputs correlated transitory computer storage media , and /or methods as appli
   with the first collection of object representations.                 cable .
      In some aspects , the disclosure relates to a non - transitory 5 In some aspects , the disclosure relates to a system for
   computer storage medium having a computer program learning and using a device's circumstances for autonomous
   stored thereon , the program including instructions that when device operating. The system may be implemented at least
   executed by one or more processor circuits cause the one or in part on one or more computing devices . In some embodi
   more processor circuits to perform operations comprising: ments, the system comprises: an actuator configured to
   receiving a first collection of object representations, the first 10 receive inputs and perform motions . The system may further
   collection of object representations including one or more comprise: a memory unit configured to store data . The
   representations of objects detected by a sensor . The opera- system may further comprise: a sensor configured to detect
   tions may further comprise: receiving a first one or more objects. The system may further comprise : an artificial
   outputs, the first one or more outputs transmitted from a intelligence unit . The artificial intelligence unit may be
   logic circuit, wherein the logic circuit is configured to 15 configured to : receive aa first collection of object represen
   receive inputs and produce outputs, and wherein the outputs tations , the first collection of object representations includ
   are used for operating a device. The operations may further ing one or more representations of objects detected by the
   comprise : learning the first collection of object representa- sensor . The artificial intelligence unit may be further con
   tions correlated with the first one or more outputs. The figured to : receive a first one or more inputs, wherein the first
   operations may further comprise : receiving a new collection 20 one or more inputs are also received by the actuator . The
   of object representations, the new collection of object rep- artificial intelligence unit may be further configured to : learn
   resentations including one or more representations of objects the first collection of object representations correlated with
   detected by the sensor. The operations may further comprise: the first one or more inputs. The artificial intelligence unit
   anticipating the first one or more outputs correlated with the may be further configured to : receive a new collection of
   first collection of object representations based on at least a 25 object representations, the new collection of object repre
   partial match between the new collection of object repre- sentations including one or more representations of objects
   sentations and the first collection of object representations. detected by the sensor. The artificial intelligence unit may be
   The operations may further comprise : causing the device to further configured to : anticipate the first one or more inputs
   perform one or more operations defined by the first one or correlated with the first collection of object representations
   more outputs correlated with the first collection of object 30 based on at least a partial match between the new collection
   representations, the causing performed in response to the of object representations and the first collection of object
   anticipating the first one or more outputs correlated with the representations. The artificial intelligence unit may be fur
   first collection of object representations based on least a ther configured cause the ac tor to receive the first one
   partial match between the new collection of object repre- or more inputs correlated with the first collection of object
   sentations and the first collection of object representations. 35 representations, the causing performed in response to the
      In some aspects , the disclosure relates to a method com- anticipating of the artificial intelligence unit, wherein the
   prising: (a ) receiving a first collection of object representa- actuator performs one or more motions defined by the first
   tions by a processor circuit , the first collection of object one or more inputs correlated with the first collection of
   representations including one or more representations of object representations.
   objects detected by a sensor. The method may further 40 In some aspects , the disclosure relates to a non - transitory
   comprise : (b ) receiving a first one or more outputs by the computer storage medium having a computer program
   processor circuit, the first one or more outputs transmitted stored thereon , the program including instructions that when
   from a logic circuit , wherein the logic circuit is configured executed by one or more processor circuits cause the one or
   to receive inputs and produce outputs, and wherein the more processor circuits to perform operations comprising:
   outputs are used for operating a device . The method may 45 receiving a first collection of object representations, the first
   further comprise: ( C ) learning the first collection of object collection of object representations including one or more
   representations correlated with the first one or more outputs, representations of objects detected by a sensor . The opera
   the learning of ( c ) performed by the processor circuit . The tions may further comprise : receiving a first one or more
   method may further comprise : (d) receiving a new collection inputs, wherein the first one or more inputs are also received
   of object representations by the processor circuit, the new 50 by an actuator, and wherein the actuator is configured to
   collection of object representations including one or more receive inputs and perform motions . The operations may
   representations of objects detected by the sensor. The further comprise: learning the first collection of object
   method may further comprise: ( e) anticipating the first one representations correlated with the first one or more inputs.
   or more outputs correlated with the first collection of object The operations may further comprise : receiving a new
   representations based on at least a partial match between the 55 collection of object representations, the new collection of
   new collection of object representations and the first collec- object representations including one or more representations
   tion of object representations, the anticipating of ( e) per- of objects detected by the sensor. The operations may further
   formed by the processor circuit. The method may further comprise: anticipating the first one or more inputs correlated
   comprise : ( f) performing, by the device, one or more opera- with the first collection of object representations based on at
   tions defined by the first one or more outputs correlated with 60 least a partial match between the new collection of object
   the first collection of object representations, the one or more representations and the first collection of object representa
   operations by the device performed in response to the tions . The operations may further comprise: causing the
   anticipating of (e ) .                                               actuator to receive the first one or more inputs correlated
      The operations or steps of the non - transitory computer with the first collection of object representations, the causing
   storage medium and /or the method may be performed by 65 performed in response to the anticipating the first one or
   any of the elements of the above described systems as more inputs correlated with the first collection of object
   applicable. The non - transitory computer storage medium representations based on at least a partial match between the
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                                 55                                                                   56
   new collection of object representations and the first collec-         FIGS . 8A - 8B illustrate some embodiments of Extra Infor
   tion of object representations, wherein the actuator performs        mation 527 .
   one or more motions defined by the first one or more inputs            FIG . 9 illustrates an embodiment where DCADO Unit
   correlated with the first collection of object representations. 5 100 is part of or operating on Processor 11 .
      In some aspects , the disclosure relates to a method com-           FIG . 10 illustrates an embodiment where DCADO Unit
   prising: (a ) receiving a first collection of object representa-     100 resides on Server 96 accessible over Network 95 .
   tions by a processor circuit , the first collection of object        FIG . 11 illustrates an embodiment of learning and / or
   representations including one or more representations of using           Remote Device's 97 circumstances for autonomous
   objects detected by a sensor. The method may further Remote Device 97 operation.
   comprise : (b ) receiving a first one or more inputs by the 10 FIG . 12 illustrates an embodiment of Artificial Intelli
   processor circuit, wherein the first one or more inputs are gence Unit 110 .
   also received by an actuator, and wherein the actuator is            FIG . 13 illustrates an embodiment of Knowledge Struc
   configured to receive inputs and perform motions . The
   method may further comprise: ( c ) learning the first collec turing Unit 520 correlating individual Collections of Object
   tion of object representations correlated with the first one or 15 Representations  525 with any Instruction Sets 526 and /or
   more inputs, the learning of ( c ) performed by the processor Extra      Info 527 .
                                                                        FIG . 14 illustrates another embodiment of Knowledge
   circuit . The method may further comprise: ( d) receiving a
   new collection of object representations by the processor Structuring Unit 520 correlating individual Collections of
   circuit , the new collection of object representations includ Object Representations 525 with any Instruction Sets 526
   ing one or more representations of objects detected by the 20 and / or Extra Info 527.
   sensor . The method may further comprise : (e ) anticipating       FIG . 15 illustrates an embodiment of Knowledge Struc
   the first one or more inputs correlated with the first collec- turing Unit 520 correlating streams of Collections of Object
   tion of object representations based on at least a partial Representations 525 with any Instruction Sets 526 and / or
   match between the new collection of object representations Extra Info 527 .
   and the first collection of object representations, the antici- 25 FIG . 16 illustrates another embodiment of Knowledge
   pating of ( e ) performed by the processor circuit. The method Structuring Unit 520 correlating streams of Collections of
   may further comprise : ( f) receiving , by the actuator, the first   Object Representations 525 with any Instruction Sets 526
   one or more inputs correlated with the first collection of           and /or Extra Info 527 .
   object representations, the receiving of ( f) performed in             FIG . 17 illustrates various artificial intelligence methods,
   response to the anticipating of (e ) . The method may further 30 systems , and / or models that can be utilized in DCADO Unit
   comprise : ( g) performing, by the actuator, one or more 100 embodiments .
   motions defined by the first one or more inputs correlated           FIG . 18A - 18C illustrate embodiments of interconnected
   with the first collection of object representations.              Knowledge Cells 800 and updating weights of Connections
      The operations or steps of the non -transitory computer 853 .
   storage medium and / or the method may be performed by 35 FIG . 19 illustrates an embodiment of learning Knowledge
   any of the elements of the above described systems as Cells 800 comprising one or more Collections of Object
   applicable. The non - transitory computer storage medium Representations 525 correlated with any Instruction Sets 526
   and / or the method may include any of the operations, steps , and / or Extra Info 527 using Collection of Knowledge Cells
   and embodiments of the above described systems, non 530d .
   transitory computer storage media , and / or methods as appli- 40 FIG . 20 illustrates an embodiment of learning Knowledge
   cable .                                                           Cells 800 comprising one or more Collections of Object
      Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
   become apparent from the following description , including and / or Extra Info 527 using Neural Network 530a .
   the claims and drawings.                                             FIG . 21 illustrates an embodiment of learning Knowledge
                                                                  45 Cells 800 comprising one or more Collections of Object
           BRIEF DESCRIPTION OF THE DRAWINGS                         Representations 525 correlated with any Instruction Sets 526
                                                                     and / or Extra Info 527 using Neural Network 530a compris
      FIG . 1 illustrates a block diagram of Computing Device ing shortcut Connections 853 .
   70 that can provide processing capabilities used in some of          FIG . 22 illustrates an embodiment of learning Knowledge
   the disclosed embodiments .                                    50 Cells 800 comprising one or more Collections of Object
      FIG . 2 illustrates an embodiment of Device 98 comprising Representations 525 correlated with any Instruction Sets 526
   Unit for Learning and /or Using a Device's Circumstances and / or Extra Info 527 using Graph 530b .
   for Autonomous Device Operation ( DCADO Unit 100 ) .                FIG . 23 illustrates an embodiment of learning Knowledge
      FIGS . 3A - 3E illustrate various embodiments of Sensors Cells 800 comprising one or more Collections of Object
   92 and elements of Object Processing Unit 93 .                 55 Representations 525 correlated with any Instruction Sets 526
      FIGS . 4A - 4B , illustrate an exemplary embodiment of and / or Extra Info 527 using Collection of Sequences 530c .
   Objects 615 detected in Device's 98 surrounding, and result-         FIG . 24 illustrates an embodiment of determining antici
   ing Collection of Object Representations 525 .                    patory Instruction Sets 526 from a single Knowledge Cell
      FIG . 5 illustrates some embodiments of obtaining instruc- 800 .
   tion sets, data , and / or other information through tracing, 60 FIG . 25 illustrates an embodiment of determining antici
   profiling, or sampling of Processor 11 registers , memory, or patory Instruction Sets 526 by traversing a single Knowl
   other computing system components.                                   edge Cell 800 .
     FIGS . 6A - 6B illustrate some embodiments of obtaining              FIG . 26 illustrates an embodiment of determining antici
   instruction sets , data , and / or other information through trac- patory Instruction Sets 526 using collective similarity com
   ing , profiling, or sampling of Logic Circuit 250 .               65 parisons.
      FIGS . 7A - 7E illustrate some embodiments of Instruction           FIG . 27 illustrates an embodiment of determining antici
   Sets 526 .                                                           patory Instruction Sets 526 using Neural Network 530a .
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                                 57                                                                   58
     FIG . 28 illustrates an embodiment of determining antici-          learning and / or using a device's circumstances for autono
   patory Instruction Sets 526 using Graph 530b.                mous device operation, any of their elements, any of their
     FIG . 29 illustrates an embodiment of determining antici- embodiments, or a combination thereof can generally be
   patory Instruction Sets 526 using Collection of Sequences referred to as DCADO , DCADO Unit, or as other suitable
   530c .                                                     5 name or reference.
     FIG . 30 illustrates some embodiments of modifying           Referring now to FIG . 1 , an embodiment is illustrated of
   execution and / or functionality of Processor 11 through Computing Device 70 ( also referred to simply as computing
   modification of Processor 11 registers, memory , or other device, computing system , or other suitable name or refer
   computing system components .                                ence, etc.) that can provide processing capabilities used in
     FIGS. 31A-31B illustrate some embodiments of modify- 10 some embodiments of the forthcoming disclosure. Later
   ing execution and / or functionality of Logic Circuit 250            described devices , systems , and methods, in combination
   through modification of inputs and / or outputs of Logic with processing capabilities of Computing Device 70 ,
   Circuit 250 .                                                          enable learning and / or using a device's circumstances for
      FIG . 32 illustrates aa flow chart diagram of an embodiment autonomous device operation and / or other functionalities
   of method 9100 for learning and / or using a device's cir- 15 described herein . Various embodiments of the disclosed
   cumstances for autonomous device operation.                            devices, systems, and methods include hardware, functions,
      FIG . 33 illustrates aa flow chart diagram of an embodiment logic , programs, and / or a combination thereof that can be
   of method 9200 for learning and / or using a device's cir- implemented using any type or form of computing, com
   cumstances for autonomous device operation .                           puting enabled , or other device or system such as a mobile
      FIG . 34 illustrates a flow chart diagram of an embodiment 20 device, a computer, a computing enabled telephone, a server,
   of method 9300 for learning and / or using a device's cir- a gaming device , a television device , a digital camera , a GPS
   cumstances for autonomous device operation .                           receiver, a media player, an embedded device , a supercom
      FIG . 35 illustrates a flow chart diagram of an embodiment puter, a wearable device, an implantable device , a cloud , or
   of method 9400 for learning and / or using a device's cir- any other type or form of computing, computing enabled , or
   cumstances for autonomous device operation .                        25 other device or system capable of performing the operations
      FIG . 36 illustrates aa flow chart diagram of an embodiment described herein .
   of method 9500 for learning and / or using a device's cir-                In some designs, Computing Device 70 comprises hard
   cumstances for autonomous device operation .                           ware, processing techniques or capabilities , programs, or a
      FIG . 37 illustrates a flow chart diagram of an embodiment combination thereof. Computing Device 70 includes one or
   of method 9600 for learning and / or using a device's cir- 30 more central processing units, which may also be referred to
                                                                                                        9

   cumstances for autonomous device operation .                           as processors 11. Processor 11 includes one or more memory
      FIG . 38 illustrates an exemplary embodiment of Loader ports 10 and / or one or more input -output ports, also referred
   98a .                                                                  to as I /O ports 15 , such as I/O ports 15A and 15B . Processor
      FIG . 39 illustrates an exemplary embodiment of Boat 98b . 11 may be special or general purpose . Computing Device 70
      FIG . 40 illustrates an exemplary embodiment of utilizing 35 may further include memory 12 , which can be connected to
   Area of Interest 450 around Boat 98b .                                 the remainder of the components of Computing Device 70
      Like reference numerals in different figures indicate like via bus 5. Memory 12 can be connected to processor 11 via
   elements . Horizontal or vertical “        or other such indicia memory port 10. Computing Device 70 may also include
   may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses ,
   of element n, m, x , or other such letters or indicia represent 40 and /or other display device . Computing Device 70 may also
   integers or other sequential numbers that follow the include Human -machine Interface 23 such as a keyboard, a
   sequence where they are indicated . It should be noted that n , pointing device , a mouse , a touchscreen, a joystick , a remote
   m , x , or other such letters or indicia may represent different controller, and / or other input device. In some implementa
   numbers in different elements even where the elements are tions , Human- machine Interface 23 can be connected with
   depicted in the same figure . In general, n , m , x , or other such 45 bus 5 or directly connected with specific elements of Com
   letters or indicia may follow the sequence and / or context puting Device 70. Computing Device 70 may include addi
   where they are indicated . Any of these or other such letters tional elements such as one or more input/output devices 13 .
   or indicia may be used interchangeably depending on con- Processor 11 may include or be interfaced with cache
   text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
   scale , with emphasis instead being placed upon illustrating 50 vides an operating system 17 (i.e. also referred to as OS 17 ,
   the embodiments, principles , and concepts of the disclosure . etc. ) , additional application programs 18 , and / or data space
   A line or arrow between any of the disclosed elements 19 in which additional data or information can be stored .
   comprises an interface that enables the coupling, connection , Alternative memory device 16 can be connected to the
   and /or interaction between the elements.                              remaining components of Computing Device 70 via bus 5 .
                                                                       55 Network interface 25 can also be connected with bus 5 and
                     DETAILED DESCRIPTION                                 be used to communicate with external computing devices
                                                                          via a network . Some or all described elements of Computing
      The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
   methods for learning and / or using a device's circumstances coupled with each other using any other connection means
   for autonomous device operation comprise apparatuses, 60 known in art. Other additional elements may be included as
   systems , methods, features, functionalities, and / or applica- needed , or some of the disclosed ones may be excluded, or
   tions that enable learning a device's circumstances including a combination thereof may be utilized in alternate imple
   objects with various properties along with correlated instruc- mentations of Computing Device 70 .
   tion sets for operating the device , storing this knowledge in            Processor 11 includes one or more circuits or devices that
   a knowledgebase (i.e. neural network , graph , sequences , 65 can execute instructions fetched from memory 12 and / or
   etc. ) , and operating a device autonomously. The disclosed other element. Processor 11 may include any combination of
   artificially intelligent devices , systems, and methods for hardware and / or processing techniques or capabilities for
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                               59                                                               60
   executing or implementing logic functions or programs.           ers . In further embodiments, Storage 27 can be provided in
   Processor 11 may include a single core or a multi core an optical storage device such as holographic storage, and / or
   processor. Processor 11 includes the functionality for load- others. In further embodiments , Storage 27 may include any
   ing operating system 17 and operating any application non - volatile memory. In general, Storage 27 can be based on
   programs 18 thereon . In some embodiments, Processor 11 5 any of the aforementioned or other available storage devices
   can be provided in a microprocessing or a processing unit, or mediums capable of operating as described herein . In
   such as , for example , Snapdragon processor produced by some aspects , Storage 27 may include any features, func
   Qualcomm Inc. , processor by Intel Corporation of Mountain tionalities , and embodiments of Memory 12 , and vice versa ,
   View , Calif., processor manufactured by Motorola Corpo- as applicable.
   ration of Schaumburg , Ill .; processor manufactured by 10 Processor 11 can communicate directly with cache
   Transmeta Corporation of Santa Clara , Calif .; processor memory 14 via aa connection means such as a secondary bus
   manufactured by International Business Machines of White which may also sometimes be referred to as a backside bus .
   Plains , N.Y .; processor manufactured by Advanced Micro In some embodiments, processor 11 can communicate with
   Devices of Sunnyvale, Calif ., or any computing circuit or cache memory 14 using the system bus 5. Cache memory 14
   device for performing similar functions. In other embodi- 15 may typically have aa faster response time than main memory
   ments, processor 11 can be provided in a graphics processing 12 and can include a type of memory which is considered
   unit (GPU ), visual processing unit ( VPU ), or other highly faster than main memory 12 such as , for example, SRAM ,
   parallel processing circuit or device such as , for example, BSRAM , or EDRAM . Cache memory includes any structure
   nVidia GeForce line of GPUs , AMD Radeon line of GPUs, such as multilevel caches , for example . In some embodi
   and / or others. Such GPUs or other highly parallel processing 20 ments, processor 11 can communicate with one or more I /O
   circuits or devices may provide superior performance in devices 13 via a system bus 5. Various busses can be used
   processing operations on neural networks, graphs, and /or to connect processor 11 to any of the I/ O devices 13 such as
   other data structures . In further embodiments , processor 11 a VESA VL bus , an ISA bus , an EISA bus , a MicroChannel
   can be provided in aa micro controller such as , for example, Architecture (MCA) bus , a PCI bus , a PCI -X bus , a PCI
   Texas instruments, Atmel, Microchip Technology , ARM , 25 Express bus , a NuBus, and / or others. In some embodiments,
   Silicon Labs, Intel, and / or other lines of micro controllers . In processor 11 can communicate directly with I /O device 13
   further embodiments, processor 11 can be provided in a via HyperTransport, Rapid I/ O , or InfiniBand. In further
   quantum processor such as , for example, D - Wave Systems, embodiments, local busses and direct communication can be
   Microsoft, Intel, IBM , Google , Toshiba, and / or other lines of mixed . For example, processor 11 can communicate with an
   quantum processors. In further embodiments, processor 11 30 I/ O device 13 using a local interconnect bus and communi
   can be provided in a biocomputer such as DNA -based cate with another I /O device 13 directly . Similar configura
   computer, protein- based computer, molecule -based com- tions can be used for any other components described herein .
   puter, and/or others. In further embodiments, processor 11      Computing Device 70 may further include alternative
   includes any circuit or device for performing logic opera- memory such as a SD memory slot , a USB memory stick , an
   tions . Processor 11 can be based on any of the aforemen- 35 optical drive such as a CD - ROM drive , a CD - R /RW drive,
   tioned or other available processors capable of operating as a DVD - ROM drive or a BlueRay disc , a hard - drive, and / or
   described herein . Computing Device 70 may include one or any other device comprising non - volatile memory suitable
   more of the aforementioned or other processors. In some for storing data or installing application programs. Comput
   designs , processor 11 can communicate with memory 12 via ing Device 70 may further include a storage device 27
   a system bus 5. In other designs, processor 11 can commu- 40 comprising any type or form of non - volatile memory for
   nicate directly with memory 12 via a memory port 10 .        storing an operating system (OS ) such as any type or form
      Memory 12 includes one or more circuits or devices of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,
   capable of storing data. In some embodiments , Memory 12 iPhone OS , mobile version of Windows OS , an embedded
   can be provided in a semiconductor or electronic memory OS , or any other OS that can operate on Computing Device
   chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
   memory , Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and / or data space 19 for storing additional data
   Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
   DRAM ( FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
   Extended Data Output RAM (EDO RAM ), Extended Data ally, OS 17 and / or application programs 18 can be operable
   Output DRAM (EDO DRAM ), Burst Extended Data Output 50 from aa bootable medium such as , for example, a flash drive ,
   DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ), a micro SD card, a bootable CD or DVD , and / or other
   synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                   bootable medium .
   SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                       Application Program 18 ( also referred to as program ,
   Enhanced SDRAM ( ESDRAM ), SyncLink DRAM (SL- computer program , application, script , code , or other suit
   DRAM ), Direct Rambus DRAM ( DRDRAM ), Ferroelectric 55 able name or reference ) comprises instructions that can
   RAM ( FRAM ), and / or others. In other embodiments , provide functionality when executed by processor 11. As
   Memory 12 includes any volatile memory. In general, such , Application Program 18 may be used to operate (i.e.
   Memory 12 can be based on any of the aforementioned or perform operations on /with ) or control a device or system .
   other available memories capable of operating as described Application program 18 can be implemented in a high -level
   herein .                                                      60 procedural or object-oriented programming language, or in
      Storage 27 includes one or more devices or mediums a low - level machine or assembly language. Any language
   capable of storing data. In some embodiments, Storage 27 used can be compiled, interpreted, or otherwise translated
   can be provided in aa device or medium such as a hard drive, into machine language. Application program 18 can be
   flash drive, optical disk , and / or others. In other embodi- deployed in any form including as a stand - alone program or
   ments, Storage 27 can be provided in a biological storage 65 as a module, component, subroutine, or other unit suitable
   device such as DNA - based storage device , protein -based for use in a computing system . Application program 18 does
   storage device, molecule - based storage device, and / or oth- not necessarily correspond to a file in a file system . A
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                                 61                                                                  62
   program can be stored in a portion of a file that may hold          and /or other output interface or system can be utilized to
   other programs or data , in a single file dedicated to the     process output from elements of Computing Device 70 for
   program , or in multiple files (i.e. files that store one or more
                                                                  conveyance on an output device such as Display 21. In some
   modules, sub programs, or portions of code , etc. ) . Applica- aspects , Display 21 or other output device itself may include
   tion Program 18 can be delivered in various forms such as , 5 an output interface for processing output from elements of
   for example, executable file, library, script, plugin, addon , Computing Device 70. Further, an input interface ( not
   applet, interface , console application, web application, shown ) such as a keyboard listener, a touchscreen listener, a
   application service provider (ASP ) -type application , oper mouse      listener, any device driver ( i.e. audio , video , key
   ating system , and / or other forms. Application program 18 board , mouse
   can be deployed to be executed on one computing device or 10 input interface, touchscreen   , or other driver ), and / or other
   on multiple computing devices (i.e. cloud , distributed, or from Human -machine Interfacebe23 utilized
                                                                                    or system can               to process input
                                                                                                       or other input device for
   parallel computing, etc. ) , or at one site or distributed across   use by elements of Computing Device 70. In some aspects ,
   multiple sites interconnected by a communication network            Human - machine Interface 23 or other input device itself
   or an interface.
     Network interface 25 can be utilized for interfacing 15 bymayelements
   Computing Device 70 with other devices via a network
                                                                    includeofan input interface for processing input for use
                                                                                Computing Device 70 .
   through a variety of connections including telephone lines ,          Computing Device 70 may include or be connected to
   wired or wireless connections, LAN or WAN links ( i.e.              multiple display devices 21. Display devices 21 can each be
   802.11 , T1 , T3 , 56 kb, X.25 , etc.), broadband connections       of the same or different type or form . Computing Device 70
   (i.e. ISDN, Frame Relay, ATM , etc.), or a combination 20 and /or its elements comprise any type or form of suitable
   thereof. Examples of networks include the Internet, an hardware, programs, or a combination thereof to support,
   intranet, an extranet, a local area network (LAN ), a wide enable , or provide for the connection and use of multiple
   area network (WAN ), a personal area network (PAN ), a display devices 21. In one example, Computing Device 70
   home area network (HAN ), a campus area network (CAN ), includes any type or form of video adapter, video card,
   a metropolitan area network (MAN ), a global area network 25 driver, and / or library to interface , communicate, connect, or
   (GAN ), a storage area network (SAN ), virtual network , a otherwise use display devices 21. In some aspects , a video
   virtual private network (VPN) , a Bluetooth network , a adapter may include multiple connectors to interface to
   wireless network , a wireless LAN , a radio network , a multiple display devices 21. In other aspects , Computing
   HomePNA , a power line communication network , a G.hn Device 70 includes multiple video adapters, with each video
   network , an optical fiber network , an Ethernet network , an 30 adapter connected to one or more display devices 21. In
   active networking network , a client - server network , a peer- some embodiments , Computing Device's 70 operating sys
   to - peer network , a bus network , a star network , a ring tem can be configured for using multiple displays 21. In
   network , a mesh network , a star -bus network , a tree network,    other embodiments , one or more display devices 21 can be
   a hierarchical topology network , and / or other networks. provided by one or more other computing devices such as
   Network interface 25 may include a built - in network 35 remote computing devices connected to Computing Device
   adapter, network interface card , PCMCIA network card,              70 via a network or an interface .
   card bus network adapter, wireless network adapter, Blu-              Computing Device 70 can operate under the control of
   etooth network adapter, WiFi network adapter, USB network            operating system 17 , which may support Computing
   adapter, modem , and / or any other device suitable for inter-       Device's 70 basic functions, interface with and manage
   facing Computing Device 70 with any type of network 40 hardware resources, interface with and manage peripherals,
   capable of communication and / or operations described provide common services for application programs, sched
   herein .                                                             ule tasks , and / or perform other functionalities. A modern
      I/O devices 13 may be present in various shapes or forms operating system enables features and functionalities such as
   in Computing Device 70. Examples of I / O device 13 capable a high resolution display, graphical user interface (GUI),
   of input include a joystick , a keyboard , a mouse , a trackpad , 45 touchscreen , cellular network connectivity ( i.e. mobile oper
   a trackpoint, a touchscreen , a trackball, a microphone, a ating system , etc. ) , Bluetooth connectivity, WiFi connectiv
   drawing tablet, a glove , a tactile input device, a still or video ity, global positioning system ( GPS ) capabilities , mobile
   camera , and / or other input device . Examples of I/O device navigation , microphone, speaker, still picture camera , video
   13 capable of output include aa video display, a touchscreen , camera , voice recorder, speech recognition, music player,
   a projector, a glasses , a speaker, a tactile output device , 50 video player, near field communication , personal digital
   and / or other output device . Examples of I /O device 13 assistant (PDA) , and / or other features, functionalities, or
   capable of input and output include a disk drive, an optical applications . For example, Computing Device 70 can use
   storage device, a modem , a network card , and / or other any conventional operating system , any embedded operating
   input /output device . I /O device 13 can be interfaced with system , any real - time operating system , any open source
   processor 11 via an I/O port 15 , for example. In some 55 operating system , any video gaming operating system , any
   aspects , I /O device 13 can be a bridge between system bus proprietary operating system , any online operating system ,
   5 and an external communication bus such as a USB bus , an any operating system for mobile computing devices , or any
   Apple Desktop Bus , an RS - 232 serial connection, a SCSI other operating system capable of running on Computing
   bus , a FireWire bus , a FireWire 800 bus , an Ethernet bus , an Device 70 and performing operations described herein .
   AppleTalk bus , a Gigabit Ethernet bus , an Asynchronous 60 Example of operating systems include Windows XP, Win
   Transfer Mode bus , a HIPPI bus , a Super HIPPI bus , a dows 7 , Windows 8 , Windows 10 , etc. manufactured by
                                                                               2

   SerialPlus bus , a SCI /LAMP bus , a FibreChannel bus , a Microsoft Corporation of Redmond, Wash .; Mac OS , iPhone
   Serial Attached small computer system interface bus , and /or OS , etc. manufactured by Apple Computer of Cupertino,
   other bus .                                                          Calif.; OS / 2 manufactured by International Business
      An output interface (not shown) such as a graphical user 65 Machines of Armonk , N.Y .; Linux , a freely -available oper
   interface , an acoustic output interface, a tactile output inter- ating system distributed by Caldera Corp. of Salt Lake City ,
   face, any device driver ( i.e. audio , video , or other driver ),   Utah ; or any type or form of a Unix operating system , and / or
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   others . Any operating systems such as the ones for Android system can be interconnected by any form or medium of
   devices can similarly be utilized .                            digital data communication such as , for example, a network .
      Computing Device 70 can be implemented as or be part           Computing Device 70 may include or be interfaced with
   of various model architectures such as web services, dis- a computer program product comprising instructions or
   tributed computing, grid computing, cloud computing, and / 5 logic encoded on a computer- readable medium . Such
   or other architectures. For example, in addition to the instructions or logic , when executed, may configure or cause
   traditional desktop, server , or mobile operating system one or more processors to perform the operations and / or
   architectures, a cloud- based operating system can be utilized functionalities disclosed herein . For example, a computer
   to provide the structure on which embodiments of the program can be provided or encoded on a computer -readable
   disclosure can be implemented. Other aspects of Computing 10 medium such as an optical medium ( i.e. DVD - ROM , etc. ) ,
   Device 70 can also be implemented in the cloud without flash drive, hard drive, any memory , firmware, or other
   departing from the spirit and scope of the disclosure. For medium . Computer program can be installed onto a com
   example, memory , storage, processing, and / or other ele- puting device to cause the computing device to perform the
   ments can be hosted in the cloud . In some embodiments ,             operations and / or functionalities disclosed herein . Machine
   Computing Device 70 can be implemented on multiple 15 readable medium , computer - readable medium , or other such
   devices. For example, a portion of Computing Device 70 can terms may refer to any computer program product, appara
   be implemented on a mobile device and another portion can tus, and / or device for providing instructions and / or data to
   be implemented on wearable electronics .                         one or more programmable processors. As such , machine
      Computing Device 70 can be or include any mobile readable medium includes any medium that can send and /or
   device , a mobile phone , a smartphone ( i.e. iPhone, Windows 20 receive machine instructions as a machine - readable signal .
   phone , Blackberry phone , Android phone , etc. ), a tablet , a Examples of a machine- readable medium include a volatile
   personal digital assistant ( PDA) , wearable electronics, and / or non -volatile medium , a removable and / or non -re
   implantable electronics, and / or other mobile device capable movable medium , a communication medium , a storage
   of implementing the functionalities described herein . Com- medium , and / or other medium . A communication medium ,
   puting Device 70 can also be or include an embedded 25 for example, can transmit computer readable instructions
   device, which can be any device or system with aa dedicated and /or data in a modulated data signal such as a carrier wave
   function within another device or system . Embedded sys- or other transport technique, and may include any other form
   tems range from the simplest ones dedicated to one task with of information delivery medium known in art. A non
   no user interface to complex ones with advanced user transitory machine -readable medium comprises all machine
   interface that may resemble modern desktop computer sys- 30 readable media except for a transitory, propagating signal .
   tems . Examples of devices comprising an embedded device           In some embodiments , the disclosed artificially intelligent
   include a mobile telephone , a personal digital assistant devices, systems , and methods for learning and / or using a
   ( PDA) , a gaming ice , a media player, a digital still or device's circumstances for autonomous device operation, or
   video camera, a pager, a television device, a set -top box , a elements thereof, can be implemented entirely or in part in
   personal navigation device , a global positioning system 35 a device ( i.e. microchip , circuitry, logic gates, electronic
   ( GPS ) receiver, a portable storage device ( i.e. a USB flash device, computing device, special or general purpose pro
   drive, etc. ) , a digital watch, a DVD player, a printer, a cessor, etc. ) or system that comprises (i.e. hard coded ,
   microwave oven , a washing machine , a dishwasher, a gate- internally stored , etc. ) or is provided with (i.e. externally
   way, a router, a hub , an automobile entertainment system , an stored , etc. ) instructions for implementing DCADO func
   automobile navigation system , a refrigerator, a washing 40 tionalities . As such, the disclosed artificially intelligent
   machine, a factory automation device , an assembly line devices, systems , and methods for learning and / or using a
   device , a factory floor monitoring device , a thermostat, an device's circumstances for autonomous device operation, or
   automobile , a factory controller, a telephone, a network elements thereof, may include the processing , memory,
   bridge, and / or other devices. An embedded device can storage, and / or other features, functionalities, and embodi
   operate under the control of an operating system for embed- 45 ments of Computing Device 70 or elements thereof. Such
   ded devices such as MicroC /OS - II, QNX , VxWorks, eCos , device or system can operate on its own (i.e. standalone
   TinyOS, Windows Embedded, Embedded Linux , and / or device or system , etc. ), be embedded in another device or
   other embedded device operating systems.                           system ( i.e. an industrial machine , a robot , a vehicle , a toy,
      Various implementations of the disclosed devices, sys- a smartphone, a television device , an appliance, and / or any
   tems , and methods can be realized in digital electronic 50 other device or system capable of housing the elements
   circuitry, integrated circuitry, logic gates , application spe- needed for DCADO functionalities ), work in combination
   cific integrated circuits (ASICs ) , field programmable gate with other devices or systems, or be available in any other
   arrays ( FPGAs ), computer hardware , firmware , programs, configuration. In other embodiments , the disclosed artifi
   virtual machines , and / or combinations thereof including cially intelligent devices , systems , and methods for learning
   their structural, logical , and / or physical equivalents .     55 and / or using a device's circumstances for autonomous
      The disclosed devices, systems, and methods may include device operation, or elements thereof, may include Alterna
   clients and servers . A client and server are generally, but not tive Memory 16 that provides instructions for implementing
   always , remote from each other and typically , but not DCADO functionalities to one or more Processors 11. In
   always , interact via a network or an interface .                  further embodiments, the disclosed artificially intelligent
      The relationship of a client and server may arise by virtue 60 devices, systems , and methods for learning and / or using a
   of computer programs running on their respective computers device's circumstances for autonomous device operation, or
   and having a client -server relationship to each other, for elements thereof, can be implemented entirely or in part as
   example.                                                           a computer program and executed by one or more Proces
      The disclosed devices, systems , and methods can be sors 11. Such program can be implemented in one or more
   implemented in a computing system that includes a back end 65 modules or units of a single or multiple computer programs.
   component, a middleware component, a front end compo- Such program may be able to attach to or interface with ,
   nent, or any combination thereof. The components of the              inspect , and / or take control of another application program
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   to implement DCADO functionalities. In further embodi-             thereof, when stored in a memory, file, or other repository,
   ments , the disclosed artificially intelligent devices, systems,   may be stored in a different arrangement than the arrange
   and methods for learning and / or using a device's circum-         ment of the data structure and / or elements thereof. For
   stances for autonomous device operation, or elements example , a sequence of elements can be stored in an
   thereof, can be implemented as a network , web , distributed , 5 arrangement other than a sequence in a memory, file, or
   cloud, or other such application accessed on one or more other repository.
   remote computing devices ( i.e. servers , cloud, etc. ) via         Where a reference to a repository is used herein , it should
   Network Interface 25 , such remote computing devices be understood that a repository may be or include one or
   including processing capabilities and instructions for imple- more files or file systems, one or more storage locations or
   menting DCADO functionalities. In further embodiments, 10 structures, one or more storage systems, one or more
   the disclosed artificially intelligent devices, systems , and memory locations or structures , and / or other file, storage ,
   methods for learning and / or using a device's circumstances memory, or data arrangements.
   for autonomous device operation, or elements thereof, can           Where aa reference to an interface is used herein , it should
   be ( 1 ) attached to or interfaced with any computing device be understood that the interface comprises any hardware,
   or application program , (2 ) included as a feature of an 15 device, system , program , method, and / or combination
   operating system , (3 ) built (i.e. hard coded , etc.) into any thereof that enable direct or operative coupling , connection,
   computing device or application program , and / or (4 ) avail- and / or interaction of the elements between which the inter
   able in any other configuration to provide its functionalities . face is indicated . A line or arrow shown in the figures
      In some embodiments, the disclosed artificially intelligent between any of the depicted elements comprises such inter
   devices, systems , and methods for learning and / or using a 20 face. Examples of an interface include a direct connection ,
   device's circumstances for autonomous device operation, or an operative connection , a wired connection ( i.e. wire , cable ,
   elements thereof, can be implemented at least in part in a etc. ) , a wireless connection, a device , a network , a bus , a
   computer program such as Java application or program . Java circuit, a firmware , a driver, a bridge, a program , a combi
   provides a robust and flexible environment for application nation thereof, and / or others .
   programs including flexible user interfaces , robust security , 25 Where a reference to an element coupled or connected to
   built- in network protocols, powerful application program- another element is used herein , it should be understood that
   ming interfaces, database or DBMS connectivity and inter- the element may be in communication or other interactive
   facing functionalities, file manipulation capabilities , support relationship with the other element. Furthermore, an element
   for networked applications, and / or other features or func- coupled or connected to another element can be coupled or
   tionalities. Application programs based on Java can be 30 connected to any other element in alternate implementa
   portable across many devices , yet leverage each device's tions . Terms coupled, conn      nnected , interfaced, or other such
   native capabilities. Java supports the feature sets of most terms may be used interchangeably herein depending on
   smartphones and a broad range of connected devices while context.
   still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
   platforms include virtual machine features comprising a 35 ment is used herein , it should be understood that the element
   runtime environment for application programs. Java plat- may be equivalent or similar to the other element. Therefore,
   forms provide a wide range of user - level functionalities that the term match or matching can refer to total equivalence or
   can be implemented in application programs such as dis- similarity depending on context.
   playing text and graphics, playing and recording audio                Where a reference to a device is used herein , it should be
   content, displaying and recording visual content, communi- 40 understood that the device may include or be referred to as
   cating with another computing device , and / or other func- a system , and vice versa depending on context, since a
   tionalities . It should be understood that the disclosed artifi-   device may include a system of elements and a system may
   cially intelligent devices, systems , and methods for learning     be embodied in a device .
   and / or using a device's circumstances for autonomous               Where a reference to a collection of elements is used
   device operation, or elements thereof, are programming 45 herein, it should be understood that the collection of ele
   language , platform , and operating system independent. ments may include one or more elements . In some aspects
   Examples of programming languages that can be used or contexts, a reference to a collection of elements does not
   instead of or in addition to Java include C , C ++ , Cobol , imply that the collection is an element itself.
   Python , Java Script , Tcl, Visual Basic , Pascal , VB Script,       Where a reference to an object is used herein , it should be
   Perl, PHP, Ruby, and / or other programming languages 50 understood that the object may be a physical object (i.e.
   capable of implementing the functionalities described object detected in aa device's surrounding, etc. ), an electronic
   herein .                                                           object (i.e. object in an object oriented application program ,
      Where a reference to a specific file or file type is used etc. ) , and / or other object depending on context.
   herein , other files or file types can be substituted .              Where a mention of aa function , method , routine, subrou
      Where a reference to a data structure is used herein , it 55 tine, or other such procedure is used herein , it should be
   should be understood that any variety of data structures can understood that the function , method , routine , subroutine, or
   be used such as , for example, array , list , linked list , doubly other such procedure comprises a call , reference, or pointer
   linked list , queue, tree , heap , graph, map , grid , matrix, to the function , method, routine, subroutine, or other such
   multi -dimensional matrix , table, database, database manage- procedure.
   ment system ( DBMS ) , file, neural network , and / or any other 60 Where a mention of data , object, data structure, item ,
   type or form of a data structure including a custom one . A element, or thing is used herein , it should be understood that
   data structure may include one or more fields or data fields the data , object, data structure , item , element, or thing
   that are part of or associated with the data structure. A field comprises a reference or pointer to the data , object, data
   or data field may include a data , an object, a data structure , structure , item , element, or thing.
   and / or any other element or a reference /pointer thereto . A 65 Referring to FIG . 2 , an embodiment of Device 98 com
   data structure can be stored in one or more memories, files , prising Unit for Learning and /or Using a Device's Circum
   or other repositories. A data structure and / or elements stances for Autonomous Device Operation (DCADO Unit
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   100 ) is illustrated . Device 98 also comprises interconnected instruction sets for operating the device (i.e. first one or more
   Processor 11 , Human -machine Interface 23 , Sensor 92 , instruction sets for operating the device , etc.) may include or
                 2

   Object Processing Unit 93 , Memory 12 , and                    be substituted with one or more inputs into the actuator.
      Storage 27. Processor 11 includes or executes Application Other additional elements can be included as needed , or
   Program 18. DCADO Unit 100 comprises interconnected 5 some of the disclosed ones can be excluded, or a combina
   Artificial Intelligence Unit 110 , Acquisition Interface 120 , tion thereof can be utilized in alternate embodiments . The
   and Modification Interface 130. Other additional elements device or system for learning and / or using a device's cir
   can be included as needed , or some of the disclosed ones can cumstances for autonomous device operation may include
   be excluded , or a combination thereof can be utilized in any actions or operations of any of the disclosed methods
   alternate embodiments .                                             10 such as methods 9100 , 9200,9300 , 9400,9500 , 9600 , and / or
      In one example, the teaching presented by the disclosure others (all later described ).
   can be implemented in aa device or system for learning and / or           Device 98 comprises any hardware , programs, or a com
   using a device's circumstances for autonomous device bination thereof. Although , Device 98 is referred to as a
   operation. The device or system may include a processor device herein , Device 98 may be or include a system as a
   circuit (i.e. Processor 11 , etc.) configured to execute instruc- 15 system may be embodied in Device 98. Device 98 may
   tion sets (i.e. Instruction Sets 526 , etc. ) for operating a include any features , functionalities, and embodiments of
   device. The device or system may further include a memory Computing Device 70 , or elements thereof. In some embodi
   unit (i.e. Memory 12 , etc.) configured to store data . The ments, Device 98 includes a computing enabled device for
   device or system may further include a sensor ( i.e. Sensor performing mechanical or physical operations (i.e. via actua
   92 , etc.) configured to detect objects (i.e. Objects 615 , etc. ). 20 tors , etc. ). In other embodiments, Device 98 includes a
   The device or system may further include an artificial computing enabled device for performing non -mechanical
   intelligence unit ( i.e. Artificial Intelligence Unit 110 , etc. ). and / or other operations. Examples of Device 98 include an
   The artificial intelligence unit may be configured to receive industrial machine , a toy, a robot , a vehicle , an appliance, a
   a first collection of object representations (i.e. Collection of control device, a smartphone or other mobile computer, any
   Object Representations 525 , etc. ), the first collection of 25 computer, and / or other computing enabled device or
   object representations including one or more representations machine . Such device or machine may be built for any
   of objects detected by the sensor. The artificial intelligence function or purpose some examples of which are described
   unit may also be configured to receive a first one or more later.
   instruction sets for operating the device . The artificial intel-         User 50 (also referred to simply as user or other suitable
   ligence unit may also be configured to learn the first col- 30 name or reference) comprises a human user or non -human
   lection of object representations correlated with the first one user. A non - human User 50 includes any device, system ,
   or more instruction sets for operating the device . The program , and /or other mechanism for operating or control
   artificial intelligence unit may also be configured receive ling Device 98 and / or elements thereof. In one example ,
   a new collection of object representations, the new collec- User 50 may issue an operating direction to Application
   tion of object representations including one or more repre- 35 Program 18 responsive to which Application Program's 18
   sentations of objects detected by the sensor. The artificial instructions or instruction sets may be executed by Processor
   intelligence unit may also be configured to anticipate the 11 to perform a desired operation on Device 98. In another
   first one or more instruction sets for operating the device example , User 50 may issue an operating direction to
   correlated with the first collection of object representations Processor 11 , Logic Circuit 250 ( later described ), and / or
   based on at least a partial match between the new collection 40 other processing element responsive to which Processor 11 ,
   of object representations and the first collection of object Logic Circuit 250 , and / or other processing element may
   representations. The artificial intelligence unit may also be implement logic to perform aa desired operation on Device
   configured to cause the processor circuit to execute the first 98. User's 50 operating directions comprise any user input
   one or more instruction sets for operating the device corre- ted data (i.e. values , text, symbols, etc. ) , directions (i.e.
   lated with the first collection of object representations, the 45 move right, move up , move forward , copy an item , click on
   causing performed in response to the anticipating of the a link , etc. ) , instructions or instruction sets (i.e. manually
   artificial intelligence unit, wherein the device performs one inputted instructions or instruction sets , etc. ) , and / or other
   or more operations defined by the first one or more instruc- inputs or information . A non -human User 50 can utilize
   tion sets for operating the device correlated with the first more suitable interfaces instead of, or in addition to , Human
   collection of object representations, the one or more opera- 50 machine Interface 23 and / or Display 21 for controlling
   tions performed in response to the executing by the proces- Device 98 and / or elements thereof. Examples of such inter
   sor circuit . Any of the operations of the aforementioned faces include an application programming interface (API ),
   elements can be performed repeatedly and / or in different bridge ( i.e. bridge between applications, devices , or systems,
   orders in alternate embodiments. In some embodiments, a etc. ) , driver, socket, direct or operative connection , handle ,
   stream of collections of object representations can be used 55 function / routine / subroutine, and / or other interfaces.
   instead of or in addition to any collection of object repre-              In some embodiments, Processor 11 , Logic Circuit 250 ,
   sentations such as , for example, using a first stream of Application Program 18 , and / or other processing element
   collections of object representations instead of the first may control or affect an actuator ( not shown ). Actuator
   collection of object representations. In other embodiments, comprises the functionality for implementing motion ,
   a logic circuit (i.e. Logic Circuit 250 , etc.) may be used 60 actions , behaviors, maneuvers , and / or other mechanical or
   instead of the processor circuit . In such embodiments, one or physical operations. Device 98 may include one or more
   more instruction sets for operating the device ( i.e. first one actuators to enable Device 98 to perform mechanical , physi
   or more instruction sets for operating the device, etc.) may cal , or other operations and/ or to interact with its environ
   include or be substituted with one or more inputs into or one ment. For example, an actuator may include or be coupled
   or more outputs from the logic circuit . In further embodi- 65 to an element such as a wheel , arm , or other element to act
   ments , an actuator may be included instead of or in addition upon the environment. Examples of an actuator include a
   to the processor circuit . In such embodiments, one or more motor, a linear motor, a servomotor, a hydraulic element, a
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   pneumatic element, an electro -magnetic element, a spring stereoscopic or range pictures. In further aspects , Camera
   element, and / or other actuators . Examples of types of actua- 92a may be or comprises any other Camera 92a . In general,
   tors include a rotary actuator, a linear actuator, and / or other Camera 92a may capture any light ( i.e. visible light, infrared
   types of actuators . In other embodiments, Processor 11 , light, ultraviolet light, X - ray light, etc. ) across the electro
   Logic Circuit 250 , Application Program 18 , and / or other 5 magnetic spectrum onto a light -sensitive material. Any other
   processing element may control or affect any other device or technique known in art can be utilized to facilitate Camera
   element instead of or in addition to an actuator.                   92a functionalities . In one example , a digital Camera 92a
      Referring to FIGS . 3A - 3E , various embodiments of Sen- can utilize a charge coupled device ( CCD ) , a complementary
   sors 92 and elements of Object Processing Unit 93 are metal- oxide - semiconductor ( CMOS ) sensor , and /or other
   illustrated                                                      10 electronic image sensor to capture digital pictures that can
      Sensor 92 ( also referred to simply as sensor or other then be stored in a memory or storage , or transmitted to any
   suitable name or reference) comprises the functionality for of the disclosed or other elements for further processing. In
   obtaining or detecting information about its environment, another example, analog Camera 92a can utilize an analog
   and / or other functionalities. As such , one or more Sensors 92 to - digital converter to produce digital pictures. In some
   can be used to detect objects and /or their properties in 15 embodiments, Camera 92a can be built , embedded, or
   Device's 98 surrounding. In some aspects , Device's 98 integrated in Device 98 and /or other disclosed element. In
   surrounding may include exterior of Device 98. In other other embodiments, Camera 92a can be an external Camera
   aspects , Device's 98 surrounding may include interior of 92a connected with Device 98 and / or other disclosed ele
   Device 98 in case of hollow Device 98 , Device 98 com-               ment. In further embodiments, Camera 92a comprises Com
   prising compartments or openings, and /or other variously 20 puting Device 70 or elements thereof. In general, Camera
   shaped Device 98. Examples of aspects of an environment              92a can be implemented in any suitable configuration to
   that Sensor 92 can measure or be sensitive to include light          provide its functionalities. Camera 92a may capture one or
   ( i.e. camera , lidar, etc. ) , electromagnetism / electromagnetic   more digital pictures. A digital picture may include a col
   field (i.e. radar, etc. ), sound ( i.e. microphone, sonar, etc. ),   lection of color encoded pixels or dots . Examples of file
   physical contact (i.e. tactile sensor, etc. ), magnetism /mag- 25 formats that can be utilized to store a digital picture include
   netic field ( i.e. compass, etc. ), electricity / electric field , tem- JPEG , GIF, TIFF, PNG , PDF, and / or other digitally encoded
   perature , gravity, vibration, pressure, and / or others. In some picture formats. A stream of digital pictures (i.e. motion
   aspects , a passive sensor (i.e. camera, microphone, etc.) picture, video , etc. ) may include one or more digital pic
   measures signals or radiation emitted or reflected by an tures . Examples of file formats that can be utilized to store
   object. In other aspects , an active sensor (i.e. lidar, radar, 30 a stream of digital pictures include MPEG , AVI, FLV, MOV,
   sonar, etc. ) emits signals or radiation and measures the RM , SWF, WMV, DivX , and / or other digitally encoded
   signals or radiation reflected or backscattered from an motion picture formats .
   object. A reference to a Sensor 92 herein includes a reference        In other embodiments, Sensor 92 may be or include
   to one or more Sensors 92 as applicable. In some designs , a Microphone 92b as shown in FIG . 3B . Microphone 926
   plurality of Sensors 92 may be used to detect objects and/or 35 comprises the functionality for capturing one or more
   their properties from different angles or sides of Device 98 . sounds , and /or other functionalities. As such , Microphone
   For example, four Cameras 92a can be placed on four 92b can be used to capture sounds from Device's 98
   corners of Device 98 to cover 360 degrees of view of surrounding. Microphone 92b may be useful in detecting
   Device's 98 surrounding. In other designs , a plurality of existence of an object, type of an object, identity of an
   different types of Sensors 92 may be used to detect different 40 object, bearing/angle of an object, activity ( i.e. motion ,
   types of objects and / or their properties. For example , one or sounding, etc. ) of an object, and / or other properties of an
   more Cameras 92a can be used to detect and identify an object. In some aspects , Microphone 92b may be omnidi
   object, whereas, Radar 92d can be used to determine dis- rectional microphone that enables capturing sounds from
   tance and bearing / angle of the object relative to Device 98 . any direction . In other aspects , Microphone 92b may be a
   In further designs, a signal - emitting element can be placed 45 directional (i.e. unidirectional, bidirectional , etc. ) micro
   within or onto an object and Sensor 92 can detect the signal phone that enables capturing sounds from one or more
   from the signal -emitting element, thereby detecting the directions while ignoring or being insensitive to sounds from
   object and / or its properties. For example, a radio- frequency other directions . In general , Microphone 92b may utilize a
   identification (RFID ) emitter may be placed within an object membrane sensitive to air pressure and may produce elec
   to help Sensor 92 detect, identify, and / or obtain other 50 trical signal from air pressure variations. Samples of the
   information about the object.                                  electrical signal can then be read to produce a stream of
      In some embodiments, Sensor 92 may be or include digital sound samples. Any other technique known in art can
   Camera 92a as shown in FIG . 3A . Camera 92a comprises be utilized to facilitate Microphone 92b functionalities. In
   the functionality for capturing one or more pictures, and / or one example, a digital Microphone 92b may include an
   other functionalities. As such , Camera 92a can be used to 55 integrated analog- to -digital converter to capture a stream of
   capture pictures of Device's 98 surr irrounding. Camera 92a digital sound samples that can then be stored in a memory
   may be useful in detecting existence of an object, type of an or storage , or transmitted to any of the disclosed or other
   object, identity of an object, distance of an object, bearing elements for further processing. In another example, analog
   angle of an object, location of an object, shape/ size of an Microphone 92b may utilize an external analog - to - digital
   object, activity of an object, and / or other properties of an 60 converter to produce a stream of digital sound samples. In
   object. In some aspects , Camera 92a may be or comprises a some embodiments, Microphone 92b can be built , embed
   motion picture camera that can capture streams of pictures ded , or integrated in Device 98. In other embodiments,
   ( i.e. motion pictures, videos , etc. ) . In other aspects , Camera Microphone 92b can be an external Microphone 92b con
   92a may be or comprises a still picture camera that can nected with Device 98. In further embodiments where used
   capture still pictures ( i.e. photographs, etc. ). In further 65 in water, Microphone 92b may be or include a hydrophone.
   aspects , Camera 92a may be or comprises a stereo camera In further embodiments, Microphone 92b comprises Com
   ( i.e. camera with multiple lenses , etc. ) that can capture puting Device 70 or elements thereof. In general, Micro
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   phone 92b can be implemented in any suitable configuration Object Properties 630 , and / or other elements or information
                                                                                                2

   to provide its functionalities. Examples of file formats that related to objects detected in Device's 98 surrounding at a
   can be utilized to store a stream of digital sound samples particular time . Collection of Object Representations 525
   include WAV , WMA , AIFF, MP3 , RA , OGG , and / or other may, therefore, include knowledge (i.e. unit of knowledge,
   digitally encoded sound formats .                                  5 etc. ) of Device's 98 circumstances including objects with
      In further embodiments , Sensor 92 may be or include various properties at a particular time . In some designs , a
   Lidar 92c as shown in FIG . 3C . Lidar 92c may be useful in Collection of Object Representations 525 may include or be
   detecting existence of an object, type of an object, identity associated with a time stamp (not shown) , order (not
   of an object, distance of an object, bearing / angle of an shown ), or other time related information . For example , one
   object, location of an object, shape/size of an object, activity 10 Collection of Object Representations 525 may be associated
   of an object, and / or other properties of an object. In some with time stamp t1 , another Collection of Object Represen
   aspects , Lidar 92c may emit a light signal (i.e. laser beam , tations 525 may be associated with time stamp t2 , and so on .
   etc. ) and listen for aa signal that is reflected or backscattered Time stamps t1 , t2 , etc. may indicate the times of generating
   from an object. Any other technique known in art can be Collections of Object Representations 525 , for instance . In
   utilized to facilitate Lidar 92c functionalities .                15 other embodiments, Object Processing Unit 93 comprises
      In further embodiments, Sensor 92 may be or include a the functionality for creating or generating a stream of
   Radar 92d as shown in FIG . 3D . Radar 92d may be useful Collections of Object Representations 525. A stream of
   in detecting existence of an object, type of an object, Collections of Object Representations 525 may include one
   distance of an object, bearing/angle of an object, location of Collection of Object Representations 525 or a group ,
   an object, shape size of an object, activity of an object, 20 sequence , or other plurality of Collections of Object Rep
   and / or other properties of an object. In some aspects , Radar resentations 525. In some aspects , a stream of Collections of
   92d may emit a radio signal (i.e. radio wave , etc.) and listen      Object Representations 525 includes one or more Collec
   for a signal that is reflected or backscattered from an object. tions of Object Representations 525 , and / or other elements
   Any other technique known in art can be utilized to facilitate or information related to objects detected in Device's 98
   Radar 92d functionalities .                                       25 surrounding over time . A stream of Collections of Object
      In further embodiments , Sensor 92 may be or include Representations 525 may, therefore , include knowledge (i.e.
   Sonar 92e as shown in FIG . 3E . Sonar 92e may be useful in unit of knowledge, etc.) of Device's 98 circumstances
   detecting existence of an object, type of an object, distance including objects with various properties over time . As
   of an object, bearing/angle of an object, location of an circumstances including objects with various properties in
   object, shape / size of an object, activity of an object, and /or 30 Device's 98 surrounding change ( i.e. objects and / or their
   other properties of an object. In some aspects , Sonar 92e properties change, move , act , transform , etc.) over time , this
   may emit a sound signal ( i.e. sound pulse , etc. ) and listen for change may be captured in a stream of Collections of Object
   a signal that is reflected or backscattered from an object. Any Representations 525. In some designs, each Collection of
   other technique known in art can be utilized to facilitate Object Representations 525 in a stream may include or be
   Sonar 92e functionalities.                                        35 associated with the aforementioned time stamp, order, or
      One of ordinary skill in art will understand that the other time related information . For example, one Collection
   aforementioned sensors are described merely as examples of of Object Representations 525 in a stream may be associated
   a variety of possible implementations, and that while all with order 1 , a next Collection of Object Representations
   possible sensors are too voluminous to describe, other 525 in the stream may be associated with order 2 , and so on .
   sensors known in art that can facilitate detecting of objects 40 Orders 1 , 2 , etc. may indicate the orders or places of
   and / or their properties in Device's 98 surrounding are within Collections of Object Representations 525 within a stream
   the scope of this disclosure . Any combination of the afore- (i.e. sequence, etc. ), for instance. Examples of objects
   mentioned and / or other sensors can be used in various include biological objects (i.e. persons , animals , vegetation ,
   embodiments .                                                        etc. ) , nature objects (i.e. rocks, bodies of water, etc. ) , man
      Object Processing Unit 93 comprises the functionality for 45 made objects ( i.e. buildings, streets, ground /aerial/aquatic
   processing output from Sensor 92 to obtain information of vehicles, etc. ), and / or others. In some aspects , any part of an
   interest, and /or other functionalities. As such , Object Pro- object may be detected as an object itself. For instance ,
   cessing Unit 93 can be used to process output from Sensor instead of or in addition to detecting a vehicle as an object,
   92 to detect objects and / or their properties in Device's 98 a wheel and / or other parts of the vehicle may be detected as
   surrounding. In some embodiments, Object Processing Unit 50 objects. In general, object may include any object or part
   93 comprises the functionality for creating or generating thereof that can be detected . Examples of object properties
   Collection of Object Representations 525 (also referred to as include existence of an object, type of an object ( i.e. person ,
   Coll of Obj Rep or other suitable name or reference ) and cat, vehicle , building , street, tree, rock , etc. ) , identity of an
   storing one or more Object Representations 625 (also object ( i.e. name , identifier, etc. ) , distance of an object,
   referred to simply as object representations, representations 55 bearing / angle of an object, location of an object (i.e. distance
   of objects, or other suitable name or reference ), Object and bearing / angle from a known point, coordinates, etc. ) ,
   Properties 630 (also referred to simply as object properties shape /size of an object ( i.e. height, width , depth, computer
   or other suitable name or reference ), and / or other elements model, point cloud , etc. ) , activity of an object (i.e. motion ,
   or information into the Collection of Object Representations gestures , etc. ), and / or other properties of an object. Type of
   525. As such , Collection of Object Representations 525 60 an object, for example, may include any classification of
   comprises the functionality for storing one or more Object objects ranging from detailed such as person , cat , vehicle ,
   Representations 625 , Object Properties 630 , and / or other building , street, tree , rock , etc. to generalized such as
   elements or information . Object Representation 625 may biological object, nature object, manmade object, etc. , and /
   include an electronic representation of an object (i.e. Object or others including their sub - types. Location of an object, for
   615 [ later described ], etc. ) detected in Device's 98 surround- 65 example, can include a relative location such as one defined
   ing . In some aspects , Collection of Object Representations by distance and bearing/angle from a known point or loca
   525 includes one or more Object Representations 625 , tion ( i.e. Device 98 location , etc. ). Location of an object, for
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   example , can also include absolute location such as one            server , cloud , etc.) accessible over a network or an interface .
   defined by object coordinates . In general, an object property Typical steps or elements in a feature oriented picture
   may include any attribute of an object (i.e. existence of an recognition include pre -processing, feature extraction ,
   object, type of an object , identity of an object, shape/ size of detection / segmentation, decision -making , and / or others, or a
   an object, etc. ) , any relationship of an object with Device 98,5 combination thereof, each of which may include its own
   other objects, or the environment ( i.e. distance of an object, sub - steps or sub - elements depending on the application . In
   bearing/ angle of an object, friend / foe relationship , etc.), further aspects , Picture Recognizer 94a may detect or rec
   and /or other information related to an object. In some ognize multiple objects and / or their properties from a digital
   implementations, Object Processing Unit 93 and /or any of picture using the aforementioned pixel or feature compari
   its elements or functionalities can be included in Sensor 92. 10 sons , and / or other detection or recognition techniques . For
   In other implementations, Object Processing Unit 93 and /or example , a picture may depict two objects in two of its
   any of its elements or functionalities can be embedded into regions both of which Picture Recognizer 94a can detect
   or operate on Processor 11. In further implementations, simultaneously. In further aspects , where objects and /or their
   Object Processing Unit 93 and / or any of its elements or properties span multiple pictures, Picture Recognizer 94a
   functionalities can be embedded into or operate in DCADO 15 may detect or recognize objects and / or their properties by
   Unit 100 , and / or other disclosed elements . Object Process- applying the aforementioned pixel or feature comparisons
   ing Unit 93 may be provided in any suitable configuration . and /or other detection or recognition techniques over a
   Object Processing Unit 93 may include any signal process- stream of digital pictures ( i.e. motion picture, video , etc. ) .
   ing techniques or elements known in art as applicable.             For example, once an object is detected in a digital picture
      In some embodiments, Object Processing Unit 93 may 20 (i.e. frame, etc. ) of a stream of digital pictures (i.e. motion
   include Picture Recognizer 94a as shown in FIG . 3A . picture, video, etc.), the region of pixels comprising the
   Picture Recognizer 94a comprises the functionality for detected object or the object's features can be searched in
   detecting or recognizing objects and / or their properties in other pictures of the stream of digital pictures, thereby
   visual data , and /or other disclosed functionalities . Visual tracking the object through the stream of digital pictures. In
   data includes digital motion pictures, digital still pictures, 25 further aspects , Picture Recognizer 94a may detect or rec
   and / or other visual data. Examples of file formats that can be ognize an object's activities by identifying and /or analyzing
   utilized to store visual data include AVI, DivX , MPEG ,            differences between a detected region of pixels of one
   JPEG , GIF, TIFF, PNG , PDF, and / or other file formats . For
                     2                                                 picture (i.e. frame, etc. ) and detected regions of pixels of
   example, Picture Recognizer 94a can be used for detecting other pictures in a stream of digital pictures. For example , a
   or recognizing objects and / or their properties in one or more 30 region of pixels comprising a person's face can be detected
   digital pictures captured by one or more Cameras 92a . in multiple consecutive pictures of a stream of digital
   Picture Recognizer 94a can be utilized in detecting or pictures ( i.e. motion picture, video , etc. ) . Differences among
   recognizing existence of an object, type of an object, identity the detected regions of the consecutive pictures may be
   of an object, distance of an object, bearing/angle of an identified in the mouth part of the person's face to indicate
   object, location of an object, shape/ size of an object, activity 35 smiling or speaking activity. In further aspects , Picture
   of an object, and / or other properties of an object. In general, Recognizer 94a may detect or recognize objects and / or their
   Picture Recognizer 94a can be used for any operation properties using one or more artificial neural networks,
   supported by Picture Recognizer 94a . Picture Recognizer which may include statistical techniques. Examples of arti
   94a may detect or recognize an object and / or its properties ficial neural networks that can be used in Picture Recognizer
   as well as track the object and / or its properties in one or 40 94a include convolutional neural networks (CNNs ), time
   more digital pictures or streams of digital pictures ( i.e. delay neural networks ( TDNNs), deep neural networks,
   motion pictures, video , etc. ) . In the case of a person , Picture and / or others. In one example, picture recognition tech
   Recognizer 94a may detect or recognize a human head or niques and / or tools involving convolutional neural networks
   face, upper body, full body, or portions / combinations may include identifying and / or analyzing tiled and / or over
   thereof. In some aspects , Picture Recognizer 94a may detect 45 lapping regions or features of a digital picture, which may
   or recognize objects and / or their properties from a digital then be used to search for pictures with matching regions or
   picture by comparing regions of pixels from the digital features . In another example, features of different convolu
   picture with collections of pixels comprising known objects tional neural networks responsible for spatial and temporal
   and / or their properties. The collections of pixels comprising streams can be fused to detect objects and / or their properties
   known objects and / or their properties can be learned or 50 in streams of digital pictures (i.e. motion pictures, videos ,
   manually, programmatically, or otherwise defined . The col- etc. ) . In general, Picture Recognizer 94a may include any
   lections of pixels comprising known objects and / or their machine learning, deep learning, and / or other artificial intel
   properties can be stored in any data structure or repository ligence techniques. In further aspects , Picture Recognizer
   ( i.e. one or more files, database , etc. ) that resides locally on 94a can detect distance of a recognized object in a picture
   Device 98 , or remotely on a remote computing device ( i.e. 55 captured by a camera using structured light, sheet of light, or
   server, cloud , etc. ) accessible over a network or an interface. other lighting schemes, and / or by using phase shift analysis ,
   In other aspects , Picture Recognizer 94a may detect or time of flight, interferometry, or other techniques. In further
   recognize objects and /or their properties from a digital aspects , Picture Recognizer 94a may detect distance of a
   picture by comparing features (i.e. lines , edges , ridges,         recognized object in a picture captured by a stereo camera by
   corners, blobs , regions , etc.) of the digital picture with 60 using triangulation and /or other techniques. In further
   features of known objects and / or their properties. The fea- aspects , Picture Recognizer 94a may detect bearing/angle of
   tures of known objects and / or their properties can be learned a recognized object relative to the camera - facing direction
   or manually, programmatically, or otherwise defined . The by measuring the distance from the vertical centerline of the
   features of known objects and / or their properties can be picture to a pixel in the recognized object based on known
   stored in any data structure or repository (i.e. neural net- 65 picture resolution and camera's angle of view. Any other
   work , one or more files, database, etc. ) that resides locally on techniques known in art can be utilized in Picture Recog
   Device 98 , or remotely on a remote computing device ( i.e. nizer 94a . For example, thresholds for similarity, statistical
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   techniques, and / or optimization techniques can be utilized to 94a can also incrementally resize a digital picture such as
   determine aa match in any of the above - described detection increasing or decreasing the size of the digital picture
   or recognition techniques. In some exemplary embodiments, proportionally by a certain amount in each cycle of com
   object recognition techniques and / or tools such as OpenCV parisons in order to find a substantially similar match at one
   ( Open Source Computer Vision ) library, CamFind API , 5 of the incremental sizes . Any of the publically available,
   Kooaba, 6px API , Dextro API , and /or others can be utilized custom , or other digital picture resizing techniques or pro
   for detecting or recognizing objects and / or their properties in grams can be utilized such as nearest -neighbor interpolation ,
   digital pictures. In some aspects , picture recognition tech- bilinear interpolation, bicubic interpolation , and / or others. In
   niques and / or tools involve identifying and / or analyzing further implementations, Picture Recognizer 94a can
   features such as lines , edges, ridges, corners, blobs , regions, 10 manipulate content (i.e. all pixels , one or more regions , one
   and / or their relative positions , sizes, shapes, etc., which may or more depicted objects, etc.) of a digital picture before or
   then be used to search for pictures with matching features. during comparison. Such content manipulation may include
   For example, OpenCV library can detect an object ( i.e. moving, centering, aligning, resizing, transforming, and /or
   person , animal, vehicle , rock, etc. ) and /or its properties in otherwise manipulating content of a digital picture. For
   one or more digital pictures captured by Camera 92a or 15 example , Picture Recognizer 94a can move , center, or align
   stored in an electronic repository , which can then be utilized content of one picture to make it more comparable to another
   in DCADO Unit 100 , Artificial Intelligence Unit 110 , and / or picture. Any of the publically available, custom , or other
   other elements . In other exemplary embodiments , facial digital picture manipulation techniques or programs can be
   recognition techniques and / or tools such as OpenCV (Open utilized such as pixel moving, warping, distorting, afore
   Source Computer Vision) library, Animetrics FaceR API , 20 mentioned interpolations, and / or others. In further imple
   Lambda Labs Facial Recognition API , Face ++ SDK , Neven mentations, in digital pictures comprising transparency fea
   Vision (also known as N - Vision ) Engine, and / or others can tures or functionalities, Picture Recognizer 94a can utilize a
   be utilized for detecting or recognizing faces in digital threshold for acceptable number or percentage transparency
   pictures. In some aspects , facial recognition techniques difference. Alternatively, transparency can be applied to one
   and / or tools involve identifying and / or analyzing facial 25 or more pixels of a digital picture and color difference may
   features such as the relative position, size , and / or shape of then be determined between compared pixels taking into
   the eyes , nose , cheekbones, jaw, etc., which may then be account the transparency related color effect. Alternatively,
   used to search for pictures with matching features. For transparent pixels can be excluded from comparison . In
   example , FaceR API can detect a person's face in one or further implementations, certain regions or subsets of pixels
   more digital pictures captured by Camera 92a or stored in an 30 can be ignored or excluded during comparison using a mask .
   electronic repository, which can then be utilized in DCADO In general, any region or subset of a picture determined to
   Unit 100 , Artificial Intelligence Unit 110 , and /or other contain no content of interest can be excluded from com
   elements .                                                         parison using a mask . Examples of such regions or subsets
       Various aspects or properties of digital pictures or pixels include background, transparent or partially transparent
   can be taken into account by Picture Recognizer 94a in any 35 regions, regions comprising insignificant content, or any
   of the recognizing or comparisons. Examples of such arbitrary region or subset. Picture Recognizer 94a can
   aspects or properties include color adjustment, size adjust- perform any other pre -processing or manipulation of digital
   ment, content manipulation , transparency ( i.e. alpha chan- pictures or pixels before or during recognizing or compari
   nel , etc. ), use of mask , and / or others. In some implementa son .
   tions , as digital pictures can be captured by various picture 40 In other embodiments , Object Processing Unit 93 may
   taking equipment, in various environments , and under vari- include Sound Recognizer 946 as shown in FIG . 3B . Sound
   ous lighting conditions, Picture Recognizer 94a can adjust Recognizer 94b comprises the functionality for detecting or
   lighting or color of pixels or otherwise manipulate pixels recognizing objects and / or their properties in audio data ,
   before or during comparison. Lighting or color adjustment and / or other disclosed functionalities. Audio data includes
   ( also referred to as gray balance, neutral balance, white 45 digital sound, and / or other audio data . Examples of file
   balance, etc. ) may generally include manipulating or rebal- formats that can be utilized to store audio data include WAV,
   ancing the intensities of the colors (i.e. red , green , and / or WMA , AIFF, MP3 , RA , OGG , and /or other file formats . For
   blue if RGB color model is used , etc.) of one or more pixels . example, Sound Recognizer 94b can be used for detecting or
   For example , Picture Recognizer 94a can adjust lighting or recognizing objects and /or their properties in a stream of
   color of some or all pixels of one picture to make it more 50 digital sound samples captured by one or more Microphones
   comparable to another picture. Picture Recognizer 94a can 92b . In the case of a person , Sound Recognizer 94b may
   also incrementally adjust the pixels such as increasing or detect or recognize human voice . Sound Recognizer 94b can
   decreasing the red, green , and /or blue pixel values by a be utilized in detecting or recognizing existence of an object,
   certain amount in each cycle of comparisons in order to find type of an object, identity of an object, bearing/angle of an
   a substantially similar match at one of the incremental 55 object, activity ( i.e. motion, sounding, etc.) of an object,
   adjustment levels . Any of the publically available , custom , and / or other properties of an object. In general, Sound
   or other lighting or color adjustment techniques or programs Recognizer 94b can be used for any operation supported by
   can be utilized such as color filters, color balancing, color Sound Recognizer 946. In some aspects , Sound Recognizer
   correction , and / or others. In other implementations, Picture 94b may detect or recognize an object and / or its properties
   Recognizer 94a can resize or otherwise transform a digital 60 from a stream of digital sound samples by comparing
   picture before or during comparison . Such resizing or trans- collections of sound samples from the stream of digital
   formation may include increasing or decreasing the number sound samples with collections of sound samples of known
   of pixels of a digital picture . For example, Picture Recog- objects and / or their properties. The collections of sound
   nizer 94a can increase or decrease the size of a digital samples of known objects and / or their properties can be
   picture proportionally ( i.e. increase or decrease length and / 65 learned , or manually, programmatically, or otherwise
   or width keeping aspect ratio constant, etc. ) to equate its size defined . The collections of sound samples of known objects
   with the size of another digital picture . Picture Recognizer and / or their properties can be stored in any data structure or
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   repository (i.e. one or more files, database , etc.) that resides   processing API can similarly be utilized . In further exem
   locally on Device 98 , or remotely on a remote computing            plary embodiments, applications or engines providing
   device ( i.e. server, cloud , etc.) accessible over a network or Sound recognition functionalities such as HTK (Hidden
   an interface. In other aspects , Sound Recognizer 94b may Markov Model Toolkit), Kaldi , OpenEars, Dragon Mobile ,
   detect or recognize an object and / or its properties from a 5 Julius , iSpeech , CeedVocal, and / or others can be utilized in
   stream of digital sound samples by comparing features from Sound Recognizer 94b . For example , Kaldi SDK can detect
   the stream of digital sound samples with features of sounds an object (i.e. person , animal, vehicle, etc. ) and /or its
   of known objects and / or their properties. The features of properties in a stream of digital sound samples captured by
   sounds of known objects and / or their properties can be Microphone 92b or stored in an electronic repository, which
   learned , or manually, programmatically, or otherwise 10 can then be utilized in DCADO Unit 100 , Artificial Intelli
   defined . The features of sounds of known objects and / or gence Unit 110 , and /or other elements.
   their properties can be stored in any data structure or               In further embodiments , Object Processing Unit 93 may
   repository ( i.e. one or more files, database, neural network , include Lidar Processing Unit 94c as shown in FIG . 3C .
   etc. ) that resides locally on Device 98 , or remotely on a Lidar Processing Unit 94c comprises the functionality for
   remote computing device (i.e. server , cloud , etc. ) accessible 15 detecting or recognizing objects and / or their properties using
   over a network or an interface. Typical steps or elements in light, and / or other disclosed functionalities . As such, Lidar
   a feature oriented sound recognition include pre -processing, Processing Unit 94c can be utilized in detecting existence of
   feature extraction , acoustic modeling , language modeling, an object, type of an object, identity of an object, distance of
   and / or others, or a combination thereof, each of which may an object, bearing/angle of an object, location of an object,
   include its own sub - steps or sub - elements depending on the 20 shape/size of an object, activity of an object, and /or other
   application. In further aspects , Sound Recognizer 94b may properties of an object. In general, Lidar Processing Unit
   detect or recognize a variety of sounds from a stream of 94c can be used for any operation supported by Lidar
   digital sound samples using the aforementioned sound Processing Unit 94c . In one example, Lidar Processing Unit
   sample or feature comparisons, and / or other detection or 94c may detect distance of an object by measuring time
   recognition techniques. For example, sound of a person , 25 delay between emission of a light signal ( i.e. laser beam ,
   animal, vehicle, and / or other sounds can be detected by     etc. ) and return of the light signal reflected from the object
   Sound Recognizer 94b . In further aspects , Sound Recog-      based on known speed of light. In another example, Lidar
   nizer 94b may detect or recognize sounds using Hidden Processing Unit 94c may detect bearing angle of an object
   Markov Models (HMM) , Artificial Neural Networks, by analyzing the amplitudes of a light signal received by an
   Dynamic Time Warping ( DTW) , Gaussian Mixture Models 30 array of detectors ( i.e. detectors arranged into a quadrant or
   ( GMM) , and / or other models or techniques, or a combina- other arrangement, etc. ) . In a further example, Lidar Pro
   tion thereof. Some or all of these models or techniques may cessing Unit 94c may detect existence, type , identity, shape/
   include statistical techniques. Examples of artificial neural size , activity, and / or other properties of an object by illu
   networks that can be used in Sound Recognizer 946 include minating the object with light and acquiring an image of the
   recurrent neural networks, time delay neural networks 35 object, which can then be processed using some of the
   ( TDNNs), deep neural networks, convolutional neural net- previously described or other picture recognition techniques.
   works, and / or others. In general, Sound Recognizer 94b may In a further example, Lidar Processing Unit 94c may detect
   include any machine learning, deep learning, and / or other existence, type, identity, shape/ size, activity, and / or other
   artificial intelligence techniques. In further aspects , Sound properties of an object by illuminating the object with light
   Recognizer 94b may detect bearing / angle of a recognized 40 and acquiring a point cloud representation of the object.
   object by measuring the direction in which Microphone 92b Lidar Processing Unit 94c may detect objects and /or their
   is pointing when sound of maximum strength is received , by properties by utilizing any lidar or light- related techniques
   analyzing amplitude of the sound , by performing phase known in art.
   analysis ( i.e. with microphone array , etc. ) of the sound,       In further embodiments, Object Processing Unit 93 may
   and / or by utilizing other techniques . Any other techniques 45 include Radar Processing Unit 94d as shown in FIG . 3D .
   known in art can be utilized in Sound Recognizer 946. For Radar Processing Unit 94d comprises the functionality for
   example , thresholds for similarity, statistical techniques, detecting or recognizing objects and /or their properties using
   and / or optimization techniques can be utilized to determine radio waves , and / or other disclosed functionalities. As such ,
   a match in any of the above -described detection or recog- Radar Processing Unit 94d can be utilized in detecting
   nition techniques. In some exemplary embodiments , oper- 50 existence of an object, type of an object, distance of an
   ating system's Sound recognition functionalities such as object, bearing/ angle of an object, location of an object,
   iOS's Voice Services, Siri, and / or others can be utilized in shape size of an object, activity of an object, and / or other
   Sound Recognizer 94b . For example, iOS Voice Services properties of an object. In general, Radar Processing Unit
   can detect an object ( i.e. person , etc. ) and / or its properties in 94d can be used for any operation supported by Radar
   a stream of digital sound samples captured by Microphone 55 Processing Unit 94d . In one example, Radar Processing Unit
   92b or stored in an electronic repository, which can then be 94d may detect existence of an object by emitting a radio
   utilized in DCADO Unit 100 , Artificial Intelligence Unit signal and listening for the radio signal reflected from the
   110 , and / or other elements. In other exemplary embodi- object. In another example, Radar Processing Unit 94d may
   ments, Java Speech API ( JSAPI ) implementation such as detect distance of an object by measuring time delay
   The Cloud Garden , Sphinx, and / or others can be utilized in 60 between emission of aa radio signal and return of the radio
   Sound Recognizer 946. For example, Cloud Garden JSAPI signal reflected from the object based on known speed of the
   can detect an object (i.e. person , animal , vehicle , etc. ) and / or radio signal. In a further example, Radar Processing Unit
   its properties in a stream of digital sound samples captured 94d may detect bearing/angle of an object by measuring the
   by Microphone 92b or stored in an electronic repository, direction in which the antenna is pointing when the return
   which can then be utilized in DCADO Unit 100 , Artificial 65 signal ofmaximum strength is received, by analyzing ampli
                                                        9

   Intelligence Unit 110 , and / or other elements. Any other tude of the return signal, by performing phase analysis (i.e.
   programming language's or platform's speech or sound with antenna array, etc.) of the return signal, and / or by
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   utilizing any amplitude, phase , or other techniques. In a detected . Object 615b may be recognized as a tree . Object
   further example , Radar Processing Unit 94d may detect 615b may be detected at a distance of 10 m from Device 98 .
   existence, type , identity, shape/ size , activity, and / or other Object 615b may be detected at a bearing/angle of 131 ° from
   properties of an object by illuminating the object with radio Device's 98 centerline. Furthermore, Object 615c is also
   waves and acquiring an image of the object, which can then 5 detected . Object 615c may be recognized as a person . Object
   be processed using some of the previously described or other 615c may be identified as John Doe . Object 615c may be
   picture recognition techniques. Radar Processing Unit 94d detected at a distance of 8 m from Device 98. Object 6150
   may detect objects and /or their properties by utilizing any may be detected at a bearing /angle of 2870 from Device's 98
   radar or radio - related techniques known in art.                  centerline . Any other Objects 615 instead of or in addition
      In further embodiments, Object Processing Unit 93 may 10 to Object 615a , Object 615b , and Object 615c may be
   include Sonar Processing Unit 94e as shown in FIG . 3E . detected . In some aspects , any features, functionalities, and
   Sonar Processing Unit 94e comprises the functionality for embodiments of Camera 92a /Picture Recognizer 94a ,
   detecting or recognizing objects and / or their properties using Microphone 92b / Sound Recognizer 94b , and / or other sen
   sound, and / or other disclosed functionalities. As such , Sonar sors or techniques can be utilized for recognizing and / or
   Processing Unit 94e can be utilized in detecting existence of 15 identifying a person, a cat, a tree, and / or other Objects 615 .
   an object, type of an object, distance of an object, bearing/ In further aspects , any features, functionalities, and embodi
   angle of an object, location of an object, shape/ size of an ments of Camera 92a /Picture Recognizer 94a , Microphone
   object, activity of an object, and / or other properties of an 92b /Sound Recognizer 946 , Lidar 92c /Lidar Processing Unit
   object. In general, Sonar Processing Unit 94e can be used for 94c , Radar 92d /Radar Processing Unit 94d, Sonar 92e/ Sonar
   any operation supported by Sonar Processing Unit 94e . In 20 Processing Unit 94e , and/or other sensors or techniques can
   one example , Sonar Processing Unit 94e may detect exis- be utilized for detecting distance , bearing/angle, and / or other
   tence of an object by emitting a sound signal and listening object properties.
   for the sound signal reflected from the object. In another      As shown for example in FIG . 4B , Object Processing Unit
   example, Sonar Processing Unit 94e may detect distance of 93 may create or generate Collection of Object Represen
   an object by measuring time delay between emission of a 25 tations 525 including Object Representation 625a represent
   sound signal and return of the sound signal reflected from         ing Object 615a , Object Representation 625b representing
   the object based on known speed of the sound signal . In a         Object 615b , Object Representation 625c representing
   further example, Sonar Processing Unit 94e may detect Object 6150 , etc. For instance , Object Representation 625a
   bearing/angle of an object by measuring the direction in may include Object Property 630aa “ Cat ” in Category
   which the microphone is pointing when the return signal of 30 635aa “ Type ” , Object Property 630ab “ 6 m ” in Category
   maximum strength is received , by analyzing amplitude of 635ab “ Distance ” , Object Property 630ac " 560" in Category
   the return signal, by performing phase analysis ( i.e. with 635ac “ Bearing ”, etc. Also , Object Representation 625b
   microphone array, etc.) of the return signal , and / or by may include Object Property 630ba “ Tree ” in Category
   utilizing any amplitude, phase , or other techniques. In a 635ba “ Type ” , Object Property 630bb “ 10 m ” in Category
   further example , Sonar Processing Unit 94e may detect 35 635bb “ Distance ” , Object Property 630bc “ 131 ”” in Cat
   existence, type , identity, shape/ size , activity, and / or other egory 635bc “ Bearing”, etc. Also , Object Representation
   properties of an object by illuminating the object with sound 625c may include Object Property 630ca “ Person ” in Cat
   pulses and acquiring an image of the object, which can then egory 635ca “ Type ” , Object Property 630cb “ John Doe” in
   be processed using some of the previously described or other Category 635cb “ Identity ” , Object Property 630cc “ 8 m ” in
   picture recognition techniques. Sonar Processing Unit 94e 40 Category 635cc “ Distance ” , Object Property 630cd “ 2870"
   may detect objects and / or their properties by utilizing any in Category 635cd “ Bearing” , etc. Any number of Object
   sonar or sound - related techniques known in art.                  Representations 625 , and / or other elements or information
      One of ordinary skill in art will understand that the can be included in Collection of Object Representations 525 .
   aforementioned techniques for detecting or recognizing Any number of Object Properties 630 (also referred to
   objects and / or their properties are described merely as 45 simply as object properties or other suitable name or refer
   examples of a variety of possible implementations, and that ence ), and / or other elements or information can be included
   while all possible techniques for detecting or recognizing in an Object Representation 625. In some aspects , a refer
   objects and / or their properties are too voluminous to ence to Collection of Object Representations 525 comprises
   describe, other techniques for detecting or recognizing a reference to a collection of Object Properties 630 and / or
   objects and / or their properties known in art are within the 50 other elements or information related to one or more Objects
   scope of this disclosure. Also , any signal processing tech- 615. Other additional Object Representations 625 , Object
   nique known in art that can facilitate the disclosed function- Properties 630 , elements, and /or information can be
   alities can be utilized in various embodiments . Any combi- included as needed , or some of the disclosed ones can be
   nation of the aforementioned and / or other sensors , object excluded , or a combination thereof can be utilized in alter
   detecting or recognizing techniques, signal processing tech- 55 nate embodiments of Collection of Object Representations
   niques , and / or other elements or techniques can be used in 525 .
   various embodiments.                                               Referring now to DCADO Unit 100 , DCADO Unit 100
      Referring to FIGS . 4A - 4B , an exemplary embodiment of comprises any hardware, programs, or a combination
   Objects 615 ( also referred to simply as objects or other thereof. DCADO Unit 100 comprises the functionality for
   suitable name or reference ) detected in Device's 98 sur- 60 learning the operation of Device 98 in circumstances includ
   rounding, and resulting Collection of Object Representa- ing objects with various properties. DCADO Unit 100
   tions 525 are illustrated .                                  comprises the functionality for structuring and / or storing
      As shown for example in FIG . 4A , Object 615a is this knowledge in a knowledgebase ( i.e. neural network ,
   detected . Object 615a may be recognized as a cat . Object graph , sequences, other repository, etc. ). DCADO Unit 100
   615a may be detected at a distance of 6 m from Device 98. 65 comprises the functionality for enabling autonomous opera
   Object 615a may be detected at a bearing/angle of 56 ° from tion of Device 98 in circumstances including objects with
   Device's 98 centerline. Furthermore, Object 615b is also various properties. DCADO Unit 100 comprises the func
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   tionality for interfacing with or attaching to Application         ments, autonomous application operating comprises deter
   Program 18 , Processor 11 , Logic Circuit 250 ( later mining, by DCADO Unit 100 , a next instruction or instruc
                                                                                                   9

   described ), and / or other processing element. DCADO Unit tion set to be executed based on Device's 98 circumstances
   100 comprises the functionality for obtaining instruction including objects with various properties prior to the system
   sets, data, and / or other information used , implemented , 5 receiving the next instruction or instruction set .
   and / or executed by Application Program 18 , Processor 11 ,         In some embodiments, autonomous Device 98 operating
   Logic Circuit 250 , and / or other processing element. includes a partially or fully autonomous operating. In an
   DCADO Unit 100 comprises the functionality for modifying example involving partially autonomous Device 98 operat
   instruction sets, data , and / or other information used, imple- ing , a user confirms DCADO Unit 100 -generated instruc
   mented, and / or executed by Application Program 18 , Pro- 10 tions or instruction sets prior to their execution . In an
   cessor 11 , Logic Circuit 250 , and /or other processing ele- example involving fully autonomous application operating,
   ment. DCADO Unit 100 comprises learning, anticipating, DCADO Unit 100 - generated instructions or instruction sets
   decision making , automation , and / or other functionalities are executed without user or other system confirmation (i.e.
   disclosed herein . Statistical , artificial intelligence, machine automatically, etc. ).
   learning, and / or other models or techniques are utilized to 15 In some embodiments, a combination of DCADO Unit
   implement the disclosed devices, systems, and methods.            100 and other systems and / or techniques can be utilized to
      When DCADO Unit 100 functionalities are applied on implement Device's 98 operation. In one example, DCADO
   Application Program 18 , Processor 11 , Logic Circuit 250          Unit 100 may be a primary or preferred system for imple
   ( later described ), and / or other processing element of Device   menting Device's 98 operation. While operating autono
   98 , Device 98 may become autonomous. DCADO Unit 100 20 mously under the control of DCADO Unit 100 , Device 98
   may take control from , share control with , and / or release may encounter a circumstance including objects with vari
   control to Application Program 18 , Processor 11 , Logic ous properties that has not been encountered or learned
   Circuit 250 , and / or other processing element to implement before . In such situations, User 50 and /or non - DCADO
   autonomous operation of Device 98. DCADO Unit 100 may system may take control of Device's 98 operation. DCADO
   take control from , share control with , and / or release control 25 Unit 100 may take control again when Device 98 encounters
   to Application Program 18 , Processor 11 , Logic Circuit 250 , a previously learned circumstance including objects with
   and / or other processing element automatically or after various properties. Naturally, DCADO Unit 100 can learn
   prompting User 50 to allow it . In some aspects , Application Device's 98 operation in circumstances while User 50
   Program 18 , Processor 11 , Logic Circuit 250 , and / or other and / or non - DCADO system is in control of Device 98 ,
   processing element of an autonomous Device 98 may 30 thereby reducing or eliminating the need for future involve
   include or be provided with anticipatory ( also referred to as ment of User 50 and / or non - DCADO system . In another
   alternate or other suitable name or reference ) instructions or example , User 50 and / or non - DCADO system may be a
   instruction sets that User 50 did not issue or cause to be         primary or preferred system for implementing Device's 98
   executed . Such anticipatory instructions or instruction sets operation. While operating under the control of User 50
   include instruction sets that User 50 may want or is likely to 35 and / or non- DCADO system , User 50 and / or non - DCADO
   issue or cause to be executed . Anticipatory instructions or system may release control to DCADO Unit 100 for any
   instruction sets can be generated by DCADO Unit 100 or reason ( i.e. User 50 gets tired or distracted, non -DCADO
   elements thereof based on Device's 98 circumstances system gets stuck or cannot make a decision , etc. ) , at which
   including objects with various properties. As such , Appli- point Device 98 can be controlled by DCADO Unit 100. In
   cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 40 some designs, DCADO Unit 100 may take control in certain
   other processing element of an autonomous Device 98 may special circumstances including objects with various prop
   include or be provided with some or all original instructions erties where DCADO Unit 100 may offer superior perfor
   or instruction sets and / or any anticipatory instructions or mance even though User 50 and / or non - DCADO system
   instruction sets generated by DCADO Unit 100. Therefore , may generally be preferred . Once Device 98 leaves such
   autonomous Device 98 operating may include executing 45 special circumstances, DCADO Unit 100 may release con
   some or all original instructions or instruction sets and / or trol to User 50 and /or non- DCADO system . In general,
   any anticipatory instructions or instruction sets generated by DCADO Unit 100 can take control from , share control with ,
   DCADO Unit 100. In one example, DCADO Unit 100 can or release control to User 50 , non - DCADO system , and / or
   overwrite or rewrite the original instructions or instruction other system or process at any time , in any circumstances,
   sets of Application Program 18 , Processor 11 , Logic Circuit 50 and remain in control for any period of time as needed .
   250 , and / or other processing element with DCADO Unit              In some embodiments , DCADO Unit 100 may control
   100 - generated instructions or instruction sets . In another one or more sub -devices, sub - systems, or elements of
   example , DCADO Unit 100 can insert or embed DCADO Device 98 while User 50 and / or non -DCADO system may
   Unit 100 - generated instructions or instruction sets among control other one or more sub -devices, sub - systems, or
   the original instructions or instruction sets of Application 55 elements of Device 98 .
   Program 18 , Processor 11 , Logic Circuit 250 , and/or other        It should be understood that a reference to autonomous
   processing element. In a further example, DCADO Unit 100 operating of Device 98 may include autonomous operating
   can branch , redirect, or jump to DCADO Unit 100 - generated ofApplication Program 18 , Processor 11 , Logic Circuit 250 ,
   instructions or instruction sets from the original instructions and / or other processing element depending on context.
   or instruction sets of Application Program 18 , Processor 11 , 60 Referring now to Acquisition Interface 120 , Acquisition
   Logic Circuit 250 , and / or other processing element.           Interface 120 comprises the functionality for obtaining and /
      In some embodiments, autonomous Device 98 operating or receiving instruction sets, data, and / or other information .
   comprises determining, by DCADO Unit 100 , a next Acquisition Interface 120 comprises the functionality for
   instruction or instruction set to be executed based on obtaining and / or receiving instruction sets, data, and / or other
   Device's 98 circumstances including objects with various 65 information from Processor 11 , Application Program 18 ,
   properties prior to the user issuing or causing to be executed Logic Circuit 250 ( later described ), and / or other processing
   the next instruction or instruction set . In yet other embodi- element. Acquisition Interface 120 comprises the function
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   ality for obtaining and / or receiving instruction sets , data , elements of a computing system such as memory, virtual
   and / or other information at runtime. In some aspects , an machine , runtime engine/environment, operating system ,
   instruction set may include any computer command, instruc- compiler, interpreter, translator, processor registers, execu
   tion , signal, or input used in Application Program 18 , tion stack, program counter, and / or other elements. In yet
   Processor 11 , Logic Circuit 250 , and / or other processing 5 other aspects , instrumentation can be performed in various
   element. Therefore, the terms instruction set , command, abstraction layers of a computing system such as in software
   instruction, signal , input, or other such terms may be used layer (i.e. Application Program 18 , etc. ) , in virtual machine
   interchangeably herein depending on context. Acquisition                                                   2



   Interface 120 also comprises the functionality for attaching in(if VM       is used) , in operating system , in Processor 11 , and / or
   to or interfacing with Application Program 18 , Processor 11 , 10 computinglayers
                                                                         other             or areas that may exist in a particular
   Logic Circuit 250 , and / or other processing element. In one instrumentation can implementation
                                                                                    system
                                                                                              be performed  at
                                                                                                              . In yet other aspects ,
                                                                                                                various time periods in
   example , Acquisition Interface 120 comprises the function an application's execution such as source               code write time ,
   ality to access and / or read runtime engine/ environment,
   virtual machine, operating system , compiler, just - in - time compile time , interpretation time , translation time , linking
   (JIT) compiler, interpreter, translator, execution stack, file, 15 time , loading time, runtime, and / or other time periods. In yet
   object, data structure , and / or other computing system ele other aspects , instrumentation can be performed at various
   ments . In another example, Acquisition Interface 120 com granularities or code segments such as some or all lines of
   prises the functionality to access and / or read memory, stor code , some or all statements , some or all instructions or
   age , bus , interfaces, and / or other computing system instruction sets , some or all basic blocks , some or all
   elements. In a further example, Acquisition Interface 120 20 functions / routines / subroutines, and / or some or all other code
   comprises the functionality to access and / or read Processor segments .
   11 registers and / or other Processor 11 elements. In a further      In some embodiments, Application Program 18 can be
   example , Acquisition Interface 120 comprises the function- automatically instrumented . For example, Acquisition Inter
   ality to access and / or read inputs and / or outputs of Appli- face 120 can access Application Program’s 18 source code,
   cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 25 bytecode, or machine code and select instrumentation points
   other processing element. In a further example, Acquisition of interest. Selecting instrumentation points may include
   Interface 120 comprises the functionality to access and / or finding locations in the source code , bytecode , or machine
   read functions, methods, procedures, routines, subroutines , code corresponding to function calls , function entries, func
   and / or other elements of Application Program 18. In a tion exits, object creations, object destructions, event han
   further example , Acquisition Interface 120 comprises the 30 dler calls , new lines (i.e. to instrument all lines of code, etc. ) ,
   functionality to access and / or read source code , bytecode,         thread creations , throws, and /or other points of interest.
   compiled, interpreted , or otherwise translated code, machine         Instrumentation code can then be inserted at the instrumen
   code , and / or other code . In a further example , Acquisition tation points of interest to output Application Program's 18
   Interface 120 comprises the functionality to access and / or instruction sets , data , and /or other information . In response
   read values , variables, parameters, and / or other data or 35 to executing instrumentation code, Application Program's
   information. Acquisition Interface 120 also comprises the 18 instruction sets, data , and / or other information may be
   functionality for transmitting the obtained instruction sets , received by Acquisition Interface 120. In some aspects ,
   data, and / or other information to Artificial Intelligence Unit      Application Program's 18 source code, bytecode , or
   110 and / or other element. As such , Acquisition Interface 120       machine code can be dynamically instrumented . For
   provides input into Artificial Intelligence Unit 110 for 40 example , instrumentation code can be dynamically inserted
   knowledge structuring, anticipating, decision making , and / into Application Program 18 at runtime.
   or other functionalities later in the process. Acquisition                In other embodiments, Application Program 18 can be
   Interface 120 also comprises other disclosed functionalities. manually instrumented . In one example, a programmer can
   Acquisition Interface 120 can employ various techniques for instrument a function call by placing an instrumenting
   obtaining instruction sets , data , and / or other information . In 45 instruction immediately after the function call as in the
   one example, Acquisition Interface 120 can attach to and / or following example.
   obtain Processor's 11 , Application Program's 18 , Logic                  Devicel.moveForward ( 12 );
   Circuit's 250 , and / or other processing element’s instruction           trace Application (Devicel.moveForward ( 12 ):');
   sets , data , and / or other information through tracing or pro- In another example, an instrumenting instruction can be
   filing techniques. Tracing or profiling may be used for 50 placed immediately before the function call , or at the begin
   outputting Processor's 11 , Application Program's 18 , Logic ning , end, or anywhere within the function itself. A pro
   Circuit’s 250 , and / or other processing element's instruction grammer may instrument all function calls or only function
   sets, data , and /or other information at runtime. For instance , calls of interest. In a further example , a programmer can
   tracing or profiling may include adding trace code ( i.e. instrument all lines of code or only code lines of interest. In
   instrumentation , etc. ) to an application and / or outputting 55 a further example , a programmer can instrument other
   trace information to a specific target. The outputted trace elements utilized or implemented within Application Pro
   information ( i.e. instruction sets , data , and / or other infor- gram 18 such as objects and / or any of their functions, data
   mation , etc.) can then be provided to or recorded into a file, structures and / or any of their functions, event handlers
   data structure, repository, an application, and / or other sys- and / or any of their functions, threads and / or any of their
   tem or target that may receive such trace information . As 60 functions, and /or other elements or functions . Similar instru
   such , Acquisition Interface 120 can utilize tracing or pro- mentation as in the preceding examples can be performed
   filing to obtain instruction sets , data , and / or other informa- automatically or dynamically. In some designs where
   tion and provide them as input into Artificial Intelligence manual code instrumentation is utilized , Acquisition Inter
   Unit 110. In some aspects , instrumentation can be performed face 120 can optionally be omitted and Application Pro
   in source code , bytecode, compiled , interpreted, or other- 65 gram's 18 instruction sets , data, and / or other information
   wise translated code , machine code , and /or other code . In         may be transmitted directly to Artificial Intelligence Unit
   other aspects , instrumentation can be performed in various           110 .
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      In some embodiments, DCADO Unit 100 can be selective profiler of events in the profiled application . The Profiling
   in learning instruction sets , data, and / or other information to API may also provide an interface to enable the profiler to
   those implemented , utilized , or related to an object, data call back into the profiled application to obtain information
   structure , repository, thread , function, and /or other element about the state of the profiled application . The Profiling API
   of Application Program 18. In some aspects , Acquisition 5 may further provide call stack profiling functionalities.Call
   Interface 120 can obtain Application Program’s 18 instruc- stack ( also referred to as execution stack , control stack ,
   tion sets, data , and / or other information implemented , uti- runtime stack, machine stack, the stack , etc. ) includes a data
   lized , or related to a certain object in an object oriented structure that can store information about active subroutines
   Application Program 18 .                                           of an application . The Profiling API may provide a stack
      In some embodiments , various computing systems and / or 10 snapshot method, which enables a trace of the stack at a
   platforms may provide native tools for obtaining instruction particular point in time . The Profiling API may also provide
   sets, data , and / or other information . Also , independent ven- a shadow stack method, which tracks the call stack at every
   dors may provide portable tools with similar functionalities instant. A shadow stack can obtain function arguments ,
   that can be utilized across different computing systems return values , and information about generic instantiations .
   and / or platforms. These native and portable tools may 15 A function such as FunctionEnter can be utilized to notify
   provide a wide range of functionalities to obtain runtime and the profiler that control is being passed to a function and can
   other information such as instrumentation , tracing or pro- provide information about the stack frame and function
   filing, logging application or system messages , outputting arguments . A function such as FunctionLeave can be utilized
   custom text messages , outputting objects or data structures , to notify the profiler that aa function is about to return to the
   outputting functions / routines / subroutines or their invoca- 20 caller and can provide information about the stack frame and
   tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
   thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
   outputting processor registers, providing runtime memory periodically examine the stack . In some aspects , the Profil
   access , providing inputs and / or outputs , performing live ing API enables the profiler to change the in -memory code
   application monitoring, and / or other capabilities. One of 25 stream for a routine before it is just - in- time (JIT ) compiled
   ordinary skill in art will understand that, while all possible       where the profiler can dynamically add instrumentation code
   variations of the techniques to obtain instruction sets , data ,     to all or particular routines of interest. Other platforms,
   and / or other information are too voluminous to describe,           tools , and / or techniques may provide equivalent or similar
   these techniques are within the scope of this disclosure .           functionalities as the above described ones .
      In one example, obtaining instruction sets , data, and / or 30 In a further example, obtaining instruction sets , data ,
   other information can be implemented through the .NET and / or other information can be implemented through Java
   platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
   such as System.Diagnostics.Trace, System.Diagnostics.De- Java Virtual Machine Profiling Interface (JVMPI ) , Java
   bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and /or other APIs
   ing execution flow , and System . Diagnostics. Process , Sys- 35 or tools . These APIs can be used for instrumentation of an
   tem.Diagnostics.EventLog, and System . Diagnostics . application, for notification of Java Virtual Machine (VM )
   PerformanceCounter classes for profiling code , accessing events, and / or other functionalities . One of the tracing or
   local and remote processes , starting and stopping system profiling techniques that can be utilized includes bytecode
   processes, and interacting with Windows event logs , etc. For instrumentation . The profiler can insert bytecodes into all or
   instance, a set of trace switches can be created that output an 40 some of the classes . In application execution profiling, for
   application's information . The switches can be configured example, these bytecodes may include methodEntry and
   using the .config file. For a Web application , this may methodExit calls . In memory profiling, for example , the
   typically be Web.config file associated with the project. In a bytecodes may be inserted after each new or after each
   Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
   application Name.exe.config . Trace code can be added to 45 bytecode can be performed either by a post-compiler or a
   application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
   described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
   trace output is received . Trace code may output trace mes- or JVMTI interfaces. Both APIs can generate events for
   sages to a specific target such as a file , a log , a database , an method entry /exit, object allocation , and / or other events. In
   object, a data structure , and /or other repository or system . 50 some aspects , JVMTI can be utilized for dynamic bytecode
   Acquisition Interface 120 or Artificial Intelligence Unit 110        instrumentation where insertion of instrumentation byte
   can then read or obtain the trace information from these             codes is performed at runtime. The profiler may insert the
   targets. In some aspects , trace code may output trace mes-          necessary instrumentation when a selected class is invoked
   sages directly to Acquisition Interface 120. In other aspects ,     in an application . This can be accomplished using the
   trace code may output trace messages directly to Artificial 55 JVMTI's redefineClasses method, for example. This
   Intelligence Unit 110. In the case of outputting trace mes-         approach also enables changing of the level of profiling as
   sages to Acquisition Interface 120 or directly to Artificial        the application is running. If needed , these changes can be
   Intelligence Unit 110, custom listeners can be built to             made adaptively without restarting the application. Other
   accommodate these specific targets. Other platforms, tools ,        platforms, tools , and / or techniques may provide equivalent
   and / or techniques can provide equivalent or similar func- 60 or similar functionalities as the above described ones .
   tionalities as the above described ones .                              In a further example, obtaining instruction sets , data ,
      In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
   or other information can be implemented through the .NET TI's programming interface that enables creation of software
   platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
   profiler application for tracing, monitoring, interfacing with , 65 agent may use the functionality of the interface to register
   and / or managing a profiled application . The Profiling API for notification of events as they occur in the application ,
   provides an interface that includes methods to notify the and to query and control the application . A JVMTI agent
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   may use JVMTI functions to extract information from a Java        Examples of event attributes that can be utilized include
   application. A JVMTI agent can be utilized to obtain an           eventID , level , task , opcode , keywords, and / or other event
   application's runtime information such as method calls ,          attributes. Windows wevtutil tool enables access to events ,
   memory allocation , CPU utilization, lock contention, and/ or     their structures, registered event publishers, and / or their
   other information . JVMTI may include functions to obtain 5 configuration even before the events are fired . Wevtutil
   information about variables, fields, methods, classes , and /or supports capabilities such as retrieval of the names of all
   other information. JVMTI may also provide notification for logs on a computing device ; retrieval of configuration infor
   numerous events such as method entry and exit , exception , mation for a specific log ; retrieval of event publishers on a
   field access and modification , thread start and end, and / or computing device ; reading events from an event log , from a
   other events . Examples of JVMTI built - in methods include 10 log file, or using a structured query ; exporting events from
   GetMethodName to obtain the name of an invoked method , an event log , from a log file, or using a structured query to
   GetThreadInfo to obtain information for a specific thread, a specific target; and / or other capabilities. Operating system
   GetClassSignature to obtain information about the class of logs can be utilized solely if they contain sufficient infor
   an object, GetStackTrace to obtain information about the mation on an application's instruction sets , data , and / or
   stack including information about stack frames, and / or other 15 other information . Alternatively, operating system logs can
   methods. Other platforms, tools , and /or techniques may          be utilized in combination with another source of informa
   provide equivalent or similar functionalities as the above tion (i.e. trace information , call stack , processor registers ,
   described ones .                                                  memory , etc. ) to reconstruct the application's instruction
     In a further example, obtaining instruction sets , data ,       sets, data, and / or other information needed for Artificial
   and / or other information can be implemented through java- 20 Intelligence Unit 110 and / or other elements . In addition to
   .lang.Runtime class that provides an interface for application logging capabilities native to their respective platforms
   tracing or profiling. Examples of methods provided in java- and /or operating systems , many independent tools exist that
   .lang.Runtime that can be used to obtain an application's provide logging on different platforms and / or operating
   instruction sets , data, and / or other information include systems . Examples of these tools include Log 4 ), Logback ,
                                                                                                                         2

   tracemethodcalls, traceinstructions, and / or other methods . 25 SmartInspect, NLog , log 4net , Microsoft Enterprise Library,
   These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others. Other platforms,
   trace information for a method or instruction in the virtual      tools , and / or techniques may provide equivalent or similar
   machine as it is executed . The destination of trace output       functionalities as the above described ones .
   may be system dependent and include a file , a listener,             In a further example, obtaining instruction sets , data ,
   and / or other destinations where Acquisition Interface 120 , 30 and / or other information can be implemented through trac
   Artificial Intelligence Unit 110 , and / or other disclosed ele- ing or profiling the operating system on which an application
   ments can access needed information . In addition to tracing runs. As in tracing or profiling an application, one of the
   or profiling tools native to their respective computing sys- techniques that can be utilized includes adding instrumen
   tems and / or platforms, many independent tools exist that tation code to the operating system's source code . Such
   provide tracing or profiling functionalities on more than one 35 instrumentation code can be added to the operating system's
   computing system and / or platform . Examples of these tools source code before kernel compilation or recompilation, for
   include Pin , DynamoRIO , KernInst, DynInst , Kprobes , instance . This type of instrumentation may involve defining
   OpenPAT, DTrace , System Tap , and / or others. Other plat- or finding locations in the operating system's source code
   forms, tools , and /or techniques may provide equivalent or where instrumentation code may be inserted . Kernel instru
   similar functionalities as the above described ones .           40 mentation can also be performed without the need for kernel
      In a further example, obtaining instruction sets , data , recompilation or rebooting. In some aspects , instrumenta
   and / or other information can be implemented through log- tion code can be added at locations of interest through binary
   ging tools of the platform and / or operating system on which rewriting of compiled kernel code . In other aspects , kernel
   an application runs . Some logging tools may include nearly instrumentation can be performed dynamically where instru
   full feature sets of the tracing or profiling tools previously 45 mentation code is added and / or removed where needed at
   described . In one example , Visual Basic enables logging of runtime. For instance, dynamic instrumentation may over
   runtime messages through its Microsoft.VisualBasic.Log- write kernel code with a branch instruction that redirects
   ging namespace that provides a log listener where the log execution to instrumentation code or instrumentation rou
   listener may direct logging output to a file and /or other tine. In yet other aspects , kernel instrumentation can be
   target. In another example, Java enables logging through its 50 performed using just - in -time ( JIT ) dynamic instrumentation
   java.util.logging class . In some aspects , obtaining an appli- where execution may be redirected to a copy of kernel's
   cation's instruction sets , data , and / or other information can code segment that includes instrumentation code . This type
   be implemented through logging capabilities of the operat- of instrumentation may include aa JIT compiler and creation
   ing system on which an application runs. For example, of a copy of the original code segment having instrumen
   Windows NT features centralized log service that applica- 55 tation code or calls to instrumentation routines embedded
   tions and operating -system components can utilize to report into the original code segment. Instrumentation of the oper
   their events including any messages . Windows NT provides ating system may enable total system visibility including
   functionalities for system , application, security, and / or other visibility into an application's behavior by enabling genera
   logging . An application log may include events logged by tion of low level trace information . Other platforms, tools ,
   applications. Windows NT, for example, may include sup- 60 and /or techniques may provide equivalent or similar func
   port for defining an event source (i.e. application that created tionalities as the above described ones .
   the event, etc. ). Windows Vista, for example , supports a            In a further example , obtaining instruction sets , data ,
   structured XML log - format and designated log types to and /or other information can be implemented through trac
   allow applications to more precisely log events and to help ing or profiling the processor on which an application runs .
   interpret the events . Examples of different types of event 65 For example, some Intel processors provide Intel Processor
   logs include administrative, operational, analytic, debug , Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
   and / or other log types including any of their subcategories. enables recording executed instruction sets, and / or other
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   data or information of one or more applications. Intel PT is        to applications loaded into memory. Operating system , pro
   facilitated by the Processor Trace Decoder Library along            cessor, or other low level commands such as Linux mprotect
   with its related tools . Intel PT is a low - overhead execution     command or similar commands in other operating systems
   tracing feature that records information about application may be used to unprotect the protected locations in memory
   execution on each hardware thread using dedicated hard- 5 before the change. In yet other aspects , assembly language
   ware facilities. The recorded execution / trace information is can be used to obtain instruction sets , data , and /or other
   collected in data packets that can be buffered internally information through accessing and / or reading instruction
   before being sent to a memory subsystem or another system register, program counter, other processor registers, memory
   or element (i.e. Acquisition Interface 120 , Artificial Intelli- locations, and /or other components of a computing system .
   gence Unit 110 , etc. ). Intel PT also enables navigating the 10 In yet other aspects , high - level programming languages may
   recorded execution /trace information via reverse stepping call or execute an external assembly language program to
   commands. Intel PT can be included in an operating sys- facilitate obtaining instruction sets, data , and / or other infor
   tem's core files and provided as a feature of the operating mation as previously described . In yet other aspects , rela
   system . Intel PT can trace globally some or all applications tively low - level programming languages such as C may
   running on an operating system . Acquisition Interface 120 or 15 allow embedding assembly language directly in their source
   Artificial Intelligence Unit 110 can read or obtain the code such as , for example, using asm keyword of C. Other
   recorded execution / trace information from Intel PT . Other platforms, tools , and /or techniques may provide equivalent
   platforms, tools , and /or techniques may provide equivalent        or similar functionalities as the above described ones .
   or similar functionalities as the above described ones .              In aa further example, it may be sufficient to obtain user or
     In a further example, obtaining instruction sets , data , 20 other inputs, variables, parameters, and / or other data in
   and / or other information can be implemented through some procedural, simple object oriented , or other applica
   branch tracing or profiling. Branch tracing may include an tions . In one instance , a simple procedural application
   abbreviated instruction trace in which only the successful executes a sequence of instruction sets until the end of the
   branch instruction sets are traced or recorded . Branch tracing program . During its execution , the application may receive
   can be implemented through utilizing dedicated processor 25 user or other input, store the input in a variable, and perform
   commands, for example. Executed branches may be saved calculations using the variable to reach a result. The value of
   into special branch trace store area of memory . With the the variable can be obtained or traced . In another instance ,
   availability and reference to a compiler listing of the appli- a more complex procedural application comprises one or
   cation together with branch trace information , a full path of more functions/ routines / subroutines each of which may
   executed instruction sets can be reconstructed . The full path 30 include a sequence of instruction sets. The application    may
   can also be reconstructed with a memory dump ( containing execute a main sequence of instruction sets with aa branch to
   the program storage ) and branch trace information . In some a function / routine / subroutine. During its execution , the
   aspects , branch tracing can be utilized for pre - learning or application may receive user or other input, store the input
   automated learning of an application's instruction sets, data, in a variable , and pass the variable as a parameter to the
   and / or other information where a number of application 35 function / routine / subroutine. The function /routine /subrou
   simulations ( i.e. simulations of likely /common operations, tine may perform calculations using the parameter and
   etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
   be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
   needed to learn the application's operation directed by a function /routine /subroutine, and /or return value can be
   user . Other platforms, tools , and / or techniques may provide 40 obtained or traced . Values of user or other inputs, variables ,
   equivalent or similar functionalities as the above described parameters, and /or other items of interest can be obtained
   ones .                                                        through previously described tracing, instrumentation , and /
      In a further example, obtaining instruction sets , data, or other techniques. Other platforms, tools , and / or tech
   and / or other information can be implemented through niques may provide equivalent or similar functionalities as
   assembly language. Assembly language is a low - level pro- 45 the above described ones .
   gramming language for a computer or other programmable           Referring to FIG . 5 , in yet another example , obtaining
   device in which there is a strong correlation between the instruction sets , data, and / or other information may be
   language and the architecture's machine instruction sets . implemented through tracing, profiling , or sampling of
   Syntax , addressing modes , operands, and / or other elements instruction sets or data in processor registers, memory, or
   of an assembly language instruction set may translate 50 other computing system components where instruction sets ,
   directly into numeric (i.e. binary, etc. ) representations of that data, and / or other information may be stored or utilized . For
   particular instruction set. Because of this direct relationship example, Instruction Register 212 may be part of Processor
   with the architecture’s machine instruction sets , assembly 11 and it may store the instruction set currently being
   language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
   application's execution in processor registers, memory, and / 55 211 (also referred to as instruction pointer, instruction
   or other computing system components. For example , using address register, instruction counter, or part of instruction
   assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
   tion can be accessed , instrumented, and / or otherwise set, and it may hold or point to the memory address of the
   manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
   used to rewrite or overwrite original in -memory instruction 60 incrementation precedes the fetch , Program Counter 211
   sets of an application with instrumentation instruction sets . may point to the current instruction set being executed . In
   In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
   application's execution to instrumentation routine/subrou- Instruction Register 212 after Processor 11 fetches it from
   tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
   ing a jump into the application's in -memory code, by 65 Instruction Register 212 may hold the instruction set while
   redirecting program counter, or by other techniques. Some it is decoded by Instruction Decoder 213 , prepared , and
   operating systems may implement protection from changes executed . In some aspects , data (i.e. operands, etc. ) needed
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   for instruction set execution may be loaded from Memory 12         processor or computing system components and Acquisition
   into a register within Register Array 214. In other aspects ,    Interface 120 or other elements .
   the data may be loaded directly into Arithmetic Logic Unit          Referring to FIGS . 6A - 6B , in yet another example ,
   215. For instance, as instruction sets pass through Instruc-     obtaining instruction sets, data , and / or other information
   tion Register 212 during application execution , they may be 5 may be implemented through tracing, profiling, or sampling
   transmitted to Acquisition Interface 120 as shown . Examples of Logic Circuit 250. While Processor 11 includes any type
   of the steps in execution of a machine instruction set may or embodiment of logic circuit, Logic Circuit 250 is
   include decoding the opcode ( i.e. portion of a machine described separately here to offer additional detail on its
   instruction set that may specify the operation to be per 10 functioning       . Some Devices 98 may not need the processing
   formed ), determining where the operands may be located tailored Logicof anCircuit
                                                                    capabilities         entire Processor 11 , but instead a more
                                                                                              250. Examples of such Devices 98
   ( depending on architecture , operands may be in registers, the
   stack , memory , I/ O ports, etc. ), retrieving the operands, include    home appliances, audio or video electronics, vehicle
   allocating processor resources to execute the instruction set systems    , toys , industrial machines , robots , and /or others .
                                                                    Logic Circuit 250 comprises the functionality for perform
   ( needed in some types of processors ), performing the opera- 15 ing logic operations. Logic Circuit 250 comprises the func
   tion indicated by the instruction set , saving the results of tionality for performing logic operations using the circuit's
   execution, and / or other execution steps. Examples of the         inputs and producing outputs based on the logic operations
   types of machine instruction sets that can be utilized include     performed on the inputs. Logic Circuit 250 may generally be
   arithmetic, data handling, logical , program control, as well      implemented using transistors, diodes , and / or other elec
   as special and / or other instruction set types. In addition to 20 tronic switches , but can also be constructed using vacuum
   the ones described or shown , examples of other computing tubes , electromagnetic relays (relay logic ) , fluidic logic ,
   system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
   instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
   that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
   or written to ; memory data register ( MDR) that may hold 25 (FPGA ), application - specific integrated circuit (ASIC ) , and /
   data fetched from memory or data waiting to be stored in or other computing circuit or device . In other aspects , Logic
   memory ; data registers that may hold numeric values , char- Circuit 250 may be or include any circuit or device com
   acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors, one
   may hold addresses used by instruction sets that indirectly or more switches , and / or one or more other logic compo
   access memory ; general purpose registers (GPRS ) that may 30 nents . In further aspects , Logic Circuit 250 may be or
   store both data and addresses; conditional registers that may      include any integrated or other circuit or device that can
   hold truth values often used to determine whether some             perform logic operations. Logic may generally refer to
   instruction set should or should not be exe uted ; floating        Boolean logic utilized in binary operations, but other logics
   point registers (FPRs ) that may store floating point numbers;     can also be used . Input into Logic Circuit 250 may include
   constant registers that may hold read - only values such as 35 or refer to a value inputted into the Logic Circuit 250 ,
   zero , one, or pi ; special purpose registers ( SPRs ) such as therefore, these terms may be used interchangeably herein
   status register, program counter, or stack pointer that may depending on context. In one example , Logic Circuit 250
   hold information on program state ; machine - specific regis- may perform some logic operations using four input values
   ters that may store data and settings related to a particular and produce two output values . As the four input values are
   processor; Register Array 214 that may include an array of 40 delivered to or received by Logic Circuit 250 , they may be
   any number of processor registers; Arithmetic Logic Unit obtained by Acquisition Interface 120 through the four
   215 that may perform arithmetic and logic operations; hardwired connections as shown in FIG . 6A . In another
   control unit that may direct processor's operation ; and / or example , Logic Circuit 250 may perform some logic opera
   other circuits or components. Tracing, profiling, or sampling tions using four input values and produce two output values .
   of processor registers, memory, or other computing system 45 As the two output values are generated by or transmitted out
   components can be implemented in a program , combination of Logic Circuit 250 , they may be obtained by Acquisition
   of hardware and program , or purely hardware system . Dedi- Interface 120 through the two hardwired connections as
   cated hardware may be built to perform tracing, profiling, or shown in FIG . 6B . In a further example, instead of or in
   sampling of processor registers or any computing system addition to obtaining input and / or output values of Logic
   components with marginal or no impact to computing over- 50 Circuit 250 , the state of Logic Circuit 250 may be obtained
                                                                                 2

   head .                                                            by reading or accessing values from one or more Logic
       One of ordinary skill in art will recognize that FIG . 5 Circuit's 250 internal components such as registers, memo
   depicts one of many implementations of processor or com- ries , buses , and / or others ( i.e. similar to the previously
   puting system components , and that various additional com- described tracing, profiling, and / or sampling of Processor 11
   ponents can be included, or some of the disclosed ones can 55 components, etc. ) . Tracing, profiling, or sampling of Logic
   be excluded , or a combination thereof can be utilized in Circuit 250 can be implemented in a program , combination
   alternate implementations. Processor or computing system          of hardware and program , or purely hardware system . Dedi
   components may be arranged or connected differently in cated hardware may be built to perform tracing, profiling, or
   alternate implementations. Processor or computing system sampling of Logic Circuit 250 with marginal or no impact to
   components may also be connected with external elements 60 computing overhead . Any of the elements and / or techniques
   using various connections. For instance , the connection for tracing, profiling, or sampling of Logic Circuit 250 can
   between Instruction Register 212 and Acquisition Interface similarly be implemented with Processor 11 and / or other
   120 may include any number or types of connections such           processing elements . In some designs, DCADO Unit 100
   as , for example, a dedicated connection for each bit of may include clamps and / or other elements to attach DCADO
   Instruction Register 212 (i.e. 32 connections for a 32 bit 65 Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
   Instruction Register 212 , etc. ) . Any of the described or other (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
   connections or interfaces may be implemented among any             and /or attachment elements enable seamless attachment of
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   DCADO Unit 100 to any circuit or computing device                         shown in FIG . 7D , Instruction Set 526 includes assembly
   without the need to redesign or alter the circuit or computing            code . In aa further embodiment shown in FIG . 7E , Instruction
   device .                                                                  Set 526 includes machine code .
      In some embodiments, DCADO Unit 100 may learn input                Referring to FIGS . 8A - 8B , some embodiments of Extra
   values directly from an actuator (previously described , not 5 Information 527 ( also referred to as Extra Info 527 ) are
   shown ). For example, Logic Circuit 250 or other processing illustrated . In an embodiment shown in FIG . 8A , Collection
   element may control an actuator that enables Device 98 to of Object Representations 525 may include or be associated
   perform mechanical, physical, and / or other operations. An with Extra Info 527. In an embodiment shown in FIG . 8B ,
   actuator may receive one or more input values or control Instruction Set 526 may include or be associated with Extra
   signals from Logic Circuit 250 or other processing element 10 Info 527 .
   directing the actuator to perform specific operations. As one         Extra Info 527 comprises the functionality for storing any
   or more input values or control signals are delivered to or information useful in comparisons or decision making per
   received by the actuator, they may be obtained by Acquisi- formed in autonomous device operation, and/ or other func
   tion Interface 120 as previously described with respect to tionalities . One or more Extra Infos 527 can be stored in ,
   obtaining input values of Logic Circuit 250. Specifically, for 15 appended to , or associated with a Collection of Object
   instance, one or more input values or control signals of an Representations 525 , Instruction Set 526 , and / or other ele
   actuator may be obtained by Acquisition Interface 120 via ment. In some embodiments, the system can obtain Extra
   hardwired or other connections.                                     Info 527 at a time of creating or generating Collection of
      One of ordinary skill in art will recognize that FIGS . Object Representations 525. In other embodiments , the
   6A - 6B depict one of many implementations of Logic Circuit 20 system can obtain Extra Info 527 at a time of acquiring
   250 and that any number of input and / or output values can Instruction Set 526. In general, Extra Info 527 can be
   be utilized in alternate implementations. One of ordinary obtained at any time . Examples of Extra Info 527 include
   skill in art will also recognize that Logic Circuit 250 may time information , location information , computed informa
   include any number and / or combination of logic compo- tion , contextual information , and / or other information . Any
   nents to implement any logic operations.                         25 information can be utilized that can provide information for
      Other additional techniques or elements may be utilized enhanced comparisons or decision making performed in
   as needed for obtaining instruction sets , data , and / or other autonomous device operation. Which information is utilized
   information, or some of the disclosed techniques or elements and /or stored in Extra Info 527 can be set by a user , by
   may be excluded, or a combination thereof may be utilized DCADO system administrator, or automatically by the sys
   in alternate embodiments .                                       30 tem . Extra Info 527 may include or be referred to as
      Referring to FIGS . 7A - 7E , some embodiments of Instruc- contextual information, and vice versa . Therefore, these
   tion Sets 526 are illustrated . In some aspects , Instruction Set terms may be used interchangeably herein depending on
   526 includes one or more instructions or commands of                      context.
   Application Program 18. For example, Instruction Set 526       In some aspects , time information ( i.e. time stamp, etc.)
   may include one or more instructions or commands of a 35 can be utilized and / or stored in Extra Info 527. Time
   high - level programming language such as Java or SQL , a information can be useful in comparisons or decision mak
   low - level language such as assembly or machine language, ing performed in autonomous device operation related to a
   an intermediate language or construct such as bytecode, specific time period as Device 98 may be required to
   and / or any other language or construct. In other aspects , perform specific operations at certain parts of day, month ,
   Instruction Set 526 includes one or more inputs into and / or 40 year, and / or other time periods. Time information can be
   outputs from Logic Circuit 250 , Processor 11 , Application obtained from the system clock, online clock , oscillator, or
   Program 18 , and / or other processing element. In further other time source . In general, Extra Info 527 may include
                 2

   aspects , Instruction Set 526 includes one or more values or time information related to when Device 98 performed an
   states of registers and / or other components of Logic Circuit operation. In other aspects , location information ( i.e. coor
   250 , Processor 11 , and / or other processing element. In 45 dinates, distance/angle from a known point, address, etc.)
   general, Instruction Set 526 may include one or more                      can be utilized and / or stored in Extra Info 527. Location
   instructions, commands, keywords, symbols ( i.e. parenthe-                information can be useful in comparisons or decision mak
   ses , brackets , commas, semicolons , etc. ) , operators ( i.e. = , 5 ,   ing performed in autonomous device operation related to a
   > , etc.), variables, values , objects, data structures, functions
                       9                                                     specific place as Device 98 may be required to perform
   ( i.e. Function1 ( ) , FIRST ( ) , MIN ( ) , SQRT ( ), etc. ) , param- 50 specific operations at certain places . Location information
   eters , states , signals, inputs, outputs, characters, digits, ref- can be obtained from a positioning system ( i.e. radio signal
   erences thereto , and / or other components for performing an triangulation, GPS capabilities, etc. ) , sensors , and / or other
   operation.                                                                location system . In general, Extra Info 527 may include
       In an embodiment shown in FIG . 7A , Instruction Set 526 location information related to where Device 98 performed
   includes code of aa high - level programming language ( i.e. 55 an operation . In further aspects , computed information can
   Java , C ++ , etc. ) comprising the following function call be utilized and /or stored in Extra Info 527. Computed
   construct: Function1 ( Parameter1, Parameter2 , Parameter3, information can be useful in comparisons or decision mak
         . ) . An example of a function call applying the above ing performed in autonomous device operation where infor
   construct includes the following Instruction Set 526 : mation can be calculated , inferred, or derived from other
   moveTo (Device1, 14 , 8 ) . The function or reference thereto 60 available information . DCADO Unit 100 and / or other dis
   “ moveTo (Devicel , 14 , 8 )” may be an Instruction Set 526 closed elements may include computational functionalities
   directing Devicel to move to a location with coordinates 14 to create Extra Info 527 by performing calculations or
   and 8 , for example. In another embodiment shown in FIG . inferences using other information . In one example,
   7B , Instruction Set 526 includes structured query language Device's 98 speed can be computed or estimated from
   ( SQL ) . In aa further embodiment shown in FIG . 7C , Instruc- 65 Device's 98 location and / or time information . In another
   tion Set 526 includes bytecode ( i.e. Java bytecode , Python example, Device's 98 bearing ( i.e. angle or direction of
   bytecode , CLR bytecode, etc. ) . In a further embodiment movement, etc. ) can be computed or estimated from
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   Device's 98 location information by utilizing Pythagorean            Referring to FIG . 11 , an embodiment of learning and /or
   theorem , trigonometry, and / or other theorems, formulas, or using Remote Device's 97 circumstances for autonomous
   disciplines . In a further example, speeds , bearings, dis- Remote Device 97 operation is illustrated . In such embodi
   tances , and /or other properties of objects around Device 98 ments, in addition to providing input into Object Processing
   can similarly be computed or inferred using known infor- 5 Unit 93 for learning functionalities herein , Sensor 92 (i.e.
   mation . In further aspects , observed information can be Camera 92a , Radar 92d, Sonar 92e , etc. ) can provide input
   utilized and / or stored in Extra Info 527. In further aspects, into Display 21 or other device for User's 50 perception of
   other information can be utilized and / or stored in Extra Info Remote Device's 97 surrounding. As User 50 operates
   527. Examples of such other information include user spe- Remote Device 97 , DCADO Unit 100 may learn Remote
   cific information ( i.e. skill level , age , gender, etc. ) , group 10 Device's 97 operation in circumstances including objects
   user information (i.e. access level , etc. ), version of Appli- with various properties. Such embodiments can be utilized
   cation Program 18 , type of Application Program 18 , type of in any situation where one device controls (i.e. remote
   Processor 11 , type of Logic Circuit 250 , type of Device 98 , controls, etc. ) another device, any situation where some or
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   and / or other information .                                      all of the processing is on one device and sensor capabilities
      Referring to FIG . 9 , an embodiment where DCADO Unit 15 are on another device , and / or other situations. In one
   100 is part of or operating on Processor 11 is illustrated . In example, a drone controlling device (i.e. Device 98 , etc.)
   one example, DCADO Unit 100 may be aa hardware element may send control signals to operate a drone (i.e. Remote
   or circuit embedded or built into Processor 11. In another Device 97 , etc. ) and receive information on the drone's
   example, DCADO Unit 100 may be a program operating on surrounding from Sensor 92 on the drone . In another
   Processor 11 .                                                 20 example, a robot controlling device (i.e. Device 98 , etc.)
      Referring to FIG . 10 , an embodiment where DCADO may send control signals to operate a robot ( i.e. Remote
   Unit 100 resides on Server 96 accessible over Network 95 is       Device 97 , etc.) and receive information on the robot's
   illustrated . Any number of Devices 98 may connect to such surrounding from Sensor 92 on the robot. Any of the
   remote DCADO Unit 100 and the remote DCADO                        disclosed elements in addition to Sensor 92 may reside on
      Unit 100 may learn their operations in circumstances 25 Remote Device 97 in alternate implementations.
   including objects with various properties. In turn , any num-        Referring to FIG . 12 , an embodiment of Artificial Intel
   ber of Devices 98 can utilize the remote DCADO Unit 100 ligence Unit 110 is illustrated . Artificial Intelligence Unit
   for autonomous operation in circumstances including 110 comprises interconnected Knowledge Structuring Unit
   objects with various properties. A remote DCADO Unit 100 520 , Knowledgebase 530 , Decision -making Unit 540 , and
   can be offered as a network service ( i.e. online application, 30 Confirmation Unit 550. Other additional elements can be
   etc. ) . In some aspects , a remote DCADO Unit 100 ( i.e. included as needed , or some of the disclosed ones can be
   global DCADO Unit 100 , etc. ) may reside on the Internet excluded , or a combination thereof can be utilized in alter
   and be available to all the world's Devices 98 configured         nate embodiments.
   transmit their operations in circumstances including objects         Artificial Intelligence Unit 110 comprises the functional
   with various properties and / or configured to utilize the 35 ity for learning Device's 98 operation in circumstances
   remote DCADO Unit 100 for autonomous operation in including objects with various properties. Artificial Intelli
   circumstances including objects with various properties. For gence Unit 110 comprises the functionality for learning one
   example, multiple operators (i.e. Users 50 , etc. ) may operate or more collections of object representations correlated with
   their Devices 98 where the Devices 98 may be configured to        any instruction sets , data , and / or other information . In some
   transmit their operations in circumstances including objects 40 aspects , Artificial Intelligence Unit 110 comprises the func
   with various properties to a remote DCADO Unit 100. Such tionality for learning one or more Collections of Object
   remote DCADO Unit 100 enables learning of the operators ' Representations 525 correlated with any Instruction Sets 526
   collective knowledge of operating Device 98 in circum- and / or Extra Info 527. In other aspects , Artificial Intelli
   stances including objects with various properties. Server 96 gence Unit 110 comprises the functionality for learning one
   may be or include any type or form of a remote computing 45 or more Collections of Object Representations 525 some of
   device such as an application server, a network service which may not be correlated with any Instruction Sets 526
   server, a cloud server, a cloud , and / or other remote comput- and / or Extra Info 527. Further, Artificial Intelligence Unit
   ing device . Server 96 may include any features, function- 110 comprises the functionality for anticipating Device's 98
   alities , and embodiments of the previously described Com- operation in circumstances including objects with various
   puting Device 70. It should be understood that Server 96 50 properties. Artificial Intelligence Unit 110 comprises the
   does not have to be a separate computing device and that functionality for anticipating one or more instruction sets ,
   Server 96 , its elements, or its functionalities can be imple- data, and / or other information . Artificial Intelligence Unit
   mented on Device 98. Network 95 may include various 110 comprises the functionality for anticipating one or more
   networks, connection types, protocols , interfaces, APIs , and / Instruction Sets 526 based on one or more incoming Col
   or other elements or techniques known in art all of which are 55 lections of Object Representations 525. Artificial Intelli
   within the scope of this disclosure. Any of the previously gence Unit 110 comprises the functionality for anticipating
   described networks, network or connection types , network- one or more Instruction Sets 526 to be used or executed in
   ing interfaces, and / or other networking elements or tech- Device's 98 autonomous operation. Artificial Intelligence
   niques can similarly be utilized . Any of the disclosed ele- Unit 110 also comprises other disclosed functionalities .
   ments may reside on Server 96 in alternate implementations. 60 Knowledge Structuring Unit 520 , Knowledgebase 530 ,
   In one example, Artificial Intelligence Unit 110 can reside on and Decision -making Unit 540 are described later.
   Server 96 and Acquisition Interface 120 and / or Modification       Confirmation Unit 550 comprises the functionality for
   Interface 130 can reside on Device 98. In another example, confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
   Knowledgebase 530 can reside on Server 96 and the rest of canceling one or more anticipatory Instruction Sets 526 ,
   the elements of DCADO Unit 100 can reside on Device 98. 65 and / or other functionalities. Confirmation Unit 550 is an
   Any other combination of local and remote elements can be optional element that can be omitted depending on imple
   implemented.                                                     mentation . In some embodiments , Confirmation Unit 550
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                                                     US 11,238,344 B1
                                97                                                                98
   can serve as a means of confirming anticipatory Instruction Sets 526 , and restore Device 98 , Processor 11 , Logic Circuit
   Sets 526. For example, Decision -making Unit 540 may 250 , Application Program 18 , and / or other processing ele
                                                                                                    9

   determine one or more anticipatory Instruction Sets 526 and ments to a prior state. In some aspects , Confirmation Unit
   provide them to User 50 for confirmation . User 50 may be 550 can optionally be disabled or omitted in order to provide
   provided with an interface (i.e. graphical user interface, 5 an uninterrupted operation of Device 98 , Processor 11 ,
   selectable list of anticipatory Instruction Sets 526 , etc. ) to Logic Circuit 250 , and / or Application Program 18. For
   approve or confirm execution of the anticipatory Instruction example , a thermostat may be suitable for implementing the
   Sets 526. In some aspects , Confirmation Unit 550 can user confirmation step , whereas, a vehicle may be less
   automate User 50 confirmation. In one example, if one or suitable for implementing such interrupting step due to the
   more incoming Collections of Object Representations 525 10 real time nature of vehicle operation .
   from Object Processing Unit 93 and one or more Collections         Referring to FIG . 13 , an embodiment of Knowledge
   of Object Representations 525 from a Knowledge Cell 800 Structuring Unit 520 correlating individual Collections of
   were found to be a perfect or highly similar match , antici- Object Representations 525 with any Instruction Sets 526
   patory Instruction Sets 526 correlated with the one or more and / or Extra Info 527 is illustrated . Knowledge Structuring
   Collections of Object Representations 525 from the Knowl- 15 Unit 520 comprises the functionality for structuring the
   edge Cell 800 can be automatically executed without User's knowledge of a device's operation in circumstances includ
   50 confirmation . Conversely, if one or more incoming ing objects with various properties, and / or other function
   Collections of Object Representations 525 from Object            alities . Knowledge Structuring Unit 520 comprises the func
   Processing Unit 93 and one or more Collections of Object         tionality for correlating one or more Collections of Object
   Representations 525 from a Knowledge Cell 800 were found 20 Representations 525 with any Instruction Sets 526 and /or
   to be less than a highly similar match, anticipatory Instruc- Extra Info 527. Knowledge Structuring Unit 520 comprises
   tion Sets 526 correlated with the one or more Collections of the functionality for creating or generating Knowledge Cell
   Object Representations 525 from the Knowledge Cell 800 800 and storing one or more Collections of Object Repre
   can be presented to User 50 for confirmation and /or modi- sentations 525 correlated with any Instruction Sets 526
   fying. Any features, functionalities, and / or embodiments of 25 and / or Extra Info 527 into the Knowledge Cell 800. As such ,
   Similarity Comparison 125 ( later described) can be utilized Knowledge Cell 800 comprises the functionality for storing
   for such similarity determination. In other embodiments ,         one or more Collections of Object Representations 525
   Confirmation Unit 550 can serve as a means of modifying or        correlated with any Instruction Sets 526 and / or Extra Info
   editing anticipatory Instruction Sets 526. For example, Deci- 527. Knowledge Cell 800 includes knowledge ( i.e. unit of
   sion -making Unit 540 may determine one or more antici- 30 knowledge, etc.) of how Device 98 operated in a circum
   patory Instruction Sets 526 and provide them to User 50 for stance including objects with various properties. Once cre
   modification . User 50 may be provided with an interface ( i.e. ated or generated, Knowledge Cells 800 can be used in / as
   graphical user interface, etc. ) to modify the anticipatory neurons, nodes, vertices, or other elements in any of the data
   Instruction Sets 526 before their execution . In further structures or arrangements ( i.e. neural networks , graphs,
   embodiments, Confirmation Unit 550 can serve as a means 35 sequences, etc. ) used for storing the knowledge of Device's
   of evaluating or rating anticipatory Instruction Sets 526 if 98 operation in circumstances including objects with various
   they matched User's 50 intended operation . For example , properties, thereby facilitating learning functionalities
   Decision -making Unit 540 may determine one or more herein . It should be noted that Extra Info 527 may be
   anticipatory Instruction Sets 526 , which the system may optionally used in some implementations to enable enhanced
   automatically execute . User 50 may be provided with an 40 comparisons or decision making in autonomous device
   interface ( i.e. graphical user interface, etc. ) to rate ( i.e. on a operation where applicable, and that Extra Info 527 can be
   scale from 0 to 1 , etc.) how well Decision -making Unit 540 omitted in alternate implementations.
   predicted the executed anticipatory Instruction Sets 526. In             In some embodiments, Knowledge Structuring Unit 520
   some aspects , rating can be automatic and based on a receives one or more Collections of Object Representations
   particular function or method that rates how well the antici- 45 525 from Object Processing Unit 93. Knowledge Structuring
   patory Instruction Sets 526 matched the desired operation . Unit 520 may also receive one or more Instruction Sets 526
   In one example, a rating function or method can assign a from Acquisition Interface 120. Knowledge Structuring Unit
   higher rating to anticipatory Instruction Sets 526 that were 520 may further receive any Extra Info 527. Although, Extra
   least modified in the confirmation process . In another Info 527 is not shown in this and /or other figures for clarity
   example, a rating function or method can assign a higher 50 of illustration , it should be noted that any Collection of
   rating to anticipatory Instruction Sets 526 that were canceled Object Representations 525 , Instruction Set 526 , and /or
   least number of times by User 50. Any other automatic other element may include or be associated with Extra Info
   rating function or method can be utilized . In yet other 527. Knowledge Structuring Unit 520 may correlate one or
   embodiments, Confirmation Unit 550 can serve as a means more Collections of Object Representations 525 with any
   of canceling anticipatory Instruction Sets 526 if they did not 55 Instruction Sets 526 and /or Extra Info 527. Knowledge
   match User's 50 intended operation . For example , Decision- Structuring Unit 520 may then create Knowledge Cell 800
   making Unit 540 may determine one or more anticipatory and store the one or more Collections of Object Represen
   Instruction Sets 526 , which the system may automatically tations 525 correlated with Instruction Sets 526 and /or Extra
   execute. The system may save the state of Device 98 , Info 527 into the Knowledge Cell 800. Knowledge Cell 800
   Processor 11 ( save its register values , etc. ) , Logic Circuit 60 may include any data structure or arrangement that can
   250 , Application Program 18 (i.e. save its variables, data facilitate such storing. For example, Knowledge Structuring
   structures, objects, location of its current instruction , etc. ), Unit 520 may create Knowledge Cell 800ax and structure
   and / or other processing elements before executing anticipa- within it Collection of Object Representations 525al corre
   tory Instruction Sets 526. User 50 may be provided with an lated with Instruction Sets 526a1-526a3 and / or any Extra
   interface (i.e. graphical user interface, selectable list of prior 65 Info 527 (not shown ). Knowledge Structuring Unit 520 may
   executed anticipatory Instruction Sets 526 , etc.) to cancel further structure within Knowledge Cell 800ax a Collection
   one or more of the prior executed anticipatory Instruction of Object Representations 525a2 correlated with Instruction
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                                99                                                               100
   Set 526a4 and / or any Extra Info 527 ( not shown ). Knowl-        may include Instruction Sets 526 used and /or Extra Info 527
   edge Structuring Unit 520 may further structure within obtained from the time of generating a previous Collection
   Knowledge Cell 800ax a Collection of Object Representa- of Object Representations 525 to the time of generating the
   tions 525a3 without aa correlated Instruction Set 526 and /or Collection of Object Representations 525. Any other tem
   Extra Info 527. Knowledge Structuring Unit 520 may fur- 5 poral relationship or correspondence between Collections of
   ther structure within Knowledge Cell 800ax aa Collection of Object Representations 525 and correlated Instruction Sets
   Object Representations 525a4 correlated with Instruction 526 and / or Extra Info 527 can be implemented .
   Sets 526a5-526a6 and /or any Extra Info 527 (not shown ).            In some embodiments, Knowledge Structuring Unit 520
   Knowledge Structuring Unit 520 may further structure can structure the knowledge of Device's 98 operation in a
   within Knowledge Cell 800ax a Collection of Object Rep- 10 circumstance including objects with various properties into
   resentations 525a5 without a correlated Instruction Set 526 any number of Knowledge Cells 800. In some aspects ,
   and / or Extra Info 527. Knowledge Structuring Unit 520 may Knowledge Structuring Unit 520 can structure into aa Knowl
   structure within Knowledge Cell 800ax additional Collec- edge Cell 800 a single Collection of Object Representations
   tions of Object Representations 525 correlated with any 525 correlated with any Instruction Sets 526 and / or Extra
   number ( including zero [i.e. uncorrelated ]) of Instruction 15 Info 527. In other aspects , Knowledge Structuring Unit 520
   Sets 526 and / or Extra Info 527 by following similar logic as can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
   described above .                                                4 , 7 , 17 , 29 , 87 , 1415 , 23891 , 323674 , 8132401 , etc.) of
                                                                                   2                                       S

      In some embodiments, Knowledge Structuring Unit 520 Collections of Object Representations 525 correlated with
   may correlate a Collection of Object Representations 525 any Instruction Sets 526 and /or
   with one or more temporally corresponding Instruction Sets 20 Extra Info 527. In a special case , Knowledge Structuring
   526 and / or Extra Info 527. This way , Knowledge Structuring Unit 520 can structure all Collections of Object Represen
   Unit 520 can structure the knowledge of Device's 98 opera- tations 525 correlated with any Instruction Sets 526 and /or
   tion at or around the time of generating Collections of Object Extra Info 527 into a single long Knowledge Cell 800. In
   Representations 525. Such functionality enables spontane- further aspects , Knowledge Structuring Unit 520 can struc
   ous or seamless learning of Device's 98 operation in cir- 25 ture Collections of Object Representations 525 correlated
   cumstances including objects with various properties as with any Instruction Sets 526 and / or Extra Info 527 into a
   Device 98 is operated in real life situations . In some designs, plurality of Knowledge Cells 800. In a special case , Knowl
   Knowledge Structuring Unit 520 may receive a stream of edge Structuring Unit 520 can store periodic streams of
   Instruction Sets 526 used or executed to effect Device's 98 Collections of Object Representations 525 correlated with
   operations as well as a stream of Collections of Object 30 any Instruction Sets 526 and / or Extra Info 527 into a
   Representations 525 as the operations are performed . plurality of Knowledge Cells 800 such as hourly, daily,
   Knowledge Structuring Unit 520 can then correlate Collec- weekly, monthly, yearly, or other periodic Knowledge Cells
   tions of Object Representations 525 from the stream of             800 .
   Collections of Object Representations 525 with temporally           In some embodiments , Device 98 may include a plurality
   corresponding Instruction Sets 526 from the stream of 35 of Sensors 92 and /or their corresponding Object Processing
   Instruction Sets 526 and / or any Extra Info 527. Collections Units 93. In one example, multiple Sensors 92 may detect
   of Object Representations 525 without a temporally corre- objects and / or their properties from different angles or on
   sponding Instruction Set 526 may be uncorrelated , for different sides of Device 98. In another example, one or
   instance . In some aspects , Instruction Sets 526 and /or Extra more Sensors 92 may be placed on different sub - devices,
   Info 527 that temporally correspond to a Collection of 40 sub - systems, or elements of Device 98. Using multiple
   Object Representations 525 may include Instruction Sets Sensors 92 and /or their corresponding Object Processing
   526 used and / or Extra Info 527 obtained at the time of Units 93 may provide additional detail in learning and / or
   generating the Collection of Object Representations 525. In using Device's 98 circumstances for autonomous Device 98
   other aspects , Instruction Sets 526 and / or Extra Info 527 that operation. In some designs where multiple Sensors 92
   temporally correspond to a Collection of Object Represen- 45 and / or their corresponding Object Processing Units 93 are
   tations 525 may include Instruction Sets 526 used and / or utilized , multiple DCADO Units 100 can also be utilized
   Extra Info 527 obtained within a certain time period before (i.e. one DCADO Unit 100 for each Sensor 92 and its
   and / or after generating the Collection of Object Represen- corresponding Object Processing Unit 93 , etc.). In such
   tations 525. For example, Instruction Sets 526 and / or Extra designs , Collections of Object Representations 525 can be
   Info 527 that temporally correspond to a Collection of 50 correlated with any Instruction Sets 526 and / or Extra Info
   Object Representations 525 may include Instruction Sets 527 as previously described . In other designs where multiple
   526 used and / or Extra Info 527 obtained within 50 milli-       Sensors 92 and / or their corresponding Object Processing
   seconds, 1 second, 3 seconds , 20 seconds , 1 minute, 41 Units 93 are utilized, collective Collections of Object Rep
   minutes, 2 hours, or any other time period before and / or after resentations 525 from multiple Sensors 92 and their corre
   generating the Collection of Object Representations 525. 55 sponding Object Processing Units 93 can be correlated with
   Such time periods can be defined by a user, by DCADO any Instruction Sets 526 and / or Extra Info 527 .
   system administrator, or automatically by the system based           In some embodiments , Device 98 may include a plurality
   on experience, testing , inquiry, analysis , synthesis, or other of Logic Circuits 250 , Processors 11 , Application Programs
   techniques, knowledge, or input. In other aspects , Instruc- 18 , and / or other processing elements. For example, each
   tion Sets 526 and /or Extra Info 527 that temporally corre- 60 processing element may control aa sub -device , sub - system, or
   spond to a Collection of Object Representations 525 may an element of Device 98. Using multiple processing ele
   include Instruction Sets 526 used and / or Extra Info 527 ments may provide enhanced control over Device's 98
   obtained from the time of generating the Collection of operation . In some designs where multiple processing ele
   Object Representations 525 to the time of generating a next ments are utilized, multiple DCADO Units 100 can also be
   Collection of Object Representations 525. In further aspects , 65 utilized ( i.e. one DCADO Unit 100 for each processing
   Instruction Sets 526 and /or Extra Info 527 that temporally element, etc. ) . In such designs, Collections of Object Rep
   correspond to a Collection of Object Representations 525 resentations 525 can be correlated with any Instruction Sets
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   526 and / or Extra Info 527 as previously described . In other 525 correlated with any Instruction Sets 526 and / or Extra
   designs where multiple processing elements are utilized , Info 527. In some aspects , Collections of Object Represen
   Collections of Object Representations 525 can be correlated tations 525 correlated with Instruction Sets 526 and / or Extra
   with any collective Instruction Sets 526 and / or Extra Info Info 527 can be stored directly within Knowledgebase 530
   527 used or executed by a plurality of processing elements . 5 without using Knowledge Cells 800 as the intermediary data
      Any combination of the aforementioned multiple Sensors structures. In some embodiments, Knowledgebase 530 may
   92 and /or their corresponding Object Processing Units 93 , be or include Neural Network 530a ( later described ). In
   multiple processing elements, and / or other elements can be other embodiments, Knowledgebase 530 may be or include
   implemented in alternate embodiments.                          Graph 530b (later described ). In further embodiments,
      Referring to FIG . 14 , another embodiment of Knowledge 10 Knowledgebase 530 may be or include Collection of
   Structuring Unit 520 correlating individual Collections of Sequences 530c ( later described ). In further embodiments ,
   Object Representations 525 with any Instruction Sets 526 Knowledgebase 530 may be or include Sequence 533 ( later
   and / or Extra Info 527 is illustrated. In such embodiments , described ). In further embodiments, Knowledgebase 530
   Knowledge Structuring Unit 520 may generate Knowledge may be or include Collection of Knowledge Cells 530d
   Cells 800 each comprising a single Collection of Object 15 ( later described ). In general, Knowledgebase 530 may be or
   Representations 525 correlated with any Instruction Sets 526 include any data structure or arrangement capable of storing
   and /or Extra Info 527 .                                     the knowledge of a device's operation in circumstances
      Referring to FIG . 15 , an embodiment of Knowledge including objects with various properties. Knowledgebase
   Structuring Unit 520 correlating streams of Collections of 530 may reside locally on Device 98 , or remotely (i.e.
   Object Representations 525 with any Instruction Sets 526 20 remote Knowledgebase 530 , etc.) on a remote computing
   and / or Extra Info 527 is illustrated . For example, Knowl-    device ( i.e. server , cloud, etc.) accessible over a network or
   edge Structuring Unit 520 may create Knowledge Cell             an interface .
   800ax and structure within it a stream of Collections of    In some embodiments, Knowledgebase 530 from one
   Object Representations 525a1-525an correlated with Device 98 or DCADO Unit 100 can be transferred to one or
   Instruction Set 526al and / or any Extra Info 527 (not 25 more other Devices 98 or DCADO Units 100. Therefore, the
   shown ). Knowledge Structuring Unit 520 may further struc-      knowledge of Device's 98 operation in circumstances
   ture within Knowledge Cell 800ax a stream of Collections of     including objects with various properties learned on one
   Object Representations 525b1-525bn correlated with              Device 98 or DCADO Unit 100 can be transferred to one or
   Instruction Sets 526a2-526a4 and /or and Extra Info 527 (not    more other Devices 98 or DCADO Units 100. In one
   shown ). Knowledge Structuring Unit 520 may further struc- 30 example, Knowledgebase 530 can be copied or downloaded
   ture within Knowledge Cell 800ax a stream of Collections of to a file or other repository from one Device 98 or DCADO
   Object Representations 525c1-525cn without correlated             Unit 100 and loaded or inserted into another Device 98 or
   Instruction Sets 526 and / or Extra Info 527. Knowledge DCADO Unit 100. In another example, Knowledgebase 530
   Structuring Unit 520 may further structure within Knowl- from one Device 98 or DCADO Unit 100 can be available
   edge Cell 800ax a stream of Collections of Object Repre- 35 on a server accessible by other Devices 98 or DCADO Units
   sentations 525d1-525dn correlated with Instruction Sets           100 over a network or an interface. Once loaded into or
   526a5-526a6 and / or any Extra Info 527 ( not shown ). accessed by a receiving Device 98 or DCADO Unit 100 , the
   Knowledge Structuring Unit 520 may further structure receiving Device 98 or DCADO Unit 100 can then imple
   within Knowledge Cell 800ax additional streams of Collec- ment the knowledge of Device's 98 operation in circum
   tions of Object Representations 525 correlated with any 40 stances including objects with various properties learned on
   number ( including zero [ i.e. uncorrelated ]) of Instruction the originating Device 98 or DCADO Unit 100 .
   Sets 526 and / or Extra Info 527 by following similar logic as      In some embodiments, multiple Knowledgebases 530 (i.e.
                                                                                             9

   described above . The number of Collections of Object Knowledgebases 530 from different Devices 98 or DCADO
   Representations 525 in some or all streams of Collections of Units 100 , etc. ) can be combined to accumulate collective
   Object Representations 525a1-525an , 52561-525bn , etc. 45 knowledge of operating Device 98 in circumstances includ
   may be equal or different. It should be noted that n or other ing objects with various properties. In one example, one
   such letters or indicia may follow the sequence and / or Knowledgebase 530 can be appended to another Knowl
   context where they are indicated . Also , a same letter or edgebase 530 such as appending one Collection of
   indicia such as n may represent a different number in Sequences 530c ( later described ) to another Collection of
   different elements of a drawing.                               50 Sequences 530c , appending one Sequence 533 ( later
      Referring to FIG . 16 , another embodiment of Knowledge described ) to another Sequence 533 , appending one Collec
   Structuring Unit 520 correlating streams of Collections of tion of Knowledge Cells 530d (later described ) to another
   Object Representations 525 with any Instruction Sets 526 Collection of Knowledge Cells 530d , and / or appending
   and / or Extra Info 527 is illustrated . In such embodiments,   other data structures or elements thereof. In another
   Knowledge Structuring Unit 520 may generate Knowledge 55 example , one Knowledgebase 530 can be copied into
   Cells 800 each comprising a single stream of Collections of another Knowledgebase 530 such as copying one Collection
   Object Representations 525 correlated with any Instruction of Sequences 530c into another Collection of Sequences
   Sets 526 and / or Extra Info 527 .                              530c , copying one Collection of Knowledge Cells 530d into
      Knowledgebase 530 comprises the functionality for stor- another Collection of Knowledge Cells 530d, and / or copy
   ing the knowledge of a device's operation in circumstances 60 ing other data structures or elements thereof . In a further
   including objects with various properties, and / or other func- example, in the case of Knowledgebase 530 being or includ
   tionalities . Knowledgebase 530 comprises the functionality ing Graph 530b or graph -like data structure ( i.e. Neural
   for storing one or more Collections of Object Representa- Network 530a , tree , etc. ), a union can be utilized to combine
   tions 525 correlated with any Instruction Sets 526 and / or two or more Graphs 530b or graph - like data structures . For
   Extra Info 527. Knowledgebase 530 comprises the function- 65 instance , a union of two Graphs 530b or graph - like data
   ality for storing one or more Knowledge Cells 800 each          structures may include a union of their vertex (i.e. node , etc.)
   including one or more Collections of Object Representations     sets and their edge (i.e. connection, etc. ) sets . Any other
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   operations or combination thereof on graphs or graph - like structure, modifying a data structure , deleting a data struc
   data structures can be utilized to combine Graphs 530b or ture, creating a data field , modifying a data field , deleting a
   graph - like data structures. In a further example, one Knowl- data field , etc. ), and / or other transformation functions. Con
   edgebase 530 can be combined with another Knowledgebase nection 853 may include or be associated with a value such
   530 through later described learning processes where 5 as a symbolic label or numeric attribute (i.e. weight, cost ,
   Knowledge Cells 800 may be applied one at a time and capacity, length , etc. ) . A computational model can be uti
   connected with prior and /or subsequent Knowledge Cells lized to compute values from inputs based on a pre -pro
   800 such as in Graph 530b or Neural Network 530a . In such grammed or learned function or method . For example, a
   embodiments, instead of Knowledge Cells 800 generated by neural network may include one or more input neurons that
   Knowledge Structuring Unit 520 , the learning process may 10 can be activated by inputs. Activations of these neurons can
   utilize Knowledge Cells 800 from one Knowledgebase 530 then             be passed on, weighted , and transformed by a function
   to apply them onto another Knowledgebase 530. Any other to other
   techniques known in art including custom techniques for with onlyneurons             . Neural networks may range from those
                                                                                one layer of single direction logic to multi - layer of
   combining data structures can be utilized for combining
   Knowledgebases      530 in alternate implementations. In any of 15 multi-directional feedback loops. A neural network can use
   the aforementioned and / or other combining techniques , weights to change the parameters of the network's through
   similarity of elements (i.e. nodes / vertices, edges/connec put. A neural network can learn by input from its environ
   tions , etc.) can be utilized in determining whether an ele- ment or from self - teaching using written -in rules . A neural
   ment from one Knowledgebase 530 matches an element network can be utilized as a predictive modeling approach in
   from another Knowledgebase 530 , and substantially or 20 machine learning. An exemplary embodiment of a neural
   otherwise similar elements may be considered a match for                network ( i.e. Neural Network 530a , etc.) is described later.
   combining purposes in some designs . Any features, func-        In another example shown in Model B , the disclosed
   tionalities, and embodiments of Similarity Comparison 125 artificially intelligent devices, systems, and methods for
   ( later described ) can be used in such similarity determina- learning and / or using a device's circumstances for autono
   tions . A combined Knowledgebase 530 can be offered as a 25 mous device operation may include a graph or graph -like
   network service (i.e. online application , etc. ) , downloadable data structure. As such , machine learning, knowledge struc
   file , or other repository to all DCADO Units 100 configured turing or representation , decision making, pattern recogni
   to utilize the combined Knowledgebase 530. For example, a tion , and / or other artificial intelligence functionalities may
   Device 98 including or interfaced with DCADO Unit 100 include Nodes 852 ( also referred to as vertices or points,
   having access to a combined Knowledgebase 530 can use 30 etc. ) and Connections 853 ( also referred to as edges , arrows ,
   the collective knowledge learned from multiple Devices 98 lines, arcs, etc. ) organized as a graph. In general, any Node
   for the Device's 98 autonomous operation .                            852 in a graph can be connected to any other Node 852. A
       Referring FIG . 17 , the disclosed artificially intelligent Connection 853 may include unordered pair of Nodes 852 in
   devices, systems , and methods for learning and / or using a an undirected graph or ordered pair of Nodes 852 in a
   device's circumstances for autonomous device operation 35 directed graph . Nodes 852 can be part of the graph structure
   may include various artificial intelligence models and / or or external entities represented by indices or references . A
   techniques. The disclosed systems, devices, and methods are graph can be utilized as a predictive modeling approach in
   independent of the artificial intelligence model and / or tech- machine learning. Nodes 852 , Connections 853 , and /or other
   nique used and any model and / or technique can be utilized elements or operations of a graph may include any features,
   to facilitate the functionalities described herein . Examples of 40 functionalities, and embodiments of the aforementioned
   these models and / or techniques include deep learning, Nodes 852 , Connections 853 , and / or other elements or
   supervised learning, unsupervised learning, neural networks operations of a neural network , and vice versa . An exem
   ( i.e. convolutional neural network, recurrent neural network , plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
   deep neural network , etc. ), search - based , logic and / or fuzzy described later.
   logic -based , optimization -based, tree / graph /other data struc- 45 In a further example shown in Model C , the disclosed
   ture -based, hierarchical, symbolic and / or sub - symbolic, artificially intelligent devices, systems, and methods for
   evolutionary, genetic, multi-agent, deterministic , probabilis- learning and / or using a device's circumstances for autono
   tic , statistical , and /or other models and / or techniques.         mous device operation may include a tree or tree -like data
       In one example shown in Model A , the disclosed artifi- structure. As such , machine learning, knowledge structuring
   cially intelligent devices, systems , and methods for learning 50 or representation , decision making, pattern recognition, and /
   and / or using a device's circumstances for autonomous or other artificial intelligence functionalities may include
   device operation may include a neural network (also referred Nodes 852 and Connections 853 ( also referred to as refer
   to as artificial neural network , etc. ) . As such , machine ences, edges, etc. ) organized as a tree . In general, a Node
   learning, knowledge structuring or representation , decision 852 in a tree can be connected to any number ( i.e. including
   making , pattern recognition, and / or other artificial intelli- 55 zero , etc. ) of children Nodes 852. A tree can be utilized as
   gence functionalities may include a network of Nodes 852 a predictive modeling approach in machine learning. Nodes
   ( also referred to as neurons, etc. ) and Connections 853 852 , Connections 853 , and / or other elements or operations
   similar to that of a brain . Node 852 can store any data , of a tree may include any features, functionalities, and
   object, data structure , and / or other item , or reference thereto .   embodiments of the aforementioned Nodes 852 , Connec
   Node 852 may also include a function for transforming or 60 tions 853 , and / or other elements or operations of aa neural
   manipulating any data, object, data structure, and / or other network and / or graph , and vice versa .
   item . Examples of such transformation functions include               In a further example shown in Model D , the disclosed
   mathematical functions ( i.e. addition , subtraction, multipli- artificially intelligent devices, systems, and methods for
   cation , division , sin , cos , log , derivative, integral, etc. ) , learning and / or using a device's circumstances for autono
   object manipulation functions (i.e. creating an object, modi- 65 mous device operation may include a sequence or sequence
   fying an object, deleting an object, appending objects, etc. ),         like data structure . As such, machine learning, knowledge
   data structure manipulation functions ( i.e. creating a data            structuring or representation, decision making, pattern rec
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   ognition, and / or other artificial intelligence functionalities models and / or techniques known in art are within the scope
   may include a structure of Nodes 852 and / or                    of this disclosure . One of ordinary skill in art will also
      Connections 853 organized as a sequence. In some recognize that an intelligent system may solve a specific
   aspects , Connections 853 may be optionally omitted from a problem by using any model and / or technique that works
   sequence as the sequential order of Nodes 852 in a sequence 5 such as , for example , some systems can be symbolic and
   may be implied in the structure . A sequence can be utilized logical , some can be sub -symbolic neural networks, some
   as a predictive modeling approach in machine learning. can be deterministic or probabilistic, some can be hierar
   Nodes 852 , Connections 853 , and / or other elements or chical, some may include searching techniques, some may
   operations of a sequence may include any features , func- include optimization techniques, while others may use other
   tionalities, and embodiments of the aforementioned Nodes 10 or a combination of models and / or techniques. In general,
   852 , Connections 853 , and / or other elements or operations any artificial intelligence model and / or technique can be
   of aa neural network , graph, and / or tree, and vice versa . An utilized that can facilitate the functionalities described
   exemplary embodiment of a sequence (i.e. Collection of herein .
   Sequences 530c , Sequence 533 , etc.) is described later.            Referring to FIGS . 18A - 18C , embodiments of intercon
                                                                                                      9

     In yet another example, the disclosed artificially intelli- 15 nected Knowledge Cells 800 and updating weights of Con
   gent devices, systems , and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
   a device's circumstances for autonomous device operation          18A , Knowledge Cell 800za is connected to Knowledge
   may include a search -based model and / or technique. As Cell 800zb and Knowledge Cell 800zc by Connection 853z1
   such, machine learning, knowledge structuring or represen- and Connection 853z2 , respectively. Each of Connection
   tation, decision making , pattern recognition, and / or other 20 853zl and Connection 853z2 may include or be associated
   artificial intelligence functionalities may include searching with occurrence count, weight, and / or other parameter or
   through a collection of possible solutions. For example, a data. The number of occurrences may track or store the
   search method can search through a neural network , graph , number of observations that a Knowledge Cell 800 was
   tree , sequence , or other data structure that includes data followed by another Knowledge Cell 800 indicating a con
   elements of interest. A search may use heuristics to limit the 25 nection or relationship between them . For example , Knowl
   search for solutions by eliminating choices that are unlikely edge Cell 800za was followed by Knowledge Cell 800zb 10
   to lead to the goal . Heuristic techniques may provide a best times as indicated by the number of occurrences of Con
   guess solution . A search can also include optimization . For nection 853zl . Also , Knowledge Cell 800za was followed
   example, a search may begin with a guess and then refine the by Knowledge Cell 800zc 15 times as indicated by the
   guess incrementally until no more refinements can be made. 30 number of occurrences of Connection 853z2. The weight of
   In a further example, the disclosed systems , devices , and Connection 853zl can be calculated or determined as the
   methods may include logic -based model and /or technique. number of occurrences of Connection 853z1 divided by the
   As such , machine learning, knowledge structuring or repre- sum of occurrences of all connections ( i.e. Connection
   sentation , decision making , pattern recognition , and / or other 853z1 and Connection 853z2 , etc.) originating from Knowl
   artificial intelligence functionalities can use formal or other 35 edge Cell 800za . Therefore, the weight of Connection 853z1
   type of logic . Logic based models may involve making can be calculated or determined as 10/ ( 10 + 15 ) =0.4 , for
   inferences or deriving conclusions from a set ofpremises .As example. Also , the weight of Connection 853z2 can be
   such , a logic based system can extend existing knowledge or calculated or determined as 15 / ( 10 + 15 ) =0.6 , for example.
   create new knowledge automatically using inferences . Therefore, the sum of weights of Connection 853z1 , Con
   Examples of the types of logic that can be utilized include 40 nection 853z2 , and / or any other Connections 853 originating
   propositional or sentential logic that comprises logic of from Knowledge Cell 800za may equal to 1 or 100 % . As
   statements which can be true or false ; first- order logic that shown for example in FIG . 18B , in the case that Knowledge
   allows the use of quantifiers and predicates and that can Cell 800zd is inserted and an observation is made that
   express facts about objects, their properties, and their rela- Knowledge Cell 800zd follows Knowledge Cell 800za ,
   tions with each other; fuzzy logic that allows degrees of truth 45 Connection 853z3 can be created between Knowledge Cell
   to be represented as a value between 0 and 1 rather than 800za and Knowledge Cell 800zd . The occurrence count of
   simply 0 ( false ) or 1 (true ), which can be used for uncertain Connection 853z3 can be set to 1 and weight determined as
   reasoning ; subjective logic that comprises a type of proba- 1 / ( 10 + 15 + 1 ) =0.038 . The weights of all other connections
   bilistic logic that may take uncertainty and belief into (i.e. Connection 853z1 , Connection 853z2 , etc. ) originating
   account, which can be suitable for modeling and analyzing 50 from Knowledge Cell 800za may be updated to account for
   situations involving uncertainty, incomplete knowledge and the creation of Connection 853z3 . Therefore, the weight of
   different world views ; and /or other types of logic . In a Connection 853z1 can be updated as 10 / (10 + 15 + 1 ) = 0.385.
   further example , the disclosed systems, devices , and meth- The weight of Connection 853z2 can also be updated as
   ods may include a probabilistic model and/ or technique. As 15 / ( 10 + 15 + 1 ) =0.577 . As shown for example in FIG . 18C , in
   such, machine learning, knowledge structuring or represen- 55 the case that an additional occurrence of Connection 853z1
   tation, decision making , pattern recognition, and / or other     is observed (i.e. Knowledge Cell 800zb followed Knowl
   artificial intelligence functionalities can be implemented to     edge Cell 800za, etc. ) , occurrence count of Connection
   operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
   probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc. ) originating
   among other models, is an example of a probabilistic tool 60 from Knowledge Cell 800za may be updated to account for
   used for purposes such as reasoning , learning, planning, this observation . The occurrence count of Connection 853z1
   perception, and /or others. One of ordinary skill in art will can be increased by 1 and its weight updated as 11 / ( 11 + 15 +
   understand that the aforementioned artificial intelligence 1) 0.407. The weight of Connection 853z2 can also be
   models and / or techniques are described merely as examples updated as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection
   of a variety of possible implementations, and that while all 65 853z3 can also be updated as 1 / ( 11 + 15 + 1 ) = 0.037 .
   possible artificial intelligence models and / or techniques are   Referring to FIG . 19 , an embodiment of learning Knowl
   too voluminous to describe , other artificial intelligence        edge Cells 800 comprising one or more Collections of
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   Object Representations 525 correlated with any Instruction Collection of Knowledge Cells 530d . In the case that a
   Sets 526 and / or Extra Info 527 using Collection of Knowl- substantially similar match is not found , the system may
   edge Cells 530d is illustrated . Collection of Knowledge insert a new Knowledge Cell 800 into Collection of Knowl
   Cells 530d comprises the functionality for storing any edge Cells 530d and copy Knowledge Cell 800bd into the
   number of Knowledge Cells 800. In some aspects , Knowl- 5 inserted new Knowledge Cell 800. The system can then
   edge Cells 800 may be stored into or applied onto Collection perform Similarity Comparisons 125 of Knowledge Cell
   of Knowledge Cells 530d in a learning or training process .    800be from Knowledge Structuring Unit 520 with Knowl
   In effect, Collection of Knowledge Cells 530d may store        edge Cells 800 in Collection of Knowledge Cells 530d . In
   Knowledge Cells 800 that can later be used to enable           the case that a substantially similar match is not found , the
   autonomous Device 98 operation. In some embodiments , 10 system may insert a new Knowledge Cell 800 into Collec
   Knowledge Structuring Unit 520 structures or generates tion of Knowledge Cells 530d and copy Knowledge Cell
   Knowledge Cells 800 as previously described and the sys- 800be into the inserted new Knowledge Cell 800. Applying
   tem applies them onto Collection of Knowledge Cells 530d, any additional Knowledge Cells 800 from Knowledge Struc
   thereby implementing learning Device's 98 operation in turing Unit 520 onto Collection of Knowledge Cells 530d
   circumstances including objects with various properties. The 15 follows similar logic or process as the above-described .
   term apply or applying may refer to storing, copying,             Referring to FIG . 20 , an embodiment of learning Knowl
   inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Collections of
   terms may be used interchangeably herein depending on Object Representations 525 correlated with any Instruction
   context. The system can perform Similarity Comparisons Sets 526 and /or Extra Info 527 using Neural Network 530a
   125 ( later described ) of a newly structured Knowledge Cell 20 is illustrated . Neural Network 530a includes a number of
   800 from Knowledge Structuring Unit 520 with Knowledge neurons or Nodes 852 interconnected by Connections 853 as
   Cells 800 in Collection of Knowledge Cells 530d . If a previously described . Knowledge Cells 800 are shown
   substantially similar Knowledge Cell 800 is not found in instead of Nodes 852 to simplify the illustration as Node 852
   Collection of Knowledge Cells 530d, the system may insert includes a Knowledge Cell 800 , for example . Therefore,
   (i.e. copy, store, etc.) the Knowledge Cell 800 from Knowl- 25 Knowledge Cells 800 and Nodes 852 can be used inter
   edge Structuring Unit 520 into Collection of Knowledge changeably herein depending on context. It should be noted
   Cells 530d, for example. On the other hand , if a substantially that Node 852 may include other elements and / or function
   similar Knowledge Cell 800 is found in Collection of alities instead of or in addition to Knowledge Cell 800. In
   Knowledge Cells 530d, the system may optionally omit some aspects , Knowledge Cells 800 may be stored into or
   inserting the Knowledge Cell 800 from Knowledge Struc- 30 applied onto Neural Network 530a individually or collec
   turing Unit 520 as inserting a substantially similar Knowl- tively in a learning or training process. In some designs,
   edge Cell 800 may not add much or any additional knowl- Neural Network 530a comprises a number of Layers 854
   edge the Collection of Knowledge Cells 530d, for each of which may include one or more Knowledge Cells
   example. Also , inserting a substantially similar Knowledge 800. Knowledge Cells 800 in successive Layers 854 can be
   Cell 800 can optionally be omitted to save storage resources 35 connected by Connections 853 .
   and limit the number of Knowledge Cells 800 that may later          Connection 853 may include or be associated with occur
   need to be processed or compared . Any features, function- rence count, weight, and / or other parameter or data as
   alities , and embodiments of Similarity Comparison 125 , previously described . Neural Network 530a may include
   importance index (later described ), similarity index ( later any number of Layers 854 comprising any number of
   described ), and / or other disclosed elements can be utilized 40 Knowledge Cells 800. In some aspects , Neural Network
   to facilitate determination of substantial or other similarity 530a may store Knowledge Cells 800 interconnected by
   and whether to insert a newly structured Knowledge Cell Connections 853 where following a path through the Neural
   800 into Collection of Knowledge Cells 530d .                     Network 530a can later be used to enable autonomous
      For example, the system can perform Similarity Com- Device 98 operation . It should be understood that, in some
   parisons 125 ( later described ) of Knowledge Cell 800ba 45 embodiments, Knowledge Cells 800 in one Layer 854 of
   from Knowledge Structuring Unit 520 with Knowledge Neural Network 530a need not be connected only with
   Cells 800 in Collection of Knowledge Cells 530d. In the Knowledge Cells 800 in a successive Layer 854 , but also in
   case that a substantially similar match is found between any other Layer 854 , thereby creating shortcuts (i.e. shortcut
   Knowledge Cell 800ba and any of the Knowledge Cells 800 Connections 853 , etc. ) through Neural Network 530a . A
                                                                                    2

   in Collection of Knowledge Cells 530d, the system may 50 Knowledge Cell 800 can also be connected to itself such as ,
   perform no action . The system can then perform Similarity for example , in recurrent neural networks. In general, any
   Comparisons 125 of Knowledge Cell 800bb from Knowl- Knowledge Cell 800 can be connected with any other
   edge Structuring Unit 520 with Knowledge Cells 800 in Knowledge Cell 800 anywhere else in Neural Network
   Collection of Knowledge Cells 530d . In the case that a 530a . In further embodiments , back -propagation of any data
   substantially similar match is not found , the system may 55 or information can be implemented . In one example , back
   insert a new Knowledge Cell 800 into Collection of Knowl- propagation of similarity ( i.e. similarity index, etc.) of
   edge Cells 530d and copy Knowledge Cell 800bb into the compared Knowledge Cells 800 in a path through Neural
   inserted new Knowledge Cell 800. The system can then Network 530a can be implemented. In another example,
   perform Similarity Comparisons 125 of Knowledge Cell back -propagation of errors can be implemented. Such back
   800bc from Knowledge Structuring Unit 520 with Knowl- 60 propagations can then be used to adjust occurrence counts
   edge Cells 800 in Collection of Knowledge Cells 530d . In and / or weights of Connections 853 for better future predic
   the case that aa substantially similar match is found between tions , for example. Any other back -propagation can be
   Knowledge Cell 800bc and any of the Knowledge Cells 800 implemented for other purposes. Any combination of Nodes
   in Collection of Knowledge Cells 530d , the system may 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc. ) ,
   perform no action . The system can then perform Similarity 65 Connections 853 , Layers 854 , and / or other elements or
   Comparisons 125 of Knowledge Cell 800bd from Knowl- techniques can be implemented in alternate embodiments.
   edge Structuring Unit 520 with Knowledge Cells 800 in Neural Network 530a may include any type or form of a
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   neural network known in art such as a feed - forward neural     Knowledge Cell 800ed with occurrence count of 1 and
   network , a back -propagating neural network, a recurrent weight of 1. The system can then perform Similarity Com
   neural network, a convolutional neural network , deep neural parisons 125 of Knowledge Cell 800be from Knowledge
   network , and / or others including a custom neural network . Structuring Unit 520 with Knowledge Cells 800 in Layer
      In some embodiments, Knowledge Structuring Unit 520 5 854e of Neural Network 530a . In the case that a substan
   structures or generates Knowledge Cells 800 and the system tially similar match is not found, the system may insert
   applies them onto Neural Network 530a , thereby imple- Knowledge Cell 800ee into Layer 854e and copy Knowl
   menting learning Device's 98 operation in circumstances edge Cell 800be into the inserted Knowledge Cell 800ee .
   including objects with various properties. The system can The system may also create Connection 853e4 between
   perform Similarity Comparisons 125 ( later described ) of a 10 Knowledge Cell 800ed and Knowledge Cell 800ee with
   Knowledge Cell 800 from Knowledge Structuring Unit 520 occurrence count of 1 and weight of 1. Applying any
   with Knowledge Cells 800 in a Layer 854 of Neural Net- additional Knowledge Cells 800 from Knowledge Structur
   work 530a . If a substantially similar Knowledge Cell 800 is ing Unit 520 onto Neural Network 530a follows similar
   not found in the Layer 854 of Neural Network 530a , the logic or process as the above -described.
   system may insert (i.e. copy, store , etc. ) the Knowledge Cell 15 Referring now to Similarity Comparison 125 , Similarity
   800 from Knowledge Structuring Unit 520 into the Layer Comparison 125 comprises the functionality for comparing
   854 of Neural Network 530a , and create a Connection 853 or matching Knowledge Cells 800 or portions thereof,
                                 2

   to the inserted Knowledge Cell 800 from a Knowledge Cell and / or other functionalities. Similarity Comparison 125
   800 in a prior Layer 854 including assigning an occurrence comprises the functionality for comparing or matching Col
   count to the new Connection 853 , calculating a weight of the 20 lections of Object Representations 525 or portions thereof.
   new Connection 853 , and updating any other Connections Similarity Comparison 125 comprises the functionality for
   853 originating from the Knowledge Cell 800 in the prior comparing or matching streams of Collections of Object
   Layer 854. On the other hand, if a substantially similar Representations 525 or portions thereof. Similarity Com
   Knowledge Cell 800 is found in the Layer 854 of Neural parison 125 comprises the functionality for comparing or
   Network 530a , the system may update occurrence count and 25 matching Object Representations 625 or portions thereof.
   weight of Connection 853 to that Knowledge Cell 800 from        Similarity Comparison 125 comprises the functionality for
   a Knowledge Cell 800 in a prior Layer 854 , and update any      comparing or matching Object Properties 630 or portions
   other Connections 853 originating from the Knowledge Cell thereof. Similarity Comparison 125 comprises the function
   800 in the prior Layer 854 .                              ality for comparing or matching Instruction Sets 526 , Extra
      For example, the system can perform Similarity Com- 30 Info 527 , text ( i.e. characters, words , phrases, etc.), numbers,
   parisons 125 ( later described ) of Knowledge Cell 800ba and /or other elements or portions thereof. Similarity Com
   from Knowledge Structuring Unit 520 with Knowledge parison 125 may include functions, rules, and / or logic for
   Cells 800 in Layer 854a of NeuralNetwork 530a . In the case     performing matching or comparisons and for determining
   that a substantially similar match is found between Knowl-      that while a perfect match is not found, a partial or similar
   edge Cell 800ba and Knowledge Cell 800ea , the system may 35 match has been found . In some aspects , a partial match may
   perform no action since Knowledge Cell 800ea is the initial include a substantially or otherwise similar match, and vice
   Knowledge Cell 800. The system can then perform Simi- versa . Therefore, these terms may be used interchangeably
   larity Comparisons 125 of Knowledge Cell 800bb from herein depending on context . As such, Similarity Compari
   Knowledge Structuring Unit 520 with Knowledge Cells 800 son 125 may include determining substantial similarity or
   in Layer 854b of Neural Network 530a . In the case that a 40 substantial match of compared elements. Although, substan
   substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
   Cell 800bb and Knowledge Cell 800eb , the system may it should be understood that any level of similarity, however
   update occurrence count and weight of Connection 853e1 high or low, may be utilized as defined by the rules (i.e.
   between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc. ) for similarity. The rules for similarity or
   and update weights of other Connections 853 originating 45 similar match can be defined by a user, by DCADO system
   from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
   system can then perform Similarity Comparisons 125 of experience, testing , inquiry, analysis, synthesis, or other
   Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
   520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
   Network 530a . In the case that a substantially similar match 50 cally define appropriately strict rules for determining simi
   is not found , the system may insert Knowledge Cell 800ec larity of the compared elements. Similarity Comparison 125
   into Layer 854c and copy Knowledge Cell 800bc into the can therefore set , reset , and / or adjust the strictness of the
   inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
   Connection 853e2 between Knowledge Cell 800eb and elements , thereby fine tuning Similarity Comparison 125 so
   Knowledge Cell 800ec with occurrence count of 1 and 55 that the rules for determining similarity are appropriately
   weight calculated based on the occurrence count as previ- strict. In some aspects , the rules for determining similarity
   ously described . The system may also update weights of may include a similarity threshold . As such , Similarity
   other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
   from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
   system can then perform Similarity Comparisons 125 of 60 other aspects         , the rules for determining similarity may
   Knowledge Cell 800bd from Knowledge Structuring Unit include aa difference threshold . As such , Similarity Compari
   520 with Knowledge Cells 800 in Layer 854d of Neural son 125 can determine similarity of compared elements if
   Network 530a . In the case that a substantially similar match   their difference is lower than a difference threshold . In
   is not found , the system may insert Knowledge Cell 800ed further aspects , the rules for determining similarity may
   into Layer 854d and copy Knowledge Cell 800bd into the 65 include other thresholds. Similarity Comparison 125 enables
   inserted Knowledge Cell 800ed . The system may also create      comparing circumstances including objects with various
   Connection 853e3 between Knowledge Cell 800ec and               properties and determining their similarity or match . In one
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                        Exhibit C
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                                                                                                           US01060713431


           United States Patent                                                          ( 10 ) Patent No.: US 10,607,134 B1
           Cosic                                                                         (45 ) Date of Patent:  *Mar. 31 , 2020
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   ( 72 ) Inventor: Jasmin Cosic , Miami, FL (US )                                         6,801,912 B2      10/2004 Moskowitz et al .
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                                                               ( 2019.01)                                       (Continued )
   ( 58 ) Field of Classification Search
            CPC                                          GOON 3/006                 Primary Examiner — Hal Schnee
            See application file for complete search history .
                                                                                    (57)                           ABSTRACT
   (56 )                   References Cited
                                                                                    Aspects of the disclosure generally relate to computing
                    U.S. PATENT DOCUMENTS                                           devices and /or systems, and may be generally directed to
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                                            6150                                                                 615a

                                                                                                    Agent Smith

                                                                       D


                                                               8m

                                                                                                           13m
                                                                             789
                                                                    Avatar
                                                        3329                       211
                                                                           605
                                     615b

                                                       10m
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   com > on Nov. 9 , 2014 , 7 pages .                                               Particle system , retrieved from < URL : http://wikipedia.com > on
   3D computer graphics , retrieved from <URL : http : // wikipedia .               Nov. 12 , 2014, 3 pages.
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   8 : Mouse Handling , retrieved from <URL: http://ericsink.com                    on Nov. 12 , 2014 , 4 pages .
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   AutoCAD , retrieved from <URL : http://wikipedia.com > on Nov. 9 ,               2014, 5 pages.
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   Nov. 6 , 2014 , 1 pages .                                                        sysobjects, retrieved from <URL : http://technet.microsoft.com/en
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   com > on Dec. 13 , 2014 , 7 pages.                                               Nov. 9 , 2014 , 5 pages.
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                           17           18              19                                     5

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                      27
                                                                                                               Network Interface
                                                         APproligcatmosn DSpatcae                       16


                                Storage OS                                                                     Alternaive Memory
                                                                                                                                                                       FIG
                                                                                                                                                                       .
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                                   14
                                               Cache
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                                  11
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   70DCoemvpuitceng                                                                                12
                                                                                                                                   21

                                             Proces r    /
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                                                         O
                                                         Memory
                                                                                    10Device       13

                                                         V
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                                                                                                                                        Deivspilcaey
                                                                         15A
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                             and            AfCiurvtcoamnsrcue ACAAOUnit)(Operation OPrbocjescintg                                                   12



                                                                                                     Unit         AcquistonInterface Modifcaton Iterface Memory Storage
            21                                                                                                                                                                FIG
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                          Display                                                                                                          Object Object Object        11



         DCoemvpuitceng                                                                                                    APprloicgartomn Avatr 615a 615b             18

                                              23                           Human machine Interface Proces r                               605
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 276 of 2562 PageID #: 7777


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                                                                                Picture                         AcquistonInterface Modifcaton Iterface              Memory Storage
          21                                                                                                                                                                              FIG
                                                                                                                                                                                          3
                                                                                                                                                                                          .


                 Display                                                                                                                         Object Object Object                11
                                                                                                                     PRiencdture APprloigcartomn
         DCoemvpuitcneg Human machine Interface Proces r
                           23                                                                                         91
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 277 of 2562 PageID #: 7778


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                    and            AfCiurvtcoamnsrcue ACAAOUnit)O(peration POrbocjescintg Recognizer                                                        12




                                                                    Unit
                                                                                Sound                           AcquistonInterface Modifcaton Iterface Memory Storage
          21                                                                                                                                                                    FIG
                                                                                                                                                                                4
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                 Display                                                                                                                                   Object Object   11
                                                                                                                     SReonudred APprloigcartomn OAbvjatecrt 615b
         DCoemvpuitcneg Human machine Interface Proces r
                           23                                                                                         96                        605
                                                                                                                                                              615a         18
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                            6150                               B
                                                                                                               615a

                                                                                               Agent Smith

                                                               B




                                                     8m

                                                                                                         13m
                                                                   78 °
                                                          Avatar
                                              332
                                                                           211 °

                                                                   605
                  615b

                                             10m
                                                               L
                                                               1




                                                          FIG . 5A
                                                                                                                            140

     ObjectProcessing Unit                                                                                            525
        Collection of ObjectRepresentations
                  635aa 635ab 635ac 635ad              635ba 635bb 635bc              635ca 635cb 635cc
           Object Representation                    Object Representation ObjectRepresentation
            Type Identity Distance Bearing           Type Distance Bearing         Type Distance Bearing
            Person Agent Smith 13m      78          Rock 10m       211 °           Robot 8m      332 °

       630aa 630ab 630ac 630ad               630ba 630bb 630bc 630ca 630cb 630cc
                                        625a                625b              625c

                                                          FIG . 5B
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    120                                                                                                                11

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                                                           Arithmeic          UnitLogic
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                                                                                          212                                    12

          IAUCnAitO Anctqueirsfatcoen                      CPorungtream
                                          Proces r                                        211                           Memory
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 280 of 2562 PageID #: 7781


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                                                                 526

             Instruction Set
              Function (Parameter1 , Parameter2 , Parameter3, ... )
                                          FIG . 7A
                                                                 526

             Instruction Set
              SELECT Coll , Col2 ... FROM T611 , Tb12 ... ;

                                          FIG . 7B
                                                                 526

             Instruction Set
              iconst Value

                                          FIG . 7C
                                                                 526

             Instruction Set
              add Register1 Register2

                                          FIG . 7D
                                                                 526

             Instruction Set
              000000 00001 00010 00110 00000 100000

                                          FIG . 7E
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 281 of 2562 PageID #: 7782


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                                                            525                   527

     Collection of Object Representations                         Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , visual
                                                                  info , acoustic
                                                                  info , contextual
                                                                  info , etc.
                                       FIG . 8A




                                                            526                   527

     Instruction Set                                              Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , visual
                                                                  info , acoustic
                                                                  info , contextual
                                                                  info , etc.
                                       FIG . 8B
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 282 of 2562 PageID #: 7783


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                                 forveatmairn'gs   AfCiurvtcoamnsrcue Unit)ACAAO(Operation POrbocjescintg                                                                Storage
                                                                                                            Unit         AcquistonInterface Modifcaton Interface    12




                                                                 18
                                                                                                                                                                         Memory
                                                                                                             Object Object Object                                                  FIG
                                                                                                                                                                                   9
                                                                                                                                                                                   .

                                                                                              PAprloigcatomn Avatar 615a 615b
                    Proces r                                                                                                  605

                   21
         DCoemvpuitceng Display Human machine Interface  23




         50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 283 of 2562 PageID #: 7784


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                                                                eration
                                                                                           Unit         AcquistonInterface Modifcaton Interface
          Network S e r v e r
                                                                                                                                                                        FIG
                                                                                                                                                                        10
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         70                               21       18                                                                                                     27


                           Display               11                                          Object Object Object      ***
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                                     23

                 DCoemvpiutceng Human machine Interface Proces r             APprloigcatomn Avatr 615a 615b
                                                                                                                                                       Memory Storage
    50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 284 of 2562 PageID #: 7785


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                                                                  615a     615b           18

               Processor
     605
                        Application Program
                          Avatar                Object Object            Object

                                                                                                     100

     ACAAO Unit                               140                 120                     130

                          Object                    Acquisition            Modification
                          Processing                Interface              Interface
                          Unit


         Artificial
         Intelligence                                                                          530
        Unit                                                      520
                                                                                  Knowledgebase
                                     Knowledge Structuring Unit


                          Decision -making Unit

                                                                  550

                                     Confimation Unit




                                                        FIG . 11
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 285 of 2562 PageID #: 7786


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                  Object Processing                         Acquisition Interface            120
                 Unit                                                                              520                 530

    Knowledge                                                                                                Knowledgebase
    Structuring Unit                                                                        800ax
        Knowledge
        Cell
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                       I Col of Ooi Rep                           Instruction Set          526a2
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                                            ?3 525a                                        526a1
                                                                  Instruction Set
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                                                                                            800ab
        Knowledge Cell
                                                                                            800aa
       Knowledge Cell

                                                             FIG . 12
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 286 of 2562 PageID #: 7787


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                  ObjectProcessing                    140    Acquisition Interface                 120
                 Unit                                                                                    520                 530

     Knowledge                                                                                                     Knowledgebase
    Structuring Unit                                                                              800ax
        Knowledge
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        Knowledge                           1525a5
       Cell                                                                                }
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       Knowledge                             { 525a2            {
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       Cell                                                   w




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                       i Col ofOb Rep                                   Instruction Set
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        Knowledge                                3
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        Cell
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                   tot                                                  Instruction Set
                   oto                               525a1                                       52621
                       1                                                Instruction Set
                                            wi
                           Col of Ob Rep                       illnstruction Set

                                                              FIG . 13
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 287 of 2562 PageID #: 7788


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                  Object Processing                Acquisition Interface            120
                 Unit                                                                     520                 530

    Knowledge                                                                                       Knowledgebase
    Structuring Unit                                                               800ax
        Knowledge
        Cell
                        Coll ofObj Rep                    Instruction Set
                             ***                          Instrucion Set
               1 Col ofOb Rep                             Instruction Set
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                        Col of ObiRep                 }
          525d1                                                                   526a5
                                                          Instruction Set
          525cn
                        Coll ofOb Rep                     Instruction Set
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         525c1
                Col of Ob Rep 3                                              3
                                                                            wi
                                                                            min
         525bn       ***                                                  152624
                CollofOb Rep                                               526a3
          525b1 CollofOb Rep
                                                          Instruction Set
                                                                           526a2
                             ***                          Instruction Set
         525an
                        Coll of ObiRep                    Instruction Set
                        Coll of Ob Rep
          525a1                                                                   526a1

                   i Col ofOb Rep                    i Instruction Set


                                                                                   800ab
        Knowledge Cell
                                                                                   800aa
       Knowledge Cell

                                                    FIG . 14
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 288 of 2562 PageID #: 7789


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                  ObjectProcessing              140   Acquisition Interface             120
                 Unit                                                                         520                 530

    Knowledge                                                                                           Knowledgebase
    Structuring Unit                                                                  800ax
        Knowledge
       Cell                Coll of Ob Rep                    Instruction Set
                                ***         w
                                                             Instruction Set
                           Coll of Ob Rep                    Instruction Set !

                                                                                       800ad
       Knowledge                                        w




       Cell                Collof Oo Rep                                         3

        525dn                               3                Instruction Set 526a6
         525d1             CollofOb Rep                      Instruction Set          526a5
                                                       w




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       Knowledge
       Cell   Coll of Ob Rep                                                   inni
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        525cni ***             3
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         52501     Hoto
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      ColWedge CollofOojRep                                  Instruction Set 3 526a4
         525bn                  **                           Instruction Set 526a3
         525b1             Coll of Ob Rep                    Instruction Set          526a2
                   Moto
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                                                                                       800aa
       Knowledge
                           Col of Ob Rep                w




         525ani
        525a1              CollofOb Rep                      Instruction Set          526a1


                                                       FIG . 15
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 289 of 2562 PageID #: 7790


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          852          )0 (
    853
                                                                        853
                                                ?-?
                                                                              852

                    MBodel                                     MDodel
                                                                                       FIG
                                                                                       16
                                                                                       .




                    MAodel                                     MCodel
          852
    853

                                                   853
                                                         852
                c
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                              800zb                             800cc

     Knowledge Cell                      Knowledge Cell
           Occurrences = 10                           Occurrences = 15
           Weight= 0.4                                Weight= 0.6

                   85321                                                     85322
                                         Knowledge Cell
                                                             800za

                                                  FIG . 17A

                              800zb                             8003C                                800zd

     Knowledge Cell                      Knowledge Cell                      Knowledge Cell
           Occurrences = 10                               Occurrences = 15           Occurrences = 1
           Weight= 0.385                              Weight=0.577                   Weight=0.038
                                                                                                 85323
                                                                             85322
                    8531                 Knowledge Cell
                                                             800za
                                                  FIG . 17B

                              800zb                            B003c                                 800zd
     Knowledge Cell                      Knowledge Cell                      Knowledge Cell
           Occurrences = 11                               Occurrences = 15           Occurrences = 1
           Weight=0.407                               Weight= 0.556                  Weight= 0.037
                                                                                                -85323
                   85371                                                     85322
                                         Knowledge Cell
                                                             800za
                                                  FIG . 17C
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 291 of 2562 PageID #: 7792


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                                                                                                                                                                                  530d
                                        Knowledg   Cell



                   80 ce Knowledg Cel
                   80 cd KnowledgCell
                                                                                                                                                                                         18
                                                                                                                                                                                         .
                                                                                                                                                                                         FIG
                   80 C Knowledg
                                               Cel
                    80 cb Knowledg Cel
    CofKonlewlcetdigosne 80 ca          Knowledg   Cell



                                                          KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing            Unit
                                                                                                                                                                                  520
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                               Layer :854e Layer                                Layer Layer                                Layer Layer                                        530a
                                                                         854d                                      8546                    854b                    854a
                               KCnoewledlge 80 e CKnoewledlge 80 ed CKnoewl dlge 80 ec CKnoewl dlge                       853e2 80 eb
                                                                      8.53e4
                                                                                            8 5 3 e
                               KCnoewl dlge            CKnoewl dlge             KCnoewl dlge CKnoewl dlge                  CKnoewl dlge           853e1 80 ea
                                                                                CKnoewl dlge        CKnoewl dlge            CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                                     19
                                                                                                                                                                                     .
                                                                                                                                                                                     FIG
                               KCnoewl dlge *** CKnoewl dlge                    CKnoewl dlge        CelKnowledge           CKnoewl dlge             CKnoewledlge

                                                                                                    CKnowel dlge            CKnoewlidlge            CKnoewl ldge
                                                      CeKnowledge               CKnoewl dlge        KCnoewl dlge
    Netuwroalk
                                                                                                                                                                               125
                               KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                              520
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 293 of 2562 PageID #: 7794


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                               Layer :854e Layer                          Layer Layer Layer Layer                                                             530a
                                                                     854d            8546 854b 854a
                               KCnoewledlge           CKnoewl dlge      CKnoewl dlge       CKnoewl dlge
                                                     CKnoewl dlge       CWhoewl dlge       CKnoewl dlge         CKnoewl dlge    853
                                                                                                                                                   800

                               KCelnowledge   ***    CKnoewl dlge       CKnoewl dlge       KCnoewl dlge        CKnoewl dlge         CKnoewl dlge
                                                                                                                                                                     20
                                                                                                                                                                     .
                                                                                                                                                                     FIG
                                                                                           CKneowledge         CKnoewl dlge         CKnoewledlge

                               KCelnowledge          KCnowel ldge       CKnoewlidlge       CeiKnowledg          CKnoewlldge         CKnoewl ldge
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    Netuwroalk
                               KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                              520
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                                                                           80 he KCnoewldlge                     CelKnowledge
                                                                                                                                                                  530b

                                              80 hd CKnoewldlge
                                                                                853h4
                               KCnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                        8 0 h a
                                                                                               80 c
                                                                                                  CKnoewl dlge                     853h1
                                                                                                                                                                         21
                                                                                                                                                                         .
                                                                                                                                                                         FIG
                                CKneowldgse                                                      KCnoewl dlge                   853h2
                                                          KCnoewl dlge                                           CKnoewl dlge CKnoewl dlge
                                                                                                                                           8 0 h b

                               KCnoewl dlge
    Graph

                               KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                  520
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                                                                                                                                                                        530c
                               Sequnce    CKnoewledlge   :
                                                                CKnoewl dlge     CKnoewl dlge        CKnoewl dlge        KCnoewl dlge         CKnoewledlge



                      Sequnce            CKnoewledlge           CKnoewl dlge     CKnoewl dlge        KCnoewl dlge         CKnoewl dlge        CKnoewl dlge 533

                               CKnoewledlge KCnoewl dlge CKnoewl dlge KCnoewl dlge CKneowledlg CelKnowledge
                      Sequnce                            ***                                                                                                                   FIG
                                                                                                                                                                               22
                                                                                                                                                                               .




                      Sequnce  K
                               C n oew l   dlg e K
                                                 C n o
                                                     e w l
                                                         :
                                                           dlg e K
                                                                 C n o
                                                                     e w l dlg e  K
                                                                                  C n o
                                                                                      e w l dlg e     CKnoewledlge KCnoewl dlge

                                 K
                                 C n o
                                     e w l d l
                                             g e K
                                                 C n oew l dlg e K
                                                                 C n oew l  dlg e C
                                                                                  K n e
                                                                                      o  w l e dl g e  K
                                                                                                       C n o
                                                                                                           e w l dlg e K
                                                                                                                       C n o
                                                                                                                           e w l dlg e
    CofSoelqucetnioes Sequ nce

                                         KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                        520
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                                                                                                                                                                                                                  530d
           Knowledg          Cell
                                                                                                                      ***
     80 c Knowledg           Cell
     80 ob Knowledg
                             Cell

     80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                        SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                   23
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   FIG


                                                         52 a5                52 a4                                         52 a3          52 a2                            52 a1
    CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                    of
                                                                    Rep
                                                                    Obi                                  Col
                                                                                                         Obj
                                                                                                         of
                                                                                                         Rep                        Coll
                                                                                                                                    Ob
                                                                                                                                    of
                                                                                                                                    Rep              Coll
                                                                                                                                                     Rep
                                                                                                                                                     Obj
                                                                                                                                                     of                                                Col
                                                                                                                                                                                                       Obj
                                                                                                                                                                                                       of
                                                                                                                                                                                                       Rep




                                                                                                                                                                                                                  540
    Decison -making                                                                                                                                                                                                125
                                                             52515 ColofObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 CollofObjRep 5251 CollofObjRep
    ObjectProces ingUnit                Coll
                                        Rep
                                        Obj
                                        of
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                                                                                                                                                                                                                  530d
                    Knowledg Cell
                                                                                                                      ***
     80 c Cell
     80 ob Knowledg
                    Cell

     80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                        SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                   24
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   FIG


                                                         52 a5                52 a4                                         52 a3          52 a2                            52 a1
    CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                    of
                                                                    Rep
                                                                    Obi                                  Col
                                                                                                         Obj
                                                                                                         of
                                                                                                         Rep                        Coll
                                                                                                                                    Ob
                                                                                                                                    of
                                                                                                                                    Rep              Coll
                                                                                                                                                     Rep
                                                                                                                                                     Obj
                                                                                                                                                     of                                                Col
                                                                                                                                                                                                       Obj
                                                                                                                                                                                                       of
                                                                                                                                                                                                       Rep




                                                                                                                                                                                                                  540
    Decison -making                                                                                                                                                                                                125
                                                                                                                                                                                                     11




                                                             52513 ColofObjRep 52 12 CollofObjRep 52 1 CollofObjRep 52 1 CollofObRep 5251 CollofObjRep                                                            140
    ObjectProces ingUnit                Coll
                                        Rep
                                        Obj
                                        of
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                                                                                                                                                             530d
                                CKnoewledlge CollofObiRep          Coll
                                                                   Obi
                                                                   of
                                                                   Rep               Coll
                                                                                     Obi
                                                                                     of
                                                                                     Rep            Coll
                                                                                                    Obi
                                                                                                    of
                                                                                                    Rep              Coll
                                                                                                                     Obj
                                                                                                                     of
                                                                                                                     Rep                  of
                                                                                                                                          Coll
                                                                                                                                          Obj
                                                                                                                                          Rep




                                                                     52 d5 52 d4 52 d3 52 d2 52 01
                80 rd CKneowledge CollRepofObj                     of
                                                                   Coll
                                                                   Obi
                                                                   Rep               Coll
                                                                                     Obi
                                                                                     of
                                                                                     Rep            Coll
                                                                                                    of
                                                                                                    Ob
                                                                                                    Rep              Col
                                                                                                                     Rep
                                                                                                                     Obi
                                                                                                                     of                   Coll
                                                                                                                                          Obi
                                                                                                                                          of
                                                                                                                                          Rep



                80 rc KCelnowledge CollofObiRep             ***    Coll
                                                                   Obi
                                                                   of
                                                                   Rep              Coll
                                                                                    Obi
                                                                                    of
                                                                                    Rep             Coll
                                                                                                    Obi
                                                                                                    of
                                                                                                    Rep              Coll
                                                                                                                     of
                                                                                                                     Obi
                                                                                                                     Rep                  Coll
                                                                                                                                          of
                                                                                                                                          Obi
                                                                                                                                          Rep        52 c1          FIG
                                                                                                                                                                    25
                                                                                                                                                                    .


                80 rb CelKnowledge CollofObiRep             :


                                                                   Coll
                                                                   Rep
                                                                   Obi
                                                                   of                Coll
                                                                                     Obj
                                                                                     of
                                                                                     Rep            Coll
                                                                                                    of
                                                                                                    Rep
                                                                                                    Ob               Coll
                                                                                                                     Obi
                                                                                                                     of
                                                                                                                     Rep                  Coll
                                                                                                                                          Obi
                                                                                                                                          of
                                                                                                                                          Rep
                                                                                                                                                     52 02
    CofKonlewlcetdigosne 80 ra CKnoewledlge       Col
                                                  Obi
                                                  of
                                                  Rep       & o    Coll
                                                                   Rep
                                                                   Obi
                                                                   of                Obi
                                                                                     of
                                                                                     Coll
                                                                                     Rep            Col
                                                                                                    Rep
                                                                                                    Obi
                                                                                                    of               Col
                                                                                                                     Obi
                                                                                                                     of
                                                                                                                     Rep                  Coll
                                                                                                                                          of
                                                                                                                                          Obi
                                                                                                                                          Rep



    Decis on -making                                                                                 ? ?                                                      125
                                                       52515 CollofObRep 52 14 CollofObiRep 52 13          52 12 CollofObiRep 52 1 CollofObiRep              140
    Object   Procesing                            Coll
                                                  Obi
                                                  of
                                                  Rep                                               Coll
                                                                                                    of
                                                                                                    Ob
                                                                                                    Rep
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                               Layer                                     Layer                     Layer                      Layer                     Layer                     Layer                 530a
                                                              854e                       854d                                                 854c                     854b                      854a
                                                                                                    CKnoewl dlge               KCnoewl dlge
                                                                         CKnoewl dlge               CKnoewl dlge               KCnoewl dlge             KCelnowledge              CKneowledlge
                                                                                        0.25                                                                            0.35
                                                                                        0.75 Cell
                                                                                                                   80 td
                                   CKnoewl dlge                                                    KCnoewl dlge                KCnoewledlge             CKnoewl dlge 0.35 CKneowledlge 80 ta
                                                                         KCnoewledlge 85314 853t                     0.80
                                                                                                                                                                      8 5 3 t 1
                                                              80 te                                CKnoewledlge      0.20      CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                                                                1
                                                                                                                                                                        0.30                                   FIG
                                                                                                                                                                                                               26
                                                                                                                                                                                                               ,


                                                                                                  80 tc 80 tb  8 5 3 t 2
                                   CKnoewl dlge                          KCnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge

    Netuwroalk                     CKnoewledlge               .

                                                                         KCnoewledlge              KCnoewl dlge                KCnoewl dlge
                                                                                                                                                                                                        540
    Decison -makingUnit                                                                                                                                                                                  125
                                                                                                                                                                                                        140
    Object Unit  Procesing   Col
                             Ob
                             of
                             Rep                  CObi
                                                   Repol of
                                                              :


                                                                      525en Obj
                                                                      Coll
                                                                      of
                                                                      Ob
                                                                      Rep   525e1
                                                                            Rep
                                                                            of
                                                                            Col                 Ob
                                                                                                525dn
                                                                                                Rep
                                                                                                of Ob
                                                                                                Col   of
                                                                                                      Cal
                                                                                                      52501
                                                                                                      Rep                   Rep 52501
                                                                                                                            Obi
                                                                                                                            of
                                                                                                                            Coll
                                                                                                                            525cn Obi
                                                                                                                                  of
                                                                                                                                  Col
                                                                                                                                  Rep
                                                                                                                                ***
                                                                                                                                                     525bn
                                                                                                                                                     Rep
                                                                                                                                                     Obj
                                                                                                                                                     of 5251
                                                                                                                                                     Coll  Rep
                                                                                                                                                           Ob
                                                                                                                                                           of
                                                                                                                                                           Coll                525an Col
                                                                                                                                                                               Coll
                                                                                                                                                                               of
                                                                                                                                                                               Ob
                                                                                                                                                                               Rep   of
                                                                                                                                                                                     Rep
                                                                                                                                                                                     Obi
                                                                                                                                                                                     525a1
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                                                                                                                                       KCnoewl dlge 80 ub                                 530b
                                                      80.15 53u1                                                           0.60 0.30
                           80 ua KCnoewldlge                                            CKnoewl dlge
                                                                                                                                              0.10
                                                      0.85                                                         85302
                                                                                                                                       CKnoewledlge           KCnoewl dlge

                                                              CKnoewl dlge                             80 uc CKnoewldlge
                                      CKnoewledlge                   80 ud   0.20 CKnoewl dlge
                                                                                                                853u 8534                                                                        27
                                                                                                                                                                                                 .
                                                                                                                                                                                                 FIG

                                                                                                         0.80
                                                                                                                                       CKnoewl dlge
                                                                                                                                                      80 ue
                                       CKnoewl dlge                                     CKnoewl dlge
    Graph
                                                                                                                                                                                          540
    Decison -making Unit                                                                                                                                                                   125
                                                                                                                                                                                          140
          Procesing
    Object Unit                  Coll
                                 of
                                 Ob
                                 Rep Col
                                      of
                                      Ob
                                      Rep
                                          *** Coll
                                              525en Col
                                              Ob
                                              of
                                              Rep   Obi
                                                    of
                                                    Rep
                                                    525e1                                  Ob Col
                                                                                           of
                                                                                           Col
                                                                                           5250n
                                                                                           Rep   Ob
                                                                                                 of
                                                                                                 52501
                                                                                                 Rep                Rep Rep
                                                                                                                    Coll
                                                                                                                    Obi
                                                                                                                    of
                                                                                                                    525cn Obj
                                                                                                                          of
                                                                                                                          Col
                                                                                                                          525c1           Ob Rep
                                                                                                                                          of
                                                                                                                                          Col
                                                                                                                                          525bn
                                                                                                                                          Rep   of
                                                                                                                                                Col
                                                                                                                                                5251
                                                                                                                                                Ob               ColofO5b2j5Raenp Coll
                                                                                                                                                                                  of
                                                                                                                                                                                  525a1
                                                                                                                                                                                  Rep
                                                                                                                                                                                  Ob
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                                                                                                                                                                       530c
                                         CKnoewledlge             CKnoewledlge      KCnoewledlge       CellKnowledge      KCnoewledlge          CKneowledge
                           Sequ nce                     ***




                                                                       80 de 80 d 80 dc 80 db 80 da
            53 wd                        KCnoewl dlge             CKnoewledlge      KCnoewledlge        CKnoewledlge      CKnoewl dlge          CKnoewl dlge
                           Sequnce
                     53 WC Sequ nce KCnoewldlge                   CKnoewledlge      KCnoewl dlge        KCnoewl dlge      CKnoewl dlge          CKnoewl dlge 80 ca            FIG
                                                                                                                                                                              28
                                                                                                                                                                              .


                     53 wb Sequ nce CKnoewledlge        en 3      CKnoewledlge      CKnoewledlge       CKnoewledlge       CKnoewl dlge          CKnoewl dlge
                                                                                                                                                             8 0 c b

    CofSoelquctnioes 53 wa Sequ nce CKnoewledlge        :

                                                                  CKnoewledlge      CKnoewl dlge        KCnoewl dlge      KCnoewledlge          CKnoewl dlge
                                                                                                                                                                        540
    Decison -making Unit                                                                                                                                                 125
                                                                                                                                                                        140
           Procesing
    Object Unit                       Coll
                                      of
                                      Ob
                                      Rep Col
                                           of
                                           Ob
                                           Rep
                                               *** Coll
                                                   525en Col
                                                   Ob
                                                   of
                                                   Rep   Obi
                                                         of
                                                         Rep
                                                         525e1                   Ob Col
                                                                                 of
                                                                                 Col
                                                                                 5250n
                                                                                 Rep   Ob
                                                                                       of
                                                                                       52501
                                                                                       Rep          Rep Rep
                                                                                                    Coll
                                                                                                    Obi
                                                                                                    of
                                                                                                    525cn Obj
                                                                                                          of
                                                                                                          Col
                                                                                                          525c1        Ob Rep
                                                                                                                       of
                                                                                                                       Col
                                                                                                                       525bn
                                                                                                                       Rep   of
                                                                                                                             Col
                                                                                                                             5251
                                                                                                                             Ob          ColofO5b2j5Raenp Coll
                                                                                                                                                          of
                                                                                                                                                          525a1
                                                                                                                                                          Rep
                                                                                                                                                          Ob
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    100
   130                                                                                                             11

                                                 215
                                                       Arithmeic          UnitLogic
                                                                                                           214

                                                        DInestcroudeirn                     RAergisateyr
                                                                                                                              FIG
                                                                                                                              29
                                                                                                                              .


                                                                                      213
                                                       IRnestgriucteonr
                                                                                      212                                    12

          MAUCnAitO Iondtifercaon                      CPorungtream
                                      Proces r                                        211                           Memory
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                                                                                      9130Step                                                                                                9135Step                                                                                                                                          9140Step                                                                                                                                                                                                 9145Step



                ranewcofoeStep9125pblrejsicvnetacinogts                         orofcthefwepblijsernctsaihotns                                          atmaplisthattdeahrtaemicsrnahtelg ocofandthefrebplijsercntsaiotns                                                                                    setsformoreioneorthefenxsitrcu tsiotngfthewcaopivreatlsaihtenrdg
                                                          oofcnewtheblmjpeactritong                                                                                                                                                                                                                                                                                                                                                                                                            o,oneormorebytheapevrfaotrimaonrsgoneormorebythefdsetsforineisftriucnsteitodn thefwcaopivreartlsaihtenrdg
                                                                                                                                                                             bthenewcofoeltjewcteicont
                                                                                                                                                                                                                                                                                                                                                                                coforepbljscnetaions                                                                                                                                                                                                  crofoepblsjncetaions
                                                                                                                 repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             30




    M9e1th0od
                          rofocafepblisjernctvasinotgs                                      setsforimoreoneorfanrseitcruitvsotng                                                                                                                                                                                                                                                            thescfrofoetpblijsercnitsaotgnssetsimoreoronefwiththecnStep9120soitrruecltsaiotend
                                                                                                                                                                                                              ofocthefblrijercatsiotngmoreoneorfwithther9115Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         otheaforpveratainrg
                                                                                                                              aano9110Stepvpeartairng
                                               9105Step
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                        9220Step                                                                                                                                                                                                                                                    9230Step                                                                                                                                                                                                9235Step



                                                          setsforiormoreaonethefnsticrupastitongfwthecaoipvreatlsahienrdg rofocatonbeplajsenctaei9225Stepodofctthenewnbomsplaeatrwcatecisoahntlofcftheandroeplibsrjecntsaiconts                    setsforimoreoneorftheenxsitrcutsiontgfthewcaoipvreatlsahitenrdg
                roofanewcepblsjenictva ontgs                                                                                                                                                                                                                                                                                                                                                                                         oneormore,bytheapoevrfaortmiaonrgsoneormorebythefdsetsforineisftriucnsteitodnthefcwaopvireartlsaihtenrdg
                                                                                                                                                                                                                                                                                                                     crofoeplbjscnetaions                                                                                                                                                                                                       coforepbljscnetaions
                                                                                                                                                                                                                              roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .




    M9e2th0od

                         rofocafepblisjernctvasinotgs                                                                                                       forsetsimoreoneorfnarseticruitvsotng                                                                                                                                   cftlrofoepbiahjsrenctsaieotgnssetsimoreoronefwiththec9215nSteposirtrueclstaiotend
                                                                                                                                                                                                                                                                                                                                                                                                               atheoforpveartainrg
                                                                                                                                                                                               aano9210Stepvpeartairng
                                               9205Step
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                      9325Step                                                                             9S3te0p


                                                                                                                                                                                                                                    9Sofcsoftheandr3ltepirecstni5spaotmions                                                                                                                        octheawithsfS9pvtrei3artle4asinp0etrmgd                                                                                                                                                                                9Ssthefwcat3oirvp4eartls5pahmierndg
                ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                           maplistatthatdeahrtaemicsrnahtelg sthebnewofocetlrjwcetiaconmts                                                                                                                 iforsormeonethefnxietorcutrsieontg                                                                                                                                                      oneormoreo,bytheapevrfaotrimaonrsgsetsforoneormoreibythefdnesitfriucnsteitodn
                                                                                                                                                                                                                                                                                                                                                                                                                                      ofcroeplbjscnetiaotsn                                                                                                                                                                                              ofcorelpbjscnetiaotsn
                                                repsntaio roeofpbsjnteaciotns                                                                                                                                                                                             roepbjsnetacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 32




    M9e3th0od
                       ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                      ofocsthefbtlirjercltasicotnmsg                                                                                                                                                   oofcstheftbliojrectiscaontmgsmoreorfonethewcrStep9eoip 3rsetnl2sahti0eondsforsitheaonpvetarutcaisnorg
                                                                                                                                                                                                                                                                                       moreoneorfwithther9315Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                    aano9Stepvpea3rt1airn0g
                                                S9rept3se0ntap5ions
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                       9425Step                                                       9Step430                                                                                                 9435Step                                                                                                                                         9440Step                                                                                                                                                                                              9S4te5p



                                                                                orofcthefwepblijsernctsaihotns                                           atmaplisthattdeahrtaemicsrnahtelg oofcfandrtheebplijsercntsaitons                                                                                    forsetsmoreioneorthefenxsitrcu tsiotngfthewcaopirel tcashienodg                                                                                                                     oneormore,bytheaperlfiocramtinog onebythefdoormpeiofratrnsioetds cthefwoforbiljertcasihetodn
                roofanewcepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                           bthenewcofoeltjewcteicont                                                                                                                                                                                                                                                                                                                                          iforostheanpetlriuactisnog
                                                                                                                                                                                                                                                                                                                                                                            crofoepblsjncetaiotns
                                                                                                                 repsntaio repsntaio                                                                                                                                                                                                                                                                                                                                                                                                                                                             repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG




    M9e4th0od

                         rofocafepblisjernctvasinotgs                                       setsforimoreoneorfanrseitcruitvsotng
                                                                                                                                                                                                              cofothefblrijerlcatsiotngmoreoneorfwithther9415Stepepisrentsationsisforotheanpetlriuatc sinog                                                                               thescfrofoetpblijsercnitsaotgnssetsimoreoneorthefwithcnStep9420soitrurecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           aforothepelriactinog
                                                                                                                              aano9pSle4tirca1etio0npg
                                               9405Step
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                       9520Step                                                                                                                                                                                                                                                   9530Step                                                                                                                                                                                                          9535Step




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                                                                                                                                                                                                                             roepbsjnteacios                                                                                                                                                                                                                                                                                                              repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FIG




    M9e5th0od

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                                                                                                                                                                                                aanop9Slei5trca1eion0pg
                                               9505Step
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                       9625Step                                                                            9Step630                                                                                                                                                                                                                                                                              9640Step                                                                                                                                                                                                       9645Step


                                                                                                                                                                                                                                      9Stepofcsfotheandr6lteipr3cstein5saotmions
                ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                            maplistatthatdeahrtaemicsrnahtelg sthebnewofocetlrjwcetiaconmts                                                                                                                    iforsoneormethefnxietorcutrsieontgthefwcaopirel ctasihenodg                                                                                                              oneormorea,bytheperlfiocramtinogoneormorebythefdopeifratnisoetds iofsatnpelorhiuactresinog ofcsthefwotlirerctlsaiohtenmds
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                                                repsntaio roeofpbsjnteaciotns                                                                                                                                                                                                  roepbjsnetacios                                                                                                                                                                                                                                                                                                                                                                         roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         35




    M9e6th0od
                       ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                          ofocsthefbtlirjercltasicotnmsg                                                                                                                                     oofcstheftbliojrectiscaontmgsmoreoneorthefwcrStep9620eopirsetnlsahtieoiosforndtheanspetlriuatc isnog
                                                                                                                                                                                                                                                                                           onemoreorfwithther9615Stepepirsenstationsisforotheanpetlriuatc sinog
                                                                                                                                                    aano9pSle6tirca1etio0npg
                                                S9rept6se0ntap5ions
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    18a




                                                               16m
                                                         615a 61
                                              605a                                            36
                                                                                              .
                                                                                              FIG
                                                                                               000000




              OR X

             OSS SORR
                        COR QR

                         RR RRRR
                                             615ac WIN           °
                                                                 329
                                                                                  913

                                                                                        18m
                                                                          615ab
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    18b




           615ba        289m
                                                         615b
                                                                 154m

                                                                                               37
                                                                                               .
                                                                                               FIG

                                 80                 56

                                                                          186
                                         605b
                                                           331
                                                           °


                                                 103m
                                                                           141m
                                                                           .

                                 615bd
                                                                  615bc
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    18b




               615ba       LL
                                289m                                                           1



                       W



                                                               615b
                                                                      154m

                                                                                                    38
                                                                                                    .
                                                                                                    FIG

                                       80                 56

          os
                                                                               186
                                               605b
                                                                 331
                                                                 °


                                                       103m
                                                                                141m
                                                                                .

                                       615bd
                                                                       615bc
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    18C        450
                                                                                                               13


    PPP



     1

    1
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                                                                                                               8
                                                                                                               10
                                                                                                               12
                                                                                                               11
                                                                                                               7


                                                  605 2                   605c3                    manMA




                              605 1                                                                  PA
                                                                                                          ..        FIG
                                                                                                                    .
                                                                                                                    39


     1                                                        61502
    EL
                                          61501                                   61503            mom




                                                                                                               6
                                                                                                               4
                                                                                                               5
                                                                                                               3
                                                                                                               1
                                                                                                               2

    1




     29




   101    10         9   8            7                               4       3           2    1
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                                                      US 10,607,134 B1
                         1                                                                           2
        ARTIFICIALLY INTELLIGENT SYSTEMS,                            The artificial intelligence unit may be further configured to :
       DEVICES , AND METHODS FOR LEARNING                              cause the processor circuit to execute the first one or more
               AND /OR USING AN AVATAR'S                            instruction sets for operating the avatar of the application
          CIRCUMSTANCES FOR AUTONOMOUS                              correlated with the first collection of object representations,
                     AVATAR OPERATION                            5 the causing performed in response to the anticipating of the
                                                                    artificial intelligence unit , wherein the avatar of the appli
                              FIELD                                 cation performs one or more operations defined by the first
                                                                    one or more instruction sets for operating the avatar of the
      The disclosure generally relates to computing devices 10 application         correlated with the first collection of object
   and /or systems. The disclosure includes devices , appara representations .
   tuses, systems, and related methods for providing advanced          In certain embodiments, the processor circuit includes one
   learning, anticipating, decision making , automation , and /or or more processor circuits . In further embodiments , the
   other functionalities .                                          application includes a computer game, a virtual world , a 3D
                                                                     graphics application , a 2D graphics application , a web
                     COPYRIGHT NOTICE                            15 browser, a media application , a word processing application ,
                                                                    a spreadsheet application , a database application, a forms
      A portion of the disclosure of this patent document based application , an operating system , a device control
   contains material which is subject to copyright protection . application , a system control application , or a computer
    The copyright owner has no objection to the facsimile application . In further embodiments, at least one of: the
   reproduction by anyone of the patent document or the patent 20 processor circuit, the memory unit, or the artificial intelli
   disclosure as it appears in the Patent and Trademark Office         gence unit of the system are part of a single computing
   patent file or records, but otherwise reserves all copyright        device .
   rights whatsoever.                                                    In some embodiments , the memory unit includes one or
                                                                      more memory units. In further embodiments, the memory
                          BACKGROUND                               25 unit resides on a remote computing device or a remote
                                                                      computing system . The remote computing device or the
      Applications and/or avatars thereof commonly operate by remote computing system may include a server, a cloud , a
   receiving a user's operating directions in various circum          computing device , or a computing system accessible over a
   stances . Instructions are then executed to effect the operation network or an interface .
   of an application and /or avatar based on user's operating 30 In certain embodiments , the artificial intelligence unit
   directions. Hence, applications and / or avatars rely on the includes a circuit , a computing apparatus, a computing
   user to direct their behaviors. Commonly employed appli            system , or a hardware element. In further embodiments, the
   cation and /or avatar operating techniques lack a way to learn artificial intelligence unit includes an application . In further
   operation ofan application and /or avatar and enable autono        embodiments , the artificial intelligence unit is coupled to the
   mous operation of an application and/or avatar.                 35 memory unit. In further embodiments , the artificial intelli
                                                                      gence unit is a hardware element that is part of, an appli
                             SUMMARY                                  cation operating on , or an element coupled to the processor
                                                                      circuit. In further embodiments , the artificial intelligence
      In some aspects , the disclosure relates to a system for unit is part of or coupled to the application . In further
   learning and using an avatar's circumstances for autono- 40 embodiments , the artificial intelligence unit is part of or
   mous avatar operating . The system may be implemented at coupled to the avatar of the application . In further embodi
   least in part on one or more computing devices. In some ments, the system further comprises: an additional processor
   embodiments, the system comprises: a processor circuit circuit , wherein the artificial intelligence unit is a hardware
   configured to execute instruction sets of an application . The element that is part of, an application operating on , or an
   system may further comprise: a memory unit configured to 45 element coupled to the additional processor circuit . In fur
   store data . The system may further comprise : an artificial ther embodiments , the artificial intelligence unit is a hard
   intelligence unit configured to . The artificial intelligence ware element that is part of, an application operating on , or
   unit may be configured to : receive a first collection ofobject an element coupled to a remote computing device or a
   representations, the first collection of object representations remote computing system . In further embodiments , the
   including one or more object representations representing 50 artificial intelligence unit is attachable to the processor
   one or more objects of the application . The artificial intel circuit . In further embodiments , the artificial intelligence
   ligence unit may be further 30 configured to: receive a first unit is attachable to the application . In further embodiments ,
   one or more instruction sets for operating an avatar of the the artificial intelligence unit is attachable to the avatar of the
   application . The artificial intelligence unit may be further application. In further embodiments , the artificial intelli
   configured to : learn the first collection of object represen- 55 gence unit is embedded or built into the processor circuit . In
   tations correlated with the first one or more instruction sets further embodiments , the artificial intelligence unit is
   for operating the avatar of the application . The artificial       embedded or built into the application . In further embodi
   intelligence unitmay be further configured to : receive a new      ments , the artificial intelligence unit is embedded or built
   collection of object representations, the new collection of into the avatar of the application . In further embodiments,
   object representations including one or more object repre- 60 the artificial intelligence unit is provided as a feature of the
   sentations representing one or more objects of the applica        processor circuit . In further embodiments , the artificial intel
   tion . The artificial intelligence unit may be further config     ligence unit is provided as a feature of the application . In
   ured to : anticipate the first one or more instruction sets for further embodiments , the artificial intelligence unit is pro
   operating the avatar of the application correlated with the vided as a feature of the avatar of the application . In further
   first collection of object representations based on at least a 65 embodiments , the artificial intelligence unit is further con
   partial match between the new collection of object repre figured to : take control from , share control with , or release
   sentations and the first collection of object representations. control to the processor circuit. In further embodiments , the
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                                                       US 10,607,134 B1
                                  3                                                                  4
   artificial intelligence unit is further configured to : take       The receiving the one or more properties of the one or more
   control from , share control with , or release control to the     objects of the application may include at least one of:
   application . In further embodiments , the artificial intelli     accessing or reading a scene graph or a data structure used
   gence unit is further configured to : take control from , share   for organizing the one or more objects of the application .
   control with , or release control to the avatar of the applica- 5 The receiving the one or more properties of the one or more
   tion .                                                            objects of the application may include detecting the one or
      In some embodiments, the one or more objects of the more properties of the one ormore objects of the application
   application include a 2D model, a 3D model , a 2D shape , a in a picture of the avatar's surrounding. The receiving the
   3D shape , a graphical user interface element, a form ele one or more properties of the one or more objects of the
   ment, a data or database element, a spreadsheet element, a 10 application may include detecting the one ormore properties
   link , a picture , a text, a number, or a computer object. In of the one ormore objects of the application in a sound from
   further embodiments , the one or more objects of the appli the avatar's surrounding.
   cation include one or more objects of the application in the      In certain embodiments , the system further comprises : an
   avatar's surrounding . The avatar's surrounding may include object processing unit configured to receive collections of
   an area of interest around the avatar. In further embodi- 15 object representations, wherein the first or the new collec
   ments, the avatar of the application includes a user -control tion of object representations is received by the object
    lable object of the application . In further embodiments , an processing unit.
   avatar's circumstance includes one or more objects of the         In some embodiments , the first one or more instruction
   application .                                                  sets for operating the avatar of the application include one or
       In certain embodiments, the first collection of object 20 more instruction sets that temporally correspond to the first
   representations is received at a first time. In further embodi collection of object representations. The one or more
   ments, the new collection of object representations is instruction sets that temporally correspond to the first col
   received at a new time. In further embodiments, the first lection of object representations may include one or more
   collection of object representations includes a unit ofknowl instruction sets executed at a time of generating the first
   edge of the avatar's circumstance at a first time. In further 25 collection of object representations. The one or more
    embodiments, the new collection of object representations instruction sets that temporally correspond to the first col
   includes a unit of knowledge of the avatar's circumstance at lection of object representations may include one or more
   a new time. In further embodiments , an object representation instruction sets executed prior to generating the first collec
   includes one or more properties of an object of the appli        tion of object representations . The one or more instruction
   cation . In further embodiments , an object representation 30 sets that temporally correspond to the first collection of
   includes one or more information on an object of the object representations may include one or more instruction
   application . In further embodiments, the first or the new       sets executed within a threshold period of time prior to
   collection of object representations includes or is associated generating the first collection of object representations. The
   with a time stamp, an order, or a timerelated information. In one or more instruction sets that temporally correspond to
   further embodiments, the first collection of object represen- 35 the first collection of object representationsmay include one
   tations includes a comparative collection of object repre or more instruction sets executed subsequent to generating
   sentations whose at least one portion can be used for the first collection of object representations. The one ormore
   comparisonswith at least one portion ofcollections of object instruction sets that temporally correspond to the first col
   representations subsequent to the first collection of object lection of object representations may include one or more
   representations, the collections of object representations 40 instruction sets executed within a threshold period of time
   subsequent to the first collection of object representations subsequent to generating the first collection of object rep
   comprising the new collection of object representations. In resentations. The one or more instruction sets that tempo
    further embodiments , the first collection of object represen rally correspond to the first collection of object representa
   tations includes a comparative collection of object repre tions may include one or more instruction sets executed
   sentations that can be used for comparison with the new 45 within a threshold period of time prior to generating the first
   collection of object representations. In further embodiments , collection of object representations and a threshold period of
   the new collection of object representations includes an            time subsequent to generating the first collection of object
   anticipatory collection of object representations that can be       representations.
    compared with collections of object representations whose            In certain embodiments, the first one or more instruction
   correlated one or more instruction sets for operating the 50 sets for operating the avatar of the application include one or
   avatar of the application can be used for anticipation of one more instruction sets executed in operating the avatar of the
    or more instruction sets to be executed in autonomous application . In further embodiments, the first one or more
   operating of the avatar of the application . In further embodi instruction sets for operating the avatar of the application are
   ments , the first collection of object representations includes part of the application . In further embodiments, the first one
    a stream of collections of object representations . In further 55 or more instruction sets for operating the avatar of the
    embodiments , the new collection of object representations application are part of the avatar of the application . In
    includes a stream of collections of object representations.       further embodiments, the first one or more instruction sets
       In some embodiments , the receiving the first collection of for operating the avatar of the application include one or
   object representations includes receiving one or more prop more inputs into or one or more outputs from the processor
    erties of the one or more objects of the application . The one 60 circuit . In further embodiments , the first one or more instruc
    or more properties of the one or more objects of the tion sets for operating the avatar of the application include
    application may include one ormore information on the one a value or a state of a register or an element of the processor
    ormore objects of the application . The receiving the one or circuit . In further embodiments, the first one or more instruc
   more properties of the one ormore objects of the application tion sets for operating the avatar of the application include
   may include receiving the one or more properties of the one 65 at least one of: a command , a keyword , a symbol, an
    or more objects of the application from an engine , an instruction , an operator, a variable , a value, an object, a data
   environment, or a system used to implement the application . structure , a function , a parameter, a state, a signal, an input,
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                                                     US 10,607,134 B1
                                 5                                                                   6
   an output, a character, a digit , or a reference thereto . In      the avatar of the application includes at least one of: tracing,
   further embodiments, the first one or more instruction sets        profiling, or instrumentation of a register of the processor
   for operating the avatar of the application include a source circuit, the memory unit, a storage, or a repository where the
   code , a bytecode, an intermediate code, a compiled code , an first one or more instruction sets for operating the avatar of
   interpreted code , a translated code , a runtime code , an 5 the application are stored . In further embodiments, the
   assembly code , a structured query language (SQL ) code, or receiving the first one or more instruction sets for operating
   a machine code . In further embodiments, the first one or the avatar of the application includes at least one of: tracing ,
   more instruction sets for operating the avatar of the appli profiling, or instrumentation of the processor circuit, a
   cation include one or more code segments, lines of code, virtual machine , a runtime engine, an operating system , an
   statements, instructions, functions, routines, subroutines, or 10 execution stack , a program counter, or a processing element.
   basic blocks. In further embodiments , the first one ormore In further embodiments, the receiving the first one or more
    instruction sets for operating the avatar of the application instruction sets for operating the avatar of the application
   include one or more instruction sets for operating the includes at least one of: tracing, profiling , or instrumentation
   application .                                                     of the processor circuit or tracing , profiling, or instrumen
       In some embodiments , the receiving the first one or more 15 tation of a component of the processor circuit . In further
   instruction sets for operating the avatar of the application embodiments, the receiving the first one or more instruction
    includes receiving the first one or more instruction sets for sets for operating the avatar of the application includes at
   operating the avatar of the application executed by the least one of tracing, profiling , or instrumentation of the
   processor circuit . In further embodiments , the receiving the application . In further embodiments , the receiving the first
   first one or more instruction sets for operating the avatar of 20 one or more instruction sets for operating the avatar of the
   the application includes receiving the first one or more application includes at least one of: tracing , profiling, or
    instruction sets for operating the avatar of the application as instrumentation of the avatar of the application . In further
   they are executed by the processor circuit . In further embodiments, the receiving the firstone or more instruction
   embodiments, the receiving the first one or more instruction sets for operating the avatar of the application includes at
   sets for operating the avatar of the application includes 25 least one of: tracing, profiling , or instrumentation at a source
   obtaining the first one or more instruction sets for operating code write time, a compile time, an interpretation time, a
   the avatar of the application from the processor circuit . In translation time, a linking time, a loading time, or a runtime.
   further embodiments, the receiving the first one or more           In further embodiments , the receiving the first one ormore
   instruction sets for operating the avatar of the application       instruction sets for operating the avatar of the application
   includes receiving the first one or more instruction sets for 30 includes at least one of: tracing, profiling, or instrumentation
   operating the avatar of the application from a register or an of one or more code segments, lines of code, statements,
   element of the processor circuit. In further embodiments , the instructions, functions, routines, subroutines , or basic
   receiving the first one or more instruction sets for operating blocks. In further embodiments , the receiving the first one or
   the avatar of the application includes receiving the first one more instruction sets for operating the avatar of the appli
   or more instruction sets for operating the avatar of the 35 cation includes at least one of: tracing , profiling, or instru
   application from at least one of: the memory unit , a virtual mentation of a user input. In further embodiments, the
   machine, a runtime engine , a hard drive, a storage device, a receiving the first one or more instruction sets for operating
   peripheral device , a network connected device , or a user. In the avatar of the application includes at least one of: a
    further embodiments, the receiving the first one or more manual, an automatic , a dynamic , or a just in time ( JIT )
    instruction sets for operating the avatar of the application 40 tracing, profiling, or instrumentation . In further embodi
   includes receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
   operating the avatar of the application from a plurality of operating the avatar of the application includes utilizing at
   processor circuits , applications, memory units, virtual least one of a .NET tool, a .NET application programming
   machines, runtime engines, hard drives, storage devices , interface ( API), a Java tool, a Java API, a logging tool, or an
   peripheral devices , network connected devices, or users. In 45 independent tool for obtaining instruction sets . In further
   further embodiments, the receiving the first one or more embodiments, the receiving the first one or more instruction
   instruction sets for operating the avatar of the application sets for operating the avatar of the application includes
   includes obtaining the first one or more instruction sets for utilizing an assembly language . In further embodiments , the
   operating the avatar of the application from the application . receiving the first one or more instruction sets for operating
   In further embodiments , the receiving the first one or more 50 the avatar of the application includes utilizing a branch or a
   instruction sets for operating the avatar of the application jump. In further embodiments, the receiving the first one or
   includes obtaining the first one or more instruction sets for more instruction sets for operating the avatar of the appli
   operating the avatar of the application from the avatar of the cation includes a branch tracing or a simulation tracing. In
   application . In further embodiments, the receiving the first further embodiments, the system further comprises: an inter
   one or more instruction sets for operating the avatar of the 55 face configured to receive instruction sets , wherein the first
   application includes receiving the one or more instruction one or more instruction sets for operating the avatar of the
   sets for operating the avatar of the application at a source application are received via the interface . The interfacemay
   code write time, a compile time, an interpretation time, a include an acquisition interface .
   translation time, a linking time, a loading time, or a runtime.    In certain embodiments , the first collection of object
   In further embodiments , the receiving the first one or more 60 representations correlated with the first one or more instruc
   instruction sets for operating the avatar of the application tion sets for operating the avatar of the application include
   includes at least one of: tracing, profiling, or instrumentation a unit of knowledge of how the avatar of the application
   of a source code, a bytecode, an intermediate code , a operated in a circumstance . In further embodiments, the first
   compiled code , an interpreted code , a translated code , a collection of object representations correlated with the first
   runtime code , an assembly code, a structured query language 65 one or more instruction sets for operating the avatar of the
   (SQL ) code, or a machine code . In further embodiments , the application are included in a neuron , a node, a vertex, or an
   receiving the first one or more instruction sets for operating element of a knowledgebase . The knowledgebase may
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                                                      US 10,607,134 B1
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   include a neural network , a graph , a collection ofsequences,     collections of object representations correlated with one or
   a sequence, a collection of knowledge cells, a knowledge        more instruction sets for operating the avatar of the appli
   structure , or a data structure. Some of the neurons, nodes ,   cation include a user's knowledge, style, or methodology of
   vertices, or elements may be interconnected . In further        operating the avatar of the application in circumstances. In
   embodiments, the first collection of object representations 5 further embodiments, the plurality of collections of object
   correlated with the first one or more instruction sets for representations correlated with one or more instruction sets
   operating the avatar of the application are structured into a for operating the avatar of the application are stored on a
   knowledge cell. In further embodiments, the knowledge cell remote computing device or a remote computing system . In
   is included in a neuron , a node, a vertex , or an element of a further embodiments, the plurality of collections of object
   knowledgebase. The knowledgebase may include a neural 10 representations correlated with one or more instruction sets
   network , a graph , a collection of sequences, a sequence , a for operating the avatar of the application include an artifi
   collection of knowledge cells, a knowledge structure, or a cial intelligence system for knowledge structuring, storing ,
   data structure. Some of the neurons, nodes , vertices, or or representation . The artificial intelligence system for
   elements may be interconnected . In further embodiments , knowledge structuring, storing, or representation may
   the learning the first collection of object representations 15 include at least one of: a deep learning system , a supervised
   correlated with the first one or more instruction sets for         learning system , an unsupervised learning system , a neural
   operating the avatar of the application includes correlating network , a search - based system , an optimization - based sys
   the first collection ofobject representationswith the first one tem , a logic -based system , a fuzzy logic-based system , a
   or more instruction sets for operating the avatar of the tree -based system , a graph -based system , a hierarchical
   application . The correlating the first collection of object 20 system , a symbolic system , a sub -symbolic system , an
   representations with the first one or more instruction sets for evolutionary system , a genetic system , a multi -agent system ,
   operating the avatar of the application may include gener          a deterministic system , a probabilistic system , or a statistical
   ating a knowledge cell, the knowledge cell comprising the          system .
   first collection of object representations correlated with the        In certain embodiments, the anticipating the first one or
    first one or more instruction sets for operating the avatar of 25 more instruction sets for operating the avatar of the appli
   the application . The correlating the first collection of object cation correlated with the first collection of object represen
   representationswith the first one ormore instruction sets for tations based on at least a partial match between the new
   operating the avatar of the application may include struc collection of object representations and the first collection of
   turing a unit of knowledge of how the avatar of the appli object representations includes comparing at least one por
   cation operated in a circumstance. In further embodiments , 30 tion of the new collection of object representations with at
   the learning the first collection of object representations least one portion of the first collection of object represen
   correlated with the first one or more instruction sets for tations. The at least one portion of the new collection of
   operating the avatar of the application includes learning a object representations may include at least one object rep
   user's knowledge , style , or methodology of operating the resentation or at least one object property of the new
   avatar of the application in a circumstance .                    35 collection of object representations. The at least one portion
       In some embodiments , the learning the first collection of of the first collection of object representations may include
   object representations correlated with the first one or more at least one object representation or at least one object
   instruction sets for operating the avatar of the application property of the first collection of object representations. In
    includes storing the first collection of object representations further embodiments, the anticipating the first one or more
   correlated with the first one or more instruction sets for 40 instruction sets for operating the avatar of the application
   operating the avatar of the application into thememory unit, correlated with the first collection of object representations
   the memory unit comprising a plurality of collections of based on at least a partial match between the new collection
   object representations correlated with one or more instruc of object representations and the first collection of object
   tion sets for operating the avatarof the application . In further representations includes comparing at least one object rep
   embodiments, the plurality of collections of object repre- 45 resentation from the new collection ofobject representations
   sentations correlated with one or more instruction sets for with at least one object representation from the first collec
   operating the avatar of the application include a neural tion of object representations. In further embodiments , the
   network , a graph , a collection of sequences, a sequence , a comparing at least one object representation from the new
   collection of knowledge cells , a knowledgebase , a knowl collection of object representations with at least one object
   edge structure, or a data structure. In further embodiments, 50 representation from the first collection of object represen
   the plurality of collections of object representations corre    tations includes comparing at least one object property of the
   lated with one or more instruction sets for operating the at least one object representation from the new collection of
   avatar of the application are organized into a neuralnetwork , object representations with at least one object property of the
   a graph , a collection of sequences, a sequence , a collection at least one object representation from the first collection of
   of knowledge cells , a knowledgebase, a knowledge struc- 55 object representations. In further embodiments , the antici
   ture, or a data structure . In further embodiments, one or         pating the first one or more instruction sets for operating the
   more collection ofobject representations correlated with one       avatar of the application correlated with the first collection
   or more instruction sets for operating the avatar of the of object representations based on at least a partial match
   application of the plurality of collections of object repre between the new collection of object representations and the
   sentations correlated with one or more instruction sets for 60 first collection of object representations includes comparing
   operating the avatar of the application are included in one or at least one object property of at least one object represen
   more neurons, nodes , vertices, or elements of a knowledge tation from the new collection of object representations with
   base . The knowledgebase may include a neural network , a at least one object property of at least one object represen
   graph , a collection of sequences, a sequence , a collection of tation from the first collection of object representations .
   knowledge cells , a knowledge structure, or a data structure . 65 In some embodiments, the anticipating the first one or
   Some of the neurons, nodes, vertices , or elements may be          more instruction sets for operating the avatar of the appli
   interconnected . In further embodiments , the plurality of         cation correlated with the first collection of object represen
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                                  9                                                                10
   tations based on at least a partial match between the new between at least one object representation from the new
   collection ofobject representations and the first collection of collection of object representations and at least one object
   object representations includes determining that there is at representation from the first collection of object represen
   least a partial match between the new collection of object tations. The determining that there is at least a partial match
   representations and the first collection of object representa- 5 between at least one object representation from the new
    tions. In further embodiments, the determining that there is collection of object representations and at least one object
   at least a partialmatch between the new collection of object representation from the first collection of object represen
   representations and the first collection of object representa    tations may include determining that there is at least a partial
   tions includes determining that there is at least a partial match between at least one object property of the at least one
   match between one or more portions of the new collection 10 object representation from the new collection of object
   of object representations and one or more portions of the first representations and at least one object property of the at least
   collection of object representations. In further embodiments, one object representation from the first collection of object
   the determining that there is at least a partial match between representations.
   the new collection of object representations and the first           In certain embodiments , the causing the processor circuit
   collection of object representations includes determining 15 to execute the first one ormore instruction sets for operating
   that a similarity between at least one portion of the new the avatar of the application correlated with the first collec
   collection of object representations and at least one portion tion of object representations includes causing the processor
   of the first collection of object representations exceeds a        circuit to execute the first one or more instruction sets for
   similarity threshold . In further embodiments, the determin        operating the avatar of the application correlated with the
   ing that there is at least a partial match between the new 20 first collection of object representations instead of or prior to
   collection of object representations and the first collection of   an instruction set that would have been executed next. In
   object representations includes determining a substantial further embodiments , the causing the processor circuit to
   similarity between at least one portion of the new collection execute the first one or more instruction sets for operating
   of object representations and at least one portion of the first the avatar of the application correlated with the first collec
   collection of object representations. The substantial similar- 25 tion of object representations includes modifying one or
   ity may be achieved when a similarity between the at least more instruction sets of the processor circuit. In further
   one portion of the new collection of object representations embodiments, the causing the processor circuit to execute
   and the at least one portion of the first collection of object the first one ormore instruction sets for operating the avatar
   representations exceeds a similarity threshold . The substan of the application correlated with the first collection of
   tial similarity may be achieved when a number or a per- 30 object representations includes modifying a register or an
   centage of matching or partially matching portions of the element of the processor circuit. In further embodiments, the
   new collection of object representations and portions of the causing the processor circuit to execute the first one or more
   first collection of object representations exceeds a threshold instruction sets for operating the avatar of the application
   number or threshold percentage . In further embodiments, the correlated with the first collection of object representations
   determining that there is at least a partial match between the 35 includes inserting the first one or more instruction sets for
   new collection of object representations and the first collec operating the avatar of the application correlated with the
   tion of object representations includes determining that a first collection of object representations into a register or an
   number or a percentage ofmatching or partially matching element of the processor circuit. In further embodiments, the
   object representations from the new collection of object causing the processor circuit to execute the first one or more
   representations and from the first collection of object rep- 40 instruction sets for operating the avatar of the application
   resentations exceeds a threshold number or threshold per correlated with the first collection of object representations
   centage. The matching or partially matching object repre        includes redirecting the processor circuit to the first one or
   sentations from the new collection of object representations more instruction sets for operating the avatar of the appli
   and from the first collection of object representationsmay be cation correlated with the first collection of object represen
   determined factoring in at least one of: a type of an object 45 tations. In further embodiments , the causing the processor
   representation , an importance of an object representation , a circuit to execute the first one or more instruction sets for
   threshold for a similarity in an object representation , or a operating the avatar of the application correlated with the
   threshold for a difference in an object representation . In first collection ofobject representations includes redirecting
   further embodiments , the determining that there is at least a the processor circuit to one or more alternate instruction sets ,
   partial match between the new collection of object repre- 50 the alternate instruction sets comprising the first one ormore
   sentations and the first collection of object representations instruction sets for operating the avatar of the application
   includes  determining that a number or a percentage of correlated with the first collection of object representations.
   matching or partially matching object properties from the In further embodiments, the causing the processor circuit to
   new collection of object representations and from the first execute the first one or more instruction sets for operating
   collection of object representations exceeds a threshold 55 the avatar of the application correlated with the first collec
   number or threshold percentage. The matching or partially tion of object representations includes transmitting, to the
   matching object properties from the new collection of object processor circuit for execution , the first one ormore instruc
   representations and from the first collection of object rep      tion sets for operating the avatar of the application correlated
   resentations may be determined factoring in at least one of: with the first collection of object representations. In further
   an association of an object property with an object repre- 60 embodiments , the causing the processor circuit to execute
   sentation , a category of an object property , an importance of the first one or more instruction sets for operating the avatar
   an object property, a threshold for a similarity in an object of the application correlated with the first collection of
   property, or a threshold for a difference in an object property. object representations includes issuing an interrupt to the
   In further embodiments,the determining that there is at least processor circuit and executing the first one or more instruc
   a partialmatch between the new collection of object repre- 65 tion sets for operating the avatar of the application correlated
   sentations and the first collection of object representations with the first collection of object representations following
   includes determining that there is at least a partial match        the interrupt. In further embodiments, the causing the pro
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   cessor circuit to execute the first one ormore instruction sets     causing the processor circuit to execute the first one or more
   for operating the avatar of the application correlated with the     instruction sets for operating the avatar of the application
   first collection of object representations includes causing the     correlated with the first collection of object representations
   application to execute the first one or more instruction sets       includes modifying at least one of: the memory unit, a
   for operating the avatar of the application correlated with the 5 register of the processor circuit, a storage, or a repository
   first collection of object representations. In further embodi      where instruction sets are stored or used . In further embodi
   ments, the causing the processor circuit to execute the first ments , the causing the processor circuit to execute the first
   one or more instruction sets for operating the avatar of the one or more instruction sets for operating the avatar of the
   application correlated with the first collection of object application correlated with the first collection of object
   representations includes modifying one or more instruction 10 representations includes modifying at least one of: an ele
   sets of the application . In further embodiments, the causing ment of the processor circuit, an element of the application ,
   the processor circuit to execute the first one ormore instruc    an element of the avatar of the application , a virtual
   tion sets for operating the avatar of the application correlated machine, a runtime engine, an operating system , an execu
   with the first collection of object representations includes tion stack , a program counter , or a user input. In further
   modifying the application . In further embodiments , the 15 embodiments , the causing the processor circuit to execute
   causing the processor circuit to execute the first one ormore the first one or more instruction sets for operating the avatar
    instruction sets for operating the avatar of the application of the application correlated with the first collection of
   correlated with the first collection of object representations object representations includes modifying one or more
   includes redirecting the application to the first one or more instruction sets at a source code write time, a compile time,
   instruction sets for operating the avatar of the application 20 an interpretation time, a translation time, a linking time, a
   correlated with the first collection of object representations. loading time, or a runtime. In further embodiments , the
   In further embodiments, the causing the processor circuit to causing the processor circuit to execute the first one or more
   execute the first one or more instruction sets for operating instruction sets for operating the avatar of the application
   the avatar of the application correlated with the first collec correlated with the first collection of object representations
   tion of object representations includes redirecting the appli- 25 includes modifying one or more code segments , lines of
   cation to one or more alternate instruction sets, the alternate     code , statements, instructions, functions , routines, subrou
   instruction sets comprising the first one or more instruction       tines, or basic blocks . In further embodiments , the causing
   sets for operating the avatar of the application correlated the processor circuit to execute the first one or more instruc
   with the first collection of object representations. In further tion sets for operating the avatar of the application correlated
   embodiments, the causing the processor circuit to execute 30 with the first collection of object representations includes a
   the first one or more instruction sets for operating the avatar manual, an automatic , a dynamic , or a just in time ( JIT )
   of the application correlated with the first collection of instrumentation of the application . In further embodiments,
   object representations includes causing the avatar of the the causing the processor circuit to execute the first one or
   application to execute the first one or more instruction sets more instruction sets for operating the avatar of the appli
   for operating the avatar of the application correlated with the 35 cation correlated with the first collection of object represen
   first collection of object representations. In further embodi tations includes a manual , an automatic , a dynamic, or a just
   ments, the causing the processor circuit to execute the first in time (JIT) instrumentation of the avatar of the application .
   one or more instruction sets for operating the avatar of the In further embodiments , the causing the processor circuit to
   application correlated with the first collection of object execute the first one or more instruction sets for operating
   representations includes modifying one or more instruction 40 the avatar of the application correlated with the first collec
   sets of the avatar of the application . In further embodiments , tion of object representations includes utilizing one or more
   the causing the processor circuit to execute the first one or of a .NET tool, a .NET application programming interface
   more instruction sets for operating the avatar of the appli         (API), a Java tool, a Java API, an operating system tool, or
   cation correlated with the first collection of object represen      an independent tool for modifying instruction sets . In further
   tations includes modifying the avatar of the application . In 45 embodiments, the causing the processor circuit to execute
    further embodiments , the causing the processor circuit to the first one or more instruction sets for operating the avatar
   execute the first one or more instruction sets for operating of the application correlated with the first collection of
   the avatar of the application correlated with the first collec object representations includes utilizing at least one of: a
   tion of object representations includes redirecting the avatar dynamic, an interpreted , or a scripting programming lan
   of the application to the first one or more instruction sets for 50 guage. In further embodiments , the causing the processor
   operating the avatar of the application correlated with the circuit to execute the first one or more instruction sets for
    first collection of object representations. In further embodi operating the avatar of the application correlated with the
   ments , the causing the processor circuit to execute the first first collection of object representations includes utilizing at
   one or more instruction sets for operating the avatar of the least one of: a dynamic code, a dynamic class loading , or a
   application correlated with the first collection of object 55 reflection . In further embodiments , the causing the processor
   representations includes redirecting the avatar of the appli        circuit to execute the first one or more instruction sets for
   cation to one or more alternate instruction sets , the alternate operating the avatar of the application correlated with the
   instruction sets comprising the first one or more instruction first collection of object representations includes utilizing an
   sets for operating the avatar of the application correlated assembly language. In further embodiments, the causing the
   with the first collection of object representations. In further 60 processor circuit to execute the first one ormore instruction
   embodiments , the causing the processor circuit to execute sets for operating the avatar of the application correlated
   the first one or more instruction sets for operating the avatar with the first collection of object representations includes
   of the application correlated with the first collection of utilizing at least one of: a metaprogramming , a self-modi
   object representations includes modifying a source code, a fying code , or an instruction set modification tool. In further
   bytecode, an intermediate code, a compiled code, an inter- 65 embodiments , the causing the processor circuit to execute
   preted code , a translated code , a runtime code, an assembly      the first one or more instruction sets for operating the avatar
   code , or a machine code. In further embodiments, the              of the application correlated with the first collection of
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   object representations includes utilizing at least one of: just application , an information on the avatar's circumstance , an
    in time (JIT ) compiling, JIT interpretation , JIT translation , information on an object, an information on an object
   dynamic recompiling , or binary rewriting . In further representation , an information on a collection of object
   embodiments, the causing the processor circuit to execute representations, an information on an instruction set , an
   the first one or more instruction sets for operating the avatar 5 information on the application , an information on the pro
   of the application correlated with the first collection of cessor circuit, or an information on a user. In further
   object representations includes utilizing at least one of: a embodiments, the artificial intelligence unit is further con
   dynamic expression creation , a dynamic expression execu          figured to : learn the first collection of object representations
   tion , a dynamic function creation , or a dynamic function        correlated with the at least one extra information . The
   execution. In further embodiments , the causing the proces- 10 learning the first collection of object representations corre
   sor circuit to execute the first one ormore instruction sets for lated with at least one extra information may include cor
   operating the avatar of the application correlated with the relating the first collection ofobject representationswith the
    first collection of object representations includes adding or at least one extra information . The learning the first collec
   inserting additional code into a code of the application . In tion of object representations correlated with at least one
   further embodiments, the causing the processor circuit to 15 extra information may include storing the first collection of
   execute the first one or more instruction sets for operating object representations correlated with the at least one extra
   the avatar of the application correlated with the first collec information into the memory unit. In further embodiments,
   tion of object representations includes at least one of: the anticipating the first one or more instruction sets for
   modifying , removing, rewriting, or overwriting a code of the operating the avatar of the application correlated with the
   application . In further embodiments, the causing the pro- 20 first collection of object representations based on at least a
   cessor circuit to execute the first one or more instruction sets    partial match between the new collection of object repre
   for operating the avatar of the application correlated with the     sentations and the first collection of object representations
   first collection of object representations includes at least one    includes anticipating the firstone ormore instruction sets for
   of: branching, redirecting , extending , or hot swapping a operating the avatar of the application correlated with the
    code of the application . In further embodiments , the causing 25 first collection of object representations based on at least a
   the processor circuit to execute the first one ormore instruc      partialmatch between an extra information correlated with
    tion sets for operating the avatar of the application correlated the new collection of object representations and an extra
   with the first collection of object representations includes information correlated with the first collection of object
   adding or inserting additional code into a code of the avatar representations. The anticipating the first one or more
    of the application . In further embodiments, the causing the 30 instruction sets for operating the avatar of the application
   processor circuit to execute the first one or more instruction correlated with the first collection of object representations
    sets for operating the avatar of the application correlated based on at least a partial match between an extra informa
   with the first collection of object representations includes at tion correlated with the new collection of object represen
   least one of:modifying , removing , rewriting, or overwriting tations and an extra information correlated with the first
    a code of the avatar of the application . In further embodi- 35 collection of object representations may include comparing
   ments , the causing the processor circuit to execute the first an extra information correlated with the new collection of
    one or more instruction sets for operating the avatar of the object representations and an extra information correlated
   application correlated with the first collection of object with the first collection of object representations. The antici
    representations includes at least one of: branching , redirect pating the first one or more instruction sets for operating the
   ing , extending, or hot swapping a code of the avatar of the 40 avatar of the application correlated with the first collection
   application . In further embodiments, the causing the pro of object representations based on at least a partial match
   cessor circuit to execute the first one or more instruction sets    between an extra information correlated with the new col
   for operating the avatar of the application correlated with the lection of object representations and an extra information
   first collection of object representations includes implement correlated with the first collection of object representations
   ing a user's knowledge, style , or methodology of operating 45 may include determining that a similarity between an extra
   the avatar of the application in a circumstance . In further information correlated with the new collection of object
   embodiments , the system further comprises : an interface representations and an extra information correlated with the
   configured to cause execution of instruction sets, wherein first collection of object representations exceeds a similarity
   the executing the first one or more instruction sets for threshold .
   operating the avatar of the application correlated with the 50 In some embodiments , the system of further comprises: a
   first collection of object representations by the processor user interface, wherein the artificial intelligence unit is
   circuit is caused by the interface . The interface may include further configured to : cause the user interface to present a
   a modification interface .                                         user with an option to execute the first one or more instruc
      In some embodiments, the avatar's performing the one or         tion sets for operating the avatar of the application correlated
   more operations defined by the first one or more instruction 55 with the first collection of object representations . In further
   sets for operating the avatar of the application correlated embodiments, the system of further comprises: a user inter
   with the first collection of object representations includes face, wherein the artificial intelligence unit is further con
   implementing a user's knowledge, style, or methodology of figured to : receive, via the user interface, a user's selection
   operating the avatar of the application in a circumstance.         to execute the first one ormore instruction sets for operating
       In certain embodiments, the artificial intelligence unit is 60 the avatar of the application correlated with the first collec
    further configured to : receive at least one extra information . tion of object representations .
    In further embodiments, the at least one extra information           In further embodiments, the artificial intelligence unit is
   include one or more of: a time information , a location further configured to : rate the executed first one or more
   information , a computed information , a visual information , instruction sets for operating the avatar of the application
   an acoustic information , or a contextual information . In 65 correlated with the first collection of object representations.
   further embodiments, the at least one extra information             The rating the executed first one ormore instruction sets for
   include one or more of: an information on the avatar of the         operating the avatar of the application correlated with the
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   first collection ofobject representations may include causing       tions correlated with the second one or more instruction sets
   a user interface to display the executed first one or more for operating the avatar of the application include creating a
   instruction sets for operating the avatar of the application connection between the first collection of object represen
   correlated with the first collection of object representations tations correlated with the first one or more instruction sets
   along with one or more rating values as options to be 5 for operating the avatar of the application and the second
   selected by a user . The rating the executed first one or more collection of object representations correlated with the sec
   instruction sets for operating the avatar of the application ond one or more instruction sets for operating the avatar of
   correlated with the first collection of object representations the application . The connection may include or be associated
   may include rating the executed first one ormore instruction with at least one of: an occurrence count, a weight, a
   sets for operating the avatar of the application correlated 10 parameter, or a data . In further embodiments, the learning
   with the first collection of object representations without a the first collection of object representations correlated with
   user input.                                                          the first one ormore instruction sets for operating the avatar
       In certain embodiments, the system further comprises : a of the application and the learning the second collection of
   user interface, wherein the artificial intelligence unit is object representations correlated with the second one or
   further configured to : cause the user interface to present a 15 more instruction sets for operating the avatar of the appli
   user with an option to cancel the execution of the executed cation include updating a connection between the first
   first one or more instruction sets for operating the avatar of collection of object representations correlated with the first
   the application correlated with the first collection of object one or more instruction sets for operating the avatar of the
   representations. In further embodiments, the canceling the application and the second collection of object representa
   execution of the executed first one or more instruction sets 20 tions correlated with the second one or more instruction sets
   for operating the avatar of the application correlated with the for operating the avatar of the application . The updating the
    first collection of object representations includes restoring connection between the first collection of object represen
   the processor circuit , the application , or the avatar of the tations correlated with the first one or more instruction sets
   application to a prior state . The restoring the processor for operating the avatar of the application and the second
   circuit , the application , or the avatar of the application to a 25 collection of object representations correlated with the sec
   prior state may include saving the state of the processor ond one or more instruction sets for operating the avatar of
   circuit, the application , or the avatar of the application prior the application may include updating at least one of: an
   to executing the first one or more instruction sets for occurrence count, a weight, a parameter, or a data included
   operating the avatar of the application correlated with the         in or associated with the connection . In further embodi
    first collection of object representations .                   30 ments, the learning the first collection of object representa
       In some embodiments , the system further comprises: an tions correlated with the first one ormore instruction sets for
    input device configured to receive a user's operating direc operating the avatar of the application includes storing the
      ons, the user's operating directions for instructing the first collection of object representations correlated with the
   processor circuit, the application , or the avatar of the appli first one or more instruction sets for operating the avatar of
   cation on how to operate the avatar of the application . 35 the application into a first node of a knowledgebase, and
       In certain embodiments, the autonomous avatar operating wherein the learning the second collection of object repre
   includes a partially or a fully autonomous avatar operating . sentations correlated with the second one ormore instruction
    The partially autonomous avatar operating may include sets for operating the avatar of the application includes
   executing the first one or more instruction sets for operating storing the second collection of object representations cor
   the avatar of the application correlated with the first collec- 40 related with the second one or more instruction sets for
    tion of object representations responsive to a user confir operating the avatar of the application into a second node of
   mation . The fully autonomous avatar operating may include the knowledgebase . The knowledgebase may include a
   executing the first one or more instruction sets for operating neural network , a graph , a collection of sequences, a
   the avatar of the application correlated with the first collec sequence, a collection of knowledge cells , a knowledge
   tion of object representations without a user confirmation . 45 structure , or a data structure . The knowledgebase may be
       In some embodiments , the artificial intelligence unit is stored in the memory unit . The learning the first collection
   further configured to : receive a second collection of object of object representations correlated with the first one or
   representations, the second collection of object representa        more instruction sets for operating the avatar of the appli
   tions including one or more object representations repre cation and the learning the second collection of object
   senting one or more objects of the application ; receive a 50 representations correlated with the second one or more
   second one or more instruction sets for operating an avatar instruction sets for operating the avatar of the application
   of the application , and learn the second collection of object     may include creating a connection between the first node
   representations correlated with the second one or more             and the second node. The learning the first collection of
   instruction sets for operating the avatar of the application . In object representations correlated with the first one or more
   further embodiments , the second collection of object repre- 55 instruction sets for operating the avatar of the application
   sentations is received at a second time. In further embodi        and the learning the second collection of object representa
   ments, the second collection of object representations tions correlated with the second one or more instruction sets
   includes a unit of knowledge of the avatar's circumstance at       for operating the avatar of the application may include
   a second time. In further embodiments, the second collection       updating a connection between the first node and the second
   of object representations includes a stream of collections of 60 node. In further embodiments, the first collection of object
   object representations. In further embodiments, the second representations correlated with the first one or more instruc
   collection of object representations includes or is associated tion sets for operating the avatar of the application is stored
   with a time stamp, an order, or a timerelated information . In  into a first node of a neural network and the second collec
   further embodiments , the learning the first collection of tion of object representations correlated with the second one
   object representations correlated with the first one or more 65 or more instruction sets for operating the avatar of the
   instruction sets for operating the avatar of the application application is stored into a second node of the neural
   and the learning the second collection of object representa         network . The first node and the second node may be
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   connected by a connection . The first node may be part of a representations including one or more object representations
   first layer of the neural network and the second node may be representing one or more objects of an application . The
   part of a second layer of the neural network . In further method may further comprise : (b ) receiving a first one or
   embodiments, the first collection of object representations more instruction sets for operating an avatar of the applica
   correlated with the first one or more instruction sets for 5 tion by the processor circuit. The method may further
   operating the avatar of the application is stored into a first comprise: (c ) learning the first collection of object repre
   node of a graph and the second collection of object repre          sentations correlated with the first one or more instruction
   sentations correlated with the second one or more instruction      sets for operating the avatar of the application , the learning
   sets for operating the avatar of the application is stored into of (c ) performed by the processor circuit . The method may
   a second node of the graph . The first node and the second 10 further comprise : (d ) receiving a new collection of object
   node may be connected by a connection. In further embodi        representations by the processor circuit, the new collection
   ments, the first collection of object representations corre     of object representations including one or more object
   lated with the first one ormore instruction sets for operating representations representing one or more objects of the
   the avatar of the application is stored into a first node of a application . The method may further comprise : (e ) antici
   sequence and the second collection of object representations 15 pating the first one or more instruction sets for operating the
   correlated with the second one or more instruction sets for avatar of the application correlated with the first collection
   operating the avatar of the application is stored into a second of object representations based on at least a partial match
   node of the sequence .                                            between the new collection of object representations and the
     In some aspects, the disclosure relates to a non - transitory   first collection of object representations , the anticipating of
   computer storage medium having a computer program 20 (e ) performed by the processor circuit . The method may
   stored thereon , the program including instructions that when further comprise: (f) executing the first one ormore instruc
   executed by one ormore processor circuits cause the one or tion sets for operating the avatar of the application correlated
   more processor circuits to perform operations comprising : with the first collection of object representations, the execut
   receiving a first collection of object representations, the first ing of ( f) performed in response to the anticipating of (e ).
   collection of object representations including one or more 25 The method may further comprise: (g ) performing, by the
   object representations representing one or more objects of an avatar of the application , one or more operations defined by
   application . The operations may further comprise: receiving the first one ormore instruction sets for operating the avatar
   a first one ormore instruction sets for operating an avatar of of the application correlated with the first collection of
   the application . The operationsmay further comprise : learn object representations .
   ing the first collection of object representations correlated 30 In certain embodiments , the receiving of (b ) includes
   with the first one or more instruction sets for operating the receiving the first one or more instruction sets for operating
   avatar of the application . The operations may further com        the avatar of the application from the processor circuit or
   prise: receiving a new collection of object representations , from another processor circuit. In further embodiments , the
   the new collection ofobject representations including one or executing of (f) is performed by the processor circuit or by
   more object representations representing one or more 35 another processor circuit .
   objects of the application . The operations may further com           The aforementioned system , the non -transitory computer
   prise : anticipating the first one or more instruction sets for storage medium , and /or the method may include any ele
   operating the avatar of the application correlated with the ments, operations , steps, and embodiments of the above
    first collection of object representations based on at least a described systems, non - transitory computer storage media ,
   partial match between the new collection of object repre- 40 and /or methods as applicable as well as the following
   sentations and the first collection of object representations . embodiments .
    The operations may further comprise : causing an execution          In some embodiments , the first one or more instruction
   of the first one or more instruction sets for operating the sets for operating the avatar of the application include one or
   avatar of the application correlated with the first collection more instruction sets executed in operating the avatar of the
   ofobject representations, the causing performed in response 45 application . In further embodiments, the first one or more
   to the anticipating the first one or more instruction sets for instruction sets for operating the avatar of the application are
   operating the avatar of the application correlated with the part of the application . In further embodiments , the first one
   first collection of object representations based on at least a or more instruction sets for operating the avatar of the
   partial match between the new collection of object repre application are part of the avatar of the application . In
   sentations and the first collection of object representations , 50 further embodiments, the first one or more instruction sets
   wherein the avatar of the application performs one or more for operating the avatar of the application include one or
   operations defined by the first one or more instruction sets more inputs into or one or more outputs from a processor
   for operating the avatar of the application correlated with the circuit. In further embodiments, the first one ormore instruc
   first collection of object representations.                      tion sets for operating the avatar of the application include
       In some embodiments , the receiving the first one or more 55 a value or a state of a register or an element of a processor
   instruction sets for operating the avatar of the application circuit . In further embodiments, the first one or more instruc
    includes receiving the first one or more instruction sets for tion sets for operating the avatar of the application include
   operating the avatar of the application from the one ormore at least one of: a command , a keyword , a symbol, an
   processor circuits or from another one or more processor instruction , an operator, a variable, a value , an object, a data
   circuits . In further embodiments , the execution of the first 60 structure, a function , a parameter, a state, a signal, an input,
   one or more instruction sets for operating the avatar of the an output, a character, a digit , or a reference thereto . In
   application correlated with the first collection of object further embodiments, the first one or more instruction sets
   representations is performed by the one or more processor for operating the avatar of the application include a source
   circuits or by another one or more processor circuits.            code , a bytecode, an intermediate code, a compiled code, an
      In some aspects, the disclosure relates to a method com- 65 interpreted code , a translated code, a runtime code, an
   prising: (a ) receiving a first collection of object representa assembly code , a structured query language (SQL ) code, or
   tions by a processor circuit, the first collection of object        a machine code . In further embodiments , the first one or
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   more instruction sets for operating the avatar of the appli mentation of a processor circuit, a virtualmachine, a runtime
   cation include one or more code segments , lines of code , engine, an operating system , an execution stack , a program
   statements, instructions, functions , routines, subroutines, or counter, or a processing element. In further embodiments ,
   basic blocks. In further embodiments , the first one or more the receiving the first one or more instruction sets for
   instruction sets for operating the avatar of the application 5 operating the avatar of the application includes at least one
   include one or more instruction sets for operating the of: tracing , profiling , or instrumentation of a processor
   application.                                                    circuit or tracing , profiling, or instrumentation of a compo
      In certain embodiments, the receiving the first one or nent of a processor circuit. In further embodiments , the
   more instruction sets for operating the avatar of the appli     receiving the first one or more instruction sets for operating
   cation includes receiving the first one or more instruction 10 the avatar of the application includes at least one of: tracing,
   sets for operating the avatar of the application executed by profiling, or instrumentation of the application . In further
   a processor circuit . In further embodiments, the receiving embodiments, the receiving the first one or more instruction
   the first one ormore instruction sets for operating the avatar sets for operating the avatar of the application includes at
   of the application includes receiving the first one or more least one of: tracing, profiling , or instrumentation of the
    instruction sets for operating the avatar of the application as 15 avatar of the application . In further embodiments , the receiv
    they are executed by a processor circuit. In further embodi        ing the first one or more instruction sets for operating the
   ments , the receiving the first one or more instruction sets for avatar of the application includes at least one of: tracing,
   operating the avatar of the application includes obtaining the      profiling , or instrumentation at a source code write time, a
   first one or more instruction sets for operating the avatar of      compile time, an interpretation time, a translation time, a
   the application from a processor circuit. In further embodi- 20 linking time, a loading time, or a runtime. In further embodi
   ments, the receiving the first one or more instruction sets for     ments , the receiving the first one or more instruction sets for
   operating the avatar of the application includes receiving the      operating the avatar of the application includes at least one
   first one or more instruction sets for operating the avatar of      of: tracing, profiling, or instrumentation of one ormore code
   the application from a register or an element of a processor        segments , lines of code, statements, instructions, functions,
   circuit. In further embodiments , the receiving the firstone or 25 routines, subroutines, or basic blocks. In further embodi
   more instruction sets for operating the avatar of the appli ments , the receiving the first one or more instruction sets for
   cation includes receiving the first one or more instruction operating the avatar of the application includes at least one
    sets for operating the avatar of the application from at least of: tracing , profiling, or instrumentation of a user input. In
   one of: the memory unit , virtual machine , a runtime further embodiments, the receiving the first one or more
    engine , a hard drive , a storage device , a peripheral device, a 30 instruction sets for operating the avatar of the application
   network connected device , or a user. In further embodi includes at least one of: a manual, an automatic , a dynamic,
   ments , the receiving the first one or more instruction sets for or a just in time (JIT ) tracing, profiling, or instrumentation .
   operating the avatar of the application includes receiving the In further embodiments, the receiving the first one or more
    first one or more instruction sets for operating the avatar of instruction sets for operating the avatar of the application
   the application from a plurality of processor circuits , appli- 35 includes utilizing at least one of: a .NET tool, a .NET
   cations, memory units , virtual machines, runtime engines , application programming interface (API), a Java tool, a Java
   hard drives , storage devices , peripheral devices, network API, a logging tool, or an independent tool for obtaining
   connected devices , or users. In further embodiments , the instruction sets. In further embodiments , the receiving the
   receiving the first one or more instruction sets for operating first one or more instruction sets for operating the avatar of
   the avatar of the application includes obtaining the first one 40 the application includes utilizing an assembly language. In
   or more instruction sets for operating the avatar of the further embodiments, the receiving the first one or more
   application from the application . In further embodiments, instruction sets for operating the avatar of the application
   the receiving the first one or more instruction sets for includes utilizing a branch or a jump. In further embodi
   operating the avatar ofthe application includes obtaining the ments , the receiving the first one or more instruction sets for
    first one or more instruction sets for operating the avatar of 45 operating the avatar of the application includes a branch
   the application from the avatar of the application. In further tracing or a simulation tracing. In further embodiments, the
   embodiments, the receiving the first one or more instruction receiving the first one or more instruction sets for operating
   sets for operating the avatar of the application includes the avatar of the application includes receiving the first one
   receiving the one or more instruction sets for operating the or more instruction sets for operating the avatar of the
   avatar of the application at a source code write time, a 50 application via an interface . The interface may include an
   compile time, an interpretation time, a translation time, a acquisition interface .
   linking time, a loading time, or a runtime. In further embodi         In some embodiments, the learning the first collection of
   ments, the receiving the first one or more instruction sets for object representations correlated with the first one or more
   operating the avatar of the application includes at least one instruction sets for operating the avatar of the application
   of tracing , profiling , or instrumentation of a source code , a 55 includes storing the first collection of object representations
   bytecode , an intermediate code , a compiled code, an inter         correlated with the first one or more instruction sets for
   preted code , a translated code , a runtime code, an assembly operating the avatar of the application into a memory unit,
   code, a structured query language (SQL ) code, or a machine the memory unit comprising a plurality of collections of
   code. In further embodiments, the receiving the first one or object representations correlated with one or more instruc
   more instruction sets for operating the avatar of the appli- 60 tion sets for operating the avatar of the application .
   cation includes at least one of: tracing , profiling, or instru        In certain embodiments, the executing the first one or
   mentation of a register of a processor circuit, a memory unit, more instruction sets for operating the avatar of the appli
   a storage , or a repository where the first one or more cation correlated with the first collection of object represen
    instruction sets for operating the avatar of the application are tations includes executing the first one or more instruction
   stored . In further embodiments, the receiving the first one or 65 sets for operating the avatar of the application correlated
   more instruction sets for operating the avatar of the appli with the first collection of object representations instead of
   cation includes at least one of: tracing, profiling, or instru      or prior to an instruction set that would have been executed
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   next. In further embodiments, the executing the first one or first one ormore instruction sets for operating the avatar of
   more instruction sets for operating the avatar of the appli the application correlated with the first collection of object
   cation correlated with the first collection of object represen     representations. In further embodiments , the executing the
   tations includes modifying one or more instruction sets of a first one or more instruction sets for operating the avatar of
   processor circuit . In further embodiments, the executing the 5 the application correlated with the first collection of object
   first one or more instruction sets for operating the avatar of representations includes causing the avatar of the application
   the application correlated with the first collection of object to execute the first one or more instruction sets for operating
   representations includes modifying a register or an element the avatar of the application correlated with the first collec
   of a processor circuit. In further embodiments, the executing tion of object representations. In further embodiments , the
   the first one or more instruction sets for operating the avatar 10 executing the first one or more instruction sets for operating
   of the application correlated with the first collection of the avatar of the application correlated with the first collec
   object representations includes inserting the first one or tion of object representations includes modifying one or
   more instruction sets for operating the avatar of the appli more instruction sets of the avatar of the application . In
   cation correlated with the first collection of object represen     further embodiments, the executing the first one or more
   tations into a register or an elementof a processor circuit. In 15 instruction sets for operating the avatar of the application
   further embodiments , the executing the first one or more correlated with the first collection of object representations
   instruction sets for operating the avatar of the application includes modifying the avatar of the application . In further
   correlated with the first collection of object representations embodiments, the executing the first one ormore instruction
   includes redirecting a processor circuit to the first one or sets for operating the avatar of the application correlated
   more instruction sets for operating the avatar of the appli- 20 with the first collection of object representations includes
   cation correlated with the first collection of object represen     redirecting the avatar of the application to the first one or
   tations. In further embodiments , the executing the first one more instruction sets for operating the avatar of the appli
   or more instruction sets for operating the avatar of the cation correlated with the first collection of object represen
   application correlated with the first collection of object tations. In further embodiments, the executing the first one
   representations includes redirecting a processor circuit to 25 or more instruction sets for operating the avatar of the
   one or more alternate instruction sets, the alternate instruc     application correlated with the first collection of object
   tion sets comprising the first one or more instruction sets for representations includes redirecting the avatar of the appli
   operating the avatar of the application correlated with the cation to one or more alternate instruction sets, the alternate
    first collection of object representations . In further embodi instruction sets comprising the first one or more instruction
   ments, the executing the firstone or more instruction sets for 30 sets for operating the avatar of the application correlated
   operating the avatar of the application correlated with the with the first collection of object representations. In further
   first collection of object representations includes transmit embodiments , the executing the first one or more instruction
   ting , to a processor circuit for execution, the first one or sets for operating the avatar of the application correlated
   more instruction sets for operating the avatar of the appli with the first collection of object representations includes
   cation correlated with the first collection of object represen- 35 modifying a source code, a bytecode, an intermediate code,
   tations. In further embodiments, the executing the first one a compiled code, an interpreted code , a translated code, a
   or more instruction sets for operating the avatar of the           runtime code, an assembly code, or a machine code . In
   application correlated with the first collection of object         further embodiments, the executing the first one or more
   representations includes issuing an interrupt to a processor instruction sets for operating the avatar of the application
   circuit and executing the first one or more instruction sets for 40 correlated with the first collection of object representations
   operating the avatar of the application correlated with the includes modifying at least one of: a memory unit , a register
    first collection of object representations following the inter of a processor circuit , a storage , or a repository where
   rupt. In further embodiments , the executing the first one or instruction sets are stored or used . In further embodiments ,
   more instruction sets for operating the avatar of the appli         the executing the first one or more instruction sets for
   cation correlated with the first collection of object represen- 45 operating the avatar of the application correlated with the
   tations includes causing the application to execute the first first collection of object representations includesmodifying
   one or more instruction sets for operating the avatar of the at least one of: an elementof a processor circuit, an element
   application correlated with the first collection of object of the application , an element of the avatar of the applica
   representations. In further embodiments , the executing the tion , a virtual machine, a runtime engine , an operating
   first one or more instruction sets for operating the avatar of 50 system , an execution stack , a program counter, or a user
   the application correlated with the first collection of object input. In further embodiments, the executing the first one or
   representations includes modifying one or more instruction more instruction sets for operating the avatar of the appli
   sets of the application . In further embodiments , the execut cation correlated with the first collection of object represen
   ing the first one or more instruction sets for operating the tations includes modifying one or more instruction sets at a
   avatar   of the application correlated with the first collection 55 source code write time, a compile time, an interpretation
   of object representations includesmodifying the application . time, a translation time, a linking time, a loading time, or a
   In further embodiments , the executing the first one or more runtime. In further embodiments, the executing the first one
   instruction sets for operating the avatar of the application or more instruction sets for operating the avatar of the
   correlated with the first collection of object representations application correlated with the first collection of object
   includes redirecting the application to the first one or more 60 representations includes modifying one or more code seg
   instruction sets for operating the avatar of the application ments , lines of code , statements, instructions, functions ,
   correlated with the first collection of object representations . routines, subroutines, or basic blocks. In further embodi
    In further embodiments , the executing the first one or more ments , the executing the first one or more instruction sets for
    instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
   correlated with the first collection of object representations 65 first collection of object representations includes a manual,
   includes redirecting the application to one ormore alternate an automatic , a dynamic, or a just in time ( JIT ) instrumen
   instruction sets , the alternate instruction sets comprising the tation of the application . In further embodiments, the execut
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   ing the first one or more instruction sets for operating the branching , redirecting , extending, orhot swapping a code of
   avatar of the application correlated with the first collection the avatar of the application . In further embodiments, the
   of object representations includes a manual , an automatic , a executing the first one or more instruction sets for operating
   dynamic , or a just in time (JIT) instrumentation of the avatar the avatar of the application correlated with the first collec
   of the application . In further embodiments , the executing the 5 tion of object representations includes implementing a user's
   first one or more instruction sets for operating the avatar of knowledge, style , or methodology of operating the avatar of
   the application correlated with the first collection of object the application in a circumstance. In further embodiments ,
   representations includes utilizing one or more of a .NET the executing the first one or more instruction sets for
   tool, a .NET application programming interface (API), a operating the avatar of the application correlated with the
   Java tool, a Java API, an operating system tool, or an 10 first collection of object representations includes executing
   independent tool for modifying instruction sets. In further       the first one or more instruction sets for operating the avatar
   embodiments , the executing the first one or more instruction     of the application correlated with the first collection of
   sets for operating the avatar of the application correlated       object representations via an interface. The interface may
   with the first collection of object representations includes include a modification interface .
   utilizing at least one of: a dynamic , an interpreted , or a 15 In certain embodiments, the operations of the non -tran
   scripting programming language. In further embodiments , sitory computer storage medium and /or the method further
   the executing the first one or more instruction sets for comprise : receiving at least one extra information . In some
   operating the avatar of the application correlated with the embodiments, the operations of the non -transitory computer
   first collection of object representations includes utilizing at storage medium and /or the method further comprise: learn
   least one of: a dynamic code , a dynamic class loading , or a 20 ing the first collection of object representations correlated
   reflection . In further embodiments, the executing the first with the at least one extra information . In certain embodi
   one or more instruction sets for operating the avatar of the ments , the operations of the non -transitory computer storage
   application correlated with the first collection of object medium and/ or the method further comprise : presenting, via
   representations includes utilizing an assembly language. In a user interface , a user with an option to execute the first one
   further embodiments, the executing the first one or more 25 or more instruction sets for operating the avatar of the
   instruction sets for operating the avatar of the application application correlated with the first collection of object
   correlated with the first collection of object representations representations. In some embodiments , the operations of the
   includes utilizing at least one of: a metaprogramming , a non - transitory computer storage medium and /or the method
   self -modifying code, or an instruction set modification tool. further comprise : receiving, via a user interface, a user's
   In further embodiments, the executing the first one or more 30 selection to execute the first one ormore instruction sets for
   instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
   correlated with the first collection of object representations first collection of object representations. In certain embodi
   includes utilizing at least one of: just in time ( JIT ) compil ments , the operations of the non -transitory computer storage
   ing, JIT interpretation , JIT translation , dynamic recompiling , medium and/or the method further comprise : rating the
   or binary rewriting . In further embodiments , the executing 35 executed first one or more instruction sets for operating the
   the first one or more instruction sets for operating the avatar avatar of the application correlated with the first collection
   of the application correlated with the first collection of of object representations. In some embodiments, the opera
   object representations includes utilizing at least one of: a tions of the non - transitory computer storage medium and /or
   dynamic expression creation, a dynamic expression execu           themethod further comprise: presenting , via a user interface,
   tion , a dynamic function creation , or a dynamic function 40 a user with an option to cancel the execution of the executed
   execution . In further embodiments , the executing the first first one or more instruction sets for operating the avatar of
   one or more instruction sets for operating the avatar of the the application correlated with the first collection of object
   application correlated with the first collection of object representations. In certain embodiments , the operations of
   representations includes adding or inserting additional code the non - transitory computer storage medium and /or the
   into a code of the application . In further embodiments, the 45 method further comprise: receiving, via an input device , a
   executing the first one or more instruction sets for operating user's operating directions, the user's operating directions
   the avatar of the application correlated with the first collec for instructing the processor circuit, the application , or the
   tion of object representations includes at least one of: avatar of the application on how to operate the avatar of the
   modifying , removing , rewriting, or overwriting a code of the application . In some embodiments , the operations of the
   application . In further embodiments , the executing the first 50 non -transitory computer storage medium and/or the method
    one or more instruction sets for operating the avatar of the further comprise : receiving a second collection of object
   application correlated with the first collection of object representations, the second collection of object representa
    representations includes at least one of: branching , redirect tions including one or more object representations repre
    ing , extending, or hot swapping a code of the application . In senting one or more objects of the application ; receiving a
    further embodiments, the executing the first one or more 55 second one or more instruction sets for operating the avatar
    instruction sets for operating the avatar of the application of the application ; and learning the second collection of
   correlated with the first collection of object representations object representations correlated with the second one or
    includes adding or inserting additional code into a code of more instruction sets for operating the avatar of the appli
   the avatar of the application. In further embodiments , the cation .
    executing the first one or more instruction sets for operating 60 In some aspects , the disclosure relates to a system for
   the avatar of the application correlated with the first collec learning an avatar's circumstances for autonomous avatar
   tion of object representations includes at least one of: operating . The system may be implemented at least in part
   modifying , removing, rewriting, or overwriting a code of the on one or more computing devices . In some embodiments,
   avatar of the application. In further embodiments, the the system comprises: a processor circuit configured to
   executing the first one ormore instruction sets for operating 65 execute instruction sets of an application . The system may
   the avatar of the application correlated with the first collec    further comprise: a memory unit configured to store data .
   tion of object representations includes at least one of:           The system may further comprise : an artificial intelligence
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   unit . The artificial intelligence unit may be configured to :      first collection of object representations based on at least a
   receive a first collection of object representations, the first     partial match between the new collection of object repre
   collection of object representations including one or more          sentations and the first collection of object representations.
   object representations representing one or more objects of           The artificial intelligence unit may be further configured to :
   the application . The artificial intelligence unitmay be further 5 cause the processor circuit to execute the first one or more
   configured to : receive a first one ormore instruction sets for instruction sets for operating the avatar of the application
   operating an avatar of the application . The artificial intelli correlated with the first collection of object representations,
   gence unit may be further configured to : learn the first the causing performed in response to the anticipating of the
   collection of object representations correlated with the first artificial intelligence unit, wherein the avatar of the appli
   one or more instruction sets for operating the avatar of the 10 cation performs one or more operations defined by the first
   application.                                                        one or more instruction sets for operating the avatar of the
      In some aspects, the disclosure relates to a non - transitory application correlated with the first collection of object
   computer storage medium having a computer program representations.
   stored thereon , the program including instructions that when          In some aspects , the disclosure relates to a non -transitory
   executed by one or more processor circuits cause the one or 15 computer storage medium having a computer program
   more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
   receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
   collection of object representations including one or more more processor circuits to perform operations comprising :
   object representations representing one or more objects of an accessing a memory unit that comprises a plurality of
   application . The operations may further comprise : receiving 20 collections of object representations correlated with one or
   a first one or more instruction sets for operating an avatar of more instruction sets for operating an avatar of an applica
   the application . The operations may further comprise : learn tion , the plurality of collections of object representations
   ing the first collection of object representations correlated correlated with one or more instruction sets for operating the
   with the first one or more instruction sets for operating the avatar of the application including a first collection of object
   avatar of the application .                                      25 representations correlated with a first one or more instruc
      In some aspects , the disclosure relates to a method com         tion sets for operating the avatar of the application . The
   prising: (a ) receiving a first collection of object representa operations may further comprise : receiving a new collection
   tions by a processor circuit, the first collection of object of object representations, the new collection of object rep
   representations including one or more object representations resentations including one or more object representations
   representing one or more objects of an application. The 30 representing one or more objects of the application . The
   method may further comprise : (b ) receiving a first one or operations may further comprise: anticipating the first one or
   more instruction sets for operating an avatar of the applica more instruction sets for operating the avatar of the appli
   tion by the processor circuit. The method may further cation correlated with the first collection of object represen
   comprise : (c ) learning the first collection of object repre   tations based on at least a partial match between the new
   sentations correlated with the first one or more instruction 35 collection of object representations and the first collection of
   sets for operating the avatar of the application , the learning object representations. The operations may further com
   of (c ) performed by the processor circuit.                     prise : causing an execution of the first one or more instruc
       The aforementioned system , the non -transitory computer tion sets for operating the avatar of the application correlated
   storage medium , and /or the method may include any ele with the first collection of object representations, the causing
   ments, operations, steps, and embodiments of the above 40 performed in response to the anticipating the first one or
   described systems, non - transitory computer storage media , more instruction sets for operating the avatar of the appli
   and /or methods as applicable as well as the following cation correlated with the first collection of object represen
   embodiments .                                                tations based on at least a partial match between the new
      In some aspects , the disclosure relates to a system for collection of object representations and the first collection of
   using an avatar's circumstances for autonomous avatar 45 object representations , wherein the avatar of the application
   operating . The system may be implemented at least in part performs one or more operations defined by the first one or
   on one or more computing devices. In some embodiments, more instruction sets for operating the avatar of the appli
   the system comprises: a processor circuit configured to cation correlated with the first collection of object represen
   execute instruction sets of an application . The system may tations .
   further comprise: a memory unit configured to store data . 50 In some aspects, the disclosure relates to a method com
    The system may further comprise : an artificial intelligence prising : (a ) accessing a memory unit that comprises a
   unit. The artificial intelligence unit may be configured to : plurality of collections of object representations correlated
   access the memory unit that comprises a plurality of col with one or more instruction sets for operating an avatar of
   lections of object representations correlated with one or           application , the plurality of collections of object repre
   more instruction sets for operating an avatar of the applica- 55 sentations correlated with one or more instruction sets for
   tion , the plurality of collections of object representations operating the avatar of the application including a first
   correlated with one or more instruction sets for operating the collection of object representations correlated with a first
   avatar of the application including a first collection of object one or more instruction sets for operating the avatar of the
   representations correlated with a first one or more instruc      application , the accessing of (a ) performed by a processor
   tion sets for operating the avatar of the application . The 60 circuit. The method may further comprise : (b ) receiving a
   artificial intelligence unit may be further configured to: new collection of object representations by the processor
   receive a new collection of object representations, the new          circuit , the new collection of object representations includ
   collection of object representations including one or more ing one or more object representations representing one or
   object representations representing one or more objects of more objects of the application . The method may further
   the application . The artificial intelligence unit may be further 65 comprise: (c) anticipating the first one or more instruction
   configured to : anticipate the first one ormore instruction sets    sets for operating the avatar of the application correlated
   for operating the avatar of the application correlated with the     with the first collection of object representations based on at
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   least a partial match between the new collection of object representations includes one or more object representations.
   representations and the first collection of object representa             In further embodiments, the first stream of collections of
   tions , the anticipating of ( c ) performed by the processor object representations is received over a first time period. In
   circuit. The method may further comprise: (d ) executing the further embodiments, the new stream of collections of object
   first one or more instruction sets for operating the avatar of 5 representations is received over a new time period . In further
   the application correlated with the first collection of object
   representations, the executing of (d ) performed in response embodiments  resentations
                                                                                            , the first stream of collections of object rep
                                                                                           includes    a unit of knowledge of the avatar's
   to the anticipating of (c). The method may further comprise : circumstance over a first
   (e ) performing , by the avatar of the application , one ormore ments , the new stream of time                 period . In further embodi
                                                                                                             collections of object representa
   operations
   for operatingdefined  by theof the
                   the avatar      firstapplication
                                          one or morecorrelated
                                                        instruction
                                                                with sets
                                                                      the 10 tions includes a unit of knowledge of the avatar's circum
    first collection of object representations .                             stance  over a new time period. In further embodiments , an
                                                                             object representation
       The aforementioned system , the non -transitory computer object of the application             includes one or more properties of an
   storage medium , and/or the method may include any ele                                                . In further embodiments, an object
   ments, operations, steps, and embodiments of the above is representation includes one or more information on an
   described systems, non - transitory computer storage media, object        the new
                                                                                    of the application . In further embodiments, the first or
                                                                                        stream of collections of object representations
   and/or methods as applicable as well as the following
   embodiments .                                                   includes or is associated with a time stamp , an order, or a
      In some aspects, the disclosure relates to a system for time related information . In further embodiments, the first
   learning and using an avatar's circumstances for autono- 20 stream of collections of object representations includes a
   mous avatar operating . The system may be implemented at comparative stream of collections of object representations
   least in part on one or more computing devices. In some whose at least one portion can be used for comparisons with
   embodiments , the system comprises: a processor circuit at least one portion of streams of collections of object
   configured to execute instruction sets of an application . The representations subsequent to the first stream of collections
   system may further comprise: a memory unit configured to 25 of object representations, the streams of collections of object
   store data . The system may further comprise : an artificial representations subsequent to the first stream of collections
   intelligence unit. The artificial intelligence unit may be of object representations comprising the new stream of
   configured to : receive a first stream of collections of object collections of object representations. In further embodi
   representations, the first stream of collections of object ments, the first stream of collections of object representa
   representations including one or more object representations 30 tions includes a comparative stream of collections of object
   representing one or more objects of the application . The representations that can be used for comparison with the
   artificial intelligence unit may be further configured to : new stream of collections of object representations. In
   receive a first one or more instruction sets for operating an further embodi nts, the new stream of collections of object
   avatar of the application . The artificial intelligence unitmay representations includes an anticipatory stream of collec
   be further configured to : learn the first stream of collections 35 tions of object representations that can be compared with
   of object representations correlated with the first one or streams of collections of object representations whose cor
   more instruction sets for operating the avatar of the appli            related one or more instruction sets for operating the avatar
   cation . The artificial intelligence unit may be further con       of the application can be used for anticipation of one or more
   figured to : receive a new stream of collections of object          instruction sets to be executed in autonomous operating of
   representations, the new stream of collections of object 40 the avatar of the application .
   representations including one or more object representations          In some embodiments , the receiving the first stream of
   representing one or more objects of the application . The collections of object representations includes receiving one
   artificial intelligence unit may be further configured to : or more properties of the one or more objects of the
   anticipate the first one or more instruction sets for operating application . The one or more properties of the one or more
   the avatar of the application correlated with the first stream 45 objects of the application may include one or more infor
   of collections of object representations based on at least a mation on the one or more objects of the application . The
   partial match between the new stream of collections of receiving the one or more properties of the one or more
   object representations and the first stream of collections of objects of the application may include receiving the one or
   object representations. The artificial intelligence unit may be more properties of the one ormore objects of the application
   further configured to : cause the processor circuit to execute 50 from an engine, an environment, or a system used to
   the first one or more instruction sets for operating the avatar implement the application . The receiving the one or more
   of the application correlated with the first stream of collec properties of the one or more objects of the application may
   tions of object representations, the causing performed in include at least one of: accessing or reading a scene graph or
   response to the anticipating of the artificial intelligence unit , a data structure used for organizing the one or more objects
   wherein the avatar of the application performs one or more 55 of the application . The receiving the one or more properties
   operations defined by the first one or more instruction sets of the one or more objects of the application may include
   for operating the avatar of the application correlated with the detecting the one or more properties of the one or more
   first stream of collections of object representations.             objects of the application in a picture of the avatar's sur
      In certain embodiments, the first stream of collections of rounding . The receiving the one or more properties of the
   object representations includes one or more collections of 60 one ormore objects of the application may include detecting
   object representations, and wherein each collection of object the one or more properties of the one or more objects of the
   representations of the first stream of collections of object application in a sound from the avatar's surrounding .
   representations includes one or more object representations .         In certain embodiments , the system further comprises : an
   In further embodiments, the new stream of collections of object processing unit configured to receive streams of
   object representations includes one or more collections of 65 collections of object representations , wherein the first or the
   object representations, and wherein each collection of object new stream of collections of object representations is
   representations of the new stream of collections of object received by the object processing unit .
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      In some embodiments , the first one or more instruction first stream of collections of object representations corre
   sets for operating the avatar of the application include one or lated with the first one ormore instruction sets for operating
   more instruction sets that temporally correspond to the first the avatar of the application . The correlating the first stream
   stream of collections of object representations. The one or of collections of object representations with the first one or
   more instruction sets that temporally correspond to the first 5 more instruction sets for operating the avatar of the appli
   stream of collections of object representations may include cation may include structuring a unit of knowledge of how
   one or more instruction sets executed at a time of generating the avatar of the application operated in a circumstance . In
   the first stream of collections of object representations. The further embodiments , the learning the first stream of collec
   one or more instruction sets that temporally correspond to tions of object representations correlated with the first one or
   the first stream of collections of object representations may 10 more instruction sets for operating the avatar of the appli
   include one or more instruction sets executed prior to cation includes learning a user's knowledge, style , or meth
    generating the first stream of collections of object represen     odology of operating the avatar of the application in a
   tations. The one or more instruction sets that temporally circumstance .
   correspond to the first stream of collections of object rep           In certain embodiments, the learning the first stream of
   resentations may include one or more instruction sets 15 collections of object representations correlated with the first
   executed within a threshold period of time prior to gener one or more instruction sets for operating the avatar of the
   ating the first stream of collections of object representations . application includes storing the first stream of collections of
    The one or more instruction sets that temporally correspond object representations correlated with the first one or more
   to the first stream of collections of object representations instruction sets for operating the avatar of the application
   may include one or more instruction sets executed subse- 20 into the memory unit, the memory unit comprising a plu
   quent to generating the first stream of collections of object rality of streams of collections of object representations
   representations. The one or more instruction sets that tem         correlated with one ormore instruction sets for operating the
   porally correspond to the first stream of collections of object avatar of the application . In further embodiments, the plu
   representations may include one or more instruction sets rality of streams of collections of object representations
   executed within a threshold period of time subsequent to 25 correlated with one ormore instruction sets for operating the
   generating the first stream of collections of object represen avatar of the application include a neural network , a graph ,
   tations. The one or more instruction sets that temporally a collection of sequences , a sequence, a collection of knowl
   correspond to the first stream of collections of object rep edge cells, a knowledgebase , a knowledge structure , or a
   resentations may include one or more instruction sets data structure. In further embodiments , the plurality of
   executed within a threshold period of time prior to gener- 30 streams of collections of object representations correlated
   ating the first stream of collections of object representations with one or more instruction sets for operating the avatar of
   and a threshold period of time subsequent to generating the the application are organized into a neural network, a graph ,
   first stream of collections of object representations.             a collection of sequences , a sequence, a collection of knowl
       In some embodiments, the first stream of collections of edge cells, a knowledgebase , a knowledge structure , or a
   object representations correlated with the first one or more 35 data structure . In further embodiments, one ormore streams
   instruction sets for operating the avatar of the application of collections of object representations correlated with one
    include a unit of knowledge of how the avatar of the or more instruction sets for operating the avatar of the
   application operated in a circumstance . In further embodi application of the plurality of streams of collections of
   ments, the first stream of collections of object representa        object representations correlated with one or more instruc
   tions correlated with the first one ormore instruction sets for 40 tion sets for operating the avatar of the application are
   operating the avatar of the application are included in a included in one or more neurons, nodes, vertices , or ele
   neuron , a node, a vertex , or an element of a knowledgebase. ments of a knowledgebase . The knowledgebase may include
    The knowledgebase may include a neural network , a graph , a neural network , a graph , a collection of sequences , a
   a collection of sequences, a sequence, a collection ofknowl sequence , a collection of knowledge cells , a knowledge
   edge cells , a knowledge structure, or a data structure. Some 45 structure , or a data structure. Some of the neurons, nodes,
   of the neurons, nodes, vertices, or elements are intercon         vertices, or elements are interconnected . In further embodi
   nected. In further embodiments, the first stream of collec        ments, the plurality of streams of collections of object
   tions of object representations correlated with the first one or representations correlated with one or more instruction sets
   more instruction sets for operating the avatar of the appli for operating the avatar of the application include a user's
   cation are structured into a knowledge cell . In further 50 knowledge, style, or methodology of operating the avatar of
   embodiments, the knowledge cell is included in a neuron , a the application in circumstances . In further embodiments ,
   node , a vertex , or an element of a knowledgebase . The the plurality of streams of collections of object representa
   knowledgebase may include a neural network , a graph , a tions correlated with one or more instruction sets for oper
   collection of sequences, a sequence, a collection of knowl ating the avatar of the application are stored on a remote
   edge cells , a knowledge structure , or a data structure . Some 55 computing device or a remote computing system . In further
   of the neurons, nodes, vertices, or elements are intercon          embodiments, the plurality of streams of collections of
   nected .                                                           object representations correlated with one or more instruc
      In further embodiments , the learning the first stream of tion sets for operating the avatar of the application include
   collections of object representations correlated with the first an artificial intelligence system for knowledge structuring ,
   one ormore instruction sets for operating the avatar of the 60 storing , or representation. The artificial intelligence system
   application includes correlating the first stream of collec        for knowledge structuring, storing , or representation may
   tions of object representations with the first one or more include at least one of: a deep learning system , a supervised
   instruction sets for operating the avatar of the application . learning system , an unsupervised learning system , a neural
    The correlating the first stream of collections of object network , a search -based system , an optimization -based sys
   representations with the first one or more instruction sets for 65 tem , a logic -based system , a fuzzy logic -based system , a
   operating the avatar of the application may include gener tree -based system , a graph -based system , a hierarchical
   ating a knowledge cell , the knowledge cell comprising the system , a symbolic system , a sub -symbolic system , an
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   evolutionary system , a genetic system , a multi -agent system ,     the application correlated with the first stream of collections
   a deterministic system , a probabilistic system , or a statistical   of object representations based on at least a partial match
   system .                                                        between the new stream of collections of object represen
       In some embodiments, the anticipating the first one or tations and the first stream of collections of object repre
   more instruction sets for operating the avatar of the appli- 5 sentations includes comparing at least one object property of
   cation correlated with the first stream of collections ofobject at least one object representation of at least one collection of
   representations based on at least a partial match between the object representations from the new stream of collections of
   new stream of collections of object representations and the object representations with at least one object property of at
   first stream of collections of object representations includes least one object representation of at least one collection of
   comparing at least one portion of the new stream of collec- 10 object representations from the first stream of collections of
   tions ofobject representationswith at least one portion of the object representations.
   first stream of collections of object representations. In fur      In certain embodiments, the anticipating the first one or
   ther embodiments , the at least one portion of the new stream more instruction sets for operating the avatar of the appli
   of collections of object representations include at least one cation correlated with the first stream of collections of object
   collection of object representations, at least one object 15 representations based on at least a partial match between the
   representation , or at least one object property of the new new stream of collections of object representations and the
   stream of collections of object representations. In further first stream of collections of object representations includes
   embodiments , the at least one portion of the first stream of determining that there is at least a partial match between the
   collections of object representations include at least one new stream of collections of object representations and the
   collection of object representations, at least one object 20 first stream of collections of object representations. In fur
   representation , or at least one object property of the first ther embodiments , the determining that there is at least a
   stream of collections of object representations. In further partial match between the new stream of collections of
    embodiments, the anticipating the first one or more instruc object representations and the first stream of collections of
   tion sets for operating the avatar of the application correlated object representations includes determining that there is at
   with the first stream of collections of object representations 25 least a partial match between one or more portions of the
   based on at least a partialmatch between the new stream of new stream of collections of object representations and one
   collections of object representations and the first stream of ormore portions of the first stream of collections of object
    collections of object representations includes comparing at representations. In further embodiments, the determining
   least one collection of object representations from the new that there is at least a partial match between the new stream
   stream of collections of object representations with at least 30 of collections of object representations and the first stream
   one collection of object representations from the first stream    of collections of object representations includes determining
   of collections of object representations. In further embodi that a similarity between at least one portion of the new
   ments , the comparing at least one collection of object stream of collections of object representations and least
    representations from the new stream of collections ofobject one portion of the first stream of collections of object
   representations with at least one collection of object repre- 35 representations exceeds a similarity threshold . In further
    sentations from the first stream of collections of object embodiments, the determining that there is at least a partial
   representations includes comparing at least one object rep match between the new stream of collections of object
   resentation of the at least one collection of object represen     representations and the first stream of collections of object
   tations from the new stream of collections of object repre        representations includes determining a substantial similarity
   sentations with at least one object representation of the at 40 between at leastone portion of the new stream of collections
   least one collection of object representations from the first of object representations and at least one portion of the first
    stream of collections of object representations . The compar     stream of collections of object representations. The substan
    ing at least one object representation of the at least one tial similarity may be achieved when a similarity between
   collection of object representations from the new stream of the at least one portion of the new stream of collections of
   collections of object representations with at least one object 45 object representations and the at least one portion of the first
    representation of the at least one collection of object repre    stream of collections of object representations exceeds a
   sentations from the first stream of collections of object similarity threshold . The substantial similarity may be
   representations may include comparing at least one object achieved when a number or a percentage of matching or
   property of the at least one object representation of the at partially matching portions of the new stream of collections
   least one collection of object representations from the new 50 of object representations and portions of the first stream of
   stream of collections of object representations with at least collections of object representations exceeds a threshold
   one object property of the at least one object representation number or threshold percentage. In further embodiments ,the
   of the at least one collection of object representations from determining that there is at least a partial match between the
   the first stream of collections of object representations. In new stream of collections of object representations and the
   further embodiments , the anticipating the first one or more 55 first stream of collections of object representations includes
    instruction sets for operating the avatar of the application determining that a number or a percentage of matching or
   correlated with the first stream of collections of object partially matching collections of object representations from
    representations based on at least a partialmatch between the the new stream of collections of object representations and
   new stream of collections of object representations and the from the first stream of collections of object representations
   first stream of collections of object representations includes 60 exceeds a threshold number or threshold percentage . The
   comparing at least one object representation of the at least matching or partially matching collections of object repre
   one collection of object representations from the new stream      sentations from the new stream of collections of object
   of collections of object representations with at least one representations and from the first stream of collections of
   object representation of the at least one collection of object object representations may be determined factoring in at
   representations from the first stream of collections of object 65 least one of: an importance of a collection of object repre
   representations. In further embodiments , the anticipating the sentations, an order of a collection of object representations,
   first one or more instruction sets for operating the avatar of       a threshold for a similarity in a collection of object repre
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   sentations, or a threshold for a difference in a collection of sentation of the at least one collection of object representa
   object representations. In further embodiments , the deter     tions from the first stream of collections of object represen
   mining that there is at least a partialmatch between the new   tations.
   stream of collections of object representations and the first     In some embodiments , the causing the processor circuit to
   stream of collections of object representations includes 5 execute the first one or more instruction sets for operating
   determining that a number or a percentage of matching or the avatar of the application correlated with the first stream
   partially matching object representations from the new of collections of object representations includes causing the
   stream of collections of object representations and from the processor circuit to execute the first one or more instruction
   first stream of collections of object representations exceeds sets for operating the avatar of the application correlated
   a threshold number or threshold percentage. The matching 10 with the first stream of collections of object representations
   or partially matching object representations from the new           instead of or prior to an instruction set that would have been
   stream of collections of object representations and from the        executed next. In further embodiments , the causing the
   first stream of collections of object representations may be        processor circuit to execute the first one or more instruction
   determined factoring in at least one of: an association of an sets for operating the avatar of the application correlated
   object representation with a collection of object representa- 15 with the first stream of collections of object representations
   tions, a type of an object representation , an importance of an includes modifying one or more instruction sets of the
   object representation , a threshold for a similarity in an object processor circuit. In further embodiments, the causing the
   representation , or a threshold for a difference in an object processor circuit to execute the first one or more instruction
   representation . In further embodiments, the determining that sets for operating the avatar of the application correlated
   there is at least a partial match between the new stream of 20 with the first stream of collections of object representations
   collections of object representations and the first stream of includes modifying a register or an element of the processor
   collections of object representations includes determining circuit . In further embodiments, the causing the processor
   that a number or a percentage of matching or partially circuit to execute the first one or more instruction sets for
   matching object properties from the new stream of collec        operating the avatar of the application correlated with the
   tions of object representations and from the first stream of 25 first stream of collections of object representations includes
   collections of object representations exceeds a threshold inserting the first one or more instruction sets for operating
   number or threshold percentage. The matching or partially the avatar of the application correlated with the first stream
   matching object properties from the new stream of collec of collections of object representations into a register or an
   tions of object representations and from the first stream of element of the processor circuit. In further embodiments, the
   collections of object representations may be determined 30 causing the processor circuit to execute the first one or more
    factoring in at least one of: an association of an object instruction sets for operating the avatar of the application
   property with an object representation , an association of an correlated with the first stream of collections of object
   object property with a collection of object representations, a representations includes redirecting the processor circuit to
   category of an object property , an importance of an object the first one ormore instruction sets for operating the avatar
    property , a threshold for a similarity in an object property, or 35 of the application correlated with the first stream of collec
   a threshold for a difference in an object property. In further tions of object representations . In further embodiments, the
   embodiments, the determining that there is at least a partial causing the processor circuit to execute the first one or more
   match between the new stream of collections of object instruction sets for operating the avatar of the application
   representations and the first stream of collections of object correlated with the first stream of collections of object
   representations includes determining that there is at least a 40 representations includes redirecting the processor circuit to
   partial match between at least one collection of object             one or more alternate instruction sets, the alternate instruc
   representations from the new stream of collections of object tion sets comprising the first one or more instruction sets for
   representations and at least one collection of object repre operating the avatar of the application correlated with the
   sentations from the first stream of collections of object first stream of collections of object representations. In fur
   representations . The determining that there is at least a 45 ther embodiments , the causing the processor circuit to
   partial match between at least one collection of object execute the first one or more instruction sets for operating
   representations from the new stream of collections of object the avatar of the application correlated with the first stream
   representations and at least one collection of object repre       of collections of object representations includes transmit
   sentations from the first stream of collections of object ting , to the processor circuit for execution , the first one or
   representations may include determining that there is at least 50 more instruction sets for operating the avatar of the appli
   a partial match between at least one object representation of cation correlated with the first stream of collections of object
   the at least one collection of object representations from the representations. In further embodiments , the causing the
   new stream of collections of object representations and at        processor circuit to execute the first one or more instruction
   least one object representation of the at least one collection sets for operating the avatar of the application correlated
   of object representations from the first stream of collections 55 with the first stream of collections of object representations
   of object representations. The determining that there is at includes issuing an interrupt to the processor circuit and
   least a partial match between at least one object represen executing the first one or more instruction sets for operating
   tation of the at least one collection of object representations the avatar of the application correlated with the first stream
   from the new stream of collections of object representations of collections of object representations following the inter
   and at least one object representation of the at least one 60 rupt. In further embodiments, the causing the processor
   collection of object representations from the first stream of circuit to execute the first one or more instruction sets for
   collections of object representations may include determin        operating the avatar of the application correlated with the
   ing that there is at least a partialmatch between at least one first stream of collections of object representations includes
   object property of the at least one object representation of causing the application to execute the first one or more
   the at least one collection of object representations from the 65 instruction sets for operating the avatar of the application
   new stream of collections of object representations and at correlated with the first stream of collections of object
   least one object property of the at least one object repre representations. In further embodiments , the causing the
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   processor circuit to execute the first one or more instruction at least one of: the memory unit, a register of the processor
   sets for operating the avatar of the application correlated circuit , a storage, or a repository where instruction sets are
   with the first stream of collections of object representations stored or used . In further embodiments , the causing the
    includes modifying one or more instruction sets of the processor circuit to execute the first one ormore instruction
   application . In further embodiments , the causing the pro- 5 sets for operating the avatar of the application correlated
   cessor circuit to execute the first one or more instruction sets with the first stream of collections of object representations
    for operating the avatar of the application correlated with the includes modifying at least one of: an element of the
    first stream of collections of object representations includes processor circuit , an element of the application , an element
   modifying the application . In further embodiments , the of the avatar of the application , a virtualmachine, a runtime
   causing the processor circuit to execute the first one or more 10 engine, an operating system , an execution stack , a program
    instruction sets for operating the avatar of the application counter, or a user input. In further embodiments , the causing
   correlated with the first stream of collections of object the processor circuit to execute the first one ormore instruc
   representations includes redirecting the application to the tion sets for operating the avatar of the application correlated
    first one or more instruction sets for operating the avatar of with the first stream of collections of object representations
   the application correlated with the first stream of collections 15 includes modifying one or more instruction sets at a source
   of object representations. In further embodiments , the caus code write time, a compile time, an interpretation time, a
   ing the processor circuit to execute the first one or more translation time, a linking time, a loading time, or a runtime.
   instruction sets for operating the avatar of the application In further embodiments , the causing the processor circuit to
   correlated with the first stream of collections of object execute the first one or more instruction sets for operating
   representations includes redirecting the application to one or 20 the avatar of the application correlated with the first stream
   more alternate instruction sets, the alternate instruction sets of collections of object representations includes modifying
   comprising the first one or more instruction sets for oper      one or more code segments , lines of code, statements,
   ating the avatar of the application correlated with the first instructions, functions, routines, subroutines , or basic
   stream of collections of object representations. In further blocks. In further embodiments , the causing the processor
   embodiments, the causing the processor circuit to execute 25 circuit to execute the first one or more instruction sets for
   the first one or more instruction sets for operating the avatar operating the avatar of the application correlated with the
   of the application correlated with the first stream of collec first stream of collections of object representations includes
   tions of object representations includes causing the avatar of a manual, an automatic , a dynamic , or a just in time (JIT )
   the application to execute the first one or more instruction instrumentation of the application . In further embodiments ,
   sets for operating the avatar of the application correlated 30 the causing the processor circuit to execute the first one or
   with the first stream of collections of object representations. more instruction sets for operating the avatar of the appli
   In further embodiments, the causing the processor circuit to cation correlated with the first stream of collections of object
   execute the first one or more instruction sets for operating representations includes a manual, an automatic , a dynamic ,
   the avatar of the application correlated with the first stream  or a just in time (JIT ) instrumentation of the avatar of the
   of collections of object representations includes modifying 35 application . In further embodiments, the causing the pro
   one or more instruction sets of the avatar of the application . cessor circuit to execute the first one or more instruction sets
   In further embodiments , the causing the processor circuit to for operating the avatar of the application correlated with the
   execute the first one or more instruction sets for operating first stream of collections of object representations includes
   the avatar of the application correlated with the first stream  utilizing one or more of a .NET tool, a .NET application
   of collections of object representations includes modifying 40 programming interface (API), a Java tool, a Java API, an
   the avatar of the application . In further embodiments, the operating system tool, or an independent tool for modifying
   causing the processor circuit to execute the first one ormore instruction sets. In further embodiments, the causing the
   instruction sets for operating the avatar of the application processor circuit to execute the first one or more instruction
   correlated with the first stream of collections of object sets for operating the avatar of the application correlated
   representations includes redirecting the avatar of the appli- 45 with the first stream of collections of object representations
   cation to the first one or more instruction sets for operating includes utilizing at least one of: a dynamic, an interpreted ,
   the avatar of the application correlated with the first stream   or a scripting programming language. In further embodi
   of collections of object representations. In further embodi ments , the causing the processor circuit to execute the first
   ments , the causing the processor circuit to execute the first one or more instruction sets for operating the avatar of the
   one or more instruction sets for operating the avatar of the 50 application correlated with the first stream of collections of
   application correlated with the first stream of collections of object representations includes utilizing at least one of: a
   object representations includes redirecting the avatar of the dynamic code, a dynamic class loading, or a reflection . In
   application to one or more alternate instruction sets , the further embodiments, the causing the processor circuit to
   alternate instruction sets comprising the first one or more execute the first one or more instruction sets for operating
   instruction sets for operating the avatar of the application 55 the avatar of the application correlated with the first stream
   correlated with the first stream of collections of object of collections of object representations includes utilizing an
   representations. In further embodiments , the causing the          assembly language. In further embodiments , the causing the
   processor circuit to execute the first one or more instruction     processor circuit to execute the first one or more instruction
   sets for operating the avatar of the application correlated        sets for operating the avatar of the application correlated
   with the first stream of collections of object representations 60 with the first stream of collections of object representations
   includes modifying a source code, a bytecode , an interme includes utilizing at least one of: a metaprogramming , a
   diate code , a compiled code, an interpreted code, a translated self-modifying code, or an instruction set modification tool.
   code, a runtime code, an assembly code , or a machine code . In further embodiments , the causing the processor circuit to
   In further embodiments, the causing the processor circuit to execute the first one or more instruction sets for operating
   execute the first one or more instruction sets for operating 65 the avatar of the application correlated with the first stream
   the avatar of the application correlated with the first stream of collections of object representations includes utilizing at
   of collections of object representations includes modifying least one of: just in time (JIT ) compiling, JIT interpretation ,
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   JIT translation , dynamic recompiling , or binary rewriting. In     include one or more of: an information on the avatar of the
   further embodiments, the causing the processor circuit to application , an information on the avatar's circumstance , an
   execute the first one or more instruction sets for operating information on an object, an information on an object
   the avatar of the application correlated with the first stream representation , an information on a collection of object
   of collections of object representations includes utilizing at 5 representations, an information on a stream of collections of
   least one of: a dynamic expression creation , a dynamic object representations, an information on an instruction set,
   expression execution , a dynamic function creation , or a an information on the application , an information on the
   dynamic function execution . In further embodiments , the processor circuit , or an information on a user. In further
   causing the processor circuit to execute the first one ormore embodiments, the artificial intelligence unit is further con
   instruction sets for operating the avatar of the application 10 figured to : learn the first stream of collections of object
   correlated with the first stream of collections of object representations correlated with the at least one extra infor
   representations includes adding or inserting additional code mation . The learning the first stream of collections of object
   into a code of the application . In further embodiments , the representations correlated with at least one extra information
   causing the processor circuit to execute the first one ormore may include correlating the first stream of collections of
   instruction sets for operating the avatar of the application 15 object representations with the at least one extra informa
   correlated with the first stream of collections of object tion . The learning the first stream of collections of object
   representations includes at least one of: modifying, remov         representations correlated with at least one extra information
   ing , rewriting , or overwriting a code of the application . In may include storing the first stream of collections of object
   further embodiments , the causing the processor circuit to representations correlated with the at least one extra infor
   execute the first one or more instruction sets for operating 20 mation into the memory unit. In further embodiments , the
   the avatar of the application correlated with the first stream     anticipating the first one or more instruction sets for oper
   of collections of object representations includes at least one ating the avatar of the application correlated with the first
   of: branching , redirecting , extending, or hot swapping a stream of collections of object representations based on at
   code of the application . In further embodiments , the causing least a partial match between the new stream of collections
   the processor circuit to execute the first one or more instruc- 25 of object representations and the first stream of collections
   tion sets for operating the avatar of the application correlated of object representations includes anticipating the first one
   with the first stream of collections of object representations or more instruction sets for operating the avatar of the
   includes adding or inserting additional code into a code of application correlated with the first stream of collections of
   the avatar of the application . In further embodiments, the object representations based on at least a partial match
   causing the processor circuit to execute the first one or more 30 between an extra information correlated with the new stream
   instruction sets for operating the avatar of the application of collections of object representations and an extra infor
   correlated with the first stream of collections of object           mation correlated with the first stream of collections of
   representations includes at least one of: modifying, remov          object representations . The anticipating the first one or more
   ing, rewriting , or overwriting a code of the avatar of the         instruction sets for operating the avatar of the application
   application . In further embodiments, the causing the pro- 35 correlated with the first stream of collections of object
   cessor circuit to execute the first one or more instruction sets    representations based on at least a partial match between an
   for operating the avatar of the application correlated with the extra information correlated with the new stream of collec
   first stream of collections of object representations includes tions of object representations and an extra information
   at least one of: branching, redirecting, extending , or hot correlated with the first stream of collections of object
   swapping a code of the avatar of the application . In further 40 representations may include comparing an extra information
   embodiments, the causing the processor circuit to execute correlated with the new stream of collections of object
   the first one or more instruction sets for operating the avatar representations and an extra information correlated with the
   of the application correlated with the first stream of collec     first stream of collections of object representations. The
   tions of object representations includes implementing a anticipating the first one or more instruction sets for oper
   user's knowledge, style, or methodology of operating the 45 ating the avatar of the application correlated with the first
   avatar of the application in a circumstance. In further stream of collections of object representations based on at
   embodiments , the system further comprises : an interface least a partialmatch between an extra information correlated
   configured to cause execution of instruction sets, wherein with the new stream of collections of object representations
   the executing the first one or more instruction sets for and an extra information correlated with the first stream of
   operating the avatar of the application correlated with the 50 collections of object representations may include determin
   first stream of collections of object representations by the ing that a similarity between an extra information correlated
   processor circuit is caused by the interface . The interface with the new stream of collections of object representations
   may include a modification interface .                              and an extra information correlated with the first stream of
      In certain embodiments, the avatar's performing the one collections of object representations exceeds a similarity
   or more operations defined by the first one or more instruc- 55 threshold .
   tion sets for operating the avatar of the application correlated       In certain embodiments, the system further comprises : a
   with the first stream of collections of object representations user interface, wherein the artificial intelligence unit is
   includes implementing a user's knowledge , style, or meth           further configured to : cause the user interface to present a
   odology of operating the avatar of the application in a user with an option to execute the first one or more instruc
   circumstance .                                                   60 tion sets for operating the avatar of the application correlated
      In some embodiments, the artificial intelligence unit is with the first stream of collections of object representations .
   further configured to : receive at least one extra information . In further embodiments, the system further comprises: a user
   In further embodiments , the at least one extra information interface , wherein the artificial intelligence unit is further
   include one or more of: a time information , a location configured to: receive , via the user interface, a user's selec
   information , a computed information , a visual information , 65 tion to execute the first one or more instruction sets for
   an acoustic information , or a contextual information . In operating the avatar of the application correlated with the
   further embodiments , the at least one extra information            first stream of collections of object representations. In fur
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   ther embodiments , the artificial intelligence unit is further     embodiments, the second stream of collections of object
   configured to : rate the executed first one or more instruction    representations is received over a second time period. In
   sets for operating the avatar of the application correlated further embodiments, the second stream of collections of
   with the first stream of collections of object representations.   object representations includes a unit of knowledge of the
   The rating the executed first one ormore instruction sets for 5 avatar's circumstance over a second time period . In further
   operating the avatar of the application correlated with the embodiments, the second stream of collections of object
   first stream of collections of object representations may representations includes or is associated with a time stamp ,
   include causing a user interface to display the executed first an order, or a time related information . In further embodi
   one or more instruction sets for operating the avatar of the ments , the learning the first stream of collections of object
   application correlated with the first stream of collections of 10 representations correlated with the first one ormore instruc
   object representations along with one or more rating values tion sets for operating the avatar of the application and the
   as options to be selected by a user. The rating the executed learning the second stream of collections of object repre
   first one or more instruction sets for operating the avatar of sentations correlated with the second one or more instruction
   the application correlated with the first stream of collections sets for operating the avatar of the application include
   of object representations may include rating the executed 15 creating a connection between the first stream of collections
   first one or more instruction sets for operating the avatar of of object representations correlated with the first one or
   the application correlated with the first stream of collections more instruction sets for operating the avatar of the appli
   of object representations without a user input. In further cation and the second stream of collections of object repre
   embodiments,the system further comprises: a user interface, sentations correlated with the second one or more instruction
   wherein the artificial intelligence unit is further configured 20 sets for operating the avatar of the application . The connec
   to : cause the user interface to present a user with an option tion may include or is associated with at least one of: an
   to cancel the execution of the executed first one or more occurrence count, a weight, a parameter, or a data . In further
   instruction sets for operating the avatar of the application embodiments, the learning the first stream of collections of
   correlated with the first stream of collections of object object representations correlated with the first one or more
   representations. In further embodiments, the canceling the 25 instruction sets for operating the avatar of the application
   execution of the executed first one or more instruction sets        and the learning the second stream of collections of object
   for operating the avatar of the application correlated with the representations correlated with the second one or more
   first stream of collections of object representations includes instruction sets for operating the avatar of the application
   restoring the processor circuit, the application , or the avatar include updating a connection between the first stream of
   of the application to a prior state. The restoring the processor 30 collections of object representations correlated with the first
   circuit, the application , or the avatar of the application to a one or more instruction sets for operating the avatar of the
   prior state may include saving the state of the processor application and the second stream of collections of object
   circuit , the application , or the avatar of the application prior representations correlated with the second one or more
   to executing the first one or more instruction sets for instruction sets for operating the avatar of the application . In
   operating the avatar of the application correlated with the 35 further embodiments , the updating the connection between
   first stream of collections of object representations.              the first stream of collections of object representations
      In some embodiments , the system further comprises : an correlated with the first one or more instruction sets for
   input device configured to receive a user's operating direc operating the avatar of the application and the second stream
   tions , the user's operating directions for instructing the of collections of object representations correlated with the
   processor circuit, the application , or the avatar of the appli- 40 second one or more instruction sets for operating the avatar
   cation on how to operate the avatar of the application .            of the application includes updating at least one of: an
     In certain embodiments , the autonomous avatar operating          occurrence count, a weight, a parameter, or a data included
   includes a partially or a fully autonomous avatar operating .       in or associated with the connection . In further embodi
    The partially autonomous avatar operating may include ments, the learning the first stream of collections of object
   executing the first one or more instruction sets for operating 45 representations correlated with the first one or more instruc
   the avatar of the application correlated with the first stream    tion sets for operating the avatar of the application includes
   of collections of object representations responsive to a user storing the first stream of collections of object representa
   confirmation . The fully autonomous avatar operating may tions correlated with the first one ormore instruction sets for
   include executing the first one or more instruction sets for operating the avatar of the application into a first node of a
   operating the avatar of the application correlated with the 50 knowledgebase , and wherein the learning the second stream
   first stream of collections of object representations without of collections of object representations correlated with the
   a user confirmation .                                              second one or more instruction sets for operating the avatar
      In some embodiments, the artificial intelligence unit is        of the application includes storing the second stream of
   further configured to : receive a second stream of collections     collections of object representations correlated with the
   ofobject representations, the second stream of collections of 55 second one or more instruction sets for operating the avatar
   object representations including one or more object repre of the application into a second node of the knowledgebase .
   sentations representing one or more objects of the applica     The knowledgebase may include a neural network , a graph,
   tion; receive a second one or more instruction sets for a collection of sequences, a sequence, a collection ofknowl
   operating the avatar of the application ; and learn the second edge cells , a knowledge structure , or a data structure . The
   stream of collections of object representations correlated 60 knowledgebase may be stored in the memory unit. The
   with the second one or more instruction sets for operating learning the first stream of collections of object representa
   the avatar of the application . In further embodiments, the         tions correlated with the first one or more instruction sets for
   second stream of collections of object representations              operating the avatar of the application and the learning the
   includes one or more collections of object representations,         second stream of collections of object representations cor
   and wherein each collection of object representations of the 65 related with the second one or more instruction sets for
   second stream of collections of object representations operating the avatar of the application may include creating
   includes one or more object representations. In further             a connection between the first node and the second node.
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   The learning the first stream of collections of object repre      of object representations and the first stream of collections
   sentations correlated with the first one or more instruction      of object representations, wherein the avatar of the applica
   sets for operating the avatar of the application and the          tion performs one or more operations defined by the first one
   learning the second stream of collections of object repre         or more instruction sets for operating the avatar of the
   sentations correlated with the second one ormore instruction 5 application correlated with the first stream of collections of
   sets for operating the avatar of the application may include object representations .
   updating a connection between the first node and the second         In certain embodiments , the receiving the first one or
   node. In further embodiments, the first stream of collections more instruction sets for operating the avatar of the appli
   of object representations correlated with the first one or cation includes receiving the first one or more instruction
   more instruction sets for operating the avatar of the appli- 10 sets for operating the avatar of the application from the one
   cation is stored into a first node of a neural network and the    or more processor circuits or from another one or more
   second stream of collections of object representations cor processor circuits. In further embodiments, the execution of
   related with the second one or more instruction sets for the first one ormore instruction sets for operating the avatar
   operating the avatar of the application is stored into a second of the application correlated with the first stream of collec
   node of the neural network. The first node and the second 15 tions of object representations is performed by the one or
   node may be connected by a connection . The first node may more processor circuits or by another one or more processor
   be part of a first layer of the neural network and the second circuits .
   node may be part of a second layer of the neural network . In       In some aspects, the disclosure relates to a method com
    further embodiments, the first stream of collections of object prising : (a ) receiving a first stream of collections of object
   representations correlated with the first one or more instruc- 20 representations by a processor circuit , the first stream of
   tion sets for operating the avatar of the application is stored collections of object representations including one or more
   into a first node of a graph and the second stream of object representations representing one ormore objects ofan
   collections of object representations correlated with the application . Themethod may further comprise : (b ) receiving
   second one or more instruction sets for operating the avatar a first one ormore instruction sets for operating an avatar of
   of the application is stored into a second node of the graph . 25 the application by the processor circuit . The method may
   The first node and the second node may be connected by a          further comprise : (c ) learning the first stream of collections
   connection . In further embodiments, the first stream of of object representations correlated with the first one or
   collections of object representations correlated with the first more instruction sets for operating the avatar of the appli
   one or more instruction sets for operating the avatar of the cation , the learning of (c ) performed by the processor circuit .
   application is stored into a first node of a sequence and the 30 The method may further comprise: (d ) receiving a new
   second stream of collections of object representations cor         stream of collections of object representations by the pro
   related with the second one or more instruction sets for cessor circuit , the new stream of collections of object
   operating the av ar of the application is stored into a second representations including one ormore object representations
   node of the sequence .                                             representing one or more objects of the application . The
      In some aspects, the disclosure relates to a non -transitory 35 method may further comprise: (e ) anticipating the first one
   computer storage medium having a computer program or more instruction sets for operating the avatar of the
   stored thereon , the program including instructions that when application correlated with the first stream of collections of
   executed by one ormore processor circuits cause the one or object representations based on at least a partial match
   more processor circuits to perform operations comprising : between the new stream of collections of object represen
   receiving a first stream of collections of object representa- 40 tations and the first stream of collections of object repre
   tions, the first stream ofcollections of object representations sentations, the anticipating of( e ) performed by the processor
   including one or more object representations representing circuit . The method may further comprise : (f) executing the
   one or more objects of an application . The operations may first one or more instruction sets for operating the avatar of
   further comprise: receiving a first one or more instruction the application correlated with the first stream of collections
   sets for operating an avatar of the application . The opera- 45 of object representations , the executing of (f) performed in
   tions may further comprise: learning the first stream of response to the anticipating of (e ). The method may further
   collections of object representations correlated with the first comprise : ( g) performing, by the avatar of the application ,
   one or more instruction sets for operating the avatar of the one or more operations defined by the first one or more
   application . The operations may further comprise: receiving instruction sets for operating the avatar of the application
   a new stream of collections of object representations, the 50 correlated with the first stream of collections of object
   new stream of collections ofobject representations including representations.
   one or more object representations representing one or more         In some embodiments, the receiving of (b ) includes
   objects of the application . The operations may further com      receiving the first one or more instruction sets for operating
   prise: anticipating the first one or more instruction sets for the avatar of the application from the processor circuit or
   operating the avatar of the application correlated with the 55 from another processor circuit. In further embodiments , the
    first stream ofcollections ofobject representations based on executing of (f) is performed by the processor circuit or by
   at least a partial match between the new stream of collec        another processor circuit.
   tions of object representations and the first stream of col         The aforementioned system , the non -transitory computer
   lections of object representations. The operations may fur storage medium , and /or the method may include any ele
   ther comprise: causing an execution of the first one or more 60 ments, operations, steps, and embodiments of the above
    instruction sets for operating the avatar of the application described systems, non-transitory computer storage media ,
   correlated with the first stream of collections of object and /or methods as applicable as well as the following
   representations, the causing performed in response to the embodiments .
   anticipating the first one or more instruction sets for oper        In certain embodiments, the learning the first stream of
   ating the avatar of the application correlated with the first 65 collections of object representations correlated with the first
   stream of collections of object representations based on at one or more instruction sets for operating the avatar of the
   least a partial match between the new stream of collections application includes storing the first stream of collections of
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    object representations correlated with the first one or more modifying one or more instruction sets of the application . In
   instruction sets for operating the avatar of the application further embodiments, the executing the first one or more
    into the memory unit , the memory unit comprising a plu            instruction sets for operating the avatar of the application
   rality of streams of collections of object representations correlated with the first stream of collections of object
   correlated with one or more instruction sets for operating the 5 representations includes modifying the application . In fur
   avatar of the application .                                         ther embodiments, the executing the first one or more
       In some embodiments, the executing the first one ormore instruction sets for operating the avatar of the application
    instruction sets for operating the avatar of the application correlated with the first stream of collections of object
   correlated with the first stream of collections of object representations includes redirecting the application to the
   representations includes executing the first one or more 10 first one or more instruction sets for operating the avatar of
   instruction sets for operating the avatar of the application the application correlated with the first stream of collections
   correlated with the first stream of collections of object of object representations. In further embodiments , the
    representations instead of or prior to an instruction set that executing the first one or more instruction sets for operating
   would have been executed next. In further embodiments , the the avatar of the application correlated with the first stream
    executing the first one or more instruction sets for operating 15 of collections of object representations includes redirecting
   the avatar of the application correlated with the first stream      the application to one or more alternate instruction sets , the
   of collections of object representations includes modifying alternate instruction sets comprising the first one or more
    one or more instruction sets of a processor circuit . In further instruction sets for operating the avatar of the application
   embodiments, the executing the first one ormore instruction correlated with the first stream of collections of object
   sets for operating the avatar of the application correlated 20 representations. In further embodiments , the executing the
   with the first stream of collections of object representations first one or more instruction sets for operating the avatar of
    includes modifying a register or an element of a processor the application correlated with the first stream of collections
   circuit . In further embodiments, the executing the first one or of object representations includes causing the avatar of the
   more instruction sets for operating the avatar of the appli application to execute the first one or more instruction sets
   cation correlated with the first stream of collections of object 25 for operating the avatar of the application correlated with the
   representations includes inserting the first one or more first stream of collections of object representations . In fur
    instruction sets for operating the avatar of the application ther embodiments, the executing the first one or more
   correlated with the first stream of collections of object instruction sets for operating the avatar of the application
   representations into a register or an element of a processor correlated with the first stream of collections of object
   circuit. In further embodiments , the executing the first one or 30 representations includes modifying one or more instruction
   more instruction sets for operating the avatar of the appli         sets of the avatar of the application . In further embodiments,
   cation correlated with the first stream of collections ofobject the executing the first one or more instruction sets for
    representations includes redirecting a processor circuit to the operating the avatar of the application correlated with the
    first one or more instruction sets for operating the avatar of first stream of collections of object representations includes
   the application correlated with the first stream ofcollections 35 modifying the avatar of the application . In further embodi
   of object representations. In further embodiments, the ments , the executing the first one or more instruction sets for
   executing the first one or more instruction sets for operating operating the avatar of the application correlated with the
    the avatar of the application correlated with the first stream     first stream of collections of object representations includes
   of collections of object representations includes redirecting redirecting the avatar of the application to the first one or
   a processor circuit to one or more alternate instruction sets , 40 more instruction sets for operating the avatar of the appli
   the alternate instruction sets comprising the first one ormore cation correlated with the first stream of collections of object
   instruction sets for operating the avatar of the application representations. In further embodiments , the executing the
   correlated with the first stream of collections of object first one ormore instruction sets for operating the avatar of
   representations. In further embodiments, the executing the the application correlated with the first stream of collections
   first one or more instruction sets for operating the avatar of 45 of object representations includes redirecting the avatar of
   the application correlated with the first stream of collections the application to one or more alternate instruction sets, the
   of object representations includes transmitting , to a proces alternate instruction sets comprising the first one or more
   sor circuit for execution , the first one ormore instruction sets instruction sets for operating the avatar of the application
   for operating the avatar of the application correlated with the correlated with the first stream of collections of object
    first stream of collections of object representations. In fur- 50 representations. In further embodiments, the executing the
   ther embodiments, the executing the first one or more first one or more instruction sets for operating the avatar of
   instruction sets for operating the avatar of the application the application correlated with the first stream of collections
   correlated with the first stream of collections of object of object representations includes modifying a source code,
   representations includes issuing an interrupt to a processor a bytecode , an intermediate code , a compiled code , an
   circuit and executing the first one or more instruction sets for 55 interpreted code , a translated code , a runtime code, an
   operating the avatar of the application correlated with the assembly code , or a machine code. In further embodiments,
   first stream of collections of object representations following the executing the first one or more instruction sets for
   the interrupt. In further embodiments, the executing the first operating the avatar of the application correlated with the
   one or more instruction sets for operating the avatar of the first stream of collections of object representations includes
   application   correlated with the first stream of collections of 60 modifying at least one of: a memory unit, a register of a
   object representations includes causing the application to processor circuit , a storage, or a repository where instruction
   execute the first one or more instruction sets for operating sets are stored or used . In further embodiments, the execut
   the avatar of the application correlated with the first stream ing the first one or more instruction sets for operating the
   of collections of object representations. In further embodi avatar of the application correlated with the first stream of
   ments , the executing the first one ormore instruction sets for 65 collections of object representations includes modifying at
   operating the avatar of the application correlated with the         least one of: an element of a processor circuit, an element of
   first stream of collections of object representations includes      the application , an element of the avatar of the application,
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   a virtual machine , a runtime engine, an operating system , an    the application correlated with the first stream of collections
   execution stack , a program counter, or a user input. In          of object representations includes at least one of: modifying ,
   further embodiments, the executing the first one or more          removing, rewriting, or overwriting a code of the applica
   instruction sets for operating the avatar of the application      tion . In further embodiments , the executing the first one or
   correlated with the first stream of collections of object 5 more instruction sets for operating the avatar of the appli
   representations includes modifying one or more instruction cation correlated with the first stream of collections of object
   sets at a source code write time, a compile time, an inter representations includes at least one of: branching, redirect
   pretation time, a translation time, a linking time, a loading ing, extending, or hot swapping a code of the application . In
   time, or a runtime. In further embodiments , the executing the further embodiments, the executing the first one or more
    first one or more instruction sets for operating the avatar of 10 instruction sets for operating the avatar of the application
   the application correlated with the first stream of collections correlated with the first stream of collections of object
   of object representations includes modifying one or more representations includes adding or inserting additional code
   code segments, lines of code, statements, instructions, func into a code of the avatar of the application . In further
   tions , routines, subroutines, or basic blocks. In further embodiments, the executing the first one ormore instruction
   embodiments , the executing the first one or more instruction 15 sets for operating the avatar of the application correlated
   sets for operating the avatar of the application correlated with the first stream of collections of object representations
   with the first stream of collections of object representations includes at least one of modifying , removing, rewriting, or
   includes a manual, an automatic , a dynamic , or a just in time overwriting a code of the avatar of the application . In further
   ( JIT ) instrumentation of the application . In further embodi embodiments, the executing the first one ormore instruction
   ments , the executing the first one or more instruction sets for 20 sets for operating the avatar of the application correlated
   operating the avatar of the application correlated with the with the first stream of collections of object representations
   first stream of collections of object representations includes includes at least one of: branching, redirecting , extending, or
   a manual, an automatic , a dynamic , or a just in time (JIT ) hot swapping a code of the avatar of the application . In
    instrumentation of the avatar of the application . In further further embodiments, the executing the first one or more
   embodiments, the executing the first one or more instruction 25 instruction sets for operating the avatar of the application
   sets for operating the avatar of the application correlated correlated with the first stream of collections of object
   with the first stream of collections of object representations representations includes implementing a user's knowledge ,
   includes utilizing one or more of a .NET tool, a .NET style , or methodology of operating the avatar of the appli
   application programming interface (API), a Java tool, a Java cation in a circumstance . In further embodiments , the
   API, an operating system tool, or an independent tool for 30 executing the first one or more instruction sets for operating
   modifying instruction sets . In further embodiments, the the avatar of the application correlated with the first stream
   executing the first one or more instruction sets for operating of collections of object representations includes executing
   the avatar of the application correlated with the first stream    the first one or more instruction sets for operating the avatar
   of collections of object representations includes utilizing at of the application correlated with the first stream of collec
   least one of: a dynamic , an interpreted , or a scripting 35 tions of object representations via an interface. The interface
   programming language. In further embodiments, the execut may include a modification interface .
   ing the first one or more instruction sets for operating the       In certain embodiments, the operations of the non - tran
   avatar of the application correlated with the first stream of sitory computer storage medium and/or the method further
   collections of object representations includes utilizing at comprise: receiving at least one extra information . In some
   least one of: a dynamic code , a dynamic class loading , or a 40 embodiments, the operations of the non -transitory computer
   reflection . In further embodiments, the executing the first storage medium and /or the method further comprise: learn
   one or more instruction sets for operating the avatar of the ing the first stream of collections of object representations
   application correlated with the first stream of collections of    correlated with the at least one extra information . In certain
   object representations includes utilizing an assembly lan embodiments , the operations of the non - transitory computer
   guage . In further embodiments , the executing the first one or 45 storage medium and /or the method further comprise: pre
   more instruction sets for operating the avatar of the appli       senting , via a user interface , a user with an option to execute
   cation correlated with the first stream of collections ofobject   the first one ormore instruction sets for operating the avatar
   representations includes utilizing at least one of: a metapro of the application correlated with the first stream of collec
   gramming , a self-modifying code, or an instruction set tions of object representations . In some embodiments, the
   modification tool. In further embodiments , the executing the 50 operations of the non - transitory computer storage medium
   first one or more instruction sets for operating the avatar of  and /or the method further comprise : receiving, via a user
   the application correlated with the first stream of collections interface , a user's selection to execute the first one or more
   of object representations includes utilizing at least one of: instruction sets for operating the avatar of the application
   just in time (JIT ) compiling, JIT interpretation , JIT transla correlated with the first stream of collections of object
   tion , dynamic recompiling, or binary rewriting. In further 55 representations. In certain embodiments , the operations of
   embodiments, the executing the first one or more instruction the non - transitory computer storage medium and /or the
   sets for operating the avatar of the application correlated method further comprise: rating the executed first one or
   with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
   includes utilizing at least one of: a dynamic expression cation correlated with the first stream of collections of object
   creation , a dynamic expression execution , a dynamic func- 60 representations . In some embodiments , the operations of the
   tion creation , or a dynamic function execution . In further non-transitory computer storage medium and/or the method
   embodiments, the executing the first one ormore instruction further comprise : presenting, via a user interface , a user with
   sets for operating the avatar of the application correlated an option to cancel the execution of the executed first one or
   with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
    includes adding or inserting additional code into a code of 65 cation correlated with the first stream of collections of object
   the application . In further embodiments , the executing the representations. In certain embodiments, the operations of
   first one or more instruction sets for operating the avatar of the non -transitory computer storage medium and /or the
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                                 47                                                                  48
   method further comprise : receiving , via an input device , a           The aforementioned system , the non - transitory computer
   user's operating directions, the user's operating directions         storage medium , and /or the method may include any ele
   for instructing the processor circuit , the application , or the    ments , operations, steps, and embodiments of the above
   avatar of the application on how to operate the avatar of the described systems, non -transitory computer storage media,
   application . In some embodiments , the operations of the 5 and /or methods as applicable as well as the following
   non - transitory computer storage medium and /or the method embodiments.
   further comprise: receiving a second stream of collections of           In some aspects, the disclosure relates to a system for
   object representations, the second stream of collections of using an avatar's circumstances for autonomous avatar
   object representations including one or more object repre operating. The system may be implemented at least in part
    sentations representing one or more objects of the applica- 10 on one or more computing devices . In some embodiments ,
   tion ; receiving a second one or more instruction sets for the system comprises: a processor circuit configured to
   operating the avatar of the application ; and learning the execute instruction sets of an application . The system may
   second stream of collections of object representations cor further comprise : a memory unit configured to store data .
   related with the second one or more instruction sets for The system may further comprise : an artificial intelligence
   operating the avatar of the application .                        15 unit. The artificial intelligence unit may be configured to :
       The aforementioned system , the non -transitory computer access thememory unit that comprises a plurality of streams
   storage medium , and/or the method may include any ele of collections of object representations correlated with one
   ments, operations, steps, and embodiments of the above or more instruction sets for operating an avatar of the
   described systems, non - transitory computer storage media , application , the plurality of streams of collections of object
    and/or methods as applicable as well as the following 20 representations correlated with one or more instruction sets
    embodiments .                                                       for operating the avatar of the application including a first
       In some aspects, the disclosure relates to a system for stream of collections of object representations correlated
   learning an avatar's circumstances for autonomous avatar with a first one or more instruction sets for operating the
   operating. The system may be implemented at least in part avatar of the application . The artificial intelligence unit may
   on one or more computing devices. In some embodiments , 25 be further configured to : receive a new stream of collections
   the system comprises: a processor circuit configured to of object representations, the new stream of collections of
   execute instruction sets of an application. The system may object representations including one or more object repre
    further comprise: a memory unit configured to store data . sentations representing one or more objects of the applica
    The system may further comprise : an artificial intelligence tion . The artificial intelligence unit may be further config
   unit. The artificial intelligence unit may be configured to : 30 ured to : anticipate the first one or more instruction sets for
   receive a first stream of collections of object representations , operating the avatar of the application correlated with the
   the first stream of collections of object representations first stream of collections of object representations based on
   including one or more object representations representing at least a partial match between the new stream of collec
   one or more objects of the application . The artificial intel tions of object representations and the first stream of col
    ligence unitmay be further configured to : receive a first one 35 lections of object representations. The artificial intelligence
   or more instruction sets for operating an avatar of the unit may be further configured to : cause the processor circuit
   application . The artificial intelligence unit may be further to execute the first one or more instruction sets for operating
   configured to : learn the first stream of collections of object the avatar of the application correlated with the first stream
   representations correlated with the first one ormore instruc of collections of object representations, the causing per
    tion sets for operating the avatar of the application .         40 formed in response to the anticipating of the artificial
       In some aspects , the disclosure relates to a non -transitory intelligence unit, wherein the avatar of the application
   computer storage medium having a computer program performs one or more operations defined by the first one or
    stored thereon , the program including instructions that when more instruction sets for operating the avatar of the appli
   executed by one or more processor circuits cause the one or cation correlated with the first stream of collections of object
   more processor circuits to perform operations comprising: 45 representations.
   receiving a first stream of collections of object representa            In some aspects , the disclosure relates to a non -transitory
   tions, the first stream of collections of object representations computer storage medium having a computer program
   including one or more object representations representing stored thereon , the program including instructions that when
   one or more objects of an application . The operations may executed by one or more processor circuits cause the one or
    further comprise: receiving a first one or more instruction 50 more processor circuits to perform operations comprising:
   sets for operating an avatar of the application . The opera         accessing a memory unit that comprises a plurality of
    tions may further comprise: learning the first stream of streams of collections of object representations correlated
   collections of object representations correlated with the first with one or more instruction sets for operating an avatar of
   one or more instruction sets for operating the avatar of the an application , the plurality of streams of collections of
   application .                                                    55 object representations correlated with one or more instruc
       In some aspects, the disclosure relates to a method com          tion sets for operating the avatar of the application including
   prising : (a ) receiving a first stream of collections of object a first stream of collections of object representations corre
   representations by a processor circuit, the first stream of lated with a first one or more instruction sets for operating
   collections of object representations including one or more the avatar of the application . The operations may further
   object representations representing one ormore objects of an 60 comprise: receiving a new stream of collections of object
   application. The method may further comprise: (b ) receiving representations, the new stream of collections of object
   a first one ormore instruction sets for operating an avatar of representations including one or more object representations
   the application by the processor circuit . The method may representing one or more objects of the application . The
   further comprise: (c) learning the first stream of collections operations may further comprise : anticipating the first one or
   of object representations correlated with the first one or 65 more instruction sets for operating the avatar of the appli
   more instruction sets for operating the avatar of the appli        cation correlated with the first stream of collections of object
   cation , the learning of (c ) performed by the processor circuit . representations based on at least a partial match between the
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                                 49                                                                    50
   new stream of collections of object representations and the artificial intelligence unit may be further configured to :
   first stream of collections of object representations. The receive a first one or more instruction sets for operating the
   operations may further comprise : causing an execution of application . The artificial intelligence unit may be further
   the first one or more instruction sets for operating the avatar configured to : learn the first collection of object represen
   of the application correlated with the first stream of collec- 5 tations correlated with the first one or more instruction sets
   tions of object representations, the causing performed in for operating the application . The artificial intelligence unit
   response to the anticipating the first one or more instruction may be further configured to : receive a new collection of
   sets for operating the avatar of the application correlated object representations , the new collection of object repre
   with the first stream of collections of object representations sentations including one or more object representations
   based on at least a partial match between the new stream of 10 representing one or more objects of the application . The
   collections of object representations and the first stream of artificial intelligence unit may be further configured to :
   collections of object representations, wherein the avatar of anticipate the first one or more instruction sets for operating
   the application performs one or more operations defined by the application correlated with the first collection of object
   the first one or more instruction sets for operating the avatar representations based on at least a partial match between the
   oftionstheofapplication correlated with the first stream of collec- 15 new collection of object representations and the first collec
                 object representations.                                  tion of object representations. The artificial intelligence unit
        In some aspects, the disclosure relates to a method com           may be further configured to : cause the processor circuit to
   prising : (a ) accessing a memory unit that comprises a execute the first one or more instruction sets for operating
   plurality of streamsof collections of object representations the application correlated with the first collection of object
   correlated with one or more instruction sets for operating an 20 representations, the causing performed in response to the
   avatar of an application, the plurality of streams of collec anticipating of the artificial intelligence unit , wherein the
   tions of object representations correlated with one or more application performs one or more operations defined by the
   instruction sets for operating the avatar of the application first one or more instruction sets for operating the applica
   including a first stream of collections of object representa           tion correlated with the first collection of object represen
   tions correlated with a first one or more instruction sets for 25 tations .
   operating the avatar of the application , the accessing of (a )          In certain embodiments , the first collection of object
   performed by a processor circuit. The method may further              representations includes a unit of knowledge of the appli
   comprise : (b ) receiving a new stream of collections ofobject        cation's circumstance at a first time. In further embodiments,
   representations by the processor circuit, the new stream of an application's circumstance includes one or more objects
   collections of object representations including one or more 30 of the application .
   object representations representing one or more objects of        In some embodiments, the first one or more instruction
   the application . The method may further comprise : (c ) sets for operating the application include one or more
   anticipating the first one or more instruction sets for oper   instruction sets executed in operating the application . In
   ating the avatar of the application correlated with the first further embodiments , the receiving the first one or more
   stream of collections of object representations based on at 35 instruction sets for operating the application includes at least
   least a partial match between the new stream of collections one of: tracing , profiling , or instrumentation of the applica
   of object representations and the first stream of collections         tion .
   of object representations, the anticipating of (c ) performed            In certain embodiments, the first collection of object
   by the processor circuit. The method may further comprise: representations correlated with the first one ormore instruc
   (d ) executing the first one or more instruction sets for 40 tion sets for operating the application include a unit of
   operating the avatar of the application correlated with the knowledge of how the application operated in a circum
   first stream of collections of object representations, the stance. In further embodiments , the leaning the first collec
   executing of (d ) performed in response to the anticipating of tion of object representations correlated with the first one or
   (c). The method may further comprise : (e) performing , by more instruction sets for operating the application includes
   the avatar of the application , one ormore operations defined 45 learning a user's knowledge, style , or methodology of
   by the first one or more instruction sets for operating the           operating the application in a circumstance .
   avatar of the application correlated with the first stream of           In some embodiments , the learning the first collection of
   collections of object representations .                           object representations correlated with the first one or more
      The aforementioned system , the non - transitory computer      instruction sets for operating the application includes storing
   storage medium , and /or the method may include any ele- 50 the first collection of object representations correlated with
   ments, operations , steps, and embodiments of the above the first one or more instruction sets for operating the
   described systems, non -transitory computer storage media , application into the memory unit , thememory unit compris
   and /or methods as applicable as well as the following ing a plurality of collections of object representations cor
   embodiments .                                                     related with one or more instruction sets for operating the
      In some aspects, the disclosure relates to a system for 55 application . The plurality of collections of object represen
   learning and using an application's circumstances for tations correlated with one or more instruction sets for
   autonomous application operating . The system may be operating the application may include a neural network, a
   implemented at least in part on one or more computing graph , a collection of sequences, a sequence , a collection of
   devices. In some embodiments , the system comprises: a knowledge cells, a knowledgebase , a knowledge structure ,
   processor circuit configured to execute instruction sets of an 60 or a data structure .
   application . The system may further comprise: a memory              In certain embodiments, the causing the processor circuit
   unit configured to store data . The system may further to execute the first one or more instruction sets for operating
   comprise : an artificial intelligence unit. The artificial intel the application correlated with the first collection of object
   ligence unit may be configured to : receive a first collection representations includes causing the application to execute
   of object representations, the first collection of object rep- 65 the first one or more instruction sets for operating the
   resentations including one or more object representations application correlated with the first collection of object
   representing one or more objects of the application . The representations. In further embodiments , the causing the
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                                51                                                                  52
   processor circuit to execute the first one or more instruction application from the one or more processor circuits or from
   sets for operating the application correlated with the first another one or more processor circuits . In further embodi
   collection of object representations includes implementing a ments, the execution of the first one ormore instruction sets
   user's knowledge, style , or methodology of operating the for operating the application correlated with the first collec
   application in a circumstance .                                 5 tion of object representations is performed by the one or
      In some embodiments, the artificial intelligence unit is more processor circuits or by another one or more processor
   further configured to : receive a second collection of object circuits .
   representations, the second collection of object representa          In some aspects , the disclosure relates to a method com
   tions including one or more object representations repre prising: (a ) receiving a first collection of object representa
   senting one or more objects of the application ; receive a 10 tions by a processor circuit, the first collection of object
   second one or more instruction sets for operating the appli       representations including one or more object representations
   cation ; and learn the second collection of object represen       representing one or more objects of an application . The
   tations correlated with the second one or more instruction method may further comprise : (b ) receiving a first one or
   sets for operating the application . In further embodiments , more instruction sets for operating an application by the
   the learning the first collection of object representations 15 processor circuit. The method may further comprise : (c)
   correlated with the first one or more instruction sets for learning the first collection of object representations corre
   operating the application includes storing the first collection lated with the first one or more instruction sets for operating
   of object representations correlated with the first one or the application , the learning of (c ) performed by the pro
   more instruction sets for operating the application into a first cessor circuit . The method may further comprise : (d ) receiv
   node of a knowledgebase, and wherein the learning the 20 ing a new collection of object representations by the pro
   second collection of object representations correlated with cessor circuit , the new collection of object representations
   the second one or more instruction sets for operating the including one or more object representations representing
   application includes storing the second collection of object one or more objects of the application . The method may
   representations correlated with the second one or more further comprise : (e ) anticipating the first one or more
   instruction sets for operating the application into a second 25 instruction sets for operating the application correlated with
   node of the knowledgebase. The knowledgebase may the first collection of object representations based on at least
   include a neural network , a graph , a collection of sequences, a partial match between the new collection of object repre
   a sequence, a collection of knowledge cells , a knowledge sentations and the first collection of object representations ,
   structure , or a data structure .                                    the anticipating of (e ) performed by the processor circuit.
      In some aspects , the disclosure relates to a non - transitory 30 Themethod may further comprise : (f) executing the first one
   computer storage medium having a computer program or more instruction sets for operating the application corre
   stored thereon, the program including instructions that when lated with the first collection of object representations, the
   executed by one or more processor circuits cause the one or executing of (f) performed in response to the anticipating of
   more processor circuits to perform operations comprising : (e ). The method may further comprise : ( g ) performing, by
   receiving a first collection of object representations, the first 35 the application , one or more operations defined by the first
   collection of object representations including one or more one or more instruction sets for operating the application
   object representations representing one ormore objects ofan correlated with the first collection of object representations.
   application . The operations may further comprise : receiving           In certain embodiments, the receiving of (b ) includes
   a first one or more instruction sets for operating the appli         receiving the first one or more instruction sets for operating
   cation . The operations may further comprise: learning the 40 the application from the processor circuit or from another
    first collection of object representations correlated with the processor circuit. In further embodiments , the executing of
   first one or more instruction sets for operating the applica     (f) is performed by the processor circuit or by another
   tion . The operationsmay further comprise: receiving a new processor circuit.
   collection of object representations, the new collection of         The aforementioned system , the non - transitory computer
   object representations including one or more object repre- 45 storage medium , and/or the method may include any ele
   sentations representing one or more objects of the applica ments , operations, steps, and embodiments of the above
   tion . The operations may further comprise : anticipating the described systems, non -transitory computer storage media ,
   first one or more instruction sets for operating the applica and /or methods as applicable as well as the following
   tion correlated with the first collection of object represen     embodiments .
   tations based on at least a partial match between the new 50 In some aspects, the disclosure relates to a system for
   collection of object representations and the first collection of learning and using an application's circumstances for
   object representations. The operations may further com           autonomous application operating . The system may be
   prise : causing an execution of the first one or more instruc    implemented at least in part on one or more computing
   tion sets for operating the application correlated with the devices. In some embodiments, the system comprises: a
    first collection of object representations, the causing per- 55 processor circuit configured to execute instruction sets of an
   formed in response to the anticipating the first one or more application . The system may further comprise: a memory
   instruction sets for operating the application correlated with unit configured to store data. The system may further
   the first collection of object representations based on at least comprise: an artificial intelligence unit. The artificial intel
   a partial match between the new collection of object repre       ligence unit may be configured to : receive a first stream of
   sentations and the first collection of object representations, 60 collections of object representations, the first stream of
   wherein the application performs one or more operations collections of object representations including one or more
   defined by the first one or more instruction sets for operating object representations representing one or more objects of
   the application correlated with the first collection of object the application . The artificial intelligence unit may be further
   representations.                                               configured to : receive a first one ormore instruction sets for
      In some embodiments, the receiving the first one or more 65 operating the application. The artificial intelligence unit may
   instruction sets for operating the application includes receiv be further configured to : learn the first stream of collections
   ing the first one or more instruction sets for operating the of object representations correlated with the first one or
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                                53                                                                 54
   more instruction sets for operating the application . The          tion ; receive a second one or more instruction sets for
   artificial intelligence unit may be further configured to :        operating the application ; and learn the second stream of
   receive a new stream of collections of object representations ,    collections of object representations correlated with the
   the new stream of collections of object representations            second one or more instruction sets for operating the appli
   including one or more object representations representing 5 cation . In further embodiments , the learning the first stream
   one or more objects of the application . The artificial intel of collections of object representations correlated with the
   ligence unit may be further configured to : anticipate the first first one or more instruction sets for operating the applica
   one or more instruction sets for operating the application tion includes storing the first stream of collections of object
   correlated with the first stream of collections of object representations correlated with the first one or more instruc
   representations based on at least a partialmatch between the 10 tion sets for operating the application into a first node of a
   new stream of collections of object representations and the knowledgebase , and wherein the learning the second stream
   first stream of collections of object representations. The of collections of object representations correlated with the
   artificial intelligence unit may be further configured to : second one or more instruction sets for operating the appli
   cause the processor circuit to execute the first one or more cation includes storing the second stream of collections of
   instruction sets for operating the application correlated with 15 object representations correlated with the second one or
   the first stream of collections of object representations, the more instruction sets for operating the application into a
   causing performed in response to the anticipating of the second node of the knowledgebase . The knowledgebase
   artificial intelligence unit , wherein the application performs may include a neural network , a graph , a collection of
   one or more operations defined by the first one or more sequences, a sequence , a collection of knowledge cells, a
   instruction sets for operating the application correlated with 20 knowledge structure , or a data structure.
   the first stream of collections of object representations.          In some aspects, the disclosure relates to a non - transitory
      In some embodiments, the first stream of collections of computer storage medium having a computer program
   object representations includes a unit of knowledge of the stored thereon , the program including instructions that when
   application's circumstance over a first time period . In further executed by one ormore processor circuits cause the one or
   embodiments, an application’s circumstance includes one or 25 more processor circuits to perform operations comprising :
   more objects of the application .                                receiving a first stream of collections of object representa
      In certain embodiments, the first stream of collections of      tions, the first stream of collections of object representations
   object representations correlated with the first one or more including one or more object representations representing
   instruction sets for operating the application include a unit of one or more objects of an application . The operations may
   knowledge of how the application operated in a circum- 30 further comprise : receiving a first one or more instruction
   stance . In further embodiments, the learning the first stream   sets for operating the application . The operations may fur
   of collections of object representations correlated with the ther comprise : learning the first stream of collections of
   first one or more instruction ets for operating the applica       object representations correlated with the first one or more
   tion includes learning a user's knowledge , style , or meth       instruction sets for operating the application . The operations
   odology of operating the application in a circumstance . 35 may further comprise: receiving a new stream of collections
       In some embodiments, the learning the first stream of of object representations , the new stream of collections of
   collections of object representations correlated with the first object representations including one or more object repre
   one or more instruction sets for operating the application sentations representing one or more objects of the applica
   includes storing the first stream of collections of object tion . The operations may further comprise: anticipating the
   representations correlated with the first one or more instruc- 40 first one or more instruction sets for operating the applica
    tion sets for operating the application into the memory unit , tion correlated with the first stream of collections of object
   the memory unit comprising a plurality of streams of col representations based on at least a partial match between the
   lections of object representations correlated with one or new stream of collections of object representations and the
   more instruction sets for operating the application . The first stream of collections of object representations. The
   plurality of streams of collections of object representations 45 operations may further comprise : causing an execution of
   correlated with one or more instruction sets for operating the the first one or more instruction sets for operating the
   application may include a neural network , a graph , a col application correlated with the first stream of collections of
   lection of sequences, a sequence , a collection of knowledge object representations, the causing performed in response to
   cells , a knowledgebase, a knowledge structure , or a data the anticipating the first one or more instruction sets for
   structure .                                                    50 operating the application correlated with the first stream of
       In certain embodiments , the causing the processor circuit collections of object representations based on at least a
   to execute the first one ormore instruction sets for operating partial match between the new stream of collections of
   the application correlated with the first stream of collections object representations and the first stream of collections of
   of object representations includes causing the application to object representations, wherein the application performs one
   execute the first one or more instruction sets for operating 55 or more operations defined by the first one ormore instruc
   the application correlated with the first stream of collections   tion sets for operating the application correlated with the
   of object representations. In further embodiments , the caus      first stream of collections of object representations .
   ing the processor circuit to execute the first one or more        In certain embodiments, the receiving the first one or
   instruction sets for operating the application correlated with more instruction sets for operating the application includes
   the first stream of collections of object representations 60 receiving the first one or more instruction sets for operating
   includes implementing a user's knowledge, style, or meth       the application from the one or more processor circuits or
   odology of operating the application in a circumstance .       from another one or more processor circuits . In further
      In some embodiments, the artificial intelligence unit is        embodiments, the execution of the first one or more instruc
   further configured to : receive a second stream of collections tion sets for operating the application correlated with the
   of object representations, the second stream of collections of 65 first stream of collections of object representations is per
   object representations including one or more object repre formed by the one or more processor circuits or by another
   sentations representing one or more objects of the applica        one or more processor circuits .
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                                 55                                                              56
      In some aspects, the disclosure relates to a method com       profiling, or sampling of Processor 11 registers, memory , or
   prising : (a ) receiving a first stream of collections of object other computing system components .
   representations by a processor circuit, the first stream of         FIGS. 7A -7E illustrate some embodiments of Instruction
   collections of object representations including one or more Sets 526 .
   object representations representing one or more objects of an 5 FIGS. 8A - 8B illustrate some embodiments of Extra Infor
   application . The method may further comprise : (b ) receiving   mation 527 .
   a first one or more instruction sets for operating the appli       FIG . 9 illustrates an embodiment where ACAAO Unit
   cation by the processor circuit. The method may further          100 is part of or operating on Processor 11 .
   comprise : (c ) learning the first stream of collections of        FIG . 10 illustrates an embodiment where ACAAO Unit
   object representations correlated with the first one or more 10 100FIGresides
                                                                           . 11
                                                                                 on Server 96 accessible over Network 95 .
                                                                                 illustrates an embodiment of Artificial Intelli
   instruction sets for operating the application , the learning of gence Unit 110.
   (c ) performed by the processor circuit . The method may           FIG . 12 illustrates an embodiment of Knowledge Struc
   further comprise : (d ) receiving a new stream of collections turing    Unit 520 correlating individual Collections ofObject
   of object representations by the processor circuit , the new 15 Representations     525 with any Instruction Sets 526 and /or
   stream of collections of object representations including one    Extra Info 527 .
   or more object representations representing one or more             FIG . 13 illustrates another embodiment of Knowledge
   objects of the application . The method may further com           Structuring Unit 520 correlating individual Collections of
   prise : (e ) anticipating the first one or more instruction sets Object Representations 525 with any Instruction Sets 526
   for operating the application correlated with the first stream 20 and /or Extra Info 527 .
   of collections of object representations based on at least a        FIG . 14 illustrates an embodiment of Knowledge Struc
   partial match between the new stream of collections of turing Unit 520 correlating streams of Collections of Object
   object representations and the first stream of collections of Representations 525 with any Instruction Sets 526 and/or
   object representations, the anticipating of (e ) performed by Extra Info 527 .
   the processor circuit. The method may further comprise : (f) 25 FIG . 15 illustrates another embodiment of Knowledge
   executing the first one or more instruction sets for operating   Structuring Unit 520 correlating streams of Collections of
   the application correlated with the first stream ofcollections   Object Representations 525 with any Instruction Sets 526
   of object representations, the executing of (f) performed in     and /or Extra Info 527 .
   response to the anticipating of (e ). The method may further       FIG . 16 illustrates various artificial intelligence methods,
   comprise: (g ) performing, by the application , one or more 30 systems, and/or models that can be utilized in ACAAO Unit
   operations defined by the first one or more instruction sets 100 embodiments .
   for operating the application correlated with the first stream     FIGS. 17A - 17C illustrate embodiments of interconnected
   of collections of object representations.                        Knowledge Cells 800 and updating weights of Connections
      In some embodiments , the receiving of (b ) includes 853 .
   receiving the first one or more instruction sets for operating 35 FIG . 18 illustrates an embodiment of learning Knowledge
   the application from the processor circuit or from another Cells 800 comprising one or more Collections of Object
   processor circuit. In further embodiments, the executing of      Representations 525 correlated with any Instruction Sets 526
   (f) is performed by the processor circuit or by another           and/or Extra Info 527 using Collection of Knowledge Cells
   processor circuit.                                           530d .
      The aforementioned system , the non-transitory computer 40 FIG . 19 illustrates an embodiment of learning Knowledge
   storage medium , and /or the method may include any ele      Cells 800 comprising one or more Collections of Object
   ments , operations, steps, and embodiments of the above Representations 525 correlated with any Instruction Sets 526
   described systems, non - transitory computer storage media , and /or Extra Info 527 using Neural Network 530a .
   and /or methods as applicable as well as the following           FIG . 20 illustrates an embodimentof learning Knowledge
   embodiments .                                               45 Cells 800 comprising one or more Collections of Object
     Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
   become apparent from the following description , including and/ or Extra Info 527 using Neural Network 530a compris
   the claims and drawings .                                      ing shortcut Connections 853 .
                                                                     FIG . 21 illustrates an embodiment of learning Knowledge
         BRIEF DESCRIPTION OF THE DRAWINGS                   50 Cells 800 comprising one or more Collections of Object
                                                                Representations 525 correlated with any Instruction Sets 526
      FIG . 1 illustrates a block diagram of Computing Device and /or Extra Info 527 using Graph 530b .
   70 that can provide processing capabilities used in some of    FIG . 22 illustrates an embodiment of learning Knowledge
   the disclosed embodiments .                                  Cells 800 comprising one or more Collections of Object
     FIG . 2 illustrates an embodimentof Computing Device 70 55 Representations 525 correlated with any Instruction Sets 526
   comprising Unit for Learning and /or Using an Avatar's           and /or Extra Info 527 using Collection of Sequences 530c .
   Circumstances for Autonomous Avatar Operation (ACAAO               FIG . 23 illustrates an embodiment of determining antici
   Unit 100 ).                                                patory Instruction Sets 526 from a single Knowledge Cell
     FIG . 3 illustrates an embodiment of utilizing Picture 800 .
   Renderer 91 and Picture Recognizer 92 .                 60
                                                                FIG . 24 illustrates an embodiment of determining antici
     FIG . 4 illustrates an embodiment of utilizing Sound patory Instruction Sets 526 by traversing a single Knowl
   Renderer 96 and Sound Recognizer 97 .                           edge Cell 800 .
      FIGS. 5A -5B , illustrate an exemplary embodiment of            FIG . 25 illustrates an embodiment of determining antici
   Objects 615 in Avatar's 605 surrounding, and resulting patory Instruction Sets 526 using collective similarity com
   Collection of Object Representations 525                     65 parisons.
      FIG . 6 illustrates some embodiments of obtaining instruc      FIG . 26 illustrates an embodiment of determining antici
   tion sets, data , and/or other information through tracing , patory Instruction Sets 526 using Neural Network 530a .
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      FIG . 27 illustrates an embodiment of determining antici   autonomous avatar operation , any of their elements, any of
   patory Instruction Sets 526 using Graph 530b .                their embodiments , or a combination thereof can generally
      FIG . 28 illustrates an embodiment of determining antici   be referred to as ACAAO , ACAAO Unit , or as other suitable
   patory Instruction Sets 526 using Collection of Sequences name or reference.
   530c.                                                       5    Referring now to FIG . 1 , an embodiment is illustrated of
      FIG . 29 illustrates some embodiments of modifying Computing Device 70 (also referred to simply as computing
   execution and /or functionality of Avatar 605 and /or Appli device, computing system , or other suitable name or refer
   cation Program 18 through modification of Processor 11 ence , etc. ) that can provide processing capabilities used in
   registers , memory , or other computing system components. some embodiments of the forthcoming disclosure . Later
      FIG . 30 illustrates a flow chart diagram of an embodiment 10 described devices, systems, and methods, in combination
   of method 9100 for learning and /or using an avatar's cir with processing capabilities of Computing Device 70,
   cumstances for autonomous avatar operation .                     enable learning and /or using an avatar's circumstances for
      FIG . 31 illustrates a flow chart diagram of an embodiment autonomous avatar operation and/or other functionalities
   of method 9200 for learning and /or using an avatar's cir described herein . Various embodiments of the disclosed
   cumstances for autonomous avatar operation .                  15 devices, systems, and methods include hardware , functions,
      FIG . 32 illustrates a flow chart diagram of an embodiment logic, programs, and/or a combination thereof that can be
   of method 9300 for learning and /or using an avatar's cir        implemented using any type or form of computing , com
   cumstances for autonomous avatar operation .                     puting enabled , or other device or system such as a mobile
      FIG . 33 illustrates a flow chart diagram of an embodiment device, a computer , a computing enabled telephone, a server,
   ofmethod 9400 for learning and/or using an application's 20 a gaming device, a television device, a digital camera, a GPS
   circumstances for autonomous application operation .             receiver, a media player, an embedded device , a supercom
      FIG . 34 illustrates a flow chart diagram of an embodiment puter, a wearable device , an implantable device, a cloud , or
   of method 9500 for learning and /or using an application's any other type or form of computing, computing enabled , or
   circumstances for autonomous application operation .             other device or system capable ofperforming the operations
      FIG . 35 illustrates a flow chart diagram of an embodiment 25 described herein .
   of method 9600 for learning and /or using an application's          In some designs, Computing Device 70 comprises hard
   circumstances for autonomous application operation .             ware, processing techniques or capabilities, programs, or a
      FIG . 36 illustrates an exemplary embodiment of Soldier combination thereof. Computing Device 70 includes one or
   605a within 3D Computer Game 18a .                               more central processing units , which may also be referred to
      FIG . 37 illustrates an exemplary embodiment of Tank 30 ports as processors  11. Processor 11 includes one or more memory
                                                                          10 and /or one or more input-output ports , also referred
   605b within 2D Computer Game 18b .
      FIG . 38 illustrates an exemplary embodiment of utilizing to as I/ O ports 15 , such as I/O ports 15A and 15B . Processor
   Area of Interest 450 around Tank 605b.                           11 may be special or general purpose . Computing Device 70
      FIG . 39 illustrates an exemplary embodiment of multiple may further include memory 12, which can be connected to
   Avatars 605 within Computer Game 18c.                         35 the remainder of the components of Computing Device 70
      Like reference numerals in different figures indicate like via bus 5.Memory 12 can be connected to processor 11 via
   elements . Horizontal or vertical “ ... " or other such indicia   memory port 10. Computing Device 70 may also include
   may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses,
   of element. n , m , x , or other such letters or indicia represent and /or other display device . Computing Device 70 may also
   integers or other sequential numbers that follow the 40 include Human -machine Interface 23 such as a keyboard , a
   sequence where they are indicated . It should be noted that n , pointing device, a mouse , a touchscreen , a joystick , a remote
   m , x , or other such letters or indicia may represent different controller, and/or other input device. In some implementa
   numbers in different elements even where the elements are tions, Human -machine Interface 23 can be connected with
   depicted in the same figure . In general, n , m , x , or other such bus 5 or directly connected with specific elements of Com
   letters or indicia may follow the sequence and / or context 45 puting Device 70. Computing Device 70 may include addi
   where they are indicated . Any of these or other such letters tional elements such as one ormore input/output devices 13 .
   or indicia may be used interchangeably depending on con Processor 11 may include or be interfaced with cache
   text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
   scale , with emphasis instead being placed upon illustrating vides an operating system 17 ( i.e. also referred to as OS 17 ,
   the embodiments , principles, and concepts of the disclosure . 50 etc.), additional application programs 18, and/or data space
   A line or arrow between any of the disclosed elements             19 in which additional data or information can be stored .
   comprises an interface that enables the coupling, connection ,    Alternative memory device 16 can be connected to the
   and/or interaction between the elements .                           remaining components of Computing Device 70 via bus 5 .
                                                                     Network interface 25 can also be connected with bus 5 and
                   DETAILED DESCRIPTION                             55 be used to communicate with external computing devices
                                                                       via a network . Some or alldescribed elements ofComputing
       The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
   methods for learning and /or using an avatar's circumstances coupled with each other using any other connection means
   for autonomous avatar operation comprise apparatuses, sys known in art . Other additional elements may be included as
   tems, methods, features , functionalities , and /or applications 60 needed , or some of the disclosed ones may be excluded , or
   that enable learning an avatar's circumstances including a combination thereof may be utilized in alternate imple
   objects with various properties along with correlated instruc mentations of Computing Device 70.
   tion sets for operating the avatar , storing this knowledge in        Processor 11 includes one or more circuits or devices that
   a knowledgebase ( i.e. neural network , graph, sequences , can execute instructions fetched from memory 12 and /or
   etc.), and /or operating an avatar autonomously. The dis- 65 other element. Processor 11may include any combination of
   closed artificially intelligent devices, systems, and methods hardware and/or processing techniques or capabilities for
   for learning and/or using an avatar's circumstances for executing or implementing logic functions or programs.
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                                                       US 10,607,134 B1
                                 59                                                                  60
   Processor 11 may include a single core or a multi core ers . In further embodiments, Storage 27 can be provided in
   processor. Processor 11 includes the functionality for load   an optical storage device such as holographic storage, and /or
   ing operating system 17 and operating any application others. In further embodiments , Storage 27 may include any
   programs 18 thereon . In some embodiments, Processor 11 non -volatile memory. In general, Storage 27 can be based on
   can be provided in a microprocessing or a processing unit , 5 any of the aforementioned or other available storage devices
   such as, for example , Snapdragon processor produced by or mediums capable of operating as described herein . In
    Qualcomm Inc., processor by Intel Corporation ofMountain some aspects, Storage 27 may include any features, func
   View , Calif., processor manufactured by Motorola Corpo       tionalities, and embodiments ofMemory 12, and vice versa ,
   ration of Schaumburg , III .; processor manufactured by as applicable.
    Transmeta Corporation of Santa Clara , Calif .; processor 10 Processor 11 can communicate directly with cache
   manufactured by International Business Machines of White memory 14 via a connection means such as a secondary bus
   Plains, N.Y.; processor manufactured by Advanced Micro which may also sometimes be referred to as a backside bus.
   Devices of Sunnyvale , Calif., or any computing circuit or In some embodiments , processor 11 can communicate with
   device for performing similar functions. In other embodi cache memory 14 using the system bus 5. Cache memory 14
   ments, processor 11 can be provided in a graphics processing 15 may typically have a faster response timethan main memory
   unit (GPU ), visual processing unit ( VPU ), or other highly 12 and can include a type of memory which is considered
   parallel processing circuit or device such as , for example , faster than main memory 12 such as, for example, SRAM ,
   nVidia GeForce line of GPUs, AMD Radeon line of GPUs, BSRAM , or EDRAM . Cache memory includes any structure
   and /or others. Such GPUs or other highly parallelprocessing such as multilevel caches , for example . In some embodi
   circuits or devices may provide superior performance in 20 ments, processor 11 can communicate with one ormore I/O
    processing operations on neural networks, graphs, and /or devices 13 via a system bus 5. Various busses can be used
   other data structures. In further embodiments, processor 11 to connect processor 11 to any of the I/O devices 13 such as
   can be provided in a micro controller such as, for example , a VESA VL bus , an ISA bus, an EISA bus, a MicroChannel
    Texas instruments , Atmel, Microchip Technology, ARM , Architecture (MCA ) bus , a PCI bus, a PCI-X bus , a PCI
    Silicon Labs , Intel, and /or other lines ofmicro controllers . In 25 Express bus, a NuBus, and /or others. In some embodiments ,
    further embodiments , processor 11 can be provided in a processor 11 can communicate directly with I/ O device 13
    quantum processor such as, for example, D - Wave Systems, via HyperTransport, Rapid I/ O , or InfiniBand. In further
   Microsoft, Intel, IBM , Google , Toshiba, and /or other lines of embodiments, local busses and direct communication can be
    quantum processors. In further embodiments, processor 11 mixed . For example, processor 11 can communicate with an
   can be provided in a biocomputer such as DNA -based 30 I/O device 13 using a local interconnect bus and communi
   computer, protein -based computer, molecule -based com                 cate with another I/ O device 13 directly . Similar configura
   puter, and /or others . In further embodiments , processor 11 tions can be used for any other components described herein .
   includes any circuit or device for performing logic opera                 Computing Device 70 may further include alternative
   tions. Processor 11 can be based on any of the aforemen                memory such as a SD memory slot, a USB memory stick , an
   tioned or other available processors capable of operating as 35 optical drive such as a CD -ROM drive , a CD -R /RW drive ,
   described herein .                                                     a DVD -ROM drive or a BlueRay disc , a hard -drive , and/or
       Computing Device 70 may include one or more of the any other device comprising non -volatile memory suitable
   aforementioned or other processors. In some designs, pro               for storing data or installing application programs. Comput
   cessor 11 can communicate with memory 12 via a system                  ing Device 70 may further include a storage device 27
   bus 5. In other designs, processor 11 can communicate 40 comprising any type or form of non -volatile memory for
   directly with memory 12 via a memory port 10 .                         storing an operating system (OS) such as any type or form
      Memory 12 includes one or more circuits or devices of Windows OS ,Mac OS , Unix OS, Linux OS, Android OS ,
   capable of storing data. In some embodiments ,Memory 12 iPhone OS , mobile version of Windows OS , an embedded
   can be provided in a semiconductor or electronic memory OS, or any other OS that can operate on Computing Device
   chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
   memory, Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and /or data space 19 for storing additional data
   Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
   DRAM (FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
   Extended Data Output RAM (EDO RAM ), Extended Data ally , OS 17 and /or application programs 18 can be operable
   OutputDRAM (EDO DRAM ), Burst Extended Data Output 50 from a bootable medium such as, for example , a flash drive ,
   DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ),                          a micro SD card , a bootable CD or DVD , and / or other
   synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                       bootable medium .
   SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                     Application Program 18 ( also referred to as program ,
   Enhanced SDRAM (ESDRAM ), SyncLink DRAM                        computer program , application, script, code, or other suit
   (SLDRAM ), Direct Rambus DRAM (DRDRAM ), Ferro- 55 able name or reference ) comprises instructions that can
   electric RAM (FRAM ), and/or others . In other embodi provide functionality when executed by processor 11. Appli
   ments,Memory 12 includes any volatile memory. In general, cation program 18 can be implemented in a high -level
   Memory 12 can be based on any of the aforementioned or procedural or object -oriented programming language, or in
   other available memories capable of operating as described a low -level machine or assembly language . Any language
   herein .                                                    60 used can be compiled , interpreted , or translated into machine
       Storage 27 includes one or more devices or mediums language . Application program 18 can be deployed in any
   capable of storing data. In some embodiments , Storage 27 form including as a stand -alone program or as a module,
   can be provided in a device or medium such as a hard drive , component, subroutine , or other unit suitable for use in a
    flash drive, optical disk , and/or others. In other embodi computing system . Application program 18 does not neces
   ments , Storage 27 can be provided in a biological storage 65 sarily correspond to a file in a file system . A program can be
   device such as DNA -based storage device, protein -based stored in a portion of a file that may hold other programs or
   storage device , molecule-based storage device, and /or oth data, in a single file dedicated to the program , or in multiple
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                                                        US 10,607,134 B1
                                 61                                                                     62
   files ( i.e. files that store one or more modules, sub programs,      SCI/LAMPbus, a FibreChannel bus, a Serial Attached small
   or portions of code, etc.). Application Program 18 can be             computer system interface bus , and / or other bus.
   delivered in various forms such as, for example, executable               An output interface (not shown) such as a graphical
    file , library , script, plugin , addon , applet, interface, console output interface , an acoustic output interface , a tactile output
   application , web application , application service provider 5 interface , a renderer, any device driver ( i.e. audio , video , or
   (ASP ) -type application , operating system , and /or other other driver ), and/or other output interface or system can be
   forms. Application program 18 can be deployed to be utilized to process output from elements of Computing
   executed on one computing device or on multiple computing Device 70 for conveyance on an output device such as
   devices ( i.e. cloud, distributed , or parallel computing, etc.), Display 21. In some aspects, Display 21 or other output
   or at one site or distributed across multiple sites intercon- 10 device itselfmay include an output interface for processing
   nected by a network or an interface . Examples of Applica               output from elements of Computing Device 70. Further, an
   tion Program 18 include a computer game, a virtual world input interface (not shown ) such as a keyboard listener, a
   application , a graphics application , a media application , a touchscreen listener, a mouse listener, any device driver ( i.e.
   word processing application , a spreadsheet application , a audio , video , keyboard , mouse, touchscreen , or other
   database application , a web browser, a forms-based appli- 15 driver ), and / or other input interface or system can be utilized
   cation , a global positioning system (GPS ) application , a 2D to process input from Human -machine Interface 23 or other
   application , a 3D application , an operating system , a factory input device for use by elements of Computing Device 70.
   automation application, a device control application , a In some aspects , Human -machine Interface 23 or other input
   vehicle control application , and /or other application or pro          device itself may include an input interface for processing
    gram .                                                              20 input for use by elements of Computing Device 70 .
        Network interface 25 can be utilized for interfacing                 Computing Device 70 may include or be connected to
    Computing Device 70 with other devices via a network multiple display devices 21. Display devices 21 can each be
   through a variety of connections including telephone lines , of the same or different type or form . Computing Device 70
   wired or wireless connections, LAN or WAN links ( i.e. and /or its elements comprise any type or form of suitable
    802.11, T1, T3 , 56 kb , X.25 , etc.), broadband connections 25 hardware, programs, or a combination thereof to support ,
   (i.e. ISDN , Frame Relay, ATM , etc.), or a combination enable , or provide for the connection and use of multiple
    thereof. Examples of networks include the Internet, an display devices 21. In one example, Computing Device 70
    intranet, an extranet, a local area network (LAN ), a wide includes any type or form of video adapter, video card ,
   area network (WAN ), a personal area network (PAN ), a driver , and /or library to interface, communicate , connect, or
   home area network (HAN ), a campus area network (CAN ), 30 otherwise use display devices 21. In some aspects, a video
    a metropolitan area network (MAN ), a global area network adapter may include multiple connectors to interface to
   (GAN ), a storage area network (SAN ), virtual network , a multiple display devices 21. In other aspects, Computing
    virtual private network (VPN ), a Bluetooth network , a Device 70 includes multiple video adapters, with each video
   wireless network , a wireless LAN , a radio network , a adapter connected to one or more display devices 21. In
   HomePNA , a power line communication network , a G.hn 35 some embodiments, Computing Device's 70 operating sys
   network , an optical fiber network , an Ethernet network , an tem can be configured for using multiple displays 21. In
   active networking network , a client-server network , a peer other embodiments, one or more display devices 21 can be
   to - peer network , a bus network , a star network , a ring provided by one or more other computing devices such as
   network , a mesh network , a star -busnetwork , a tree network , remote computing devices connected to Computing Device
   a hierarchical topology network , and /or other networks. 4070 via a network or an interface .
   Network interface 25 may include a built- in network                       Computing Device 70 can operate under the control of
   adapter, network interface card , PCMCIA network card , operating system 17 , which may support Computing
   card bus network adapter , wireless network adapter , Blu               Device's 70 basic functions, interface with and manage
   etooth network adapter, WiFi network adapter, USB network hardware resources, interface with and manage peripherals ,
   adapter, modem , and/or any other device suitable for inter- 45 provide common services for application programs, sched
    facing Computing Device 70 with any type of network ule tasks, and /or perform other functionalities. A modem
   capable of communication and /or operations described operating system enables features and functionalities such as
   herein .                                                                a high resolution display, graphical user interface (GUI),
        I/O devices 13 may be present in various shapes or forms touchscreen , cellular network connectivity (i.e.mobile oper
    in Computing Device 70. Examples of I/O device 13 capable 50 ating system , etc.), Bluetooth connectivity, WiFi connectiv
   of input include a joystick , a keyboard , a mouse, a trackpad , ity, global positioning system (GPS ) capabilities, mobile
   a trackpoint, a trackball, a microphone , a drawing tablet, a navigation , microphone , speaker, still picture camera, video
    glove, a tactile input device , a still or video camera , and /or camera, voice recorder, speech recognition , music player,
   other input device . Examples of I/O device 13 capable of video player, near field communication , personal digital
   output include a video display, a projector, a glasses, a 55 assistant (PDA ), and /or other features, functionalities, or
    speaker, a tactile output device, and /or other output device . applications. For example , Computing Device 70 can use
   Examples of 1/0 device 13 capable of input and output any conventional operating system , any embedded operating
    include touchscreen , a disk drive, an optical storage system , any real-time operating system , any open source
   device , a modem , a network card , and /or other input/output operating system , any video gaming operating system , any
   device. I/O device 13 can be interfaced with processor 11 via 60 proprietary operating system , any online operating system ,
   an I/O port 15 , for example . In some aspects, I/O device 13 any operating system for mobile computing devices , or any
   can be a bridge between system bus 5 and an external other operating system capable of running on Computing
   communication bus such as a USB bus, an Apple Desktop Device 70 and performing operations described herein .
   Bus, an RS - 232 serial connection , a SCSI bus , a FireWire Example of operating systems include Windows XP, Win
   bus, a FireWire 800 bus, an Ethernet bus, an AppleTalk bus , 65 dows 7, Windows 8 , Windows 10 , etc. manufactured by
    a Gigabit Ethernet bus, an Asynchronous Transfer Mode Microsoft Corporation ofRedmond , Wash .; Mac OS, iPhone
   bus, a HIPPI bus, a Super HIPPI bus, a SerialPlus bus, a OS, etc. manufactured by Apple Computer of Cupertino,
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                                                      US 10,607,134 B1
                                63                                                                64
   Calif .; OS /2 manufactured by International Business              The disclosed devices, systems, and methods can be
   Machines of Armonk , N.Y .; Linux, a freely -available oper implemented in a computing system that includes a back end
   ating system distributed by Caldera Corp. of Salt Lake City, component, a middleware component, a front end compo
   Utah ; or any type or form of a Unix operating system , and /or nent, or any combination thereof. The components of the
   others. Any operating systems such as the ones for Android 5 system can be interconnected by any form or medium of
   devices can similarly be utilized .                             digital data communication such as, for example , a network .
      Computing Device 70 can be implemented as or be part            Computing Device 70 may include or be interfaced with
   of various model architectures such as web services, dis        a computer program product comprising instructions or
   tributed computing, grid computing, cloud computing , and / logic encoded on a computer-readable medium . Such
   or other architectures. For example, in addition to the 10 one  instructions
                                                                        or more orprocessors
                                                                                    logic,when11 executed
                                                                                                 to perform,may
                                                                                                             the configure
                                                                                                                 operationsorand
                                                                                                                              cause
                                                                                                                                 /or
   traditional desktop , server , or mobile operating system       functionalities disclosed herein . For example , a computer
   architectures, a cloud -based operating system can be utilized program
   to provide the structure on which embodiments of the medium can               be provided or encoded on a computer-readable
                                                                             such as an optical medium ( i.e. DVD -ROM , etc.),
   disclosure can be implemented. Other aspects of Computing 15 flash drive, hard drive, any memory, firmware , or other
   Device 70 can also be implemented in the cloud without             medium . Machine-readable medium , computer-readable
   departing from the spirit and scope of the disclosure . For        medium , or other such terms may refer to any computer
   example, memory , storage , processing , and/or other ele          program product, apparatus, and / or device for providing
   ments can be hosted in the cloud . In some embodiments ,            instructions and /or data to one or more programmable
   Computing Device 70 can be implemented on multiple 20 processors. Assuch ,machine -readable medium includes any
   devices. For example, a portion of Computing Device 70 can         medium that can send and / or receive machine instructions as
   be implemented on a mobile device and another portion can a machine-readable signal. Examples of a machine-readable
   be implemented on wearable electronics .                         medium include a volatile and /or non -volatile medium , a
      Computing Device 70 can be or include any mobile removable and/or non -removable medium , a communica
   device , a mobile phone , a smartphone ( i.e. iPhone, Windows 25 tion medium , a storage medium , and /or other medium . A
   phone , Blackberry phone, Android phone , etc.), a tablet, a non -transitory machine -readable medium comprises all
   personal digital assistant (PDA ), wearable electronics , machine -readable media except for a transitory, propagating
   implantable electronics, and /or other mobile device capable signal.
   of implementing the functionalities described herein . Com          In some embodiments , the disclosed artificially intelligent
   puting Device 70 can also be or include an embedded 30 devices, systems, and methods for learning and /or using an
   device, which can be any device or system with a dedicated avatar's circumstances for autonomous avatar operation , or
   function within another device or system . Embedded sys elements thereof, can be implemented entirely or in part in
   temsrange from the simplest ones dedicated to one task with a device ( i.e. microchip , circuitry , logic gates, electronic
   no user interface to complex ones with advanced user device , computing device , special or general purpose pro
   interface that may resemble modem desktop computer sys- 35 cessor, etc.) or system that comprises ( i.e. hard coded ,
   tems. Examples of devices comprising an embedded device internally stored , etc.) or is provided with ( i.e. externally
   include a mobile telephone, a personal digital assistant stored , etc. ) instructions for implementing ACAAO func
   (PDA ), a gaming device , a media player, a digital still or tionalities. As such , the disclosed artificially intelligent
   video camera , a pager, a television device, a set- top box , a    devices, systems, and methods for learning and / or using an
   personal navigation device, a global positioning system 40 avatar's circumstances for autonomous avatar operation , or
   (GPS ) receiver, a portable storage device ( i.e. a USB flash      elements thereof, may include the processing , memory,
   drive, etc.), a digital watch , a DVD player , a printer, a storage , and /or other features, functionalities , and embodi
   microwave oven , a washing machine , a dishwasher, a gate ments of Computing Device 70 or elements thereof. Such
   way, a router, a hub , an automobile entertainment system , an device or system can operate on its own ( i.e. standalone
   automobile navigation system , a refrigerator, a washing 45 device or system , etc. ), be embedded in another device or
   machine, a factory automation device , an assembly line system ( i.e. an industrialmachine , a robot, a vehicle , a toy,
   device , a factory floor monitoring device , a thermostat, an a smartphone, a television device, an appliance, and /or any
   automobile , a factory controller, a telephone, a network other device or system capable of housing the elements
   bridge , and/or other devices. An embedded device can needed for ACAAO functionalities ), work in combination
   operate under the controlof an operating system for embed- 50 with other devices or systems, or be available in any other
   ded devices such as MicroC /OS- II, QNX , VxWorks, eCos, configuration . In other embodiments , the disclosed artifi
    TinyOS, Windows Embedded , Embedded Linux , and /or cially intelligentdevices, systems, and methods for learning
   other embedded device operating systems.                          and /or using an avatar's circumstances for autonomous
      Various implementations of the disclosed devices, sys avatar operation , or elements thereof, may include or be
   tems, and methods can be realized in digital electronic 55 interfaced with Alternative Memory 16 that provides
   circuitry, integrated circuitry , logic gates, application spe instructions for implementing ACAAO functionalities to
   cific integrated circuits (ASICs), field programmable gate one or more Processors 11. In further embodiments, the
   arrays (FPGAs), computer hardware , firmware , programs, disclosed artificially intelligent devices, systems, and meth
   virtual machines, and /or combinations thereof including ods for learning and /or using an avatar's circumstances for
   their structural, logical, and /or physical equivalents.       60 autonomous avatar operation , or elements thereof, can be
       The disclosed devices, systems, and methodsmay include implemented entirely or in part as a computer program and
   clients and servers. A client and server are generally, but not executed by one or more Processors 11. Such program can
   always, remote from each other and typically, but not be implemented in one or more modules or units of a single
   always , interact via a network or an interface . The relation    or multiple computer programs. Such program may be able
   ship of a client and server may arise by virtue of computer 65 to attach to or interface with , inspect, and /or take control of
   programs running on their respective computers and having another application program to implement ACAAO func
   a client- server relationship to each other, for example .        tionalities. In further embodiments , the disclosed artificially
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                                                       US 10,607,134 B1
                                65                                                                   66
   intelligent devices, systems, and methods for learning and / or     may be stored in a different arrangement than the arrange
   using an avatar's circumstances for autonomous avatar               ment of the data structure and/ or elements thereof. For
   operation , or elements thereof, can be implemented as a example , a sequence of elements can be stored in an
   network , web , distributed , cloud , or other such application arrangement other than a sequence in a memory , file , or
   accessed on one or more remote computing devices (i.e. 5 other repository .
   servers, cloud , etc.) via Network Interface 25 , such remote           Where a reference to a repository is used herein , it should
   computing devices including processing capabilities and be understood that a repository may be or include one or
   instructions for implementing ACAAO functionalities . In more files or file systems, one or more storage locations or
   further embodiments, the disclosed artificially intelligent structures, one or more storage systems, one or more
   devices, systems, and methods for learning and /or using an 10 memory locations or structures, and /or other file , storage,
   avatar's circumstances for autonomous avatar operation , or memory, or data arrangements .
    elements thereof, can be ( 1) attached to or interfaced with          Where a reference to an interface is used herein , it should
   any computing device or application program , ( 2) included be understood that the interface comprises any hardware ,
   as a feature of an operating system , (3 ) built ( i.e. hard coded , device , system , program , method , and /or combination
   etc.) into any computing device or application program , 15 thereof that enable direct or operative coupling, connection ,
   and /or (4 ) available in any other configuration to provide its    and / or interaction of the elements between which the inter
   functionalities .                                                   face is indicated . A line or arrow shown in the figures
       In some embodiments , the disclosed artificially intelligent between any of the depicted elements comprises such inter
   devices , systems, and methods for learning and /or using an face. Examples of an interface include a direct connection,
   avatar's circumstances for autonomous avatar operation , or 20 an operative connection , a wired connection ( i.e. wire , cable ,
   elements thereof, can be implemented at least in part in a etc.), a wireless connection , a device, a network , a bus, a
   computer program such as Java application or program . Java circuit , a firmware , a driver , a bridge , a program , a combi
   provides a robust and flexible environment for application nation thereof, and/or others.
   programs including flexible user interfaces, robust security,       Where a reference to an element coupled or connected to
   built-in network protocols , powerful application program- 25 another element is used herein , it should be understood that
   ming interfaces, database or DBMS connectivity and inter the element may be in communication or other interactive
   facing functionalities, file manipulation capabilities , support relationship with the other element.
   for networked applications, and /or other features or func          Furthermore , an element coupled or connected to another
   tionalities. Application programs based on Java can be element can be coupled or connected to any other element in
   portable across many devices, yet leverage each device's 30 alternate implementations. Terms coupled , connected , inter
   native capabilities. Java supports the feature sets of most faced , or other such terms may be used interchangeably
   smartphones and a broad range of connected devices while herein depending on context.
   still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
   platforms include virtual machine features comprising a ment is used herein , it should be understood that the element
   runtime environment for application programs. Java plat- 35 may be equivalent or similar to the other element. Therefore ,
   forms provide a wide range of user -level functionalities that the term match or matching can refer to total equivalence or
   can be implemented in application programs such as dis           similarity depending on context.
   playing text and graphics, playing and recording audio              Where a reference to a device is used herein , it should be
   content, displaying and recording visual content, communi understood that the device may include or be referred to as
   cating with another computing device, and /or other func- 40 a system , and vice versa depending on context, since a
   tionalities . It should be understood that the disclosed artifi     device may include a system of elements and a system may
   cially intelligent devices, systems, and methods for learning       be embodied in a device .
   and /or using an avatar's circumstances for autonomous                 Where a reference to a collection of elements is used
   avatar operation , or elements thereof, are programming herein , it should be understood that the collection of ele
   language, platform , and operating system independent. 45 ments may include one or more elements. In some aspects
   Examples of programming languages that can be used                  or contexts, a reference to a collection of elements does not
   instead of or in addition to Java include C , C ++ , Cobol,         imply that the collection is an element itself.
   Python , Java Script, Td , Visual Basic , Pascal, VB Script,          Where a mention of a function , method, routine, subrou
   Perl, PHP, Ruby, and /or other programming languages tine , or other such procedure is used herein , it should be
   capable of implementing the functionalities described 50 understood that the function , method , routine, subroutine, or
   herein .                                                    other such procedure comprises a call, reference, or pointer
      Where a reference to a specific ile or file type is used to the function , method , routine, subroutine, or other such
   herein , other files or file types can be substituted .     procedure .
     Where a reference to a data structure is used herein , it       Where a mention of data , object, data structure, item ,
   should be understood that any variety of data structures can 55 element, or thing is used herein , it should be understood that
   be used such as, for example , array, list, linked list , doubly the data , object, data structure, item , element, or thing
    linked list, queue, tree, heap , graph , map , grid , matrix , comprises a reference or pointer to the data , object, data
   multi- dimensionalmatrix , table , database, database manage       structure , item , element, or thing .
   ment system (DBMS ), file , neural network , and /or any other       Referring to FIG . 2 , an embodimentof Computing Device
   type or form of a data structure including a custom one . A 60 70 comprising Unit for Learning and/ or Using an Avatar's
   data structure may include one or more fields or data fields Circumstances for Autonomous Avatar Operation (ACAAO
   that are part of or associated with the data structure. A field Unit 100 ) is illustrated . Computing Device 70 also com
   or data field may include a data , an object , a data structure , prises interconnected Processor 11, Display 21, Human
   and / or any other element or a reference/ pointer thereto . A machine Interface 23, Memory 12 , and Storage 27. Proces
   data structure can be stored in one or more memories, files, 65 sor 11 includes or executes Application Program 18
   or other repositories . A data structure and /or elements           comprising Avatar 605 and/or one or more Objects 615 .
   thereof, when stored in a memory , file , or other repository,      ACAAO Unit 100 comprises interconnected Artificial Intel
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   ligence Unit 110 , Acquisition Interface 120, Modification program , and/ or other mechanism for operating or control
   Interface 130 , and Object Processing Unit 140. Other addi ling Application Program 18 , Avatar 605, Computing Device
   tional elements can be included as needed , or some of the 70 , and /or elements thereof. For example, User 50 may issue
   disclosed ones can be excluded , or a combination thereof an operating direction to Application Program 18 responsive
   can be utilized in alternate embodiments.                         5 to which Application Program’s 18 instructions or instruc
      In one example, the teaching presented by the disclosure tion sets may be executed by Processor 11 to perform a
   can be implemented in a device or system for learning and /or desired operation with / on Avatar 605. User's 50 operating
   using an avatar's circumstances for autonomous avatar directions comprise any user inputted data ( i.e. values, text,
   operating . The device or system may include a processor symbols , etc.), directions ( i.e. move right, move up , move
   circuit ( i.e. Processor 11, etc.) configured to execute instruc- 10 forward , copy an item , click on a link , etc.), instructions or
   tion sets ( i.e. Instruction Sets 526 , etc.) of an application . instruction sets ( i.e. manually inputted instructions or
   The device or system may further include a memory unit instruction sets , etc.), and /or other inputs or information . A
   ( i.e. Memory 12 , etc.) configured to store data. The device        non -human User 50 can utilize more suitable interfaces
   or system may further include an artificial intelligence unit        instead of, or in addition to , Human -machine Interface 23
   ( i.e. Artificial Intelligence Unit 110, etc.). The artificial 15 and /or Display 21 for controlling Application Program 18 ,
   intelligence unit may be configured to receive a first collec Avatar 605 , Computing Device 70 , and /or elements thereof.
   tion of object representations ( i.e. Collection of Object Examples of such interfaces include an application program
   Representations 525 , etc. ), the first collection of object         ming interface (API), bridge (i.e. bridge between applica
   representations including one or more object representations          tions, devices, or systems, etc.), driver, socket, direct or
   representing    one or more objects of the application . The 20 operative connection , handle , function /routine/ subroutine,
   artificial intelligence unit may also be configured to receive and / or other interfaces .
   a first one ormore instruction sets for operating an avatar of        Avatar 605 may be or comprises an object ofApplication
   the application . The artificial intelligence unit may also be Program 18. While Avatar 605 may include any features,
   configured to learn the first collection of object representa       functionalities, and embodiments of Object 615 ( later
   tions correlated with the first one or more instruction sets for 25 described ), Avatar 605 is distinguished herein to portray the
   operating the avatar of the application. The artificial intel relationships and /or interactions between Avatar 605 and
   ligence unit may also be configured to receive a new other Objects 615 of Application Program 18. In some
   collection of object representations, the new collection of aspects , Avatar 605 includes a User 50-controllable object of
   object representations including one or more object repre Application Program 18. Avatar 605 may , therefore, be a
   sentations representing one or more objects of the applica- 30 representation of User 50 or of User's 50 actions, thoughts,
   tion . The artificial intelligence unit may also be configured and /or other expressions. In some designs , Avatar 605
   to anticipate the first one or more instruction sets for             includes a 2D model, a 3D model, a 2D shape (i.e. point,
   operating the avatar of the application correlated with the          line , square , rectangle , cle, triangle, etc.), a 3D shape (i.e.
   first collection of object representations based on at least a cube , sphere , etc.), a graphical user interface (GUI) element,
   partial match between the new collection of object repre- 35 a picture , and /or other models , shapes , elements , or objects .
   sentations and the first collection of object representations . Avatar 605 may perform one or more operations within
   The artificial intelligence unit may also be configured to Application Program 18. For example , Avatar 605 may
   cause the processor circuit to execute the first one or more perform operations including moving, maneuvering , jump
   instruction sets for operating the avatar of the application ing, running, shooting, and/ or other operations within a
   correlated with the first collection of object representations , 40 game or virtual world Application Program 18. While all
   the causing performed in response to the anticipating of the possible variations of operations on /by /with Avatar 605 are
   artificial intelligence unit, wherein the avatar of the appli       too voluminous to list and limited only by Avatar's 605
   cation performs one or more operations defined by the first and /or Application Program’s 18 design , and /or User's 50
   one or more instruction sets for operating the avatar of the utilization , other operations on /by /with Avatar 605 are
   application correlated with the first collection of object 45 within the scope of this disclosure.
   representations. Any of the operations of the aforementioned           Object Processing Unit 140 comprises the functionality
   elements can be performed repeatedly and /or in different for obtaining information of interest on objects of Applica
   orders in alternate embodiments . In some embodiments, a tion Program 18 , and /or other functionalities . As such ,
   collection of object representations may include or be sub          Object Processing Unit 140 can be used to obtain objects
   stituted with a stream of collections of object representa- 50 and /or their properties in Avatar's 605 surrounding within
   tions. In some embodiments of applications that do not Application Program 18. Avatar's 605 surrounding may
   comprise an avatar or rely on avatar for their operation , the include or be defined by Area of Interest 450 (later
   teaching presented by the disclosure can be implemented in described ), part of Application Program 18 that is shown to
     device or system for learning and /or using an application's User 50 (i.e. on a display, via a graphical user interface, etc.),
   circumstances for autonomous application operating. In 55 the entire Application Program 18, any part of Application
   such embodiments , an instruction set for operating an avatar Program 18 , and /or other techniques. In some embodiments ,
   of an application may include or be substituted with an Object Processing Unit 140 comprises the functionality for
   instruction set for operating an application . Other additional creating or generating Collection of Object Representations
   elements can be included as needed , or some of the disclosed 525 (also referred to as Coil of Obj Rep or other suitable
   ones can be excluded , or a combination thereof can be 60 name or reference ) and storing one or more Object Repre
   utilized in alternate embodiments . The disclosed devices and sentations 625 (also referred to simply as object represen
   systemsmay include any actions or operations of any of the tations, representations of objects , or other suitable name or
   disclosed methods such as methods 9100 , 9200, 9300 , 9400, reference ), Object Properties 630 (also referred to simply as
   9500 , 9600 , and/or others (all later described ).                 objectproperties or other suitable name or reference ), and /or
      User 50 (also referred to simply as user or other suitable 65 other elements or information into the Collection of Object
   name or reference) comprises a human user or non -human Representations 525. As such , Collection of Object Repre
   user. A non -human User 50 includes any device , system , sentations 525 comprises the functionality for storing one or
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   more Object Representations 625 , Object Properties 630 , box , etc.), a data or database element, a spreadsheet element,
   and /or other elements or information . In some designs, a link , a picture , a text (i.e. character, word , etc.), a number,
   Object Representation 625 may include a representation of and /or others in a context of a web browser, a media
    an object ( i.e. Object 615 [ later described ], etc.) in Avatar's application , a word processing application , a spreadsheet
   605 surrounding within Application Program 18. As such , 5 application , a database application , a forms-based applica
    Object Representation 625 may include any information tion , an operating system , a device/system control applica
    related to an object. In other designs, Object Representation tion , and/or others. Object 615 may perform operations
   625 may include or be replaced with an object itself, in within Application Program 18. In one example , a person
   which case Object Representation 625 as an element can be Object 615 may perform operations including moving,
   omitted . In some aspects , Collection of Object Representa- 10 maneuvering , jumping , running, shooting , and /or other
   tions 525 includes one or more Object Representations 625 , operations within a computer game, virtual world , and /or 3D
   Object Properties 630, and/or other elements or information or 2D graphics Application Program 18. In another example,
   related to objects in Avatar's 605 surrounding at a particular a character Object 615 may perform operations including
    time. Collection of Object Representations 525 may, there appearing ( i.e. when typed , etc.), disappearing (i.e. when
    fore, include knowledge ( i.e. unit of knowledge, etc.) of 15 deleted , etc.), formatting (i.e. bolding, italicizing, underlin
    Avatar's 605 circumstance including objects with various ing , coloring, resizing , etc.), and /or other operations within
   properties at a particular time. In some designs, a Collection a word processing Application Program 18. In a further
   of Object Representations 525 may include or be associated example , a picture Object 615 may perform operations
   with a time stamp (not shown ), order (not shown ), or other including resizing, repositioning , rotating , deforming, and /
   time related information . For example, one Collection of 20 or other operations within a graphics Application Program
   Object Representations 525 may be associated with time 18. While all possible variations of operations on/by/with
   stamp t1 , another Collection of Object Representations 525 Object 615 are too voluminous to list and limited only by
   may be associated with time stamp t2 , and so on . Time Object's 615 and /or Application Program's 18 design , and /
   stamps t1 , t2 , etc. may indicate the times of generating or User's 50 utilization , other operations on /by /with Object
   Collections ofObject Representations 525 , for instance . In 25 615 are within the scope of this disclosure . In some aspects ,
   other embodiments , Object Processing Unit 140 comprises any part of Object 615 can be identified as an Object 615
   the functionality for creating or generating a stream of itself . For instance, instead of or in addition to identifying a
   Collections of Object Representations 525. A stream of building as an Object 615 , a window , door, roof, and /or other
   Collections of Object Representations 525 may include one parts of the building can be identified as Objects 615. In
   Collection of Object Representations 525 or a group , 30 general, Object 615 may include any object or part thereof
   sequence, or other plurality of Collections of Object Rep                that can be obtained or recognized .
   resentations 525. In some aspects, a stream of Collections of               Examples of Object Properties 630 ( i.e. also referred to
   Object Representations 525 includes one or more Collec                   simply as object properties, etc.) include existence of Object
   tions of Object Representations 525 , and/or other elements 615 , type of Object 615 (i.e. person , animal, tree , rock ,
   or information related to objects in Avatar’s 605 surrounding 35 building, vehicle, etc.), identity of Object 615 ( i.e. name,
   over time. A stream of Collections of Object Representations identifier, etc. ), distance of Object 615 , bearing/ angle of
   525 may, therefore, include knowledge ( i.e. unit of knowl Object 615 , location of Object 615 ( i.e. distance and bearing /
   edge, etc.) of Avatar's 605 circumstance including objects angle from a known point, coordinates, etc. ), shape/ size of
   with various properties over time. As circumstances includ Object615 ( i.e. scale, height, width , depth , computer model,
   ing objects with various properties in Avatar's 605 surround- 40 etc.), activity of Object 615 (i.e. motion , gestures, etc.),
   ing change (i.e. objects and /or their properties change , and /or other properties of Object 615. Type of Object 615 ,
   move, act, transform , etc. ) over time, this change may be for example, may include any classification of objects rang
   captured in a stream of Collections of Object Representa                 ing from detailed such as person , animal, tree , rock , build
   tions 525. In some designs, each Collection of Object ing, vehicle , etc. to generalized such as biological object,
   Representations 525 in a stream may include or be associ- 45 nature object, manmade object, etc., or models thereof,
   ated with the aforementioned time stamp, order, or other including their sub - types . Location of Object 615 , for
   time related information . For example , one Collection of example , can include a relative location such as one defined
   Object Representations 525 in a stream may be associated by distance and bearing /angle from a known point or loca
   with order 1 , a next Collection of Object Representations tion ( i.e. Avatar 605 location , etc. ). Location of Object 615 ,
   525 in the stream may be associated with order 2, and so on . 50 for example , can also include absolute location such as one
   Orders 1 , 2 , etc. may indicate the orders or places of defined by object coordinates. In general, Object Property
   Collections of Object Representations 525 within a stream 630 may include any attribute of Object 615 ( i.e. existence
   ( i.e. sequence, etc.), for instance. In some implementations, of Object 615 , type of Object 615 , identity of Object 615 ,
   Object Processing Unit 140 and/or any of its elements or shape size of Object 615 , etc.), any relationship of Object
   functionalities can be included or embedded in Computing 55 615 with Avatar 605 , other Object 615 , or the environment
   Device 70 , Processor 11 , Application Program 18, and /or (i.e. distance of Object 615 , bearing/angle of Object 615 ,
   other elements . Object Processing Unit 140 can be provided friend /foe relationship , etc.), and /or other information
   in any suitable configuration .                                          related to Object 615 .
       Examples of Objects 615 (also referred to simply as                     In some embodiments, Object Processing Unit 140 can be
   objects , etc. ) includemodels of a person , animal, tree, rock , 60 utilized for obtaining properties of Objects 615 in Avatar's
   building , vehicle , and /or others in a context of a computer 605 surrounding within Application Program 18. In some
   game, virtual world , 3D or 2D graphics Application Program designs, an engine, environment, or other system used to
   18 , and /or others . More generally, examples of Objects 615 implement Application Program 18 includes functions for
   include a 2D model, a 3D model, a 2D shape ( i.e. point, line , providing properties or other information on Objects 615 .
   square, rectangle , circle , triangle , etc.), a 3D shape (i.e. cube, 65 Object Processing Unit 140 can obtain ObjectProperties 630
   sphere , etc.), a graphical user interface (GUI) element, a          by utilizing the functions. In some aspects, existence of
   form element ( i.e. text field , radio button,push button , check    Object 615 in a 2D or 3D engine or environment can be
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   obtained by utilizing functions such as GameObject.Find by accessing the object's mesh or computer model. In
   ObjectsOfType (GameObject), GameObject.FindGameOb                 general, any of the aforementioned and /or other properties of
   jects With Tag (“ TagN ” ), or GameObject.Find (" ObjectN ” ) in Object 615 can be obtained by accessing a scene graph or
   Unity 3D Engine; GetAllActorsOfClass ( ) or IsActorInitial other data structure used for organizing objects in a particu
   ized ( ) in Unreal Engine; and/or other functions, procedures , 5 lar engine or environment, finding a specific Object615 , and
   or methods in other 2D or 3D engines or environments. In obtaining or reading any property from the Object 615. Such
   other aspects , type or other classification ( i.e. person , ani accessing can be performed by using the engine’s or envi
   mal, tree , rock , building, vehicle, etc.) ofObject 615 in a 2D  ronment's functions for accessing objects in the scene graph
   or 3D engine or environment can be obtained by utilizing or other data structure or by directly accessing the scene
    functions such as GetClassName(ObjectN ) or ObjectN.get- 10 graph or other data structure . In some designs, functions
    Type ( ) in Unity 3D Engine; ActorN.GetClass ( ) in Unreal and /or other instructions for obtaining properties or other
   Engine ; ObjectN.getClassName( ) or ObjectN.getType ( ) in information on Objects 615 of Application Program 18 can
    Torque 3D Engine; and /or other functions, procedures , or be inserted or utilized in Application Program’s 18 source
   methods in other 2D or 3D engines or environments. In code . In other designs , functions and /or other instructions
   further aspects , identity of Object615 in a 2D or 3D engine 15 for obtaining properties or other information on Objects 615
   or environment can be obtained by utilizing functions such of Application Program 18 can be inserted into Application
   as ObjectN.name or ObjectN.GetInstanceID ( ) in Unity 3D Program 18 through manual, automatic, dynamic , or just
   Engine ; ActorN.GetObjectName( ) or ActorN .GetU                  in - time (JIT ) instrumentation (later described ). In further
   niqueIDO in Unreal Engine; ObjectN.getName( ) or designs , functions and /or other instructions for providing
   ObjectN.getID ( ) in Torque 3D Engine ; and /or other func- 20 properties or other information on Objects 615 of Applica
   tions, procedures, or methods in other 2D or 3D engines or tion Program 18 can be inserted into Application Program 18
   environments . In further aspects , distance of Object 615 through utilizing dynamic code , dynamic class loading,
   relative to Avatar 605 in a 2D or 3D engine or environment reflection , and /or other functionalities of a programming
   can be obtained by utilizing functions such as VectorN.Dis language or platform ; utilizing dynamic, interpreted, and/or
   tance(ObjectA.transform.position , ObjectB.transform.posi- 25 scripting programming languages; utilizing metaprogram
   tion ) in Unity 3D Engine ; GetDistanceTo (ActorA , ActorB )      ming; and/or utilizing other techniques (later described ).
   in Unreal Engine; VectorDist(VectorA , VectorB ) or Vec           Object Processing Unit 140 may include any features, func
   torDist(ObjectA.getPositiono ,ObjectB.getPosition        in       tionalities, and embodiments of Acquisition Interface 120 ,
   Torque 3D Engine ; and/or other functions, procedures, or         Modification Interface 130 , and /or other elements. One of
   methods in other 2D or 3D engines or environments . In 30 ordinary skill in art will understand that the aforementioned
   further aspects, angle , bearing, or direction of Object 615 techniques for obtaining objects and /or their properties are
   relative to Avatar 605 in a 2D or 3D engine or environment described merely as examples of a variety of possible
   can be obtained by utilizing functions such as ObjectB.trans     implementations, and that while all possible techniques for
   form.position ObjectA.transform.position in Unity 3D obtaining objects and/or their properties are too voluminous
   Engine ; FindLookAtRotation ( Target Vector, Start Vector) or 35 to describe, other techniques for obtaining objects and /or
   ActorB >GetActorLocation ( ) - ActorA ?GetActorLoca their properties known in art are within the scope of this
   tion ( ) in Unreal Engine ; ObjectB-> getPosition ( ) -Ob        disclosure. It should be noted that Unity 3D Engine , Unreal
   jectA-> getPosition ( ) in Torque 3D Engine ; and /or other Engine , and Torque 3D Engine are used merely as examples
    functions, procedures , ormethods in other 2D or 3D engines of a variety of engines, environments , or systems that can be
   or environments . In further aspects, location of Object 615 40 used to implement Application Program 18 and any of the
   in a 2D or 3D engine or environment can be obtained by aforementioned functionalities may be provided in other
   utilizing functions such as ObjectN.transform.position in engines, environments, or systems. Also , in some embodi
   Unity 3D Engine; ActorN.GetActorLocation ( ) in Unreal ments, Application Program 18 may not use any engine ,
   Engine ; ObjectN.getPosition ( ) in Torque 3D Engine; and /or environment, or system for its implementation, in which
   other similar functions, procedures, or methods in other 2D 45 case the aforementioned functionalities can be implemented
   or 3D engines or environments . In another example , location within Application Program 18. In general, the disclosed
   ( i.e. coordinates, etc.) of Object 615 on a screen can be devices, systems, and methods are independent of the
   obtained by utilizing WorldToScreen ( ) or other similar engine , environment, or system used to implement Appli
   function or method in various 2D or 3D engines or envi cation Program 18 .
   ronments. In some designs, distance , angle /bearing, and/or 50 In some embodiments of Application Programs 18 that do
   other properties of Object 615 relative to Avatar 605 can not comprise Avatar 605 or rely on Avatar 605 for their
   then be calculated , inferred , derived , or estimated from        operation , Object Processing Unit 140 may obtain objects
   Object’s 615 and Avatar's 605 location information . Object        and /or their properties in Application Program 18 or a part
   Processing Unit 140 may include computational function             thereof. For example, Object Processing Unit 140 can obtain
   alities to perform such calculations, inferences , derivations, 55 objects and /or their properties in the entire Application
   or estimations by utilizing, for example , geometry, trigo Program 18 , a part of Application Program 18 that is shown
   nometry, Pythagorean theorem , and/ or other theorems, for to User 50 ( i.e. on a display, via a graphical user interface,
   mulas, or disciplines . In further aspects, shape/ size of Object etc.), or any part or area of interest (later described ) of
   615 in a 2D or 3D engine or environment can be obtained by Application Program 18. In such embodiments, Object Pro
   utilizing functions such as Bounds.size , ObjectN.transform- 60 cessing Unit 140 can create or generate Collections of
   .localScale , or ObjectN.transform.lossyScale in Unity 3D Object Representations 525 or streams of Collections of
   Engine; ActorN.GetActorBounds ( ), ActorN.GetAc Object Representations 525 comprising knowledge (i.e. unit
   torScale (), or ActorN.GetActorScale3D () in UnrealEngine ;        of knowledge , etc.) of Application Program’s 18 circum
   ObjectN.getObjectBox ( ) or ObjectN.getScale ( ) in Torque stances including objects with various properties. It should
   3D Engine ; and /or other similar functions, procedures, or 65 be noted that a reference to Avatar 605 may include or be
   methods in other 2D or 3D engines or environments. In substituted with a reference to Application Program 18
    some designs , detailed shape of Object 615 can be obtained and /or other processing element, and vice versa , depending
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   on context ( i.e. whether Avatar's 605 or Application Pro         further embodiments, Picture Renderer 91 can be a program
   gram's 18 operation is being learned and /or used , etc.). Also , or hardware element that is part of or embedded into another
   a reference to operating and/or autonomous operating of element. In one example , a graphics card and /or its graphics
   Avatar 605 may include or be substituted with a reference to processing unit ( i.e.GPU , etc.)may typically include Picture
   operating and / or autonomous operating of Application Pro- 5 Renderer 91. In another example , ACAAO Unit 100 may
    gram 18 and /or other processing element depending on include Picture Renderer 91. In a further example , Applica
   context.                                                          tion Program 18 may include Picture Renderer 91. In
      Referring to FIG . 3, an embodiment of utilizing Picture general, Picture Renderer 91 can be implemented in any
   Renderer 91 and Picture Recognizer 92 is illustrated .            suitable configuration to provide its functionalities . Picture
       Picture Renderer 91 comprises the functionality for ren- 10 Renderer 91 may render or generate one or more digital
   dering or generating one or more digital pictures, and /or pictures or streams of digital pictures ( i.e. motion pictures ,
   other functionalities. Picture Renderer 91 comprises the video , etc.) in various formats examples of which include
   functionality for rendering or generating one or more digital JPEG ,GIF , TIFF , PNG , PDF,MPEG , AVI, FLV, MOV, RM ,
   pictures of Application Program 18. In some aspects , as a SWF, WMV, DivX , and /or others . In some designs , Picture
   camera is used to capture pictures of a physical environment, 15 Renderer 91 can render or generate different digital pictures
   Picture Renderer 91 can be used to render or generate of Avatar's 605 visual surrounding or of views of Applica
   pictures of a computer modeled or represented environment. tion Program 18 for displaying on Display 21 and for
   As such , Picture Renderer 91 can be used to render or facilitating object recognition functionalities herein . For
   generate views of Application Program 18. In some designs , example , a third -person view may be displayed on Display
   Picture Renderer 91 can be used to render or generate one or 20 21 for User 50 to see and a first -person view may be used to
   more digital pictures depicting a view of an Avatar's 605 facilitate object recognition functionalities herein . In some
   visual surrounding in a 3D Application Program 18 ( i.e. 3D implementations of non -graphical Application Programs 18
   computer game, virtual world application, CAD application , such as simulations, calculations, and/or others, Picture
   etc.). In one example , a view may include a first-person view Renderer 91 may render or generate one or more digital
   or perspective such as a view through an avatar's eyes that 25 pictures of Avatar's 605 visual surrounding or of views of
   showsobjects around the avatar, but does not typically show       Application Program 18 to facilitate object recognition
   the avatar itself. First-person view may sometimes include functionalities herein where the one or more digital pictures
   the avatar's hands, feet, other body parts , and /or objects that are never displayed . In some aspects , instead of or in
   the avatar is holding. In another example, a view may addition to Picture Renderer 91, one or more digital pictures
   include a third -person view or perspective such as a view 30 of Avatar's 605 visual surro  rrounding or of views of Applica
   that shows an avatar as well as objects around the avatar tion Program 18 can be obtained from any element of a
   from an observer's point of view . In a further example , a computing device or system that can provide such digital
   view may include a view from a front of an avatar. In a pictures. Examples of such elements include a graphics
    further example, a view may include a view from a side of circuit , a graphics system , a graphics driver , a graphics
   an avatar. In a further example, a view may include any 35 interface , and /or others .
   stationary or movable view such as a view through a                  Picture Recognizer 92 comprises the functionality for
   simulated camera in a 3D Application Program 18. In other detecting or recognizing objects and /or their properties in
   designs, Picture Renderer 91 can be used to render or visual data , and /or other disclosed functionalities . Visual
   generate one or more digital pictures depicting a view of a data includes digital motion pictures, digital still pictures,
   2D Application Program 18. In one example, a view may 40 and /or other visual data . Examples of file formats that can be
   include a screenshot or portion thereof of a 2D Application utilized to store visual data include JPEG , GIF , TIFF, PNG ,
   Program 18. In a further example , view may include an PDF, MPEG , AVI, FLV , MOV , RM , SWF, WMV, DivX ,
   area of interest of a 2D Application Program 18. In a further and /or other file formats . In some designs, Picture Recog
   example, a view may include a top -down view of a 2D nizer 92 can be used for detecting or recognizing objects
   Application Program 18. In a further example, a view may 45 and /or their properties in one or more digital pictures from
   include a side -on view of a 2D Application Program 18. Any Picture Renderer 91. For example, Picture Recognizer 92
   other view can be utilized in alternate designs . Any view can be utilized in detecting or recognizing existence of an
   utilized in a 3D Application Program 18 can similarly be object, type of an object, identity of an object , shape size of
   utilized in a 2D Application Program 18 as applicable, and an object, activity of an object, and /or other properties of an
   vice versa . In some implementations, Picture Renderer 91 50 object. In general, Picture Recognizer 92 can be used for any
   may include any graphics processing device , apparatus, operation supported by Picture Recognizer 92. Picture Rec
   system , or application that can render or generate one or ognizer 92 may detect or recognize an object and / or its
   more digital pictures from a computer (i.e. 3D , 2D , etc.) properties as well as track the object and / or its properties in
   model or representation . In some aspects , rendering, when one or more digital pictures or streams of digital pictures
   used casually , may refer to rendering or generating one or 55 ( i.e. motion pictures, video , etc. ). In the case of a person ,
   more digital pictures from a computer model or represen           Picture Recognizer 92 may detect or recognize a human
   tation , providing the one ormore digital pictures to a display head or face, upper body, full body, or portions/combina
   device, and /or displaying of the one ormore digital pictures tions thereof. In some aspects, Picture Recognizer 92 may
   on a display device . In some embodiments, Picture Renderer detect or recognize objects and/or their properties from a
   91 can be a program executing or operating on Processor 11. 60 digital picture by comparing regions of pixels from the
   In one example , Picture Renderer 91 can be provided in a digital picture with collections of pixels comprising known
   rendering engine such as Direct3D , OpenGL, Mantle , and /or objects and/or their properties. The collections of pixels
   other programs or systems for rendering or processing 3D or comprising known objects and /or their properties can be
   2D graphics . In other embodiments , Picture Renderer 91 can learned or manually , programmatically , or otherwise
   be part of, embedded into , or built into Processor 11. In 65 defined . The collections of pixels comprising known objects
   further embodiments, Picture Renderer 91 can be a hardware and/or their properties can be stored in any data structure or
   element coupled to Processor 11 and /or other elements . In repository ( i.e. one ormore files, database , etc. ) that resides
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   locally on Computing Device 70 , or remotely on a remote example , thresholds for similarity , statistical techniques,
   computing device ( i.e. server, cloud , etc.) accessible over a and /or optimization techniques can be utilized to determine
   network or an interface. In other aspects , Picture Recognizer a match in any of the above -described detection or recog
   92 may detect or recognize objects and /or their properties nition techniques .
   from a digital picture by comparing features ( i.e. lines , 5 Various aspects or properties of digital pictures or pixels
   edges, ridges, corners, blobs, regions, etc.) of the digital can be taken into accountby Picture Recognizer 92 in any
   picture with features of known objects and /or their proper of the recognizing or comparisons . Examples of such
   ties. The features of known objects and/or their properties aspects or properties include color adjustment, size adjust
   can be learned or manually, programmatically , or otherwise ment, content manipulation , transparency ( i.e. alpha chan
   defined . The features of known objects and /or their proper- 10 nel, etc.), use of mask , and /or others. In some implementa
   ties can be stored in any data structure or repository ( i.e. tions, as digital pictures can be captured or generated by
   neural network , one or more files, database , etc.) that resides various equipment, in various environments, and under
    locally on Computing Device 70 , or remotely on a remote various lighting conditions, Picture Recognizer 92 can
   computing device ( i.e. server , cloud , etc.) accessible over a adjust lighting or color of pixels or otherwise manipulate
   network or an interface . Typical steps or elements in a 15 pixels before or during comparison . Lighting or color adjust
    feature oriented picture recognition include pre- processing, ment (also referred to as gray balance , neutral balance, white
   feature extraction, detection/ segmentation , decision -mak            balance , etc.) may generally include manipulating or rebal
   ing , and /or others , or a combination thereof, each of which ancing the intensities of the colors (i.e. red , green , and /or
   may include its own sub -steps or sub -elements depending on blue if RGB color model is used, etc.) of one ormore pixels .
   the application . In further aspects , Picture Recognizer 92 20 For example , Picture Recognizer 92 can adjust lighting or
   may detect or recognize multiple objects and / or their prop           color of some or all pixels of one picture to make it more
   erties from a digital picture using the aforementioned pixel comparable to another picture . Picture Recognizer 92 can
   or feature comparisons , and /or other detection orrecognition also incrementally adjust the pixels such as increasing or
   techniques. For example, a picture may depict two objects in decreasing the red , green , and/or blue pixel values by a
   two of its regions both of which Picture Recognizer 92 can 25 certain amount in each cycle of comparisons in order to find
   detect simultaneously . In further aspects , where objects a similarity or match at one of the incremental adjustment
   and /or their properties span multiple pictures, Picture Rec           levels. Any of the publically available, custom , or other
   ognizer 92 may detect or recognize objects and /or their lighting or color adjustment techniques or programs can be
   properties by applying the aforementioned pixel or feature utilized such as color filters , color balancing, color correc
   comparisons and /or other detection or recognition tech- 30 tion , and /or others. In other implementations, Picture Rec
   niques over a stream of digital pictures ( i.e. motion picture , ognizer 92 can resize or otherwise transform a digitalpicture
   video , etc. ). For example , once an object is detected in a before or during comparison . Such resizing or transforma
   digital picture (i.e. frame, etc.) of a stream of digital pictures tion may include increasing or decreasing the number of
   ( i.e. motion picture , video , etc.), the region of pixels com        pixels of a digital picture . For example, Picture Recognizer
   prising the detected object or the object's features can be 35 92 can increase or decrease the size of a digital picture
    searched in other pictures of the stream of digital pictures, proportionally ( i.e. increase or decrease length and /or width
    thereby tracking the object through the stream of digital keeping aspect ratio constant, etc. ) to equate its size with the
   pictures. In further aspects , Picture Recognizer 92 may size of another digital picture . Picture Recognizer 92 can
   detect or recognize an object's activities by identifying also incrementally resize a digital picture such as increasing
   and /or analyzing differences between a detected region of 40 or decreasing the size ofthe digital picture proportionally by
   pixels of one picture ( i.e. frame, etc.) and detected regions a certain amount in each cycle of comparisons in order to
   of pixels of other pictures in a stream of digital pictures. For find a similarity or match at one of the incremental sizes .
   example , a region of pixels comprising a person's face can Any of the publically available , custom , or other digital
   be detected in multiple consecutive pictures of a stream of picture resizing techniques or programs can be utilized such
   digital pictures ( i.e. motion picture , video , etc.). Differences 45 as nearest- neighbor interpolation , bilinear interpolation ,
   among the detected regions of the consecutive pictures may             bicubic interpolation, and /or others. In further implementa
   be identified in the mouth part of the person's face to tions, Picture Recognizer 92 can manipulate content ( i.e. all
    indicate smiling or speaking activity. In further aspects, pixels, one or more regions, one or more depicted objects,
   Picture Recognizer 92 may detect or recognize objects etc.) of a digital picture before or during comparison . Such
   and /or their properties using one or more artificial neural 50 contentmanipulation may includemoving, centering, align
   networks, which may include statistical techniques . ing, resizing , transforming, and/or otherwise manipulating
   Examples of artificial neural networks that can be used in content of a digital picture . For example , Picture Recognizer
   Picture Recognizer 92 include convolutional neural net 92 can move, center, or align content of one picture to make
   works (CNNs), time delay neural networks ( TDNNs), deep it more comparable to another picture. Any ofthe publically
   neural networks, and /or others . In one example , picture 55 available , custom , or other digital picture manipulation
   recognition techniques and/or tools involving convolutional techniques or programscan be utilized such as pixelmoving,
   neural networks may include identifying and/or analyzing warping, distorting , aforementioned interpolations, and/or
    tiled and/or overlapping regions or features of a digital others . In further implementations, in digital pictures com
   picture, which may then be used to search for pictures with prising transparency features or functionalities, Picture Rec
   matching regions or features. In another example , features of 60 ognizer 92 can utilize a threshold for acceptable number or
   different convolutional neural networks responsible for spa percentage transparency difference. Alternatively, transpar
   tial and temporal streams can be fused to detect objects ency can be applied to one or more pixels of a digital picture
   and/ or their properties in streams of digital pictures ( i.e. and color difference may then be determined between com
   motion pictures, videos , etc. ). In general, Picture Recognizer pared pixels taking into account the transparency related
   92 may include any machine learning , deep learning , and /or 65 color effect . Alternatively , transparent pixels can be
   other artificial intelligence techniques . Any other techniques excluded from comparison . In further implementations, cer
   known in art can be utilized in Picture Recognizer 92. For tain regions or subsets of pixels can be ignored or excluded
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   during comparison using a mask . In general, any region or be used to render or generate sound of Application Program
   subset of a picture determined to contain no content of 18. In some designs, Sound Renderer 96 can be used to
    interest can be excluded from comparison using a mask . render or generate digital sound from Avatar's 605 surround
    Examples of such regions or subsets include background , ing in a 3D Application Program 18 ( i.e. 3D computer game,
   transparent or partially transparent regions, regions com- 5 virtual world application , CAD application , etc.). For
   prising insignificant content, or any arbitrary region or example , emission of a sound from a sound source may be
   subset. Picture Recognizer 92 can perform any other pre
   processing or manipulation of digital pictures or pixels simulated Program
                                                                                /modeled in a virtual space of a 3D Application
                                                                               18  , propagation of the sound may be simulated /
   before or during recognizing or comparison .                       modeled  through   the virtual space including any scattering ,
       In some exemplary embodiments , object recognition tech- 10 reflections , refractions  , diffractions, and /or other effects, and
   niques and /or tools such as OpenCV (Open Source Com the sound may be rendered                     or generated as perceived by a
   puter Vision ) library, CamFind API, Kooaba, 6 px API, listener i.e. Avatar 605 , etc.                ). In other designs, Sound
   Dextro API, and /or others can be utilized for detecting or
   recognizing objects and/ or their properties in digital pic Renderer          96 can be used to render or generate digital sound
   tures. In some aspects , picture recognition techniques and /or 15 of
                                                                      the
                                                                         a 2D Application Program 18 which may include any of
                                                                          aforementioned and/or other sound simulation /modeling
   tools involve identifying and /or analyzing features such as
   lines, edges, ridges, corners , blobs, regions, and/or their as applicable to 2D spaces. In further designs, Sound Ren
   relative positions, sizes, shapes, etc. , which may then be derer 96 can be optionally omitted in a simple Application
   used to search for pictures with matching features. For Program 18 where no sound simulation/modeling is needed
    example, OpenCV library can detect an object (i.e. person , 20 or where sounds may simply be played . In some implemen
   animal, vehicle, rock , etc.) and /or its properties in one or tations, Sound Renderer 96 may include any sound process
   more digital pictures from Picture Renderer 91 or stored in ing device, apparatus, system , or application that can render
    an electronic repository , which can then be utilized in or generate digital sound . In some aspects , rendering, when
   ACAAO Unit 100, Artificial Intelligence Unit 110, and /or used casually, may refer to rendering or generating digital
   other elements. In other exemplary embodiments, facial 25 sound from a computer model or representation , providing
   recognition techniques and/or tools such as OpenCV (Open             digital sound to a speaker or headphones, and /or producing
   Source Computer Vision ) library, Animetrics FaceR API,              the sound by a speaker or headphones . In some embodi
   Lambda Labs Facial Recognition API, Face ++ SDK , Neven         ments , Sound Renderer 96 can be a program executing or
   Vision (also known as N -Vision ) Engine , and /or others can operating on Processor 11. In one example , Sound Renderer
   be utilized for detecting or recognizing faces in digital 30 96 can be provided in a rendering engine such as Sound
   pictures. In some aspects, facial recognition techniques Scape Renderer, SLAB Spatial Audio Renderer, Uni -Verse
   and/or tools involve identifying and /or analyzing facial Sound Renderer, Crepo Sound Renderer, and /or other pro
   features such as the relative position , size, and /or shape of grams or systems for rendering or processing sound. In
   the eyes, nose , cheekbones, jaw , etc., which may then be another example, various engines or environments such as
   used to search for pictures with matching features. For 35 Unity 3D Engine, Unreal Engine, Torque 3D Engine, and/or
   example , FaceR API can detect a person's face in one or others provide built-in sound renderers. In other embodi
   more digital pictures from Picture Renderer 91 or stored in         ments, Sound Renderer 96 can be part of, embedded into , or
   an electronic repository , which can then be utilized in            built into Processor 11. In further embodiments, Sound
   ACAAO Unit 100 , Artificial Intelligence Unit 110 , and /or         Renderer 96 can be a hardware element coupled to Processor
   other elements .                                                 40 11 and /or other elements. In further embodiments, Sound
      It should be noted that Picture Renderer 91 and Picture          Renderer 96 can be a program or hardware element that is
   Recognizer 92 can optionally be used to detect objects part of or embedded into another element . In one example,
   and /or their properties that cannot not be obtained from a sound card and /or its processing unit may include Sound
   Application Program 18 or from an engine , environment, or Renderer 96. In another example , ACAAO Unit 100 may
   system used to implement Application Program 18. Picture 45 include Sound Renderer 96. In a further example, Applica
   Renderer 91 and Picture Recognizer 92 can also optionally tion Program 18 may include Sound Renderer 96. In general,
   be used where Picture Renderer 91 and Picture Recognizer Sound Renderer 96 can be implemented in any suitable
   92 offer superior performance in detecting objects and /or configuration to provide its functionalities. Sound Renderer
   their properties. Picture Renderer 91 and Picture Recognizer 96 may render or generate digital sound in various formats
   92 can also optionally be used to confirm objects and /or their 50 examples of which include WAV , WMA , AIFF , MP3, RA ,
   properties obtained or detected by other means. For OGG , and /or others. In some designs , Sound Renderer 96
   example , identity of an object, type of an object, and /or can render or generate different digital sound of an Appli
   action of an object, if needed , can be recognized or con          cation Program 18 for production on a speaker or head
   firmed through picture processing of Picture Renderer 91 phones and for facilitating object recognition functionalities
   and Picture Recognizer 92. Picture Renderer 91 and Picture 55 herein . For example , sound of Avatar's 605 shooting may be
   Recognizer 92 can be omitted depending on implementa          produced by a speaker or headphones for User 50 to hear and
   tion .                                                        sound of various objects in Avatar's 605 surrounding may be
      Referring to FIG . 4 , an embodiment of utilizing Sound used to facilitate object recognition functionalities herein . In
   Renderer 96 and Sound Recognizer 97 is illustrated .          some implementations of non -acoustic Application Pro
      Sound Renderer 96 comprises the functionality for ren- 60 grams 18 such as simulations, calculations, and /or others ,
   dering or generating digital sound, and /or other functional Sound Renderer 96 may render or generate digital sound as
   ities. Sound Renderer 96 comprises the functionality for perceived by Avatar 605 to facilitate object recognition
   rendering or generating digital sound of Application Pro      functionalities herein where the sound is never produced on
   gram 18. In some aspects , as a microphone is used to capture a speaker or headphones. In some aspects , instead of or in
   sound of a physical environment, Sound Renderer 96 can be 65 addition to Sound Renderer 96 , digital sound perceived by
   used to render or generate sound of a computer modeled or            Avatar 605 can be obtained from any element of a comput
   represented environment. As such , Sound Renderer 96 can             ing device or system that can provide such digital sound .
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   Examples of such elements include an audio circuit, an              for similarity , statistical techniques, and /or optimization
   audio system , an audio driver, an audio interface , and /or        techniques can be utilized to determine a match in any of the
   others .                                                            above -described detection or recognition techniques.
      Sound Recognizer 97 comprises the functionality for                 In some exemplary embodiments, operating system's
   detecting or recognizing objects and/or their properties in 5 sound recognition functionalities such as iOS's Voice Ser
   audio data, and/or other disclosed functionalities. Audio data vices , Siri, and/or others can be utilized in Sound Recog
   includes digital sound , and/or other audio data . Examples of nizer 97. For example , iOS Voice Services can detect an
   file formats that can be utilized to store audio data include object ( i.e. person , etc.) and /or its properties in digital sound
   WAV , WMA, AIFF, MP3 , RA , OGG , and /or other file from Sound Renderer 96 or stored in an electronic reposi
    formats. In some designs, Sound Recognizer 97 can be used 10 , which can then be utilized in ACAAO Unit 100,
   for detecting or recognizing objects and /or their properties in tory
   digital sound from Sound Renderer 96. In the case of a Artificial              Intelligence Unit 110 , and /or other elements . In
   person , Sound Recognizer 97 may detect or recognize other                 exemplary embodiments , Java Speech API (JSAPI)
                                                                       implementation such as The Cloud Garden , Sphinx , and /or
   human voice . For example, Sound Recognizer 97 can be others
   utilized in detecting or recognizing existence of an object, 15 Cloud can      be utilized in Sound Recognizer 97. For example ,
                                                                               Garden JSAPI can detect an object ( i.e. person,
    type of an object, identity of an object , activity of an object,
   and /or other properties of an object. In general, Sound animal, vehicle, etc.) and/or its properties in digital sound
   Recognizer 97 can be used for any operation supported by from Sound Renderer 96 or stored in an electronic reposi
   Sound Recognizer 97. In some aspects, Sound Recognizer tory , which can then be utilized in ACAAO Unit 100 ,
   97 may detect or recognize an object and /or its properties 20 Artificial Intelligence Unit 110 , and /or other elements . Any
    from a digital sound by comparing collections of sound other programming language's or platform's speech or
   samples from the digital sound with collections of sound sound processing API can similarly be utilized . In further
   samples of known objects and /or their properties. The col exemplary embodiments , applications or engines providing
   lections of sound samples of known objects and /or their Sound recognition functionalities such as HTK (Hidden
   properties can be learned , or manually , programmatically , or 25 Markov Model Toolkit), Kaldi, OpenEars , Dragon Mobile,
   otherwise defined . The collections of sound samples of Julius, iSpeech , CeedVocal, and /or others can be utilized in
   known objects and /or their properties can be stored in any Sound Recognizer 97. For example , Kaldi SDK can detect
   data structure or repository ( i.e. one or more files, database , an object ( i.e. person, animal, vehicle , etc. ) and /or its
    etc.) that resides locally on Computing Device 70 , or properties in digital sound from Sound Renderer 96 or stored
   remotely   on a remote computing device (i.e. server, cloud, 30 in an electronic repository , which can then be utilized in
   etc.) accessible over a network or an interface . In other ACAAO Unit 100 , Artificial Intelligence Unit 110 , and/or
   aspects, Sound Recognizer 97 may detect or recognize an other elements.
   object and /or its properties from a digital sound by compar           It should be noted that Sound Renderer 96 and Sound
   ing features from the digital sound with features of sounds Recognizer
   of known objects and /or their properties. The features of 35 and /or their 97properties
                                                                                         can optionally be used to detect objects
   sounds of known objects and/or their properties can be Application Program 18 that                  cannot not be obtained from
                                                                                                  or from an engine, environment, or
   learned , or manually , programmatically , or otherwise system used to implement                  Application Program 18. Sound
   defined . The features of sounds of known objects and /or
   their properties can be stored in any data structure or             Renderer   96 and  Sound   Recognizer  97 can also optionally
   repository ( i.e. neural network , one or more files, database , 40 be used where Sound Renderer 96 and Sound Recognizer 97
   etc.) that resides locally on Computing Device 70 , or offer superior performance in detecting objects and /or their
   remotely on a remote computing device ( i.e. server, cloud, properties . Sound Renderer 96 and Sound Recognizer 97
   etc.) accessible over a network or an interface. Typical steps can also optionally be used to confirm objects and / or their
   or elements in a feature oriented sound recognition include properties obtained or detected by other means . For
   pre-processing, feature extraction , acoustic modeling , lan- 45 example , identity of an object, type of an object, and /or
   guage modeling, and /or others , or a combination thereof, activity of an object, if needed , can be recognized or
   each of which may include its own sub -steps or sub                 confirmed through sound processing of Sound Renderer 96
   elements depending on the application . In further aspects, and Sound Recognizer 97. Sound Renderer 96 and Sound
   Sound Recognizer 97 may detect or recognize a variety of Recognizer 97 can be omitted depending on implementa
   sounds from digital sound using the aforementioned sound 50 tion .
   sample or feature comparisons, and /or other detection or              One of ordinary skill in art will understand that the
   recognition techniques. For example , sound of a person , aforementioned techniques for detecting or recognizing
   animal, vehicle, and / or other sounds can be detected by objects and / or their properties using pictures and sounds are
    Sound Recognizer 97. In further aspects , Sound Recognize          described merely as examples of a variety of possible
   97 may detect or recognize sounds using Hidden Markov 55 implementations, and that while all possible techniques for
   Models (HMM ), Artificial Neural Networks, Dynamic Time detecting or recognizing objects and /or their properties are
   Warping (DTW ),Gaussian Mixture Models (GMM ), and /or too voluminous to describe, other techniques for detecting or
   other models or techniques, or a combination thereof. Some recognizing objects and /or their properties known in art are
   or all of these models or techniques may include statistical within the scope of this disclosure. Also , any signal pro
   techniques. Examples of artificial neural networks that can 60 cessing technique known in art that can facilitate the dis
   be used in Sound Recognizer 97 include recurrent neural            closed functionalities can be utilized in various embodi
   networks, time delay neural networks ( TDNNs),deep neural          ments . Any combination of the aforementioned and/or other
   networks, convolutional neural networks, and/or others. In         renderers , object detecting or recognizing techniques, signal
    general, Sound Recognizer 97 may include any machine processing techniques, and/or other elements or techniques
    learning, deep learning, and /or other artificial intelligence 65 can be used in various embodiments.
   techniques . Any other techniques known in art can be                Referring to FIGS. 5A -5B , an exemplary embodiment of
   utilized in Sound Recognizer 97. For example, thresholds Objects 615 (also referred to simply as objects or other
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    suitable name or reference) in Avatar's 605 surrounding , and excluded , or a combination thereof can be utilized in alter
    resulting Collection of Object Representations 525 are illus nate embodiments of Collection of Object Representations
   trated .                                                         525 .
       As shown for example in FIG . 5A , Object 615a exists in        Referring now to ACAAO Unit 100, ACAAO Unit 100
    Avatar's 605 surrounding . Object 615a may be recognized 5 comprises any hardware, programs, or a combination
   as a person. Object 615a may be located at a distance of 13 thereof. ACAAO Unit 100 comprises the functionality for
   m from Avatar 605. Object 615a may be located at a learning                the operation of Avatar 605 in circumstances
                                                                    including objects with various properties. ACAAO Unit 100
   bearing/angle of 78 ° from Avatar's 605 centerline . Object comprises        the functionality for structuring and/or storing
   615a may be identified as Agent Smith . Furthermore, Object 10 this knowledge
   615b exists in Avatar's 605 surrounding. Object 615b may graph , sequencesin, other    a knowledgebase ( i.e. neural network ,
                                                                                               repository, etc. ). ACAAO Unit 100
   be recognized as a rock . Object 615b may be located at a
   distance of 10 m from Avatar 605. Object 615b may be comprises              the functionality for enabling autonomous opera
                                                                    tion of Avatar 605 in circumstances including objects with
   located at a bearing/angle of 211 ° from Avatar's 605 cen various         properties. In some embodiments of Application
   surrounding . Object 615C may be recognized as a robot. Avatar 605 18forthat
   terline . Furthermore , Object   615c exists  in Avatar's 605 15  Programs           do not comprise Avatar 605 or rely on
   Object 615cmay be located at a distance of 8 m from Avatar the functionality foroperation
                                                                                    their           , ACAAO Unit 100 comprises
                                                                                            learning the operation of Application
   605. Object 615c may be located at a bearing/angle of 332 ° Program 18 in circumstances including objects with various
   from Avatar's 605 centerline . Any Objects 615 instead of or         properties similar to the learning functionalities described
   in addition to Object 615a , Object 615b , and Object 615C 20 with respect to Avatar 605. Also, in such embodiments,
   may exist in Avatar's 605 surrounding, one ormore ofwhich ACAAO Unit 100 comprises the functionality for enabling
   can be obtained , learned , and /or used . In some designs, some autonomous operation of Application Program 18 in circum
   Objects 615 can be omitted . Which Objects 615 or types of           stances including objects with various properties similar to
   Objects 615 are obtained , learned , and /or used can be the autonomous operation functionalities described with
   defined by a user, by ACAAO system administrator, or 25 respect to Avatar 605. ACAAO Unit 100 comprises the
   automatically by the system based on experience, testing, functionality for interfacing with or attaching to Avatar 605 ,
    inquiry , analysis, synthesis, or other techniques, knowledge , Application Program 18 , Processor 11 , and/ or other process
   or input. In further designs, a 3D Application Program 18 ing element. ACAAO Unit 100 comprises the functionality
   may include elevated Objects 615 such as flying objects ( i.e. for obtaining instruction sets , data, and /or other information
    flying animals, aircraft, etc. ), objects on hills or mountains, 30 used , implemented , and/or executed by Avatar 605 , Appli
   objects on buildings, and / or others in which case altitudinal cation Program 18 , Processor 11 , and /or other processing
    information related to distance and bearing/angle ofObjects element. ACAAO Unit 100 comprises the functionality for
   615 relative to Avatar 605 can be obtained , learned , and /or modifying instruction sets, data , and /or other information
   used . Any unit of distance and /or bearing/angle can be used , implemented , and/or executed by Avatar 605 , Appli
   utilized instead of or in addition to meters and /or angular 35 cation Program 18, Processor 11, and /or other processing
   degrees.                                                             element. ACAAO Unit 100 comprises learning , anticipating,
       As shown for example in FIG . 5B , Object Processing Unit decision making, automation , and / or other functionalities
    140 may create or generate Collection of Object Represen            disclosed herein . Statistical, artificial intelligence , machine
   tations 525 including Object Representation 625a represent learning , and/or other models or techniques are utilized to
   ing Object 615a , Object Representation 625b representing 40 implement the disclosed devices, systems, and methods. In
   Object 615b , Object Representation 625c representing some designs, ACAAO Unit 100 and/or elements thereof
   Object 6150 , etc. For instance , Object Representation 625a may be or include a hardware element embedded or built
   may include Object Property 630aa “ Person” in Category into Processor 11 , and /or other processing element. In other
   635aa “ Type” , Object Property 630ab “ Agent Smith ” in designs, ACAAO Unit 100 and/or elements thereofmay be
   Category 635ab “ Identity ” , Object Property 630ac “ 13 m ” 45 or include a hardware element coupled to or interfaced with
   in Category 635ac “ Distance " ,Object Property 630ad " 780" Avatar 605 , Application Program 18, Processor 11 , and /or
   in Category 635ad “ Bearing” , etc. Also , Object Represen           other processing element. In other designs, ACAAO Unit
   tation 625b may include Object Property 630ba “ Rock ” in 100 and /or elements thereof may be or include a program
   Category 635ba “ Type” , Object Property 630bb " 10 m ” in operating on Processor 11, and / or other processing element.
   Category 635bb “ Distance ” , Object Property 630bc " 211 "” 50 In further designs, ACAAO Unit 100 and /or elements
   in Category 635bc " Bearing” , etc. Also , Object Represen           thereofmay be or include a program coupled to or interfaced
   tation 625c may include Object Property 630ca “ Robot” in with Avatar 605 , Application Program 18 , Processor 11,
    Category 635ca “ Type” , Object Property 630cb " 8 m ” in and /or other processing element. In further designs, ACAAO
    Category 635cb “ Distance ”, Object Property 630cc “ 3320" Unit 100 and /or elements thereof may be or include a
   in Category 635cc “ Bearing” , etc. Any number of Object 55 program embedded or built into Avatar 605 , Application
   Representations 625 , and/or other elements or information Program 18 , and / or other processing element. ACAAO Unit
   can be included in Collection of ObjectRepresentations 525 . 100 can be provided in a combination of the aforementioned
   Any number of Object Properties 630 (also referred to or other suitable configurations in alternate designs.
   simply as object properties or other suitable name or refer        When ACAAO Unit 100 functionalities are applied to
   ence ), and/ or other elements or information can be included 60 Avatar 605 , Application Program 18, Processor 11, and /or
   in an Object Representation 625. In some aspects, a refer other processing element, Avatar 605 , Application Program
   ence to Collection ofObject Representations 525 comprises 18, Processor 11 , and/or other processing element may
   a reference to a collection of Object Properties 630 and /or become autonomous . ACAAO Unit 100 may take control
   other elements or information related to one or more Objects from , share control with , and /or release control to Avatar
   615. Other additional Object Representations 625 , Object 65 605 , Application Program 18 , Processor 11 , and/or other
   Properties 630 , elements , and/or information can be processing element to implement autonomous operation of
   included as needed , or some of the disclosed ones can be            Avatar 605 , Application Program 18 , Processor 11 , and / or
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   other processing element. ACAAO Unit 100 may take and / or non -ACAAO system is in control of Avatar 605 ,
   control from , share control with , and /or release control to thereby reducing or eliminating the need for future involve
   Avatar 605 , Application Program 18 , Processor 11, and /or ment of User 50 and / or non -ACAAO system . In another
   other processing element automatically or after prompting example , User 50 and /or non - ACAAO system may be a
   User 50 to allow it. In some aspects , Avatar 605 , Application 5 primary or preferred system for implementing Avatar's 605
   Program 18 , Processor 11, and /or other processing element operation. While operating under the control of User 50
   may include or be provided with anticipatory (also referred and/or non -ACAAO system , User 50 and /or non1 -ACAAO
   to as alternate or other suitable name or reference ) instruc      system may release control to ACAAO Unit 100 for any
   tions or instruction sets that User 50 did not issue or cause reason (i.e. User 50 gets tired or distracted , non-ACAAO
   to be executed . Such anticipatory instructions or instruction 10 system gets stuck or cannot make a decision , etc.), at which
   sets include instruction sets that User 50 may want or is point Avatar 605 can be controlled by ACAAO Unit 100. In
   likely to issue or cause to be executed . Anticipatory instruc     some designs, ACAAO Unit 100 may take control in certain
   tions or instruction sets can be generated by ACAAO Unit special circumstances including objects with various prop
    100 or elements thereof based on circumstances including erties where ACAAO Unit 100 may offer superior perfor
   objects with various properties . As such , Avatar 605 , Appli- 15 mance even though User 50 and/or non -ACAAO system
   cation Program 18 , Processor 11 , and /or other processing may generally be preferred . Once Avatar 605 leaves such
   elementmay include orbe provided with some or all original special circumstances, ACAAO Unit 100 may release con
   instructions or instruction sets and /or any anticipatory trol to User 50 and/or non -ACAAO system . In general,
   instructions or instruction sets generated by ACAAO Unit ACAAO Unit 100 can take control from , share control with ,
    100. Therefore, autonomous operating of Avatar 605 , Appli- 20 or release control to User 50 , non -ACAAO system , and /or
   cation Program 18, Processor 11 , and /or other processing other system or process at any time, in any circumstances ,
   elementmay include executing some or all original instruc          and remain in control for any period of time as needed .
   tions or instruction sets and / or any anticipatory instructions     In some embodiments, ACAAO Unit 100 may control one
   or instruction sets generated by ACAAO Unit 100 .                  or more elements of Avatar 605 while User 50 and /or
      In one example , ACAAO Unit 100 can overwrite or 25 non -ACAAO system may control other one or more ele
   rewrite the original instructions or instruction sets with ments of Avatar 605. For example, ACAAO Unit 100 may
   ACAAO Unit 100 -generated instructions or instruction sets . control Avatar's 605 movement, while User 50 and /or non
   In another example , ACAAO Unit 100 can insert or embed ACAAO system may control Avatar's 605 aiming and
   ACAAO Unit 100 - generated instructions or instruction sets shooting . Any other combination of controlling various
   among the original instructions or instruction sets. In a 30 elements or functions of Avatar 605 by ACAAO Unit 100 ,
   further example, ACAAO Unit 100 can branch , redirect, or         User 50, and / or nonn -ACAAO system can be implemented .
   jump to ACAAO Unit 100 -generated instructions or instruc            In some embodiments , ACAAO Unit 100 enables learn
   tion sets from the original instructions or instruction sets .    ing of a particular User's 50 knowledge , methodology, or
      In some embodiments, autonomous Avatar 605 operating           style of operating Avatar 605. In some aspects , learning of
   comprises determining, by ACAAO Unit 100 , a next instruc- 35 a particular User's 50 knowledge, methodology, or style of
   tion or instruction set to be executed based on Avatar's 605     operating Avatar 605 includes learning the User's 50 direct
   circumstances including objects with various properties ing or operating Avatar 605 in circumstances including
   prior to the user issuing or causing to be executed the next objects with various properties . In one example , one User 50
   instruction or instruction set. In other embodiments , autono  may shoot an opponentwhile another User 50 may strike the
   mous Avatar 605 operating comprises determining, by 40 opponent with a sword in a computer game. In another
   ACAAO Unit 100 , a next instruction or instruction set to be example , one User 50 may jump over an obstacle while
   executed based on Avatar's 605 circumstances including another User 50 may move around the obstacle in a virtual
   objects with various properties prior to the system receiving world application . In a further example, one User 50 may
   the next instruction or instruction set.                       drive fast while another User 50 may drive cautiously in a
       In some embodiments , autonomous Avatar 605 operating 45 racing game, and so on . The knowledge of User's 50
   includes a partially or fully autonomous operating . In an methodology or style of operating Avatar 605 can be used to
   example involving partially autonomous Avatar 605 operat enable personalized autonomous operation of Avatar 605
   ing, a user confirms ACAAO Unit 100- generated instruc         specific to a particular User 50. Therefore, ACAAO - enabled
   tions or instruction sets prior to their execution . In an Avatar 605 may exemplify User's 50 knowledge, method
   example involving fully autonomous application operating, 50 ology, or style of operating Avatar 605 as learned from User
   ACAAO Unit 100 - generated instructions or instruction sets 50. In some designs, this functionality enables one or more
   are executed without user or other system confirmation ( i.e. ACAAO -enabled Avatars 605 to be utilized in Application
   automatically, etc.).                                          Program 18 ( i.e. computer game, virtual world , etc.) to assist
       In some embodiments , a combination of ACAAO Unit User 50 in defeating an opponent or achieving another goal.
   100 and other systems and /or techniques can be utilized to 55 For example , User 50 can utilize a team ofACAAO -enabled
   implement Avatar's 605 operation . In one example , ACAAO Avatars 605 each of which may exemplify User's 50 knowl
   Unit 100 may be a primary or preferred system for imple edge ,methodology, or style of operating Avatar 605. In other
   menting Avatar's 605 operation . While operating autono        designs, ACAAO Unit 100 enables a professional or other
   mously under the control of ACAAO Unit 100 , Avatar 605 experienced Application Program 18 operator ( i.e. game
   may encounter a circumstance including objects with vari- 60 player, etc.) to record his /her knowledge, methodology, or
   ous properties that has not been encountered or learned style of operating Avatar 605 into Knowledgebase 530 ( i.e.
   before . In such situations, User 50 and /or non -ACAAO Neural Network 530a, Graph 530b , Collection of Sequences
   system may take control of Avatar's 605 operation . ACAAO 530c, Sequence 533 , Collection of Knowledge Cells 530d ,
   Unit 100 may take control again when Avatar 605 encoun         etc.) and /or other repository. User 50 can then sell or make
    ters a previously learned circumstance including objects 65 available his /her knowledge ,methodology, or style of oper
   with various properties. Naturally , ACAAO Unit 100 can ating Avatar 605 to other users who may want to implement
   learn Avatar's 605 operation in circumstances while User 50 User's 50 knowledge , methodology, or style of operating
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    Avatar 605. Knowledgebase 530 and /or other repository source code, bytecode, compiled , interpreted code, trans
   comprising User's 50 knowledge , methodology, or style of lated code, machine code , and /or other code . In further
   operating Avatar 605 can be available to other users via a aspects , Acquisition Interface 120 can access and/or read
   storage medium , via a network , or via other means . In some values , variables, parameters , and /or other data or informa
   implementations, User's 50 knowledge , methodology , or 5 tion . Acquisition Interface 120 also comprises the function
    style of operating Avatar 605 can be applied to or imple     ality for transmitting the obtained instruction sets , data ,
   mented on any Object 615 of Application Program 18 as and /or other information to Artificial Intelligence Unit 110
   applicable , thereby enabling any Object 615 to exemplify and /or other elements . As such , Acquisition Interface 120
   User's 50 knowledge , methodology , or style of operating as provides input into Artificial Intelligence Unit 110 for
   learned from User 50. For example , a computer game 10 knowledge structuring, anticipating , decision making, and /
   developer may associate Knowledgebase 530 comprising or other functionalities later in the process . Acquisition
   User's 50 knowledge , methodology , or style of operating          Interface 120 also comprises other disclosed functionalities .
   Avatar 605 with an Object 615 ( i.e. tank , robot, aircraft,             Acquisition Interface 120 can employ various techniques
   etc.), thereby enabling the Object 615 to operate based on for obtaining instruction sets, data , and /or other information .
   the knowledge in the Knowledgebase 530 .                           15 In one example , Acquisition Interface 120 can attach to
      Referring now to Acquisition Interface 120, Acquisition and /or obtain Avatar's 605 , Application Program's 18 , Pro
   Interface 120 comprises the functionality for obtaining and / cessor's 11 , and /or other processing element's instruction
   or receiving instruction sets , data , and/or other information . sets , data , and / or other information through tracing or pro
   Acquisition Interface 120 comprises the functionality for filing techniques. Tracing or profiling may be used for
   obtaining and /or receiving instruction sets , data , and/or other 20 outputting Avatar's 605 , Application Program's 18 , Proces
   information related to the operation of Avatar 605 , Appli sor's 11 , and/or other processing element's instruction sets,
   cation Program 18, Processor 11 , and /or other processing data , and /or other information at runtime. For instance ,
   element. Acquisition Interface 120 comprises the function             tracing or profiling may include adding trace code (i.e.
   ality for obtaining and /or receiving instruction sets , data , instrumentation , etc.) to Avatar 605 ( i.e. Avatar's 605 object
   and/or other information from Avatar 605 , Application Pro- 25 code, etc.) or Application Program 18 , and /or outputting
   gram 18 , Processor 11 , and /or other processing element. trace information to a specific target. The outputted trace
   Acquisition Interface 120 comprises the functionality for information (i.e. instruction sets , data , and /or other infor
   obtaining and /or receiving instruction sets, data, and /or other mation , etc.) can then be provided to or recorded into a file ,
   information at runtime. In one example , Acquisition Inter data structure, repository , application , and /or other system or
   face 120 can obtain Instruction Sets 526 used or executed in 30 target that may receive such trace information . As such ,
   operating Avatar 605 operation, and transmit the Instruction Acquisition Interface 120 can utilize tracing or profiling to
   Sets 526 to Artificial Intelligence Unit 110 for learning obtain instruction sets, data , and /or other information and
   Avatar's 605 operation in circumstances including objects provide them as input into Artificial Intelligence Unit 110. In
   with various properties. In another example , in Application some aspects , instrumentation can be performed in source
   Programs 18 that do not comprise Avatar 605 or do not rely 35 code, bytecode, compiled code, interpreted code , translated
   on Avatar 605 for their operation , Acquisition Interface 120 code, machine code , and/or other code . In other aspects,
   can obtain Instruction Sets 526 used or executed in operating instrumentation can be performed in various elements of a
   Application Program 18 , and transmit the Instruction Sets computing system such as memory, virtual machine , runtime
   526 to Artificial Intelligence Unit 110 for learning Applica      engine /environment, operating system , compiler, interpreter,
   tion Program’s 18 operation in circumstances including 40 translator, processor registers , and /or other elements. In yet
   objects with various properties . Acquisition Interface 120 other aspects , instrumentation can be performed in various
    also comprises the functionality for tracing or profiling of abstraction layers of a computing system such as in software
    Avatar 605 , Application Program 18 , Processor 11, and /or layer (i.e. Application Program 18 , etc.), in virtual machine
   other processing element. Tracing or profiling may include (if VM is used ), in operating system , in Processor 11 , and / or
   adding trace code or instrumentation to Avatar 605 ( i.e. 45 in other layers or areas that may exist in a particular
    Avatar's 605 object code, etc.) or Application Program 18 , computing system implementation . In yet other aspects ,
   and / or outputting trace information ( i.e. instruction sets, instrumentation can be performed at various times in Ava
   data , and / or other information , etc. ) to a receiving target. tar's 605 or Application Program's 18 execution such as
   Acquisition Interface 120 further comprises the functional source code write time, compile time, interpretation time,
   ity for attaching to or interfacing with Avatar 605 , Applica- 50 translation time, linking time, loading time, runtime, and /or
   tion Program 18 , Processor 11 , and /or other processing others. In yet other aspects, instrumentation can be per
    element. In some aspects, Acquisition Interface 120 can formed at various granularities or code segments such as
   access and /or read runtime engine/environment, virtual some or all lines of code , some or all statements, some or all
   machine , operating system , compiler, interpreter, translator, instructions or instruction sets , some or all basic blocks,
   execution stack , file , object, data structure, and /or other 55 some or all functions/routines /subroutines , and /or some or
   computing system elements . In other aspects, Acquisition all other code segments .
   Interface 120 can access and / or read memory , storage ,            In some embodiments, Avatar 605 (i.e. Avatar's 605
   and /or other repository. In further aspects , Acquisition Inter object code , etc. ) or Application Program 18 can be auto
   face 120 can access and/or read Processor 11 registers and/or matically instrumented . For example , Acquisition Interface
   other Processor 11 elements . In further aspects , Acquisition 60 120 can access Avatar's 605 or Application Program’s 18
   Interface 120 can access and /or read inputs and /or outputs of source code, bytecode , or machine code and select instru
   Avatar 605 , Application Program 18 , Processor 11 , and /or mentation points of interest . Selecting instrumentation
   other processing element. In further aspects , Acquisition points may include finding locations in the source code ,
   Interface 120 can access and /or read functions, methods, bytecode , or machine code corresponding to function calls ,
   procedures, routines , subroutines, and /or other elements of 65 function entries, function exits, object creations, object
   Avatar 605 and /or Application Program 18. In further destructions , event handler calls , new lines ( i.e. to instru
   aspects, Acquisition Interface 120 can access and / or read ment all lines of code, etc.), thread creations, throws, and /or
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   other points of interest. Instrumentation code can then be understand that, while all possible variations of the tech
   inserted at the instrumentation points of interest to output niques to obtain instruction sets, data, and/or other informa
   Avatar's 605 or Application Program's 18 instruction sets , tion are too voluminous to describe, these techniques are
   data , and /or other information . In response to executing within the scope of this disclosure .
   instrumentation code , Avatar's 605 or Application Pro- 5 In one example , obtaining Avatar's 605 and / or Applica
   gram's 18 instruction sets, data , and /or other information tion Program’s 18 instruction sets, data, and /or other infor
   may be received by Acquisition Interface 120. In some mation can be implemented through the .NET platform's
   aspects, Avatar's 605 or Application Program's 18 source native tools for application tracing or profiling such as
    code, bytecode , ormachine code can be dynamically instru          System.Diagnostics.Trace, System.Diagnostics.Debug, or
   mented . For example, instrumentation code can be dynami- 10 System.Diagnostics.TraceSource classes for tracing execu
   cally inserted into Avatar 605 (i.e. Avatar's 605 object code , tion flow , and / or System.Diagnostics.Process , System.Diag
    etc.) or Application Program 18 at runtime.                        nostics.EventLog, or System.Diagnostics.Performance
       In other embodiments , Avatar 605 or Application Program Counter classes for profiling code, accessing local and
    18 can be manually instrumented . In one example , a pro           remote processes, starting and stopping system processes,
    grammer can instrument a function call by placing an 15 and interacting with Windows event logs, etc. For instance ,
    instrumenting function such as traceAvatar ( ), trace Appli a set of trace switches can be created that output an appli
    cation ( ) , etc. immediately after the function call as in the cation's information . The switches can be configured using
   following example.                                                  the .config file . For a web application , this may typically be
       Avatar.moveForward ( 12);                                       web.config file associated with the project. In a Windows
       traceAvatar(“ Avatar.moveForward ( 12 );");                  20 application , this file may typically be named application
    In another example , an instrumenting function can be placed Name.exe.config. Trace code can be added to application
    immediately before the function call , or at the beginning, code automatically or manually as previously described.
    end, or anywhere within the function itself. A programmer Appropriate listener can be created where the trace output is
   may instrument all function calls or only function calls of received . Trace code can output trace messages to a specific
    interest . In a further example , a programmer can instrument 25 target such as a file , a log, a database, an object, a data
   all lines of code or only code lines of interest. In a further structure , and /or other repository or system . Acquisition
   example , a programmer can instrument other elements uti Interface 120 or Artificial Intelligence Unit 110 can then
    lized or implemented within Avatar 605 or Application read or obtain the trace information from these targets . In
   Program 18 such as objects and/or any of their functions , some aspects, trace code can output trace messages directly
   data structures and /or any of their functions, event handlers 30 to Acquisition Interface 120. In other aspects , trace code can
    and /or any of their functions, threads and / or any of their output trace messages directly to Artificial Intelligence Unit
    functions, and /or other elements or functions . Similar instru    110. In the case of outputting trace messages to Acquisition
   mentation as in the preceding examples can be performed Interface 120 or directly to Artificial Intelligence Unit 110 ,
   automatically or dynamically . In some designs where custom listeners can be built to accommodate these specific
   manual code instrumentation is utilized, Acquisition Inter- 35 targets . Other platforms, tools , and /or techniques can pro
    face 120 can optionally be omitted and Avatar's 605 or vide equivalent or similar functionalities as the above
    Application Program’s 18 instruction sets , data , and /or other described ones.
    information may be transmitted directly to Artificial Intel           In another example , obtaining Avatar's 605 and /or Appli
    ligence Unit 110 .                                                 cation Program's 18 instruction sets , data , and /or other
       In some embodiments , ACAAO Unit 100 can be selective 40 information can be implemented through the .NET plat
   in learning instruction sets , data, and /or other information to form's Profiling API that can be used to create a custom
    those implemented , utilized , or related to an object, data profiler application for tracing ,monitoring , interfacing with ,
    structure , repository, thread , function, and/or other element and/or managing a profiled application . The Profiling API
   of Application Program 18. In some aspects , Acquisition provides an interface that includes methods to notify the
    Interface 120 can obtain Application Program's 18 instruc- 45 profiler of events in the profiled application . The Profiling
    tion sets , data , and /or other information implemented , uti API may also provide an interface to enable the profiler to
    lized , or related to a certain object in an object oriented call back into the profiled application to obtain information
    Application Program 18.For example, Acquisition Interface about the state of the profiled application . The Profiling API
   120 can obtain Application Program's 18 instruction sets, may further provide call stack profiling functionalities. Call
   data , and/or other information implemented , utilized , or 50 stack (also referred to as execution stack , control stack ,
   related to Avatar 605 .                                             runtime stack , machine stack , the stack , etc.) includes a data
       In some embodiments, various computing systems and/or structure that can store information about active subroutines
   platformsmay provide native tools for obtaining instruction of an application . The Profiling API may provide a stack
   sets, data , and /or other information . Also , independent ven     snapshot method , which enables a trace of the stack at a
    dors may provide portable tools with similar functionalities 55 particular point in time. The Profiling APImay also provide
    that can be utilized across different computing systems a shadow stack method , which tracks the call stack at every
    and /or platforms. These native and portable tools may instant. A shadow stack can obtain function arguments ,
   provide a wide range of functionalities such as instrumen           return values, and information about generic instantiations .
   tation , tracing or profiling, logging application or system        A function such as Function Enter can be utilized to notify
   messages, outputting custom text messages, outputting 60 the profiler that control is being passed to a function and can
   objects or data structures, outputting functions/ routines / provide information about the stack frame and function
    subroutines or their invocations, outputting variable or arguments . A function such as FunctionLeave can be utilized
   parameter values, outputting thread or process behaviors, to notify the profiler that a function is about to return to the
   outputting call or other stacks, outputting processor regis caller and can provide information about the stack frameand
   ters, providing runtime memory access, providing inputs 65 function return value. An alternative to call stack profiling
   and /or outputs , performing live application monitoring, and/ includes call stack sampling in which the profiler can
    or other capabilities. One of ordinary skill in art will periodically examine the stack . In some aspects , the Profil
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    ing API enables the profiler to change the in -memory code profiling . Examples of methods provided in java.lang.Run
   stream for a routine before it is just - in -time (JIT ) compiled time that can be used to obtain an application's instruction
   where the profiler can dynamically add instrumentation code sets, data , and /or other information include tracemethod
   to all or particular routines of interest. Other platforms, calls, traceinstructions, and /or other methods. These meth
    tools, and/or techniques may provide equivalent or similar 5 ods prompt the Java Virtual Machine to output trace infor
    functionalities as the above described ones .                     mation for a method or instruction in the virtual machine as
       In a further example ,obtaining Avatar's 605 and /or Appli      it is executed . The destination of trace output may be system
   cation Program's 18 instruction sets , data , and /or other dependent and include a file , a listener, and/or other desti
    information can be implemented through Java platform's nations where Acquisition Interface 120 , Artificial Intelli
    APIs for application tracing or profiling such as Java Virtual 10 gence Unit 110 , and /or other disclosed elements can access
   Machine Profiling Interface (JVMPI), Java VirtualMachine needed information . In addition to tracing or profiling tools
    Tool Interface ( JVMTI), and /or other APIs or tools. These native to their respective computing systems and /or plat
    APIs can be used for instrumentation of an application , for forms, many independent tools exist that provide tracing or
   notification of Java Virtual Machine (VM ) events , and /or profiling functionalities on more than one computing system
   other functionalities. One of the tracing or profiling tech- 15 and /or platform . Examples of these tools include Pin ,
   niques that can be utilized includes bytecode instrumenta          DynamoRIO , KemInst, DynInst, Kprobes , OpenPAT,
   tion . The profiler can insert bytecodes into all or some of the DTrace , SystemTap , and /or others. Other platforms, tools,
   classes. In application execution profiling, for example ,           and /or techniques may provide equivalent or similar func
   these bytecodes may include methodEntry and methodExit tionalities as the above described ones .
   calls . In memory profiling, for example, the bytecodes may 20 In a further example , obtaining Avatar's 605 and /or Appli
   be inserted after each new or after each constructor. In some cation Program’s 18 instruction sets , data , and /or other
   aspects, insertion of instrumentation bytecode can be per       information can be implemented through logging tools of
   formed either by a post- compiler or a custom class loader. the platform and /or operating system on which an applica
   An alternative to bytecode instrumentation includes moni tion runs. Some logging tools may include nearly full feature
   toring events generated by the JVMPI or JVMTI interfaces. 25 sets of the tracing or profiling tools previously described . In
   Both APIs can generate events formethod entry /exit , object one example , Visual Basic enables logging of runtime
   allocation , and / or other events . In some aspects, JVMTI can messages through its Microsoft.VisualBasic.Logging
   be utilized for dynamic bytecode instrumentation where namespace that provides a log listener where the log listener
    insertion of instrumentation bytecodes is performed at run may direct logging output to a file and /or other target. In
   time. The profiler may insert the necessary instrumentation 30 another example, Java enables logging through its java.u
   when a selected class is invoked in an application . This can til.logging class. In someaspects, obtaining an application's
   be accomplished using the JVMTI's redefineClasses instruction sets, data , and /or other information can be imple
   method , for example. This approach also enables changing mented through logging capabilities of the operating system
   of the level of profiling as the application is running . If on which an application runs. For example , Windows NT
   needed , these changes can be made adaptively without 35 features centralized log service that applications and oper
   restarting the application . Other platforms, tools, and /or ating -system components can utilize to report their events
   techniques may provide equivalent or similar functionalities including any messages . Windows NT provides functional
   as the above described ones .                                       ities for system , application , security, and /or other logging .
      In a further example, obtaining Avatar's 605 and /or Appli An application log may include events logged by applica
   cation Program's 18 instruction sets , data, and/or other 40 tions. Windows NT, for example , may include support for
    information can be implemented through JVMTI's program             defining an event source ( i.e. application that created the
   ming interface that enables creation of software agents that event, etc.). Windows Vista , for example , supports a struc
   can monitor and control a Java application . An agent may tured XML log - format and designated log types to allow
   use the functionality of the interface to register for notifi applications to more precisely log events and to help inter
   cation of events as they occur in the application , and to query 45 pret the events. Examples of different types of event logs
   and control the application . A JVMTI agentmay use JVMTI include administrative , operational, analytic , debug, and/or
   functions to extract information from a Java application . A other log types including any of their subcategories .
   JVMTI agent can be utilized to obtain an application's Examples of event attributes that can be utilized include
   runtime information such as method calls , memory alloca            eventID , level , task , opcode , keywords, and /or other event
   tion , CPU utilization , and /or other information . JVMTImay 50 attributes. Windows wevtutil tool enables access to events ,
   include functions to obtain information about variables, their structures, registered event publishers, and/or their
   fields, methods, classes, and /or other information . JVMTI configuration even before the events are fired . Wevtutil
   may also provide notification for numerous events such as supports capabilities such as retrieval of the names of all
   method entry and exit , exception , field access and modifi logs on a computing device ; retrieval of configuration infor
   cation , thread start and end , and /or other events . Examples 55 mation for a specific log ; retrieval of event publishers on a
   of JVMTI built -in methods include GetMethodName to computing device ; reading events from an event log , from a
   obtain the name of an invoked method, GetThreadInfo to log file , or using a structured query ; exporting events from
   obtain information for a specific thread , GetClass Signature an event log , from a log file , or using a structured query to
   to obtain information about the class of an object, GetStack     a specific target; and /or other capabilities. Operating system
    Trace to obtain information about the stack including infor- 60 logs can be utilized solely if they contain sufficient infor
   mation about stack frames, and / or other methods. Other mation on an application's instruction sets , data , and /or
   platforms, tools , and /or techniques may provide equivalent other information . Alternatively , operating system logs can
   or similar functionalities as the above described ones .       be utilized in combination with another source of informa
      In a further example , obtaining Avatar's 605 and/ or Appli tion ( i.e. trace information , call stack , processor registers ,
   cation Program's 18 instruction sets , data, and /or other 65 memory, etc.) to reconstruct the application's instruction
   information can be implemented through java.lang.Runtime sets, data, and / or other information needed for Artificial
   class that provides an interface for application tracing or Intelligence Unit 110 and/or other elements . In addition to
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   logging capabilities native to their respective platforms and /or techniques may provide equivalent or similar func
   and/or operating systems,many independent tools exist that tionalities as the above described ones .
   provide logging on different platforms and/ or operating         In a further example ,obtaining Avatar's 605 and /or Appli
   systems. Examples of these tools include Log4j , Logback , cation Program's 18 instruction sets , data , and / or other
   SmartInspect, NLog , log4net, Microsoft Enterprise Library , 5 information can be implemented through branch tracing or
   ObjectGuy Framework , and/or others. Other platforms,              profiling. Branch tracing may include an abbreviated
   tools, and / or techniques may provide equivalent or similar       instruction trace in which only the successfulbranch instruc
   functionalities as the above described ones .                      tion sets are traced or recorded . Branch tracing can be
     In a further example , obtaining Avatar's 605 and / or Appli     implemented through utilizing dedicated processor com
   cation Program's 18 instruction sets, data , and/or other 10 mands , for example. Executed branches may be saved into
                                                                special branch trace store area of memory. With the avail
   information can be implemented through tracing or profiling     ability and reference to a compiler listing of the application
   the operating system on which an application runs. As in        together with branch trace information , a full path of
   tracing or profiling an application , one of the techniques thatexecuted instruction sets can be reconstructed . The full path
   can be utilized includes adding instrumentation code to the 15 can also be reconstructed with a memory dump ( containing
   operating system's source code. Such instrumentation code the program storage) and branch trace information . In some
   can be added to the operating system's source code before aspects, branch tracing can be utilized for pre-learning or
   kernel compilation or recompilation , for instance. This type automated learning of an application's instruction sets, data ,
   of instrumentation may involve defining or finding locations and /or other information where a number of application
   in the operating system's source code where instrumentation 20 simulations ( i.e. simulations of likely /common operations,
   code may be inserted . Kernel instrumentation can also be etc. ) are performed . As such , the application's operation can
   performed without the need for kernel recompilation or be learned automatically saving the time that would be
   rebooting. In some aspects , instrumentation code can be needed to learn the application's operation directed by a
   added at locations of interest through binary rewriting of user. Other platforms, tools , and /or techniques may provide
   compiled kernel code. In other aspects , kernel instrumenta- 25 equivalent or similar functionalities as the above described
   tion can be performed dynamically where instrumentation ones .
   code is added and/ or removed where needed at runtime. For         In a further example, obtaining Avatar's 605 and /or Appli
   instance , dynamic instrumentation may overwrite kernel cation Program's 18 instruction sets, data , and /or other
   code with a branch instruction that redirects execution to         information can be implemented through assembly lan
   instrumentation code or instrumentation routine. In yet other 30 guage. Assembly language is a low - level programming
   aspects , kernel instrumentation can be performed using language for a computer or other programmable device in
   just-in -time (JIT ) dynamic instrumentation where execution which there is a strong correlation between the language and
   may be redirected to a copy of kernel's code segment that the architecture's machine instruction sets. Syntax, address
   includes instrumentation code. This type of instrumentation ing modes, operands, and /or other elements of an assembly
   may include a JIT compiler and creation of a copy of the 35 language instruction set may translate directly into numeric
   original code segment having instrumentation code or calls ( i.e. binary, etc.) representations of that particular instruction
   to instrumentation routines embedded into the original code set.Because of this direct relationship with the architecture's
   segment. Instrumentation of the operating system may machine instruction sets , assembly language can be a pow
   enable total system visibility including visibility into an erful tool for tracing or profiling an application's execution
   application's behavior by enabling generation of low level 40 in processor registers , memory , and /or other computing
   trace information . Other platforms, tools, and /or techniques system components . For example , using assembly language,
   may provide equivalent or similar functionalities as the memory locations of a loaded application can be accessed ,
   above described ones.                                          instrumented , and /or otherwise manipulated . In some
      In a further example, obtaining Avatar's 605 and /or Appli aspects , assembly language can be used to rewrite or over
   cation Program’s 18 instruction sets , data , and/or other 45 write original in -memory instruction sets of an application
   information can be implemented through tracing or profiling with instrumentation instruction sets. In other aspects ,
   the processor on which an application runs. For example, assembly language can be used to redirect application's
    some Intel processors provide Intel Processor Trace ( i.e. execution to instrumentation routine/ subroutine or other
   Intel PT, etc. ), a low -level tracing feature that enables code segment elsewhere in memory by inserting a jump into
   recording executed instruction sets , and/or other data or 50 the application's in -memory code, by redirecting program
    information of one or more applications. Intel PT is facili counter, or by other techniques. Some operating systems
   tated by the Processor Trace Decoder Library along with its may implement protection from changes to applications
   related tools . Intel PT is a low -overhead execution tracing loaded into memory . Operating system , processor, or other
   feature that records information about application execution low level commands such as Linux mprotect command or
   on each hardware thread using dedicated hardware facilities. 55 similar commands in other operating systems may be used
   The recorded execution /trace information is collected in data     to unprotect the protected locations in memory before the
   packets that can be buffered internally before being sent to change . In yet other aspects, assembly language can be used
   a memory subsystem or another system or element ( i.e. to obtain instruction sets, data , and /or other information
   Acquisition Interface 120, Artificial Intelligence Unit 110 , through accessing and / or reading instruction register, pro
   etc.). Intel PT also enables navigating the recorded execu- 60 gram counter, other processor registers, memory locations,
   tion / trace information via reverse stepping commands. Intel and /or other components of a computing system . In yet other
   PT can be included in an operating system's core files and aspects , high -level programming languages may call or
   provided as a feature of the operating system . Intel PT can execute an external assembly language program to facilitate
   trace globally some or all applications running on an oper obtaining instruction sets, data, and/or other information as
   ating system . Acquisition Interface 120 or Artificial Intelli- 65 previously described . In yet other aspects, relatively low
   gence Unit 110 can read or obtain the recorded execution/ level programming languages such as C may allow embed
   trace information from Intel PT. Other platforms, tools ,          ding assembly language directly in their source code such as,
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   for example, using asm keyword of C. Other platforms,              cated by the instruction set, saving the results of execution ,
   tools, and/or techniques may provide equivalent or similar        and/ or other execution steps. Examples of the types of
   functionalities as the above described ones .                     machine instruction sets that can be utilized include arith
      In a further example, it may be sufficient to obtain user or   metic , data handling, logical, program control, as well as
   other inputs , variables , parameters , and /or other data in 5 special and/ or other instruction set types. In addition to the
   some procedural, simple object oriented , or other applica ones described or shown, examples of other computing
   tions. In one instance, a simple procedural application system or processor components that can be used during an
   executes a sequence of instruction sets until the end of the instruction cycle include memory address register (MAR )
   program . During its execution , the application may receive thatmay hold the address of a memory block to be read from
   user or other input, store the input in a variable , and perform 10 or written to ; memory data register (MDR ) that may hold
   calculations using the variable to reach a result. The value of data fetched from memory or data waiting to be stored in
   the variable can be obtained or traced . In another instance , memory ; data registers that may hold numeric values, char
   a more complex procedural application comprises one or acters, small bit arrays , or other data ; address registers that
   more functions/ routines /subroutines each of which may may hold addresses used by instruction sets that indirectly
   include a sequence of instruction sets . The application may 15 access memory; general purpose registers (GPRS) that may
   execute a main sequence of instruction sets with a branch to      store both data and addresses ; conditional registers thatmay
   a function /routine/subroutine. During its execution , the        hold truth values often used to determine whether some
   application may receive user or other input, store the input      instruction set should or should not be executed ; floating
   in a variable , and pass the variable as a parameter to the point registers (FPRs) that may store floating point numbers ;
   function /routine/subroutine . The function / routine/subrou- 20 constant registers that may hold read -only values such as
   tine may perform calculations using the parameter and zero , one , or pi; special purpose registers (SPRs) such as
   return a value that the rest of the application can use to reach status register , program counter, or stack pointer that may
   a result . The value ofthe variable or parameter passed to the hold information on program state ; machine -specific regis
   function /routine/ subroutine, and /or return value can be ters that may store data and settings related to a particular
   obtained or traced . Values of user or other inputs, variables, 25 processor; Register Array 214 that may include an array of
   parameters, and/or other items of interest can be obtained        any number of processor registers; Arithmetic Logic Unit
   through previously described tracing , instrumentation , and /    215 that may perform arithmetic and logic operations ;
   or other techniques. Other platforms, tools, and/or tech          control unit that may direct processor's operation ; and /or
   niques may provide equivalent or similar functionalities as other circuits or components. Tracing, profiling , or sampling
   the above described ones .                                     30 of processor registers, memory, or other computing system
      Referring to FIG . 6 , in yet another example , obtaining components can be implemented in a program , combination
   Avatar's 605 and /or Application Program's 18 instruction ofhardware and program , or purely hardware system . Dedi
   sets , data , and/ or other information may be implemented cated hardware may be built to perform tracing, profiling, or
   through tracing , profiling, or sampling of instruction sets or sampling of processor registers or any computing system
   data in processor registers , memory, or other computing 35 components with marginal or no impact to computing over
   system components where instruction sets, data , and/ or other    head .
   information may be stored or utilized . For example, Instruc         One of ordinary skill in art will recognize that FIG . 6
   tion Register 212 may be part of Processor 11 and it may          depicts one ofmany implementations of processor or com
   store the instruction set currently being executed or decoded .   puting system components, and that various additional com
   In some processors, Program Counter 211 (also referred to 40 ponents can be included , or some of the disclosed ones can
   as instruction pointer, instruction address register, instruc be excluded , or a combination thereof can be utilized in
    tion counter, or part of instruction sequencer , etc.) may be alternate implementations. Processor or computing system
    incremented after fetching an instruction set, and it may hold components may be arranged or connected differently in
    or point to the memory address of the next instruction set to alternate implementations. Processor or computing system
   be executed . In a processor where the incrementation pre- 45 components may also be connected with external elements
   cedes the fetch , Program Counter 211 may point to the using various connections. For instance , the connection
   current instruction set being executed . In the instruction between Instruction Register 212 and Acquisition Interface
    cycle , an instruction set may be loaded into Instruction 120 may include any number or types of connections such
   Register 212 after Processor 11 fetches it from location in as, for example , a dedicated connection for each bit of
   Memory 12 pointed to by Program Counter 211. Instruction 50 Instruction Register 212 ( i.e. 32 connections for a 32 bit
   Register 212 may hold the instruction set while it is decoded Instruction Register 212 , etc.). Any of the described or other
   by Instruction Decoder 213, prepared , and executed . In connections or interfaces may be implemented among any
   some aspects, data (i.e. operands, etc.) needed for instruction processor or computing system components and Acquisition
   set execution may be loaded from Memory 12 into a register Interface 120 or other elements .
   within Register Array 214. In other aspects, the data may be 55 Other additional techniques or elements can be utilized as
   loaded directly into Arithmetic Logic Unit 215. For instance , needed for obtaining instruction sets , data, and /or other
   as instruction sets pass through Instruction Register 212 information , or some of the disclosed techniques or elements
   during application execution , they may be transmitted to can be excluded , or a combination thereof can be utilized in
   Acquisition Interface 120 as shown. Examples of the steps alternate embodiments . As an avatar (i.e. Avatar 605 , etc.)
    in execution of a machine instruction set may include 60 may be part ofan application ( i.e. Application Program 18 ,
   decoding the opcode ( i.e. portion of a machine instruction etc.), it should be noted that obtaining an avatar's instruction
   set that may specify the operation to be performed ), deter sets, data , and /or other information may include same or
   mining where the operands may be located (depending on similar techniques as the aforementioned obtaining an appli
   architecture , operands may be in registers, the stack , cation's instruction sets , data , and /or other information , and
   memory, I/O ports , etc.), retrieving the operands, allocating 65 vice versa.
   processor resources to execute the instruction set (needed in        Referring to FIGS. 7A -7E , some embodiments of Instruc
   some types of processors), performing the operation indi          tion Sets 526 are illustrated . In some aspects, Instruction Set
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   526 includes one or more instructions or commands related             stored in Extra Info 527 can be set by a user , by ACAAO
   to Avatar 605. For example , Instruction Set 526 may include          system administrator, or automatically by the system . Extra
   one or more instructions or commands for operating Avatar              Info 527 may include or be referred to as contextual infor
   605. In other aspects, Instruction Set 526 includes one or            mation , and vice versa. Therefore, these termsmay be used
   more instructions or commands of Application Program 18.5 interchangeably herein depending on context.
   For example, Instruction Set 526 may include one or more          In some aspects , time information ( i.e. time stamp, etc.)
   instructions or commands for operating Application Pro         can be utilized and / or stored in Extra Info 527. Time
   gram 18. In further aspects , Instruction Set 526 includes one information can be useful in comparisons or decision mak
   or more inputs into and /or outputs from Avatar 605 , Appli ing performed in autonomous Avatar 605 operation related
   cation Program 18 , Processor 11 , and /or other processing 10 to a specific time period . For example , Extra Info 527 may
   element. In further aspects , Instruction Set 526 includes one        include time information related to when Avatar 605 per
   ormore values or states of registers and /or other components         formed an operation . Time information can be obtained from
   of Processor 11 and/ or other processing element. In general,         the system clock , online clock , oscillator, or other time
   Instruction Set 526 may include one or more instructions,             source. In other aspects , location information ( i.e. coordi
   commands, keywords, symbols ( i.e. parentheses, brackets, 15 nates, etc.) can be utilized and /or stored in Extra Info 527.
   commas, semicolons, etc.), operators (i.e. 5 , > , etc. ),            Location information can be useful in comparisons or deci
   variables, values, objects, data structures , functions ( i.e.        sion making performed in autonomous Avatar 605 operation
   Function1( ), FIRST ( ) , MIN ( ) , SQRT ( ), etc. ), parameters,     related to a specific place. For example , Extra Info 527 may
   states, signals, inputs , outputs, characters , digits , references   include location information related to where Avatar 605
   thereto , and /or other components . Therefore, the terms 20 performed an operation . Location information can be
   instruction set, command , instruction , signal, or other such obtained from Application Program’s 18 engine ( i.e. game
   terms may be used interchangeably herein depending on engine in which the game is implemented , etc.), runtime
   context.                                                       environment, functions for providing location information
      In an embodiment shown in FIG . 7A , Instruction Set 526 on objects , and /or others as previously described . In further
   includes code of a high -level programming language ( i.e. 25 aspects , computed information can be utilized and /or stored
   Java, C ++, etc.) comprising the following function call in Extra Info 527. Computed information can be useful in
   construct :     Function1        (Parameter ,        Parameter2 ,     comparisons or decision making performed in autonomous
   Parameter3, . ). An example of a function call applying the           Avatar 605 operation where information can be calculated ,
   above construct includes the following Instruction Set 526 : inferred , or estimated from other available information .
   moveTo ( Avatar, 11, 23 ). The function or reference thereto 30 ACAAO Unit 100 may include computational functional
   “ moveTo ( Avatar, 11 , 23 )” may be an Instruction Set 526 ities to create Extra Info 527 by performing calculations,
   directing Avatar 605 to move to a location with coordinates inferences , or estimations using other information . In one
   11 and 23 , for example. In another embodiment shown in example , Avatar's 605 direction ofmovement can be com
   FIG . 7B , Instruction Set 526 includes structured query         puted or estimated using Avatar's 605 location information .
   language ( SQL ). In a further embodiment shown in FIG . 7C , 35 In another example, Avatar's 605 speed can be computed or
   Instruction Set 526 includes bytecode ( i.e. Java bytecode, estimated using Avatar's 605 location and /or time informa
   Python bytecode, CLR bytecode , etc.). In a further embodi tion . In a further example, speeds, directions ofmovement,
   ment shown in FIG . 7D , Instruction Set 526 includes assem      trajectories, distances, and /or other properties of objects
   bly code . In a further embodiment shown in FIG . 7E , around Avatar 605 can similarly be computed or estimated ,
   Instruction Set 526 includes machine code. Instruction Set 40 thereby providing geo -spatial and situational awareness and /
   526 may include any other language or construct in alternate or capabilities to Avatar 605.ACAAO Unit 100 can utilize
   embodiments .                                                    geometry, trigonometry, Pythagorean theorem , and /or other
      Referring to FIGS. 8A -88B , some embodiments of Extra theorems, formulas, or disciplines in its calculations, infer
   Information 527 (also referred to as Extra Info 527 ) are ences, or estimations. In further aspects , visual information
   illustrated. In an embodiment shown in FIG . 8A , Collection 45 can be utilized and /or stored in Extra Info 527. Visual
   of Object Representations 525 may include or be associated information can be useful in comparisons or decision mak
   with Extra Info 527. In an embodiment shown in FIG . 8B , ing performed in autonomous Avatar 605 operation related
   Instruction Set 526 may include or be associated with Extra to an object or environment that can be recognized from
   Info 527 .                                                       visual information . For example , an object or environment
      Extra Info 527 comprises the functionality for storing any 50 can be recognized by processing one or more digital pictures
   information useful in comparisons or decision making per from Picture Renderer 91, visual processor, visual program ,
   formed in autonomous Avatar 605 operation , and /or other             or other visual provider. Any features , functionalities, and
   functionalities . One or more Extra Infos 527 can be stored           embodiments of Picture Recognizer 92 can be utilized for
   in , appended to , or associated with a Collection of Object such recognizing as previously described . For instance, trees
   Representations 525 , Instruction Set 526 , and /or other ele- 55 recognized in the background of one or more digital pictures
   ment. In some embodiments , the system can obtain Extra from Picture Renderer 91 may indicate a park or forest. In
   Info 527 at a time of creating or generating Collection of further aspects, acoustic information can be utilized and /or
   Object Representations 525. In other embodiments , the stored in Extra Info 527. Acoustic information can be useful
   system can obtain Extra Info 527 at a time of acquiring in comparisons or decision making performed in autono
   Instruction Set 526. In general, Extra Info 527 can be 60 mous Avatar 605 operation related to a sound or accosting
   obtained at any time. Examples of Extra Info 527 include environment. For example , an object or environment can be
   time information , location information , computed informa recognized by processing digital sound from Sound Ren
   tion , visual information , acoustic information, contextual  derer 96 , sound processor, sound program , or other sound
   information , and /or other information . Any information can provider. Any features , functionalities , and embodiments of
   be utilized that can provide information for enhanced com- 65 Sound Recognizer 97 can be utilized for such recognizing as
   parisons or decision making performed in autonomous Ava previously described . For instance , sound of a horn recog
   tar 605 operation. Which information is utilized and/or               nized in digital sound from Sound Renderer 96 may indicate
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                                   97                                                             98
   a proximal vehicle. In further aspects, other information can another example , Knowledgebase 530 (later described ) can
   be utilized and / or stored in Extra Info 527. Examples of such  reside on Server 96 and the rest of the elements of ACAAO
   other information include user specific information ( i.e. skill Unit 100 can reside on Computing Device 70. Any other
   level, age, gender, etc.), group user information (i.e. access combination of local and remote elements can be imple
   level, etc.), version of Application Program 18 , type of 5 mented .
   Application Program 18, type of Avatar 605, name of Avatar         Referring to FIG . 11 , an embodiment of Artificial Intel
   605 , allegiance of Avatar 605 , type of Processor 11, type of ligence Unit 110 is illustrated . Artificial Intelligence Unit
   Computing Device 70 , and /or other information all ofwhich 110 comprises interconnected Knowledge Structuring Unit
   can be obtained from various devices, systems, repositories, 520 , Knowledgebase 530 , Decision -making Unit 540 , and
   functions, or elements of Computing Device 70 , Processor 10 Confirmation Unit 550. Other additional elements can be
   11, Application Program 18 , Avatar 605 , and /or other pro      included as needed , or some of the disclosed ones can be
   cessing elements.                                                excluded , or a combination thereof can be utilized in alter
      Referring to FIG . 9 , an embodiment where ACAAO Unit nate embodiments .
   100 is part of or operating on Processor 11 is illustrated . In     Artificial Intelligence Unit 110 comprises the functional
   one example, ACAAO Unit 100 may be a hardware element 15 ity for learning Avatar's 605 operation in circumstances
   or circuit embedded or built into Processor 11. In another         including objects with various properties. Artificial Intelli
   example, ACAAO Unit 100 may be a program operating on              gence Unit 110 comprises the functionality for learning one
   Processor 11 .                                             or more collections of object representations correlated with
      Referring to FIG . 10 , an embodimentwhere ACAAO Unit any instruction sets , data, and/ or other information . In some
    100 resides on Server 96 accessible over Network 95 is 20 aspects, Artificial Intelligence Unit 110 comprises the func
   illustrated . Any number of Computing Devices 70 , Proces  tionality for learning one or more Collections of Object
   sors 11, Application Programs 18 , and/or other elements Representations 525 representing Objects 615 in Avatar's
   may connect to such remote ACAAO Unit 100 and the 605 surrounding correlated with any Instruction Sets 526
   remote ACAAO Unit 100 may learn operations of their and /or Extra Info 527. The Instruction Sets 526 may be used
    Avatars 605 in circumstances including objects with various 25 or executed in operating Avatar 605. In other aspects,
    properties. In turn , any number of Computing Devices 70 , Artificial Intelligence Unit 110 comprises the functionality
    Processors 11, Application Programs 18 , and /or other ele for learning one ormore Collections of Object Representa
   ments can utilize the remote ACAAO Unit 100 for autono           tions 525 representing Objects 615 in Avatar's 605 sur
   mous operation of their Avatars 605. A remote ACAAO Unit rounding some of which may not be correlated with any
    100 can be offered as a network service ( i.e. online appli- 30 Instruction Sets 526 and /or Extra Info 527. Further, Artificial
   cation, etc.). In some aspects , a remote ACAAO Unit 100 Intelligence Unit 110 comprises the functionality for antici
   ( i.e. global ACAAO Unit 100 , etc.) may reside on the pating Avatar's 605 operation in circumstances including
    Internet and be available to all the world's Computing objects with various properties. Artificial Intelligence Unit
   Devices 70 , Processors 11, Application Programs 18 , and /or 110 comprises the functionality for anticipating one or more
    other elements configured to transmit operations of their 35 instruction sets , data , and/or other information . Artificial
    Avatars 605 in circumstances including objects with various Intelligence Unit 110 comprises the functionality for antici
    properties and /or configured to utilize the remote ACAAO pating one or more Instruction Sets 526 ( i.e. anticipatory
   Unit 100 for autonomous operation of their Avatars 605. For Instruction Sets 526 , etc.) based on one or more incoming
    example , multiple players ( i.e. Users 50 , etc.) may operate Collections of Object Representations 525 representing
   their Avatars 605 in a computer game ( i.e. Application 40 Objects 615 in Avatar's 605 surrounding . The one ormore
    Program 18 , etc. ) running on their respective Computing Instruction Sets 526 ( i.e. anticipatory Instruction Sets 526 ,
   Devices 70 where the Computing Devices 70 and /or ele            etc.) may be used or executed in Avatar's 605 autonomous
   ments thereof may be configured to transmit Avatar's 605 operation . In some embodiments of Application Programs
    operations in circumstances including objects with various 18 that do not comprise Avatar 605 or rely on Avatar 605 for
   properties to a remote ACAAO Unit 100. Such remote 45 their operation , Artificial Intelligence Unit 110 comprises
    ACAAO Unit 100 enables learning of the players ' collective the functionality for learning Application Program's 18
   knowledge of operating Avatar 605 in circumstances includ operation in circumstances including objects with various
    ing objects with various properties . Server 96 may be or properties similar to the learning functionalities described
   include any type or form of a remote computing device such with respect to Avatar 605. Also , in such embodiments ,
    as an application server, a network service server, a cloud 50 Artificial Intelligence Unit 110 comprises the functionality
    server, a cloud , and /or other remote computing device . for anticipating Application Program's 18 operation in cir
   Server 96 may include any features , functionalities , and cumstances including objects with various properties similar
   embodiments of Computing Device 70. It should be under           to the anticipating functionalities described with respect to
   stood that Server 96 does not have to be a separate com          Avatar 605. Artificial Intelligence Unit 110 also comprises
   puting device and that Server 96 , its elements, or its func- 55 other disclosed functionalities .
   tionalities can be implemented on Computing Device 70 .             Knowledge Structuring Unit 520 , Knowledgebase 530 ,
   Network 95 may include various networks, connection and Decision -making Unit 540 are described later.
   types, protocols, interfaces, APIs , and /or other elements or      Confirmation Unit 550 comprises the functionality for
   techniques known in art all ofwhich are within the scope of confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
   this disclosure. Any of the previously described networks, 60 canceling one or more anticipatory Instruction Sets 526 ,
   network or connection types, networking interfaces, and /or and/ or other functionalities. Confirmation Unit 550 is an
   other networking elements or techniques can similarly be optional element that can be omitted depending on imple
   utilized . Any of the disclosed elements can reside on Server    mentation . In some embodiments, Confirmation Unit 550
   96 in alternate implementations. In one example , Artificial can serve as a means of confirming anticipatory Instruction
   Intelligence Unit 110 can reside on Server 96 and Acquisi- 65 Sets 526. For example , Decision -making Unit 540 may
   tion Interface 120 ,Modification Interface 130 , and / or Object determine one or more anticipatory Instruction Sets 526 and
   Processing Unit 140 can reside on Computing Device 70. In provide them to User 50 for confirmation . User 50 may be
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   provided with an interface ( i.e. graphical user interface, in order to provide an uninterrupted operation of Avatar 605 ,
   selectable list of anticipatory Instruction Sets 526 , etc.) to Processor 11 , and/or Application Program 18. For example ,
   approve or confirm execution of the anticipatory Instruction a form based application may be suitable for implementing
   Sets 526. In some aspects, Confirmation Unit 550 can the user confirmation step ,whereas, a game application may
   automate User 50 confirmation . In one example , if one or 5 be less suitable for implementing such interrupting step due
   more incoming Collections of Object Representations 525 to the real time nature of game application's operation .
   from Object Processing Unit 140 and one or more Collec            Referring to FIG . 12 , an embodiment of Knowledge
    tions of Object Representations 525 from a Knowledge Cell Structuring Unit 520 correlating individual Collections of
   800 were found to be a perfect or highly similar match , Object Representations 525 with any Instruction Sets 526
   anticipatory Instruction Sets 526 correlated with the one or 10 and /or Extra Info 527 is illustrated . Knowledge Structuring
   more Collections of Object Representations 525 from the Unit 520 comprises the functionality for structuring the
   Knowledge Cell 800 can be automatically executed without           knowledge of Avatar's 605 operation in circumstances
   User's 50 confirmation . Conversely , if one or more incom   including objects with various properties, and /or other func
   ing Collections of Object Representations 525 from Object tionalities. Knowledge Structuring Unit 520 comprises the
   Processing Unit 140 and one or more Collections of Object 15 functionality for correlating one or more Collections of
   Representations 525 from a Knowledge Cell 800 were found Object Representations 525 representing Objects 615 in
    to be less than a highly similar match , anticipatory Instruc Avatar's 605 surrounding with any Instruction Sets 526
   tion Sets 526 correlated with the one or more Collections of and/or Extra Info 527. The Instruction Sets 526 may be used
   Object Representations 525 from the Knowledge Cell 800 or executed in operating Avatar 605. Knowledge Structuring
    can be presented to User 50 for confirmation and /or modi- 20 Unit 520 comprises the functionality for creating or gener
   fying. Any features , functionalities, and/or embodiments of ating Knowledge Cell 800 and storing one or more Collec
   Similarity Comparison 125 ( later described ) can be utilized tions of Object Representations 525 correlated with any
    for such similarity determination. In other embodiments, Instruction Sets 526 and/ or Extra Info 527 into the Knowl
   Confirmation Unit 550 can serve as a means ofmodifying or edge Cell 800. As such , Knowledge Cell 800 comprises the
   editing anticipatory Instruction Sets 526. For example , Deci- 25 functionality for storing one or more Collections of Object
   sion -making Unit 540 may determine one or more antici Representations 525 correlated with any Instruction Sets 526
   patory Instruction Sets 526 and provide them to User 50 for and/or Extra Info 527. Knowledge Cell 800 includes knowl
   modification .User 50 may be provided with an interface ( i.e. edge (i.e. unit of knowledge , etc.) of how Avatar 605
    graphical user interface , etc.) to modify the anticipatory operated in a circumstance including objects with various
   Instruction Sets 526 before their execution . In further 30 properties. Once created or generated ,Knowledge Cells 800
    embodiments, Confirmation Unit 550 can serve as a means can be used in /as neurons, nodes, vertices , or other elements
   of evaluating or rating anticipatory Instruction Sets 526 if in any of the data structures or arrangements ( i.e. neural
   they matched User's 50 intended operation . For example, networks , graphs, sequences, etc.) used for storing the
   Decision -making Unit 540 may determine one or more knowledge of Avatar's 605 operation in circumstances
   anticipatory Instruction Sets 526 , which the system may 35 including objects with various properties, thereby facilitat
   automatically execute. User 50 may be provided with an ing learning functionalities herein . It should be noted that
   interface ( i.e. graphical user interface , etc.) to rate ( i.e. on a Extra Info 527 may be optionally used in some implemen
    scale from 0 to 1, etc.) how well Decision -making Unit 540 tations to enable enhanced comparisons or decision making
   predicted the executed anticipatory Instruction Sets 526. In in autonomous Avatar 605 operation where applicable, and
    some aspects, rating can be automatic and based on a 40 that Extra Info 527 can be omitted in alternate implemen
   particular function ormethod that rates how well the antici         tations .
   patory Instruction Sets 526 matched the desired operation .             In some embodiments , Knowledge Structuring Unit 520
    In one example , a rating function or method can assign a receives one or more Collections of Object Representations
    higher rating to anticipatory Instruction Sets 526 that were 525 from Object Processing Unit 140. Knowledge Structur
    least modified in the confirmation process . In another 45 ing Unit 520 may also receive one or more Instruction Sets
    example, a rating function or method can assign a higher 526 from Acquisition Interface 120. Knowledge Structuring
    rating to anticipatory Instruction Sets 526 that were canceled Unit 520 may further receive any Extra Info 527. Although ,
    least number of times by User 50. Any other automatic Extra Info 527 is not shown in this and/or other figures for
    rating function or method can be utilized . In yet other clarity of illustration , it should be noted that any Collection
   embodiments, Confirmation Unit 550 can serve as a means 50 of Object Representations 525 , Instruction Set 526 , and /or
    of canceling anticipatory Instruction Sets 526 if they did not other elementmay include or be associated with Extra Info
   match User's 50 intended operation . For example , Decision          527. Knowledge Structuring Unit 520 may correlate one or
   making Unit 540 may determine one or more anticipatory more Collections of Object Representations 525 with any
    Instruction Sets 526 , which the system may automatically Instruction Sets 526 and/or Extra Info 527. Knowledge
   execute. The system may save the state of Computing 55 Structuring Unit 520 may then create Knowledge Cell 800
   Device 70, Processor 11 (save its register values, etc.), and store the one or more Collections of Object Represen
    Application Program 18 (i.e. save its variables, data struc         tations 525 correlated with Instruction Sets 526 and/or Extra
   tures, objects , location of its current instruction , etc.), Avatar Info 527 into the Knowledge Cell 800. Knowledge Cell 800
   605 , and/or other processing elements before executing may include any data structure or arrangement that can
   anticipatory Instruction Sets 526. User 50 may be provided 60 facilitate such storing. For example , Knowledge Structuring
   with an interface ( i.e. graphicaluser interface , selectable list Unit 520 may create Knowledge Cell 800ax and structure
   of prior executed anticipatory Instruction Sets 526 , etc.) to within it Collection of Object Representations 525al corre
   cancel one or more of the prior executed anticipatory lated with Instruction Sets 526a1-526a3 and / or any Extra
    Instruction Sets 526 , and restore Computing Device 70 , Info 527 (not shown). Knowledge Structuring Unit 520 may
   Processor 11 , Application Program 18 , Avatar 605 , and /or 65 further structure within Knowledge Cell 800ax a Collection
    other processing elements to a prior state. In some aspects, of Object Representations 525a2 correlated with Instruction
    Confirmation Unit 550 can optionally be disabled or omitted Set 526a4 and /or any Extra Info 527 (not shown). Knowl
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   edge Structuring Unit 520 may further structure within           Instruction Sets 526 used and /or Extra Info 527 obtained
   Knowledge Cell 800ax a Collection of Object Representa from the time of generating a previous Collection ofObject
   tions 525a3 without a correlated Instruction Set 526 and/ or Representations 525 to the time of generating the Collection
   Extra Info 527. Knowledge Structuring Unit 520 may fur of Object Representations 525. Any other temporal relation
   ther structure within Knowledge Cell 800ax a Collection of 5 ship or correspondence between Collections of Object Rep
   Object Representations 525a4 correlated with Instruction         resentations 525 and correlated Instruction Sets 526 and/ or
   Sets 526a5-526a6 and /or any Extra Info 527 (not shown). Extra Info 527 can be implemented .
   Knowledge Structuring Unit 520 may further structure               In some embodiments, Knowledge Structuring Unit 520
   within Knowledge Cell 800ax a Collection of Object Rep           can structure the knowledge of Avatar's 605 operation in a
   resentations 525a5 without a correlated Instruction Set 526 10 circumstance including objects with various properties into
   and/or Extra Info 527.Knowledge Structuring Unit 520 may any number of Knowledge Cells 800. In some aspects,
   structure within Knowledge Cell 800ax additional Collec Knowledge Structuring Unit 520 can structure into a Knowl
   tions of Object Representations 525 correlated with any edge Cell 800 a single Collection of Object Representations
   number ( including zero [ i.e. uncorrelated ]) of Instruction 525 correlated with any Instruction Sets 526 and/or Extra
   Sets 526 and /or Extra Info 527 by following similar logic as 15 Info 527. In other aspects , Knowledge Structuring Unit 520
   described above.                                                 can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
      In some embodiments, Knowledge Structuring Unit 520 3 , 6 , 9 , 21, 98 , 3210 , 13592 , 513299 , 9147224 , etc.) of
   may correlate a Collection of Object Representations 525 Collections of Object Representations 525 correlated with
   with one or more temporally corresponding Instruction Sets any Instruction Sets 526 and /or Extra Info 527. In a special
   526 and /or Extra Info 527. This way,Knowledge Structuring 20 case, Knowledge Structuring Unit 520 can structure all
   Unit 520 can structure the knowledge of Avatar's 605             Collections of Object Representations 525 correlated with
   operation at or around the time of generating Collections of any Instruction Sets 526 and / or Extra Info 527 into a single
   Object Representations 525. Such functionality enables long Knowledge Cell 800. In further aspects, Knowledge
   spontaneous or seamless learning of Avatar's 605 operation Structuring Unit 520 can structure Collections of Object
   in circumstances including objects with various properties as 25 Representations 525 correlated with any Instruction Sets 526
   Avatar 605 is operated in real time. In some designs , and /or Extra Info 527 into a plurality of Knowledge Cells
   Knowledge Structuring Unit 520 may receive a stream of 800. In a special case, Knowledge Structuring Unit 520 can
   Instruction Sets 526 used or executed to effect Avatar's 605     store periodic streams of Collections of Object Representa
   operations as well as a stream of Collections of Object tions 525 correlated with any Instruction Sets 526 and /or
   Representations 525 representing Objects 615 in Avatar's 30 Extra Info 527 into a plurality of Knowledge Cells 800 such
   605 surrounding as the operations are performed . Knowl as hourly , daily, weekly, monthly, yearly , or other periodic
   edge Structuring Unit 520 can then correlate Collections of Knowledge Cells 800.
   Object Representations 525 from the stream of Collections          Referring to FIG . 13 , another embodiment of Knowledge
   of Object Representations 525 with temporally correspond Structuring Unit 520 correlating individual Collections of
   ing Instruction Sets 526 from the stream of Instruction Sets 35 Object Representations 525 with any Instruction Sets 526
   526 and/or any Extra Info 527. Collections of Object Rep and /or Extra Info 527 is illustrated . In such embodiments,
   resentations 525 without a temporally corresponding Knowledge Structuring Unit 520 may generate Knowledge
   Instruction Set 526 may be uncorrelated , for instance . In Cells 800 each comprising a single Collection of Object
   some aspects , Instruction Sets 526 and /or Extra Info 527 that Representations 525 correlated with any Instruction Sets 526
   temporally correspond to a Collection of Object Represen- 40 and /or Extra Info 527.
   tations 525 may include Instruction Sets 526 used and /or          Referring to FIG . 14, an embodiment of Knowledge
   Extra Info 527 obtained at the time of generating the Structuring Unit 520 correlating streams of Collections of
   Collection of Object Representations 525. In other aspects , Object Representations 525 with any Instruction Sets 526
   Instruction Sets 526 and /or Extra Info 527 that temporally and/or Extra Info 527 is illustrated . For example, Knowl
   correspond to a Collection of Object Representations 525 45 edge Structuring Unit 520 may create Knowledge Cell
   may include Instruction Sets 526 used and /or Extra Info 527   800ax and structure within it a stream of Collections of
   obtained within a certain time period before and /or after     Object Representations 525a1-525an correlated with
   generating the Collection of Object Representations 525 . Instruction Set 526al and /or any Extra Info 527 (not
   For example , Instruction Sets 526 and/ or Extra Info 527 that shown ). Knowledge Structuring Unit 520 may further struc
   temporally correspond to a Collection of Object Represen- 50 ture within Knowledge Cell 800ax a stream of Collectionsof
   tations 525 may include Instruction Sets 526 used and/or Object Representations 525b1-525bn correlated with
   Extra Info 527 obtained within 50 milliseconds, 1 second , 3 Instruction Sets 526a2-526a4 and /or any Extra Info 527 (not
   seconds, 20 seconds, 1 minute , 41 minutes, 2 hours, or any shown ).Knowledge Structuring Unit 520 may further struc
   other time period before and /or after generating the Collec   ture within Knowledge Cell 800ax a stream of Collections of
   tion of Object Representations 525. Such time periods can 55 Object Representations 525c1-525cn without correlated
   be defined by a user, by ACAAO system administrator, or Instruction Sets 526 and /or Extra Info 527. Knowledge
   automatically by the system based on experience , testing, Structuring Unit 520 may further structure within Knowl
   inquiry , analysis , synthesis, or other techniques, knowledge , edge Cell 800ax a stream of Collections of Object Repre
   or input. In other aspects, Instruction Sets 526 and/or Extra sentations 525d1-525dn correlated with Instruction Sets
   Info 527 that temporally correspond to a Collection of 60 526a5-526a6 and/or any Extra Info 527 (not shown ).
   Object Representations 525 may include Instruction Sets          Knowledge Structuring Unit 520 may further structure
   526 used and /or Extra Info 527 obtained from the time of        within Knowledge Cell 800ax additional streams of Collec
   generating the Collection of Object Representations 525 to tions of Object Representations 525 correlated with any
   the time of generating a next Collection of Object Repre number ( including zero [ i.e. uncorrelated ]) of Instruction
   sentations 525. In further aspects, Instruction Sets 526 65 Sets 526 and /or Extra Info 527 by following similar logic as
   and/ or Extra Info 527 that temporally correspond to a described above. The number of Collections of Object
   Collection of Object Representations 525 may include Representations 525 in some or all streams of Collections of
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   Object Representations 525a1-525an , 525b1-525bn, 525c1         operation in circumstances including objects with various
   525cn , 525d1-525dn , etc. may be equal or different. It properties learned or stored on the originating Computing
   should be noted that n or other such letters or indicia may Device 70 or ACAAO Unit 100 .
   follow the sequence and /or context where they are indicated .    In some embodiments ,multiple Knowledgebases 530 (i.e.
   Also , a same letter or indicia such as n may represent a 5 Knowledgebases 530 from different Computing Devices 70
   different number in different sequences or elements of a or ACAAO Units 100 , etc.) can be combined to accumulate
   drawing                                                        collective knowledge of operating Avatar 605 in circum
     Referring to FIG . 15, another embodiment of Knowledge        stances including objects with various properties. In one
   Structuring Unit 520 correlating streams of Collections of      example , one Knowledgebase 530 can be appended to
   Object Representations 525 with any Instruction Sets 526 10 another Knowledgebase 530 such as appending one Collec
   and/ or Extra Info 527 is illustrated . In such embodiments, tion of Sequences 530c ( later described ) to another Collec
   Knowledge Structuring Unit 520 may generate Knowledge tion of Sequences 530c, appending one Sequence 533 ( later
   Cells 800 each comprising a single stream ofCollections of described ) to another Sequence 533 , appending one Collec
   Object Representations 525 correlated with any Instruction tion of Knowledge Cells 530d (later described ) to another
   Sets 526 and / or Extra Info 527 .                           15 Collection of Knowledge Cells 530d, and /or appending
     Knowledgebase 530 comprises the functionality for stor        other data structures or elements thereof. In another
    ing knowledge of Avatar's 605 operation in circumstances example , one Knowledgebase 530 can be copied into
   including objects with various properties , and/or other func another Knowledgebase 530 such as copying one Collection
   tionalities . Knowledgebase 530 comprises the functionality of Sequences 530c into another Collection of Sequences
   for storing one or more Collections of Object Representa- 20 530c, copying one Collection of Knowledge Cells 530d into
   tions 525 representing Objects 615 in Avatar's 605 sur another Collection of Knowledge Cells 530d , and /or copy
   rounding correlated with any Instruction Sets 526 and/or ing other data structures or elements thereof. In a further
   Extra Info 527. The Instruction Sets 526 ay be used or example , in the case ofKnowledgebase 530 being or includ
   executed in operating Avatar 605. Knowledgebase 530 com          ing Graph 530b or graph - like data structure ( i.e. Neural
   prises the functionality for storing one or more Knowledge 25 Network 530a , tree, etc.), a union can be utilized to combine
   Cells 800 each including one ormore Collections of Object two or more Graphs 530b or graph -like data structures. For
   Representations 525 correlated with any Instruction Sets 526 instance , a union of two Graphs 530b or graph -like data
   and / or Extra Info 527. In some aspects, Collections of structures may include a union of their vertex ( i.e. node , etc.)
   Object Representations 525 correlated with Instruction Sets sets and their edge ( i.e. connection , etc.) sets . Any other
   526 and /or Extra Info 527 can be stored directly within 30 operations or combination thereof on graphs or graph -like
   Knowledgebase 530 without using Knowledge Cells 800 as data structures can be utilized to combine Graphs 530b or
   the intermediary data structures . In some embodiments, graph - like data structures . In a further example, one Knowl
   Knowledgebase 530 may be or include Neural Network edgebase 530 can be combined with another Knowledgebase
   530a ( later described ). In other embodiments , Knowledge 530 through later described learning processes where
   base 530 may be or include Graph 530b (later described ). In 35 Knowledge Cells 800 may be applied one at a time and
   further embodiments, Knowledgebase 530 may be or connected with prior and / or subsequent Knowledge Cells
   include Collection of Sequences 530c ( later described ). In 800 such as in Graph 530b or Neural Network 530a . In such
    further embodiments, Knowledgebase 530 may be or embodiments, instead ofKnowledge Cells 800 generated by
   include Sequence 533 ( later described ). In further embodi Knowledge Structuring Unit 520 , the learning process may
   ments , Knowledgebase 530 may be or include Collection of 40 utilize Knowledge Cells 800 from one Knowledgebase 530
   Knowledge Cells 530d ( later described ). In general, Knowl to apply them onto another Knowledgebase 530. Any other
   edgebase 530 may be or include any data structure or techniques known in art including custom techniques for
   arrangement capable of storing knowledge of Avatar's 605 combining data structures can be utilized for combining
   operation in circumstances including objects with various Knowledgebases 530 in alternate implementations. In any of
   properties. Knowledgebase 530 may reside locally on Com- 45 the aforementioned and /or other combining techniques,
   puting Device 70 , or remotely (i.e. remote Knowledgebase similarity of elements ( i.e. nodes/ vertices, edges/connec
   530 , etc. ) on a remote computing device ( i.e. server , cloud, tions , etc. ) can be utilized in determining whether an ele
   etc.) accessible over a network or an interface.                ment from one Knowledgebase 530 matches an element
      In some embodiments , Knowledgebase 530 from one             from another Knowledgebase 530 , and substantially or
   Computing Device 70 or ACAAO Unit 100 can be trans- 50 otherwise similar elements may be considered a match for
   ferred to one or more other Computing Devices 70 or combining purposes in some designs . Any features, func
   ACAAO Units 100. Therefore, the knowledge of Avatar's tionalities, and embodiments of Similarity Comparison 125
   605 operation in circumstances including objects with vari ( later described ) can be used in such similarity determina
   ous properties learned and /or stored on one Computing tions . A combined Knowledgebase 530 can be offered as a
   Device 70 or ACAAO Unit 100 can be transferred to one or 55 network service (i.e. online application , etc.), downloadable
   more other Computing Devices 70 or ACAAO Units 100. In file , or other repository to all ACAAO Units 100 configured
   one example, Knowledgebase 530 can be copied or down        to utilize the combined Knowledgebase 530. For example, a
    loaded to a file or other repository from one Computing computer game ( i.e. Application Program 18 , etc.) including
   Device 70 or ACAAO Unit 100 and loaded or inserted into         or interfaced with ACAAO Unit 100 having access to a
   another Computing Device 70 or ACAAO Unit 100. In 60 combined Knowledgebase 530 can use a collective knowl
   another example , Knowledgebase 530 from one Computing          edge for Avatar's 605 operation in circumstances including
   Device 70 or ACAAO Unit 100 can be available on a server        objects with various properties learned from multiple play
   accessible by other Computing Devices 70 or ACAAO Units         ers ( i.e. Users 50 , etc.) for Avatar's 605 autonomous opera
   100 over a network or an interface. Once loaded into or          tion .
   accessed by a receiving Computing Device 70 or ACAAO 65 Referring to FIG . 16 , the disclosed artificially intelligent
   Unit 100 , the receiving Computing Device 70 or ACAAO devices, systems, and methods for learning and /or using an
   Unit 100 can then implement the knowledge of Avatar's 605 avatar's circumstances for autonomous avatar operation
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   may include various artificial intelligence models and /or graph can be utilized as a predictive modeling approach in
   techniques. The disclosed devices, systems, and methods are machine learning. Nodes 852 , Connections 853 , and /or other
   independent of the artificial intelligence model and /or tech         elements or operations of a graph may include any features,
   nique used and any model and /or technique can be utilized functionalities , and embodiments of the aforementioned
   to facilitate the functionalities described herein . Examples of 5 Nodes 852 , Connections 853 , and /or other elements or
   these models and/or techniques include deep learning, operations of a neural network , and vice versa. An exem
   supervised learning , unsupervised learning, neural networks plary embodiment of a graph (i.e. Graph 530b , etc.) is
   ( i.e. convolutional neural network , recurrentneuralnetwork , described later.
   deep neural network , etc.), search - based , logic and/or fuzzy         In a further example shown in Model C , the disclosed
   logic -based , optimization -based, tree /graph /other data struc- 10 artificially intelligent devices, systems, and methods for
   ture -based , hierarchical, symbolic and /or sub -symbolic , learning and/ or using an avatar's circumstances for autono
   evolutionary, genetic, multi-agent, deterministic , probabilis        mous avatar operation may include a tree or tree -like data
   tic, statistical, and /or other models and /or techniques.            structure . As such ,machine learning, knowledge structuring
       In one example shown in Model A , the disclosed artifi or representation , decision making , pattern recognition , and /
   cially intelligent devices, systems, and methods for learning 15 or other artificial intelligence functionalities may include
   and /or using an avatar's circumstances for autonomous Nodes 852 and Connections 853 (also referred to as refer
   avatar operation may include a neuralnetwork ( also referred ences, edges, etc.) organized as a tree . In general, a Node
   to as artificial neural network , etc.). As such , machine         852 in a tree can be connected to any number (i.e. including
   learning, knowledge structuring or representation , decision       zero , etc.) of children Nodes 852. A tree can be utilized as
   making, pattern recognition , and /or other artificial intelli- 20 a predictive modeling approach in machine learning. Nodes
    gence functionalities may include a network of Nodes 852 852, Connections 853, and/or other elements or operations
    (also referred to as neurons, etc.) and Connections 853 of a tree may include any features, functionalities , and
    similar to that of a brain . Node 852 can store any data , embodiments of the aforementioned Nodes 852, Connec
   object, data structure, and /or other item , or reference thereto . tions 853 , and /or other elements or operations of a neural
   Node 852 may also include a function for transforming or 25 network and /or graph , and vice versa.
   manipulating any data , object, data structure , and/or other          In a further example shown in Model D , the disclosed
    item . Examples of such transformation functions include artificially intelligent devices, systems, and methods for
   mathematical functions (i.e. addition , subtraction , multipli      learning and/or using an avatar's circumstances for autono
    cation , division , sin , cos, log, derivative , integral, etc. ), mous avatar operation may include a sequence or sequence
   object manipulation functions ( i.e. creating an object, modi- 30 like data structure . As such , machine learning, knowledge
    fying an object, deleting an object, appending objects , etc.) , structuring or representation , decision making , pattern rec
   data structure manipulation functions ( i.e. creating a data ognition , and /or other artificial intelligence functionalities
    structure , modifying a data structure , deleting a data struc may include a str ure of Nodes 852 and / or Connections
   ture , creating a data field , modifying a data field , deleting a 853 organized as a sequence . In some aspects, Connections
   data field , etc.), and /or other transformation functions. Con- 35 853 may be optionally omitted from a sequence as the
   nection 853 may include or be associated with a value such sequential order of Nodes 852 in a sequence may be implied
   as a symbolic label or numeric attribute (i.e. weight, cost, in the structure . A sequence can be utilized as a predictive
   capacity, length , etc.). A computational model can be uti modeling approach in machine learning. Nodes 852, Con
    lized to compute values from inputs based on a pre-pro             nections 853, and / or other elements or operations of a
   grammed or learned function or method . For example , a 40 sequence may include any features, functionalities, and
   neural network may include one ormore input neurons that embodiments of the aforementioned Nodes 852 , Connec
   can be activated by inputs. Activations of these neurons can tions 853, and /or other elements or operations of a neural
    then be passed on, weighted , and transformed by a function network , graph , and /or tree, and vice versa . An exemplary
    to other neurons . Neural networks may range from those embodiment of a sequence ( i.e. Collection of Sequences
   with only one layer of single direction logic to multi-layer of 45 530c, Sequence 533, etc.) is described later .
   multi-directional feedback loops. A neural network can use             In yet another example , the disclosed artificially intelli
   weights to change the parameters of the network's through           gent devices, systems, and methods for learning and/or using
   put. A neural network can learn by input from its environ an avatar's circumstances for autonomous avatar operation
   ment or from self-teaching using written -in rules. A neural may include a search -based model and /or technique . As
   network can be utilized as a predictive modeling approach in 50 such , machine learning, knowledge structuring or represen
   machine learning. An exemplary embodiment of a neural tation , decision making , pattern recognition , and /or other
   network ( i.e. Neural Network 530a , etc.) is described later. artificial intelligence functionalities may include searching
       In another example shown in Model B , the disclosed through a collection of possible solutions. For example , a
   artificially intelligent devices, systems, and methods for search method can search through a neural network , graph ,
   learning and /or using an avatar's circumstances for autono- 55 tree , sequence, or other data structure that includes data
   mous avatar operation may include a graph or graph - like elements of interest. A search may use heuristics to limit the
   data structure. As such , machine learning, knowledge struc       search for solutions by eliminating choices that are unlikely
   turing or representation , decision making , pattern recogni to lead to the goal. Heuristic techniques may provide a best
   tion , and / or other artificial intelligence functionalities may guess solution. A search can also include optimization . For
   include Nodes 852 (also referred to as vertices or points, 60 example, a search may begin with a guess and then refine the
    etc.) and Connections 853 (also referred to as edges, arrows, guess incrementally until no more refinements can be made .
   lines, arcs, etc. ) organized as a graph . In general, any Node In a further example , the disclosed systems, devices, and
   852 in a graph can be connected to any other Node 852. A methods may include logic -based model and/or technique .
   Connection 853 may include unordered pair of Nodes 852 in As such , machine learning, knowledge structuring or repre
   an undirected graph or ordered pair of Nodes 852 in a 65 sentation , decision making, pattern recognition , and /or other
   directed graph . Nodes 852 can be partof the graph structure artificial intelligence functionalities can use formal or other
   or external entities represented by indices or references. A type of logic . Logic based models may involve making
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    inferences or deriving conclusions from a set of premises . As Also , the weight of Connection 853z2 can be calculated or
   such , a logic based system can extend existing knowledge or determined as 15 /( 10 + 15 ) = 0.6 , for example . Therefore , the
   create new knowledge automatically using inferences . sum of weights of Connection 853z1, Connection 853z2 ,
   Examples of the types of logic that can be utilized include and/ or any other Connections 853 originating from Knowl
   propositional or sentential logic that comprises logic of 5 edge Cell 800za may equal to 1 or 100 % . As shown for
   statements which can be true or false ; first-order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
   allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
   express facts about objects, their properties, and their rela    800zd follows Knowledge Cell 800za , Connection 853z3
    tionswith each other; fuzzy logic that allows degrees of truth can be created between Knowledge Cell 800za and Knowl
   to be represented as a value between 0 and 1 rather than 10 edge Cell 800zd . The occurrence count of Connection 853z3
   simply 0 ( false ) or 1 (true), which can be used for uncertain can be set to 1 and weight determined as 1/ ( 10+
    reasoning; subjective logic that comprises a type of proba      15 + 1 ) = 0.038. The weights of all other connections ( i.e.
   bilistic logic that may take uncertainty and belief into Connection 853z1 , Connection 853z2 , etc.) originating from
   account, which can be suitable for modeling and analyzing Knowledge Cell 800za may be updated to account for the
   situations involving uncertainty , incomplete knowledge, and 15 creation of Connection 853z3. Therefore , the weight of
   different world views; and /or other types of logic . In a Connection 853zl can be updated as 10 /( 10 + 15 + 1) = 0.385 .
    further example, the disclosed systems, devices, and meth        The weight of Connection 853z2 can also be updated as
   ods may include a probabilistic model and / or technique . As 15 /( 10 + 15 + 1 ) = 0.577 . As shown for example in FIG . 17C , in
   such , machine learning, knowledge structuring or represen the case that an additional occurrence of Connection 853z1
   tation , decision making, pattern recognition , and/or other 20 is observed ( i.e. Knowledge Cell 800zb followed Knowl
   artificial intelligence functionalities can be implemented to edge Cell 800za , etc.), occurrence count of Connection
   operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
   probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc.) originating
   among other models , is an example of a probabilistic tool from Knowledge Cell 800za may be updated to account for
   used for purposes such as reasoning , learning, planning , 25 this observation . The occurrence count of Connection 853z1
   perception , and /or others . One of ordinary skill in art will can be increased by 1 and its weight updated as 11/( 11 + 15 +
   understand that the aforementioned artificial intelligence 1 ) = 0.407. The weight of Connection 853z2 can also be
   models and /or techniques are described merely as examples updated as 15/( 11 + 15 + 1 )= 0.556 . The weight of Connection
   of a variety of possible implementations, and that while all 853z3 can also be updated as 1/(11 + 15 + 1) = 0.037 .
   possible artificial intelligence models and /or techniques are 30 Referring to FIG . 18 , an embodiment of learning Knowl
    too voluminous to describe , other artificial intelligence edge Cells 800 comprising one or more Collections of
   models and/or techniques known in art are within the scope Object Representations 525 correlated with any Instruction
   of this disclosure. One of ordinary skill in art will also Sets 526 and / or Extra Info 527 using Collection of Knowl
   recognize that an intelligent system may solve a specific edge Cells 530d is illustrated . Collection of Knowledge
   problem by using any model and /or technique that works 35 Cells 530d comprises the functionality for storing any
   such as, for example , some systems can be symbolic and number of Knowledge Cells 800. In some aspects , Knowl
    logical, some can be sub -symbolic neural networks, some edge Cells 800 may be stored into or applied onto Collection
   can be deterministic or probabilistic, some can be hierar of Knowledge Cells 530d in a learning or training process .
   chical, some may include searching techniques, some may In effect, Collection of Knowledge Cells 530d may store
   include optimization techniques, while others may use other 40 Knowledge Cells 800 that can later be used to enable
   or a combination of models and/or techniques . In general, autonomous Avatar 605 operation. In some embodiments,
   any artificial intelligence model and/or technique can be          Knowledge Structuring Unit 520 structures or generates
   utilized that can facilitate the functionalities described Knowledge Cells 800 as previously described and the sys
   herein .                                                      tem applies them onto Collection of Knowledge Cells 530d ,
      Referring to FIGS. 17A - 17C , embodiments of intercon- 45 thereby implementing learning Avatar's 605 operation in
   nected Knowledge Cells 800 and updating weights of Con        circumstances including objects with various properties. The
   nections 853 are illustrated . As shown for example in FIG . term apply or applying may refer to storing , copying ,
   17A , Knowledge Cell 800za is connected to Knowledge inserting, updating , or other similar action , therefore , these
    Cell 800zb and Knowledge Cell 800zc by Connection 853z1 terms may be used interchangeably herein depending on
   and Connection 853z2, respectively . Each of Connection 50 context. The system can perform Similarity Comparisons
   853z1 and Connection 853z2 may include or be associated 125 (later described ) of a newly structured Knowledge Cell
   with occurrence count, weight, and/ or other parameters or 800 from Knowledge Structuring Unit 520 with Knowledge
   data . The number of occurrences may track or store the Cells 800 in Collection of Knowledge Cells 530d . If a
   number of observations that a Knowledge Cell 800 was substantially similar Knowledge Cell 800 is not found in
    followed by another Knowledge Cell 800 indicating a con- 55 Collection of Knowledge Cells 530d ,the system may insert
   nection or relationship between them . For example , Knowl ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl
   edge Cell 800za was followed by Knowledge Cell 800zb 10 edge Structuring Unit 520 into Collection of Knowledge
   times as indicated by the number of occurrences of Con             Cells 530d , for example . On the other hand , if a substantially
   nection 853z1. Also , Knowledge Cell 800za was followed            similar Knowledge Cell 800 is found in Collection of
   by Knowledge Cell 800zc times as indicated by the number 60 Knowledge Cells 530d, the system may optionally omit
   of occurrences of Connection 853z2 . The weight of Con             inserting the Knowledge Cell 800 from Knowledge Struc
   nection 853z1 can be calculated or determined as the number turing Unit 520 as inserting a substantially similar Knowl
   of occurrences of Connection 853z1 divided by the sum of edge Cell 800 may not add much or any additional knowl
   occurrences of all connections ( i.e. Connection 853z1 and edge to the Collection of Knowledge Cells 530d , for
   Connection 853z2 , etc.) originating from Knowledge Cell 65 example . Also , inserting a substantially similar Knowledge
   800za . Therefore , the weight of Connection 853zl can be Cell 800 can optionally be omitted to save storage resources
   calculated or determined as 10 / (10 + 15 ) = 0.4 , for example . and limit the number of Knowledge Cells 800 thatmay later
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   need to be processed or compared . Any features , function       parameter or data as previously described . Neural Network
   alities, and embodiments of Similarity Comparison 125 ,          530a may include any number of Layers 854 comprising any
   importance index (later described ), similarity index (later     number of Knowledge Cells 800. In some aspects , Neural
   described ), and /or other disclosed elements can be utilized    Network 530a may store Knowledge Cells 800 intercon
   to facilitate determination of substantial or other similarity 5 nected by Connections 853 where following a path through
   and whether to insert a newly structured Knowledge Cell the Neural Network 530a can later be used to enable
   800 into Collection of Knowledge Cells 530d .                    autonomous Avatar 605 operation . It should be understood
      For example , the system can perform Similarity Com           that, in some embodiments , Knowledge Cells 800 in one
   parisons 125 (later described ) of Knowledge Cell 800ba Layer 854 of Neural Network 530a need not be connected
   from Knowledge Structuring Unit 520 with Knowledge 10 only with Knowledge Cells 800 in a successive Layer 854,
   Cells 800 in Collection of Knowledge Cells 530d . In the         but also in any other Layer 854 , thereby creating shortcuts
   case that a substantially similar match is found between         (i.e. shortcut Connections 853 , etc.) through NeuralNetwork
   Knowledge Cell 800ba and any of the Knowledge Cells 800          530a . A Knowledge Cell 800 can also be connected to itself
   in Collection of Knowledge Cells 530d , the system may           such as , for example , in recurrent neural networks . In
   perform no action . The system can then perform Similarity 15 general, any Knowledge Cell 800 can be connected with any
   Comparisons 125 of Knowledge Cell 800bb from Knowl other Knowledge Cell 800 anywhere else in Neural Network
   edge Structuring Unit 520 with Knowledge Cells 800 in            530a . In further embodiments , back -propagation of any data
   Collection of Knowledge Cells 530d . In the case that a          or information can be implemented . In one example , back
   substantially similar match is not found , the system may        propagation of similarity ( i.e. similarity index , etc.) of
   insert a new Knowledge Cell 800 into Collection of Knowl- 20 compared Knowledge Cells 800 in a path through Neural
   edge Cells 530d and copy Knowledge Cell 800bb into the Network 530a can be implemented . In another example ,
   inserted new Knowledge Cell 800. The system can then back -propagation of errors can be implemented. Such back
   perform Similarity Comparisons 125 of Knowledge Cell propagations can then be used to adjust occurrence counts
   800bc from Knowledge Structuring Unit 520 with Knowl and /or weights of Connections 853 for better future predic
   edge Cells 800 in Collection of Knowledge Cells 530d . In 25 tions, for example . Any other back -propagation can be
   the case that a substantially similar match is found between implemented for other purposes. Any combination of Nodes
   Knowledge Cell 800bc and any of the Knowledge Cells 800 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc.),
   in Collection of Knowledge Cells 530d, the system may Connections 853 , Layers 854 , and /or other elements or
   perform no action . The system can then perform Similarity techniques can be implemented in alternate embodiments.
   Comparisons 125 of Knowledge Cell 800bd from Knowl- 30 Neural Network 530a may include any type or form of a
   edge Structuring Unit 520 with Knowledge Cells 800 in neural network known in art such as a feed - forward neural
   Collection of Knowledge Cells 530d . In the case that a network , a back -propagating neural network , a recurrent
   substantially similar match is not found, the system may neural network , a convolutional neural network , deep neural
   insert a new Knowledge Cell 800 into Collection of Knowl network , and /or others including a custom neural network .
   edge Cells 530d and copy Knowledge Cell 800bd into the 35 In some embodiments , Knowledge Structuring Unit 520
   inserted new Knowledge Cell 800. The system can then structures or generates Knowledge Cells 800 and the system
   perform Similarity Comparisons 125 of Knowledge Cell applies them onto Neural Network 530a , thereby imple
   800be from Knowledge Structuring Unit 520 with Knowl menting learning Avatar's 605 operation in circumstances
   edge Cells 800 in Collection of Knowledge Cells 530d . In including objects with various properties . The system can
   the case that a substantially similar match is not found, the 40 perform Similarity Comparisons 125 (later described ) of a
   system may insert a new Knowledge Cell 800 into Collec Knowledge Cell 800 from Knowledge Structuring Unit 520
   tion of Knowledge Cells 530d and copy Knowledge Cell with Knowledge Cells 800 in a Layer 854 of Neural Net
   800be into the inserted new Knowledge Cell 800. Applying work 530a . If a substantially similar Knowledge Cell 800 is
   any additional Knowledge Cells 800 from Knowledge Struc not found in the Layer 854 of Neural Network 530a , the
   turing Unit 520 onto Collection of Knowledge Cells 530d 45 system may insert ( i.e. copy, store , etc.) the Knowledge Cell
   follows similar logic or process as the above -described .       800 from Knowledge Structuring Unit 520 into the Layer
     Referring to FIG . 19 , an embodiment of learning Knowl 854 of Neural Network 530a, and create a Connection 853
   edge Cells 800 comprising one or more Collections of to the inserted Knowledge Cell 800 from a Knowledge Cell
   Object Representations 525 correlated with any Instruction 800 in a prior Layer 854 including assigning an occurrence
   Sets 526 and /or Extra Info 527 using Neural Network 530a 50 count to the new Connection 853, calculating a weightof the
   is illustrated . Neural Network 530a includes a number of new Connection 853 , and updating any other Connections
   neurons or Nodes 852 interconnected by Connections 853 as 853 originating from the Knowledge Cell 800 in the prior
   previously described . Knowledge Cells 800 are shown Layer 854. On the other hand , if a substantially similar
   instead ofNodes 852 to simplify the illustration as Node 852 Knowledge Cell 800 is found in the Layer 854 of Neural
   includes a Knowledge Cell 800, for example. Therefore, 55 Network 530a ,the system may update occurrence count and
   Knowledge Cells 800 and Nodes 852 can be used inter weight of Connection 853 to that Knowledge Cell 800 from
   changeably herein depending on context. It should be noted a Knowledge Cell 800 in a prior Layer 854, and update any
   that Node 852 may include other elements and/or function         other Connections 853 originating from the Knowledge Cell
   alities instead of or in addition to Knowledge Cell 800. In      800 in the prior Layer 854.
   some aspects , Knowledge Cells 800 may be stored into or 60 For example, the system can perform Similarity Com
   applied onto Neural Network 530a individually or collec      parisons 125 (later described ) of Knowledge Cell 800ba
   tively in a learning or training process. In some designs, from Knowledge Structuring Unit 520 with Knowledge
   Neural Network 530a comprises a number of Layers 854 Cells 800 in Layer 854a of NeuralNetwork 530a . In the case
   each of which may include one or more Knowledge Cells that a substantially similar match is found between Knowl
   800. Knowledge Cells 800 in successive Layers 854 can be 65 edge Cell 800ba and Knowledge Cell 800ea , the system may
   connected by Connections 853. Connection 853 may include perform no action since Knowledge Cell 800ea is the initial
   or be associated with occurrence count,weight, and /or other Knowledge Cell 800. The system can then perform Simi
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                                                       US 10,607,134 B1
                                111                                                                  112
   larity Comparisons 125 of Knowledge Cell 800bb from herein depending on context. As such , Similarity Compari
   Knowledge Structuring Unit 520 with Knowledge Cells 800 son 125 may include determining substantial similarity or
   in Layer 854b of Neural Network 530a . In the case that a substantial match of compared elements . Although , substan
   substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
   Cell 800bb and Knowledge Cell 800eb , the system may 5 it should be understood that any level of similarity , however
   update occurrence count and weight of Connection 853e1 high or low , may be utilized as defined by the rules ( i.e.
   between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc.) for similarity . The rules for similarity or
   and update weights of other Connections 853 originating similar match can be defined by a user, by ACAAO system
   from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
   system can then perform Similarity Comparisons 125 of 10 experience, testing , inquiry, analysis , synthesis, or other
   Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
   520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
   Network 530a . In the case that a substantially similarmatch cally define appropriately strict rules for determining simi
   is not found , the system may insert Knowledge Cell 800ec larity of the compared elements . Similarity Comparison 125
   into Layer 854c and copy Knowledge Cell 800bc into the 15 can therefore set, reset, and /or adjust the strictness of the
   inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
   Connection 853e2 between Knowledge Cell 800eb and elements, thereby fine tuning Similarity Comparison 125 so
   Knowledge Cell 800ec with occurrence count of 1 and that the rules for determining similarity are appropriately
   weight calculated based on the occurrence count as previ strict. In some aspects , the rules for determining similarity
   ously described . The system may also update weights of 20 may include a similarity threshold . As such , Similarity
   other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
   from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
   system can then perform Similarity Comparisons 125 of other aspects , the rules for determining similarity may
   Knowledge Cell 800bd from Knowledge Structuring Unit include a difference threshold . As such , Similarity Compari
   520 with Knowledge Cells 800 in Layer 854d of Neural 25 son 125 can determine similarity of compared elements if
   Network 530a . In the case that a substantially similar match their difference is lower than a difference threshold . In
   is not found, the system may insert Knowledge Cell 800ed further aspects, the rules for determining similarity may
   into Layer 854d and copy Knowledge Cell 800bd into the include other thresholds. Similarity Comparison 125 enables
    inserted Knowledge Cell 800ed . The system may also create comparing circumstances including objects with various
    Connection 853e3 between Knowledge Cell 800ec and 30 properties and determining their similarity or match . In one
   Knowledge Cell 800ed with occurrence count of 1 and example , a circumstance including an object located at a
   weight of 1. The system can then perform Similarity Com       distance of 9 m and an angle/bearing of 97 ° relative to
   parisons 125 of Knowledge Cell 800be from Knowledge Avatar 605 may be found similar or matching by Similarity
   Structuring Unit 520 with Knowledge Cells 800 in Layer Comparison 125 to a circumstance including the same or
   854e of Neural Network 530a . In the case that a substan- 35 similar object located at a distance of 8.7 m and an angle/
   tially similar match is not found , the system may insert bearing of 101 ° relative to Avatar 605. In another example ,
   Knowledge Cell 800ee into Layer 854e and copy Knowl a circumstance including an object detected as a female
   edge Cell 800be into the inserted Knowledge Cell 800ee . person may be found similar or matching by Similarity
    The system may also create Connection 853e4 between                 Comparison 125 to a circumstance including an object
   Knowledge Cell 800ed and Knowledge Cell 800ee with 40 detected as a male person . In general, any one or more
   occurrence count of 1 and weight of 1. Applying any properties ( i.e. existence, type, identity , distance , bearing /
   additional Knowledge Cells 800 from Knowledge Structur angle , location , shape /size , activity , etc.) of one or more
   ing Unit 520 onto Neural Network 530a follows similar objects can be utilized for determining similarity or match of
   logic or process as the above -described .                   circumstances including objects with various properties.
     Referring now to Similarity Comparison 125 , Similarity 45 Therefore, Similarity Comparison 125 provides flexibility in
   Comparison 125 comprises the functionality for comparing comparing and determining similarity of a variety of pos
   or matching Knowledge Cells 800 or portions thereof,                 sible circumstances of Avatar 605 .
   and /or other functionalities. Similarity Comparison 125                In some embodiments where compared Knowledge Cells
   comprises the functionality for comparing or matching Col            800 include a single Collection of Object Representations
   lections of Object Representations 525 or portions thereof. 50 525 , in determining similarity of Knowledge Cells 800 ,
   Similarity Comparison 125 comprises the functionality for Similarity Comparison 125 can perform comparison of
   comparing or matching streams of Collections of Object individual Collections of Object Representations 525 or
   Representations 525 or portions thereof. Similarity Com                portions ( i.e. Object Representations 625 , Object Properties
   parison 125 comprises the functionality for comparing or 630 , etc.) thereofsuch as comparison of Collection ofObject
   matching Object Representations 625 or portions thereof. 55 Representations 525 or portions thereof from one Knowl
   Similarity Comparison 125 comprises the functionality for edge Cell 800 with Collection of Object Representations 525
    comparing or matching Object Properties 630 or portions or portions thereof from another Knowledge Cell 800. In
    thereof. Similarity Comparison 125 comprises the function             some aspects, total equivalence is achieved when Collection
   ality for comparing or matching Instruction Sets 526 , Extra of Object Representations 525 or portions thereof from one
   Info 527 ,text ( i.e. characters , words, phrases , etc.), numbers, 60 Knowledge Cell 800 matches Collection of Object Repre
   and /or other elements or portions thereof. Similarity Com             sentations 525 or portions thereof from another Knowledge
   parison 125 may include functions, rules, and /or logic for Cell 800. If total equivalence is not found , Similarity Com
   performing matching or comparisons and for determining parison 125 may attempt to determine substantial or other
    that while a perfect match is not found , partial or similar similarity of compared Knowledge Cells 800 .
   match has been found . In some aspects, a partial match may 65 In some embodiments, in determining substantial simi
   include a substantially or otherwise similar match , and vice larity of individually compared Collections of Object Rep
   versa . Therefore , these termsmay be used interchangeably resentations 525 ( i.e. Collections of Object Representations
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                        Exhibit D
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                        Exhibit E
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   ( 12) United
         Cosic
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                                                                                               (45 ) Date of Patent :   * Jul. 6 , 2021
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          G06F 15/80             ( 2006.01 )
          G06F 15/78             ( 2006.01 )
   ( 52 ) U.S. CI .                                                                        ( 57 )                                 ABSTRACT
         CPC               GO6K 9866 (2013.01 ) ; G06F 9/30076
                    (2013.01 ) ; G06K 9/6202 ( 2013.01 ) ; GO6N                            Aspects of the disclosure generally relate to computing
                20/00 ( 2019.01 ) ; G06T 7/70 (2017.01 ) ; G06F                            enabled systems and / or devices and may be generally
               15/78 (2013.01 ) ; G06F 15/80 ( 2013.01 ) ; GOON                            directed to machine learning for computing enabled systems
                                               5/022 (2013.01 )                            and /or devices. In some aspects , the system captures one or
   ( 58 ) Field of Classification Search                                                   more digital pictures, receives one or more instruction sets ,
         CPC G06K 9/00355 ; G06K 9/00389 ; G06K 9/66 ;                                     and learns correlations between the captured pictures and the
                       GO6T 2207/20081 ; G06F 3/002 ; G06F                                 received instruction sets .
                     3/005 ; G06F 3/017 ; GOON 5/022 ; GOON
                                          5/025 ; G06N 20/00
         See application file for complete search history.                                                       34 Claims , 41 Drawing Sheets
                                                                       Method 6100



                                  receiving a firsi digital picure                            receiving a new digital picture                       Step 6125
                      Step 6105

                                                                                               comparing the new digital picture with the first
                               receiving one or more instruction seta for operating           digital picture                                       Step 6130
                      Step 6110 a device
                                                                                               determining that there is at least a partial match
                                                                                               between the new digital picture and the first digital Step 6135
                                correlating the first digital picture with the one of         picture
                      Step 6115 more instruction sets for operating the device
                                                                                               executing the one or more instruction sets for
                                                                                              operating
                                                                                               picture
                                                                                                        the device correlated with the first digital Step 6140
                                   storing the first digital picture correlated with the
                      Step 6120 one or more instructio . sets for operating the
                                   device
                                                                                              performning, by the device . One or more operations
                                                                                               defined by the one or more instruction sets for
                                                                                              operating
                                                                                               picture
                                                                                                        the device correlated with the first digital Step 6145
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                           17                  18                19                                  5
                                                                                                              25

                      27
                                                                                                                     Network Interface
                                                                   PAproligcatmosn DSaptcae                   16

                                Storage        OS
                                                                                                                     Alternaive Memory
                                                                                                                                                                              FIG
                                                                                                                                                                              1
                                                                                                                                                                              .

                                          14
                                                     Cache                                                    22                         23
                                                                                                                                                   -mHaucmhiane
                                      11

                                                                                          Memory                     VOControl                                    Interface
   70DCoemvpuitceng                                                                                      12

                                                                                                                                          21
                                                    Proces r       O
                                                                   /
                                                                   I
                                                                   Port
                                                                   Memory

                                                                                158
                                                                                          DVOevice       13

                                                                   VOPort
                                                                                                                                               Deivspilcaey
                                                                                   15A
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 545 of 2562 PageID #: 8046


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    98
               100
                                                                                                             Artifcal Intelignce
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                                                                                                                                                                                          27

                                                      AforOD(VUnit)upteSorvnAaitmDocuOesn                                    120                         130
                       andUnitforLSV/orUueirsaoimundaigln                                                                                                                       12

                                                                                                                                   AcquistonInterface Modifcaton Iterface            Memory Storage
                                          90
                                                                                             Picture CapturingAp ar tus
                                                                                                                                                                                                      FIG
                                                                                                                                                                                                      2
                                                                                                                                                                                                      .


                                          23
                                                                                             Human machine Interface                                           APprloicgatomn   11


              Device                                                                                                                          Proces r                          18

         50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 546 of 2562 PageID #: 8047


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    100
    120                                                                                                                11

                                                     215
                                                           Arithmeic          UnitLogic
                                                                                                               214
                                                                                                RAergistaeyr
                                                            DInestcroudeirn                                                       .
                                                                                                                                  FIG
                                                                                                                                  3


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                                                           IRnsetgriucteonr
                                                                                          212                                     12

          IUVSnAiDtO Anctqueirsfatceon                     CPorungtream
                                          Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 547 of 2562 PageID #: 8048


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                                  2                   Sheet 4 of 41                US 11,055,583 B1

                             100          120
         VSADO Unit
                      Acquisition Interface
                                                              250
                                                 Logic Circuit
           input 1                                                                     output 1
           input 2                                                                     output 2
           input 3                                                                     power

           input 4                                                                     ground


                                               FIG . 4A

                                                                  100        120
                                         VSADO Unit
                                                           Acquisition Interface

                                      Logic Circuit
           input 1                                                                     output 1
           input 2                                                                     output 2
           input 3                                                                     power

           input 4                                                                     ground

                             250
                                               FIG . 4B
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                                      2           Sheet 5 of 41   US 11,055,583 B1

                                                                     526

             Instruction Set
              Function (Parameter 1 , Parameter2 , Parameter3 , ... )
                                                FIG , 5A
                                                                     526

             Instruction Set
              SELECT Col1 , Col2 ... FROM Tb11 , Tb12 ... ;

                                                FIG . 5B

                                                                     526

             Instruction Set
              iconst Value

                                                FIG , 5C

                                                                     526

             Instruction Set
              add Register1 Register2

                                                FIG . 5D

                                                                     526

             Instruction Set
              000000 00001 00010 00110 00000 100000

                                                FIG . 5E
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                                                              525                   527

    Digital Picture                                                 Extra Info
                                                                    time info , location
                                                                    info , computed
                                                                    info , observed
                                                                    info , sensory info
                                                                    etc.
                                         FIG . 6A




                                                              526                   527

     Instruction Set                                                Extra Info
                                                                    time info , location
                                                                    info , computed
                                                                    info , observed
                                                                    info , sensory info
                                                                    etc.
                                         FIG . 6B
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                                                                        forADOV(Unit)upetSovrnAaitmDcoueOsn                                                    130
                                         andUnitforLSV/orUueirsaoimundaigln                                                                                                               Storage
                                                                                                                                           AcquistonInterface Modifcaton Iterface    12

                                                                                                                                                                                          Memory
                        Proces r                                                                                                           AplicatonProgram                                         7
                                                                                                                                                                                                    .
                                                                                                                                                                                                    FIG


                   23

                                   Human machine Interfac Picture CapturingApartus
          Device
     50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 551 of 2562 PageID #: 8052


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   95
         96
                   100
                                                                                            Artifcal IntelignceUnit
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                         VUnit
                          Using
                          or
                          /
                          and       DAfSuetrovniumcdroensgUnit)V(OpSerAatDioOn
                         Leiasmuianlg
                                                                                                                 AcquistonInterface Modifcaton Iterface
        Network Server
        98                                                                                                                                                          27
                                                                                                                                                                                .
                                                                                                                                                                                FIG
                                                                                                                                                                                8

                                                                                 Picture CapturingAp ar tus
                                                                                                                 11


                                        90                                                                                      18                        2
                                                                                                                                                          12




                Device                  23                                       Human machine Interface Proces r A p l i c a t o n P r o g r a m              Memory Storage
        50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 552 of 2562 PageID #: 8053


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    95
             97
                                                                           Picture CapturingAp ar tus
                                                90


         Network R e m o t e D e v i c e
             98



                                                                            Artifcal Intelig120ncUnite
                                                                      110
                                                                                                                                                            27

                                                                                                                         130                           2
                                                                                                                                                       12



                                           Land
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                                           Unit
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                                            Using
                                            or
                                            /        DAfSuetrovnimcdroeunsg
                                            Veiasrnuianlg O(
                                                           VUnit)pSerAatDioOn
                                                                                                      AcquistonInterface Modifcaton Iterface                Memory Storage   9
                                                                                                                                                                             .
                                                                                                                                                                             FIG



                                       21                                       23


                           Device
                                                   Display Human machine Interface                           Proces r A p l i c a t o nP r o g r a m
               50
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 553 of 2562 PageID #: 8054


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    98
          100                                                                         110
                                                                                                       Artifcal Intelig120ncUnite                                               27

                                                forADO(VUnit)upetSovrnAaimtDcoueOsn                                                            130
                  and/UnitforLSVorUueirsaoimundaigln                                                                                                                  12

                                                                                       PReicotgnuirze AcquistonInterface Modifcaton Iterface                               Memory Storage
                                      350
                                                                                                                                                                                             10
                                                                                                                                                                                             .
                                                                                                                                                                                             FIG
                                                                                       Picture CapturingAp ar tus
                                     23
                                                                                        Human machine Interface
                                                                                                                                                     PAproligcatomn   11


         Device                                                                                                                     Proces r                          18


         50
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                                                Processor
                                                            Application Program
        Picture Capturing Apparatus
                                                                                                 100

    VSADO Unit                                                  120                     130

                                                Acquisition              Modification
                                                Interface                Interface
                110

        Artificial
        Intelligence                                                                      530
                                                                520
                                                                             Knowledgebase
                                Knowledge Structuring Unit
                                                                540

                       Decision -making Unit

                                                                550

                                Confirmation Unit




                                                     FIG . 11
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 555 of 2562 PageID #: 8056


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                 Picture Capturing                  90     AcquisitionInterface 120
                 Apparatus                                                                      520                530

    Knowledge                                                                                            Knowledgebase
    Structuring Unit                                                                     800ax
      Knowledge
       Cell

                           Digital Picture                       Instruction Set
                                                                                   3


                                   :               525a5
                                                             }
                                                             }                     3
                           Digital Picture                                         3

                                              3
                                                                                        526a6
                       I                                                           {
                                              3
                                                   525a4                                526a5
                                              }}                  Instruction Set
                           Digital Picture    {
                                                                 Instruction Set {
                                              3
                                                             }                     3
                       }                      {              }                     3
                                              3    525a3
                                                             3                     3
                                                             3                     3
                           Digital Picture                   }                     3
                                                                                    3
                                                             {
                                                             {
                                              }                                    3
                                              (3 525a2                                  526a4
                                                             }
                                                                                        526a3
                            Digital Picture   3
                                                                 Instruction Set        526a2
                                              {
                                              3                  Instruction Set
                                              {3 525a                                   526a1
                                                                 Instruction Set
                           Digital Picture *                     Instruction Set
                                              3




                                                     :                                   800ab
       Knowledge Cell
                                                                                         800aa
      Knowledge Cell

                                                            FIG . 12
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 556 of 2562 PageID #: 8057


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                 Picture Capturing                90 Acquisition Interface            120
                 Apparatus                                                                  520                530

    Knowledge                                                                                        Knowledgebase
    Structuring Unit                                           3                     800ax
         Knowledge                           3                                  3
       Cell                Digital Picture   3
                                             3
                                             1
                                                              Instruction Set   {
                                             {
                                                    ;                                800ae
       Knowledge                             1525a5       3
                                                                                3
       Cell                                               }                     }
                                                                                {
                                                          {
                                                                                3
                                                          3
                           Digital Picture                {                     3


                                                                                3
                    }
                                                          3
                                                          }                     3    800ad
                                             }                                  3
        Knowledge                            3
                                                          {
                                                                                {
                                                                                    526a6
       Cell                                  3
                                             3
                                                                                3
                                                 525a4                              526a5
                    f                                         Instruction Set
                           Digital Picture 3                  Instruction Set
                                             3
                                                          {
                                             3
                                             3            3                          800ac
        Knowledge                                525a3    3
                                                                                3
                                                                                }
       Cell                                               3
                                                          3
                                                          3
                           Digital Picture                                      3


                                                                                3
                                             3
                                             }
                                                                                     800ab
        Knowledge                            I 525a2      {
                                                          }
                                                                                3
                                                                                3   526a4
       Cell                                               {
                                                                                3


                    1 Digital Picture                         Instruction Set
                                             }
                                             3
                                             3            3
                                                                                3    800aa
        Knowledge                            3
                                             3            }
                                                                                    526a3
       Cell                                  3
                    }
                       }                     3                                      526a2
                    }                                         Instruction Set
                                                 525a1                              52621
                   I                                          Instruction Set
                           Digital Picture                illnstruction Set

                                                          FIG . 13
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 557 of 2562 PageID #: 8058


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                 Picture Capturing                  90       AcquisitionInterface 120
                 Apparatus                                                                        520                530

    Knowledge                                                                                              Knowledgebase
    Structuring Unit                                                                       800ax
      Knowledge
       Cell
                       Pok

                                                                                      {
                             Digital Picture                       Instruction Set
                                     ?                             Instruciion Set
                              Digital Picture                      Instruction Set 3
         525dni                                                3                      3

                                     :          3
                                                3
                                                               3
                                                                          :               52626
                                                               {

          525d1 Digital Picture
                                                               }                      3
                                                                                          526a5
                                     :                              Instruction Set
          525cn
                             Digital Picture                       Instruction Set

          525c1
                              Digital Picture i                                       }
                                                               3

          525bn                      :                         3
                                                               {
                                                                                      }
                                                                                   152624
                Digital Picture                                                     526a3
          525b1
                Digital Picture                                    Instruction Set
                                                                                    526a2
                                     :                             Instruction Set
         525an
                              Digital Picture                       Instruction Seti3
                             Digital Picture                   3
          525a1                                                }                          526a1
                                                                                      3
                                     :
                             Digital Picture                   ilInstruction Set


                                                     :                                     800ab
       Knowledge Cell
                                                                                           800aa
      Knowledge Cell

                                                              FIG , 14
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                Picture Capturing             90 Acquisition Interface 120
                Apparatus                                                                520                530

    Knowledge                                                                                     Knowledgebase
    Structuring Unit                                                             800ax
       Knowledge
       Cell            Digital Picture                     Instruction Set
                                                                             }
                               :                           Instruction Set
                       Digital Picture                     Instruction Set 3!
                                                                             {
                                                ?      }                     3    800ad
       Cabledge Digital Picture                        {
                                                       3
                                                       {
                                                                             3
                                                                             }
                                          3
        525dn                  :          3
                                          3
                                                            Instruction Set 526a6
                                                                             3

        52501           Digital Picture                    Instruction Set 3 526a5
                                                       }                     3
                   }
                                                       }
                                                       }
                                                                                  800ac
      Knowledge                                        3

       Cell            Digital Picture 3               3

                                          3            3                     3
        525cni                 :          3            3
                                                       3
                                                                             3

                                                       }
         52501 } Digital Picture                       }
                                                       }
                   {                                   3                     3
                                          3
                                                       3                     3   800ab
       cal edge,Digital Picture                            Instruction Set   526a4
                                                                             }
                                                                             3
         525bn                 :                           Instruction Set   526a3
                                                                           3

         525b1          Digital Picture                    Instruction Set 3 526a2
                   }                                   3                     3
                   }                      3
                                                                                  800aa
                                          3            3

      Knowledge                                        {                     3
                       Digital Picture                                       3
                                                                             3
                                                                             3
        525ani                 :                                             3


         525a1          Digital Picture                i Instruction Set         526a1


                                                       FIG . 15
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          852
    853
                                                                        853
                                             oo
                                                                              852

                  MBodel                                       MDodel
                                                                                      .
                                                                                      FIG
                                                                                      16



                  MAodel                                       MCodel
          852
    853

                                                   853
                                                         852
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                              800zb                               800cc

     Knowledge Cell                         Knowledge Cell
           Occurrences = 10                                  Occurrences = 15
           Weight=0.4                                        Weight=0.6

                   85321                                                        85322
                                            Knowledge Cell
                                                                800za
                                                     FIG . 17A

                              800zb                               800zc                                 800zd
     Knowledge Cell                         Knowledge Cell                      Knowledge Cell
           Occurrences = 10                                  Occurrences = 15           Occurrences = 1
           Weight=0.385                                      Weight= 0.577              Weight= 0.038
                                                                                                    85323
                    85371                                                       85322
                                            Knowledge Cell
                                                                800za
                                                     FIG . 17B

                              800zb                               83zc                                  800zd
     Knowledge Cell                         Knowledge Cell                      Knowledge Cell
           Occurrences - 11                                  Occurrences = 15           Occurrences = 1
           Weight=0.407                                      Weight= 0.556              Weight= 0.037
                                                                                                    -85323
                    85371                                                       85372
                                            Knowledge Cell
                                                                800za
                                                     FIG . 17C
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                                                                                                                                                                         530d
                               Knowledg   Cell



              80 ce Knowledg Cell
               80 cd Knowledg Cell
                                                                                                                                                                                18
                                                                                                                                                                                .
                                                                                                                                                                                FIG
              80 c Knowledg Cel
               80 cb Knowledg Cell
    CofKonlewlcetidogsne 80 ca Knowledg
                                          Cell


                                                 KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                         520
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                               Layer :854e Layer                          Layer              Layer                    Layer                    Layer                     530a
                                                                   854d                                       854c                    854b                    854a
                               KCnoewl dlge 80 e CKnoewl dlge 80 ed KCnoewl dlge 80 ec CKnoewl dlge
                                              :
                                                                                                                     853e2 80 eb
                                                                8 5 3 e 4    8 5 3 e
                               KCnoewl dlge   :     CKneowledlge CKnoewl dlge CKnoewl dlge                             CKnoewl dlge          853e1 80 ea
                                                                          KCnoewl dlge        CKnoewl dlge             CKnoewl dlge            CKnoewledlge
                                                                                                                                                                                19
                                                                                                                                                                                .
                                                                                                                                                                                FIG
                               CKnoewl dlge         CKnoewl dlge           CKnoewl dlge       CKnoewl dlge             CKnoewl dlge            CKnoewl dlge
                                                                                               CKnoewl dlge           KCnoewl dlge             CKnoewl dlge

                                                    CKnoewl dlge          KCnoewildge         CKnoewl dlge
    Netuwroalk
                                                                                                                                                                          125
                               KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                         520
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                               Layer :854e Layer                          Layer           Layer                  Layer                   Layer                     530a
                                                                   854d                                   8540                   854b                   854a
                               KCnoewledlge   :     CKnoewl dlge          KCnoewl dgle     CKnoewl dlge
                                                    CKnoewl dlge          CKhoewl dlge     CKnoewl dlge           CKnoewl dlge          853 800

                               KCnoewl dlge   :    CelKnowledge           CKnoewl dlge     CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                          20
                                                                                                                                                                          .
                                                                                                                                                                          FIG
                                                                                           CKnoewl dlge           CKnoewl dlge           CKnoewl dlge
                               CelKnowledge   :
                                                   CKnoewl dlge           CKnoewl dlge     CKnoewl dlge          KCnoewl dlge            CKnoewl dlge

                                                                          KCnoewl dlge     CKnoewl dlge
    Netuwroalk
                               KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                   520
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                                                                            80 he KCnoewldlge                                                                         530b
                                                                                                                  CKnoewledlge
                                              80 hd CKnoewldlge
                                                                                853h4
                               KCnoewl dlge                              853h                                                              CelKnowledge
                                                                                                                                                        8 0 h a
                                                                                                80 ha
                                                                                                   KCnoewl dlge                    853h1                          :


                                                                                                                                                                             21
                                                                                                                                                                             .
                                                                                                                                                                             FIG
                               CKnoewledlge                                                        CKnoewl dlge                  853h2
                                                          CKnoewl dlge                                            CKnoewl dlge             CKnoewledlge
                                                                                                                                                        8 0 h b
                               CKnoewl dlge
    Graph
                               KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                      520
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                                                                                                                                                                        530c
                                         CKnoewledlge                            CKnoewl dlge        CKnoewl dlge         CKnoewledlge        CKnoewledlge
                               Sequnce                  :    CKnoewl dlge


                                                                                                                                                                800
                                         CKnoewl dlge        CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge      533
                      Sequnce                           :




                               CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewl dlge CKnoewledlge
                      Sequnce                           .
                                                                                                                                                                               22
                                                                                                                                                                               .
                                                                                                                                                                               FIG


                                K
                                C n o
                                    e w l e d
                                            l g e CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewledlge CKnoewledlge
                      Sequnce
                                                        :
                                                        ||
                                K
                                C n o
                                    e w l  dlg e   CKnoewl dlge CKneowledlge CKnoewl dlge KCnoewl dlge KCnoewl dlge
    CofSoelqucetnioes Sequ nce

                                         KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
    KnowledgStruc ing   Unit
                                                                                                                                                                        520
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                                                                                                                                                                                                                                             530d
                      Knowledg
                                                                                                                               :
     80 c
     80 b Knowledg
                   Cell
     80 a                                                                      526a 526a5                                                                     526a4 526a3 526a2 526a1
                                          SetInstruction   :
                                                           :
                                                                                              SetInstruction SInsteruction                                                 ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                               23
                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                               FIG


                                                           52 a5                      52 a4                                        52 a3                      52 a2                               52 am
    CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                       DPigctuarle                              DPigctuarle                    DPigctuarle                DPigctuarle                                        PDicgtiurael


    Decison -making N                                                                                                                                                                                                                        540125
                                                               52515                      52 14                                        52 13                      52 12                                 5251                                  90

    CPicture apturingApartus PDicgtiurael                  :

                                                                       PDicgtiurael                              DPigctuarle                   PDicgtiurael               PDicgtiurael                                        DPigcituarle
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 567 of 2562 PageID #: 8068


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                                                                                                                                                                                                                                           530d
                      Knowledg
                                                                                                                               :
     80 c
     80 b Knowledg
                   Cell
     80 a                                                                      526a 526a5                                                                    526a4 526a3 526a2 526a1
                                          SetInstruction   :
                                                           :
                                                                                              SetInstruction SInsteruction                                              ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                             24
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             FIG

                                                           52 a5                      52 a4                                        52 a3                     52 a2                             52 am
    CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                       DPigctuarle                              DPigctuarle                   DPigctuarle               DPigctuarle                                         PDicgtiurael


    Decison -making N                                                                                                                                                                                                                      540125

                                                               52513                      52 12                                        5251                      5251                                5251                                  90

    Picture CapturingAp ar tus
                                                           :

                                          PDicgtiurael                 PDicgtiurael                              DPigctuarle                  PDicgtiurael              PDicgtiurael                                    w




                                                                                                                                                                                                                            PDicgtiurael
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                                                                                                                                                        530d
                                CKnoewledlge DPigctuarle       :
                                                                    PDicgturael   DPigcituarle   DPigctuarle   PDicgtiurael   DPigctuarle

                                                                         52 d5 52 d4 52 d3 52 02 52 d1
                80 rd CKneowledlge DPigctuarle                 :

                                                                   PDicgturael    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael

               80 rc KCelnowledge PDicgtiurael                 :

                                                                   PDicgturael    PDicgtiurael   PDicgturael   PDicgturael    PDicgtiurael      52 c1         25
                                                                                                                                                              .
                                                                                                                                                              FIG

               80 rb CKnoewl dlge PDicgtiurael                                                                                                  52 c2
                                                               :
                                                                    DPigctuarle   PDicgtiurael   DPigctuarle   DPigctuarle    PDicgtiurael
    CofKonlewlcetidogsne 80 ra CKnoewledlge
                                                 DPigctuarle   :

                                                                   DPigctuarle    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael
                                                                                                                                                         540
    Decison -making                                                               ? ?? ??                                                                 125
                                                              5 2 5 1 5   5 2 1 4      5 2 1 3     5 2 1 2      5 2 5 1                                  90

    Picture CapturingAp ar tus
                                                  DPigcituarle PDicgturael PDicgtiurael DPigctuarle PDicgtiurael PDicgtiurael
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                                       Layer                              Layer                                  Layer                                 Layer                                Layer                                Layer                        530a
                                                             854e                                 854d                                                                   854c                                  854b                                    854a
                                                                                                                   CKnoewl dlge                        KCnoewl dlge

                                                                            KCnoewl dlge                          CKnoewl dlge                          CelKnowledge                          CKnoewl dlge                         CelKnowledge
                                                                                                 0.25                                                                                                             0.35

                                         KCnoewl dlge                                            0.75 CKnoewledlge
                                                                                                                  Cell              80 td KCnoewldlge                                        CKnoewl dlge 0.35 oCKnweowlledlgee dge80 ta
                                                                            CKneowledlge 85314                                         0.80
                                                            80 te                                   8537 CKnoewldlge 0.20                                                                                          0.30
                                                                                                                                                                                              CKnoewl dlge KCnoewl dlge
                                                                                                                                                                                                                        8 5 3 t 1                                    26
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     FIG

                                                                                                                                      80 tc C
                                                                                                                                            K n o
                                                                                                                                                e w l e
                                                                                                                                                      dlg e 8 5 3 t 2 810 tb

                                         KCnoewledlge                       KCnoewl dlge                          KCnoewl dlge                                                               CKnoewl dlge

    Netuwroalk                           CelKnowledge                       CKnoewl dlge                          KCelnowledge                          CKnoewledlge

    Decison -making                                                                                                                                                                                                                                           540125


    Picture CapturingAp ar tus   PDigcituarle PDioctuarle
                                                            :
                                                                    P5Di2cg5tiueranel 5DPi2gc5ituear1le 5DPi2gc5itudarnle 5PDi2cg5ti0ur1ael 5DPi2gc5itucarnle 5PDi2cg5tiucra1el 5250DPigcituarle 5PDi2cg5tiu0ra1el 5PDi2cg5tiaurnel DP525aigcituarle
                                                                             :                                        3
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                                                                                                                                                                                         KCnoewl dlge 80 ub                                                      530b
                                                                        853u1                                                                               0.60 0.30 0.10
                                 80 ua CKnoewldlge 0.15                                                       CKnoewl dlge
                                                                 0.85                                                                               853u2
                                                                                                                                                                                         CKnoewl dlge                         CKnoewledlge

       :
                                                                         CKnoewl dlge                                          80 uc CKnoewldlge                                                                                                             :




                                             CKnoewl dlge                      80 ud          0.20 CKnoewl dlge                               853u 85304                                                                                                                27
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                        FIG

                                                                                                                                  0.80
                                                                                                                                                                                         CKnoewl dlge
                                                                                                                                                                                                             80 ue
                                             KCnoewl dlge                                                     CKnoewl dlge
    Graph
                                                                                                                                                                                                                                                                 540
    Decison -makingUnit                                                                                                                                                                                                                                           125
                                                                                                                                                                                                                                                                 90

    Picture CapturingAp ar tus       DPigcituarle PDicgtiurael             PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5DPi2gc5itudarnle 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el P5Di2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
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                                                                                                                                                                                                                                                            530c
                                                CKnoewledlge                    CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKnoewledlge                          CKnoewledlge
                             Sequ nce                               :




                                                                                     -80 de 80 d 80 dc -80 db 80 da
              53 wd                  K
                                     C n o
                                         e w l e d
                                                 l g e                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKneowledlge                         KCnoewl dlge
                             Sequnce
              53 wc                             CKnoewl dlge                    KCnoewl dlge                          KCnoewledlge                         CKnoewl dlge                          CKnoewl dlge                         CKnoewl dlge80 ca
                           Sequnce                                  :

                                                                                                                                                                                                                                                                   FIG
                                                                                                                                                                                                                                                                   28
                                                                                                                                                                                                                                                                   .

                     53 wb CKnoewldlge                                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                          CKnoewl dlge                        CKneowledlge
                                                                                                                                                                                                                                                  8 0 c b
                           Sequnce                                  :




    CofSoelquctnioes 53 wa Sequ nce CKnoewledlge                    :           CKneowledlge                         CKnoewledlge                          CKnoewledlge                         CKnoewledlge                          CKnoewl dlge
                                                                                                                                                                                                                                                            540
    Decison -makingUnit                                                                                                                                                                                                                                      125
                                                                                                                                                                                                                                                            90

    Picture CapturingAp ar tus          DPigcituarle PDicgtiurael       PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5DPi2gc5itudarnle 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el P5Di2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
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   100
   130                                                                                                              11

                                                  215
                                                        Arithmeic          UnitLogic
                                                                                                            214
                                                                                             RAergistaeyr
                                                         DInestcroudeirn                                                       FIG
                                                                                                                               29
                                                                                                                               .

                                                                                       213
                                                        IRnsetgriucteonr
                                                                                       212                                     12

         MUVSnAiDtO Iondtiferca oen                     CPorungtream
                                       Proces r                                        211                            Memory
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                             100          130
         VSADO Unit
                      Modification Interface
                                                              250
                                                 Logic Circuit
           input 1                                                               output 1
           input 2                                                               output 2

           input 3                                                               power

           input 4                                                               ground

                       251
                                               FIG . 30A

                                                                 100   130
                                         VSADO Unit Modification Interface



                                      Logic Circuit
           input 1                                                               output 1
           input 2                                                               output 2
                                                                 251
           input 3                                                               power

           input 4                                                               ground

                             250
                                               FIG . 30B
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                      6125Step                                                        6S1t3e0p                                                                                                   6135Step


                                                                                                                                                                                                                                                                                                                             othedcwithfpStep6140eirvgaeriltscnaetgdl                                                                                                                                                        6145Stepdfirstthewithciopergivertlaictilendg
                                                   thefwithpdnewciomgrptiasurtienlg                                                       maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                                       forsimoneortheenxeotrcutrsieong                                                                                                                            ,oneormoreobythedperfvaoitrmconesg setsforormoreibythedonenestfriucnteiodn
                drpaneweicgitvuarnleg
                                                                                  dpigctuarle                                                                                                                picture                                                                                                                                               picture                                                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               FIG




    6Me1t0hod
                                                                                                                                                                                                                orwiththeonedfcpoirgceritlausritnleg
                                                                                        oforsioneormrnpecotrauitrcvsenog                                                                                                                                                                                                                                                thewcpdfsoirtcgoeritluashrnetldg
                      pdafriecgtriuvsriatnelg                                                                                                                                                                                                      dtheosetsformorei6115Steppensvtraiutc ineog                                                                                                             theosetsforimoreponeor6120nStepestrautcinog

                                                                                                                           da6110
                                                                                                                             |eStepvice
                                                                                                                                                                                                                                                                                                                                                                                                                                                   device
                                        6105Step
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                      6220Step                                                                        6S2te5p


                                                                                                                                                                                                                     odcthewithfStep6230peirvgeariltscnaetgld                                                                                                                                                     6235Stepdfthewithciopergrivetlaisctilendg
                                                   siforormtheaonenteoircutrpaiseongdthefwcoipergvriatlscahntelgdbmaplonateaitrcawseiucarhtdnle thenewpdfandicgrtiusratel               forismoneortheenxetorcutriseong                                                                                                                          ,oneormoreobythedperfvaoitrmconesgsetsforormoreibythedonenestfriucnteiodn
                drpaneweicgitvuarnleg
                                                                                                                                                                                                                                                            picture                                                                                                                                                                                     picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FIG




    M6e2th0od
                                                                                                                                forosioneormrnpecotrauitrcvsenog                                                                                                thewcpdfloiercagtrilnuastrheldg
                      pdafriecgtriuvsriatnelg                                                                                                                                                                                                                                                 theosetsforimoreor6215oneSteppnestrautcinog

                                                                                                                                                                   da6210eStepvice
                                                                                                                                                                                                                                                                                                                                        device
                                        6205Step
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                        6325Step                                                               6S3te0p                                                                                                              6S3te5p


                                                                                                                                                                                                                                                                                                                                                                octhedwsfpStep6340ertivrailtescanhetgmd                                                                                                                                                               6345Stepsfthewithcdtoirepvrlsiatcmiendg
                                                           wpdsofthecnewiotmgrpituaerhinmlsg                                                               mataplisdthatteahrtaemicsrnahtelg sthebnewpofdandeitcgrwieutraemnls                                                                                                   setsforimoneortheensxotrcurtieong                                                                                                                                  ,oneormoreobythedperfvaoitrmconesg setsforormoreibythedonenestfriucnteiodn
                pofdanewsrietcgriuevtranmlsg
                                                                                         thefsofdptigcrtiesuartmels                                                                                                          fsofdptigrctiesuartmels
                                                                                                                                                                                                                                                                                                                                                                                                  ofdpicgtiuraels                                                                                                                                                                                          ofdpicgtiuraels
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG




    M6e3th0od
                                                                                                      forosioneormrnpecotrauitrcvsenog                                                                                                    wpofdsthefcoitrcgeriltuasihetnmlsg                                                                                                                               cpdofsftheoirtcgoerilutasentmlgd
                          pofdsafreitcgrieuvtsrantmlsg                                                                                                                                                                                                                    theoforsetsmoreioneor6315Steppnsetrautcinog                                                                                                                     osetsforiormorewiththeoneStep6320npsetrautcinog

                                                                                                                                                                                                                                                                                                                        device                                                                                                                                                          thedevice
                                                                                                                                         da6310eStepvice
                                                6305Step
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                      6425Step                                                        6S4t3e0p                                                                                                                                            6435Step                                                                                           6440Step                                                                                                                6445Step



                                                   thefwithpnewdciomgrptiasuritenlg                                                                                                  maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                      input
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                                                                                                                                                                                                                                                                                                                            logic
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                                                                                  dpigctuarle                                                                                                                                                           picture
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG




    6Me4t0hod
                                                                                        atlwthe,oneirhencaeprisuvitng,andcbyalogicroneinputarealsoiecreiuvietd ofor,theandpiurntopdutcse                                                                          theatlwithdcpfoiergcaritlusaritnleg                                                                  withtheatcpdfsoirtcgoeriluatsrnetldg
                      pdafriecgtriuvsriatnelg                                                                                          rtocislthewoe6410Stepinhcofregiuevrictdn
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                                        6405Step
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                      6525Step                                                        6S5t3e0p                                                                                                                                                                 6535Step                                                                                                             6540Step



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                drpaneweicgitvuarnleg
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                                                                                                                                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   35
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG




    M6e5th0od
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                                                                                                                    ,wcrhiaonersgcmieut centd                                                                                                                                        withtheatlpdfcoiercgartilustraitnelg                                                                                                                 theatwcpdfsoirtcgoertiluasthrneldg
                      pdafriecgtriuvsriatnelg                                                                                               pandirtocis6510Soencptfrdeiugtcvripsetddaoforthe,peutvrapituctnesg

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                                        6505Step
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                     6425Step                                                        6St3e0p                                                                                                                                                                               6635Step                                                                                          6440Step



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         dbytheatonelciwithStep6445eonrfiapelnsuaetd
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                                                                                                                                                                                                                                                                                                                                                           at
                                                                                                                                                                                                                                                                                                                                                           the
                                                                                                                                                                                                                                                                                                                                                           ,                                                                                                    mone,atlaby
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               drpaneweicgitvuarnleg
                                                                                                                                                                                                                                                                                                                                                                         cwthefdoprigcerlitasuhertdl
                                                                                 dpigctuarle                                                                                                                                                                                                                                                                                                                                                                                                                                    fdpigcritsuartle
                                                                                                                                                                                                                                                                                       picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG




    M6eth0od
                                                                                       ltheatwi,onerhencaeprisuvitng,andbyanaarealsoroneicentuepaiutvoetrd                                                                                                                                       theatlwithdcpfoiergcaritlusaritnleg                                                                   withtheatcpdfsoirtcgoeriluatsrnetldg
                     pdafriecgtriuvsriatnelg                                                                                                                 irtocaisthew6610,Stepoenhctpfeuirgatvoiserdn
                                                                                                                                                                                                       mpandoetrifonrsm
                                                                                                                                                                                                                                                                                                                                       ione6615Stepnput                                                                                  ionel6420Stepnepaust
                                       6605Step
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                                1                   1                     37
                                                                          .
                                                                          FIG
                     98a


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                                           2          Sheet 38 of 41   US 11,055,583 B1




                            3




         306
               906
                     90a         E
                           98a
                                                          1
                                                                              .
                                                                              FIG
                                                                              38
                           98a
                                                      1

                     90a
                                 906
                                   906
                                               ??
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                                                                          39
                                                                          .
                                                                          FIG
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                                                                          40
                                                                          .
                                                                          FIG




                         2018
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                                         98d
                                               06




                                                                             41
                                                                             .
                                                                             FIG
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                                                      US 11,055,583 B1
                                 1                                                                  2
        MACHINE LEARNING FOR COMPUTING                             for operating the device correlated with the first digital
         ENABLED SYSTEMS AND/OR DEVICES                            picture , the executing performed in response to the antici
                                                                   pating of the artificial intelligence unit , wherein the device
               CROSS REFERENCE TO RELATED                          performs one or more operations defined by the one or more
                          APPLICATION                            5 instruction sets for operating the device correlated with the
                                                                   first digital picture, the one or more operations performed in
      This application is a continuation of, and claims priority response to the executing by the processor circuit .
   under 35 U.S.C. § 120 from , nonprovisional U.S. patent circuit    In certain embodiments , at least one of the processor
   application Ser. No. 15 / 822,150 entitled “ MACHINE                    , the memory unit , the picture capturing apparatus, or
   LEARNING FOR COMPUTING ENABLED SYSTEMS 10 the                         artificial intelligence unit are part of, operating on , or
   AND /OR DEVICES ” , filed on Nov. 26 , 2017. The disclo coupled to the device . In further embodiments, the device
   sure of the foregoing document is incorporated herein by includes one or more devices . In further embodiments, the
   reference .                                                     device includes a smartphone, a fixture , a control device, a
                                                                   computing enabled device , or a computer.
                              FIELD                             15    In some embodiments, the processor circuit includes one
                                                                   or more processor circuits . In further embodiments, the
      The disclosure generally relates to computing enabled processor circuit includes a logic circuit . The logic circuit
   systems and /or devices.                                        may include a microcontroller. The one or more instruction
                                                                   sets may include one or more inputs into or one or more
                      COPYRIGHT NOTICE                          20 outputs from the logic circuit .
                                                                      In certain embodiments , the processor circuit includes a
      A portion of the disclosure of this patent document logic circuit, the instruction sets for operating the device
   contains material which is subject to copyright protection. include inputs into the logic circuit , and executing instruc
   The copyright owner has no objection to the facsimile tion sets for operating the device includes performing logic
   reproduction by anyone of the patent document or the patent 25 operations on the inputs into the logic circuit and producing
   disclosure as it appears in the Patent and Trademark Office outputs for operating the device. The logic circuit may
   patent file or records, but otherwise reserves all copyright include a microcontroller. In further embodiments, the pro
   rights whatsoever.                                              cessor circuit includes a logic circuit , the instruction sets for
                                                                   operating the device include outputs from the logic circuit
                         BACKGROUND                             30 for operating the device, and executing instruction sets for
                                                                   operating the device includes performing logic operations on
      Computing enabled systems and / or devices range from inputs into the logic circuit and producing the outputs from
   appliances, toys , entertainment electronics, computers, and the logic circuit for operating the device .
   communication systems and / or devices to vehicles, robots ,          In some embodiments , the memory unit includes one or
   and industrial systems and / or devices, and / or others. These 35 more memory units . In further embodiments, the memory
   systems and /or devices depend on user's input to various unit resides on a remote computing device , the remote
   degrees for their operation. A machine learning solution is computing device coupled to the processor circuit via a
   needed for computing enabled systems and / or devices to be network . The remote computing device may include a
   less dependent on or fully independent from user input.             server.
                                                                  40    In some embodiments, the picture capturing apparatus
               SUMMARY OF THE INVENTION                              includes one or more picture capturing apparatuses. In
                                                                     further embodiments , the picture capturing apparatus
      In some aspects , the disclosure relates to a system . The includes a motion picture camera or a still picture camera . In
   system may be implemented at least in part on one or more further embodiments, the picture capturing apparatus resides
   computing devices. In some embodiments, the system com- 45 on a remote device, the remote device coupled to the
   prises a processor circuit configured to execute instruction processor circuit via a network .
   sets for operating a device . The system may further include         In certain embodiments , the artificial intelligence unit is
   a memory unit configured to store data . The system may coupled to the picture capturing apparatus. In further
   further include a picture capturing apparatus configured to embodiments, the artificial intelligence unit is coupled to the
   capture digital pictures. The system may further include an 50 memory unit. In further embodiments, the artificial intelli
   artificial intelligence unit. In some embodiments, the artifi- gence unit is part of, operating on , or coupled to the
   cial intelligence unit may be configured to : receive a first processor circuit . In further embodiments, the system further
   digital picture from the picture capturing apparatus. The comprises: a second processor circuit, wherein the artificial
   artificial intelligence unit may be further configured to : intelligence unit is part of, operating on , or coupled to the
   receive one or more instruction sets for operating the device 55 second processor circuit . In further embodiments, the arti
   from the processor circuit. The artificial intelligence unit ficial intelligence unit is part of, operating on , or coupled to
   may be further configured to : learn the first digital picture a remote computing device, the remote computing device
   correlated with the one or more instruction sets for operating coupled to the processor circuit via a network . In further
   the device. The artificial intelligence unit may be further embodiments, the artificial intelligence unit includes a cir
   configured to : receive a new digital picture from the picture 60 cuit , a computing apparatus, or a computing system attach
   capturing apparatus. The artificial intelligence unit may be able to the processor circuit. In further embodiments, the
   further configured to : anticipate the one or more instruction artificial intelligence unit includes a circuit, a computing
   sets for operating the device correlated with the first digital apparatus, or a computing system attachable to the device . In
   picture based on at least a partial match between the new further embodiments, the artificial intelligence unit is attach
   digital picture and the first digital picture. The artificial 65 able to an application for operating the device , the applica
   intelligence unit may be further configured to : cause the tion running on the processor circuit . In further embodi
   processor circuit to execute the one or more instruction sets ments, the artificial intelligence unit includes a circuit, a
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                                                       US 11,055,583 B1
                                 3                                                                    4
   computing apparatus, or a computing system built into the time subsequent to the capturing the first digital picture. The
   processor circuit. In further embodiments, the artificial intel- one or more instruction sets that temporally correspond to
   ligence unit includes a circuit, a computing apparatus, or a the first digital picture may include one or more instruction
   computing system built into the device . In further embodi- sets executed within a threshold period of time prior to the
   ments, the artificial intelligence unit is built into an appli- 5 capturing the first digital picture or a threshold period of
   cation for operating the device , the application running on time subsequent to the capturing the first digital picture. The
   the processor circuit. In further embodiments, the artificial one or more instruction sets that temporally correspond to
   intelligence unit is provided as a feature of the processor the first digital picture may include one or more instruction
   circuit . In further embodiments, the artificial intelligence sets executed from a start of capturing a preceding digital
   unit is provided as a feature of an application running on the 10 picture to a start of capturing the first digital picture. The one
   processor circuit. In further embodiments, the artificial intel- or more instruction sets that temporally correspond to the
   ligence unit is provided as a feature of the device . In further first digital picture may include one or more instruction sets
   embodiments, the artificial intelligence unit is further con- executed from a start of capturing the first digital picture to
   figured to : take control from , share control with, or release a start of capturing a subsequent digital picture . The one or
   control to the processor circuit. In further embodiments, the 15 more instruction sets that temporally correspond to the first
   artificial intelligence unit is further configured to : take digital picture may include one or more instruction sets
   control from , share control with , or release control to an executed from a completion of capturing a preceding digital
   application or an object of the application , the application picture to a completion of capturing the first digital picture .
   running on the processor circuit . In further embodiments , the The one or more instruction sets that temporally correspond
   artificial intelligence unit is further configured to : take 20 to the first digital picture include one or more instruction sets
   control from , share control with , or release control to a user executed from a completion of capturing the first digital
   or a system .                                                        picture to a completion of capturing a subsequent digital
      In some embodiments , the first digital picture includes a picture.
   stream of digital pictures. In further embodiments , the new            In some embodiments, the one or more instruction sets for
   digital picture includes a stream of digital pictures. In further 25 operating the device are executed by the processor circuit. In
   embodiments, the first and the new digital pictures portray further embodiments, the one or more instruction sets for
   the device's surrounding. In further embodiments, the first operating the device are part of an application for operating
   and the new digital pictures portray a remote device's the device , the application running on the processor circuit .
   surrounding. In further embodiments, the first or the new In further embodiments, the one or more instruction sets for
   digital picture includes a JPEG picture , a GIF picture, a TIFF 30 operating the device include one or more inputs into or one
   picture , a PNG picture, a PDF picture, or a digitally encoded or more outputs from the processor circuit . In further
   picture . The stream of digital pictures may include a MPEG embodiments, the one or more instruction sets for operating
   motion picture, an AVI motion picture, a FLV motion                 the device include values or states of one or more registers
   picture, a MOV motion picture, a RM motion picture, a SWF           or elements of the processor circuit . In further embodiments,
   motion picture , a WMV motion picture, a DivX motion 35 an instruction set includes at least one of: a command , a
   picture, or a digitally encoded motion picture. In further keyword, a symbol, an instruction , an operator, a variable , a
   embodiments, the first digital picture includes a comparative value , an object, a data structure, a function , a parameter, a
   digital picture whose at least one portion can be used for state , a signal, an input, an output , a character, a digit , or a
   comparisons with at least one portion of digital pictures reference thereto . In further embodiments, the one or more
   subsequent to the first digital picture , the digital pictures 40 instruction sets include a source code , a bytecode , an inter
   subsequent to the first digital picture comprising the new mediate code , a compiled code, an interpreted code, a
   digital picture. In further embodiments, the first digital translated code , a runtime code, an assembly code , a struc
   picture includes a comparative digital picture that can be tured query language (SQL ) code , or a machine code. In
   used for comparisons with the new digital picture. In further further embodiments, the one or more instruction sets
   embodiments, the new digital picture includes an anticipa- 45 include one or more code segments , lines of code , state
   tory digital picture whose correlated one or more instruction ments, instructions, functions, routines, subroutines, or basic
   sets can be used for anticipation of one or more instruction blocks . In further embodiments, the processor circuit
   sets to be executed by the processor circuit .                    includes a logic circuit . The one or more instruction sets for
      In certain embodiments, the one or more instruction sets operating the device include one or more inputs into a logic
   for operating the device include one or more instruction sets 50 circuit . The one or more instruction sets for operating the
   that temporally correspond to the first digital picture. The device include one or more outputs from a logic circuit . In
   one or more instruction sets that temporally correspond to further embodiments, the one or more instruction sets for
   the first digital picture may include one or more instruction operating the device include one or more instruction sets for
   sets executed at a time of the capturing the first digital operating an application or an object of the application , the
   picture . The one or more instruction sets that temporally 55 application running on the processor circuit .
   correspond to the first digital picture may include one or           In some embodiments , the receiving the one or more
   more instruction sets executed prior to the capturing the first instruction sets for operating the device from the processor
   digital picture. The one or more instruction sets that tem- circuit includes obtaining the one or more instruction sets
   porally correspond to the first digital picture may include from the processor circuit. In further embodiments, the
   one or more instruction sets executed within a threshold 60 receiving the one or more instruction sets for operating the
   period of time prior to the capturing the first digital picture. device from the processor circuit includes receiving the one
   The one or more instruction sets that temporally correspond or more instruction sets as they are executed by the proces
   to the first digital picture may include one or more instruc- sor circuit . In further embodiments, the receiving the one or
   tion sets executed subsequent to the capturing the first digital more instruction sets for operating the device from the
   picture. The one or more instruction sets that temporally 65 processor circuit includes receiving the one or more instruc
   correspond to the first digital picture may include one or tion sets for operating the device from a register or an
   more instruction sets executed within a threshold period of element of the processor circuit . In further embodiments , the
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                                                      US 11,055,583 B1
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   receiving the one or more instruction sets for operating the more instruction sets for operating the device from the
   device from the processor circuit includes receiving the one processor circuit includes at least one of: tracing, profiling,
   or more instruction sets for operating the device from an or instrumentation of the processor circuit , the device , a
   element that is part of, operating on, or coupled to the virtual machine , a runtime engine, an operating system , an
   processor circuit . In further embodiments, the receiving the 5 execution stack , a program counter, or a processing element.
   one or more instruction sets for operating the device from In further embodiments, the receiving the one or more
   the processor circuit includes receiving the one or more instruction sets for operating the device from the processor
   instruction sets for operating the device from at least one of: circuit includes at least one of: tracing, profiling, or instru
   the memory unit , the device, a virtual machine , a runtime mentation of the processor circuit or tracing, profiling, or
   engine, a hard drive , a storage device, a peripheral device, a 10 instrumentation of a component of the processor circuit . In
   network connected device, or a user. In further embodi- further embodiments, the receiving the one or more instruc
   ments, the receiving the one or more instruction sets for tion sets for operating the device from the processor circuit
   operating the device from the processor circuit includes includes at least one of: tracing, profiling, or instrumentation
   receiving the one or more instruction sets from a plurality of of an application or an object of the application, the appli
   processor circuits , applications, memory units , devices, vir- 15 cation running on the processor circuit. In further embodi
   tual machines , runtime engines, hard drives , storage devices, ments, the receiving the one or more instruction sets for
   peripheral devices , network connected devices , or users .        operating the device from the processor circuit includes at
      In certain embodiments, the processor circuit includes a least one of: tracing, profiling, or instrumentation at a source
   logic circuit, and wherein the receiving the one or more code write time , a compile time , an interpretation time , a
   instruction sets for operating the device from the processor 20 translation time , a linking time , a loading time , or a runtime.
   circuit includes receiving the one or more instruction sets for In further embodiments, the receiving the one or more
   operating the device from the logic circuit . The logic circuit instruction sets for operating the device from the processor
   may include a microcontroller. The receiving the one or circuit includes at least one of: tracing, profiling, or instru
   more instruction sets for operating the device from the logic mentation of one or more of code segments, lines of code ,
   circuit may include receiving the one or more instruction 25 statements, instructions , functions , routines, subroutines, or
   sets for operating the device from an element of the logic basic blocks . In further embodiments, the receiving the one
   circuit . The receiving the one or more instruction sets for or more instruction sets for operating the device from the
   operating the device from the logic circuit may include processor circuit includes at least one of: tracing, profiling,
   receiving one or more inputs into the logic circuit. The or instrumentation of a user input. In further embodiments ,
   receiving the one or more instruction sets for operating the 30 the receiving the one or more instruction sets for operating
   device from the logic circuit may include receiving one or the device from the processor circuit includes at least one of:
   more outputs from the logic circuit.                               a manual, an automatic , a dynamic, or a just in time ( JIT )
      In some embodiments, the receiving the one or more tracing, profiling, or instrumentation. In further embodi
   instruction sets for operating the device from the processor ments, the receiving the one or more instruction sets for
   circuit includes receiving the one or more instruction sets for 35 operating the device from the processor circuit includes
   operating the device from an application for operating the utilizing at least one of: a .NET tool , a .NET application
   device, the application running on the processor circuit. In programming interface (API ) , a Java tool , a Java API , a
   further embodiments, the system further comprises : an logging tool , or an independent tool for obtaining instruction
   application including instruction sets for operating the sets. In further embodiments , the receiving the one or more
   device, the application running on the processor circuit , 40 instruction sets for operating the device from the processor
   wherein the receiving the one or more instruction sets for circuit includes utilizing an assembly language. In further
   operating the device from the processor circuit includes embodiments, the receiving the one or more instruction sets
   receiving the one or more instruction sets for operating the for operating the device from the processor circuit includes
   device from the application .                                      utilizing a branch or a jump. In further embodiments, the
      In certain embodiments, the receiving the one or more 45 receiving the one or more instruction sets for operating the
   instruction sets for operating the device from the processor device from the processor circuit includes a branch tracing
   circuit includes receiving the one or more instruction sets at or a simulation tracing.
   a source code write time , a compile time , an interpretation         In some embodiments, the system further comprises: an
   time , a translation time , a linking time , a loading time , or a interface configured to receive instruction sets , wherein the
   runtime. In further embodiments, the receiving the one or 50 one or more instruction sets for operating the device are
   more instruction sets for operating the device from the received by the interface. The interface may include an
   processor circuit includes at least one of: tracing, profiling, acquisition interface.
   or instrumentation of a source code , a bytecode , an inter-          In certain embodiments, the first digital picture correlated
   mediate code , a compiled code , an interpreted code, a with the one or more instruction sets for operating the device
   translated code , a runtime code , an assembly code , a struc- 55 includes a unit of knowledge of how the device operated in
   tured query language ( SQL ) code , or a machine code . In a visual surrounding. In further embodiments, the first
   further embodiments, the receiving the one or more instruc- digital picture correlated with the one or more instruction
   tion sets for operating the device from the processor circuit sets for operating the device is included in a neuron , a node ,
   includes at least one of: tracing, profiling, or instrumentation a vertex, or an element of a data structure . The data structure
   of an element that is part of, operating on , or coupled to the 60 may include a neural network , a graph, a collection of
   processor circuit . In further embodiments, the receiving the sequences, a sequence , a collection of knowledge cells , a
   one or more instruction sets for operating the device from knowledgebase, or a knowledge structure . Some of the
   the processor circuit includes at least one of: tracing, pro- neurons, nodes, vertices, or elements may be interconnected .
   filing, or instrumentation of a register of the processor             In some embodiments , the first digital picture correlated
   circuit , the memory unit, a storage, or a repository where the 65 with the one or more instruction sets for operating the device
   one or more instruction sets for operating the device are is structured into a knowledge cell . In further embodiments ,
   stored . In further embodiments, the receiving the one or          the knowledge cell includes a unit of knowledge of how the
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                                                        US 11,055,583 B1
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   device operated in a visual surrounding. In further embodi- include at least one of: a deep learning system , a supervised
   ments, the knowledge cell is included in a neuron , a node, learning system , an unsupervised learning system , a neural
   a vertex , or an element of a data structure . The data structure network , a search -based system , an optimization - based sys
   may include a neural network , a graph , a collection of tem , a logic -based system , a fuzzy logic -based system , a
   sequences, a sequence , a collection of knowledge cells , a 5 tree -based system , a graph -based system , a hierarchical
   knowledgebase, or a knowledge structure. Some of the system , a symbolic system , a sub -symbolic system , an
   neurons, nodes , vertices, or elements may be interconnected . evolutionary system , a genetic system , a multi -agent system ,
      In certain embodiments, the learning the first digital a deterministic system , a probabilistic system , or a statistical
   picture correlated with the one or more instruction sets for system .
   operating the device includes correlating the first digital 10 In certain embodiments , the anticipating the one or more
   picture with the one or more instruction sets for operating instruction sets for operating the device correlated with the
   the device . The correlating the first digital picture with the first digital picture based on at least a partial match between
   one or more instruction sets for operating the device may the new digital picture and the first digital picture includes
   include generating a knowledge cell , the knowledge cell comparing at least one portion of the new digital picture with
   comprising the first digital picture correlated with the one or 15 at least one portion of the first digital picture . The at least
   more instruction sets for operating the device . The correlat- one portion of the new digital picture may include at least
   ing the first digital picture with the one or more instruction one region, at least one feature , or at least one pixel of the
   sets for operating the device may include structuring a unit new digital picture. The at least one portion of the first
   of knowledge of how the device operated in a visual digital picture may include at least one region, at least one
   surrounding.                                                     20 feature , or at least one pixel of the first digital picture . The
      In some embodiments, the learning the first digital picture comparing the at least one portion of the new digital picture
   correlated with the one or more instruction sets for operating with the at least one portion of the first digital picture may
   the device includes learning a user's knowledge, style, or include comparing at least one region of the new digital
   methodology of operating the device in a visual surround- picture with at least one region of the first digital picture.
   ing . In further embodiments, the learning the first digital 25 The comparing the at least one portion of the new digital
   picture correlated with the one or more instruction sets for picture with the at least one portion of the first digital picture
   operating the device includes spontaneous learning the first may include comparing at least one feature of the new digital
   digital picture correlated with the one or more instruction picture with at least one feature of the first digital picture.
   sets for operating the device .                                     The at least one portion of the new digital picture with the
      In some embodiments, the learning the first digital picture 30 at least one portion of the first digital picture may include
   correlated with the one or more instruction sets for operating comparing at least one pixel of the new digital picture with
   the device includes storing, into the memory unit, the first at least one pixel of the first digital picture. The comparing
   digital picture correlated with the one or more instruction the at least one portion of the new digital picture with the at
   sets for operating the device, the first digital picture corre- least one portion of the first digital picture may include at
   lated with the one or more instruction sets for operating the 35 least one of: performing a color adjustment, performing a
   device being part of a stored plurality of digital pictures size adjustment, performing a content manipulation, utiliz
   correlated with one or more instruction sets for operating the ing a transparency, or utilizing a mask on the new or the first
   device. In further embodiments, the plurality of digital digital picture. The comparing the at least one portion of the
   pictures correlated with one or more instruction sets for new digital picture with the at least one portion of the first
   operating the device include a neural network, a graph , a 40 digital picture may include recognizing at least one person
   collection of sequences , a sequence , a collection of knowl- or object in the new digital picture and at least one person
   edge cells , a knowledgebase, a knowledge structure , or a or object in the first digital picture, and comparing the at
   data structure. In further embodiments, the plurality of least one person or object from the new digital picture with
   digital pictures correlated with one or more instruction sets the at least one person or object from the first digital picture .
   for operating the device are organized into a neural network , 45 In some embodiments, he anticipating the one or more
   a graph , a collection of sequences , a sequence , a collection instruction sets for operating the device correlated with the
   of knowledge cells , a knowledgebase, a knowledge struc- first digital picture based on at least a partial match between
   ture, or a data structure . In further embodiments, each of the the new digital picture and the first digital picture includes
   plurality of digital pictures correlated with one or more determining that there is at least a partial match between the
   instruction sets for operating the device is included in a 50 new digital picture and the first digital picture . In further
   neuron , a node , a vertex , or an element of a data structure . embodiments, the determining that there is at least a partial
   The data structure may include a neural network , a graph , a match between the new digital picture and the first digital
   collection of sequences, a sequence , a collection of knowl- picture includes determining that there is at least a partial
   edge cells , a knowledgebase , or a knowledge structure . match between one or more portions of the new digital
   Some of the neurons, nodes, vertices , or elements may be 55 picture and one or more portions of the first digital picture.
   interconnected . In further embodiments , the plurality of In further embodiments, the determining that there is at least
   digital pictures correlated with one or more instruction sets a partial match between the new digital picture and the first
   for operating the device include a user's knowledge, style, or digital picture includes determining that a similarity between
   methodology of operating the device in visual surroundings. at least one portion of the new digital picture and at least one
   In further embodiments, the plurality of digital pictures 60 portion of the first digital picture exceeds a similarity
   correlated with one or more instruction sets for operating the threshold . In further embodiments , the determining that
   device are stored on a remote computing device. In further there is at least a partial match between the new digital
   embodiments, the plurality of digital pictures correlated with picture and the first digital picture includes determining a
   one or more instruction sets for operating the device include substantial similarity between at least one portion of the new
   an artificial intelligence system for knowledge structuring, 65 digital picture and at least one portion of the first digital
   storing, or representation . The artificial intelligence system picture . The at least one portion of the new digital picture
   for knowledge structuring, storing , or representation may may include at least one region , at least one feature, or at
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   least one pixel of the new digital picture. The at least one        or more instruction sets for operating the device correlated
   portion of the first digital picture may include at least one with the first digital picture includes modifying a register or
   region , at least one feature , or at least one pixel of the first an element of the processor circuit . In further embodiments,
   digital picture. The substantial similarity may be achieved the causing the processor circuit to execute the one or more
   when a similarity between the at least one portion of the new 5 instruction sets for operating the device correlated with the
   digital picture and the at least one portion of the first digital
   picture exceeds a similarity threshold . The substantial simi first      digital picture includes inserting the one or more
                                                                      instruction sets for operating the device correlated with the
   larity may be achieved when a number or a percentage of first digital picture into a register or an element of the
   matching or partially matching regions from the new digital processor          circuit. In further embodiments, the causing the
   picture and from the first digital picture exceeds a threshold 10 processor circuit
   number or threshold percentage. The substantial similarity for operating theto device    execute the one or more instruction sets
   may be achieved when a number or a percentage of match picture includes redirectingcorrelated     the
                                                                                                               with the first digital
                                                                                                         processor circuit to the one
   ing or partially matching features from the new digital or more instruction sets for operating the device               correlated
   picture and from the first digital picture exceeds a threshold with the first digital picture. In further embodiments         , the
   number or threshold percentage . The substantial similarity 15
   may be achieved when a number or a percentage of match causing the processor circuit to execute the one or more
   ing or partially matching pixels from the new digital picture instruction sets for operating the device correlated with the
   and from the first digital picture exceeds a threshold number first digital picture includes redirecting the processor circuit
   or threshold percentage. The substantial similarity may be to one or more alternate instruction sets , the alternate
   achieved when one or more same or similar objects are 20 instruction sets comprising the one or more instruction sets
   recognized in the new digital picture and the first digital for operating the device correlated with the first digital
   picture. In further embodiments, the determining that there         picture. In further embodiments, the causing the processor
   is at least a partial match between the new digital picture and     circuit to execute the one or more instruction sets for
   the first digital picture includes determining that a number or operating the device correlated with the first digital picture
   a percentage of matching regions from the new digital 25 includes transmitting, to the processor circuit for execution ,
   picture and from the first digital picture exceeds a threshold the one or more instruction sets for operating the device
   number or threshold percentage. The matching regions from correlated with the first digital picture. In further embodi
   the new digital picture and from the first digital picture may ments, the executing the one or more instruction sets for
   be determined factoring in at least one of: a location of a operating the device correlated with the first digital picture
   region , an importance of a region , a threshold for a similarity 30 includes issuing an interrupt to the processor circuit and
   in a region, or a threshold for a difference in a region . In executing the one or more instruction sets for operating the
   further embodiments, the determining that there is at least a device correlated with the first digital picture following the
   partial match between the new digital picture and the first interrupt. In further embodiments, the causing the processor
   digital picture includes determining that a number or a circuit to execute the one or more instruction sets for
   percentage of matching features from the new digital picture 35 operating the device correlated with the first digital picture
   and from the first digital picture exceeds a threshold number includes modifying an element that is part of, operating on ,
   or threshold percentage. The matching features from the new or coupled to the processor circuit .
   digital picture and from the first digital picture may be               In certain embodiments, the processor circuit includes a
   determined factoring in at least one of: a type of a feature, logic circuit , and wherein the causing the processor circuit
   an importance of a feature, a location of a feature, a 40 to execute the one or more instruction sets for operating the
   threshold for a similarity in a feature , or a threshold for a device correlated with the first digital picture includes
   difference in a feature . In further embodiments, the deter- causing the logic circuit to execute the one or more instruc
   mining that there is at least a partial match between the new tion sets for operating the device correlated with the first
   digital picture and the first digital picture includes determin- digital picture . The logic circuit may include a microcon
   ing that a number or a percentage of matching pixels from 45 troller. The causing the logic circuit to execute the one or
   the new digital picture and from the first digital picture more instruction sets for operating the device correlated with
   exceeds a threshold number or threshold percentage . The the first digital picture may include modifying an element of
   matching pixels from the new digital picture and from the the logic circuit. The causing the logic circuit to execute the
   first digital picture may be determined factoring in at least one or more instruction sets for operating the device corre
   one of: a location of a pixel , a threshold for a similarity in 50 lated with the first digital picture may include inserting the
   a pixel , or a threshold for a difference in a pixel . In further one or more instruction sets for operating the device corre
   embodiments, the determining that there is at least a partial lated with the first digital picture into an element of the logic
   match between the new digital picture and the first digital circuit. The causing the logic circuit to execute the one or
   picture includes recognizing a same person or object in the more instruction sets for operating the device correlated with
   new and the first digital pictures.                               55 the first digital picture may include redirecting the logic
      In some embodiments , the causing the processor circuit to circuit to the one or more instruction sets for operating the
   execute the one or more instruction sets for operating the device correlated with the first digital picture. The causing
   device correlated with the first digital picture includes the logic circuit to execute the one or more instruction sets
   causing the processor circuit to execute the one or more for operating the device correlated with the first digital
   instruction sets for operating the device correlated with the 60 picture may include replacing inputs into the logic circuit
   first digital picture instead of or prior to an instruction set with the one or more instruction sets for operating the device
   that would have been executed next. In further embodi-              correlated with the first digital picture . The causing the logic
   ments, the causing the processor circuit to execute the one         circuit to execute the one or more instruction sets for
   or more instruction sets for operating the device correlated operating the device correlated with the first digital picture
   with the first digital picture includes modifying one or more 65 may include replacing outputs from the logic circuit with the
   instruction sets of the processor circuit. In further embodi- one or more instruction sets for operating the device corre
   ments, the causing the processor circuit to execute the one lated with the first digital picture.
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      In certain embodiments, the causing the processor circuit           cessor circuit to execute the one or more instruction sets for
   to execute the one or more instruction sets for operating the          operating the device correlated with the first digital picture
   device correlated with the first digital picture includes includes a manual, an automatic, a dynamic , or a just in time
   causing an application for operating the device to execute ( JIT ) instrumentation of an application , the application run
   the one or more instruction sets for operating the device 5 ning on the processor circuit . In further embodiments, the
   correlated with the first digital picture, the application run- causing the processor circuit to execute the one or more
   ning on the processor circuit.
      In further embodiments, the system further comprises: an instruction            sets for operating the device correlated with the
                                                                       first digital picture includes utilizing one or more of a .NET
   application including instruction sets for operating the tool
   device , the application running on the processor circuit , 10 Java, atool.NET        application programming interface ( API ) , a
   wherein the causing the processor circuit to execute the one independent tool forAPImodifying
                                                                                   ,  a  Java       , an operating system tool , or an
                                                                                                              instruction sets . In further
   or more instruction sets for operating the device correlated embodiments, the causing the processor                 circuit to execute
   with the first digital picture includes modifying the appli the one or more instruction sets for operating                   the device
   cation .
      In further embodiments, the causing the    processor  circuit 15 correlated    with  the first digital picture includes   utilizing at
                                                                       least one of: a dynamic , an interpreted, or a scripting
   to execute the one or more instruction sets for operating the programming
   device correlated with the first digital picture includes                             language. In further embodiments , the causing
   redirecting an application to the one or more instruction sets the processor circuit to execute the one or more instruction
   for operating the device correlated with the first digital sets for operating the device correlated with the first digital
   picture, the application running on the processor circuit . In 20 picture includes utilizing at least one of: a dynamic code, a
   further embodiments, the causing the processor circuit to dynamic class loading , or a reflection . In further embodi
   execute the one or more instruction sets for operating the ments, the causing the processor circuit to execute the one
   device correlated with the first digital picture includes or more instruction sets for operating the device correlated
   redirecting an application to one or more alternate instruc- with the first digital picture includes utilizing an assembly
   tion sets, the application running on the processor circuit, the 25 language . In further embodiments, the causing the processor
   alternate instruction sets comprising the one or more instruc-         circuit to execute the one or more instruction sets for
   tion sets for operating the device correlated with the first           operating the device correlated with the first digital picture
   digital picture . In further embodiments, the causing the              includes utilizing at least one of: a metaprogramming, a
   processor circuit to execute the one or more instruction sets
   for operating the device correlated with the first digital 30 Inselffurther
   picture includes modifying one or more instruction sets of an
                                                                        -modifying code , or an instruction set modification tool .
                                                                               embodiments, the causing the processor circuit to
   application, the application running on the processor circuit .        execute the one or more instruction sets for operating the
   In further embodiments, the causing the processor circuit to           device correlated with the first digital picture includes
   execute the one or more instruction sets for operating the             utilizing at least one of: just in time ( JIT) compiling, JIT
   device correlated with the first digital picture includes 35 interpretation
                                                                             , JIT
                                                                binary rewriting. In translation, dynamic , recompiling
                                                                                      further embodiments    the causing, the
                                                                                                                           or
   modifying a source code , a bytecode, an intermediate code , processor circuit to execute the one or more instruction sets
   a compiled code , an interpreted code , a translated code , a
   runtime code, an assembly code , or a machine code . In for operating the device correlated with the first digital
   further embodiments, the causing the processor circuit to picture includes utilizing at least one of: a dynamic expres
   execute the one or more instruction sets for operating the 40 sion creation , a dynamic expression execution , a dynamic
   device correlated with the first digital picture includes function creation, or a dynamic function execution . In
   modifying at least one of: the memory unit, a register of the further embodiments, the causing the processor circuit to
   processor circuit, a storage , or a repository where instruction execute the one or more instruction sets for operating the
   sets are stored or used . In further embodiments, the causing device correlated with the first digital picture includes
   the processor circuit to execute the one or more instruction 45 adding or inserting additional code into a code of an appli
   sets for operating the device correlated with the first digital cation, the application running on the processor circuit. In
   picture includes modifying one or more instruction sets for further embodiments, the causing the processor circuit to
   operating an application or an object of the application , the execute the one or more instruction sets for operating the
   application running on the processor circuit . In further device correlated with the first digital picture includes at
   embodiments, the causing the processor circuit to execute 50 least one of: modifying, removing, rewriting, or overwriting
   the one or more instruction sets for operating the device a code of an application, the application running on the
   correlated with the first digital picture includes modifying at processor circuit. In further embodiments, the causing the
   least one of: an element of the processor circuit , an element processor circuit to execute the one or more instruction sets
   of the device , a virtual machine , a runtime engine, an for operating the device correlated with the first digital
   operating system , an execution stack , a program counter, or 55 picture includes at least one of: branching, redirecting,
   a user input. In further embodiments, the causing the pro- extending, or hot swapping a code of an application , the
   cessor circuit to execute the one or more instruction sets for application running on the processor circuit . The branching
   operating the device correlated with the first digital picture or redirecting the code may include inserting at least one of:
   includes modifying one or more instruction sets at a source a branch , a jump, or a means for redirecting an execution . In
   code write time , a compile time , an interpretation time , a 60 further embodiments, the executing the one or more instruc
   translation time , a linking time , a loading time , or a runtime. tion sets for operating the device correlated with the first
   In further embodiments, the causing the processor circuit to digital picture includes implementing a user's knowledge,
   execute the one or more instruction sets for operating the style, or methodology of operating the device in a visual
   device correlated with the first digital picture includes surrounding
   modifying one or more code segments, lines of code, 65 In some embodiments, the system further comprises: an
   statements, instructions, functions, routines , subroutines, or        interface configured to cause execution of instruction sets ,
   basic blocks . In further embodiments , the causing the pro-           wherein the executing the one or more instruction sets for
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   operating the device correlated with the first digital picture an extra information correlated with the first digital picture
   is caused by the interface . The interface may include a may include determining that a similarity between an extra
   modification interface .                                             information correlated with the new digital picture and an
      In certain embodiments, the one or more operations extra information correlated with the first digital picture
   defined by the one or more instruction sets for operating the 5 exceeds a similarity threshold .
   device correlated with the first digital picture include at least       In some embodiments, the system further comprises: a
   one of: an operation with or by a smartphone , an operation user interface , wherein the artificial intelligence unit is
   with or by a fixture, an operation with or by a control device , further configured to : present, via the user interface, a user
   or an operation with or by a computer or computing enabled with an option to execute the one or more instruction sets for
   device.                                                           10 operating the device correlated with the first digital picture.
      In some embodiments, the performing the one or more                  In certain embodiments, the system further comprises: a
   operations defined by the one or more instruction sets for user interface, wherein the artificial intelligence unit is
   operating the device correlated with the first digital picture further configured to : receive, via the user interface , a user's
   includes implementing a user's knowledge, style , or meth- selection to execute the one or more instruction sets for
   odology of operating the device in a visual surrounding . 15 operating the device correlated with the first digital picture .
      In certain embodiments, the system further comprises: an             In some embodiments, the artificial intelligence unit is
   application running on the processor circuit.                        further configured to : rate the executed one or more instruc
      In some embodiments , the instruction sets for operating tion sets for operating the device correlated with the first
   the device are part of an application for operating the device , digital picture. The rating the executed one or more instruc
   the application running on the processor circuit.                 20 tion sets for operating the device correlated with the first
      In certain embodiments, the system further comprises: an digital picture may include displaying, on a display, the
   application for operating the device, the application running executed one or more instruction sets for operating the
   on the processor circuit. The application for operating the device correlated with the first digital picture along with one
   device may include the instruction sets for operating the or more rating values as options to be selected by a user. The
   device .                                                          25 rating the executed one or more instruction sets for operating
      In some embodiments, the artificial intelligence unit is the device correlated with the first digital picture may
   further configured to : receive at least one extra information. include rating the executed one or more instruction sets for
   In further embodiments, the at least one extra information operating the device correlated with the first digital picture
   include one or more of: a time information, a location without a user input. The rating the executed one or more
   information, a computed information , an observed informa- 30 instruction sets for operating the device correlated with the
   tion , a sensory information, or a contextual information. In first digital picture may include associating one or more
   further embodiments, the at least one extra information rating values with the executed one or more instruction sets
   include one or more of: an information on a digital picture, for operating the device correlated with the first digital
   an information on an object in the digital picture, an infor- picture and storing the one or more rating values into the
   mation on the device's visual surrounding, an information 35 memory unit .
   on an instruction set , an information on an application, an            In certain embodiments, the system further comprises : a
   information on an object of the application , an information user interface , wherein the artificial intelligence unit is
   on the processor circuit , an information on the device, or an further configured to : present, via the user interface , a user
   information on an user. In further embodiments, the artificial with an option to cancel the execution of the executed one
   intelligence unit is further configured to : learn the first 40 or more instruction sets for operating the device correlated
   digital picture correlated with the at least one extra infor- with the first digital picture. In further embodiments , the
   mation . The learning the first digital picture correlated with canceling the execution of the executed one or more instruc
   at least one extra information may include correlating the tion sets for operating the device correlated with the first
   first digital picture with the at least one extra information . digital picture includes restoring the processor circuit or the
   The learning the first digital picture correlated with at least 45 device to a prior state . The restoring the processor circuit or
   one extra information may include storing the first digital the device to a prior state may include saving the state of the
   picture correlated with the at least one extra information into processor circuit or the device prior to executing the one or
   the memory unit . In further embodiments, the anticipating more instruction sets for operating the device correlated with
   the one or more instruction sets for operating the device the first digital picture.
   correlated with the first digital picture based on at least a 50 In some embodiments, the system further comprises: an
   partial match between the new digital picture and the first input device configured to receive a user's operating direc
   digital picture includes anticipating the one or more instruc- tions , the user's operating directions for instructing the
   tion sets for operating the device correlated with the first processor circuit on how to operate the device .
   digital picture based on at least a partial match between an            In certain embodiments, the autonomous device operating
   extra information correlated with the new digital picture and 55 includes a partially or a fully autonomous device operating.
   an extra information correlated with the first digital picture . The partially autonomous device operating may include
   The anticipating the one or more instruction sets for oper- executing the one or more instruction sets for operating the
   ating the device correlated with the first digital picture based device correlated with the first digital picture responsive to
   on at least a partial match between an extra information a user confirmation . The fully autonomous device operating
   correlated with the new digital picture and an extra infor- 60 may include executing the one or more instruction sets for
   mation correlated with the first digital picture may include operating the device correlated with the first digital picture
   comparing an extra information correlated with the new without a user confirmation .
   digital picture and an extra information correlated with the            In some embodiments , the artificial intelligence unit is
   first digital picture. The anticipating the one or more instruc- further configured to : receive a second digital picture from
   tion sets for operating the device correlated with the first 65 the picture capturing apparatus ; receive additional one or
   digital picture based on at least a partial match between an more instruction sets for operating the device from the
   extra information correlated with the new digital picture and processor circuit ; and learn the second digital picture cor
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   related with the additional one or more instruction sets for      graph . The first node and the second node may be connected
   operating the device . In further embodiments, the second         by a connection . In further embodiments , the first digital
   digital picture includes a second stream of digital pictures.     picture correlated with the one or more instruction sets for
   In further embodiments, the learning the first digital picture operating the device is stored into a first node of a sequence
   correlated with the one or more instruction sets for operating 5 and the second digital picture correlated with the additional
   the device and the learning the second digital picture cor        one or more instruction sets for operating the device is stored
   related with the additional one or more instruction sets for      into a second node of the sequence.
   operating the device include creating a connection between           In some aspects , the disclosure relates to a non - transitory
   the first digital picture correlated with the one or more computer storage medium having a computer program
   instruction sets for operating the device and the second 10 stored thereon , the program including instructions that when
   digital picture correlated with the additional one or more executed by one or more processor circuits cause the one or
   instruction sets for operating the device . The connection
   may include or is associated with at least one of: an more               processor circuits to perform operations comprising:
                                                                     receiving   a first digital picture from a picture capturing
   occurrence count, a weight, a parameter, or a data . In further
   embodiments, the learning the first digital picture correlated 15 apparatus . The operations may further include receiving one
   with the one or more instruction sets for operating the device or more instruction sets for operating a device . The opera
   and the learning the second digital picture correlated with tions may further include learning the first digital picture
   the additional one or more instruction sets for operating the correlated with the one or more instruction sets for operating
   device include updating a connection between the first the device. The operations may further include receiving a
   digital picture correlated with the one or more instruction 20 new digital picture from the picture capturing apparatus. The
   sets for operating the device and the second digital picture operations may further include anticipating the one or more
   correlated with the additional one or more instruction sets instruction sets for operating the device correlated with the
   for operating the device . The updating the connection first digital picture based on at least a partial match between
   between the first digital picture correlated with the one or the new digital picture and the first digital picture . The
   more instruction sets for operating the device and the second 25 operations may further include causing an execution of the
   digital picture correlated with the additional one or more one or more instruction sets for operating the device corre
   instruction sets for operating the device may include updat- lated with the first digital picture, the causing performed in
   ing at least one of: an occurrence count, a weight, a response to the anticipating the one or more instruction sets
   parameter, or a data included in or associated with the for operating the device correlated with the first digital
   connection . In further embodiments, the learning the first 30 picture based on at least a partial match between the new
   digital picture correlated with the one or more instruction digital picture and the first digital picture, wherein the device
   sets for operating the device includes storing the first digital performs one or more operations defined by the one or more
   picture correlated with the one or more instruction sets for instruction sets for operating the device correlated with the
   operating the device into a first node of a data structure , and first digital picture, the one or more operations performed in
   wherein the learning the second digital picture correlated 35 response to the executing.
   with the additional one or more instruction sets for operating      In some aspects , the disclosure relates to a method com
   the device includes storing the second digital picture corre- prising: ( a ) receiving a first digital picture from a picture
   lated with the additional one or more instruction sets for        capturing apparatus by one or more processor circuits . The
   operating the device into a second node of the data structure .   method may further include ( b ) receiving one or more
   The data structure may include a neural network, a graph , a 40 instruction sets for operating a device by the one or more
   collection of sequences, a sequence , a collection of knowl- processor circuits . The method may further include (c )
   edge cells , a knowledgebase, or a knowledge structure . The learning the first digital picture correlated with the one or
   learning the first digital picture correlated with the one or more instruction sets for operating the device, the learning
   more instruction sets for operating the device and the of (c ) performed by the one or more processor circuits . The
   learning the second digital picture correlated with the addi- 45 method may further include (d) receiving a new digital
   tional one or more instruction sets for operating the device picture from the picture capturing apparatus by the one or
   may include creating a connection between the first node more processor circuits. The method may further include (e )
   and the second node . The learning the first digital picture anticipating the one or more instruction sets for operating
   correlated with the one or more instruction sets for operating the device correlated with the first digital picture based on at
   the device and the learning the second digital picture cor- 50 least a partial match between the new digital picture and the
   related with the additional one or more instruction sets for      first digital picture, the anticipating of ( e) performed by the
   operating the device may include updating a connection one or more processor circuits. The method may further
   between the first node and the second node . In further include ( f) executing the one or more instruction sets for
   embodiments, the first digital picture correlated with the one operating the device correlated with the first digital picture,
   or more instruction sets for operating the device is stored 55 the executing of (f) performed in response to the anticipating
   into a first node of a neural network and the second digital of ( e ) . The method may further include (g ) performing, by
   picture correlated with the additional one or more instruction the device, one or more operations defined by the one or
   sets for operating the device is stored into a second node of more instruction sets for operating the device correlated with
   the neural network . The first node and the second node may     the first digital picture , the one or more operations per
   be connected by a connection . The first node may be part of 60 formed in response to the executing of (f ).
   a first layer of the neural network and the second node may        The operations or steps of the non - transitory computer
   be part of a second layer of the neural network . In further storage medium and / or the method may be performed by
   embodiments, the first digital picture correlated with the one any of the elements of the above described systems as
   or more instruction sets for operating the device is stored applicable . The non - transitory computer storage medium
   into a first node of a graph and the second digital picture 65 and / or the method may include any of the operations, steps ,
   correlated with the additional one or more instruction sets       and embodiments of the above described systems as appli
   for operating the device is stored into a second node of the      cable as well as the following embodiments.
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     In certain embodiments , the device includes one or more         one or more instruction sets include a source code, a
   devices. In further embodiments, the device includes a             bytecode, an intermediate code, a compiled code , an inter
   smartphone, a fixture, a control device, a computing enabled       preted code , a translated code , a runtime code , an assembly
   device , or a computer. In further embodiments, the picture code , a structured query language ( SQL ) code, or a machine
   capturing apparatus includes one or more picture capturing 5 code . In further embodiments, the one or more instruction
   apparatuses . In further embodiments, the picture capturing sets include one or more code segments, lines of code ,
   apparatus includes a motion picture camera or a still picture statements , instructions, functions, routines, subroutines, or
   camera . In further embodiments, the picture capturing appa- basic blocks . In further embodiments , the one or more
   ratus resides on a remote device , the remote device coupled instruction sets for operating the device include one or more
   to the one or more processor circuits via a network .        10 inputs into a logic circuit . In further embodiments, the one
      In some embodiments, the one or more instruction sets for or more instruction sets for operating the device include one
   operating the device include one or more instruction sets that or more outputs from a logic circuit. In further embodi
   temporally correspond to the first digital picture . The one or ments, the one or more instruction sets for operating the
   more instruction sets that temporally correspond to the first device include one or more instruction sets for operating an
   digital picture may include one or more instruction sets 15 application or an object of the application .
   executed at a time of the capturing the first digital picture.    In some embodiments , the receiving the one or more
   The one or more instruction sets that temporally correspond instruction sets for operating the device includes obtaining
   to the first digital picture may include one or more instruc- the one or more instruction sets . In further embodiments , the
   tion sets executed prior to the capturing the first digital receiving the one or more instruction sets for operating the
   picture . The one or more instruction sets that temporally 20 device includes receiving the one or more instruction sets as
   correspond to the first digital picture may include one or they are executed . In further embodiments, the receiving the
   more instruction sets executed within a threshold period of one or more instruction sets for operating the device
   time prior to the capturing the first digital picture . The one includes receiving the one or more instruction sets for
   or more instruction sets that temporally correspond to the operating the device from a register or an element of a
   first digital picture may include one or more instruction sets 25 processor circuit . In further embodiments, the receiving the
   executed subsequent to the capturing the first digital picture . one or more instruction sets for operating the device
   The one or more instruction sets that temporally correspond includes receiving the one or more instruction sets for
   to the first digital picture may include one or more instruc- operating the device from an element that is part of, oper
   tion sets executed within a threshold period of time subse- ating on, or coupled to a processor circuit. In further
   quent to the capturing the first digital picture. The one or 30 embodiments, the receiving the one or more instruction sets
   more instruction sets that temporally correspond to the first for operating the device includes receiving the one or more
   digital picture may include one or more instruction sets instruction sets for operating the device from at least one of:
   executed within a threshold period of time prior to the a memory                      the device, a virtual machine , a runtime
   capturing the first digital picture or a threshold period of engine, a hard drive , a storage device, a peripheral device, a
   time subsequent to the capturing the first digital picture. The 35 network connected device, or a user. In further embodi
   one or more instruction sets that temporally correspond to ments, the receiving the one or more instruction sets for
   the first digital picture may include one or more instruction operating the device includes receiving the one or more
   sets executed from a start of capturing a preceding digital instruction sets from a plurality of processor circuits, appli
   picture to a start of capturing the first digital picture. The one cations, memory units , devices, virtual machines, runtime
   or more instruction sets that temporally correspond to the 40 engines, hard drives, storage devices, peripheral devices,
   first digital picture may include one or more instruction sets network connected devices, or users .
   executed from a start of capturing the first digital picture to       In certain embodiments, the receiving the one or more
   a start of capturing a subsequent digital picture. The one or instruction sets for operating the device includes receiving
   more instruction sets that temporally correspond to the first the one or more instruction sets for operating the device
   digital picture may include one or more instruction sets 45 from a logic circuit . The logic circuit may include a micro
   executed from a completion of capturing a preceding digital controller. The receiving the one or more instruction sets for
   picture to a completion of capturing the first digital picture. operating the device from the logic circuit may include
   The one or more instruction sets that temporally correspond receiving the one or more instruction sets for operating the
   to the first digital picture may include one or more instruc- device from an element of the logic circuit . The receiving the
   tion sets executed from a completion of capturing the first 50 one or more instruction sets for operating the device from
   digital picture to a completion of capturing a subsequent the logic circuit may include receiving one or more inputs
   digital picture .                                                  into the logic circuit . The receiving the one or more instruc
      In certain embodiments, the one or more instruction sets tion sets for operating the device from the logic circuit may
   for operating the device are executed by a processor circuit . include receiving one or more outputs from the logic circuit .
   In further embodiments , the one or more instruction sets for 55 In some embodiments, the receiving the one or more
   operating the device are part of an application for operating instruction sets for operating the device includes receiving
   the device. In further embodiments, the one or more instruc- the one or more instruction sets for operating the device
   tion sets for operating the device include one or more inputs from an application for operating the device . In further
   into or one or more outputs from a processor circuit . In embodiments, the receiving the one or more instruction sets
   further embodiments, the one or more instruction sets for 60 for operating the device includes receiving the one or more
   operating the device include values or states of one or more instruction sets for operating the device from an application ,
   registers or elements of a processor circuit. In further the application including instruction sets for operating the
   embodiments, an instruction set includes at least one of: a device. In further embodiments, the receiving the one or
   command , a keyword, a symbol, an instruction , an operator, more instruction sets for operating the device includes
   a variable, a value , an object, a data structure , a function, a 65 receiving the one or more instruction sets at a source code
   parameter, a state, a signal, an input, an output, a character, write time , a compile time , an interpretation time , a trans
   a digit , or a reference thereto . In further embodiments, the lation time , a linking time , a loading time , or a runtime. In
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   further embodiments, the receiving the one or more instruc- sets for operating the device is included in a neuron , a node ,
   tion sets for operating the device includes at least one of:     a vertex, or an element of a data structure . The data structure
   tracing, profiling, or instrumentation of a source code, a may include a neural network , a graph , a collection of
   bytecode , an intermediate code, a compiled code , an inter- sequences, a sequence , a collection of knowledge cells , a
   preted code , a translated code , a runtime code , an assembly 5 knowledgebase, or a knowledge structure . Some of the
   code , a structured query language ( SQL ) code , or a machine neurons, nodes , vertices, or elements maybe interconnected .
   code . In further embodiments, the receiving the one or more       In further embodiments, the first digital picture correlated
   instruction sets for operating the device includes at least one    with the one or more instruction sets for operating the device
   of: tracing, profiling, or instrumentation of an element that is structured into a knowledge cell . In further embodiments ,
   is part of,operating on, or coupled to a processor circuit . In 10 the knowledge cell includes a unit of knowledge of how the
   further embodiments, the receiving the one or more instruc- device operated in a visual surrounding. In further embodi
   tion sets for operating the device includes at least one of: ments, the knowledge cell is included in a neuron , a node ,
   tracing, profiling, or instrumentation of a register of a          a vertex , or an element of a data structure . The data structure
   processor circuit , a memory unit, a storage , or a repository may include a neural network, a graph , a collection of
   where the one or more instruction sets for operating the 15 sequences, a sequence , a collection of knowledge cells , a
   device are stored . In further embodiments, the receiving the knowledgebase, or a knowledge structure . Some of the
   one or more instruction sets for operating the device neurons , nodes, vertices , or elements may be interconnected .
   includes at least one of: tracing, profiling, or instrumentation   In certain embodiments, the learning the first digital
   of a processor circuit , the device , a virtual machine , a picture correlated with the one or more instruction sets for
   runtime engine, an operating system, an execution stack , a 20 operating the device includes correlating the first digital
   program counter, or a processing element. In further picture with the one or more instruction sets for operating
   embodiments, the receiving the one or more instruction sets the device . The correlating the first digital picture with the
   for operating the device includes at least one of: tracing, one or more instruction sets for operating the device may
   profiling, or instrumentation of a processor circuit or tracing, include generating a knowledge cell , the knowledge cell
   profiling, or instrumentation of a component of the proces- 25 comprising the first digital picture correlated with the one or
   sor circuit . In further embodiments, the receiving the one or more instruction sets for operating the device . The correlat
   more instruction sets for operating the device includes at ing the first digital picture with the one or more instruction
   least one of: tracing, profiling, or instrumentation of an sets for operating the device may include structuring a unit
   application or an object of the application. In further of knowledge of how the device operated in a visual
   embodiments, the receiving the one or more instruction sets 30 surrounding. In further embodiments, the learning the first
   for operating the device includes at least one of: tracing, digital picture correlated with the one or more instruction
   profiling, or instrumentation at a source code write time , a sets for operating the device includes learning a user's
   compile time , an interpretation time , a translation time , a knowledge, style, or methodology of operating the device in
   linking time , a loading time , or a runtime . In further embodi- a visual surrounding. In further embodiments, the learning
   ments, the receiving the one or more instruction sets for 35 the first digital picture correlated with the one or more
   operating the device includes at least one of: tracing, pro- instruction sets for operating the device includes spontane
   filing, or instrumentation of one or more of code segments, ous learning the first digital picture correlated with the one
   lines of code , statements, instructions, functions , routines, or more instruction sets for operating the device .
   subroutines, or basic blocks . In further embodiments, the             In some embodiments, the learning the first digital picture
   receiving the one or more instruction sets for operating the 40 correlated with the one or more instruction sets for operating
   device includes at least one of: tracing, profiling, or instru- the device includes storing , into a memory unit , the first
   mentation of a user input. In further embodiments , the digital picture correlated with the one or more instruction
   receiving the one or more instruction sets for operating the sets for operating the device , the first digital picture corre
   device includes at least one of: a manual , an automatic, a lated with the one or more instruction sets for operating the
   dynamic, or a just in time ( JIT ) tracing, profiling, or instru- 45 device being part of a stored plurality of digital pictures
   mentation . In further embodiments, the receiving the one or correlated with one or more instruction sets for operating the
   more instruction sets for operating the device includes device . In further embodiments, the memory unit includes
   utilizing at least one of: a .NET tool , a .NET application one or more memory units. In further embodiments, the
   programming interface (API ) , a Java tool , a Java API , a memory unit resides on a remote computing device, the
   logging tool , or an independent tool for obtaining instruction 50 remote computing device coupled to the one or more pro
   sets . In further embodiments , the receiving the one or more cessor circuits via a network . The remote computing device
   instruction sets for operating the device includes utilizing an may include a server . In further embodiments, the plurality
   assembly language. In further embodiments, the receiving of digital pictures correlated with one or more instruction
   the one or more instruction sets for operating the device sets for operating the device include a neural network , a
   includes utilizing a branch or a jump. In further embodi- 55 graph, a collection of sequences, a sequence, a collection of
   ments, the receiving the one or more instruction sets for          knowledge cells , a knowledgebase, a knowledge structure,
   operating the device includes a branch tracing or a simula-        or a data structure. In further embodiments, the plurality of
   tion tracing. In further embodiments, the receiving the one digital pictures correlated with one or more instruction sets
   or more instruction sets for operating the device includes for operating the device are organized into a neural network ,
   receiving the one or more instruction sets for operating the 60 a graph, a collection of sequences, a sequence , a collection
   device by an interface . The interface may include an acqui- of knowledge cells , a knowledgebase, a knowledge struc
   sition interface.                                               ture, or a data structure . In further embodiments, each of the
      In certain embodiments, the first digital picture correlated plurality of digital pictures correlated with one or more
   with the one or more instruction sets for operating the device instruction sets for operating the device is included in a
   includes a unit of knowledge of how the device operated in 65 neuron , a node, a vertex , or an element of a data structure .
   a visual surrounding. In further embodiments, the first The data structure may include a neural network, a graph, a
   digital picture correlated with the one or more instruction collection of sequences, a sequence, a collection of knowl
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   edge cells , a knowledgebase, or a knowledge structure.              picture includes determining that there is at least a partial
   Some of the neurons, nodes, vertices, or elements may be match between one or more portions of the new digital
   interconnected . In further embodiments, the plurality of picture and one or more portions of the first digital picture.
   digital pictures correlated with one or more instruction sets 5 In further embodiments, the determining that there is at least
   for operating the device include a user's knowledge, style, or a partial match between the new digital picture and the first
   methodology of operating the device in visual surroundings. digital picture includes determining that a similarity between
   In further embodiments , the plurality of digital pictures at least one portion of the new digital picture and at least one
   correlated with one or more instruction sets for operating the portion of the first digital picture exceeds a similarity
   device are stored on a remote computing device . In further threshold . In further embodiments, the determining that
   embodiments, the plurality of digital pictures correlated with 10 there is at least a partial match between the new digital
   one or more instruction sets for operating the device include picture and the first digital picture includes determining a
   an artificial intelligence system for knowledge structuring, substantial similarity between at least one portion of the new
   storing, or representation . The artificial intelligence system digital picture and at least one portion of the first digital
   for knowledge structuring, storing , or representation may picture. The at least one portion of the new digital picture
   include at least one of: a deep learning system , a supervised 15 may include at least one region , at least one feature, or at
   learning system , an unsupervised learning system , a neural least one pixel of the new digital picture . The at least one
   network , a search - based system , an optimization- based sys- portion of the first digital picture may include at least one
   tem , a logic - based system , a fuzzy logic -based system , a region , at least one feature , or at least one pixel of the first
   tree - based system , a graph -based system , a hierarchical digital picture. The substantial similarity may be achieved
   system , a symbolic system , a sub - symbolic system , an 20 when a similarity between the at least one portion of the new
   evolutionary system , a genetic system , a multi -agent system , digital picture and the at least one portion of the first digital
   a deterministic system , a probabilistic system , or a statistical picture exceeds a similarity threshold . The substantial simi
   system .                                                           larity may be achieved when a number or a percentage of
      In some embodiments, the anticipating the one or more matching or partially matching regions from the new digital
   instruction sets for operating the device correlated with the 25 picture and from the first digital picture exceeds a threshold
   first digital picture based on at least a partial match between number or threshold percentage. The substantial similarity
   the new digital picture and the first digital picture includes may be achieved when a number or a percentage of match
   comparing at least one portion of the new digital picture with ing or partially matching features from the new digital
   at least one portion of the first digital picture . The at least picture and from the first digital picture exceeds a threshold
   one portion of the new digital picture may include at least 30 number or threshold percentage. The substantial similarity
   one region , at least one feature , or at least one pixel of the may be achieved when a number or a percentage of match
   new digital picture. The at least one portion of the first ing or partially matching pixels from the new digital picture
   digital picture may include at least one region, at least one and from the first digital picture exceeds a threshold number
   feature, or at least one pixel of the first digital picture. The or threshold percentage. The substantial similarity may be
   comparing the at least one portion of the new digital picture 35 achieved when one or more same or similar objects are
   with the at least one portion of the first digital picture may recognized in the new digital picture and the first digital
   include comparing at least one region of the new digital picture. In further embodiments, the determining that there
   picture with at least one region of the first digital picture. is at least a partial match between the new digital picture and
   The comparing the at least one portion of the new digital the first digital picture includes determining that a number or
   picture with the at least one portion of the first digital picture 40 a percentage of matching regions from the new digital
   may include comparing at least one feature of the new digital picture and from the first digital picture exceeds a threshold
   picture with at least one feature of the first digital picture. number or threshold percentage. The matching regions from
   The comparing the at least one portion of the new digital the new digital picture and from the first digital picture may
   picture with the at least one portion of the first digital picture be determined factoring in at least one of: a location of a
   may include comparing at least one pixel of the new digital 45 region , an importance of a region , a threshold for a similarity
   picture with at least one pixel of the first digital picture . The in a region, or a threshold for a difference in a region. In
   comparing the at least one portion of the new digital picture further embodiments, the determining that there is at least a
   with the at least one portion of the first digital picture may partial match between the new digital picture and the first
   include at least one of: performing a color adjustment, digital picture includes determining that a number or a
   performing a size adjustment, performing a content manipu- 50 percentage of matching features from the new digital picture
   lation, utilizing a transparency , or utilizing a mask on the and from the first digital picture exceeds a threshold number
   new or the first digital picture . The comparing the at least or threshold percentage . The matching features from the new
   one portion of the new digital picture with the at least one digital picture and from the first digital picture may be
   portion of the first digital picture may include recognizing at determined factoring in at least one of: a type of a feature,
   least one person or object in the new digital picture and at 55 an importance of a feature, a location of a feature, a
   least one person or object in the first digital picture, and threshold for a similarity in a feature, or a threshold for a
   comparing the at least one person or object from the new difference in a feature . In further embodiments, the deter
   digital picture with the at least one person or object from the mining that there is at least a partial match between the new
   first digital picture .                                               digital picture and the first digital picture includes determin
      In certain embodiments, the anticipating the one or more 60 ing that a number or a percentage of matching pixels from
   instruction sets for operating the device correlated with the the new digital picture and from the first digital picture
   first digital picture based on at least a partial match between exceeds a threshold number or threshold percentage. The
   the new digital picture and the first digital picture includes matching pixels from the new digital picture and from the
   determining that there is at least a partial match between the first digital picture may be determined factoring in at least
   new digital picture and the first digital picture. In further 65 one of: a location of a pixel , a threshold for a similarity in
   embodiments, the determining that there is at least a partial a pixel , or a threshold for a difference in a pixel . In further
   match between the new digital picture and the first digital          embodiments , the determining that there is at least a partial
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   match between the new digital picture and the first digital logic circuit with the one or more instruction sets for
   picture includes recognizing a same person or object in the operating the device correlated with the first digital picture.
   new and the first digital pictures.                                The executing, by the logic circuit, the one or more instruc
      In some embodiments, the executing the one or more tion sets for operating the device correlated with the first
   instruction sets for operating the device correlated with the 5 digital picture may include replacing outputs from the logic
   first digital picture includes executing the one or more circuit with the one or more instruction sets for operating the
   instruction sets for operating the device correlated with the device correlated with the first digital picture.
   first digital picture instead of or prior to an instruction set       In some embodiments, the executing the one or more
   that would have been executed next. In further embodi- instruction sets for operating the device correlated with the
   ments, the executing the one or more instruction sets for 10 first digital picture includes executing, by an application for
   operating the device correlated with the first digital picture operating the device , the one or more instruction sets for
   includes modifying one or more instruction sets . In further operating the device correlated with the first digital picture.
   embodiments, the executing the one or more instruction sets In further embodiments, the executing the one or more
   for operating the device correlated with the first digital instruction sets for operating the device correlated with the
   picture includes modifying a register or an element of a 15 first digital picture includes modifying an application, the
   processor circuit . In further embodiments, the executing the application including instruction sets for operating the
   one or more instruction sets for operating the device corre- device . In further embodiments, the executing the one or
   lated with the first digital picture includes inserting the one more instruction sets for operating the device correlated with
   or more instruction sets for operating the device correlated the first digital picture includes redirecting an application to
   with the first digital picture into a register or an element of 20 the one or more instruction sets for operating the device
   a processor circuit . In further embodiments, the executing correlated with the first digital picture. In further embodi
   the one or more instruction sets for operating the device ments, the executing the one or more instruction sets for
   correlated with the first digital picture includes redirecting a operating the device correlated with the first digital picture
   processor circuit to the one or more instruction sets for includes redirecting an application to one or more alternate
   operating the device correlated with the first digital picture. 25 instruction sets , the alternate instruction sets comprising the
   In further embodiments , the executing the one or more one or more instruction sets for operating the device corre
   instruction sets for operating the device correlated with the lated with the first digital picture. In further embodiments,
   first digital picture includes redirecting a processor circuit to the executing the one or more instruction sets for operating
   one or more alternate instruction sets , the alternate instruc- the device correlated with the first digital picture includes
   tion sets comprising the one or more instruction sets for 30 modifying one or more instruction sets of an application . In
   operating the device correlated with the first digital picture. further embodiments, the executing the one or more instruc
   In further embodiments, the executing the one or more tion sets for operating the device correlated with the first
   instruction sets for operating the device correlated with the digital picture includes modifying a source de , a bytecode ,
   first digital picture includes transmitting, to a processor an intermediate code , a compiled code , an interpreted code,
   circuit for execution , the one or more instruction sets for 35 a translated code , a runtime code, an assembly code , or a
   operating the device correlated with the first digital picture. machine code . In further embodiments, the executing the
   In further embodiments, the executing the one or more               one or more instruction sets for operating the device corre
   instruction sets for operating the device correlated with the       lated with the first digital picture includes modifying at least
   first digital picture includes issuing an interrupt to a proces-    one of: a memory unit , a register of a processor circuit, a
   sor circuit and executing the one or more instruction sets for 40 storage , or a repository where instruction sets are stored or
   operating the device correlated with the first digital picture used . In further embodiments, the executing the one or more
   following the interrupt. In further embodiments, the execut- instruction sets for operating the device correlated with the
   ing the one or more instruction sets for operating the device first digital picture includes modifying one or more instruc
   correlated with the first digital picture includes modifying an tion sets for operating an application or an object of the
   element that is part of, operating on , or coupled to a 45 application . In further embodiments, the executing the one
   processor circuit.                                                or more instruction sets for operating the device correlated
      In certain embodiments, the executing the one or more with the first digital picture includes modifying at least one
   instruction sets for operating the device correlated with the of: an element of a processor circuit , an element of the
   first digital picture includes executing, by a logic circuit, the device, a virtual machine , a runtime engine, an operating
   one or more instruction sets for operating the device corre- 50 system , an execution stack , a program counter, or a user
   lated with the first digital picture. The logic circuit may input. In further embodiments, the executing the one or more
   include a microcontroller. The executing , by the logic cir- instruction sets for operating the device correlated with the
   cuit , the one or more instruction sets for operating the device first digital picture includes modifying one or more instruc
   correlated with the first digital picture may include modi- tion sets at a source code write time , a compile time , an
   fying an element of the logic circuit. The executing, by the 55 interpretation time , a translation time , a linking time , a
   logic circuit , the one or more instruction sets for operating loading time , or a runtime. In further embodiments, the
   the device correlated with the first digital picture may executing the one or more instruction sets for operating the
   include inserting the one or more instruction sets for oper-        device correlated with the first digital picture includes
   ating the device correlated with the first digital picture into modifying one or more code segments, lines of code ,
   an element of the logic circuit . The executing , by the logic 60 statements , instructions, functions, routines , subroutines, or
   circuit , the one or more instruction sets for operating the basic blocks . In further embodiments, the executing the one
   device correlated with the first digital picture may include or more instruction sets for operating the device correlated
   redirecting the logic circuit to the one or more instruction with the first digital picture includes a manual, an automatic,
   sets for operating the device correlated with the first digital a dynamic , or a just in time ( JIT) instrumentation of an
   picture. The executing, by the logic circuit, the one or more 65 application . In further embodiments, the executing the one
   instruction sets for operating the device correlated with the       or more instruction sets for operating the device correlated
   first digital picture may include replacing inputs into the         with the first digital picture includes utilizing one or more of
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   a .NET tool , a .NET application programming interface               In certain embodiments, the operations of the non-tran
   (API ) , a Java tool , a Java API , an operating system tool , or sitory computer storage medium and /or the method further
   an independent tool for modifying instruction sets . In further comprise : receiving at least one extra information. In further
   embodiments, the executing the one or more instruction sets 5 embodiments , the at least one extra information include one
   for operating the device correlated with the first digital or more of: a time information , a location information , a
   picture includes utilizing at least one of: a dynamic, an computed              information , an observed information, a sensory
   interpreted , or a scripting programming language. In further information, or a contextual information . In further embodi
   embodiments, the executing the one or more instruction sets ments         , the at least one extra information include one or more
   for operating the device correlated with the first digital object information
                                                                     of:  an                 on a digital picture , an information on an
   picture includes utilizing at least one of: a dynamic code , a 10 visual    in the digital picture, an information on the device's
                                                                               surrounding, an information on an instruction set, an
   dynamic class loading , or a reflection . In further embodi
   ments , the executing the one or more instruction sets for information            on an application, an information on an object
   operating the device correlated with the first digital picture information on the, andevice
                                                                     of  the  application       information on a processor circuit , an
                                                                                                     , or an information on an user . In
   includes utilizing an assembly language. In further embodi- 15 further embodiments, the operations of the non -transitory
   ments, the executing the one or more instruction sets for            computer storage medium and /or the method further com
   operating the device correlated with the first digital picture      prise: learning the first digital picture correlated with the at
   includes utilizing at least one of: metaprogramming, a              least one extra information . The learning the first digital
   self -modifying code , or an instruction set modification tool . picture correlated with at least one extra information may
   Ininstruction
         further embodiments   , the executing the one or more 20 include correlating the first digital picture with the at least
                 sets for operating the device correlated with the one extra information . The learning the first digital picture
   first digital picture includes utilizing at least one of: just in correlated with at least one extra information may include
   time ( JIT ) compiling, JIT interpretation, JIT translation , storing the first digital picture correlated with the at least one
   dynamic recompiling, or binary rewriting. In further extra information into a memory unit . In further embodi
   embodiments, the executing the one or more instruction sets 25 ments, the anticipating the one or more instruction sets for
   for operating the device correlated with the first digital operating the device correlated with the first digital picture
   picture includes utilizing at least one of: a dynamic expres- based on at least partial match between the new digital
   sion creation, a dynamic expression execution , a dynamic picture and the first digital picture includes anticipating the
   function creation , or a dynamic function execution . In one or more instruction sets for operating the device corre
   further embodiments, the executing the one or more instruc- 30 lated with the first digital picture based on at least a partial
   tion sets for operating the device correlated with the first match between an extra information correlated with the new
   digital picture includes adding or inserting additional code digital picture and an extra information correlated with the
   into a code of an application. In further embodi ents, the first digital picture. The anticipating the one or more instruc
   executing the one or more instruction sets for operating the tion sets for operating the device correlated with the first
   device correlated with the first digital picture includes at 35 digital picture based on at least a partial match between an
   least one of: modifying, removing, rewriting, or overwriting extra information correlated with the new digital picture and
   a code of an application . In further embodiments, the an extra information correlated with the first digital picture
   executing the one or more instruction sets for operating the may include comparing an extra information correlated with
   device correlated with the first digital picture includes at the new digital picture and an extra information correlated
   least one of: branching, redirecting, extending, or hot swap- 40 with the first digital picture. The anticipating the one or more
   ping a code of an application . The branching or redirecting instruction sets for operating the device correlated with the
   the code may include inserting at least one of: a branch , a first digital picture based on at least a partial match between
   jump, or a means for redirecting an execution . In further an extra information correlated with the new digital picture
   embodiments, the executing the one or more instruction sets and an extra information correlated with the first digital
   for operating the device correlated with the first digital 45 picture may include determining that a similarity between an
   picture includes implementing a user's knowledge, style, or extra information correlated with the new digital picture and
   methodology of operating the device in a visual surround- an extra information correlated with the first digital picture
   ing . In further embodiments, the executing the one or more exceeds a similarity threshold .
   instruction sets for operating the device correlated with the          In some embodiments, the operations of the non -transi
   first digital picture includes executing the one or more 50 tory computer storage medium and / or the method further
   instruction sets for operating the device correlated with the comprise: presenting, via a user interface , a user with an
   first digital picture via an interface . The interface may option to execute the one or more instruction sets for
   include a modification interface .                                  operating the device correlated with the first digital picture.
        In certain embodiments, the one or more operations                In certain embodiments, the operations of the non -tran
   defined by the one or more instruction sets for operating the 55 sitory computer storage medium and / or the method further
   device correlated with the first digital picture include at least comprise: receiving, via a user interface, a user's selection
   one of: an operation with or by a smartphone, an operation to execute the one or more instruction sets for operating the
   with or by a fixture, an operation with or by a control device , device correlated with the first digital picture.
   or an operation with or by a computer or computing enabled             In some embodiments, the operations of the non - transi
   device. In further embodiments, the performing the one or 60 tory computer storage medium and / or the method further
   more operations defined by the one or more instruction sets comprise: rating the executed one or more instruction sets
   for operating the device correlated with the first digital for operating the device correlated with the first digital
   picture includes implementing a user's knowledge, style , or picture. The rating the executed one or more instruction sets
   methodology of operating the device in a visual surround- for operating the device correlated with the first digital
   ing.                                                             65 picture may include displaying , on a display, the executed
        In some embodiments , the instruction sets for operating one or more instruction sets for operating the device corre
   the device are part of an application for operating the device . lated with the first digital picture along with one or more
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                                                       US 11,055,583 B1
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   rating values as options to be selected by a user. The rating storing the first digital picture correlated with the one or
   the executed one or more instruction sets for operating the more instruction sets for operating the device into a first
   device correlated with the first digital picture may include node of a data structure , and wherein the learning the second
   rating the executed one or more instruction sets for operating digital picture correlated with the additional one or more
   the device correlated with the first digital picture without a 5 instruction sets for operating the device may include storing
   user input. The rating the executed one or more instruction the second digital picture correlated with the additional one
   sets for operating the device correlated with the first digital or more instruction sets for operating the device into a
   picture may include associating one or more rating values second node of the data structure . The data structure may
   with the executed one or more instruction sets for operating include a neural network , a graph, a collection of sequences,
   the device correlated with the first digital picture and storing 10 a sequence, a collection of knowledge cells , a knowledge
   the one or more rating values into a memory unit .                  base , or a knowledge structure . The learning the first digital
      In certain embodiments, the operations of the non -tran- picture correlated with the one or more instruction sets for
   sitory computer storage medium and/ or the method further operating the device and the learning the second digital
   comprise : presenting, via a user interface, a user with an picture correlated with the additional one or more instruction
   option to cancel the execution of the executed one or more 15 sets for operating the device may include creating a con
   instruction sets for operating the device correlated with the       nection between the first node and the second node. The
   first digital picture . In further embodiments, the canceling learning the first digital picture correlated with the one or
   the execution of the executed one or more instruction sets for more instruction sets for operating the device and the
   operating the device correlated with the first digital picture learning the second digital picture correlated with the addi
   includes restoring a processor circuit or the device to a prior 20 tional one or more instruction sets for operating the device
   state . The restoring the processor circuit or the device to a may include updating a connection between the first node
   prior state may include saving the state of the processor and the second node. In further embodiments, the first digital
   circuit or the device prior to executing the one or more picture correlated with the one or more instruction sets for
   instruction sets for operating the device correlated with the operating the device is stored into a first node of a neural
   first digital picture.                                          25 network and the second digital picture correlated with the
      In some embodiments, the operations of the non - transi- additional one or more instruction sets for operating the
   tory computer storage medium and /or the method further device is stored into a second node of the neural network .
   comprise : receiving, via an input device , a user's operating The first node and the second node may be connected by a
   directions , the user's operating directions for instructing a connection . The first node may be part of a first layer of the
   processor circuit on how to operate the device.                 30 neural network and the second node may be part of a second
      In certain embodiments, the operations of the non -tran- layer of the neural network . In further embodiments, the first
   sitory computer storage medium and / or the method further digital picture correlated with the one or more instruction
   comprise : receiving a second digital picture from the picture sets for operating the device is stored into a first node of a
   capturing apparatus ; receiving additional one or more graph and the second digital picture correlated with the
   instruction sets for operating the device; and learning the 35 additional one or more instruction sets for operating the
   second digital picture correlated with the additional one or device is stored into a second node of the graph . The first
   more instruction sets for operating the device . In further node and the second node may be connected by a connec
   embodiments, the second digital picture includes a second tion . In further embodiments, the first digital picture corre
   stream of digital pictures. In further embodiments, the lated with the one or more instruction sets for operating the
   learning the first digital picture correlated with the one or 40 device is stored into a first node of a sequence and the second
   more instruction sets for operating the device and the digital picture correlated with the additional one or more
   learning the second digital picture correlated with the addi- instruction sets for operating the device is stored into a
   tional one or more instruction sets for operating the device second node of the sequence .
   include creating a connection between the first digital pic-       In some aspects , the disclosure relates to a system for
   ture correlated with the one or more instruction sets for 45 learning a visual surrounding for autonomous device oper
   operating the device and the second digital picture correlated ating . The system may be implemented at least in part on one
   with the additional one or more instruction sets for operating or more computing devices. In some embodiments, the
   the device . The connection may include or is associated with system comprises a processor circuit configured to execute
   at least one of: an occurrence count, a weight, a parameter, instruction sets for operating a device . The system may
   or a data . In further embodiments, the learning the first 50 further include a memory unit configured to store data . The
   digital picture correlated with the one or more instruction system may further include a picture capturing apparatus
   sets for operating the device and the learning the second configured to capture digital pictures. The system may
   digital picture correlated with the additional one or more further include an artificial intelligence unit. In some
   instruction sets for operating the device include updating a embodiments, the artificial intelligence unit may be config
   connection between the first digital picture correlated with 55 ured to : receive a first digital picture from the picture
   the one or more instruction sets for operating the device and capturing apparatus. The artificial intelligence unit may be
   the second digital picture correlated with the additional one further configured to : receive one or more instruction sets
   or more instruction sets for operating the device . The for operating the device from the processor circuit. The
   updating the connection between the first digital picture artificial intelligence unit may be further configured to : learn
   correlated with the one or more instruction sets for operating 60 the first digital picture correlated with the one or more
   the device and the second digital picture correlated with the instruction sets for operating the device .
   additional one or more instruction sets for operating the            In some aspects , the disclosure relates to a non -transitory
   device may include updating at least one of: an occurrence        computer storage medium having a computer program
   count, a weight, a parameter, or a data included in or stored thereon , the program including instructions that when
   associated with the connection . In further embodiments, the 65 executed by one or more processor circuits cause the one or
   learning the first digital picture correlated with the one or more processor circuits to perform operations comprising:
   more instruction sets for operating the device includes receiving a first digital picture from a picture capturing
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                               29                                                                 30
   apparatus. The operations may further include: receiving          digital picture . The operations may further include : causing
   one or more instruction sets for operating a device . The an execution of the one or more instruction sets for operating
   operations may further include : learning the first digital the device correlated with the first digital picture, the caus
   picture correlated with the one or more instruction sets for ing performed in response to the anticipating the one or more
   operating the device.                                         5 instruction sets for operating the device correlated with the
      In some aspects , the disclosure relates to a method com- first digital picture based on at least a partial match between
   prising: (a ) receiving a first digital picture from a picture the new digital picture and the first digital picture , wherein
   capturing apparatus by one or more processor circuits . The the device performs one or more operations defined by the
   method may further include : (b ) receiving one or more one or more instruction sets for operating the device corre
   instruction sets for operating a device by the one or more 10 lated with the first digital picture, the one or more operations
   processor circuits. The method may further include: (c ) performed in response to the executing .
   learning the first digital picture correlated with the one or      In some aspects , the disclosure relates to a method com
   more instruction sets for operating the device , the learning prising: ( a ) accessing a memory unit that stores a plurality of
   of (c ) performed by the one or more processor circuits .       digital pictures correlated with one or more instruction sets
      The operations or steps of the non - transitory computer 15 for operating a device , the plurality including a first digital
   storage medium and / or the method may be performed by picture correlated with one or more instruction sets for
   any of the elements of the above described systems as operating the device, the accessing of ( a) performed by the
   applicable. The non - transitory computer storage medium one or more processor circuits. The method may further
   and /or the method may include any of the operations, steps ,     include: (b ) receiving a new digital picture from a picture
   and embodiments of the above described systems as appli- 20 capturing apparatus by the one or more processor circuits .
   cable .                                                           The method may further include : ( c ) anticipating the one or
     In some aspects , the disclosure relates to a system for        more instruction sets for operating the device correlated with
   using a visual surrounding for autonomous device operating.       the first digital picture based on at least a partial match
   The system may be implemented at least in part on one or between the new digital picture and the first digital picture,
   more computing devices. In some embodiments, the system 25 the anticipating of ( c ) performed by the one or more pro
   comprises a processor circuit configured to execute instruc- cessor circuits . The method may further include: ( d ) execut
   tion sets for operating a device . The system may further ing the one or more instruction sets for operating the device
   include a memory unit configured to store data . The system correlated with the first digital picture, the executing of (d)
   may further include a picture capturing apparatus configured performed in response to the anticipating of (c ) . The method
   to capture digital pictures. The system may further include 30 may further include: (e ) performing, by the device, one or
   an artificial intelligence unit . In some embodiments, the more operations defined by the one or more instruction sets
   artificial intelligence unit may be configured to: access the for operating the device correlated with the first digital
   memory unit that stores a plurality of digital pictures cor- picture, the one or more operations performed in response to
   related with one or more instruction sets for operating the the executing of (d ) .
   device , the plurality including a first digital picture corre- 35 The operations or steps of the non - transitory computer
   lated with one or more instruction sets for operating the storage medium and / or the method may be performed by
   device . The artificial intelligence unit may be further con- any of the elements of the above described systems as
   figured to : receive a new digital picture from the picture applicable . The non - transitory computer storage medium
   capturing apparatus. The artificial intelligence unit may be and /or the method may include any of the operations, steps ,
   further configured to : anticipate the one or more instruction 40 and embodiments of the above described systems as appli
   sets for operating the device correlated with the first digital cable .
   picture based on at least a partial match between the new           In some aspects , the disclosure relates to a system for
   digital picture and the first digital picture . The artificial learning and using a visual surrounding for autonomous
   intelligence unit may be further configured to : cause the device operating. The system may be implemented at least
   processor circuit to execute the one or more instruction sets 45 in part on one or more computing devices . In some embodi
   for operating the device correlated with the first digital ments, the system comprises a processor circuit configured
   picture, the executing performed in response to the antici- to execute instruction sets for operating a device . The system
   pating of the artificial intelligence unit , wherein the device may further include a memory unit configured to store data .
   performs one or more operations defined by the one or more The system may further include a picture capturing appara
   instruction sets for operating the device correlated with the 50 tus configured to capture digital pictures. The system may
   first digital picture, the one or more operations performed in further include an artificial intelligence. In some embodi
   response to the executing by the processor circuit.              ments, the artificial intelligence unit may be configured to :
      In some aspects , the disclosure relates to a non - transitory receive a first stream of digital pictures from the picture
   computer storage medium having a computer program capturing apparatus . The artificial intelligence unit may be
   stored thereon , the program including instructions that when 55 further configured to : receive one or more instruction sets
   executed by one or more processor circuits cause the one or for operating the device from the processor circuit. The
   more processor circuits to perform operations comprising: artificial intelligence unit may be further configured to : learn
   accessing a memory unit that stores a plurality of digital the first stream of digital pictures correlated with the one or
   pictures correlated with one or more instruction sets for more instruction sets for operating the device. The artificial
   operating a device , the plurality including a first digital 60 intelligence unit may be further configured to : receive a new
   picture correlated with one or more instruction sets for stream of digital pictures from the picture capturing appa
   operating the device . The operations may further include: ratus . The artificial intelligence unit may be further config
   receiving a new digital picture from a picture capturing ured to : anticipate the one or more instruction sets for
   apparatus. The operations may further include : anticipating operating the device correlated with the first stream of
   the one or more instruction sets for operating the device 65 digital pictures based on at least a partial match between the
   correlated with the first digital picture based on at least a new stream of digital pictures and the first stream of digital
   partial match between the new digital picture and the first pictures. The artificial intelligence unit may be further
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                                                      US 11,055,583 B1
                                31                                                                 32
   configured to : cause the processor circuit to execute the one cell , the knowledge cell comprising the first stream of digital
   or more instruction sets for operating the device correlated pictures correlated with the one or more instruction sets for
   with the first stream of digital pictures, the executing per- operating the device . The correlating the first stream of
   formed in response to the anticipating of the artificial digital pictures with the one or more instruction sets for
   intelligence unit, wherein the device performs one or more 5 operating the device may include structuring a unit of
   operations defined by the one or more instruction sets for knowledge of how the device operated in a visual surround
   operating the device correlated with the first stream of ing . In further embodiments , the learning the first stream of
   digital pictures, the one or more operations performed in digital pictures correlated with the one or more instruction
   response to the executing by the processor circuit.                sets for operating the device includes learning a user's
      In certain embodiments, the first stream of digital pictures 10 knowledge, style , or methodology of operating the device in
   includes one or more digital pictures. In further embodi- a visual surrounding. In further embodiments , the learning
   ments , the new stream of digital pictures includes one or the first stream of digital pictures correlated with the one or
   more digital pictures. In further embodiments, the first and more instruction sets for operating the device includes
   the new streams of digital pictures portray the device's spontaneous learning the first stream of digital pictures
   surrounding. In further embodiments, the first and the new 15 correlated with the one or more instruction sets for operating
   streams of digital pictures portray a remote device's sur- the device .
   rounding. In further embodiments, the first or the new                In some embodiments, the learning the first stream of
   stream of digital pictures includes a digital motion picture. digital pictures correlated with the one or more instruction
   The digital motion picture may include a MPEG motion sets for operating the device includes storing, into the
   picture, an AVI motion picture , a FLV motion picture , a 20 memory unit , the first stream of digital pictures correlated
   MOV motion picture, a RM motion picture, a SWF motion with the one or more instruction sets for operating the
   picture, a WMV motion picture, a DivX motion picture, or device, the first stream of digital pictures correlated with the
   a digitally encoded motion picture. In further embodiments , one or more instruction sets for operating the device being
   the first stream of digital pictures includes a comparative part of a stored plurality of streams of digital pictures
   stream of digital pictures whose at least one portion can be 25 correlated with one or more instruction sets for operating the
   used for comparisons with at least one portion of streams of device . In further embodiments, the plurality of streams of
   digital pictures subsequent to the first stream of digital digital pictures correlated with one or more instruction sets
   pictures, the streams of digital pictures subsequent to the for operating the device include a neural network , a graph ,
   first stream of digital pictures comprising the new stream of a collection of sequences , a sequence, a collection of knowl
   digital pictures. In further embodiments, the first stream of 30 edge cells , a knowledgebase, a knowledge structure, or a
   digital pictures includes a comparative stream of digital data structure. In further embodiments, the plurality of
   pictures that can be used for comparisons with the new streams of digital pictures correlated with one or more
   stream of digital pictures. In further embodiments, the new instruction sets for operating the device are organized into a
   stream of digital pictures includes an anticipatory stream of neural network , a graph , a collection of sequences, a
   digital pictures whose correlated one or more instruction sets 35 sequence , a collection of knowledge cells , a knowledgebase ,
   can be used for anticipation of one or more instruction sets a knowledge structure , or a data structure. In further embodi
   to be executed by the processor circuit.                           ments, each of the plurality of streams of digital pictures
      In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
   correlated with the one or more instruction sets for operating device is included in a neuron , a node , a vertex , or an
   the device includes a unit of knowledge of how the device 40 element of a data structure . The data structure may include
   operated in a visual surrounding. In further embodiments, a neural network , a graph, a collection of sequences , a
   the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase,
   more instruction sets for operating the device is included in or a knowledge structure . Some of the neurons, nodes ,
   a neuron , a node, a vertex, or an element of a data structure . vertices, or elements may be interconnected . In further
   In further embodiments, the data structure includes a neural 45 embodiments, the plurality of streams of digital pictures
   network , a graph , a collection of sequences, a sequence , a correlated with one or more instruction sets for operating the
   collection of knowledge cells , a knowledgebase , or a knowl- device include a user's knowledge , style , or methodology of
   edge structure . Some of the neurons, nodes , vertices, or operating the device in visual surroundings. In further
   elements may be interconnected . In further embodiments, embodiments, the plurality of streams of digital pictures
   the first stream of digital pictures correlated with the one or 50 correlated with one or more instruction sets for operating the
   more instruction sets for operating the device is structured device are stored on a remote computing device . In further
   into a knowledge cell . In further embodiments, the knowl- embodiments, the plurality of streams of digital pictures
   edge cell includes a unit of knowledge of how the device correlated with one or more instruction sets for operating the
   operated in a visual surrounding. In further embodiments, device include an artificial intelligence system for knowl
   the knowledge cell is included in a neuron , a node , a vertex, 55 edge structuring, storing, or representation . The artificial
   or an element of a data structure . The data structure may intelligence system for knowledge structuring, storing, or
   include a neural network, a graph, a collection of sequences, representation may include at least one of: a deep learning
   a sequence , a collection of knowledge cells , a knowledge- system , a supervised learning system , an unsupervised learn
   base , or a knowledge structure . Some of the neurons, nodes , ing system , a neural network , a search -based system , an
   vertices, or elements may be interconnected.                  60 optimization - based system , a logic -based system , a fuzzy
      In certain embodiments, the learning the first stream of logic -based system , a tree - based system , a graph -based
   digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
   sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
   stream of digital pictures with the one or more instruction a multi-agent system , a deterministic system , a probabilistic
   sets for operating the device. The correlating the first stream 65 system , or a statistical system .
   of digital pictures with the one or more instruction sets for        In some embodiments, the anticipating the one or more
   operating the device may include generating a knowledge instruction sets for operating the device correlated with the
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                                                       US 11,055,583 B1
                                33                                                                  34
   first stream of digital pictures based on at least a partial digital pictures exceeds a similarity threshold . In further
   match between the new stream of digital pictures and the embodiments, the determining that there is at least a partial
   first stream of digital pictures includes comparing at least match between the new stream of digital pictures and the
   one portion of the new stream of digital pictures with at least first stream of digital pictures includes determining a sub
   one portion of the first stream of digital pictures. The at least 5 stantial similarity between at least one portion of the new
   one portion of the new stream of digital pictures may include stream of digital pictures and at least one portion of the first
   at least one digital picture, at least one region, at least one stream of digital pictures. The at least one portion of the new
   feature, or at least one pixel of the new stream of digital stream of digital pictures may include at least one digital
   pictures. The at least one portion of the first stream of digital picture , at least one region , at least one feature, or at least
   pictures may include at least one digital picture, at least one 10 one pixel of the new stream of digital pictures. The at least
   region , at least one feature, or at least one pixel of the first one portion of the first stream of digital pictures may include
   stream of digital pictures. The comparing the at least one at least one digital picture, at least one region , at least one
   portion of the new stream of digital pictures with the at least feature, or at least one pixel of the first stream of digital
   one portion of the first stream of digital pictures may include pictures. The substantial similarity may be achieved when a
   comparing at least one digital picture of the new stream of 15 similarity between the at least one portion of the new stream
   digital pictures with at least one digital picture of the first of digital pictures and the at least one portion of the first
   stream of digital pictures. The at least one portion of the new stream of digital pictures exceeds a similarity threshold . The
   stream of digital pictures with the at least one portion of the substantial similarity may be achieved when a number or a
   first stream of digital pictures may include comparing at percentage of matching or partially matching digital pictures
   least one region of at least one digital picture of the new 20 from the new stream of digital pictures and from the first
   stream of digital pictures with at least one region of at least stream of digital pictures exceeds a threshold number or
   one digital picture of the first stream of digital pictures. The threshold percentage. The substantial similarity may be
   comparing the at least one portion of the new stream of achieved when a number or a percentage of matching or
   digital pictures with the at least one portion of the first partially matching regions of at least one digital picture from
   stream of digital pictures may include comparing at least one 25 the new stream of digital pictures and from the first stream
   feature of at least one digital picture of the new stream of of digital pictures exceeds a threshold number or threshold
   digital pictures with at least one feature of at least one digital percentage. The substantial similarity may be achieved
   picture of the first stream of digital pictures. The comparing when a number or a percentage of matching or partially
   the at least one portion of the new stream of digital pictures matching features of at least one digital picture from the new
   with the at least one portion of the first stream of digital 30 stream of digital pictures and from the first stream of digital
   pictures may include comparing at least one pixel of at least pictures exceeds a threshold number or threshold percent
   one digital picture of the new stream of digital pictures with age . The substantial similarity may be achieved when a
   at least one pixel of at least one digital picture of the first number or a percentage of matching or partially matching
   stream of digital pictures. The comparing the at least one pixels of at least one digital picture from the new stream of
   portion of the new stream of digital pictures with the at least 35 digital pictures and from the first stream of digital pictures
   one portion of the first stream of digital pictures may include exceeds a threshold number or threshold percentage. The
   at least one of: performing a color adjustment, performing a substantial similarity may be achieved when one or more
   size adjustment, performing a content manipulation, per- same or similar objects are recognized in the new stream of
   forming temporal alignment, performing dynamic time digital pictures and the first stream of digital pictures. In
   warping  , utilizing a transparency , or utilizing a mask on the 40 further embodiments, the determining that there is at least a
   new or the first stream of digital pictures. The comparing the partial match between the new stream of digital pictures and
   at least one portion of the new stream of digital pictures with the first stream of digital pictures includes determining that
   the at least one portion of the first stream of digital pictures a number or a percentage of matching digital pictures from
   may include recognizing at least one person or object in the the new stream of digital pictures and from the first stream
   new stream of digital pictures and at least one person or 45 of digital pictures exceeds a threshold number or threshold
   object in the first stream of digital pictures, and comparing percentage. The matching digital pictures from the new
   the at least one person or object from the new stream of stream of digital pictures and from the first stream of digital
   digital pictures with the at least one person or object from pictures may be determined factoring in at least one of: an
   the first stream of digital pictures.                               order of a digital picture in a stream of digital pictures, an
      In certain embodiments , the anticipating the one or more 50 importance of a digital picture , a threshold for a similarity in
   instruction sets for operating the device correlated with the a digital picture, or a threshold for a difference in a digital
   first stream of digital pictures based on at least a partial picture. In further embodiments, the determining that there
   match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
   first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
   there is at least a partial match between the new stream of 55 determining that a number or a percentage of matching
   digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
   further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
   partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
   the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
   there is at least a partial match between one or more portions 60 one digital picture of the new stream of digital pictures and
   of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
   portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
   embodiments, the determining that there is at least a partial location of a region , an importance of a region , a threshold
   match between the new stream of digital pictures and the for a similarity in a region, or a threshold for a difference in
   first stream of digital pictures includes determining that a 65 a region. In further embodiments, the determining that there
   similarity between at least one portion of the new stream of is at least a partial match between the new stream of digital
   digital pictures and at least one portion of the first stream of pictures and the first stream of digital pictures includes
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   determining that a number or a percentage of matching with the first stream of digital pictures. In further embodi
   features from at least one digital picture of the new stream ments, the executing the one or more instruction sets for
   of digital pictures and from at least one digital picture of the operating the device correlated with the first stream of
   first stream of digital pictures exceeds a threshold number or digital pictures includes issuing an interrupt to the processor
   threshold percentage. The matching features from at least 5 circuit and executing the one or more instruction sets for
   one digital picture of the new stream of digital pictures and operating the device correlated with the first stream of
   from at least one digital picture of the first stream of digital digital pictures following the interrupt. In further embodi
   pictures may be determined factoring in at least one of: a ments, the causing the processor circuit to execute the one
   type of a feature, an importance of a feature , a location of a or more instruction sets for operating the device correlated
   feature, a threshold for a similarity in a feature, or a 10 with the first stream of digital pictures includes modifying
   threshold for a difference in a feature . In further embodi- an element that is part of, operating on , or coupled to the
   ments  , the determining that there is at least a partial match processor
   between the new stream of digital pictures and the first
                                                                                   circuit.
                                                                          In some embodiments, the processor circuit includes a
   stream of digital pictures includes determining that a number logic circuit , and wherein the causing the processor circuit
   or a percentage of matching pixels from at least one digital 15 to execute the one or more instruction sets for operating the
   picture of the new stream of digital pictures and from at least device correlated with the first stream of digital pictures
   one digital picture of the first stream of digital pictures includes causing the logic circuit to execute the one or more
   exceeds a threshold number or threshold percentage. The instruction sets for operating the device correlated with the
   matching pixels from at least one digital picture of the new first stream of digital pictures. The logic circuit may include
   stream of digital pictures and from at least one digital picture 20 a microcontroller. The causing the logic circuit to execute
   of the first stream of digital pictures may be determined the one or more instruction sets for operating the device
   factoring in at least one of a location of a pixel , a threshold correlated with the first stream of digital pictures may
   for a similarity in a pixel , or a threshold for a difference in include modifying an element of the logic circuit . The
   a pixel . In further embodiments, the determining that there causing the logic circuit to execute the one or more instruc
   is at least a partial match between the new stream of digital 25 tion sets for operating the device correlated with the first
   pictures and the first stream of digital pictures includes stream of digital pictures may include inserting the one or
   recognizing a same person or object in the new and the first more instruction sets for operating the device correlated with
   streams of digital pictures.                                        the first stream of digital pictures into an element of the logic
      In certain embodiments, the causing the processor circuit circuit. The causing the logic circuit to execute the one or
   to execute the one or more instruction sets for operating the 30 more instruction sets for operating the device correlated with
   device correlated with the first stream of digital pictures the first stream of digital pictures may include redirecting
   includes causing the processor circuit to execute the one or the logic circuit to the one or more instruction sets for
   more instruction sets for operating the device correlated with operating the device correlated with the first strean of
   the first stream of digital pictures instead of or prior to an digital pictures. The causing the logic circuit to execute the
   instruction set that would have been executed next . In 35 one or more instruction sets for operating the device corre
   further embodiments, the causing the processor circuit to lated with the first stream of digital pictures may include
   execute the one or more instruction sets for operating the replacing inputs into the logic circuit with the one or more
   device correlated with the first stream of digital pictures instruction sets for operating the device correlated with the
   includes modifying one or more instruction sets of the first stream of digital pictures. The causing the logic circuit
   processor circuit. In further embodiments, the causing the 40 to execute the one or more instruction sets for operating the
   processor circuit to execute the one or more instruction sets device correlated with the first stream of digital pictures may
   for operating the device correlated with the first stream of include replacing outputs from the logic circuit with the one
   digital pictures includes modifying a register or an element or more instruction sets for operating the device correlated
   of the processor circuit . In further embodiments, the causing with the first stream of digital pictures.
   the processor circuit to execute the one or more instruction 45 In certain embodiments, the causing the processor circuit
   sets for operating the device correlated with the first stream to execute the one or more instruction sets for operating the
   of digital pictures includes inserting the one or more instruc- device correlated with the first stream of digital pictures
   tion sets for operating the device correlated with the first includes causing an application for operating the device to
   stream of digital pictures into a register or an element of the execute the one or more instruction sets for operating the
   processor circuit. In further embodiments, the causing the 50 device correlated with the first stream of digital pictures, the
   processor circuit to execute the one or more instruction sets application running on the processor circuit .
   for operating the device correlated with the first stream of           In some embodiments, the system further comprises: an
   digital pictures includes redirecting the processor circuit to application including instruction sets for operating the
   the one or more instruction sets for operating the device device, the application running on the processor circuit ,
   correlated with the first stream of digital pictures . In further 55 wherein the causing the processor circuit to execute the one
   embodiments, the causing the processor circuit to execute or more instruction sets for operating the device correlated
   the one or more instruction sets for operating the device with the first stream of digital pictures includes modifying
   correlated with the first stream of digital pictures includes the application.
   redirecting the processor circuit to one or more alternate             In certain embodiments , the causing the processor circuit
   instruction sets , the alternate instruction sets comprising the 60 to execute the one or more instruction sets for operating the
   one or more instruction sets for operating the device corre- device correlated with the first stream of digital pictures
   lated with the first stream of digital pictures. In further includes redirecting an application to the one or more
   embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
   the one or more instruction sets for operating the device first stream of digital pictures, the application running on the
   correlated with the first stream of digital pictures includes 65 processor circuit. In further embodiments, the causing the
   transmitting, to the processor circuit for execution, the one processor circuit to execute the one or more instruction sets
   or more instruction sets for operating the device correlated for operating the device correlated with the first stream of
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   digital pictures includes redirecting an application to one or embodiments, the causing the processor circuit to execute
   more alternate instruction sets, the application running on the one or more instruction sets for operating the device
   the processor circuit , the alternate instruction sets compris- correlated with the first stream of digital pictures includes
   ing the one or more instruction sets for operating the device utilizing an assembly language. In further embodiments , the
   correlated with the first stream of digital pictures. In further 5 causing the processor circuit to execute the one or more
   embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
   the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
   correlated with the first stream of digital pictures includes of: a metaprogramming, a self-modifying code, or an
   modifying one or more instruction sets of an application , the instruction set modification tool . In further embodiments ,
   application running on the processor circuit . In further 10 the causing the processor circuit to execute the one or more
   embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
   the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
   correlated with the first stream of digital pictures includes of: just in time (JIT ) compiling, JIT interpretation, JIT
   modifying a source code , a bytecode, an intermediate code, translation , dynamic recompiling, or binary rewriting. In
   a compiled code , an interpreted code , a translated code , a 15 further embodiments, the causing the processor circuit to
   runtime code, an assembly code , or a machine code . In execute the one or more instruction sets for operating the
   further embodiments, the causing the processor circuit to device correlated with the first stream of digital pictures
   execute the one or more instruction sets for operating the includes utilizing at least one of a dynamic expression
   device correlated with the first stream of digital pictures creation, a dynamic expression execution , a dynamic func
   includes modifying at least one of: the memory unit, a 20 tion creation , or a dynamic function execution . In further
   register of the processor circuit , a storage, or a repository embodiments, the causing the processor circuit to execute
   where instruction sets are stored or used . In further embodi- the one or more instruction sets for operating the device
   ments, the causing the processor circuit to execute the one correlated with the first stream of digital pictures includes
   or more instruction sets for operating the device correlated adding or inserting additional code into a code of an appli
   with the first stream of digital pictures includes modifying 25 cation , the application running on the processor circuit. In
   one or more instruction sets for operating an application or further embodiments, the causing the processor circuit to
   an object of the application , the application running on the execute the one or more instruction sets for operating the
   processor circuit. In further embodiments, the causing the device correlated with the first stream of digital pictures
   processor circuit to execute the one or more instruction sets includes at least one of: modifying, removing, rewriting, or
   for operating the device correlated with the first stream of 30 overwriting a code of an application, the application running
   digital pictures includes modifying at least one of: an on the processor circuit. In further embodiments, the causing
   element of the processor circuit, an element of the device, a the processor circuit to execute the one or more instruction
   virtual machine , a runtime engine , an operating system , an sets for operating the device correlated with the first stream
   execution stack , a program counter, or a user input. In of digital pictures includes at least one of: branching,
   further embodiments, the causing the processor circuit to 35 redirecting, extending, or hot swapping a code of an appli
   execute the one or more instruction sets for operating the cation, the application running on the processor circuit . The
   device correlated with the first stream of digital pictures branching or redirecting the code may include inserting at
   includes modifying one or more instruction sets at a source least one of: a branch , a jump, or a means for redirecting an
   code write time , a compile time , an interpretation time , a execution .
   translation time , a linking time , a loading time , or a runtime. 40 In some embodiments, the executing the one or more
   In further embodiments, the causing the processor circuit to instruction sets for operating the device correlated with the
   execute the one or more instruction sets for operating the first stream of digital pictures includes implementing a
   device correlated with the first stream of digital pictures         user's knowledge, style, or methodology of operating the
   includes modifying one or more code segments, lines of              device in a visual surrounding.
   code , statements, instructions, functions, routines , subrou- 45 In certain embodiments, the system further comprises : an
   tines , or basic blocks . In further embodiments , the causing interface configured to cause execution of instruction sets ,
   the processor circuit to execute the one or more instruction wherein the executing the one or more instruction sets for
   sets for operating the device correlated with the first stream operating the device correlated with the first stream of
   of digital pictures includes a manual, an automatic, a digital pictures is caused by the interface . The interface may
   dynamic , or a just in time (JIT) instrumentation of an 50 include a modification interface .
   application, the application running on the processor circuit .   In some embodiments, the artificial intelligence unit is
   In further embodiments, the causing the processor circuit to further configured to : receive at least one extra information .
   execute the one or more instruction sets for operating the In further embodiments, the at least one extra information
   device correlated with the first stream of digital pictures include one or more of: an information on a stream of digital
   includes utilizing one or more of a .NET tool , a .NET 55 pictures, an information on an object in the stream of digital
   application programming interface (API), a Java tool , a Java pictures, an information on the device's visual surrounding,
   API , an operating system tool , or an independent tool for an information on an instruction set, an information on an
   modifying instruction sets . In further embodiments , the application, an information on an object of the application ,
   causing the processor circuit to execute the one or more an information on the processor circuit , an information on
   instruction sets for operating the device correlated with the 60 the device, or an information on an user . In further embodi
   first stream of digital pictures includes utilizing at least one ments, the artificial intelligence unit is further configured to :
   of: a dynamic, an interpreted, or a scripting programming learn the first stream of digital pictures correlated with the at
   language . In further embodiments, the causing the processor least one extra information . The learning the first stream of
   circuit to execute the one or more instruction sets for digital pictures correlated with at least one extra information
   operating the device correlated with the first stream of 65 may include correlating the first stream of digital pictures
   digital pictures includes utilizing at least one of: a dynamic with the at least one extra information. The learning the first
   code , a dynamic class loading , or a reflection. In further stream of digital pictures correlated with at least one extra
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   information may include storing the first stream of digital includes storing the first stream of digital pictures correlated
   pictures correlated with the at least one extra information with the one or more instruction sets for operating the device
   into the memory unit. In further embodiments, the antici- into a first node of a data structure , and wherein the learning
   pating the one or more instruction sets for operating the the second stream of digital pictures correlated with the
   device correlated with the first stream of digital pictures 5 additional one or more instruction sets for operating the
   based on at least a partial match between the new stream of device includes storing the second stream of digital pictures
   digital pictures and the first stream of digital pictures correlated with the additional one or more instruction sets
   includes anticipating the one or more instruction sets for for operating the device into a second node of the data
   operating the device correlated with the first stream of structure . The data structure may include a neural network ,
   digital pictures based on at least a partial match between an 10 a graph , a collection of sequences, a sequence, a collection
   extra information correlated with the new stream of digital of knowledge cells , a knowledgebase, or a knowledge
   pictures and an extra information correlated with the first structure. The learning the first stream of digital pictures
   stream of digital pictures. The anticipating the one or more correlated with the one or more instruction sets for operating
   instruction sets for operating the device correlated with the the device and the learning the second stream of digital
   first stream of digital pictures based on at least a partial 15 pictures correlated with the additional one or more instruc
   match between an extra information correlated with the new tion sets for operating the device may include creating a
   stream of digital pictures and an extra information correlated connection between the first node and the second node. The
   with the first stream of digital pictures may include com- learning the first stream of digital pictures correlated with
   paring an extra information correlated with the new stream the one or more instruction sets for operating the device and
   of digital pictures and an extra information correlated with 20 the learning the second stream of digital pictures correlated
   the first stream of digital pictures. The anticipating the one with the additional one or more instruction sets for operating
   or more instruction sets for operating the device correlated the device may include updating a connection between the
   with the first stream of digital pictures based on at least a first node and the second node . In further embodiments , the
   partial match between an extra information correlated with first stream of digital pictures correlated with the one or
   the new stream of digital pictures and an extra information 25 more instruction sets for operating the device is stored into
   correlated with the first stream of digital pictures may a first node of a neural network and the second stream of
   include determining that a similarity between an extra digital pictures correlated with the additional one or more
   information correlated with the new stream of digital pic- instruction sets for operating the device is stored into a
   tures and an extra information correlated with the first         second node of the neural network . The first node and the
   stream of digital pictures exceeds a similarity threshold . 30 second node may be connected by a connection . The first
      In certain embodiments, the artificial intelligence unit is node may be part of a first layer of the neural network and
   further configured to : receive a second stream of digital the second node may be part of a second layer of the neural
   pictures from the picture capturing apparatus; receive addi- network . In further embodiments, the first stream of digital
   tional one or more instruction sets for operating the device pictures correlated with the one or more instruction sets for
   from the processor circuit ; and learn the second stream of 35 operating the device is stored into a first node of a graph and
   digital pictures correlated with the additional one or more the second stream of digital pictures correlated with the
   instruction sets for operating the device . In further embodi- additional one or more instruction sets for operating the
   ments, the learning the first stream of digital pictures cor- device is stored into a second node of the graph . The first
   related with the one or more instruction sets for operating the node and the second node may be connected by a connec
   device and the learning the second stream of digital pictures 40 tion . In further embodiments , the first stream of digital
   correlated with the additional one or more instruction sets pictures correlated with the one or more instruction sets for
   for operating the device include creating a connection operating the device is stored into a first node of a sequence
   between the first stream of digital pictures correlated with and the second stream of digital pictures correlated with the
   the one or more instruction sets for operating the device and additional one or more instruction sets for operating the
   the second stream of digital pictures correlated with the 45 device is stored into a second node of the sequence.
   additional one or more instruction sets for operating the           In some aspects , the disclosure relates to a non -transitory
   device . The connection includes or is associated with at least computer storage medium having a computer program
   one of: an occurrence count, a weight, a parameter, or a data . stored thereon , the program including instructions that when
   In further embodiments, the learning the first stream of executed by one or more processor circuits cause the one or
   digital pictures correlated with the one or more instruction 50 more processor circuits to perform operations comprising:
   sets for operating the device and the learning the second receiving a first stream of digital pictures from a picture
   stream of digital pictures correlated with the additional one capturing apparatus . The operations may further include :
   or more instruction sets for operating the device include receiving one or more instruction sets for operating a device .
   updating a connection between the first stream of digital The operations may further include : learning the first stream
   pictures correlated with the one or more instruction sets for 55 of digital pictures correlated with the one or more instruction
   operating the device and the second stream of digital pic- sets for operating the device . The operations may further
   tures correlated with the additional one or more instruction include: receiving a new stream of digital pictures from the
   sets for operating the device . The updating the connection picture capturing apparatus. The operations may further
   between the first stream of digital pictures correlated with include: anticipating the one or more instruction sets for
   the one or more instruction sets for operating the device and 60 operating the device correlated with the first stream of
   the second stream of digital pictures correlated with the digital pictures based on at least a partial match between the
   additional one or more instruction sets for operating the new stream of digital pictures and the first stream of digital
   device may include updating at least one of: an occurrence       pictures. The operations may further include : causing an
   count, a weight, a parameter, or a data included in or execution of the one or more instruction sets for operating
   associated with the connection . In further embodiments, the 65 the device correlated with the first stream of digital pictures,
   learning the first stream of digital pictures correlated with the causing performed in response to the anticipating the one
   the one or more instruction sets for operating the device          or more instruction sets for operating the device correlated
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   with the first stream of digital pictures based on at least a stream of digital pictures with the one or more instruction
   partial match between the new stream of digital pictures and sets for operating the device . The correlating the first stream
   the first stream of digital pictures, wherein the device of digital pictures with the one or more instruction sets for
   performs one or more operations defined by the one or more operating the device may include generating a knowledge
   instruction sets for operating the device correlated with the 5 cell , the knowledge cell comprising the first stream of digital
   first stream of digital pictures, the one or more operations pictures correlated with the one or more instruction sets for
   performed in response to the executing .                        operating the device. The correlating the first stream of
      In some aspects , the disclosure relates to a method com- digital pictures with the one or more instruction sets for
   prising: (a ) receiving a first stream of digital pictures from operating the device may include structuring a unit of
   a picture capturing apparatus by one or more processor 10 knowledge of how the device operated in a visual surround
   circuits . The method may further include : (b ) receiving one ing . In further embodiments, the learning the first stream of
   or more instruction sets for operating a device by the one or digital pictures correlated with the one or more instruction
   more processor circuits . The method may further include: (c ) sets for operating the device includes learning a user's
   learning the first stream of digital pictures correlated with knowledge, style, or methodology of operating the device in
   the one or more instruction sets for operating the device, the 15 a visual surrounding. In further embodiments, the learning
   learning of ( c ) performed by the one or more processor the first stream of digital pictures correlated with the one or
   circuits . The method may further include : ( d ) receiving a more instruction sets for operating the device includes
   new stream of digital pictures from the picture capturing spontaneous learning the first stream of digital pictures
   apparatus by the one or more processor circuits. The method correlated with the one or more instruction sets for operating
   may further include: (e ) anticipating the one or more instruc- 20 the device.
   tion sets for operating the device correlated with the first          In some embodiments, the learning the first stream of
   stream of digital pictures based on at least a partial match digital pictures correlated with the one or more instruction
   between the new stream of digital pictures and the first sets for operating the device includes storing, into a memory
   stream of digital pictures, the anticipating of ( e ) performed     unit, the first stream of digital pictures correlated with the
   by the one or more processor circuits. The method may 25 one or more instruction sets for operating the device, the first
   further include : ( f) executing the one or more instruction sets   stream of digital pictures correlated with the one or more
   for operating the device correlated with the first stream of        instruction sets for operating the device being part of a
   digital pictures, the executing of ( f) performed in response       stored plurality of streams of digital pictures correlated with
   to the anticipating of (e ) . The method may further include: one or more instruction sets for operating the device . In
   ( g) performing, by the device , one or more operations 30 further embodiments, the plurality of streams of digital
   defined by the one or more instruction sets for operating the       pictures correlated with one or more instruction sets for
   device correlated with the first stream of digital pictures, the    operating the device include a neural network , a graph , a
   one or more operations performed in response to the execut-         collection of sequences, a sequence , a collection of knowl
   ing of ( f).                                                    edge cells , a knowledgebase , a knowledge structure, or a
      The operations or steps of the non - transitory computer 35 data structure . In further embodiments, the plurality of
   storage medium and /or the method may be performed by streams of digital pictures correlated with one or more
   any of the elements of the above described systems as instruction sets for operating the device are organized into a
   applicable. The non - transitory computer storage medium neural network , a graph , a collection of sequences, a
   and / or the method may include any of the operations, steps , sequence, a collection of knowledge cells , a knowledgebase,
   and embodiments of the above described systems as appli- 40 a knowledge structure , or a data structure. In further embodi
   cable as well as the following embodiments.                     ments, each of the plurality of streams of digital pictures
      In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
   correlated with the one or more instruction sets for operating device is included in a neuron , a node, a vertex , or an
   the device includes a unit of knowledge of how the device element of a data structure . The data structure may include
   operated in a visual surrounding. In further embodiments, 45 a neural network , a graph, a collection of sequences, a
   the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase ,
   more instruction sets for operating the device is included in       or a knowledge structure . Some of the neurons, nodes ,
   a neuron , a node, a vertex , or an element of a data structure .   vertices, or elements may be interconnected . In further
   The data structure may include a neural network , a graph , a embodiments, the plurality of streams of digital pictures
   collection of sequences, a sequence , a collection of knowl- 50 correlated with one or more instruction sets for operating the
   edge cells , a knowledgebase , or a knowledge structure . device include a user's knowledge, style , or methodology of
   Some of the neurons, nodes, vertices , or elements may be operating the device in visual surroundings. In further
   interconnected . In further embodiments , the first stream of embodiments, the plurality of streams of digital pictures
   digital pictures correlated with the one or more instruction correlated with one or more instruction sets for operating the
   sets for operating the device is structured into a knowledge 55 device are stored on a remote computing device. In further
   cell . In further embodiments, the knowledge cell includes a embodiments, the plurality of streams of digital pictures
   unit of knowledge of how the device operated in a visual correlated with one or more instruction sets for operating the
   surrounding. In further embodiments, the knowledge cell is device include an artificial intelligence system for knowl
   included in a neuron , a node , a vertex , or an element of a data edge structuring, storing, or representation . The artificial
   structure . The data structure may include a neural network, 60 intelligence system for knowledge structuring, storing , or
   a graph, a collection of sequences , a sequence , a collection representation may include at least one of: a deep learning
   of knowledge cells , a knowledgebase , or a knowledge system , a supervised learning system , an unsupervised learn
   structure . Some of the neurons, nodes, vertices, or elements ing system , a neural network , a search -based system , an
   may be interconnected .                                            optimization -based system , a logic -based system , a fuzzy
      In certain embodiments, the learning the first stream of 65 logic -based system , a tree -based system , a graph -based
   digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
   sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
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   a multi-agent system , a deterministic system , a probabilistic     embodiments, the determining that there is at least a partial
   system , or a statistical system .                                    match between the new stream of digital pictures and the
      In further embodiments, the anticipating the one or more first stream of digital pictures includes determining that a
   instruction sets for operating the device correlated with the similarity between at least one portion of the new stream of
   first stream of digital pictures based on at least a partial 5 digital pictures and at least one portion of the first stream of
   match between the new stream of digital pictures and the digital pictures exceeds a similarity threshold . In further
   first stream of digital pictures includes comparing at least embodiments, the determining that there is at least a partial
   one portion of the new stream of digital pictures with at least match between the new stream of digital pictures and the
   one portion of the first stream of digital pictures. The at least first stream of digital pictures includes determining a sub
   one portion of the new stream of digital pictures may include 10 stantial similarity between at least one portion of the new
   at least one digital picture, at least one region , at least one stream of digital pictures and at least one portion of the first
   feature, or at least one pixel of the new stream of digital stream of digital pictures. The at least one portion of the new
   pictures. The at least one portion of the first stream of digital stream of digital pictures may include at least one digital
   pictures may include at least one digital picture, at least one picture , at least one region , at least one feature , or at least
   region , at least one feature , or at least one pixel of the first 15 one pixel of the new stream of digital pictures. The at least
   stream of digital pictures. The comparing the at least one one portion of the first stream of digital pictures may include
   portion of the new stream of digital pictures with the at least at least one digital picture , at least one region, at least one
   one portion of the first stream of digital pictures may include feature, or at least one pixel of the first stream of digital
   comparing at least one digital picture of the new stream of pictures. The substantial similarity may be achieved when a
   digital pictures with at least one digital picture of the first 20 similarity between the at least one portion of the new stream
   stream of digital pictures. The comparing the at least one of digital pictures and the at least one portion of the first
   portion of the new stream of digital pictures with the at least stream of digital pictures exceeds a similarity threshold . The
   one portion of the first stream of digital pictures may include substantial similarity may be achieved when a number or a
   comparing at least one region of at least one digital picture percentage of matching or partially matching digital pictures
   of the new stream of digital pictures with at least one region 25 from the new stream of digital pictures and from the first
   of at least one digital picture of the first stream of digital stream of digital pictures exceeds a threshold number or
   pictures. The comparing the at least one portion of the new threshold percentage. The substantial similarity may be
   stream of digital pictures with the at least one portion of the achieved when a number or a percentage of matching or
   first stream of digital pictures may include comparing at partially matching regions of at least one digital picture from
   least one feature of at least one digital picture of the new 30 the new stream of digital pictures and from the first stream
   stream of digital pictures with at least one feature of at least of digital pictures exceeds a threshold number or threshold
   one digital picture of the first stream of digital pictures . The percentage . The substantial similarity may be achieved
   comparing the at least one portion of the new stream of when a number or a percentage of matching or partially
   digital pictures with the at least one portion of the first matching features of at least one digital picture from the new
   stream of digital pictures may include comparing at least one 35 stream of digital pictures and from the first stream of digital
   pixel of at least one digital picture of the new stream of pictures exceeds a threshold number or threshold percent
   digital pictures with at least one pixel of at least one digital age . The substantial similarity may be achieved when a
   picture of the first stream of digital pictures . The comparing number or a percentage of matching or partially matching
   the at least one portion of the new stream of digital pictures pixels of at least one digital picture from the new stream of
   with the at least one portion of the first stream of digital 40 digital pictures and from the first stream of digital pictures
   pictures may include at least one of performing a color exceeds a threshold number or threshold percentage. The
   adjustment, performing a size adjustment, performing a substantial similarity may be achieved when one or more
   content manipulation , performing temporal alignment, per- same or similar objects are recognized in the new stream of
   forming dynamic time warping , utilizing a transparency, or digital pictures and the first stream of digital pictures. In
   utilizing a mask on the new or the first stream of digital 45 further embodiments, the determining that there is at least a
   pictures . The comparing the at least one portion of the new partial match between the new stream of digital pictures and
   stream of digital pictures with the at least one portion of the the first stream of digital pictures includes determining that
   first stream of digital pictures may include recognizing at a number or a percentage of matching digital pictures from
   least one person or object in the new stream of digital the new stream of digital pictures and from the first stream
   pictures and at least one person or object in the first stream 50 of digital pictures exceeds a threshold number or threshold
   of digital pictures, and comparing the at least one person or percentage. The matching digital pictures from the new
   object from the new stream of digital pictures with the at stream of digital pictures and from the first stream of digital
   least one person or object from the first stream of digital pictures may be determined factoring in at least one of: an
   pictures.                                                          order of a digital picture in a stream of digital pictures, an
      In some embodiments, the anticipating the one or more 55 importance of a digital picture , a threshold for a similarity in
   instruction sets for operating the device correlated with the a digital picture , or a threshold for a difference in a digital
   first stream of digital pictures based on at least a partial picture . In further embodiments, the determining that there
   match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
   first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
   there  is at least a partial match between the new stream of 60 determining that a number or a percentage of matching
   digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
   further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
   partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
   the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
   there is at least a partial match between one or more portions 65 one digital picture of the new stream of digital pictures and
   of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
   portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
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   location of a region , an importance of a region , a threshold correlated with the first stream of digital pictures. In further
   for a similarity in a region, or a threshold for a difference in embodiments, the executing the one or more instruction sets
   a region . In further embodiments, the determining that there for operating the device correlated with the first stream of
   is at least a partial match between the new stream of digital digital pictures includes issuing an interrupt to a processor
   pictures and the first stream of digital pictures includes 5 circuit and executing the one or more instruction sets for
   determining that a number or a percentage of matching operating the device correlated with the first stream of
   features from at least one digital picture of the new stream digital pictures following the interrupt. In further embodi
   of digital pictures and from at least one digital picture of the ments, the executing the one or more instruction sets for
   first stream of digital pictures exceeds a threshold number or operating the device correlated with the first stream of
   threshold percentage. The matching features from at least 10 digital pictures includes modifying an element that is part of,
   one digital picture of the new stream of digital pictures and operating on , or coupled to a processor circuit.
   from at least one digital picture of the first stream of digital    In some embodiments, the executing the one or more
   pictures may be determined factoring in at least one of: a instruction sets for operating the device correlated with the
   type of a feature , an importance of a feature , a location of a first stream of digital pictures includes executing, by a logic
   feature , a threshold for a similarity in a feature, or a 15 circuit, the one or more instruction sets for operating the
   threshold for a difference in a feature . In further embodi- device correlated with the first stream of digital pictures. The
   ments , the determining that there is at least a partial match logic circuit may include a microcontroller. The executing ,
   between the new stream of digital pictures and the first by the logic circuit , the one or more instruction sets for
   stream of digital pictures includes determining that a number operating the device correlated with the first stream of
   or a percentage of matching pixels from at least one digital 20 digital pictures may include modifying an element of the
   picture of the new stream of digital pictures and from at least logic circuit. The executing , by the logic circuit, the one or
   one digital picture of the first stream of digital pictures more instruction sets for operating the device correlated with
   exceeds a threshold number or threshold percentage. The the first stream of digital pictures may include inserting the
   matching pixels from at least one digital picture of the new one or more instruction sets for operating the device corre
   stream of digital pictures and from at least one digital picture 25 lated with the first stream of digital pictures into an element
   of the first stream of digital pictures may be determined of the logic circuit. The executing , by the logic circuit , the
   factoring in at least one of: a location of a pixel , a threshold one or more instruction sets for operating the device corre
   for a similarity in a pixel , or a threshold for a difference in lated with the first stream of digital pictures may include
   a pixel . In further embodiments, the determining that there redirecting the logic circuit to the one or more instruction
   is at least a partial match between the new stream of digital 30 sets for operating the device correlated with the first stream
   pictures and the first stream of digital pictures includes of digital pictures. The executing , by the logic circuit, the
   recognizing a same person or object in the new and the first one or more instruction sets for operating the device corre
   streams of digital pictures.                                        lated with the first stream of digital pictures may include
      In certain embodiments , the executing the one or more replacing inputs into the logic circuit with the one or more
   instruction sets for operating the device correlated with the 35 instruction sets for operating the device correlated with the
   first stream of digital pictures includes executing the one or first stream of digital pictures. The executing , by the logic
   more instruction sets for operating the device correlated with circuit, the one or more instruction sets for operating the
   the first stream of digital pictures instead of or prior to an device correlated with the first stream of digital pictures my
   instruction set that would have been executed next. In include replacing outputs from the logic circuit with the one
   further embodiments, the executing the one or more instruc- 40 or more instruction sets for operating the device correlated
   tion sets for operating the device correlated with the first with the first stream of digital pictures.
   stream of digital pictures includes modifying one or more              In certain embodiments, the executing the one or more
   instruction sets. In further embodiments , the executing the instruction sets for operating the device correlated with the
   one or more instruction sets for operating the device corre- first stream of digital pictures includes executing , by an
   lated with the first stream of digital pictures includes modi- 45 application for operating the device , the one or more instruc
   fying a register or an element of a processor circuit . In tion sets for operating the device correlated with the first
   further embodiments, the executing the one or more instruc- stream of digital pictures. In further embodiments, the
   tion sets for operating the device correlated with the first executing the one or more instruction sets for operating the
   stream of digital pictures includes inserting the one or more device correlated with the first stream of digital pictures
   instruction sets for operating the device correlated with the 50 includes modifying an application, the application including
   first stream of digital pictures into a register or an element instruction sets for operating the device . In further embodi
   of a processor circuit . In further embodiments, the executing ments, the executing the one or more instruction sets for
   the one or more instruction sets for operating the device operating the device correlated with the first stream of
   correlated with the first stream of digital pictures includes digital pictures includes redirecting an application to the one
   redirecting a processor circuit to the one or more instruction 55 or more instruction sets for operating the device correlated
   sets for operating the device correlated with the first stream with the first stream of digital pictures. In further embodi
   of digital pictures. In further embodiments, the executing the ments, the executing the one or more instruction sets for
   one or more instruction sets for operating the device corre- operating the device correlated with the first stream of
   lated with the first stream of digital pictures includes redi- digital pictures includes redirecting an application to one or
   recting a processor circuit to one or more alternate instruc- 60 more alternate instruction sets , the alternate instruction sets
   tion sets , the alternate instruction sets comprising the one or comprising the one or more instruction sets for operating the
   more instruction sets for operating the device correlated with device correlated with the first stream of digital pictures. In
   the first stream of digital pictures. In further embodiments , further embodiments, the executing the one or more instruc
   the executing the one or more instruction sets for operating tion sets for operating the device correlated with the first
   the device correlated with the first stream of digital pictures 65 stream of digital pictures includes modifying one or more
   includes transmitting, to a processor circuit for execution , instruction sets of an application . In further embodiments,
   the one or more instruction sets for operating the device the executing the one or more instruction sets for operating
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   the device correlated with the first stream of digital pictures       the device correlated with the first stream of digital pictures
   includes modifying a source code , a bytecode , an interme- includes adding or inserting additional code into a code of an
   diate code , a compiled code , an interpreted code , a translated application . In further embodiments, the executing the one
   code , a runtime code , an assembly code, or a machine code . or more instruction sets for operating the device correlated
   In further embodiments, the executing the one or more 5 with the first stream of digital pictures includes at least one
   instruction sets for operating the device correlated with the of: modifying, removing, rewriting, or overwriting a code of
   first stream of digital pictures includes modifying at least an application . In further embodiments, the executing the
   one of: a memory unit , a register of a processor circuit, a one or more instruction sets for operating the device corre
   storage, or a repository where instruction sets are stored or lated with the first stream of digital pictures includes at least
   used . In further embodiments, the executing the one or more 10 one of: branching, redirecting, extending, or hot swapping a
   instruction sets for operating the device correlated with the code of an application . The branching or redirecting the code
   first stream of digital pictures includes modifying one or may include inserting at least one of: a branch , a jump, or a
   more instruction sets for operating an application or an means for redirecting an execution . In further embodiments,
   object of the application . In further embodiments, the the executing the one or more instruction sets for operating
   executing the one or more instruction sets for operating the 15 the device correlated with the first stream of digital pictures
   device correlated with the first stream of digital pictures includes implementing a user's knowledge, style , or meth
   includes modifying at least one of: an element of a processor odology of operating the device in a visual surrounding. In
   circuit , an element of the device , a virtual machine , a further embodiments, the executing the one or more instruc
   runtime engine, an operating system , an execution stack , a tion sets for operating the device correlated with the first
   program counter, or a user input. In further embodiments, 20 stream of digital pictures includes executing the one or more
   the executing the one or more instruction sets for operating instruction sets for operating the device correlated with the
   the device correlated with the first stream of digital pictures first stream of digital pictures via an interface . The interface
   includes modifying one or more instruction sets at a source may include a modification interface .
   code write time , a compile time , an interpretation time , a            In certain embodiments, the operations of the non -tran
   translation time , a linking time , a loading time , or a runtime. 25 sitory computer storage medium and / or the method further
   In further embodiments, the executing the one or more comprise: receiving at least one extra information . In further
   instruction sets for operating the device correlated with the embodiments, the at least one extra information include one
   first stream of digital pictures includes modifying one or or more of: an information on a stream of digital pictures, an
   more code segments, lines of code, statements, instructions, information on an object in the stream of digital pictures, an
   functions, routines, subroutines , or basic blocks . In further 30 information on the device's visual surrounding, an informa
   embodiments , the executing the one or more instruction sets tion on an instruction set , an information on an application ,
   for operating the device correlated with the first stream of an information on an object of the application , an informa
   digital pictures includes a manual, an automatic , a dynamic , tion on a processor circuit , an information on the device , or
   or a just in time ( JIT ) instrumentation of an application . In an information on an user . In further embodiments , the
   further embodiments, the executing the one or more instruc- 35 operations of the non - transitory computer storage medium
   tion sets for operating the device correlated with the first and / or the method further comprise: learning the first stream
   stream of digital pictures includes utilizing one or more of of digital pictures correlated with the at least one extra
   a .NET tool , a .NET application programming interface information . The learning the first stream of digital pictures
   (API ) , a Java tool , a Java API , an operating system tool , or correlated with at least one extra information may include
   an independent tool for modifying instruction sets . In further 40 correlating the first stream of digital pictures with the at least
   embodiments , the executing the one or more instruction sets one extra information . The learning the first stream of digital
   for operating the device correlated with the first stream of pictures correlated with at least one extra information may
   digital pictures includes utilizing at least one of: a dynamic, include storing the first stream of digital pictures correlated
   an interpreted, or a scripting programming language. In with the at least one extra information into a memory unit.
   further embodiments, the executing the one or more instruc- 45 In further embodiments, the anticipating the one or more
   tion sets for operating the device correlated with the first instruction sets for operating the device correlated with the
   stream of digital pictures includes utilizing at least one of: a first stream of digital pictures based on at least a partial
   dynamic code, a dynamic class loading, or a reflection . In match between the new stream of digital pictures and the
   further embodiments, the executing the one or more instruc- first stream of digital pictures includes anticipating the one
   tion sets for operating the device correlated with the first 50 or more instruction sets for operating the device correlated
   stream of digital pictures includes utilizing an assembly with the first stream of digital pictures based on at least a
   language . In further embodiments, the executing the one or partial match between an extra information correlated with
   more instruction sets for operating the device correlated with the new stream of digital pictures and an extra information
   the first stream of digital pictures includes utilizing at least correlated with the first stream of digital pictures. The
   one of: a metaprogramming, a self -modifying code , or an 55 anticipating the one or more instruction sets for operating
   instruction set modification tool . In further embodiments,          the device correlated with the first stream of digital pictures
   the executing the one or more instruction sets for operating based on at least a partial match between an extra informa
   the device correlated with the first stream of digital pictures tion correlated with the new stream of digital pictures and an
   includes utilizing at least one of: just in time ( JIT ) compil- extra information correlated with the first stream of digital
   ing , JIT interpretation , JIT translation , dynamic recompiling, 60 pictures may include comparing an extra information cor
   or binary rewriting. In further embodiments, the executing related with the new stream of digital pictures and an extra
   the one or more instruction sets for operating the device information correlated with the first stream of digital pic
   correlated with the first stream of digital pictures includes tures . The anticipating the one or more instruction sets for
   utilizing at least one of: a dynamic expression creation , a operating the device correlated with the first stream of
   dynamic expression execution , a dynamic function creation , 65 digital pictures based on at least a partial match between an
   or a dynamic function execution . In further embodiments, extra information correlated with the new stream of digital
   the executing the one or more instruction sets for operating pictures and an extra information correlated with the first
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   stream of digital pictures may include determining that a           is stored into a first node of a neural network and the second
   similarity between an extra information correlated with the stream of digital pictures correlated with the additional one
   new stream of digital pictures and an extra information or more instruction sets for operating the device is stored
   correlated with the first stream of digital pictures exceeds a into a second node of the neural network . The first node and
   similarity threshold .                                          5 the second node may be connected by a connection . The first
      In some embodiments , the operations of the non -transi- node may be part of a first layer of the neural network and
   tory computer storage medium and /or the method further the second node may be part of a second layer of the neural
   comprise : receiving a second stream of digital pictures from
   the picture capturing apparatus; receiving additional one or network       . In further embodiments , the first stream of digital
   more instruction sets for operating the device ; and learning 10 operatingcorrelated
                                                                     pictures             with the one or more instruction sets for
   the second stream of digital pictures correlated with the the second stream ofis stored
                                                                                the  device
                                                                                              digital
                                                                                                      into a first node of a graph and
                                                                                                       pictures correlated with the
   additional one or more instruction sets for operating the additional one or more instruction
   device. In further embodiments, the learning the first stream device is stored into a second node ofsetstheforgraph   operating the
                                                                                                                            . The first
   of digital pictures correlated with the one or more instruction
   sets for operating the device and the learning the second 15 node       and   the second node  may    be  connected   by  a connec
   stream of digital pictures correlated with the additional one tion . In further embodiments, the first stream of digital
   or more instruction sets for operating the device include pictures          correlated with the one or more instruction sets for
   creating a connection between the first stream of digital operating the device is stored into a first node of a sequence
   pictures correlated with the one or more instruction sets for and the second stream of digital pictures correlated with the
   operating the device and the second stream of digital pic- 20 additional one or more instruction sets for operating the
   tures correlated with the additional one or more instruction        device is stored into a second node of the sequence .
   sets for operating the device . The connection may include or      In some aspects , the disclosure relates to a system for
   be associated with at least one of: an occurrence count, a learning a visual surrounding for autonomous device oper
   weight, a parameter, or a data . In further embodiments , the ating . The system may be implemented at least in part on one
   learning the first stream of digital pictures correlated with 25 or more computing devices . In some embodiments , the
   the one or more instruction sets for operating the device and system comprises a processor circuit configured to execute
   the learning the second stream of digital pictures correlated instruction sets for operating a device . The system may
   with the additional one or more instruction sets for operating further include a memory unit configured to store data . The
   the device include updating a connection between the first system may further include a picture capturing apparatus
   stream of digital pictures correlated with the one or more 30 configured to capture digital pictures. The system may
   instruction sets for operating the device and the second further include an artificial intelligence unit. In some
   stream of digital pictures correlated with the additional one embodiments, the artificial intelligence unit may be config
   or more instruction sets for operating the device . The ured to : receive a first stream of digital pictures from the
   updating the connection between the first stream of digital picture capturing apparatus . The artificial intelligence unit
   pictures correlated with the one or more instruction sets for 35 may be further configured to : receive one or more instruc
   operating the device and the second stream of digital pic- tion sets for operating the device from the processor circuit .
   tures correlated with the additional one or more instruction The artificial intelligence unit may be further configured to :
   sets for operating the device may include updating at least learn the first stream of digital pictures correlated with the
   one of: an occurrence count, a weight, a parameter, or a data       one or more instruction sets for operating the device .
   included in or associated with the connection . In further 40          In some aspects , the disclosure relates to a non - transitory
   embodiments, the learning the first stream of digital pictures computer storage medium having a computer program
   correlated with the one or more instruction sets for operating stored thereon , the program including instructions that when
   the device includes storing the first stream of digital pictures executed by one or more processor circuits cause the one or
   correlated with the one or more instruction sets for operating more processor circuits to perform operations comprising:
   the device into a first node of a data structure, and wherein 45 receiving a first stream of digital pictures from a picture
   the learning the second stream of digital pictures correlated capturing apparatus. The operations may further include :
   with the additional one or more instruction sets for operating receiving one or more instruction sets for operating a device .
   the device includes storing the second stream of digital The operations may further include : learning the first stream
   pictures correlated with the additional one or more instruc- of digital pictures correlated with the one or more instruction
   tion sets for operating the device into a second node of the 50 sets for operating the device.
   data structure . The data structure may include a neural            In some aspects , the disclosure relates to a method com
   network , a graph , a collection of sequences, a sequence , a prising: (a ) receiving a first stream of digital pictures from
   collection of knowledge cells , a knowledgebase , or a knowl- a picture capturing apparatus by one or more processor
   edge structure . The learning the first stream of digital circuits. The method may further include: (b ) receiving one
   pictures correlated with the one or more instruction sets for 55 or more instruction sets for operating a device by the one or
   operating the device and the learning the second stream of more processor circuits . The method may further include : (c )
   digital pictures correlated with the additional one or more learning the first stream of digital pictures correlated with
   instruction sets for operating the device may include creat- the one or more instruction sets for operating the device , the
   ing a connection between the first node and the second node . learning of (c ) performed by the one or more processor
   The learning the first stream of digital pictures correlated 60 circuits .
   with the one or more instruction sets for operating the device     The operations or steps of the non - transitory computer
   and the learning the second stream of digital pictures cor- storage medium and / or the method may be performed by
   related with the additional one or more instruction sets for any of the elements of the above described systems as
   operating the device may include updating a connection applicable . The non - transitory computer storage medium
   between the first node and the second node. In further 65 and / or the method may include any of the operations, steps ,
   embodiments, the first stream of digital pictures correlated        and embodiments of the above described systems as appli
   with the one or more instruction sets for operating the device      cable .
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      In some aspects , the disclosure relates to a system for of (a ) performed by the one or more processor circuits . The
   using a visual surrounding for autonomous device operating. method may further include: (b ) receiving a new stream of
   The system may be implemented at least in part on one or digital pictures from a picture capturing apparatus by the one
   more computing devices. In some embodiments , the system or more processor circuits. The method may further include :
   comprises a processor circuit configured to execute instruc- 5 (c ) anticipating the one or more instruction sets for operating
   tion sets for operating a device. The system may further the device correlated with the first stream of digital pictures
   include a memory unit configured to store data . The system based on at least a partial match between the new stream of
   may further include a picture capturing apparatus configured digital pictures and the first stream of digital pictures, the
   to capture digital pictures. The system may further include anticipating of (c ) performed by the one or more processor
   an artificial intelligence unit. In some embodiments, the 10 circuits. The method may further include : (d) executing the
   artificial intelligence unit may be configured to : access the one or more instruction sets for operating the device corre
   memory unit that stores a plurality of streams of digital lated with the first stream of digital pictures, the executing
   pictures correlated with one or more instruction sets for of (d) performed in response to the anticipating of ( C ) . The
   operating the device, the plurality including a first stream of method may further include : (e ) performing, by the device,
   digital pictures correlated with one or more instruction sets 15 one or more operations defined by the one or more instruc
   for operating the device . The artificial intelligence unit may tion sets for operating the device correlated with the first
   be further configured to : receive a new stream of digital stream of digital pictures, the one or more operations per
   pictures from the picture capturing apparatus. The artificial formed in response to the executing of (d) .
   intelligence unit may be further configured to : anticipate the      The operations or steps of the non - transitory computer
   one or more instruction sets for operating the device corre- 20 storage medium and / or the method may be performed by
   lated with the first stream of digital pictures based on at least any of the elements of the above described systems as
   a partial match between the new stream of digital pictures applicable . The non - transitory computer storage medium
   and the first stream of digital pictures. The artificial intelli- and / or the method may include any of the operations, steps ,
   gence unit may be further configured to : cause the processor and embodiments of the above described systems as appli
   circuit to execute the one or more instruction sets for 25 cable .
   operating the device correlated with the first stream of             In some aspects , the disclosure relates to a system for
   digital pictures, the executing performed in response to the learning and using a visual surrounding for autonomous
   anticipating of the artificial intelligence unit, wherein the device operating. The system may be implemented at least
   device performs one or more operations defined by the one in part on one or more computing devices . In some embodi
   or more instruction sets for operating the device correlated 30 ments, the system comprises a logic circuit configured to
   with the first stream of digital pictures, the one or more receive inputs and produce outputs, the outputs for operating
   operations performed in response to the executing by the a device. The system may further include a memory unit
   processor circuit.                                                configured store data . The system may further include a
      In some aspects , the disclosure relates to a non - transitory picture capturing apparatus configured to capture digital
   computer storage medium having a computer program 35 pictures. The system may further include an artificial intel
   stored thereon , the program including instructions that when ligence unit. In some embodiments, the artificial intelligence
   executed by one or more processor circuits cause the one or unit may be configured to : receive a first digital picture from
   more processor circuits to perform operations comprising: the picture capturing apparatus. The artificial intelligence
   accessing a memory unit that stores a plurality of streams of unit may be further configured to : receive at least one input,
   digital pictures correlated with one or more instruction sets 40 wherein the at least one input is also received by the logic
   for operating a device , the plurality including a first stream circuit . The artificial intelligence unit may be further con
   of digital pictures correlated with one or more instruction figured to : learn the first digital picture correlated with the at
   sets for operating the device . The operations may further least one input. The artificial intelligence unit may be further
   include : receiving a new stream of digital pictures from a configured to : receive a new digital picture from the picture
   picture capturing apparatus . The operations may further 45 capturing apparatus. The artificial intelligence unit may be
   include : anticipating the one or more instruction sets for further configured to : anticipate the at least one input
   operating the device correlated with the first stream of correlated with the first digital picture based on at least a
   digital pictures based on at least a partial match between the partial match between the new digital picture and the first
   new stream of digital pictures and the first stream of digital digital picture. The artificial intelligence unit may be further
   pictures . The operations may further include : causing an 50 configured to : cause the logic circuit to receive the at least
   execution of the one or more instruction sets for operating one input correlated with the first digital picture, the causing
   the device correlated with the first stream of digital pictures, performed in response to the anticipating of the artificial
   the causing performed in response to the anticipating the one intelligence unit, wherein the device performs at least one
   or more instruction sets for operating the device correlated operation defined by at least one output for operating the
   with the first stream of digital pictures based on at least a 55 device produced by the logic circuit .
   partial match between the new stream of digital pictures and          In certain embodiments, the logic circuit configured to
   the first stream of digital pictures, wherein the device receive inputs and produce outputs includes a logic circuit
   performs one or more operations defined by the one or more configured to produce outputs based at least in part on logic
   instruction sets for operating the device correlated with the operations performed on the inputs. In further embodiments,
   first stream of digital pictures , the one or more operations 60 the learning the first digital picture correlated with the at
   performed in response to the executing.                            least one input includes correlating the first digital picture
   In some aspects , the disclosure relates to a method com- with the at least one input. In further embodiments , the
   prising: (a ) accessing a memory unit that stores a plurality of learning the first digital picture correlated with the at least
   streams of digital pictures correlated with one or more one input includes storing , into the memory unit, the first
   instruction sets for operating a device , the plurality includ- 65 digital picture correlated with the at least one input, the first
   ing a first stream of digital pictures correlated with one or digital picture correlated with the at least input being part of
   more instruction sets for operating the device, the accessing a stored plurality of digital pictures correlated with at least
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   one input. In further embodiments, the anticipating the at performing, by the device , at least one operation defined by
   least one input correlated with the first digital picture based at least one output for operating the device produced by the
   on at least a partial match between the new digital picture logic circuit.
   and the first digital picture includes comparing at least one        The operations or steps of the non - transitory computer
   portion of the new digital picture with at least one portion of 5 storage medium and / or the method may be performed by
   the first digital picture. In further embodiments, the antici- any of the elements of the above described systems as
   pating the at least one input correlated with the first digital applicable . The non - transitory computer storage medium
   picture based on at least a partial match between the new and /or the method may include any of the operations, steps ,
   digital picture and the first digital picture includes determin- and embodiments of the above described systems as appli
   ing that there is at least a partial match between the new 10 cable.
   digital picture and the first digital picture. In further embodi-    In some aspects , the disclosure relates to a system for
   ments, the causing the logic circuit to receive the at least one learning and using a visual surrounding for autonomous
   input correlated with the first digital picture includes trans- device operating. The system may be implemented at least
   mitting, to the logic circuit, the at least one input correlated in part on one or more computing devices . In some embodi
   with the first digital picture. In further embodiments, the 15 ments, the system comprises a logic circuit configured to
   causing the logic circuit to receive the at least one input receive inputs and produce outputs, the outputs for operating
   correlated with the first digital picture includes replacing at a device. The system may further include a memory unit
   least one input into the logic circuit with the at least one configured to store data . The system may further include a
   input correlated with the first digital picture .                 picture capturing apparatus configured to capture digital
      In some aspects , the disclosure relates to a non - transitory 20 pictures. The system may further include an artificial intel
   computer storage medium having a computer program ligence unit . In some embodiments, the artificial intelligence
   stored thereon, the program including instructions that when unit may be configured to : receive a first digital picture from
   executed by one or more processor circuits cause the one or the picture capturing apparatus. The artificial intelligence
   more processor circuits to perform operations comprising : unit may be further configured to : receive at least one output,
   receiving a first digital picture from a picture capturing 25 the at least one output transmitted from the logic circuit . The
   apparatus. The operations may further include: receiving at artificial intelligence unit may be further configured to : learn
   least one input, wherein the at least one input is also received the first digital picture correlated with the at least one output.
   by a logic circuit, and wherein the logic circuit is configured The artificial intelligence unit may be further configured to :
   to receive inputs and produce outputs, the outputs for receive a new digital picture from the picture capturing
   operating a device . The operations may further include: 30 apparatus. The artificial intelligence unit may be further
   learning the first digital picture correlated with the at least configured to : anticipate the at least one output correlated
   one input. The operations may further include : receiving a with the first digital picture based on at least a partial match
   new digital picture from the picture capturing apparatus . The between the new digital picture and the first digital picture .
   operations may further include : anticipating the at least one The artificial intelligence unit may be further configured to :
   input correlated with the first digital picture based on at least 35 cause the device to perform at least one operation defined by
   a partial match between the new digital picture and the first the at least one output correlated with the first digital picture.
   digital picture . The operations may further include: causing           In certain embodiments , the logic circuit configured to
   the logic circuit to receive the at least one input correlated      receive inputs and produce outputs includes a logic circuit
   with the first digital picture , the causing performed in           configured to produce outputs based at least in part on logic
   response to the anticipating the at least one input correlated 40 operations performed on the inputs. In further embodiments,
   with the first digital picture based on at least a partial match    the learning the first digital picture correlated with the at
   between the new digital picture and the first digital picture ,     least one output includes correlating the first digital picture
   wherein the device performs at least one operation defined          with the at least one output. In further embodiments, the
   by at least one output for operating the device produced by         learning the first digital picture correlated with the at least
   the logic circuit.                                            45 one output includes storing, into the memory unit , the first
      In some aspects , the disclosure relates to a method com- digital picture correlated with the at least one output, the first
   prising: (a ) receiving a first digital picture from a picture digital picture correlated with the at least output being part
   capturing apparatus by one or more processor circuits. The of a stored plurality of digital pictures correlated with at least
   method may further include : (b ) receiving at least one input one output. In further embodiments, the anticipating the at
   by the one or more processor circuits, wherein the at least 50 least one output correlated with the first digital picture based
   one input are also received by a logic circuit, and wherein on at least a partial match between the new digital picture
   the logic circuit is configured to receive inputs and produce and the first digital picture includes comparing at least one
   outputs, the outputs for operating a device . The method may portion of the new digital picture with at least one portion of
   further include : ( c ) learning the first digital picture corre- the first digital picture. In further embodiments, the antici
   lated with the at least one input, the learning of ( c ) per- 55 pating the at least one output correlated with the first digital
   formed by the one or more processor circuits . The method picture based on at least a partial match between the new
   may further include : (d) receiving a new digital picture from digital picture and the first digital picture includes determin
   the picture capturing apparatus by the one or more processor ing that there is at least a partial match between the new
   circuits . The method may further include : ( e) anticipating digital picture and the first digital picture. In further embodi
   the at least one input correlated with the first digital picture 60 ments, the causing the device to perform at least one
   based on at least a partial match between the new digital operation defined by the at least one output correlated with
   picture and the first digital picture, the anticipating of (e ) the first digital picture includes replacing at least one output
   performed by the one or more processor circuits . The from the logic circuit with the at least one output correlated
   method may further include: (f) receiving, by the logic with the first digital picture.
   circuit , the at least one input correlated with the first digital 65 In some aspects , the disclosure relates to a non -transitory
   picture, the receiving of ( f) performed in response to the computer storage medium having a computer program
   anticipating of (e ) . The method may further include: (g ) stored thereon, the program including instructions that when
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                                                       US 11,055,583 B1
                                55                                                                  56
   executed by one or more processor circuits cause the one or digital picture based on at least a partial match between the
   more processor circuits to perform operations comprising: new digital picture and the first digital picture. The artificial
   receiving a first digital picture from the picture capturing intelligence unit may be further configured to : cause the
   apparatus. The operations may further include: receiving at actuator to receive the at least one input correlated with the
   least one output, the at least one output transmitted from a 5 first digital picture, the causing performed in response to the
   logic circuit, wherein the logic circuit is configured to anticipating of the artificial intelligence unit, wherein the
   receive inputs and produce outputs, the outputs for operating actuator performs at least one motion defined by the at least
   a device. The operations may further include: learning the one input correlated with the first digital picture .
   first digital picture correlated with the at least one output.        In some aspects , the disclosure relates to a non -transitory
   The operations may further include: receiving a new digital 10 computer storage medium having a computer program
   picture from the picture capturing apparatus. The operations stored thereon , the program including instructions that when
   may further include: anticipating the at least one output executed by one or more processor circuits cause the one or
   correlated with the first digital picture based on at least a more processor circuits to perform operations comprising:
   partial match between the new digital picture and the first receiving a first digital picture from a picture capturing
   digital picture. The operations may further include: causing 15 apparatus. The operations may further include: receiving at
   the device to perform at least one operation defined by the least one input, wherein the at least one input is also received
   at least one output correlated with the first digital picture . by an actuator, and wherein the actuator is configured to
      In some aspects , the disclosure relates to a method com- receive inputs and perform motions . The operations may
   prising : ( a ) receiving a first digital picture from the picture further include : learning the first digital picture correlated
   capturing apparatus by one or more processor circuits. The 20 with the at least one input. The operations may further
   method may further include: ( b ) receiving at least one output include: receiving a new digital picture from the picture
   by the one or more processor circuits , the at least one output capturing apparatus. The operations may further include :
   transmitted from a logic circuit, wherein the logic circuit is anticipating the at least one input correlated with the first
   configured to receive inputs and produce outputs, the out- digital picture based on at least a partial match between the
   puts for operating a device . The method may further include : 25 new digital picture and the first digital picture . The opera
   ( c ) learning the first digital picture correlated with the at tions may further include : causing the actuator to receive the
   least one output, the learning of (c ) performed by the one or at least one input correlated with the first digital picture, the
   more processor circuits . The method may further include: causing performed in response to the anticipating the at least
   ( d ) receiving a new digital picture from the picture capturing one input correlated with the first digital picture based on at
   apparatus by the one or more processor circuits. The method 30 least a partial match between the new digital picture and the
   may further include : (e ) anticipating the at least one output first digital picture, wherein the actuator performs at least
   correlated with the first digital picture based on at least a one motion defined by the at least one input correlated with
   partial match between the new digital picture and the first the first digital picture.
   digital picture, the anticipating of (e ) performed by the one       In some aspects , the disclosure relates to a method com
   or more processor circuits . The method may further include : 35 prising: ( a) receiving a first digital picture from a picture
   ( f) performing, by the device , at least one operation defined capturing apparatus by one or more processor circuits . The
   by the at least one output correlated with the first digital method may further include: ( b ) receiving at least one input
   picture.                                                           by the one or more processor circuits , wherein the at least
        The operations or steps of the non - transitory computer one input are also received by an actuator, and wherein the
   storage medium and / or the method may be performed by 40 actuator is configured to receive inputs and perform
   any of the elements of the above described systems as motions . The method may further include : (c ) learning the
   applicable. The non - transitory computer storage medium first digital picture correlated with the at least one input, the
   and / or the method may include any of the operations, steps , learning of (c ) performed by the one or more processor
   and embodiments of the above described systems as appli- circuits . The method may further include: ( d ) receiving a
   cable .                                                         45 new digital picture from the picture capturing apparatus by
        In some aspects , the disclosure relates to a system for the one or more processor circuits. The method may further
   learning and using a visual surrounding for autonomous include : ( e) anticipating the at least one input correlated with
   device operating. The system may be implemented at least the first digital picture based on at least a partial match
   in part on one or more computing devices. In some embodi- between the new digital picture and the first digital picture,
   ments, the system comprises an actuator configured to 50 the anticipating of ( e ) performed by the one or more pro
   receive inputs and perform motions . The system may further cessor circuits . The method may further include : ( f) receiv
   include a memory unit configured to store data . The system ing , by the actuator, the at least one input correlated with the
   may further include a picture capturing apparatus configured first digital picture, the receiving of ( f) performed in
   to capture digital pictures. The system may further include response to the anticipating of (e ) . The method may further
   an artificial intelligence unit. In some embodiments, the 55 include: (g ) performing, by the actuator, at least one motion
   artificial intelligence unit may be configured to : receive a defined by the at least one input correlated with the first
   first digital picture from the picture capturing apparatus. The digital picture.
   artificial intelligence unit may be further configured to :          The operations or steps of the non - transitory computer
   receive at least one input, wherein the at least one input is storage medium and / or the method may be performed by
   also received by the actuator. The artificial intelligence unit 60 any of the elements of the above described systems as
   may be further configured to : learn the first digital picture applicable . The non - transitory computer storage medium
   correlated with the at least one input. The artificial intelli- and /or the method may include any of the operations, steps ,
   gence unit may be further configured to : receive a new and embodiments of the above described systems as appli
   digital picture from the picture capturing apparatus. The cable .
   artificial intelligence unit may be further configured to . The 65 Other features and advantages of the disclosure will
   artificial intelligence unit may be further configured to : become apparent from the following description, including
   anticipate the at least one input correlated with the first the claims and drawings.
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                                                     US 11,055,583 B1
                               57                                                                58
         BRIEF DESCRIPTION OF THE DRAWINGS                           correlated with any Instruction Sets 526 and / or Extra Info
                                                                        527 using Collection of Sequences 530c.
      FIG . 1 illustrates a block diagram of Computing Device             FIG . 23 illustrates an embodiment of determining antici
   70 that can provide processing capabilities used in some of patory Instruction Sets 526 from a single Knowledge Cell
   the disclosed embodiments .                                       5 800 .
      FIG . 2 illustrates an embodiment of Device 98 comprising           FIG . 24 illustrates an embodiment of determining antici
   Unit for Learning and / or Using Visual Surrounding for patory Instruction Sets 526 by traversing a single Knowl
   Autonomous Device Operation (VSADO Unit 100 ) .                      edge Cell 800 .
      FIG . 3 illustrates some embodiments of obtaining instruc-          FIG . 25 illustrates an embodiment of determining antici
   tion sets, data , and / or other information through tracing, 10 patory Instruction Sets 526 using collective similarity com
   profiling, or sampling of Processor 11 registers , memory , or parisons.
   other computing system components.                                     FIG . 26 illustrates an embodiment of determining antici
      FIGS . 4A - 4B illustrate some embodiments of obtaining patory Instruction Sets 526 using Neural Network 530a .
   instruction sets , data , and /or other information through trac-      FIG . 27 illustrates an embodiment of determining antici
   ing , profiling, or sampling of Logic Circuit 250 .               15 patory Instruction Sets 526 using Graph 530b.
      FIGS . 5A - 5E illustrate some embodiments of Instruction           FIG . 28 illustrates an embodiment of determining antici
   Sets 526 .                                                           patory Instruction Sets 526 using Collection of Sequences
      FIGS . 6A - 6B illustrate some embodiments of Extra Infor-        530c .
   mation 527 .                                                           FIG . 29 illustrates some embodiments of modifying
      FIG . 7 illustrates an embodiment where VSADO Unit 100 20 execution and / or functionality of Processor 11 through
   is part of or operating on Processor 11 .                            modification of Processor 11 registers, memory, or other
      FIG . 8 illustrates an embodiment where VSADO Unit 100 computing system components .
   resides on Server 96 accessible over Network 95 .                      FIGS . 30A - 30B illustrate some embodiments of modify
      FIG . 9 illustrates an embodiment where Picture Capturing ing execution and / or functionality of Logic Circuit 250
   Apparatus 90 is part of Remote Device 97 accessible over 25 through modification of inputs and / or outputs of Logic
   Network 95 .                                                      Circuit 250 .
     FIG . 10 illustrates an embodiment of VSADO Unit 100              FIG . 31 illustrates a flow chart diagram of an embodiment
   comprising Picture Recognizer 350 .                             of method 6100 for learning and / or using visual surrounding
      FIG . 11 illustrates an embodiment of Artificial Intelli- for autonomous device operation .
   gence Unit 110 .                                             30    FIG . 32 illustrates a flow chart diagram of an embodiment
      FIG . 12 illustrates an embodiment of Knowledge Struc- of method 6200 for learning and / or using visual surrounding
   turing Unit 520 correlating individual Digital Pictures 525 for autonomous device operation .
   with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 33 illustrates a flow chart diagram of an embodiment
      FIG . 13 illustrates another embodiment of Knowledge of method 6300 for learning and / or using visual surrounding
   Structuring Unit 520 correlating individual Digital Pictures 35 for autonomous device operation.
   525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 34 illustrates a flow chart diagram of an embodiment
      FIG . 14 illustrates an embodiment of Knowledge Struc- of method 6400 for learning and / or using visual surrounding
   turing Unit 520 correlating streams of Digital Pictures 525 for autonomous device operation .
   with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 35 illustrates a flow chart diagram of an embodiment
     FIG . 15 illustrates another embodiment of Knowledge 40 of method 6500 for learning and / or using visual surrounding
   Structuring Unit 520 correlating streams of Digital Pictures for autonomous device operation.
   525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 36 illustrates a flow chart diagram of an embodiment
     FIG . 16 illustrates various artificial intelligence methods, of method 6600 for learning and / or using visual surrounding
   systems , and / or models that can be utilized in VSADO Unit for autonomous device operation .
   100 embodiments.                                            45  FIG . 37 illustrates an exemplary embodiment of Comput
     FIGS . 17A - 17C illustrate embodiments of interconnected ing - enabled Machine 98a .
   Knowledge Cells 800 and updating weights of Connections        FIG . 38 illustrates an exemplary embodiment of Comput
   853 .                                                       ing -enabled Machine 98a comprising or coupled to a plu
      FIG . 18 illustrates an embodiment of learning Knowledge rality of Picture Capturing Apparatuses 90 .
   Cells 800 comprising one or more Digital Pictures 525 50 FIG . 39 illustrates an exemplary embodiment of Fixture
   correlated with any Instruction Sets 526 and / or Extra Info 98b .
   527 using Collection of Knowledge Cells 530d .                     FIG . 40 illustrates an exemplary embodiment of Control
      FIG . 19 illustrates an embodiment of learning Knowledge Device 98c.
   Cells 800 comprising one or more Digital Pictures 525              FIG . 41 illustrates an exemplary embodiment of Smart
   correlated with any Instruction Sets 526 and / or Extra Info 55 phone 98d.
   527 using Neural Network 530a .                                    Like reference numerals in different figures indicate like
      FIG . 20 illustrates an embodiment of learning Knowledge elements . Horizontal or vertical “ ... ” or other such indicia
   Cells 800 comprising one or more Digital Pictures 525 may be used to indicate additional instances of the same type
   correlated with any Instruction Sets 526 and / or Extra Info of element n, m , x , or other such letters or indicia represent
   527 using Neural Network 530a comprising shortcut Con- 60 integers or other sequential numbers that follow the
   nections 853 .                                                  sequence where they are indicated . It should be noted that n ,
      FIG . 21 illustrates an embodiment of learning Knowledge m , x , or other such letters or indicia may represent different
   Cells 800 comprising one or more Digital Pictures 525 numbers in different elements even where the elements are
   correlated with any Instruction Sets 526 and / or Extra Info depicted in the same figure. In general, n, m , x , or other such
   527 using Graph 530b .                                       65 letters or indicia may follow the sequence and / or context
      FIG . 22 illustrates an embodiment of learning Knowledge where they are indicated . Any of these or other such letters
   Cells 800 comprising one or more Digital Pictures 525             or indicia may be used interchangeably depending on the
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                                                      US 11,055,583 B1
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   context and space available . The drawings are not necessar-     interfaced with cache memory 14. Storage 27 may include
   ily to scale , with emphasis instead being placed upon           memory, which provides an operating system , also referred
   illustrating the embodiments, principles, and concepts of the    to as OS 17 , additional application programs 18 operating on
   disclosure . A line or arrow between any of the disclosed        OS 17 , and / or data space 19 in which additional data or
   elements comprises an interface that enables the coupling, 5 information can be stored. Alternative memory device 16
   connection, and / or interaction between the elements .      can be connected to the remaining components of Comput
                                                                     ing Device 70 via bus 5. Network interface 25 can also be
                  DETAILED DESCRIPTION                               connected with bus 5 and be used to communicate with
                                                                      external computing devices via a network . Some or all
      The disclosed artificially intelligent devices, systems, and 10 described elements of Computing Device 70 can be directly
   methods for learning and / or using visual surrounding for or operatively connected or coupled with each other using
   autonomous device operation comprise apparatuses, sys- any other connection means known in art. Other additional
   tems , methods, features, functionalities, and / or applications elements may be included as needed , or some of the dis
   that enable learning one or more digital pictures of a closed ones may be excluded , or a combination thereof may
   device's surrounding along with correlated instruction sets 15 be utilized in alternate implementations of Computing
   for operating the device, storing this knowledge in a knowl- Device 70 .
   edgebase (i.e. neural network , graph, sequences, etc. ) , and       Processor 11 includes any logic circuitry that can respond
   autonomously operating a device . The disclosed artificially to or process instructions fetched from memory 12 or other
   intelligent devices, systems , and methods for learning and / or element. Processor 11 may also include any combination of
   using visual surrounding for autonomous device operation, 20 hardware and / or processing techniques or capabilities for
   any of their elements, any of their embodiments , or a implementing or executing logic functions or programs.
   combination thereof can generally be referred to as VSADO , Processor 11 may include a single core or a multi core
   VSADO Unit, or as other similar name or reference .                processor. Processor 11 includes the functionality for load
      Referring now to FIG . 1 , an embodiment is illustrated of ing operating system 17 and operating any application
   Computing Device 70 ( also referred to simply as computing 25 programs 18 thereon . In some embodiments, Processor 11
   device or other similar name or reference, etc.) that can can be provided in a microprocessing or a processing unit,
   provide processing capabilities used in some embodiments such as , for example , Snapdragon processor produced by
   of the forthcoming disclosure. Later described devices and Qualcomm Inc. , processor by Intel Corporation of Mountain
   systems , in combination with processing capabilities of View , Calif., processor manufactured by Motorola Corpo
   Computing Device 70 , enable learning and / or using a 30 ration of Schaumburg , Ill .; processor manufactured by
   device's visual surrounding for autonomous device opera- Transmeta Corporation of Santa Clara, Calif.; the RS / 6000
   tion and / or other functionalities described herein . Various     processor, processor manufactured by International Busi
   embodiments of the disclosed devi              systems, and /or ness Machines of White Plains , N.Y .; processor manufac
   methods include hardware , functions, logic , programs, and / tured by Advanced Micro Devices of Sunnyvale, Calif ., or
   or a combination thereof that can be provided or imple- 35 any computing unit for performing similar functions. In
   mented on any type or form of computing, computing other embodiments, processor 11 can be provided in a
   enabled , or other device such as a mobile device, a com- graphics processing unit (GPU ), visual processing unit
   puter, a computing enabled telephone, a server , a cloud ( VPU ), or other highly parallel processing unit or circuit
   device , a gaming device , a television device, a digital such as , for example , nVidia GeForce line of GPUs , AMD
   camera, a GPS receiver, a media player, an embedded 40 Radeon line of GPUs, and / or others. Such GPUs or other
   device , a supercomputer, a wearable device , an implantable highly parallel processing units may provide superior per
   device , or any other type or form of computing, computing formance in processing operations on neural networks and /
   enabled, or other device capable of performing the opera- or other data structures. In further embodiments, processor
   tions described herein .                                   11 can be provided in a micro controller such as , for
      In some designs, Computing Device 70 comprises hard- 45 example, Texas instruments, Atmel, Microchip Technology,
   ware , processing techniques or capabilities, programs, or a     ARM , Silicon Labs , Intel, and /or other lines of micro
   combination thereof. Computing Device 70 includes one or         controllers, and /or others. In further embodiments, processor
   more central processing units, which may also be referred to     11 includes any circuit (i.e. logic circuit , etc. ) or device for
   as processors 11. Processor 11 includes one or more memory       performing logic operations. Computing Device 70 can be
   ports 10 and / or one or more input -output ports, also referred 50 based on one or more of the aforementioned or other
   to as I /O ports 15 , such as I/ O ports 15A and 15B . Processor processors capable of operating as described herein .
   11 may be special or general purpose. Computing Device 70             Memory 12 includes one or more memory chips capable
   may further include memory 12 , which can be connected to of storing data and allowing any storage location to be
   the remainder of the components of Computing Device 70 accessed by processor 11 and / or other element. Examples of
   via bus 5. Memory 12 can be connected to processor 11 via 55 Memory 12 include static random access memory ( SRAM ),
   memory port 10. Computing Device 70 may also include Flash memory, Burst SRAM or SynchBurst SRAM
   display device 21 such as a monitor, projector, glasses , (BSRAM ), Dynamic random access memory (DRAM ), Fast
   and / or other display device . Computing Device 70 may also      Page Mode DRAM (FPM DRAM ), Enhanced DRAM
   include Human -machine Interface 23 such as a keyboard , a        (EDRAM ), Extended Data Output RAM (EDO RAM ),
   pointing device , a mouse , a touchscreen , a joystick , and / or 60 Extended Data Output DRAM ( EDO DRAM ), Burst
   other input device that can be connected with the remainder Extended Data Output DRAM ( BEDO DRAM ), Enhanced
   of the Computing Device 70 components via I/ O control 22 . DRAM (EDRAM ), synchronous DRAM (SDRAM ),
   In some implementations, Human -machine Interface 23 can JEDEC SRAM , PC100 SDRAM , Double Data Rate
   be connected with bus 5 or directly connected with specific SDRAM (DDR SDRAM ), Enhanced SDRAM (ESDRAM ),
   components of Computing Device 70. Computing Device 70 65 SyncLink DRAM ( SLDRAM ), Direct Rambus DRAM
   may include additional elements , such as one or more (DRDRAM ), Ferroelectric RAM ( FRAM ), and / or others.
   input/output devices 13. Processor 11 may include or be Memory 12 can be based on any of the above described
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   memory chips , or any other available memory chips capable modules, sub programs, or portions of code , etc. ) . Applica
   of operating as described herein . In some embodiments, tion Program 18 can be delivered in various forms such as ,
   processor 11 can communicate with memory 12 via a system for example , executable file , library, script, plugin, addon ,
   bus 5. In other embodiments, processor 11 can communicate applet , interface, console application , web application ,
   directly with memory 12 via a memory port 10 .             5 application service provider (ASP ) -type application, oper
      Processor 11 can communicate directly with cache ating system , and / or other forms. Application program 18
   memory 14 via a connection means such as a secondary bus can be deployed to be executed on one computing device or
   which may also sometimes be referred to as a backside bus . on multiple computing devices (i.e. cloud , distributed, or
   In some embodiments, processor 11 can communicate with parallel computing, etc. ) , or at one site or distributed across
   cache memory 14 using the system bus 5. Cache memory 14 10 multiple sites interconnected by a communication network .
   may typically have a faster response time than main memory     Network interface 25 can be utilized for interfacing
   12 and can include a type of memory which is considered Computing Device 70 with other devices via a network
   faster than main memory 12 , such as for example SRAM , through a variety of connections including standard tele
   BSRAM , or EDRAM . Cache memory includes any structure phone lines, wired or wireless connections, LAN or WAN
   such as multilevel caches, for example. In some embodi- 15 links (i.e. 802.11 , T1 , T3 , 56 kb, X.25 , etc. ) , broadband
   ments, processor 11 can communicate with one or more I /O connections ( i.e. ISDN , Frame Relay, ATM , etc. ) , or a
   devices 13 via a system bus 5. Various busses can be used combination thereof. Examples of networks include the
   to connect processor 11 to any of the I/O devices 13 , such Internet, an intranet, an extranet, a local area network
   as a VESA VL bus , an ISA bus , an EISA bus , a MicroChan- (LAN ), a wide area network (WAN ), a personal area net
   nel Architecture ( MCA) bus , a PCI bus , a PCI - X bus , a 20 work ( PAN ), a home area network (HAN ), a campus area
   PCI - Express bus , a NuBus, and / or others. In some embodi- network ( CAN ), a metropolitan area network (MAN ), a
   ments, processor 11 can communicate directly with I /O global area network (GAN ), a storage area network (SAN ),
   device 13 via HyperTransport, Rapid I/O , or InfiniBand . In virtual network , a virtual private network (VPN) , Bluetooth
   further embodiments, local busses and direct communica- network , a wireless network, a wireless LAN , a radio
   tion can be mixed . For example, processor 11 can commu- 25 network , a HomePNA , a power line communication net
   nicate with an I/ O device 13 using a local interconnect bus work , a G.hn network , an optical fiber network , an Ethernet
   and communicate with another I/ O device 13 directly. Simi- network , an active networking network , a client - server net
   lar configurations can be used for any other components work, a peer-to - peer network , a bus network , a star network,
   described herein .                                              a ring network , a mesh network, a star - bus network , a tree
      Computing Device 70 may further include alternative 30 network, a hierarchical topology network , and / or other net
   memory such as a SD memory slot , a USB memory stick, an works. Network interface 25 may include a built - in network
   optical drive such as a CD - ROM drive, a CD - R /RW drive, adapter, network interface card, PCMCIA network card,
   a DVD - ROM drive or a BlueRay disc , a hard -drive, and / or card bus network adapter, wireless network adapter, Blu
   any other device comprising non - volatile memory suitable etooth network adapter, WiFi network adapter, USB network
   for storing data or installing application programs. Comput- 35 adapter, modem , and / or any other device suitable for inter
   ing Device 70 may further include a storage device 27 facing Computing Device 70 with any type of network
   comprising any type or form of non - volatile memory for capable of communication and / or operations described
   storing an operating system ( OS ) such as any type or form herein .
   of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,         Still referring to FIG . 1 , 1 / O devices 13 may be present in
   iPhone OS , mobile version of Windows OS , an embedded 40 various shapes or forms in Computing Device 70. Examples
   OS , or any other OS that can operate on Computing Device of I/ O device 13 capable of input include a joystick, a
   70. Computing Device 70 may also include application keyboard , a mouse , a trackpad , a trackpoint, a touchscreen ,
   programs 18 , and/ or data space 19 for storing additional data a trackball, a microphone, a drawing tablet, a glove , a tactile
   or information. In some embodiments, alternative memory input device, a still or video camera , and / or other input
   16 can be used as or similar to storage device 27. Addition- 45 device . Examples of I /O device 13 capable of output include
   ally, OS 17 and / or application programs 18 can be operable a video display, a touchscreen , a projector, a glasses , a
   from a bootable medium , such as for example, a flash drive, speaker, a tactile output device, and / or other output device .
   a micro SD card, a bootable CD or DVD , and / or other Examples of 1/0 device 13 capable of input and output
   bootable medium .                                                include a disk drive, an optical storage device, a modem , a
     Application Program 18 ( also referred to as program , 50 network card , and /or other input/output device . I/O device
   computer program , application , script , code, or other similar 13 can be interfaced with processor 11 via an I /O port 15 , for
   name or reference ) comprises instructions that can provide example. I/O device 13 can also be controlled by I/ O control
   functionality when executed by processor 11. As such ,              22 in some implementations. I /O control 22 may control one
   Application Program 18 may be used to operate (i.e. perform         or more I /O devices such as Human- machine Interface 23
   operations on /with ) or control a device or system . Applica- 55 (i.e. keyboard, pointing device, touchscreen , joystick ,
   tion program 18 can be implemented in a high- level proce- mouse , optical pen , etc. ) . I /O control 22 enables any type or
   dural or object - oriented programming language, or in a form of a device such as , for example, a video camera or
   low - level machine or assembly language. Any language microphone to be interfaced with other components of
   used can be compiled , interpreted, or otherwise translated Computing Device 70. Furthermore , I/ O device 13 may also
   into machine language. Application program 18 can be 60 provide storage such as or similar to storage 27 , and / or
   deployed in any form including as a stand - alone program or alternative memory such as or similar to alternative memory
   as a module , component, subroutine, or other unit suitable 16 in some implementations.
   for use in a computing system . Application program 18 does          An output interface such as a graphical user interface, an
   not necessessarily correspond to a file in a file system . A acoustic output interface , a tactile output interface, any
   program can be stored in a portion of a file that may hold 65 device driver (i.e. audio, video , or other driver ), and / or other
   other programs or data , in a single file dedicated to the          output interface or system can be utilized to process output
   program , or in multiple files (i.e. files that store one or more   from elements of Computing Device 70 for conveyance on
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   an output device such as Display 21. In some aspects , poration of Redmond, Wash .; Mac OS , iPhone OS , etc.
   Display 21 or other output device itself may include an manufactured by Apple Computer of Cupertino, Calif .; OS / 2
   output interface for processing output from elements of manufactured by International Business Machines of
   Computing Device 70. Further, an input interface such as a Armonk , N.Y .; Linux , a freely -available operating system
   keyboard listener, a touchscreen listener, a mouse listener, 5 distributed by Caldera Corp. of Salt Lake City, Utah; or any
   any device driver (i.e. audio , video , keyboard, mouse , touch type or form of a Unix operating system , among others . Any
   screen , or other driver ), a speech recognizer, a video inter operating systems such as the ones for Android devices can
   preter, and / or other input interface or system can be utilized similarly be utilized .
   to process input from Human -machine Interface 23 or other             Computing Device 70 can be implemented as or be part
   input   device   for use by elements  of Computing  Device   70. 10 of various different model architectures such as web ser
   In some aspects , Human -machine Interface 23 or other input vices , distributed computing , grid computing, cloud com
   device itself may include an input interface for processing puting, and / or other architectures . For example, in addition
   input for use by elements of Computing Device 70 .
      Computing Device 70 may include or be connected to to the traditional desktop , server, or mobile operating system
   multiple display devices 21. Display devices 21 can each be 15 toarchitectures  , a cloud - based operating system can be utilized
                                                                           provide the structure on which embodiments of the
   of the same or different type or form . Computing Device 70
   and / or its elements comprise any type or form of suitable disclosure can be implemented. Other aspects of Computing
   hardware, programs, or a combination thereof to support, Device 70 can also be implemented in the cloud without
   enable, or provide for the connection and use of multiple departing from the spirit and scope of the disclosure . For
   display devices 21. In one example, Computing Device 70 20 example, memory, storage, processing , and / or other ele
   includes any type or form of video adapter, video card,            ments can be hosted in the cloud . In some embodiments ,
   driver, and / or library to interface, communicate, connect, or Computing Device 70 can be implemented on multiple
   otherwise use display devices 21. In some aspects , a video devices. For example, a portion of Computing Device 70 can
   adapter may include multiple connectors to interface to be implemented on a mobile device and another portion can
   multiple display devices 21. In other aspects , Computing 25 be implemented on wearable electronics.
   Device 70 includes multiple video adapters, with each video       Computing Device 70 can be or include any mobile
   adapter connected to one or more display devices 21. In device, a mobile phone , a smartphone (i.e. iPhone , Windows
   some embodiments, Computing Device's 70 operating sys- phone, Blackberry, Android phone , etc. ) , a tablet, a personal
   tem can be configured for using multiple displays 21. In digital assistant (PDA) , wearable electronics, implantable
   other embodiments, one or more display devices 21 can be 30 electronics, or another mobile device capable of implement
   provided by one or more other computing devices such as ing the functionalities described herein . In other embodi
   remote computing devices connected to Computing Device ments, Computing Device 70 can be or include an embedded
   70 via a network .                                                evice, which can be any device or system with a dedicated
       In some embodiments, I /O device 13 can be a bridge function within another device or system . Embedded sys
   between system bus 5 and an external communication bus , 35 tems range from the simplest ones dedicated to one task with
   such as a USB bus , an Apple Desktop Bus , an RS - 232 serial no user interface to complex ones with advanced user
   connection, a SCSI bus , a FireWire bus , a FireWire 800 bus , interface that may resemble modern desktop computer sys
   an Ethernet bus , an AppleTalk bus , a Gigabit Ethernet bus , tems . Examples of devices comprising an embedded device
   an Asynchronous Transfer Mode bus , a HIPPI bus , a Super include a mobile telephone, a personal digital assistant
   HIPPI bus , a SerialPlus bus , a SC1/ LAMP bus , a FibreChan- 40 (PDA) , a gaming device , a media player, a digital still or
   nel bus , a Serial Attached small computer system interface video camera, a pager, a television device , a set -top box , a
   bus , and /or other bus .                                        personal navigation device, a global positioning system
      Computing Device 70 can operate under the control of (GPS ) receiver, a portable storage device ( i.e. a USB flash
   operating system 17 , which may support Computing drive, etc. ), a digital watch , a DVD player, a printer, a
   Device's 70 basic functions, interface with and manage 45 microwave oven , a washing machine , a dishwasher, a gate
   hardware resources , interface with and manage peripherals , way, a router, a hub , an automobile entertainment system , an
   provide common services for application programs, sched- automobile navigation system , a refrigerator, a washing
   ule tasks , and / or perform other functionalities. A modern machine , a factory automation device , an assembly line
   operating system enables features and functionalities such as device, a factory floor monitoring device , a thermostat, an
   a high resolution display, graphical user interface (GUI), 50 automobile, a factory controller, a telephone, a network
   touchscreen , cellular network connectivity ( i.e. mobile oper- bridge, and /or other devices . An embedded device can
   ating system , etc. ) , Bluetooth connectivity, WiFi connectiv- operate under the control of an operating system for embed
   ity, global positioning system (GPS ) capabilities , mobile ded devices such as MicroC /OS - II, QNX , VxWorks, eCos ,
   navigation, microphone, speaker, still picture camera , video TinyOS, Windows Embedded, Embedded Linux , and / or
   camera, voice recorder, speech recognition, music player, 55 other embedded device operating systems.
   video player, near field communication , personal digital          Various implementations of the disclosed devices , sys
   assistant (PDA) , and / or other features, functionalities, or tems , and / or methods can be realized in digital electronic
   applications. For example, Computing Device 70 can use circuitry , integrated circuitry, logic gates, specially designed
   any conventional operating system , any embedded operating application specific integrated circuits ( ASICs ), field pro
   system , any real -time operating system , any open source 60 grammable gate arrays ( FPGAs ), computer hardware, firm
   operating system , any video gaming operating system , any ware , programs, virtual machines, and/ or combinations
   proprietary operating system , any online operating system , thereof including their structural, logical , and / or physical
   any operating system for mobile computing devices , or any equivalents.
   other operating system capable of running on Computing             The disclosed devices, systems , and /or methods may
   Device 70 and performing operations described herein . 65 include clients and servers . A client and server are generally
   Example of operating systems include Windows XP, Win- remote from each other and typically interact via a network .
   dows 7 , Windows 8 , etc. manufactured by Microsoft Cor- The relationship of a client and server may arise by virtue of
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                                                        US 11,055,583 B1
                                 65                                                                    66
   computer programs running on their respective computers elements thereof, can be implemented entirely or in part as
   and having a client -server relationship to each other.        a computer program and executed by one or more Proces
      The disclosed devices, systems , and / or methods can be sors 11. Such program can be implemented in one or more
   implemented in a computing system that includes a back end modules or units of a single or multiple computer programs.
   component, a middleware component, a front end compo- 5 Such program may be able to attach to or interface with ,
   nent, or any combination thereof. The components of the inspect , and / or take control of another application program
   system can be interconnected by any form or medium of to implement VSADO functionalities . In further embodi
   digital data communication such as , for example, a network . ments, the disclosed artificially intelligent devices, systems,
      Computing Device 70 may include or be interfaced with and / or methods for learning and /or using visual surrounding
   a computer program product comprising instructions or 10 for autonomous device operation , or elements thereof, can
   logic encoded on a computer -readable medium . Such be implemented as a network , web , distributed , cloud, or
   instructions or logic , when executed , may configure or cause other such application accessed on one or more remote
   a processor to perform the operations and / or functionalities computing devices (i.e. servers , cloud , etc. ) via Network
   disclosed herein . For example, a computer program can be Interface 25 , such remote computing devices including
   provided or encoded on a computer - readable medium such 15 processing capabilities and instructions for implementing
   as an optical medium (i.e. DVD - ROM , etc. ) , flash drive , VSADO functionalities. In further embodiments, the dis
   hard drive, any memory, firmware , or other medium . Com- closed artificially intelligent devices, systems , and / or meth
   puter program can be installed onto a computing device to ods for learning and / or using visual surrounding for autono
   cause the computing device to perform the operations and / or mous device operation , or elements thereof, can be ( 1 )
   functionalities disclosed herein . Machine- readable medium , 20 attached to or interfaced with any computing device or
   computer -readable medium , or other such terms may refer to application program , ( 2 ) included as a feature of an operat
   any computer program product, apparatus, and / or device for ing system , ( 3 ) built (i.e. hard coded, etc. ) into any com
   providing instructions and / or data to a programmable pro- puting device or application program , and / or ( 4 ) available in
   cessor. As such , machine- readable medium includes any any other configuration to provide its functionalities .
   medium that can send or receive machine instructions as a 25 In yet other embodiments, the disclosed artificially intel
   machine - readable signal . Examples of a machine - readable ligent devices, systems, and / or methods for learning and / or
   medium include a volatile and / or non - volatile medium , a using visual surrounding for autonomous device operation ,
   removable and /or non -removable medium , a communica-                or elements thereof, can be implemented at least in part in
   tion medium , a storage medium , and / or other medium . A            a computer program such as Java application or program .
   communication medium , for example , can transmit com- 30 Java provides a robust and flexible environment for appli
   puter readable instructions and / or data in a modulated data cation programs including flexible user interfaces, robust
   signal such as a carrier wave or other transport technique, security, built - in network protocols, powerful application
   and may include any other form of information delivery programming interfaces, database or DBMS connectivity
   medium known in art . A non - transitory machine - readable and interfacing functionalities, file manipulation capabili
   medium comprises all machine- readable media except for a 35 ties , support for networked applications, and / or other fea
   transitory, propagating signal.                                tures or functionalities. Application programs based on Java
      In some embodiments, the disclosed artificially intelligent can be portable across many devices, yet leverage each
   devices, systems, and / or methods for learning and / or using device's native capabilities . Java supports the feature sets of
   visual surrounding for autonomous device operation, or most smartphones and a broad range of connected devices
   elements thereof, can be implemented entirely or in part in 40 while still fitting within their resource constraints. Various
   a device ( i.e. microchip, circuitry, logic gates, electronic Java platforms include virtual machine features comprising
   device, computing device , special or general purpose pro- a runtime environment for application programs. Java plat
   cessor, etc. ) or system that comprises (i.e. hard coded ,            forms provide a wide range of user - level functionalities that
   internally stored , etc.) or is provided with (i.e. externally can be implemented in application programs such as dis
   stored , etc. ) instructions for implementing VSADO func- 45 playing text and graphics, playing and recording audio
   tionalities . As such , the disclosed artificially intelligent content, displaying and recording visual content, communi
   devices, systems, and / or methods for learning and / or using cating with another computing device , and / or other func
   visual surrounding for autonomous device operation, or tionalities . It should be understood that the disclosed artifi
   elements thereof, may include the processing, memory, cially intelligent devices, systems, and /or methods for
   storage , and / or other features, functionalities, and embodi- 50 learning and / or using visual surrounding for autonomous
   ments of Computing Device 70 or elements thereof. Such device operation, or elements thereof, are programming
   device or system can operate on its own (i.e. standalone language, platform , and operating system independent.
   device or system , etc. ) , be embedded in another device or Examples of programming languages that can be used
   system ( i.e. a television device, an oven, a refrigerator, a instead of or in addition to Java include C , C ++ , Cobol ,
   vehicle, an industrial machine , a robot, a smartphone, and / or 55 Python, Java Script , Tcl, Visual Basic , Pascal , VB Script,
   any other device or system capable of housing the elements Perl, PHP, Ruby, and / or other programming languages
   needed for VSADO functionalities ), work in combination               capable of implementing the functionalities described
   with other devices or systems, or be available in any other           herein .
   configuration . In other embodiments , the disclosed artifi-             Where a reference to a specific file or file type is used
   cially intelligent devices , systems, and / or methods for learn- 60 herein , other files, file types , or formats can be substituted .
   ing and / or using visual surrounding for autonomous device             Where a reference to a data structure is used herein , it
   operation, or elements thereof, may include Alternative should be understood that any variety of data structures can
   Memory 16 that provides instructions for implementing be used such as , for example, array, list , linked list , doubly
   VSADO functionalities to one or more Processors 11. In linked list , queue, tree , heap , graph , map , grid , matrix ,
   further embodiments, the disclosed artificially intelligent 65 multi- dimensional matrix, table , database, database manage
   devices, systems, and / or methods for learning and / or using ment system ( DBMS ) , file, neural network , and / or any other
   visual surrounding for autonomous device operation, or                type or form of a data structure including a custom one . A
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                                                      US 11,055,583 B1
                               67                                                                    68
   data structure may include one or more fields or data fields       illustrated . Device 98 also comprises interconnected Proces
   that are part of or associated with the data structure. A field sor 11 , Human -machine Interface 23 , Picture Capturing
   or data field may include a data, an object, a data structure , Apparatus 90 , Memory 12 , and Storage 27. Processor 11
   and / or any other element or a reference /pointer thereto . A includes or executes Application Program 18. VSADO Unit
   data structure can be stored in one or more memories, files, 5 100 comprises interconnected Artificial Intelligence Unit
   or other repositories. A data structure and / or any elements 110 , Acquisition Interface 120 , and Modification Interface
   thereof, when stored in a memory , file, or other repository, 130. Other additional elements can be included as needed, or
   may be stored in a different arrangement than the arrange-         some of the disclosed ones can be excluded , or a combina
   ment of the data structure and / or any elements thereof. For      tion thereof can be utilized in alternate embodiments.
   example, a sequence of elements can be stored in an 10 In one example, the teaching presented by the disclosure
   arrangement other than a sequence in a memory, file , or can be implemented in a device or system for learning and / or
   other repository.                                                  using visual surrounding for autonomous device operation .
      Where a reference to a repository is used herein , it should The device or system may include a processor circuit (i.e.
   be understood that a repository may be or include one or Processor 11 , etc. ) configured to execute instruction sets (i.e.
   more files or file systems, one or more storage locations or 15 Instruction Sets 526 , etc. ) for operating a device . The device
   structures, one or more storage systems, one or more data or system may further include a memory unit (i.e. Memory
   structures or objects, one or more memory locations or 12 , etc. ) configured to store data . The device or system may
   structures, and / or other storage , memory, or data arrange- further include a picture capturing apparatus ( i.e. Picture
   ments .                                                            Capturing Apparatus 90 , etc.) configured to capture digital
      Where a reference to an interface is used herein , it should 20 pictures (i.e. Digital Pictures 525 , etc. ) . The device or
   be understood that the interface comprises any hardware, system may further include an artificial intelligence unit (i.e.
   device , system , program , method , and / or combination Artificial Intelligence Unit 110 , etc. ). The artificial intelli
   thereof that enable direct or operative coupling , connection , gence unit may be configured to receive a first digital picture
   and / or interaction of the elements between which the inter-      from the picture capturing apparatus. The artificial intelli
   face is indicated . A line or arrow shown in the figures 25 gence unit may also be configured to receive one or more
   between any of the depicted elements comprises such inter- instruction sets for operating the device from the processor
   face . Examples of an interface include a direct connection , circuit. The artificial intelligence unit may also be config
   an operative connection, a wired connection (i.e. wire , cable , ured to learn the first digital picture correlated with the one
   etc. ) , a wireless connection , a device , a network, a bus , a or more instruction sets for operating the device . The
   circuit , a firmware , a driver, a bridge , a program , a combi- 30 artificial intelligence unit may also be configured to receive
   nation thereof, and /or others.                                    a new digital picture from the picture capturing apparatus.
     Where a reference to an element coupled or connected to          The artificial intelligence unit may also be configured to
   another element is used rein , it should be understood that anticipate the one or more instruction sets for operating the
   the element may be in communication or any other interac- device correlated with the first digital picture based on at
   tive relationship with the other element. Furthermore , an 35 least a partial match between the new digital picture and the
   element coupled or connected to another element can be first digital picture. The artificial intelligence unit may also
   coupled or connected to any other element in alternate be configured to cause the processor circuit to execute the
   implementations. Terms coupled , connected , interfaced, or one or more instruction sets for operating the device corre
   other such terms may be used interchangeably herein lated with the first digital picture, the executing performed
   depending on context.                                      40 in response to the anticipating of the artificial intelligence
       Where a reference to an element matching another ele- unit, wherein the device performs one or more operations
   ment is used herein , it should be understood that the element defined by the one or more instruction sets for operating the
   may be equivalent or similar to the other element. Therefore , device correlated with the first digital picture, the one or
   the term match or matching can refer to total equivalence or more operations performed in response to the executing by
   similarity depending on context.                                45 the processor circuit. Any of the operations of the described
       Where a reference to a device is used herein , it should be elements can be performed repeatedly and / or in different
   understood that the device may include or be referred to as orders in alternate embodiments . In some embodiments , a
   a system , and vice versa depending on context, since a stream of digital pictures can be used instead of or in
   device may include a system of elements and a system may addition to any digital picture such as , for example , using a
   be embodied in a device .                                       50 first stream of digital pictures instead of the first digital
       Where a mention of a function, method, routine, subrou- picture . In other embodiments, a logic circuit ( i.e. Logic
   tine , or other such procedure is used herein , it should be Circuit 250 , etc.) may be used instead of the processor
   understood that the function, method, routine , subroutine, or circuit . In such embodiments, the one or more instruction
   other such procedure comprises a call , reference, or pointer sets for operating the device may include or be substituted
   toprocedure
        the function
               .
                     , method, routine, subroutine , or other such 55 with one or more inputs into or one or more outputs from the
                                                                      logic circuit. In further embodiments, an actuator may be
       Where a mention of data , object, data structure , item , included instead of or in addition to the processor circuit. In
   element, or thing is used herein , it should be understood that such embodiments , the one or more instruction sets for
   the data, object, data structure, item , element, or thing operating the device may include or be substituted with one
   comprises a reference or pointer to the data , object, data 60 or more inputs into the actuator. Other additional elements
   structure , item , element, or thing.                              can be included as needed, or some of the disclosed ones can
       The term collection of elements can refer to plurality of be excluded , or a combination thereof can be utilized in
   elements without implying that the collection is an element alternate embodiments . The device or system for learning
   itself .                                                           and / or using visual surrounding for autonomous device
       Referring to FIG . 2 , an embodiment of Device 98 com- 65 operation may include any actions or operations of any of
   prising Unit for Learning and /or Using Visual Surrounding the disclosed methods such as methods 6100 , 6200 , 6300 ,
   for Autonomous Device Operation (VSADO Unit 100 ) is 6400 , 6500 , and / or 6600 (all later described) .
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                                                      US 11,055,583 B1
                                69                                                                   70
      Device 98 comprises any hardware , programs, or a com-          Capturing Apparatus 90 may be or comprises any other
   bination thereof. Device 98 may include a system . Device 98       picture capturing apparatus . In general, Picture Capturing
   may include any features, functionalities, and embodiments         Apparatus 90 may capture any light (i.e. visible light,
   of Computing Device 70 , or elements thereof. Examples of          infrared light, ultraviolet light, x - ray light, etc. ) across the
   Device 98 include a desktop or other computer, a smart- 5 electromagnetic spectrum onto a light- sensitive material. In
   phone or other mobile computer, a vehicle , an industrial one example, a digital Picture Capturing Apparatus 90 can
   machine, a toy, a robot , a microwave or other oven , and / or utilize a charge coupled device (CCD ) , a CMOS sensor,
   any other device or machine comprising processing capa- and / or other electronic image sensor to capture digital
   bilities . Such device or machine may be built for any pictures that can then be stored in a memory or storage , or
   function or purpose examples of which are described later. 10 transmitted to an element such as Artificial Intelligence Unit
      User 50 (also referred to simply as user or other similar 110. In another example, analog Picture Capturing Appara
   name or reference ) comprises a human user or non -human tus       90 can utilize an analog -to - digital converter to produce
   user . A non - human User 50 includes any device, system ,
   program , and / or other mechanism for operating or control digital pictures. In some embodiments, Picture Capturing
   ling Device 98 and / or elements thereof. In one example, 15 Apparatus     90 can be built, embedded , or integrated in
   User 50 may issue an operating direction to Application Device 98 , VSADO Unit 100 , and / or other disclosed ele
   Program 18 responsive to which Application Program's 18 ment. In other embodiments , Picture Capturing Apparatus
   instructions or instruction sets may be executed by Processor 90 can be an external Picture Capturing Apparatus 90
   11 to perform a desired operation on Device 98. In another connected with Device 98 , VSADO Unit 100 , and /or other
   example, User 50 may issue an operating direction to 20 disclosed element. In further embodiments, Picture Captur
   Processor 11 , Logic Circuit 250 ( later described ), and / or ing Apparatus 90 comprises Computing Device 70 or ele
   other processing element responsive to which Processor 11 , ments thereof. In general, Picture Capturing Apparatus 90
   Logic Circuit 250 , and / or other processing element may can be implemented in any suitable configuration to provide
   implement logic to perform a desired operation on Device its functionalities. Picture Capturing Apparatus 90 may
   98. User's 50 operating directions comprise any user input- 25 capture one or more Digital Pictures 525. Digital Picture 525
   ted data (i.e. values , text, symbols, etc. ) , directions ( i.e. (also referred to simply as digital pictures, etc. ) may include
   move right, move up , move forward , copy an item , click on a collection of color encoded pixels or dots . Examples of file
   a link, etc. ) , instructions or instruction sets (i.e. manually formats that can be utilized to store Digital Picture 525
   inputted instructions or instruction sets, etc. ) , and / or other include JPEG , GIF, TIFF, PNG , PDF, and / or other file
   inputs or information . A non -human User 50 can utilize 30 formats. A stream of Digital Pictures 525 i.e. motion
   more suitable interfaces instead of, or in addition to , Human- picture , video , etc.) may include one or more Digital Pic
   machine Interface 23 and / or Display 21 for controlling tures 525. Examples of file formats that can be utilized to
   Device 98 and / or elements thereof. Examples of such inter- store a stream of Digital Pictures 525 include MPEG , AVI,
   faces include an application programming interface (API), FLV, MOV, RM , SWF , WMV, DivX , and / or other file
   bridge ( i.e. bridge between applications, devices , or systems, 35 formats. In some aspects , Digital Picture 525 may include or
   etc. ) , driver, socket, direct or operative connection , handle, be substituted with a stream of Digital Pictures 525 , and vice
   function / routine/ subroutine, and /or other interfaces.           versa . Therefore , the terms digital picture and stream of
      In some embodiments, Processor 11 , Logic Circuit 250 , digital pictures may be used interchangeably herein depend
   Application Program 18 , and / or other processing element ing on context. In some aspects , Device's 98 surrounding
   may control or affect an actuator ( not shown) . Actuator 40 may include exterior of Device 98. In other aspects ,
   comprises the functionality for implementing movements, Device's 98 surrounding may include interior of Device 98
   actions , behaviors, maneuvers , and / or other mechanical or in case of hollow Device 98 , Device 98 comprising com
   physical operations. Device 98 may include one or more partments or openings , and /or other variously shaped Device
   actuators to enable Device 98 to perform mechanical, physi- 98 .
   cal , or other operations and / or to interact with its environ- 45 VSADO Unit 100 comprises any hardware, programs, or
   ment. For example, an actuator can be connected to or a combination thereof. VSADO Unit 100 comprises the
   coupled to an element such as a wheel, arm , or other element functionality for learning the operation of Device 98 in
   to act upon the environment. Examples of an actuator various visual surroundings. VSADO Unit 100 comprises
   include a motor, a linear motor, a servomotor, a hydraulic the functionality for structuring and / or storing this knowl
   element, a pneumatic element, an electro -magnetic element, 50 edge in a knowledgebase (i.e. neural network , graph,
   a spring element, and / or other actuators . Examples of types sequences , other repository, etc. ) . VSADO Unit 100 com
   of actuators include a rotary actuator, a linear actuator, prises the functionality for enabling autonomous operation
   and / or other types of actuators . In other embodiments ,         of Device 98 in various visual surroundings. VSADO Unit
   Processor 11 , Logic Circuit 250 , Application Program 18 ,        100 comprises the functionality for interfacing with or
   and / or other processing element may control or affect any 55 attaching to Application Program 18 , Processor 11 , Logic
   other device or element instead of or in addition to an            Circuit 250 , and / or other processing element. VSADO Unit
   actuator.                                                          100 comprises the functionality for obtaining instruction
        Picture Capturing Apparatus 90 comprises the function- sets, data, and / or other information used , implemented ,
   ality for capturing one or more pictures, and /or other func- and / or executed by Application Program 18 , Processor 11 ,
   tionalities. As such , Picture Capturing Apparatus 90 can be 60 Logic Circuit 250 , and / or other processing element. VSADO
   used to capture pictures of Device's 98 surrounding. In some Unit 100 comprises the functionality for modifying instruc
   embodiments , Picture Capturing Apparatus 90 may be or tion sets, data, and / or other information used , implemented,
   comprises a motion picture camera that can capture streams and / or executed by Application Program 18 , Processor 11 ,
   of pictures ( i.e. motion pictures, videos , etc. ). In other Logic Circuit 250 , and / or other processing element. VSADO
   embodiments, Picture Capturing Apparatus 90 may be or 65 Unit 100 comprises learning, anticipating, decision making,
   comprises a still picture camera that can capture still pictures automation, and /or other functionalities disclosed herein .
   ( i.e. photographs , etc. ) . In further embodiments, Picture Statistical , artificial intelligence, machine learning, and / or
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                                                      US 11,055,583 B1
                                71                                                                 72
   other models or techniques are utilized to implement the         implement Device's 98 operation. In one example, VSADO
   disclosed devices, systems , and methods.                        Unit 100 may be a primary or preferred system for imple
     When the disclosed VSADO Unit 100 functionalities are          menting Device's 98 operation. While operating autono
   applied on Application Program 18 , Processor 11 , Logic mously under the control of VSADO Unit 100 , Device 98
   Circuit 250 ( later described ), and /or other processing ele- 5 may encounter a visual surrounding that has not been
   ment of Device 98 , Device 98 may become autonomous . encountered or learned before. In such situations, User 50
   VSADO Unit 100 may take control from , share control with , and / or non -VSADO system may take control ofDevice's 98
   and / or release control to Application Program 18 , Processor operation . VSADO Unit 100 may take control again when
   11 , Logic Circuit 250 , and / or other processing element to Device 98 encounters a previously learned visual surround
   implement autonomous operation of Device 98. VSADO 10 ing . Naturally, VSADO Unit 100 can learn Device's 98
   Unit 100 may take control from , share control with , and / or operation in visual surroundings while User 50 and /or
   release control to Application Program 18 , Processor 11 , non - VSADO system is in control of Device 98 , thereby
   Logic Circuit 250 , and / or other processing element auto- reducing or eliminating the need for future involvement of
   matically or after prompting User 50 to allow it . In some User 50 and / or non- VSADO system . In another example,
   aspects , Application Program 18 , Processor 11 , Logic Cir- 15 User 50 and / or non - VSADO system may be a primary or
   cuit 250 , and /or other processing element of an autonomous preferred system for control of Device's 98 operation . While
   Device 98 may include or be provided with anticipatory operating under the control of User 50 and / or non - VSADO
   instructions or instruction sets that User 50 did not issue or system , User 50 and /or non-   n -VSADO system may release
   cause to be executed . Such anticipatory instructions or control to VSADO Unit 100 for any reason (i.e. User 50 gets
   instruction sets include instruction sets that User 50 may 20 tired or distracted , non - VSADO system gets stuck or cannot
   want or is likely to issue or cause to be executed . Anticipa- make a decision , etc. ) , at which point Device 98 can be
   tory instructions or instruction sets can be generated by controlled by VSADO Unit 100. In some designs , VSADO
   VSADO Unit 100 or elements thereof based on the visual Unit 100 may take control in certain special visual surround
   surrounding of Device 98. As such , Application Program 18 , ings where VSADO Unit 100 may offer superior perfor
   Processor 11 , Logic Circuit 250 , and / or other processing 25 mance even though User 50 and / or non -VSADO system
   element of an autonomous Device 98 may include or be may generally be preferred. Once Device 98 leaves such
   provided with some or all original instructions or instruction special visual surrounding, VSADO Unit 100 may release
   sets and / or any anticipatory instructions or instruction sets control to User 50 and / or a non - VSADO system . In general,
   generated by VSADO Unit 100. Therefore , autonomous VSADO Unit 100 can take control from , share control with,
   Device 98 operating may include executing some or all 30 or release control to User 50 , non - VSADO system , and / or
   original instructions or instruction sets and/ or any anticipa- other system or process at any time , under any circum
   tory instructions or instruction sets generated by VSADO stances , and remain in control for any period of time as
   Unit 100. In one example, VSADO Unit 100 can overwrite             needed .
   or rewrite the original instructions or instruction sets of          In some embodiments, VSADO Unit 100 may control one
   Application Program 18 , Processor 11 , Logic Circuit 250 , 35 or more sub - devices, sub - systems , or elements of Device 98
   and / or other processing element with VSADO Unit 100- while User 50 and /or non - VSADO system may control other
   generated instructions or instruction sets . In another one or more sub -devices, sub -systems, or elements of
   example , VSADO Unit 100 can insert or embed VSADO                 Device 98 .
   Unit 100 - generated instructions or instruction sets among          It should be understood that a reference to autonomous
   the original instructions or instruction sets of Application 40 operating of Device 98 may include autonomous operating
   Program 18 , Processor 11 , Logic Circuit 250 , and / or other of Application Program 18 , Processor 11 , Logic Circuit 250 ,
   processing element. In a further example, VSADO Unit 100 and / or other processing element depending on context.
   can branch, redirect, or jump to VSADO Unit 100 - generated          Acquisition Interface 120 comprises the functionality for
   instructions or instruction sets from the original instructions obtaining or receiving instruction sets , data, and / or other
   or instruction sets of Application Program 18 , Processor 11 , 45 information . Acquisition Interface 120 comprises the func
   Logic Circuit 250 , and / or other processing element.            tionality for obtaining or receiving instruction sets , data,
      In some embodiments, autonomous Device 98 operating and/ or other information from Processor 11 , Application
   comprises determining, by VSADO Unit 100 , a next instruc- Program 18 , Logic Circuit 250 ( later described ), and /or
   tion or instruction set to be executed based on Device's 98 other processing element. Acquisition Interface 120 com
   visual surrounding prior to the user issuing or causing to be 50 prises the functionality for obtaining or receiving instruction
   executed the next instruction or instruction set . In yet other sets , data, and / or other information at runtime. In some
   embodiments, autonomous application operating comprises aspects , an instruction set may include any computer com
   determining, by VSADO Unit 100 , a next instruction or mand, instruction , signal, or input used in Application Pro
   instruction set to be executed based on Device's 98 visual         gram 18 , Processor 11 , Logic Circuit 250 , and /or other
   surrounding prior to the system receiving the next instruc- 55 processing element. Therefore, the terms instruction set,
   tion or instruction set .                                       command , instruction , signal, input, or other such terms may
      In some embodiments, autonomous Device 98 operating be used interchangeably herein depending on context .
   includes a partially or fully autonomous operating. In an Acquisition Interface 120 also comprises the functionality
   example involving partially autonomous Device 98 operat- for attaching to or interfacing with Application Program 18 ,
   ing , a user confirms VSADO Unit 100 -generated instruc- 60 Processor 11 , Logic Circuit 250 , and / or other processing
   tions or instruction sets prior to their execution . In an element. In one example, Acquisition Interface 120 com
   example involving fully autonomous application operating, prises the functionality to access and / or read runtime engine/
   VSADO Unit 100 - generated instructions or instruction sets environment, virtual machine, operating system , compiler,
   are executed without user or other system confirmation ( i.e. just - in -time (JIT ) compiler, interpreter, translator, execution
   automatically, etc. ) .                                      65 stack , file, object, data structure , and /or other computing
      In some embodiments , a combination of VSADO Unit system elements. In another example, Acquisition Interface
   100 and other systems and / or techniques can be utilized to 120 comprises the functionality to access and / or read
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   memory , storage , bus , interfaces, and / or other computing instruction sets , some or all basic blocks , some or all
   system elements. In a further example, Acquisition Interface functions/ routines / subroutines, and / or some or all other code
   120 comprises the functionality to access and / or read Pro- segments.
   cessor 11 registers and / or other Processor 11 elements. In a       In some embodiments , Application Program 18 can be
   further example, Acquisition Interface 120 comprises the 5 automatically instrumented . In one example, Acquisition
   functionality to access and / or read inputs and / or outputs of Interface 120 can access Application Program's 18 source
   Application Program 18 , Processor 11 , Logic Circuit 250 , code , bytecode , or machine code and select instrumentation
   and / or other processing element. In a further example , points of interest . Selecting instrumentation points may
   Acquisition Interface 120 comprises the functionality to include finding locations in the source code , bytecode , or
   access and / or read functions, methods, procedures, routines, 10 machine code corresponding to function calls , function
   subroutines, and / or other elements of Application Program       entries, function exits , object creations, object destructions,
   18. In a further example, Acquisition Interface 120 com- event handler calls , new lines (i.e. to instrument all lines of
   prises the functionality to access and / or read source code , code , etc. ) , thread creations, throws, and / or other points of
   bytecode, compiled , interpreted, or otherwise translated              interest. Instrumentation code can then be inserted at the
   code , machine code , and / or other code . In a further example, 15 instrumentation points of interest to output Application
   Acquisition Interface 120 comprises the functionality to               Program’s 18 instruction sets, data , and /or other informa
   access and / or read values , variables, parameters , and / or         tion . In response to executing instrumentation code , Appli
   other data or information . Acquisition Interface 120 also             cation Program's 18 instruction sets , data, and / or other
   comprises the functionality for transmitting the obtained              information may be received by Acquisition Interface 120 .
   instruction sets , data , and / or other information to Artificial 20 In some aspects , Application Program's 18 source code ,
   Intelligence Unit 110 and / or other element. As such , Acqui- bytecode, or machine code can be dynamically instru
   sition Interface 120 provides input into Artificial Intelligence mented . For example, instrumentation code can be dynami
   Unit 110 for knowledge structuring, anticipating, decision cally inserted into Application Program 18 at runtime .
   making , and / or other functionalities later in the process .          In other embodiments, Application Program 18 can be
   Acquisition Interface 120 also comprises other disclosed 25 manually instrumented . In one example, a programmer can
   functionalities .                                                     instrument a function call by placing an instrumenting
      Acquisition Interface 120 can employ various techniques        instruction immediately after the function call as in the
   for obtaining instruction sets , data , and / or other information .
                                                                     following example .
   In one example, Acquisition Interface 120 can attach to              Objectl.moveRight ( 73 ) ;
   and / or obtain Processor's 11 , Application Program's 18 , 30 trace Application Object1.moveRight( 73 );') ;
   Logic Circuit's 250 , and / or other processing element's In another example, an instrumenting instruction can be
   instruction sets , data , and /or other information through trac- placed immediately before the function call , or at the begin
   ing or profiling techniques. Tracing or profiling may be used ning , nd , or anywhere within the function itself. A pro
   for outputting Processor's 11 , Application Program's 18 ,             grammer may instrument all function calls or only function
   Logic Circuit's 250 , and / or other processing element’s 35 calls of interest. In a further example, a programmer can
   instruction sets, data , and / or other information at runtime. instrument all lines of code or only code lines of interest. In
   For instance, tracing or profiling may include adding trace a further example , a programmer can instrument other
   code (i.e. instrumentation , etc. ) to an application and / or elements utilized or implemented within Application Pro
   outputting trace information to a specific target. The out- gram 18 such as objects and / or any of their functions, data
   putted trace information (i.e. instruction sets , data , and / or 40 structures and / or any of their functions, event handlers
   other information , etc. ) can then be provided to or recorded and /or any of their functions, threads and / or any of their
   into a file, data structure, repository, an application , and / or functions, and / or other elements or functions. Similar instru
   other system or target that may receive such trace informa- mentation as in the preceding examples can be performed
   tion . As such , Acquisition Interface 120 can utilize tracing or automatically or dynamically. In some designs where
   profiling to obtain instruction sets, data, and / or other infor- 45 manual code instrumentation is utilized , Acquisition Inter
   mation and provide them as input into Artificial Intelligence face 120 can optionally be omitted and Application Pro
   Unit 110. In some aspects , instrumentation can be performed gram's 18 instruction sets , data, and / or other information
   in source code , bytecode, compiled, interpreted , or other- may be transmitted directly to Artificial Intelligence Unit
   wise translated code , machine code , and /or other code . In 110 .
   other aspects , instrumentation can be performed in various 50 In some embodiments , VSADO Unit 100 can be selective
   elements of a computing system such as memory, virtual in learning instruction sets , data, and / or other information to
   machine, runtime engine/ environment, operating system , those implemented, utilized, or related to an object, data
   compiler, interpreter, translator, processor registers, execu- structure, repository, thread , function, and / or other element
   tion stack , program counter, and /or other elements . In yet of Application Program 18. In some aspects , Acquisition
   other aspects , instrumentation can be performed in various 55 Interface 120 can obtain Application Program's 18 instruc
   abstraction layers of a computing system such as in software tion sets, data , and / or other information implemented , uti
   layer ( i.e. Application Program 18 , etc. ) , in virtual machine  lized , or related to a certain object in an object oriented
   ( if VM is used ), in operating system , in Processor 11 , and /or Application Program 18 .
   in other layers or areas that may exist in a particular               In some embodiments, various computing systems and /or
   computing system implementation . In yet other aspects, 60 platforms may provide native tools for obtaining instruction
   instrumentation can be performed at various time periods in sets, data, and / or other information . Also , independent ven
   an application's execution such as source code write time , dors may provide portable tools with similar functionalities
   compile time , interpretation time , translation time , linking that can be utilized across different computing systems
   time , loading time , runtime, and / or other time periods. In yet and / or platforms. These native and portable tools may
   other aspects , instrumentation can be performed at various 65 provide a wide range of functionalities to obtain runtime and
   granularities or code segments such as some or all lines of other information such as instrumentation , tracing or pro
   code , some or all statements, some or all instructions or             filing, logging application or system messages , outputting
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   custom text messages , outputting objects or data structures , to notify the profiler that a function is about to return to the
   outputting functions / routines /subroutines or their invoca- caller and can provide information about the stack frame and
   tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
   thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
   outputting processor registers, providing runtime memory 5 periodically examine the stack . In some aspects , the Profil
   access , providing inputs and / or outputs, performing live ing API enables the profiler to change the in -memory code
   application monitoring, and /or other capabilities. One of stream for a routine before it is just - in- time (JIT ) compiled
   ordinary skill in art will understand that, while all possible where the profiler can dynamically add instrumentation code
   variations of the techniques to obtain instruction sets , data , to all or particular routines of interest. Other platforms,
   and / or other information are too voluminous to describe, 10 tools , and /or techniques may provide equivalent or similar
   these techniques are within the scope of this disclosure.           functionalities as the above described ones .
      In one example, obtaining instruction sets , data, and / or         In a further example , obtaining instruction sets , data ,
   other information can be implemented through the .NET and / or other information can be implemented through Java
   platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
   such as System.Diagnostics.Trace , System.Diagnostics.De- 15 Java Virtual Machine Profiling Interface (JVMPI ) , Java
   bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and / or other APIs
   ing execution flow , and System . Diagnostics . Process , Sys- or tools . These APIs can be used for instrumentation of an
   tem.Diagnostics.EventLog, and System . Diagnostics. application, for notification of Java Virtual Machine (VM )
   PerformanceCounter classes for profiling code , accessing events , and / or other functionalities . One of the tracing or
   local and remote processes , starting and stopping system 20 profiling techniques that can be utilized includes bytecode
   processes, and interacting with Windows event logs , etc. For instrumentation. The profiler can insert bytecodes into all or
   instance, a set of trace switches can be created that output an some of the classes . In application execution profiling, for
   application's information. The switches can be configured example, these bytecodes may include methodEntry and
   using the .config file . For a Web application, this may methodExit calls . In memory profiling, for example, the
   typically be Web.config file associated with the project. In a 25 bytecodes may be inserted after each new or after each
   Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
   applicationName.exe.config . Trace code can be added to bytecode can be performed either by a post -compiler or a
   application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
   described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
   trace output is received . Trace code may output trace mes- 30 or JVMTI interfaces. Both APIs can generate events for
   sages to a specific target such as a file , a log , a database , an method entry / exit, object allocation , and / or other events . In
   object, a data structure , and / or other repository or system . some aspects , JVMTI can be utilized for dynamic bytecode
   Acquisition Interface 120 or Artificial Intelligence Unit 110 instrumentation where insertion of instrumentation byte
   can then read or obtain the trace information from these              codes is performed at runtime. The profiler may insert the
   targets. In some aspects , trace code may output trace mes- 35 necessary instrumentation when a selected class is invoked
   sages directly to Acquisition Interface 120. In other aspects , in an application . This can be accomplished using the
   trace code may output trace messages directly to Artificial JVMTI's redefineClasses method , for example. This
   Intelligence Unit 110. In the case of outputting trace mes- approach also enables changing of the level of profiling as
   sages to Acquisition Interface 120 or directly to Artificial the application is running. If needed , these changes can be
   Intelligence Unit 110 , custom listeners can be built to 40 made adaptively without restarting the application. Other
   accommodate these specific targets. Other platforms, tools , platforms, tools , and / or techniques may provide equivalent
   and / or techniques can provide equivalent or similar func- or similar functionalities as the above described ones .
   tionalities as the above described ones .                            In a further example , obtaining instruction sets , data ,
      In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
   or other information can be implemented through the .NET 45 TI’s programming interface that enables creation of software
   platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
   profiler application for tracing, monitoring, interfacing with, agent may use the functionality of the interface to register
   and /or managing a profiled application . The Profiling API for notification of events as they occur in the application,
   provides an interface that includes methods to notify the and to query and control the application. A JVMTI agent
   profiler of events in the profiled application . The Profiling 50 may use JVMTI functions to extract information from a Java
   API may also provide an interface to enable the profiler to       application . A JVMTI agent can be utilized to obtain an
   call back into the profiled application to obtain information application's runtime information such as method calls ,
   about the state of the profiled application. The Profiling API memory allocation, CPU utilization , lock contention , and /or
   may further provide call stack profiling functionalities. Call other information . JVMTI may include functions to obtain
   stack ( also referred to as execution stack, control stack , 55 information about variables, fields, methods, classes , and /or
   runtime stack, machine stack , the stack , etc. ) includes a data other information . JVMTI may also provide notification for
   structure that can store information about active subroutines numerous events such as method entry and exit , exception ,
   of an application. The Profiling API may provide a stack field access and modification , thread start and end, and /or
   snapshot method, which enables a trace of the stack at a other events . Examples of JVMTI built - in methods include
   particular point in time . The Profiling API may also provide 60 GetMethodName to obtain the name of an invoked method ,
   a shadow stack method , which tracks the call stack at every          GetThreadInfo to obtain information for a specific thread ,
   instant. shadow stack can obtain function arguments,                  GetClassSignature to obtain information about the class of
   return values , and information about generic instantiations . an object, GetStackTrace to obtain information about the
   A function such as FunctionEnter can be utilized to notify stack including information about stack frames, and / or other
   the profiler that control is being passed to a function and can 65 methods. Other platforms, tools , and / or techniques may
   provide information about the stack frame and function provide equivalent or similar functionalities as the above
   arguments. A function such as FunctionLeave can be utilized described ones .
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     In a further example, obtaining instruction sets , data ,         sets, data, and /or other information needed for Artificial
   and / or other information can be implemented through java-         Intelligence Unit 110 and / or other elements. In addition to
   .lang.Runtime class that provides an interface for application      logging capabilities native to their respective platforms
   tracing or profiling. Examples of methods provided in java- and / or operating systems, many independent tools exist that
   .lang.Runtime that can be used to obtain an application's 5 provide logging on different platforms and / or operating
   instruction sets , data , and / or other information include systems . Examples of these tools include Log 43, Logback ,
   tracemethodcalls, traceinstructions, and / or other methods.        SmartInspect, NLog , log 4net, Microsoft Enterprise Library,
   These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others . Other platforms,
   trace information for a method or instruction in the virtual tools, and /or techniques may provide equivalent or similar
   machine as it is executed . The destination of trace output 10
   may be system dependent and include a file, a listener, functionalities
                                                                         In   a further
                                                                                        as the above described ones.
                                                                                         example, obtaining instruction sets , data ,
   and / or other destinations where Acquisition Interface 120 , and / or other information       can be implemented through trac
   Artificial Intelligence Unit 110 , and / or other disclosed ele ing or profiling the operating     system on which an application
   ments can access needed information. In addition to tracing
   ortemsprofiling       native
                     tools      to their respective computing  sys- 15 runs . As in tracing  or profiling an application, one of the
            and / or platforms, many independent tools exist that techniques that can be utilized includes adding instrumen
   provide tracing or profiling functionalities on more than one tation code to the operating system's source code . Such
   computing system and /or platform . Examples of these tools instrumentation code can be added to the operating system's
   include Pin , DynamoRIO , KernInst, DynInst , Kprobes, source code before kernel compilation or recompilation, for
   OpenPAT, DTrace , SystemTap , and / or others. Other plat- 20 instance . This type of instrumentation may involve defining
   forms, tools , and / or techniques may provide equivalent or or finding locations in the operating system's source code
   similar functionalities as the above described ones .               where instrumentation code may be inserted . Kernel instru
       In a further example, obtaining instruction sets , data , mentation can also be performed without the need for kernel
   and / or other information can be implemented through log- recompilation or rebooting. In some aspects , instrumenta
   ging tools of the platform and / or operating system on which 25 tion code can be added at locations of interest through binary
   an application runs. Some logging tools may include nearly rewriting of compiled kernel code . In other aspects , kernel
   full feature sets of the tracing or profiling tools previously instrumentation can be performed dynamically where instru
   described . In one example, Visual Basic enables logging of mentation code is added and / or removed where needed at
   runtime messages through its Microsoft.VisualBasic.Log- runtime. For instance, dynamic instrumentation may over
   ging namespace that provides a log listener where the log 30 write kernel code with a branch instruction that redirects
   listener may direct logging output to a file and / or other execution to instrumentation code or instrumentation rou
   target. In another example, Java enables logging through its tine . In yet other aspects , kernel instrumentation can be
   java.util.logging class . In some aspects, obtaining an appli- performed using just - in -time ( JIT ) dynamic instrumentation
   cation's instruction sets , data , and / or other information can   where execution may be redirected to a copy of kernel's
   be implemented through logging capabilities of the operat- 35 code segment that includes instrumentation code . This type
   ing system on which an application runs. For example, of instrumentation may include a JIT compiler and creation
   Windows NT features centralized log service that applica- of a copy of the original code segment having instrumen
   tions and operating -system components can utilize to report tation code or calls to instrumentation routines embedded
   their events including any messages . Windows NT provides into the original code segment. Instrumentation of the oper
   functionalities for system , application, security, and / or other 40 ating system may enable total system visibility including
   logging . An application log may include events logged by visibility into an application's behavior by enabling genera
   applications. Windows NT, for example, may include sup- tion of low level trace information . Other platforms, tools ,
   port for defining an event source (i.e. application that created and / or techniques may provide equivalent or similar func
   the event, etc. ). Windows Vista, for example, supports a tionalities as the above described ones .
   structured XML log - format and designated log types to 45 In a further example, obtaining instruction sets , data ,
   allow applications to more precisely log events and to help         and / or other information can be implemented through trac
   interpret the events . Examples of different types of event         ing or profiling the processor on which an application runs .
   logs include administrative , operational, analytic , debug ,       For example, some Intel processors provide Intel Processor
   and / or other log types including any of their subcategories . Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
   Examples of event attributes that can be utilized include 50 enables recording executed instruction sets, and / or other
   eventID , level , task, opcode , keywords, and / or other event data or information of one or more applications . Intel PT is
   attributes. Windows wevtutil tool enables access to events, facilitated by the Processor Trace Decoder Library along
   their structures, registered event publishers, and / or their with its related tools . Intel PT is a low - overhead execution
   configuration even before the events are fired . Wevtutil tracing feature that records information about application
   supports capabilities such as retrieval of the names of all 55 execution on each hardware thread using dedicated hard
   logs on a computing device; retrieval of configuration infor- ware facilities . The recorded execution / trace information is
   mation for a specific log ; retrieval of event publishers on a collected in data packets that can be buffered internally
   computing device; reading events from an event log , from a before being sent to a memory subsystem or another system
   log file, or using a structured query ; exporting events from or element (i.e. Acquisition Interface 120 , Artificial Intelli
   an event log , from a log file , or using a structured query to 60 gence Unit 110 , etc.). Intel PT also enables navigating the
   a specific target; and /or other capabilities . Operating system recorded execution / trace information via reverse stepping
   logs can be utilized solely if they contain sufficient infor- commands. Intel PT can be included in an operating sys
   mation on an application's instruction sets , data , and / or tem's core files and provided as a feature of the operating
   other information . Alternatively, operating system logs can system . Intel PT can trace globally some or all applications
   be utilized in combination with another source of informa- 65 running on an operating system . Acquisition Interface 120 or
   tion ( i.e. trace information, call stack , processor registers , Artificial Intelligence Unit 110 can read or obtain the
   memory , etc.) to reconstruct the application's instruction         recorded execution / trace information from Intel PT. Other
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   platforms, tools , and / or techniques may provide equivalent platforms, tools , and / or techniques may provide equivalent
   or similar functionalities as the above described ones .         or similar functionalities as the above described ones .
      In a further example, obtaining instruction sets , data,         In a further example, it may be sufficient to obtain user or
   and / or other information can be implemented through 5 other inputs, variables, parameters, and / or other data in
   branch tracing or profiling. Branch tracing may include an some procedural, simple object oriented , or other applica
   abbreviated instruction trace in which only the successful tions . In one instance , a simple procedural application
                                                                    executes a sequence of instruction sets until the end of the
   branch instruction sets are traced or recorded . Branch tracing program
   can be implemented through utilizing dedicated processor user or other    . During its execution , the application may receive
   commands, for example. Executed branches may be saved                           input, store the input in a variable, and perform
   into special branch trace store area of memory. With the 10 calculations       using   the variableto reach a result. The value of
   availability and reference to a compiler listing of the appli the    variable can be obtained or traced . In another instance ,
   cation together with branch trace information, a full path of amoremore complex procedural application comprises one or
   executed instruction sets can be reconstructed . The full path includefunctions
                                                                             a
                                                                                      / routines / subroutines each of which may
                                                                               sequence    of instruction sets . The application may
   can also be reconstructed with a memory dump ( containing 15 execute a main sequence           of instruction sets with a branch to
   the program storage ) and branch trace information . In some a function / routine/ subroutine
   aspects , branch tracing can be utilized for pre - learning or application may receive user or. During          its execution , the
                                                                                                          other input, store the input
   automated learning of an application's instruction sets, data , in a variable, and pass the variable as a parameter to the
   and / or other information where a number of application function / routine / subroutine. The function /routine /subrou
   simulations ( i.e. simulations of likely / common operations, 20 tine may perform calculations using the parameter and
   etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
   be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
   needed to learn the application's operation directed by a function /routine / subroutine, and / or return value can be
   user. Other platforms, tools , and / or techniques may provide obtained or traced . Values of user or other inputs, variables ,
   equivalent or similar functionalities as the above described 25 parameters, and / or other items of interest can be obtained
   ones .                                                           through previously described tracing, instrumentation , and /
      In a further example , obtaining instruction sets , data , or other techniques. Other platforms, tools , and / or tech
   and / or other information can be implemented through niques may provide equivalent or similar functionalities as
   assembly language. Assembly language is a low - level pro-           the above described ones .
   gramming language for a computer or other programmable 30 Referring to FIG . 3 , in yet another example, obtaining
   device in which there is a strong correlation between the instruction sets , data, and / or other information may be
   language and the architecture's machine instruction sets . implemented through tracing, profiling, or sampling of
   Syntax, addressing es , operands , and / or other elements instruction sets or data in processor registers, memory , or
   of an assembly language instruction set may translate other computing system components where instruction sets ,
   directly into numeric (i.e. binary, etc. ) representations of that 35 data, and / or other information may be stored or utilized . For
   particular instruction set . Because of this direct relationship example , Instruction Register 212 may be part of Processor
   with the architecture's machine instruction sets , assembly 11 and it may store the instruction set currently being
   language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
   application's execution in processor registers , memory, and / 211 (also referred to as instruction pointer, instruction
   or other computing system components. For example, using 40 address register, instruction counter, or part of instruction
   assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
   tion can be accessed , instrumented , and /or otherwise set, and it may hold or point to the memory address of the
   manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
   used to rewrite or overwrite original in -memory instruction incrementation precedes the fetch , Program Counter 211
   sets of an application with instrumentation instruction sets . 45 may point to the current instruction set being executed . In
   In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
   application's execution to instrumentation routine/ subrou- Instruction Register 212 after Processor 11 fetches it from
   tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
   ing a jump into the application's in -memory code , by Instruction Register 212 may hold the instruction set while
   redirecting program counter, or by other techniques. Some 50 it is decoded by Instruction Decoder 213 , prepared , and
   operating systems may implement protection from changes executed . In some aspects , data (i.e. operands, etc. ) needed
   to applications loaded into memory. Operating system , pro- for instruction set execution may be loaded from Memory 12
   cessor, or other low level commands such as Linux mprotect into a register within Register Array 214. In other aspects ,
   command or similar commands in other operating systems the data may be loaded directly into Arithmetic Logic Unit
   may be used to unprotect the protected locations in memory 55 215. For instance, as instruction sets pass through Instruc
   before the change . In yet other aspects , assembly language tion Register 212 during application execution , they may be
   can be used to obtain instruction sets , data, and / or other transmitted to Acquisition Interface 120 as shown. Examples
   information through accessing and / or reading instruction of the steps in execution of a machine instruction set may
   register, program counter, other processor registers , memory include decoding the opcode ( i.e. portion of a machine
   locations, and / or other components of a computing system . 60 instruction set that may specify the operation to be per
   In yet other aspects , high -level programming languages may formed ), determining where the operands may be located
   call or execute an external assembly language program to ( depending on architecture, operands may be in registers, the
   facilitate obtaining instruction sets, data, and / or other infor- stack , memory, I/ O ports, etc. ), retrieving the operands,
   mation as previously described . In yet other aspects , rela- allocating processor resources to execute the instruction set
   tively low - level programming languages such as C may 65 ( needed in some types of processors ) , performing the opera
   allow embedding assembly language directly in their source tion indicated by the instruction set, saving the results of
   code such as , for example, using asm keyword of C. Other execution, and / or other execution steps . Examples of the
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   types of machine instruction sets that can be utilized include performed on the inputs. Logic Circuit 250 may generally be
   arithmetic, data handling, logical , program control, as well implemented using transistors , diodes , and / or other elec
   as special and / or other instruction set types. In addition to tronic switches , but can also be constructed using vacuum
   the ones described or shown , examples of other computing 5 tubes , electromagnetic relays ( relay logic ) , fluidic logic ,
   system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
   instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
   that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
   or written to ; memory data register ( MDR) that may hold ( FPGA ), application -specific integrated circuit (ASIC ) , and /
   data fetched from memory or data waiting to be stored in
   memory ; data registers that may hold numeric values , char- 10 or   other computing circuit or device . In other aspects , Logic
                                                                     Circuit 250 may be or include any circuit or device com
   acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors , one
   may hold addresses used by instruction sets that indirectly or more switches
   access memory ; general purpose registers (GPRS ) that may nents . In further , aspects
                                                                                        and /or one or more other logic compo
                                                                                               , Logic Circuit 250 may be or
   store both data and addresses ; conditional registers that may
   hold truth values often used to determine whether some 15 include any integrated or other circuit or device that can
   instruction set should or should not be executed ; floating perform logic operations. Logic may generally refer to
   point registers (FPRs ) that may store floating point numbers; Boolean logic utilized in binary operations, but other logics
   constant registers that may hold read - only values such as can also be used . Input into Logic Circuit 250 may include
   zero , one, or pi ; special purpose registers ( SPRs ) such as or refer to a value inputted into the Logic Circuit 250 ,
   status register, program counter, or stack pointer that may 20 therefore, these terms may be used interchangeably herein
   hold information on program state ; machine -specific regis- depending on context. In one example , Logic Circuit 250
   ters that may store data and settings related to a particular       may perform some logic operations using four input values
   processor; Register Array 214 that may include an array of          and produce two output values . As the four input values are
   any number of processor registers; Arithmetic Logic Unit            delivered to or received by Logic Circuit 250 , they may be
   215 that may perform arithmetic and logic operations; 25 obtained by Acquisition Interface 120 through the four
   control unit that may direct processor's operation ; and / or       hardwired connections as shown in FIG . 4A . In another
   other circuits or components. Tracing, profiling, or sampling example , Logic Circuit 250 may perform some logic opera
   of processor registers, memory, or other computing system tions using four input values and produce two output values .
   components can be implemented in a program , combination As the two output values are generated by or transmitted out
   of hardware and program , or purely hardware system . Dedi- 30 of Logic Circuit 250 , they may be obtained by Acquisition
   cated hardware may be built to perform tracing , profiling, or Interface 120 through the two hardwired connections as
   sampling of processor registers or any computing system shown in FIG . 4B . In a further example, instead of or in
   components with marginal or no impact to computing over- addition to obtaining input and / or output values of Logic
   head .                                                            Circuit 250 , the state of Logic Circuit 250 may be obtained
       One of ordinary skill in art will recognize that FIG . 3 35 by reading or accessing values from one or more Logic
   depicts one of many implementations of processor or com- Circuit's 250 internal components such as registers, memo
   puting system components, and that various additional com- ries, buses , and / or others ( i.e. similar to the previously
   ponents can be included , or some of the disclosed ones can described tracing, profiling, and / or sampling of Processor 11
   be excluded , or a combination thereof can be utilized in components, etc. ) . Tracing, profiling, or sampling of Logic
   alternate implementations. Processor or computing system 40 Circuit 250 can be implemented in a program , combination
   components may be arranged or connected differently in of hardware and program , or purely hardware system . Dedi
   alternate implementations. Processor or computing system cated hardware may be built to perform tracing, profiling or
   components may also be connected with external elements sampling of Logic Circuit 250 with marginal or no impact to
   using various connections. For instance, the connection computing overhead. Any of the elements and / or techniques
   between Instruction Register 212 and Acquisition Interface 45 for tracing, profiling, or sampling of Logic Circuit 250 can
   120 may include any number or types of connections such similarly be implemented with Processor 11 and/ or other
   as , for example, a dedicated connection for each bit of processing elements . In some designs , VSADO Unit 100
   Instruction Register 212 (i.e. 32 connections for a 32 bit may include clamps and / or other elements to attach VSADO
   Instruction Register 212 , etc. ) . Any of the described or other Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
   connections or interfaces may be implemented among any 50 (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
   processor or computing system components and Acquisition and / or attachment elements enable seamless attachment of
   Interface 120 or other elements .                                 VSADO Unit 100 to any circuit or computing device
       Referring to FIGS . 4A - 4B , in yet another example, without the need to redesign or alter the circuit or computing
   obtaining instruction sets , data , and / or other information device .
   may be implemented through tracing, profiling, or sampling 55 In some embodiments, VSADO Unit 100 may learn input
   of Logic Circuit 250. While Processor 11 includes any type values directly from an actuator (previously described, not
   or embodiment of logic circuit, Logic Circuit 250 is shown ). For example, Logic Circuit 250 or other processing
   described separately here to offer additional detail on its element may control an actuator that enables Device 98 to
   functioning. Some Devices 98 may not need the processing perform mechanical, physical, and /or other operations. An
   capabilities of an entire Processor 11 , but instead a more 60 actuator may receive one or more input values or control
   tailored Logic Circuit 250. Examples of such Devices 98 signals from Logic Circuit 250 or other processing element
   include home appliances, audio or video electronics, vehicle directing the actuator to perform specific operations.As one
   systems , toys , industrial machines , robots , and / or others. or more input values or control signals are delivered to or
   Logic Circuit 250 comprises the functionality for perform- received by the actuator, they may be obtained by Acquisi
   ing logic operations. Logic Circuit 250 comprises the func- 65 tion Interface 120 as previously described with respect to
   tionality for performing logic operations using the circuit's obtaining input values of Logic Circuit 250. Specifically, for
   inputs and producing outputs based on the logic operations instance, one or more input values or control signals of an
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   actuator may be obtained by Acquisition Interface 120 via capturing or receiving of Digital Picture 525. In other
   hardwired or other connections .                                 embodiments, the system can obtain Extra Info 527 at a time
      One of ordinary skill in art will recognize that FIGS . of acquisition of Instruction Set 526. In general, the system
   4A - 4B depict one of many implementations of Logic Circuit or any element thereof can obtain Extra Info 527 at any time .
   250 and that any number of input and / or output values can 5 Examples of Extra Info 527 include time information , loca
   be utilized in alternate implementations. One of ordinary tion information, computed information , observed informa
   skill in art will also recognize that Logic Circuit 250 may tion , sensory information, contextual information , and /or
   include any number and / or combination of logic compo- other information. Any information can be utilized that can
   nents to implement any logic operations.                         provide information for enhanced comparisons or decision
      Other additional techniques or elements may be utilized 10 making performed in autonomous device operation . Which
   as needed for obtaining instruction sets , data , and / or other information is utilized and /or stored in Extra Info 527 can be
   information, or some of the disclosed techniques or elements set by a user, by VSADO system administrator, or automati
   may be excluded, or a combination thereof may be utilized cally by the system . Extra Info 527 may include or be
   in alternate embodiments .                                       referred to as contextual information , and vice versa . There
      Referring to FIGS . 5A - 5C , some embodiments of Instruc- 15 fore, these terms may be used interchangeably herein
   tion Sets 526 are illustrated . In some aspects , Instruction Set     depending on context.
   526 includes one or more instructions or commands of                    In some aspects , time information ( i.e. time stamp, etc.)
   Application Program 18. For example , Instruction Set 526             can be utilized and / or stored in Extra Info 527. Time
   may include one or more instructions or commands of a                 information can be useful in comparisons or decision mak
   high - level programming language such as Java or SQL , a 20 ing performed in autonomous device operation related to a
   low - level language such as assembly or machine language , specific time period as Device 98 may be required to
   an intermediate language or construct such as bytecode, perform specific operations at certain parts of day, month ,
   and / or any other language or construct. In other aspects , year, and / or other time periods. Time information can be
   Instruction Set 526 includes one or more inputs into and / or obtained from the system clock, online clock , oscillator, or
   outputs from Logic Circuit 250 , Processor 11 , Application 25 other time source . In one example, a thermostat device may
   Program 18 , and / or other processing element. In further be directed to turn heat on in the morning and / or turn heat
   aspects , Instruction Set 526 includes one or more values or off during the day. In a further example, a personal computer
   states of registers and / or other components of Logic Circuit device may be directed to start or stop an application
   250 , Processor 11 , and / or other processing element. In program or process on a particular day of the month . In
   general, Instruction Set 526 may include one or more 30 general, Extra Info 527 may include time information
   instructions, commands, keywords, symbols ( i.e. parenthe- related to when Device 98 performed an operation. In other
   ses, brackets , commas, semicolons , etc. ) , operators ( i.e. = , < , aspects , location information (i.e. coordinates, address, etc.)
   >, etc.), var es , values , objects, data structures, functions        can be utilized and / or stored in Extra Info 527. Location
   ( i.e. Function1 ( ) , FIRSTO ) , MIN ( ) , SQRT ( ), etc. ) , param- information can be useful in comparisons or decision mak
   eters , states , signals, inputs, outputs, characters, digits, ref- 35 ing performed in autonomous device operation related to a
   erences thereto , and / or other components for performing an specific place as Device 98 may be required to perform
   operation .                                                            specific operations at certain places . Location information
       In an embodiment shown in FIG . 5A , Instruction Set 526 can be obtained from a positioning system ( i.e. radio signal
   includes code of a high - level programming language ( i.e. triangulation in smartphones or tablets, GPS capabilities ,
   Java, C ++ , etc. ) comprising the following function call 40 etc. ) if one is available . In one example, a smartphone device
   construct: Function1 (Parameter , Parameter2 , may be directed to engage a vibrate mode in a school or
   Parameter3, .. ). An example of a function call applying the house of worship . In another example, a vehicle may be
   above construct includes the following Instruction Set 526 : directed to turn right at a particular road crossing . In general,
   moveTo ( Object1, 29 , 17 ) . The function or reference thereto Extra Info 527 may include location information related to
   “ moveTo (Object1, 29 , 17 )” may be an Instruction Set 526 45 where Device 98 performed an operation . In further aspects ,
   directing Object1 to move to a location with coordinates 29 computed information can be utilized and / or stored in Extra
   and 17 , for example. In another embodiment shown in FIG . Info 527. Computed information can be useful in compari
   5B , Instruction Set 526 includes structured query language sons or decision making performed in autonomous device
   ( SQL ) . In a further embodiment shown in FIG . 5C , Instruc- operation where information can be calculated , inferred , or
   tion Set 526 includes bytecode ( i.e. Java bytecode , Python 50 derived from other available information. VSADO Unit 100
   bytecode, CLR bytecode , etc. ) . In a further embodiment may include computational functionalities to create Extra
   shown in FIG . 5D , Instruction Set 526 includes assembly Info 527 by performing calculations or inferences using
   code . In a further embodiment shown in FIG . 5E , Instruction other information . In one example , Device's 98 speed can be
   Set 526 includes machine code.                                         computed or estimated from the Device's 98 location and / or
       Referring to FIGS . 6A - 6B , some embodiments of Extra 55 time information . In another example, Device's 98 bearing
   Information 527 ( also referred to as Extra Info 527 ) are (i.e. angle or direction of movement, etc.) can be computed
   illustrated . In an embodiment shown in FIG . 6A , Digital or estimated from the Device's 98 location information by
   Picture 525 may include or be associated with Extra Info utilizing Pythagorean theorem , trigonometry, and / or other
   527. In an embodiment shown in FIG . 6B , Instruction Set theorems, formulas, or disciplines. In a further example ,
   526 may include or be associated with Extra Info 527 . 60 speeds , bearings, distances , and / or other properties of
       Extra Info 527 comprises the functionality for storing any objects around Device 98 can similarly be computed or
   information useful in comparisons or decision making per- inferred , thereby providing geo - spatial and situational
   formed in autonomous device operation , and / or other func-          awareness and / or capabilities to the Device 98. In further
   tionalities. One or more Extra Infos 527 can be stored in ,           aspects , observed information can be utilized and / or stored
   appended to , or associated with a Digital Picture 525 , 65 in Extra Info 527. Observed information can be useful in
   Instruction Set 526 , and / or other element. In some embodi-         comparisons or decision making performed in autonomous
   ments, the system can obtain Extra Info 527 at a time of              device operation related to a specific object or environment
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   as Device 98 may be required to perform certain operations be or include any type or form of a remote computing device
   around specific objects or in specific environments. For such as an application server, a network service server , a
   example , an object or environment can be recognized by cloud server, a cloud , and / or other remote computing device .
   processing one or more Digital Pictures 525 from Picture Server 96 may include any features, functionalities, and
   Capturing Apparatus 90. Any features, functionalities, and 5 embodiments of the previously described Computing
   embodiments of Picture Recognizer 350 ( later described ) Device 70. It should be understood that Server 96 does not
   can be utilized for such recognizing. In one example , book have to be a separate computing device and that Server 96 ,
   shelves recognized in the background of one or more Digital its elements, or its functionalities can be implemented on
   Pictures 525 from Picture Capturing Apparatus 90 may Device 98. Network 95 may include various networks,
   indicate a library or book store . In another example, trees 10 connection types , protocols , interfaces, APIs , and / or other
   recognized in the background of one or more Digital Pic- elements or techniques known in art all of which are within
   tures 525 from Picture Capturing Apparatus 90 may indicate the scope of this disclosure . Any of the previously described
   a park . In a further example, a pedestrian recognized in one networks, network or connection types, networking inter
   or more Digital Pictures 525 from Picture Capturing Appa- faces, and /or other networking elements or techniques can
   ratus 90 may indicate a street . In further aspects , sensory 15 similarly be utilized . Any of the disclosed elements may
   information can be utilized and / or stored in Extra Info 527 . reside on Server 96 in alternate implementations. In one
   Examples of sensory information include acoustic informa- example , Artificial Intelligence Unit 110 can reside on
   tion, visual information , tactile information, and / or others. Server 96 and Acquisition Interface 120 and / or Modification
   Sensory information can be useful in comparisons or deci- Interface 130 can reside on Device 98. In another example,
   sion making performed in autonomous device operation 20 Knowledgebase 530 can reside on Server 96 and the rest of
   related to a specific object or environment as Device 98 may the elements of VSADO Unit 100 can reside on Device 98 .
   be required to perform certain operations around specific Any other combination of local and remote elements can be
   objects or in specific environments . For example, an object implemented.
   or environment can be recognized by processing digital               Referring to FIG . 9 , an embodiment where Picture Cap
   sound from a sound capturing apparatus (i.e. microphone, 25 turing Apparatus 90 is part of Remote Device 97 accessible
   etc. , not shown ). Any features, functionalities, and embodi-    over Network 95 is illustrated . In such embodiments ,
   ments of a speech or sound recognizer (not shown) can be          VSADO Unit 100 may learn Device's 98 operation based on
   utilized for such recognizing. In one example, sound of           another device's visual surrounding. Such embodiments can
   waves recognized in digital sound from a sound capturing          be utilized , for instance , in any situation where one device
   apparatus may indicate a beach . In another example, sound 30 controls ( i.e. remote control, etc. ) another device, any situ
   of a horn recognized in digital sound from a sound capturing ation where some or all of the processing is on one device
   apparatus may indicate a proximal vehicle. In some designs and picture capturing capabilities are on another device ,
   where acoustic information includes one or more digital and / or other situations. In one example, a drone controlling
   sound samples of Device's 98 surrounding captured by a device (i.e. Device 98 ) may receive its visual input from a
   sound capturing apparatus, the digital sound samples can be 35 camera on the drone (i.e. Remote Device 97 ) . In another
   learned and / or used similar to Digital Pictures 525 of example, a toy controlling device (i.e. Device 98 ) may
   Device's 98 visual surrounding. In such designs , both Digi- receive its visual input from a camera on the toy (i.e. Remote
   tal Pictures 525 and digital sound samples of a device's Device 97 ) . In a further example, a people or crowd ana
   surrounding can be learned and / or used for autonomous lyzing computing device ( i.e. Device 98 ) may receive its
   device operation. In further aspects , other information can 40 visual input from a camera of a monitoring device (i.e.
   be utilized and/ or stored in Extra Info 527. Examples of such Remote Device 97 ) . Any of the disclosed elements in
   other information include user specific information ( i.e. skill addition to Picture Capturing Apparatus 90 may reside on
   level , age , gender, etc. ) , group user information ( i.e. access Remote Device 97 in alternate implementations as previ
   level , etc. ) , version of Application Program 18 , the type of ously described with respect to Server 96 .
   Application Program 18 , the type of Processor 11 , the type 45 Referring to FIG . 10 , an embodiment of VSADO Unit 100
   of Logic Circuit 250 , the type of Device 98 , and / or other comprising Picture Recognizer 350 is illustrated. VSADO
   information .                                                       Unit 100 can utilize Picture Recognizer 350 to detect or
      Referring to FIG . 7 , an embodiment where VSADO Unit recognize persons, objects, and / or their activities in one or
   100 is part of or operating on Processor 11 is illustrated . In more digital pictures from Picture Capturing Apparatus 90 .
   one example, VSADO Unit 100 may be a hardware element 50 In general, VSADO Unit 100 and / or other disclosed ele
   or circuit embedded or built into Processor 11. In another ments can use Picture Recognizer 350 for any operation
   example , VSADO Unit 100 may be a program operating on supported by Picture Recognizer 350. Picture Recognizer
   Processor 11 .                                                  350 comprises the functionality for detecting or recognizing
      Referring to FIG . 8 , an embodiment where VSADO Unit persons or objects in visual data . Picture Recognizer 350
   100 resides on Server 96 accessible over Network 95 is 55 comprises the functionality for detecting or recognizing
   illustrated . Any number of Devices 98 may connect to such activities in visual data . Picture Recognizer 350 comprises
   remote VSADO Unit 100 and the remote VSADO Unit 100 the functionality for tracking persons , objects, and / or their
   may learn their operations in various visual surroundings. In activities in visual data . Picture Recognizer 350 comprises
   turn , any number of Devices 98 can utilize the remote other disclosed functionalities. Visual data includes digital
   VSADO Unit 100 for autonomous operation. A remote 60 motion pictures, digital still pictures (i.e. bitmaps, etc.),
   VSADO Unit 100 can be offered as a network service ( i.e. and / or other visual data. Examples of file formats that can be
   online application, etc. ). In some aspects , a remote VSADO utilized to store visual data include AVI, DivX , MPEG ,
   Unit 100 ( i.e. global VSADO Unit 100 , etc. ) may reside on JPEG , GIF, TIFF, PNG , PDF, and / or other file formats .
   the Internet and be available to all the world's Devices 98 Picture Recognizer 350 may detect or recognize a person
   configured to transmit their operations in various visual 65 and / or his /her activities as well as track the person and /or
   surroundings and / or configured to utilize the remote his / her activities in one or more digital pictures or streams
   VSADO Unit 100 for autonomous operation. Server 96 may of digital pictures ( i.e. motion pictures , video , etc. ) . Picture
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   Recognizer 350 may detect or recognize a human head or              Picture Recognizer 350 include convolutional neural net
   face, upper body, full body, or portions/combinations works (CNNs ), time delay neural networks ( TDNNs), deep
   thereof. In some aspects , Picture Recognizer 350 may detect neural networks , and / or others . In one example, picture
   or recognize persons , objects, and / or their activities from a recognition techniques and /or tools involving convolutional
   digital picture by comparing regions of pixels from the 5 neural networks may include identifying and /or analyzing
   digital picture with collections of pixels comprising known tiled and / or overlapping regions or features of a digital
   persons, objects, and / or their activities . The collections of picture, which may then be used to search for pictures with
   pixels comprising known persons , objects, and / or their matching regions or features. In another example, features of
   activities can be learned or manually , programmatically , or different convolutional neural networks responsible for spa
   otherwise defined . The collections of pixels comprising 10 tial and temporal streams can be fused to detect persons ,
   known persons, objects, and /or their activities can be stored objects, and / or their activities in streams of digital pictures
   in any data structure or repository (i.e. one or more files , (i.e. motion pictures, videos , etc. ). In general, Picture Rec
   database, etc. ) that resides locally on Device 98 , or remotely ognizer 350 may include any machine learning, deep learn
   on a remote computing device ( i.e. server , cloud , etc.) ing , and / or other artificial intelligence techniques. Any other
   accessible over a network . In other aspects , Picture Recog- 15 techniques known in art can be utilized in Picture Recog
   nizer 350 may detect or recognize persons, objects, and / or nizer 350. For example , thresholds for similarity, statistical ,
   their activities from a digital picture by comparing features and/ or optimization techniques can be utilized to determine
   ( i.e. lines , edges, ridges, corners , blobs , regions, etc. ) of the a match in any of the above -described detection or recog
   digital picture with features of known persons, objects, nition techniques. Picture Recognizer 350 comprises any
   and / or their activities . The features of known persons , 20 features , functionalities , and embodiments of Similarity
   objects, and /or their activities can be learned or manually, Comparison 125 (later described ).
   programmatically , or otherwise defined . The features of                In some exemplary embodiments, object recognition tech
   known persons, objects, and / or their activities can be stored niques and / or tools such as OpenCV ( Open Source Com
   in any data structure or repository (i.e. neural network , one puter Vision ) library, CamFind API , Kooaba, 6px API ,
   or more files , database , etc.) that resides locally on Device 25 Dextro API , and /or others can be utilized for detecting or
   98 , or remotely on a remote computing device ( i.e. server , recognizing objects ( i.e. objects, animals , people , etc.) in
   cloud, etc. ) accessible over a network . Typical steps or digital pictures . In some aspects , object recognition tech
   elements in a feature oriented picture recognition include niques and / or tools involve identifying and / or analyzing
   pre -processing, feature extraction , detection /segmentation , object features such as lines , edges, ridges, corners , blobs ,
   decision -making , and / or others, or a combination thereof, 30 regions, and / or their relative positions , sizes , shapes , etc.,
   each of which may include its own sub - steps or sub- which may then be used to search for pictures with matching
   elements depending on the application. In further aspects , features. For example, OpenCV library can detect an object
   Picture Recognizer 350 may detect or recognize multiple (i.e. car , pedestrian, door, building, animal, person , etc. ) in
   persons, objects, and / or their activities from a digital picture one or more digital pictures captured by Picture Capturing
   using the aforementioned pixel or feature comparisons, 35 Apparatus 90 or stored in an electronic repository, which can
   and / or other detection or recognition techniques. For then be utilized in VSADO Unit 100, Artificial Intelligence
   example, a picture may depict two persons in two of its Unit 110 , and /or other elements .
   regions both of whom Picture Recognizer 350 can detect                   In other exemplary embodiments, facial recognition tech
   simultaneously. In further aspects , where persons , objects , niques and / or tools such as OpenCV ( Open Source Com
   and / or their activities span multiple pictures, Picture Rec- 40 puter Vision ) library, Animetrics FaceR API , Lambda Labs
   ognizer 350 may detect or recognize persons , objects, and / or Facial Recognition API , Face ++ SDK , Neven Vision ( also
   their activities by applying the aforementioned pixel or known as N - Vision ) Engine, and / or others can be utilized for
   feature comparisons and / or other detection or recognition detecting or recognizing faces in digital pictures. In some
   techniques over a stream of digital pictures (i.e. motion aspects , facial recognition techniques and / or tools involve
   picture, video, etc. ) . For example, once a person is detected 45 identifying and / or analyzing facial features such as the
   in a digital picture (i.e. frame, etc.) of a stream of digital relative position , size , and / or shape of the eyes , nose ,
   pictures (i.e. motion picture , video, etc. ) , the region of pixels cheekbones, jaw , etc. , which may then be used to search for
   comprising the detected person or the person's features can pictures with matching features. For example, FaceR API
   be searched in other pictures of the stream of digital pictures, can detect a person's face in one or more digital pictures
   thereby tracking the person through the stream of digital 50 captured by Picture Capturing Apparatus 90 or stored in an
   pictures. In further aspects , Picture Recognizer 350 may electronic repository, which can then be utilized in VSADO
   detect or recognize a person's activities by identifying Unit 100 , Artificial Intelligence Unit 110 , and / or other
   and / or analyzing differences between a detected region of elements .
   pixels of one picture (i.e. frame, etc. ) and detected regions           Referring to FIG . 11 , an embodiment of Artificial Intel
   of pixels of other pictures in a stream of digital pictures. For 55 ligence Unit 110 is illustrated . Artificial Intelligence Unit
   example , a region of pixels comprising a person's face can 110 comprises interconnected Knowledge Structuring Unit
   be detected in multiple consecutive pictures of a stream of 520 , Knowledgebase 530 , Decision - making Unit 540 , and
   digital pictures ( i.e. motion picture , video , etc. ). Differences Confirmation Unit 550. Other additional elements can be
   among the detected regions of the consecutive pictures may included as needed , or some of the disclosed ones can be
   be identified in the mouth part of the person's face to 60 excluded , or a combination thereof can be utilized in alter
   indicate smiling or speaking activity. Any technique for nate embodiments.
   recognizing speech from mouth / lip movements can be used          Artificial Intelligence Unit 110 comprises the functional
   in this and other examples. In further aspects , Picture ity for learning Device's 98 operation in various visual
   Recognizer 350 may detect or recognize persons , objects , surroundings. Artificial Intelligence Unit 110 comprises the
   and / or their activities using one or more artificial neural 65 functionality for learning one or more digital pictures cor
   networks, which may include statistical techniques . related with any instruction sets, data, and / or other infor
   Examples of artificial neural networks that can be used in mation . In some aspects , Artificial Intelligence Unit 110
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   comprises the functionality for learning one or more Digital execute . User 50 may be provided with an interface (i.e.
   Pictures 525 of Device's 98 surrounding correlated with any graphical user interface , etc. ) to rate (i.e. on a scale from 0
   Instruction Sets 526 and /or Extra Info 527. In other aspects , to 1 , etc. ) how well Decision -making Unit 540 predicted the
   Artificial Intelligence Unit 110 comprises the functionality executed anticipatory Instruction Sets 526. In some aspects ,
   for learning one or more Digital Pictures 525 of Device's 98 5 rating can be automatic and based on a particular function or
   surrounding some of which may not be correlated with any            method that rates how well the anticipatory Instruction Sets
   Instruction Sets 526 and / or Extra Info 527. Further, Artificial   526 matched the desired operation . In one example, a rating
   Intelligence Unit 110 comprises the functionality for antici-   function or method can assign a higher rating to anticipatory
   pating Device's 98 operation in various visual surroundings.    Instruction Sets 526 that were least modified in the confir
   Artificial Intelligence Unit 110 comprises the functionality 10 mation process . In another example, a rating function or
   for anticipating one or more instruction sets , data , and / or     method can assign a higher rating to anticipatory Instruction
   other information . Artificial Intelligence Unit 110 comprises      Sets 526 that were canceled least number of times by User
   the functionality for anticipating one or more Instruction          50. Any other automatic rating function or method can be
   Sets 526 based on one or more incoming Digital Pictures             utilized . In yet other embodiments, Confirmation Unit 550
   525 of Device's 98 surrounding. Artificial Intelligence Unit 15 can serve as a means of canceling anticipatory Instruction
   110 comprises the functionality for anticipating one or more Sets 526 if they did not match User's 50 intended operation.
   Instruction Sets 526 to be used or executed in Device's 98          For example, Decision -making Unit 540 may determine one
   autonomous operation. Artificial Intelligence Unit 110 also         or more anticipatory Instruction Sets 526 , which the system
   comprises other disclosed functionalities.                may automatically execute . The system may save the state of
     Knowledge Structuring Unit 520 , Knowledgebase 530 , 20 Device 98 , Processor 11 ( save its register values , etc. ) , Logic
   and Decision -making Unit 540 are described later.               Circuit 250 , Application Program 18 ( i.e. save its variables ,
      Confirmation Unit 550 comprises the functionality for data structures, objects, location of its current instruction ,
   confirming, modifying, evaluating ( .e . rating, etc. ), and /or etc. ) , and / or other processing elements before executing
   canceling one or more anticipatory Instruction Sets 526 , anticipatory Instruction Sets 526. User 50 may be provided
   and / or other functionalities . Confirmation Unit 550 is an 25 with an interface (i.e. graphical user interface, selectable list
   optional element that can be omitted depending on imple- of prior executed anticipatory Instruction Sets 526 , etc. ) to
   mentation . In some embodiments , Confirmation Unit 550             cancel one or more of the prior executed anticipatory
   can serve as a means of confirming anticipatory Instruction         Instruction Sets 526 , and restore Device 98 , Processor 11 ,
   Sets 526. For example, Decision -making Unit 540 may Logic Circuit 250 , Application Program 18 , and / or other
   determine one or more anticipatory Instruction Sets 526 and 30 processing elements to a prior state . In some aspects , Con
   provide them to User 50 for confirmation . User 50 may be firmation Unit 550 can optionally be disabled or omitted in
   provided with an interface (i.e. graphical user interface, order to provide an uninterrupted operation of Device 98 ,
   selectable list of anticipatory Instruction Sets 526 , etc. ) to Processor 11 , Logic Circuit 250 , and / or Application Pro
   approve or confirm execution of the anticipatory Instruction gram 18. For example, a microwave oven may be suitable
   Sets 526. In some aspects , Confirmation Unit 550 can 35 for implementing the user confirmation step , whereas, a
   automate User 50 confirmation. In one example , if one or robot or vehicle may be less suitable for implementing such
   more incoming Digital Pictures 525 from Picture Capturing interrupting step due to the real time nature of robot or
   Apparatus 90 and one or more Digital Pictures 525 from a vehicle operation.
   Knowledge Cell 800 were found to be a perfect or highly            Referring to FIG . 12 , an embodiment of Knowledge
   similar match , anticipatory Instruction Sets 526 correlated 40 Structuring Unit 520 correlating individual Digital Pictures
   with the one or more Digital Pictures 525 from the Knowl- 525 with any Instruction Sets 526 and / or Extra Info 527 is
   edge Cell 800 can be automatically executed without User's illustrated . Knowledge Structuring Unit 520 comprises the
   50 confirmation . Conversely, if one or more incoming               functionality for structuring the knowledge of a device's
   Digital Pictures 525 from Picture Capturing Apparatus 90            operation in various visual surroundings, and / or other func
   and one or more Digital Pictures 525 from a Knowledge Cell 45 tionalities . Knowledge Structuring Unit 520 comprises the
   800 were found to be less than a highly similar match , functionality for correlating one or more Digital Pictures
   anticipatory Instruction Sets 526 correlated with the one or 525 of Device's 98 surrounding with any Instruction Sets
   more Digital Pictures 525 from the Knowledge Cell 800 can 526 and / or Extra Info 527. Knowledge Structuring Unit 520
   be presented to User 50 for confirmation and / or modifying. comprises the functionality for creating or generating
   A threshold that defines a highly or otherwise similar match 50 Knowledge Cell 800 and storing one or more Digital Pic
   can be utilized in such implementations. Such threshold can tures 525 correlated with any Instruction Sets 526 and / or
   be defined by a user, by VSADO system administrator, or Extra Info 527 into the Knowledge Cell 800. As such ,
   automatically by the system based on experience , testing, Knowledge Cell 800 comprises the functionality for storing
   inquiry, analysis , synthesis, or other techniques, knowledge, one or more Digital Pictures 525 correlated with any Instruc
   or input. In other embodiments, Confirmation Unit 550 can 55 tion Sets 526 and / or Extra Info 527. Knowledge Cell 800
   serve as a means of modifying or editing anticipatory includes a unit of knowledge of how Device 98 operated in
   Instruction Sets 526. For example , Decision - making Unit a visual surrounding. Once created or generated, Knowledge
   540 may determine one or more anticipatory Instruction Sets Cells 800 can be used in / as neurons, nodes, vertices, or other
   526 and provide them to User 50 for modification . User 50 elements in any of the data structures or arrangements ( i.e.
   may be provided with an interface ( i.e. graphical user 60 neural networks, graphs, sequences, etc. ) used for storing the
   interface, etc.) to modify the anticipatory Instruction Sets knowledge of Device's 98 operation in various visual sur
   526 before their execution . In further embodiments, Con- roundings, thereby facilitating learning functionalities
   firmation Unit 550 can serve as a means of evaluating or herein . It should be noted that Extra Info 527 may be
   rating anticipatory Instruction Sets 526 if they matched optionally used in some implementations to enable enhanced
   User's 50 intended operation. For example, Decision mak-
                                                          -    65 comparisons or decision making in autonomous device
   ing Unit 540 may determine one or more anticipatory operation where applicable, and that Extra Info 527 can be
   Instruction Sets 526 , which the system may automatically           omitted in alternate implementations.
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     In some embodiments, Knowledge Structuring Unit 520                 correspond to a Digital Picture 525 may include Instruction
   receives one or more Digital Pictures 525 from Picture                Sets 526 used and / or Extra Info 527 obtained within 50
   Capturing Apparatus 90. Knowledge Structuring Unit 520                milliseconds , 1 second, 3 seconds , 20 seconds , 1 minute , 41
   may also receive one or more Instruction Sets 526 from minutes, 2 hours, or any other time period before and / or after
   Acquisition Interface 120. Knowledge Structuring Unit 520 5 capturing the Digital Picture 525. Such time periods can be
   may further receive any Extra Info 527. Although , Extra Info defined by a user, by VSADO system administrator, or
   527 is not shown in this and / or other figures for clarity of automatically by the system based on experience , testing,
   illustration, it should be noted that any Digital Picture 525 , inquiry, analysis , synthesis, or other techniques, knowledge,
   Instruction Set 526 , and / or other element may include or be or input. In other aspects , Instruction Sets 526 and / or Extra
   associated with Extra Info 527. Knowledge Structuring Unit 10 Info 527 that temporally correspond to a Digital Picture 525
   520 may correlate one or more Digital Pictures 525 with any may include Instruction Sets 526 used and / or Extra Info 527
   Instruction Sets 526 and / or Extra Info 527. Knowledge obtained from the time of capturing of the Digital Picture
   Structuring Unit 520 may then create Knowledge Cell 800 525 to the time of capturing of a next Digital Picture 525. In
   and store the one or more Digital Pictures 525 correlated further aspects , Instruction Sets 526 and / or Extra Info 527
   with Instruction Sets 526 and/or Extra Info 527       into the 15 that temporally correspond to a Digital Picture 525 may
   Knowledge Cell 800. Knowledge Cell 800 may include any include Instruction Sets 526 used and / or Extra Info 527
   data structure or arrangement that can facilitate such storing . obtained from the time of capturing of a previous Digital
   For example, Knowledge Structuring Unit 520 may create Picture 525 to the time of capturing of the Digital Picture
   Knowledge Cell 800ax and structure within it Digital Picture 525. Any other temporal relationship or correspondence
   525al correlated with Instruction Sets 526a1-526a3 and /or 20 between Digital Pictures 525 and correlated Instruction Sets
   any Extra Info 527 (not shown) . Knowledge Structuring 526 and / or Extra Info 527 can be implemented .
   Unit 520 may further structure within Knowledge Cell                  In some embodiments, Knowledge Structuring Unit 520
   800ax a Digital Picture 525a2 correlated with Instruction Set can structure the knowledge of Device's 98 operation in a
   526a4 and / or any Extra Info 527 ( not shown ). Knowledge visual surrounding into any number of Knowledge Cells
   Structuring Unit 520 may further structure within Knowl- 25 800. In some aspects , Knowledge Structuring Unit 520 can
   edge Cell 800ax a Digital Picture 525a3 without a correlated structure into a Knowledge Cell 800 a single Digital Picture
   Instruction Set 526 and /or Extra Info 527. Knowledge 525 correlated with any Instruction Sets 526 and / or Extra
   Structuring Unit 520 may further structure within Knowl- Info 527. In other aspects , Knowledge Structuring Unit 520
   edge Cell 800ax a Digital Picture 525a4 correlated with can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
   Instruction Sets 526a5-526a6 and / or any Extra Info 527 ( not 30 3 , 5 , 8 , 19 , 33 , 99 , 1715 , 21822 , 393477 , 6122805 , etc.) of
   shown ). Knowledge Structuring Unit 520 may further struc- Digital Pictures 525 correlated with any Instruction Sets 526
   ture within Knowledge Cell 800ax a Digital Picture 525a5 and / or Extra Info 527. In a special case , Knowledge Struc
   without a correlated Instruction Set 526 and / or Extra Info turing Unit 520 can structure all Digital Pictures 525 cor
   527. Knowledge Structuring Unit 520 may structure within related with any Instruction Sets 526 and / or Extra Info 527
   Knowledge Cell 800ax additional Digital Pictures 525 cor- 35 into a single long Knowledge Cell 800. In further aspects ,
   related with any number ( including zero [ i.e. uncorrelated ]) Knowledge Structuring Unit 520 can structure Digital Pic
   of Instruction Sets 526 and / or Extra Info 527 by following tures 525 correlated with any Instruction Sets 526 and / or
   the same logic as described above .                          Extra Info 527 into a plurality of Knowledge Cells 800. In
     In some embodiments, Knowledge Structuring Unit 520 a special case , Knowledge Structuring Unit 520 can store
   may correlate a Digital Picture 525 with one or more 40 periodic streams of Digital Pictures 525 correlated with any
   temporally corresponding Instruction Sets 526 and /or Extra Instruction Sets 526 and /or Extra Info 527 into a plurality of
   Info 527. This way, Knowledge Structuring Unit 520 can Knowledge Cells 800 such as hourly, daily, weekly, monthly ,
   structure the knowledge of Device's 98 operation at or yearly, or other periodic Knowledge Cells 800 .
   around the time of the capturing of Digital Pictures 525 of     In some embodiments, Knowledge Structuring Unit 520
   Device's 98 surrounding. Such functionality enables spon- 45 may be responsive to a triggering object, action, event, time ,
   taneous or seamless learning of Device's 98 operation in and /or other stimulus. In some aspects , the system can detect
   various visual surroundings as user operates the device in or recognize an object in Device's 98 visual surrounding ,
   real life situations . In some designs, Knowledge Structuring and Knowledge Structuring Unit 520 can structure into a
   Unit 520 may receive a stream of Instruction Sets 526 used Knowledge Cell 800 one or more Digital Pictures 525
   or executed to effect Device's 98 operations as well as a 50 correlated with any Instruction Sets 526 and / or Extra Info
   stream of Digital Pictures 525 of Device's 98 surrounding as 527 related to the object. For example , Knowledge Struc
   the operations are performed. Knowledge Structuring Unit turing Unit 520 can structure into a Knowledge Cell 800 one
   520 can then correlate Digital Pictures 525 from the stream or more Digital Pictures 525 of a pizza from a microwave
   of Digital Pictures 525 with temporally corresponding oven ( i.e. Device 98 , etc. ) correlated with any Instruction
   Instruction Sets 526 from the stream of Instruction Sets 526 55 Sets 526 ( i.e. inputs , outputs, or states of the microwave
   and / or any Extra Info 527. Digital Pictures 525 without a oven's microcontroller, etc.) causing the microwave oven to
   temporally corresponding Instruction Set 526 may be uncor- bake the pizza . Knowledge Structuring Unit 520 can also
   related , for instance . In some aspects , Instruction Sets 526 structure into the Knowledge Cell 800 any Extra Info 527
   and / or Extra Info 527 that temporally correspond to a Digital (i.e. time , location, computed, observed , sensory , and / or
   Picture 525 may include Instruction Sets 526 used and / or 60 other information , etc. ) . In other aspects , the system can
   Extra Info 527 obtained at the time of capturing the Digital detect or recognize a specific action or operation performed
   Picture 525. In other aspects , Instruction Sets 526 and /or by Device 98 , and Knowledge Structuring Unit 520 can
   Extra Info 527 that temporally correspond to a Digital structure into a Knowledge Cell 800 one or more Digital
   Picture 525 may include Instruction Sets 526 used and / or Pictures 525 correlated with any Instruction Sets 526 and /or
   Extra Info 527 obtained within a certain time period before 65 Extra Info 527 related to the action or operation. For
   and / or after capturing the Digital Picture 525. For example, example, Knowledge Structuring Unit 520 can structure into
   Instruction Sets 526 and / or Extra Info 527 that temporally a Knowledge Cell 800 one or more Digital Pictures 525
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   depicting screwing of a screw by a robotic arm ( i.e. Device        operation. In some designs where multiple processing ele
   98 , etc. ) correlated with any Instruction Sets 526 causing the ments are utilized, multiple VSADO Units 100 can also be
   robotic arm to screw the screw . Knowledge Structuring Unit utilized (i.e. one VSADO Unit 100 for each processing
   520 can also structure into the Knowledge Cell 800 any element, etc. ) . Digital Pictures 525 of Device's 98 surround
   Extra Info 527 (i.e. time , location , computed , observed , 5 ing can be correlated with any Instruction Sets 526 and / or
   sensory, and / or other information , etc. ) . In further aspects , Extra Info 527 as previously described . In other designs
   the system can detect a person in Device's 98 visual sur- where multiple processing elements are utilized, Digital
   rounding, and Knowledge Structuring Unit 520 can structure Pictures 525 of Device's 98 surrounding can be correlated
   into a Knowledge Cell 800 one or more Digital Pictures 525 with any collective Instruction Sets 526 and /or Extra Info
   correlated with any Instruction Sets 526 and /or Extra Info 10 527 used or executed by a plurality of processing elements.
   527 related to the person . For example, Knowledge Struc-             Any combination of the aforementioned multiple Picture
   turing Unit 520 can structure into a Knowledge Cell 800 one Capturing Apparatuses 90 , multiple processing elements,
   or more Digital Pictures 525 of a pedestrian in front of a and / or other elements can be implemented in alternate
   vehicle ( i.e. Device 98 , etc.) correlated with any Instruction embodiments.
   Sets 526 causing the vehicle to stop . Knowledge Structuring 15 Referring to FIG . 13 , another embodiment of Knowledge
   Unit 520 can also structure into the Knowledge Cell 800 any Structuring Unit 520 correlating individual Digital Pictures
   Extra Info 527 (i.e. time , location , computed, observed , 525 with any Instruction Sets 526 and / or Extra Info 527 is
   sensory, and / or other information , etc. ) . In further aspects , illustrated . In such embodiments, Knowledge Structuring
   the system can detect or recognize a significant change in          Unit 520 may generate Knowledge Cells 800 each compris
   Device's 98 visual surrounding, and Knowledge Structuring 20 ing a single Digital Picture 525 correlated with any Instruc
   Unit 520 can structure into a Knowledge Cell 800 one or             tion Sets 526 and / or Extra Info 527 .
   more Digital Pictures 525 correlated with any Instruction              Referring to FIG . 14 , an embodiment of Knowledge
   Sets 526 and / or Extra Info 527 related to the change in visual Structuring Unit 520 correlating streams of Digital Pictures
   surrounding. For example, the system can detect a vehicle's 525 with any Instruction Sets 526 and /or Extra Info 527 is
   ( i.e. Device 98 , etc. ) changing direction ( .e. turning left, 25 illustrated . In some aspects , a stream of Digital Pictures 525
   right, etc. ) and Knowledge Structuring Unit 520 can struc- may include a collection , a group , a sequence , or other
   ture into a Knowledge Cell 800 one or more Digital Pictures         plurality of Digital Pictures 525. In other aspects , a stream
   525 correlated with any Instruction Sets 526 causing the            of Digital Pictures 525 may include one or more Digital
   change of direction . Knowledge Structuring Unit 520 can Pictures 525. In further aspects , a stream of Digital Pictures
   also structure into the Knowledge Cell 800 any Extra Info 30 525 may include a digital motion picture (i.e. digital video ,
   527 (i.e. time , location, computed , observed , sensory , and / or etc. ) or portion thereof. For example, Knowledge Structur
   other information , etc. ) . A vehicle's changing direction may ing Unit 520 may create Knowledge Cell 800ax and struc
   be detected as a significant change in the vehicle's visual ture within it a stream of Digital Pictures 525a1-525an
   surrounding as the view of the vehicle's scenery changes correlated with Instruction Set 526al and / or any Extra Info
   significantly. Any features, functionalities, and embodi- 35 527 ( not shown ). Knowledge Structuring Unit 520 may
   ments of Picture Recognizer 350 can be utilized in the further structure within Knowledge Cell 800ax a stream of
   aforementioned detecting or recognizing. In general, Digital Pictures 525b1-525bn correlated with Instruction
   Knowledge Structuring Unit 520 can structure into a Knowl- Sets 526a2-526a4 and / or and Extra Info 527 (not shown ).
   edge Cell 800 any Digital Pictures 525 correlated with any Knowledge Structuring Unit 520 may further structure
   Instruction Sets 526 and / or Extra Info 527 related to any 40 within Knowledge Cell 800ax a stream of Digital Pictures
   triggering object, action , event, time , and /or other stimulus . 525c1-525cn without correlated Instruction Sets 526 and / or
      In some embodiments, Device 98 may include a plurality Extra Info 527. Knowledge Structuring Unit 520 may fur
   of Picture Capturing Apparatuses 90. In one example, dif- ther structure within Knowledge Cell 800ax a stream of
   ferent Picture Capturing Apparatuses 90 may capture Digital Digital Pictures 525d1-525dn correlated with Instruction
   Pictures 525 of different angles or sides of Device 98. In 45 Sets 526a5-526a6 and / or any Extra Info 527 ( not shown ).
   another example , different Picture Capturing Apparatuses 90 Knowledge Structuring Unit 520 may further structure
   may be placed on different sub - devices, sub - systems , or within Knowledge Cell 800ax additional streams of Digital
   elements of Device 98. Using multiple Picture Capturing Pictures 525 correlated with any number (including zero [ i.e.
   Apparatuses 90 may provide additional visual detail in uncorrelated ]) of Instruction Sets 526 and / or Extra Info 527
   learning and /or using Device's 98 surrounding for autono- 50 by following the same logic as described above . The number
   mous Device 98 operation . In some designs where multiple of Digital Pictures 525 in some or all streams of Digital
   Picture Capturing Apparatuses 90 are utilized , multiple Pictures 525a1-525an , 525b1-525bn , etc. may be equal or
   VSADO Units 100 can also be utilized (i.e. one VSADO          different. It should be noted that n or other such letters or
   Unit 100 for each Picture Capturing Apparatus 90 , etc. ) . indicia may follow the sequence and / or context where they
   Digital Pictures 525 of Device's 98 surrounding can be 55 are indicated .Also , a same letter or indicia such as n may
   correlated with any Instruction Sets 526 and / or Extra Info represent a different number in different elements of a
   527 as previously described . In other designs where multiple drawing.
   Picture Capturing Apparatuses 90 are utilized, collective        Referring to FIG . 15 , another embodiment of Knowledge
   Digital Pictures 525 of Device's 98 surrounding from mul- Structuring Unit 520 correlating streams of Digital Pictures
   tiple Picture Capturing Apparatuses 90 can be correlated 60 525 with any Instruction Sets 526 and / or Extra Info 527 is
   with any Instruction Sets 526 and / or Extra Info 527 .           illustrated . In such embodiments, Knowledge Structuring
      In some embodiments, Device 98 may include a plurality Unit 520 may generate Knowledge Cells 800 each compris
   of Logic Circuits 250 , Processors 11 , Application Programs ing a single stream of Digital Pictures 525 correlated with
   18 , and / or other processing elements . For example, each any Instruction Sets 526 and / or Extra Info 527 .
   processing element may control a sub -device, sub - system , or 65 Knowledgebase 530 comprises the functionality for stor
   an element of Device 98. Using multiple processing ele- ing the knowledge of a device's operation in various visual
   ments may provide enhanced control over Device's 98 surroundings, and / or other functionalities. Knowledgebase
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   530 comprises the functionality for storing one or more operation may include a neural network ( also referred to as
   Digital Pictures 525 of Device's 98 surrounding correlated artificial neural network, etc. ). As such, machine learning,
   with any Instruction Sets 526 and / or Extra Info 527. Knowl- knowledge structuring or representation , decision making,
   edgebase 530 comprises the functionality for storing one or pattern recognition, and /or other artificial intelligence func
   more Knowledge Cells 800 each including one or more 5 tionalities may include a network of Nodes 852 ( also
   Digital Pictures 525 of Device's 98 surrounding correlated referred to as neurons, etc. ) and Connections 853 similar to
   with any Instruction Sets 526 and / or Extra Info 527. In some that of a brain . Node 852 can store any data , object, data
   aspects , Digital Pictures 525 correlated with Instruction Sets structure, and /or other item , or reference thereto . Node 852
   526 and / or Extra Info 527 can be stored directly within may also include a function for transforming or manipulat
   Knowledgebase 530 without using Knowledge Cells 800 as 10 ing any data , object , data structure, and /or other item .
   the intermediary data structures. In some embodiments , Examples of such transformation functions include math
   Knowledgebase 530 may be or include Neural Network ematical functions (i.e. addition , subtraction , multiplication ,
   530a ( later described ). In other embodiments, Knowledge- division , sin , cos , log , derivative, integral, etc. ), object
   base 530 may be or include Graph 530b ( later described ). In manipulation functions ( i.e. creating an object, modifying an
   further embodiments, Knowledgebase 530 may be or 15 object, deleting an object, appending objects, etc. ) , data
   include Collection of Sequences 530c ( later described ). In structure manipulation functions ( i.e. creating a data struc
   further embodiments, Knowledgebase 530 may be or                  ture , modifying a data structure , deleting a data structure,
   include Sequence 533 (later described ). In further embodi-       creating a data field , modifying a data field , deleting a data
   ments , Knowledgebase 530 may be or include Collection of         field, etc. ) , and / or other transformation functions. Connec
   Knowledge Cells 530d ( later described ). In general, Knowl- 20 tion 853 may include or be associated with a value such as
   edgebase 530 may be or include any data structure or a symbolic label or numeric attribute (i.e. weight, cost ,
   arrangement capable of storing the knowledge of a device's capacity, length , etc. ) . A computational model can be uti
   operation in various visual surroundings. Knowledgebase lized to compute values from inputs based on a pre -pro
   530 may reside locally on Device 98 , or remotely ( i.e. grammed or learned function or method . For example, a
   remote Knowledgebase 530 , etc. ) on a remote computing 25 neural network may include one or more input neurons that
   device ( i.e. server, cloud , etc.) accessible over a network . can be activated by inputs. Activations of these neurons can
     Knowledgebase 530 from one Device 98 or VSADO Unit             then be passed on, weighted , and transformed by a function
   100 can be transferred to one or more other Devices 98 or         to other neurons. Neural networks may range from those
   VSADO Units 100. Therefore, the knowledge of Device's             with only one layer of single direction logic to multi-layer of
   98 operation in various visual surroundings learned on one 30 multi-directional feedback loops . A neural network can use
   Device 98 or VSADO Unit 100 can be transferred to one or weights to change the parameters of the network's through
   more other Devices 98 or VSADO Units 100. In one put. A neural network can learn by input from its environ
   example , Knowledgebase 530 can be copied or downloaded ment or from self - teaching using written -in rules . A neural
   to a file or other repository from one Device 98 or VSADO network can be utilized as a predictive modeling approach in
   Unit 100 and loaded or inserted into another Device 98 or 35 machine learning. An exemplary embodiment of a neural
   VSADO Unit 100. In another example, Knowledgebase 530 network ( i.e. Neural Network 530a , etc.) is described later.
   from one Device 98 or VSADO Unit 100 can be available           In another example shown in Model B , the disclosed
   on a server accessible by other Devices 98 or VSADO Units artificially intelligent systems , devices, and methods for
   100 over a network . Once loaded into or accessed by a learning and / or using visual surrounding for autonomous
   receiving Device 98 or VSADO Unit 100 , the receiving 40 device operation may include a graph or graph - like data
   Device 98 or VSADO Unit 100 can then implement the structure . As such , machine learning, knowledge structuring
   knowledge of Device's 98 operation in various visual sur- or representation , decision making, pattern recognition , and /
   roundings learned on the originating Device 98 or VSADO or other artificial intelligence functionalities may include
   Unit 100. This functionality enables User 50 such as a Nodes 852 ( also referred to as vertices or points, etc. ) and
   professional Device 98 operator to record his / her knowl- 45 Connections 853 (also referred to as edges, arrows, lines ,
   edge, methodology, or style of operating Device 98 in arcs, etc. ) organized as a graph. In general, any Node 852 in
   various visual surroundings and / or sell his /her knowledge to a graph can be connected to any other Node 852. A Con
   other users .                                                     nection 853 may include unordered pair of Nodes 852 in an
      Referring to FIG . 16 , the disclosed artificially intelligent undirected graph or ordered pair of Nodes 852 in a directed
   systems , devices , and methods for learning and / or using 50 graph. Nodes 852 can be part of the graph structure or
   visual surrounding for autonomous device operation may external entities represented by indices or references. A
   include various artificial intelligence models and / or tech- graph can be utilized as a predictive modeling approach in
   niques . The disclosed systems, devices , and methods are machine learning. Nodes 852 , Connections 853 , and / or other
   independent of the artificial intelligence model and / or tech- elements or operations of a graph may include any features,
   nique used and any model and / or technique can be utilized 55 functionalities, and embodiments of the aforementioned
   to facilitate the functionalities described herein . Examples of Nodes 852 , Connections 853 , and / or other elements or
   these models and / or techniques include deep learning,           operations of a neural network , and vice versa . An exem
   supervised learning, unsupervised learning, neural networks       plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
   ( i.e. convolutional neural network , recurrent neural network , described later.
   deep neural network , etc. ), search -based , logic and /or fuzzy 60 In a further example shown in Model C , the disclosed
   logic -based, optimization -based, tree /graph /other data struc- artificially intelligent systems, devices , and methods for
   ture -based, hierarchical, symbolic and / or sub - symbolic, learning and / or using visual surrounding for autonomous
   evolutionary, genetic, multi -agent, deterministic , probabilis- device operation may include a tree or tree - like data struc
   tic , statistical , and / or other models and / or techniques.   ture . As such, machine learning, knowledge structuring or
       In one example shown in Model A , the disclosed artifi- 65 representation, decision making, pattern recognition , and / or
   cially intelligent systems , devices , and methods for learning other artificial intelligence functionalities may include
   and / or using visual surrounding for autonomous device Nodes 852 and Connections 853 ( also referred to as refer
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   ences, edges , etc.) organized as a tree . In general, a Node further example, the disclosed systems , devices, and meth
   852 in a tree can be connected to any number ( i.e. including ods may include a probabilistic model and / or technique. As
   zero , etc. ) of children Nodes 852. A tree can be utilized as such , machine learning, knowledge structuring or represen
   a predictive modeling approach in machine learning. Nodes tation , decision making, pattern recognition , and / or other
   852 , Connections 853 , and / or other elements or operations 5 artificial intelligence functionalities can be implemented to
   of a tree may include any features, functionalities, and operate with incomplete or uncertain information where
   embodiments of the aforementioned Nodes 852 , Connec- probabilities may affect outcomes . Bayesian network,
   tions 853 , and / or other elements or operations of a neural among other models, is an example of a probabilistic tool
   network and / or graph , and vice versa .                          used for purposes such as reasoning, learning, planning,
      In a further example shown in Model D , the disclosed 10 perception , and / or others . One of ordinary skill in art will
   artificially intelligent systems , devices, and methods for understand that the aforementioned artificial intelligence
   learning and / or using visual surrounding for autonomous models and /or techniques are described merely as examples
   device operation may include a sequence or sequence - like of a variety of possible implementations, and that while all
   data structure . As such , machine learning, knowledge struc- possible artificial intelligence models and / or techniques are
   turing or representation , decision making, pattern recogni- 15 too voluminous to describe, other artificial intelligence
   tion, and /or other artificial intelligence functionalities may models and / or techniques known in art are within the scope
   include a structure of Nodes 852 and / or Connections 853 of this disclosure . One of ordinary skill in art will also
   organized as a sequence . In some aspects , Connections 853 recognize that an intelligent system may solve a specific
   may be optionally omitted from a sequence as the sequential problem by using any model and/or technique that works
   order of Nodes 852 in a sequence may be implied in the 20 such as , for example , some systems can be symbolic and
   structure . A sequence can be utilized as a predictive mod- logical , some can be sub - symbolic neural networks, some
   eling approach in machine learning. Nodes 852 , Connec- can be deterministic or probabilistic, some can be hierar
   tions 853 , and /or other elements or operations of a sequence chical, some may include searching techniques, some may
   may include any features, functionalities, and embodiments include optimization techniques, while others may use other
   of the aforementioned Nodes 852 , Connections 853 , and / or 25 or a combination of models and / or techniques. In general,
   other elements or operations of a neural network , graph , any artificial intelligence model and / or technique can be
   and / or tree , and vice versa. An exemplary embodiment of a utilized that can facilitate the functionalities described
   sequence (i.e. Collection of Sequences 530c , Sequence 533 , herein .
   etc. ) is described later.                                           Referring to FIGS . 17A - 17C , embodiments of intercon
      In yet another example , the disclosed artificially intelli- 30 nected Knowledge Cells 800 and updating weights of Con
   gent systems , devices, and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
   visual surrounding for autonomous device operation may 17A , Knowledge Cell 800za is connected to Knowledge
   include a search -based model and / or technique. As such , Cell 800zb and Knowledge Cell 800zc by Connection 853z1
   machine learning, knowledge structuring or representation, and Connection 853z2 , respectively. Each of Connection
   decision making, pattern recognition, and / or other artificial 35 853zl and Connection 853z2 may include or be associated
   intelligence functionalities may include searching through a with occurrence count, weight, and / or other parameter or
   collection of possible solutions . For example, a search data . The number of occurrences may track or store the
   method can search through a neural network , graph , tree , number of observations that a Knowledge Cell 800 was
   sequence , or other data structure that includes data elements followed by another Knowledge Cell 800 indicating a con
   of interest .A search may use heuristics to limit the search for 40 nection or relationship between them . For example, Knowl
   solutions by eliminating choices that are unlikely to lead to edge Cell 800za was followed by Knowledge Cell 800zb 10
   the goal . Heuristic techniques may provide a best guess times as indicated by the number of occurrences of Con
   solution . A search can also include optimization. For nection 853zl . Also , Knowledge Cell 800za was followed
   example, a search may begin with a guess and then refine the by Knowledge Cell 800zc times as indicated by the number
   guess incrementally until no more refinements can be made . 45 of occurrences of Connection 853z2 . The weight of Con
   In a further example, the disclosed systems , devices , and nection 853zl can be calculated or determined as the number
   methods may include logic -based model and / or technique. of occurrences of Connection 853zl divided by the sum of
   As such , machine learning, knowledge structuring or repre- occurrences of all connections (i.e. Connection 853z1 and
   sentation , decision making , pattern recognition, and / or other Connection 853z2 , etc. ) originating from Knowledge Cell
   artificial intelligence functionalities can use formal or other 50 800za . Therefore, the weight of Connection 853zl can be
   type of logic . Logic based models may involve making calculated or determined as 10 / ( 10 + 15 ) = 0.4 , for example.
   inferences or deriving conclusions from a set ofpremises.As Also , the weight of Connection 853z2 can be calculated or
   such , a logic based system can extend existing knowledge or determined as 15 / ( 10 + 15 ) = 0.6 , for example. Therefore, the
   create new knowledge automatically using inferences. sum of weights of Connection 853z1 , Connection 853z2 ,
   Examples of the types of logic that can be utilized include 55 and /or any other Connections 853 originating from Knowl
   propositional or sentential logic that comprises logic of edge Cell 800za may equal to 1 or 100% . As shown for
   statements which can be true or false; first - order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
   allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
   express facts about objects, their properties, and their rela- 800zd follows Knowledge Cell 800za, Connection 853z3
   tions with each other; fuzzy logic that allows degrees of truth 60 can be created between Knowledge Cell 800za and Knowl
   to be represented as a value between 0 and 1 rather than edge Cell 800zd . The occurrence count of Connection 853z3
   simply 0 ( false ) or 1 ( true ), which can be used for uncertain can be set to 1 and weight determined as 1 / ( 10 + 15 + 1 ) =
   reasoning; subjective logic that comprises a type of proba- 0.038 . The weights of all other connections (i.e. Connection
   bilistic logic that may take uncertainty and belief into 853z1 , Connection 853z2 , etc.) originating from Knowledge
   account, which can be suitable for modeling and analyzing 65 Cell 800za may be updated to account for the creation of
   situations involving uncertainty, incomplete knowledge and Connection 853z3 . Therefore , the weight of Connection
   different world views ; and / or other types of logic . In a 853z1 can be updated as 10 / ( 10 + 15 + 1 ) = 0.385. The weight
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   of Connection 853z2 can also be updated as 15 /( 10 + 15 + 1 )= Collection of Knowledge Cells 530d . In the case that a
   0.577 . As shown for example in FIG . 17C , in the case that substantially similar match is not found , the system may
   an additional occurrence of Connection 853z1 is observed insert a new Knowledge Cell 800 into Collection of Knowl
   ( i.e. Knowledge Cell 800zb followed Knowledge Cell edge Cells 530d and copy Knowledge Cell 800bb into the
   800za , etc. ) , occurrence count of Connection 853z1 and 5 inserted new Knowledge Cell 800. The system can then
   weights of all connections (i.e. Connection 853z1 , Connec- perform Similarity Comparisons 125 of Knowledge Cell
   tion 853z2 , and Connection 853z3 , etc. ) originating from 800bc from Knowledge Structuring Unit 520 with Knowl
   Knowledge Cell 800za may be updated to account for this edge Cells 800 in Collection of Knowledge Cells 530d . In
   observation . The occurrence count of Connection 853zl can the case that a substantially similar match is found between
   be increased by 1 and its weight updated as 11 / ( 11 + 15 + 1 ) = 10 Knowledge Cell 800bc and any of the Knowledge Cells 800
   0.407 . The weight of Connection 853z2 can also be updated in Collection of Knowledge Cells 530d , the system may
   as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection 853z3 perform no action . The system can then perform Similarity
   can also be updated as 1 / ( 11 + 15 + 1 ) =0.037 .                   Comparisons 125 of Knowledge Cell 800bd from Knowl
       Referring to FIG . 18 , an embodiment of learning Knowl- edge Structuring Unit 520 with Knowledge Cells 800 in
   edge Cells 800 comprising one or more Digital Pictures 525 15 Collection of Knowledge Cells 530d. In the case that a
   correlated with any Instruction Sets 526 and / or Extra Info substantially similar match is not found , the system may
   527 using Collection of Knowledge Cells 530d is illustrated . insert a new Knowledge Cell 800 into Collection of Knowl
   Collection of Knowledge Cells 530d comprises the func- edge Cells 530d and copy Knowledge Cell 800bd into the
   tionality for storing any number of Knowledge Cells 800. In inserted new Knowledge Cell 800. The system can then
   some aspects , Knowledge Cells 800 may be stored into or 20 perform Similarity Comparisons 125 of Knowledge Cell
   applied onto Collection of Knowledge Cells 530d in a 800be from Knowledge Structuring Unit 520 with Knowl
   learning or training process . In effect, Collection of Knowl- edge Cells 800 in Collection of Knowledge Cells 530d . In
   edge Cells 530d may store Knowledge Cells 800 that can the case that a substantially similar match is not found, the
   later be used to enable autonomous Device 98 operation. In system may insert a new Knowledge Cell 800 into Collec
   some embodiments, Knowledge Structuring Unit 520 struc- 25 tion of Knowledge Cells 530d and copy Knowledge Cell
   tures or generates Knowledge Cells 800 as previously 800be into the inserted new Knowledge Cell 800. Applying
   described and the system applies them onto Collection of any additional Knowledge Cells 800 from Knowledge Struc
   Knowledge Cells 530d , thereby implementing learning turing Unit 520 onto Collection of Knowledge Cells 530d
   Device's 98 operation in various visual surroundings. The follows similar logic or process as the above - described .
   term apply or applying may refer to storing, copying, 30 Referring to FIG . 19 , an embodiment of learning Knowl
   inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Digital Pictures 525
   terms may be used interchangeably herein depending on correlated with any Instruction Sets 526 and / or Extra Info
   context. The system can perform Similarity Comparisons 527 using Neural Network 530a is illustrated . Neural Net
   125 ( later described ) of a newly structured Knowledge Cell      work 530a includes a number of neurons or Nodes 852
   800 from Knowledge Structuring Unit 520 with Knowledge 35 interconnected by Connections 853 as previously described .
   Cells 800 in Collection of Knowledge Cells 530d . If a Knowledge Cells 800 are shown instead of Nodes 852 to
   substantially similar Knowledge Cell 800 is not found in simplify the illustration as Node 852 includes a Knowledge
   Collection of Knowledge Cells 530d, the system may insert Cell 800 , for example. Therefore, Knowledge Cells 800 and
   ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl- Nodes 852 can be used interchangeably herein depending on
   edge Structuring Unit 520 into Collection of Knowledge 40 context. It should be noted that Node 852 may include other
   Cells 530d, for example . On the other hand , if a substantially elements and / or functionalities instead of or in addition to
   similar Knowledge Cell 800 is found in Collection of Knowledge Cell 800. In some aspects , Knowledge Cells 800
   Knowledge Cells 530d, the system may optionally omit may be stored into or applied onto Neural Network 530a
   inserting the Knowledge Cell 800 from Knowledge Struc-            individually or collectively in a learning or training process.
   turing Unit 520 as inserting a substantially similar Knowl- 45 In some designs , Neural Network 530a comprises a number
   edge Cell 800 may not add much or any additional knowl- of Layers 854 each of which may include one or more
   edge to the Collection of Knowledge Cells 530d, for Knowledge Cells 800. Knowledge Cells 800 in successive
   example . Also , inserting a substantially similar Knowledge Layers 854 can be connected by Connections 853. Connec
   Cell 800 can optionally be omitted to save storage resources tion 853 may include or be associated with occurrence
   and limit the number of Knowledge Cells 800 that may later 50 count, weight, and / or other parameter or data as previously
   need to be processed or compared. Any features, function- described . Neural Network 530a may include any number of
   alities , and embodiments of Similarity Comparison 125 , Layers 854 comprising any number of Knowledge Cells
   importance index (later described ), similarity index ( later 800. In some aspects , Neural Network 530a may store
   described ), and / or other disclosed elements can be utilized Knowledge Cells 800 interconnected by Connections 853
   to facilitate determination of substantial or other similarity 55 where following a path through the Neural Network 530a
   and whether to insert a newly structured Knowledge Cell can later be used to enable autonomous Device 98 operation .
   800 into Collection of Knowledge Cells 530d .                     It should be understood that, in some embodiments, Knowl
      For example , the system can perform Similarity Com-           edge Cells 800 in one Layer 854 of Neural Network 530a
   parisons 125 ( later described ) of Knowledge Cell 800ba          need not be connected only with Knowledge Cells 800 in a
   from Knowledge Structuring Unit 520 with Knowledge 60 successive Layer 854 , but also in any other Layer 854 ,
   Cells 800 in Collection of Knowledge Cells 530d. In the thereby creating shortcuts ( i.e. shortcut Connections 853 ,
   case that a substantially similar match is found between etc. ) through Neural Network 530a . A Knowledge Cell 800
   Knowledge Cell 800ba and any of the Knowledge Cells 800 can also be connected to itself such as , for example , in
   in Collection of Knowledge Cells 530d, the system may recurrent neural networks. In general, any Knowledge Cell
   perform no action . The system can then perform Similarity 65 800 can be connected with any other Knowledge Cell 800
   Comparisons 125 of Knowledge Cell 800bb from Knowl- anywhere else in Neural Network 530a . In further embodi
   edge Structuring Unit 520 with Knowledge Cells 800 in ments, back -propagation of any data or information can be
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   implemented. In one example, back -propagation of similar- Connection 853e2 between Knowledge Cell 800eb and
   ity ( i.e. similarity index , etc. ) of compared Knowledge Cells Knowledge Cell 800ec with occurrence count of 1 and
   800 in a path through Neural Network 530a can be imple- weight calculated based on the occurrence count as previ
   mented . In another example, back -propagation of errors can ously described . The system may also update weights of
   be implemented. Such back -propagations can then be used 5 other Connections 853 ( one in this example ) originating
   to adjust occurrence counts and / or weights of Connections from Knowledge Cell 800eb as previously described . The
   853 for better future predictions, for example . Any other system can then perform Similarity Comparisons 125 of
   back -propagation can be implemented for other purposes . Knowledge Cell 800bd from Knowledge Structuring Unit
   Any combination of Nodes 852 (i.e. Nodes 852 comprising 520 with Knowledge Cells 800 in Layer 854d of Neural
   Knowledge Cells 800 , etc. ) , Connections 853 , Layers 854 , 10 Network 530a . In the case that a substantially similar match
   and / or other elements or techniques can be implemented in is not found, the system may insert Knowledge Cell 800ed
   alternate embodiments. Neural Network 530a may include into Layer 854d and copy Knowledge Cell 800bd into the
   any type or form of a neural network known in art such as inserted Knowledge Cell 800ed. The system may also create
   a feed - forward neural network, a back -propagating neural Connection 853e3 between Knowledge Cell 800ec and
   network , a recurrent neural network, a convolutional neural 15 Knowledge Cell 800ed with occurrence count of 1 and
   network , deep neural network , and / or others including a weight of 1. The system can then perform Similarity Com
   custom neural network .                                          parisons 125 of Knowledge Cell 800be from Knowledge
      In some embodiments, Knowledge Structuring Unit 520 Structuring Unit 520 with Knowledge Cells 800 in Layer
   structures or generates Knowledge Cells 800 and the system 854e of Neural Network 530a . In the case that a substan
   applies them onto Neural Network 530a , thereby imple- 20 tially similar match is not found, the system may insert
   menting learning Device's 98 operation in various visual Knowledge Cell 800ee into Layer 854e and copy Knowl
   surroundings. The system can perform Similarity Compari- edge Cell 800be into the inserted Knowledge Cell 800ee .
   sons 125 ( later described ) of a Knowledge Cell 800 from The system may also create Connection 853e4 between
   Knowledge Structuring Unit 520 with Knowledge Cells 800 Knowledge Cell 800ed and Knowledge Cell 800ee with
   in a corresponding Layer 854 of Neural Network 530a . If a 25 occurrence count of 1 and weight of 1. Applying any
   substantially similar Knowledge Cell 800 is not found in the additional Knowledge Cells 800 from Knowledge Structur
   corresponding Layer 854 of Neural Network 530a , the ing Unit 520 onto Neural Network 530a follows similar
   system may insert (i.e. copy, store, etc. ) the Knowledge Cell logic or process as the above -described.
   800 from Knowledge Structuring Unit 520 into the corre-             Similarity Comparison 125 comprises the functionality
   sponding Layer 854 of Neural Network 530a , and create a 30 for comparing or matching Knowledge Cells 800 or portions
   Connection 853 to the inserted Knowledge Cell 800 from a thereof, and / or other functionalities. Similarity Comparison
   Knowledge Cell 800 in a prior Layer 854 including assign- 125 comprises the functionality for comparing or matching
   ing an occurrence count to the new Connection 3 , calcu- Digital Pictures 525 or portions thereof. Similarity Com
   lating a weight of the new Connection 853 , and updating any parison 125 comprises the functionality for comparing or
   other   Connections 853 originating from the Knowledge Cell 35 matching streams of Digital Pictures 525 or portions thereof.
   800 in the prior Layer 854. On the other hand, if a substan- Similarity Comparison 125 comprises the functionality for
   tially similar Knowledge Cell 800 is found in the corre- comparing or matching Instruction Sets 526 , Extra Info 527 ,
   sponding Layer 854 of Neural Network 530a , the system text ( i.e. characters, words , phrases, etc. ) , pictures, sounds ,
   may update occurrence count and weight of Connection 853 data , and / or other elements or portions thereof. Similarity
   to that Knowledge Cell 800 from a Knowledge Cell 800 in 40 Comparison 125 may include functions, rules, and / or logic
   a prior Layer 854 , and update any other Connections 853 for performing matching or comparisons and for determin
   originating from the Knowledge Cell 800 in the prior Layer ing that while a perfect match is not found, a similar or
   854 .                                                            partial match has been found . In some aspects , Similarity
      For example, the system can perform Similarity Com- Comparison 125 may include determining substantial simi
   parisons 125 ( later described ) of Knowledge Cell 800ba 45 larity or substantial match of compared elements. In other
   from Knowledge Structuring Unit 520 with Knowledge aspects , a partial match may include a substantial or other
   Cells 800 in Layer 854a ofNeural Network 530a . In the case wise similar match , and vice versa . Although , substantial
   that a substantially similar match is found between Knowl- similarity or substantial match is frequently used herein, it
   edge Cell 800ba and Knowledge Cell 800ea , the system may should be understood that any level of similarity, however
   perform no action since Knowledge Cell 800ea is the initial 50 high or low , may be utilized as defined by the rules (i.e.
   Knowledge Cell 800. The system can then perform Simi- thresholds, etc. ) for similarity . The rules for similarity or
   larity Comparisons 125 of Knowledge Cell 800bb from similar match can be defined by a user, by VSADO system
   Knowledge Structuring Unit 520 with Knowledge Cells 800 administrator, or automatically by the system based on
   in Layer 854b of Neural Network 530a . In the case that a experience, testing , inquiry, analysis, synthesis, or other
   substantially similar match is found between Knowledge 55 techniques, knowledge, or input. In some designs , Similarity
   Cell 800bb and Knowledge Cell 800eb , the system may Comparison 125 comprises the functionality to automati
   update occurrence count and weight of Connection 853e1 cally define appropriately strict rules for determining simi
   between Knowledge Cell 800ea and Knowledge Cell 800eb , larity of the compared elements. Similarity Comparison 125
   and update weights of other Connections 853 originating can therefore set , reset , and / or adjust the strictness of the
   from Knowledge Cell 800ea as previously described. The 60 rules for finding or determining similarity of the compared
   system can then perform Similarity Comparisons 125 of elements, thereby fine tuning Similarity Comparison 125 so
   Knowledge Cell 800bc from Knowledge Structuring Unit that the rules for determining similarity are appropriately
   520 with Knowledge Cells 800 in Layer 854c of Neural strict. In some aspects, the rules for determining similarity
   Network 530a . In the case that a substantially similar match may include a similarity threshold . As such , Similarity
   is not found , the system may insert Knowledge Cell 800ec 65 Comparison 125 can determine similarity of compared ele
   into Layer 854c and copy Knowledge Cell 800bc into the ments if their similarity exceeds a similarity threshold . In
   inserted Knowledge Cell 800ec . The system may also create other aspects , the rules for determining similarity may
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   include a difference threshold . As such , Similarity Compari- further aspects , substantial similarity can be achieved when
   son 125 can determine similarity of compared elements if all but a threshold number or percentage of Digital Pictures
   their difference is lower than a difference threshold . In 525 or portions thereof of the compared Knowledge Cells
   further aspects , the rules for determining similarity may 800 match or substantially match . Such thresholds can be
   include other thresholds.                                     5 defined by a user, by VSADO system administrator, or
      In some embodiments, in determining similarity of automatically by the system based on experience , testing ,
   Knowledge Cells 800 , Similarity Comparison 125 can com- inquiry , analysis , synthesis, or other techniques, knowledge,
   pare one or more Digital Pictures 525 or portions ( i.e. or input. In one example, substantial similarity can be
   regions , features, pixels , etc. ) thereof from one Knowledge achieved when at least 1 , 2 , 3 , 4 , or any other threshold
   Cell 800 with one or more Digital Pictures 525 or portions 10 number of Digital Pictures 525 or portions thereof of the
   thereof from another Knowledge Cell 800. In some aspects , compared Knowledge Cells 800 match or substantially
   total equivalence is achieved when all Digital Pictures 525 match . Similarly, substantial similarity can be achieved
   or portions thereof of the compared Knowledge Cells 800 when the number of matching or substantially matching
   match . If total equivalence is not found, Similarity Com- Digital Pictures 525 or portions thereof of the compared
   parison 125 may attempt to determine substantial or other 15 Knowledge Cells 800 exceeds 1 , 2 , 3 , 4 , or any other
   similarity. Any features, functionalities, and embodiments of threshold number. In another example, substantial similarity
   the previously described Picture Recognizer 350 can be used can be achieved when at least 10 % , 21 % , 30% , 49 % , 66 % ,
   in determining such substantial similarity .                  89 % , 93 % , or any other percentage of Digital Pictures 525
      In some embodiments where compared Knowledge Cells or portions thereof of the compared Knowledge Cells 800
   800 include a single Digital Picture 525 , Similarity Com- 20 match or substantially match. Similarly, substantial similar
   parison 125 can compare Digital Picture 525 from one            ity can be achieved when the percentage of matching or
   Knowledge Cell 800 with Digital Picture 525 from another        substantially matching Digital Pictures 525 or portions
   Knowledge Cell 800 using comparison techniques for indi- thereof of the compared Knowledge Cells 800 exceeds 10 % ,
   vidual pictures described below . In some embodiments 21 % , 30 % , 49 % , 66 % , 89 % , 93 % , or any other threshold
   where compared Knowledge Cells 800 include streams of 25 percentage. In other embodiments, substantial similarity of
   Digital Pictures 525 ( i.e. motion pictures, videos , etc. ), the compared Knowledge Cells 800 can be achieved in
   Similarity Comparison 125 can compare a stream of Digital terms of matches or substantial matches in more important
   Pictures 525 from one Knowledge Cell 800 with a stream of ( i.e. as indicated by importance index [ later described ], etc.)
   Digital Pictures 525 from another Knowledge Cell 800 . Digital Pictures 525 or portions thereof, thereby tolerating
   Such comparison may include comparing Digital Pictures 30 mismatches in less important Digital Pictures 525 or por
   525 from one Knowledge Cell 800 with corresponding ( i.e. tions thereof. In one example, substantial similarity can be
   similarly positioned, temporally related, etc. ) Digital Pic- achieved when matches or substantial matches are found
   tures 525 from another Knowledge Cell 800. In one with respect to more substantive Digital Pictures 525 (i.e.
   example, a 67th Digital Picture 525 from one Knowledge pictures comprising content of interest [ i.e. persons, objects,
   Cell 800 can be compared with a 67th Digital Picture 525 35 etc. ] , etc. ) or portions thereof of the compared Knowledge
   from another Knowledge Cell 800. In another example, a Cells 800 , thereby tolerating mismatches in less substantive
   67th Digital Picture 525 from one Knowledge Cell 800 can Digital Pictures 525 ( i.e. pictures comprising background ,
   be compared with a number of Digital Picture 525 around insignificant content , etc.) or portions thereof. In another
   ( i.e. preceding and / or following ) a 67th Digital Picture 525 example, substantial similarity can be achieved when
   from another Knowledge Cell 800. This way, flexibility can 40 matches or substantial matches are found in earlier Digital
   be implemented in finding a substantially similar Digital Pictures 525 or portions thereof of the compared Knowledge
   Picture 525 if the Digital Pictures 525 in the compared Cells 800 , thereby tolerating mismatches in later Digital
   Knowledge Cells 800 are not perfectly aligned . In other Pictures 525 or portions thereof. In general, any importance
   aspects , Similarity Comparison 125 can utilize Dynamic or weight can be assigned to any Digital Picture 525 or
   Time Warping (DTW) and / or other techniques know in art 45 portion thereof, and / or other elements . In some designs,
   for comparing and / or aligning temporal sequences ( i.e. Similarity Comparison 125 can be configured to omit any
   streams of Digital Pictures 525 , etc. ) that may vary in time Digital Picture 525 or portion thereof from the comparison .
   or speed . Once the corresponding (i.e. similarly positioned , In one example, less substantive Digital Pictures 525 or
   temporally related, time warped /aligned, etc.) Digital Pic- portions thereof can be omitted . In another example, some or
   tures 525 in the compared streams of Digital Pictures 525 are 50 all Digital Pictures 525 or portions thereof related to a
   compared and their substantial similarity determined using specific time period can be omitted . In a further example,
   comparison techniques for individual pictures described later Digital Pictures 525 or portions thereof can be omitted .
   below , Similarity Comparison 125 can utilize a threshold for In further embodiments, substantial similarity can be
   the number or percentage of matching or substantially achieved taking into account the number of Digital Pictures
   matching Digital Pictures 525 for determining substantial 55 525 of the compared Knowledge Cells 800. For example,
   similarity of the compared Knowledge Cells 800. In some         substantial similarity can be achieved if the number, in
   aspects , substantial similarity can be achieved when most of   addition to the content, of Digital Pictures 525 of the
   the Digital Pictures 525 or portions (i.e. regions, features,   compared Knowledge Cells 800 match or substantially
   pixels , etc. ) thereof of the compared Knowledge Cells 800     match . In further embodiments, substantial similarity can be
   match or substantially match. In other aspects , substantial 60 achieved taking into account the objects detected within
   similarity can be achieved when at least a threshold number Digital Pictures 525 and / or other features of Digital Pictures
   or percentage of Digital Pictures 525 or portions thereof of 525 of the compared Knowledge Cells 800. For example ,
   the compared Knowledge Cells 800 match or substantially substantial similarity can be achieved if same or similar
   match . Similarly, substantial similarity can be achieved objects are detected in Digital Pictures 525 of the compared
   when a number or percentage of matching or substantially 65 Knowledge Cells 800. Any features, functionalities, and
   matching Digital Pictures 525 or portions thereof of the embodiments of Picture Recognizer 350 can be used in such
   compared Knowledge Cells 800 exceeds a threshold . In detection . In some aspects , Similarity Comparison 125 can
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   compare the number, objects detected , and /or other features aspects , a region may include content defined using a picture
   of Digital Pictures 525 as an initial check before proceeding segmentation technique. Examples of picture segmentation
   to further detailed comparisons.                                  techniques include thresholding, clustering, region - growing,
      Similarity Comparison 125 can automatically adjust ( i.e. edge detection, curve propagation , level sets , graph parti
   increase or decrease ) the strictness of the rules for deter- 5 tioning, model -based segmentation , trainable segmentation
   mining substantial similarity of Knowledge Cells 800. In (i.e. artificial neural networks, etc. ) , and / or others. In further
   some aspects , such adjustment in strictness can be done by aspects , a region may include content defined using any
   Similarity Comparison 125 in response to determining that technique. In further aspects , a region may include any
   total equivalence of compared Knowledge Cells 800 had not arbitrary region comprising any arbitrary content. Once
   been found . Similarity Comparison 125 can keep adjusting 10 regions of the compared Digital Pictures 525 are known,
   the strictness of the rules until substantially similarity is Similarity Comparison 125 can compare the regions to
   found . All the rules or settings of substantial similarity can determine substantial similarity of the compared Digital
   be set , reset, or adjusted by Similarity Comparison 125 in Pictures 525. In some aspects , total equivalence is found
   response to another strictness level determination . For when all regions of one Digital Picture 525 match all regions
   example, Similarity Comparison 125 may attempt to find a 15 of another Digital Picture 525. In other aspects , if total
   match or substantial match in a certain percentage (i.e. 95 % , equivalence is not found , Similarity Comparison 125 may
   etc. ) of Digital Pictures 525 or portions thereof from the attempt to determine substantial similarity of compared
   compared Knowledge Cells 800. If the comparison does not Digital Pictures 525. In one example, substantial similarity
   determine substantial similarity of compared Knowledge can be achieved when most of the regions of the compared
   Cells 800, Similarity Comparison 125 may decide to 20 Digital Picture 525 match or substantially match . In another
   decrease the strictness of the rules . In response , Similarity example, substantial similarity can be achieved when at least
   Comparison 125 may attempt to find fewer matching or a threshold number (i.e. 1 , 2 , 5 , 11 , 39 , etc. ) or percentage
   substantially matching Digital Pictures 525 or portions (i.e. 38 % , 63 % , 77 % , 84 % , 98 % , etc.) of regions of the
   thereof than in the previous attempt using stricter rules. If compared Digital Pictures 525 match or substantially match .
   the comparison still does not determine substantial similarity 25 Similarly, substantial similarity can be achieved when the
   of compared Knowledge Cells 800 , Similarity Comparison number or percentage of matching or substantially matching
   125 may further decrease ( i.e. down to a certain minimum regions of the compared Digital Pictures 525 exceeds a
   strictness or threshold , etc. ) the strictness by requiring fewer threshold number ( i.e. 1 , 2 , 5 , 11 , 39 , etc.) or a threshold
   Digital Pictures 525 or portions thereof to match or sub- percentage ( i.e. 48 % , 63 % , 77 % , 84 % , 98 % , etc. ). In a
   stantially match , thereby further increasing a chance of 30 further example, substantial similarity can be achieved when
   finding substantial similarity in compared Knowledge Cells all but a threshold number or percentage of regions of the
   800. In further aspects , an adjustment in strictness can be compared Digital Pictures 525 match or substantially match .
   done by Similarity Comparison 125 in response to deter- Such thresholds can be defined by a user, by VSADO system
   mining that multiple substantially similar Knowledge Cells administrator, or automatically by the system based on
   800 had been found . Similarity Comparison 125 can keep 35 experience, testing, inquiry, analysis , synthesis, and / or other
   adjusting the strictness of the rules until a best of the techniques, knowledge, or input. In further aspects , Simi
   substantially similar Knowledge Cells 800 is found . For larity Comparison 125 can utilize the type of regions for
   example , Similarity Comparison 125 may attempt to find a determining substantial similarity of Digital Pictures 525 .
   match or substantial match in a certain percentage (i.e. 70 % , For example, substantial similarity can be achieved when
   etc. ) of Digital Pictures 525 or portions thereof from the 40 matches or substantial matches are found with respect to
   compared Knowledge Cells 800. If the comparison deter- more substantive , larger, and / or other regions, thereby tol
   mines a number of substantially similar Knowledge Cells erating mismatches in less substantive, smaller, and / or other
   800 , Similarity Comparison 125 may decide to increase the regions. In further aspects , Similarity Comparison 125 can
   strictness of the rules to decrease the number of substantially utilize the importance (i.e. as indicated by importance index
   similar Knowledge Cells 800. In response , Similarity Com- 45 [later described ], etc. ) of regions for determining substantial
   parison 125 may attempt to find more matching or substan- similarity of Digital Pictures 525. For example , substantial
   tially matching Digital Pictures 525 or portions thereof in similarity can be achieved when matches or substantial
   addition to the earlier found Digital Pictures 525 or portions matches are found with respect to more important regions
   thereof to limit the number of substantially similar Knowl- such as the above described more substantive , larger, and / or
   edge Cells 800. If the comparison still provides more than 50 other regions, thereby tolerating mismatches in less impor
   one substantially similar Knowledge Cell 800 , Similarity tant regions such as less substantive, smaller, and/ or other
   Comparison 125 may further increase the strictness by regions. In further aspects , Similarity Comparison 125 can
   requiring additional Digital Pictures 525 or portions thereof omit some of the regions from the comparison in determin
   to match or substantially match , thereby further narrowing ing substantial similarity of Digital Pictures 525. In one
   the number of substantially similar Knowledge Cells 800 55 example, isolated regions can be omitted from comparison.
   until a best substantially similar Knowledge Cells 800 is In another example, less substantive or smaller regions can
   found.                                                            be omitted from comparison . In general, any region can be
      In some embodiments, in determining substantial simi- omitted from comparison. In further aspects , Similarity
   larity of individual Digital Pictures 525 ( i.e. Digital Pictures Comparison 125 can focus on certain regions of interest
   525 from the compared Knowledge Cells 800 , etc. ) , Simi- 60 from the compared Digital Pictures 525. For example ,
   larity Comparison 125 can compare one or more regions of substantial similarity can be achieved when matches or
   one Digital Picture 525 with one or more regions of another substantial matches are found with respect to regions com
   Digital Picture 525. A region may include a collection of prising persons or parts ( i.e. head , arm , leg , etc. ) thereof,
   pixels . In some aspects , a region may include detected or large objects, close objects, and / or other content of interest,
   recognized content of interest such as an object or person . 65 thereby tolerating mismatches in regions comprising the
   Such region may be detected using any features, function- background, insignificant content, and /or other content. In
   alities , and embodiments of Picture Recognizer 350. In other        further aspects , Similarity Comparison 125 can detect or
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   recognize persons or objects in the compared Digital Pic- pixels . Some of the steps or elements in a feature oriented
   tures 525 using regions . Any features , functionalities , and technique include pre -processing, feature extraction, detec
   embodiments of Picture Recognizer 350 can be used in such tion /segmentation , decision -making , and / or others, or a
   detection or recognition . Once a person or object is detected combination thereof, each of which may include its own
   in a Digital Picture 525 , Similarity Comparison 125 may 5 sub - steps or sub - elements depending on the application .
   attempt to detect the person or object in the compared Examples of features that can be used include lines , edges ,
   Digital Picture 525. In one example, substantial similarity ridges, corners , blobs , and / or others. Examples of feature
   can be achieved when the compared Digital Pictures 525 extraction techniques include Canny, Sobe , Kayyali , Harris
   comprise one or more same persons or objects. In another & Stephens et al , SUSAN , Level Curve Curvature , FAST,
   example concerning streams of Digital Pictures 525 , sub- 10 Laplacian of Gaussian , Difference of Gaussians , Determi
   stantial similarity can be achieved when the compared nant of Hessian, MSER , PCBR , Grey - level Blobs , and / or
   streams of Digital Pictures 525 comprise a detected person others. Once features of the compared Digital Pictures 525
   or object in at least a threshold number or percentage of their are known, Similarity Comparison 125 can compare the
   pictures.                                                            features to determine substantial similarity. In some aspects ,
     Similarity Comparison 125 can automatically adjust ( i.e. 15 total equivalence is found when all features of one Digital
   increase or decrease ) the strictness of the rules for deter- Picture 525 match all features of another Digital Picture 525 .
   mining substantial similarity of Digital Pictures 525 using In other aspects , if total equivalence is not found, Similarity
   regions . In some aspects , such adjustment in strictness can Comparison 125 may attempt to determine substantial simi
   be done by Similarity Comparison 125 in response to larity of compared Digital Pictures 525. In one example,
   determining   that total equivalence of compared Digital 20 substantial similarity can be achieved when most of the
   Pictures 525 had not been found. Similarity Comparison 125 features of the compared Digital Picture 525 match or
   can keep adjusting the strictness rules until a substantial substantially match . In another example, substantial simi
   similarity is found . All the rules or settings of substantial larity can be achieved when at least a threshold number (i.e.
   similarity can be set, reset, or adjusted by Similarity Com- 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or percentage ( i.e. 49 % , 53 % ,
   parison 125 in response to another strictness level determi- 25 68 % , 72 % , 95 % , etc. ) of features of the compared Digital
   nation . For example, Similarity Comparison 125 may Pictures 525 match or substantially match . Similarly, sub
   attempt to find a match or substantial match in a certain stantial similarity can be achieved when the number or
   percentage ( i.e. 74 % , etc. ) of regions from the compared percentage of matching or substantially matching features of
   Digital Pictures 525. If the comparison does not determine the compared Digital Pictures 525 exceeds a threshold
   substantial similarity of compared Digital Pictures 525 , 30 number ( i.e. 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or a threshold
   Similarity Comparison 125 may decide to decrease the percentage ( i.e. 49 % , 53 % , 68 % , 72 % , 95 % , etc. ). In a
   strictness of the rules. In response , Similarity Comparison further example, substantial similarity can be achieved when
   125 may attempt to find fewer matching or substantially all but a threshold number or percentage of features of the
   matching regions than in the previous attempt using stricter compared Digital Pictures 525 match or substantially match .
   rules. If the comparison still does not determine substantial 35 Such thresholds can be defined by a user, by VSADO system
   similarity of compared Digital Pictures 525 , Similarity administrator, or automatically by the system based on
   Comparison 125 may further decrease the strictness ( i.e. experience, testing , inquiry, analysis, synthesis, and / or other
   down to a certain minimum strictness or threshold , etc. ) by techniques, knowledge, or input. In further aspects , Simi
   requiring fewer regions to match or substantially match , larity Comparison 125 can utilize the type of features for
   thereby   further increasing a chance of finding substantial 40 determining substantial similarity of Digital Pictures 525. In
   similarity in compared Digital Pictures 525 .                      one example, substantial similarity can be achieved when
      Where a reference to a region is used herein it should be matches or substantial matches are found with respect to
   understood that a portion of a region or a collection of edges, thereby tolerating mismatches in blobs . In another
   regions can be used instead of or in addition to the region . example , substantial similarity can be achieved when
   In one example, instead of or in addition to regions , indi- 45 matches or substantial matches are found with respect to
   vidual pixels and / or features that constitute a region can be more substantive , larger, and / or other features, thereby tol
   compared . In another example , instead of or in addition to erating mismatches in less substantive, smaller, and / or other
   regions , collections of regions can be compared. As such , features. In further aspects, Similarity Comparison 125 can
   any operations, rules, logic , and / or functions operating on utilize the importance (i.e. as indicated by importance index
   regions similarly apply to any portion of a region and / or any 50 [later described ], etc.) of features for determining substantial
   collection of regions. In general, whole regions, portions of similarity of Digital Pictures 525. For example , substantial
   a region , and / or collections of regions, including any opera- similarity can be achieved when matches or substantial
   tions thereon , can be combined to arrive at desired results . matches are found with respect to more important features
   Some or all of the above - described rules, logic , and / or such as the above described more substantive, larger, and / or
   techniques can be utilized alone or in combination with each 55 other features , thereby tolerating mismatches in less impor
   other or with other rules, logic , and / or techniques. One of tant features such as less substantive, smaller, and / or other
   ordinary skill in art will recognize that other techniques features. In further aspects , Similarity Comparison 125 can
   known in art for determining similarity of digital pictures,         omit some of the features from the comparison in determin
   streams of digital pictures, and /or other data that would be        ing substantial similarity of Digital Pictures 525. In one
   too voluminous to describe are within the scope of this 60 example , isolated features can be omitted from comparison.
   disclosure.                                                       In another example, less substantive or smaller features can
      In some embodiments, in determining substantial simi- be omitted from comparison. In general, any feature can be
   larity of individual Digital Pictures 525 ( i.e. Digital Pictures omitted from comparison . In further aspects , Similarity
   525 from the compared Knowledge Cells 800 , etc. ) , Simi- Comparison 125 can focus on features in certain regions of
   larity Comparison 125 can compare one or more features of 65 interest of the compared Digital Pictures 525. For example,
   one Digital Picture 525 with one or more features of another         substantial similarity can be achieved when matches or
   Digital Picture 525. A feature may include a collection of           substantial matches are found with respect to features in
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                         Exhibit F
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  AUTONOMOUS DEVICES LLC,
               Plaintiff,
                                             Civil Action No. 22-1466-MN
        vs.

  TESLA, INC.,
                    Defendant.               JURY TRIAL DEMANDED


                       DECLARATION OF ELI SABER, PH.D.




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          I, Eli Saber, Ph.D., hereby declare the following:

  I.      INTRODUCTION

          1.     Autonomous Devices retained me to offer technical opinions relating to U.S.

  Patent Nos. 10,452,974 (“the ’974 Patent”); 11,238,344 (“the ’344 Patent”); 11,663,474 (“the

  ’474 Patent”) 10,607,134 (“the ’134 Patent”); 11,113,585 (“the ’585 Patent”); 11,055,583 (“the

  ’583 Patent”); and 10,102,449 (“the ’449 Patent”) (collectively, the “Asserted Patents”).

          2.     I am being compensated for my work on this matter by Autonomous Devices.

  My compensation is not dependent on the contents of this Declaration, the substance of any

  further opinions I may offer, or the outcome of this matter.

          3.     I have been asked to give my opinion on what the Asserted Patents are directed to

  and whether they are novel over the prior art. As explained in detail below, it is my opinion that

  the claims of each of the Asserted Patents are directed to resolving specific issues in artificial

  intelligence (AI), autonomous driving, and/or simulation technology and that each recites a

  sufficient “inventive concept” such that is novel over the prior art.

          4.     I reserve whatever right I may have to supplement this Declaration if further

  information becomes available or if I am asked to consider additional information. Furthermore,

  I reserve whatever right I may have to consider and comment on any additional expert statement

  and testimony of the Defendants’ experts in this matter.

  II.     QUALIFICATIONS

          5.     My curriculum vitae, including my qualifications and a list of publications I have

  authored, is attached to this Declaration as Appendix A.

          6.     I received a Ph.D. in Electrical Engineering from the University of Rochester in

  1996.   My concentration was on Signal/Image/Video Processing, Pattern Recognition, and

  Computer Vision. I received a Master’s Degree in Electrical Engineering from the University of


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  Rochester in 1992, and I received a Bachelor’s Degree in Electrical and Computer Engineering,

  Summa Cum Laude, from the State University of New York at Buffalo in 1998.

         7.     I am a professor in the Electrical and Microelectronic Engineering Department

  and the Chester F. Carlson Center for Imaging Science at the Rochester Institute of Technology

  (RIT) in Rochester, New York. I also serve as the Director of the Image, Video and Computer

  Vision Laboratory. I joined RIT’s full-time faculty in 2004. I have 34 years of industry and

  academic experience, 30 of which are in the field of imaging.

         8.     Before becoming a full-time professor, I worked for Xerox Corporation for 16

  years, from 1988 to 2004. During my years at Xerox, I was responsible for delivering color

  management, image processing innovations, architectures, and algorithms; xerographic sub-

  systems for a variety of color products; and control systems for toner production facilities. One

  of several roles I held at Xerox was Advanced Development Scientist and Manager. In that

  capacity, I established the Advanced Design Laboratory – an Imaging/Xerographics lab – and

  provided technical and managerial leadership for the Electrical, Imaging and Xerographics

  Department. In another role, as Product Development Scientist and Manager, I led the research

  and development of image quality metrics for various product platforms. I also led the Image

  Science, Analysis, and Evaluation area, with 12 to 15 direct reports and a budget of

  approximately $2 million.

         9.     From 1997 until 2004, I was an adjunct faculty member in the Electrical

  Engineering Department of RIT and in the Electrical and Computer Engineering Department of

  the University of Rochester. I was responsible for teaching undergraduate and graduate

  coursework in signal, image and video processing; pattern recognition; and communications.




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  Additionally, I performed research in multimedia applications, computer vision, pattern

  recognition, image understanding and color engineering.

         10.     Since joining RIT full-time in 2004, I have been responsible for teaching a variety

  of undergraduate and graduate courses in digital signal processing, digital image processing,

  digital video processing (a course that I have founded and pioneered at RIT), engineering

  analysis, random signal and noise, advanced engineering mathematics, matrix methods, pattern

  recognition (a course that I founded and pioneered at RIT), communications, modern control

  theory, and linear systems.

         11.     My current research focuses on developing image/video processing and computer

  vision algorithms for multimedia and military applications. To this end, I have extensive

  experience in developing digital image/video processing and computer vision algorithms and

  techniques for motion estimation, segmentation, registration, classification, identification, pattern

  recognition, facial recognition, biomedical image processing, compression, surveillance systems,

  multiple camera systems, machine learning, deep learning and artificial intelligence and the

  fusion of techniques for a variety of applications including object recognition and tracking, video

  analysis, video surveillance, change detection, biomedical, color engineering, and document

  processing using multimodal/multispectral type imagery.

         12.     As a principal investigator or co-principal investigator, I have acquired research

  funding in excess of $5 million since joining RIT and have managed multiple government grants

  from the Department of Defense as well as several corporate grants from Hewlett-Packard,

  Lenel, and Data Physics. I am currently managing, as principal investigator, one government

  grant from the Department of Defense for “Target Detection/Tracking and Activity Recognition

  from Multimodal data”. The work involves the development of machine learning/deep




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  learning/artificial intelligence type algorithms for fusion of multiple modalities using

  convolutional neural networks (CNN) to detect and tract small/sparse targets in aerial imagery.

         13.      In 2012, I was awarded the Prestigious Trustees Scholarship, the highest award at

  RIT with regard to research recognition

         14.      I am a senior member of the Institute of Electrical and Electronic Engineers and a

  member of the IEEE Signal Processing Society, the Electrical Engineering Honor Society, and

  Eta Kappa Nu.

         15.      I am the author or co-author of 38 peer-reviewed journal publications.

         16.      I have also authored or co-authored 100 conference and workshop publications

  and a book entitled Advanced Linear Algebra for Engineers with MATLAB, published by CRC

  Press in February 2009, and am a named inventor on multiple U.S. and foreign patents.

  III.   PERSON OF ORDINARY SKILL IN THE ART

         17.      In my opinion, a person of ordinary skill in the art (“POSITA”) in the field of the

  Asserted Patents would have at least: (1) a bachelor’s degree in electrical and/or computer

  engineering, or computer science (or equivalent course work) with two to three years of work

  experience in computer vision, image/video processing and the design and development of

  neural networks; or (2) a master’s degree in electrical and/or computer engineering, or computer

  science (or equivalent course work) with a focus in computer vision, image/video processing and

  the design and development of neural networks. The POSITA would have gained this knowledge

  through a combination of education and work experience, for example, a master’s degree in a

  relevant engineering field, such as electrical or computer engineering or computer science, and at

  least three years of work experience in that field. More education can substitute for less work

  experience, and more work experience can substitute for less education.




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  IV.    MATERIALS CONSIDERED

         18.     I have reviewed the Asserted Patents, the prosecution history of each Asserted

  Patent, and other materials referenced in Appendix B to this Declaration. Counsel has informed

  me that I should consider these materials through the lens of a POSITA at the time of the priority

  dates of the patents, and I have done so. For the ’974 patent, the ’344 patent, and the ’474

  patent, I have assumed the priority date is November 2, 2006. For the ’134 patent, I have

  assumed the priority date is December 19, 2016. For the ’585 patent, I have assumed the priority

  date is August 23, 2016. For the ’583 patent, I have assumed the priority date is November 26,

  2017. For the ’449 patent patent, I have assumed the priority date is November 21, 2017.

         19.     My analyses are based on my education and work experience and my

  investigation and study of materials listed in Appendix B.

  V.     APPLICABLE LEGAL PRINCIPLES

         20.     Although I am not an attorney, my understanding of the relevant law is as follows.

  I have been informed that a federal statute, 35 U.S.C. § 101, describes the types of inventions

  that are patentable. I have been further informed that the Supreme Court has held that this

  provision contains an important explicit exception: Laws of nature, natural phenomena, and

  abstract ideas are not patentable.

         21.     In its 2014 decision in Alice Corp. v. CLS Bank Int’l, I understand that the

  Supreme Court outlined a two-step test to determine whether a patent is ineligible under § 101

  because it is directed to an abstract idea. 573 U.S. 208 (2014).

         22.     I have been informed that in the first step, the court determines whether the claims

  at issue are directed to a patent-ineligible concept, such as an abstract idea. I understand that

  federal courts have identified several factors to help determine whether an invention is directed

  to an abstract idea in the context of computer-related inventions.


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          23.     I have been informed, for example, that courts examine whether a claim is

  directed to specific asserted improvements in computer capabilities or whether a claim is instead

  directed to a process that qualifies as an abstract idea for which computers are invoked as a tool.

  I understand that in the former case, the patent would not be directed to an abstract idea but in

  the latter case, it would.

          24.     I understand that courts have also phrased the step one inquiry to ask whether the

  claims merely implement an old practice in a new environment.

          25.     I have been informed that if the court determines the claims at issue are directed

  to an abstract idea, the court proceeds to a second step, asking what is in the claims before it. I

  am informed that in step two the court examines the elements of the claim to determine whether

  it contains an inventive concept sufficient to transform the claim abstract idea into a patent

  eligible application.    I am informed that a court determines whether the claim elements

  individually, or as an ordered combination, contain an inventive concept which is more than

  merely implementing an abstract idea using well-understood, routine and conventional activities

  previously known in the industry. I understand that this step is often described as a search for an

  “inventive concept”—i.e., an element or combination of elements sufficient to ensure that the

  patent in practice amounts to significantly more than a patent upon the ineligible concept.

          26.     I understand that whether a claim recites patent‐eligible subject matter is a

  question of law that may contain underlying facts.

          27.     I understand that federal courts have said that whether a claim element or

  combination of elements is well‐understood, routine, and conventional to a skilled artisan in the

  relevant field is a question of fact.




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  VI.    OPINIONS

         28.     Since well before the priority dates of the Asserted Patents, the pursuit of

  autonomous driving has been extremely important. In fact, achieving a driverless vehicle has

  been the holy grail of the automotive industry. 1 Companies, such as Tesla, have spent an

  enormous sum of money in the pursuit of autonomous vehicles. Based on my experience in

  computer vision, machine learning, and computer assisted machine operations, achieving

  autonomous driving has been a significant problem due in large part to the complexity of the

  “driving” environment and the near-infinite number of circumstances encountered by such a

  vehicle.

         29.     Part of the difficulty was that prior art driver assistance aids were coded into the

  system, e.g., keep a certain distance from the lead vehicle, 2 maintain the vehicle between the

  lines on the road,3 etc. Coding responses to circumstances was not sufficiently precise to enable

  autonomous device operation across the vast array of circumstances a vehicle may come across

  on a daily basis. And known “techniques lack[ed] a way to learn [the] operation of a device”

  and share that learned operation with another device to enable its autonomous operation. ’974

  patent at 1:26-35.

         30.     For example, the Notice of Allowance for the ’974 patent stated that “the prior art

  does not disclose [a] device that operates as the user directs it, hence, does not disclose learning

  the device operation from the user directing the device.” ’974 patent Notice of Allowance at

  14; see also ’344 patent Notice of Allowance at 12 (reciting similar reasons). The Notice of

  Allowance highlighted a robot patent (U.S. 2016/0167226) and its failure to disclose user


  1
        https://www.bloomberg.com/news/articles/2021-11-18/apple-accelerates-work-on-car-aims-
  for-fully-autonomous-vehicle
  2
    http://sunnyday.mit.edu/safety-club/workshop5/Adaptive_Cruise_Control_Sys_Overview.pdf
  3
    https://www.nissan-global.com/EN/INNOVATION/TECHNOLOGY/ARCHIVE/LDW/


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  assisted learning together with the remaining claimed features. That robot constructs a map of its

  environment using V-SLAM (Visual Simultaneous Location and Mapping). U.S. 2016/0167226

  at ¶99. Using V-SLAM, the robot can “track its location and establish ground truth information

  with respect to captured images and/or image portions corresponding to views of specific map

  locations.” Id. But there is no learning based on user operation and no sharing of learned

  responses to circumstances with other devices. See, e.g., ’974 patent at 1:26-35 (“[c]ommonly

  employed device or system operating techniques lack[ed] a way to learn [the] operation of a

  device” to “enable autonomous operation” of that device and/or another device); ’449 Patent at

  1:20-23 (known “devices or systems [were] limited to relying on the user to direct them.”); ’583

  Patent at 1:31-39 (“These systems and/or devices depend on user’s input to various degrees for

  their operation. A machine learning solution [was] needed for computing enabled systems and/or

  devices to be less dependent on or fully independent from user input.”).

         31.     The Notice of Allowance further explained that the “[p]rior art discloses a system

  that explores its own environment on its own, which is very different from relying on the user to

  direct it.” ’974 Notice of Allowance at 14; see also ’344 patent Notice of Allowance at 12

  (reciting similar reasons).   And the “[p]rior art does not disclose the first and the second

  correlations that each include a circumstance representation correlated with instruction sets.”

  ’974 patent Notice of Allowance at 14; see also ’344 patent Notice of Allowance at 12 (reciting

  similar reasons). Thus, the “[p]rior art does not disclose the knowledgebase,” which includes a

  “circumstance representation (a data structure itself),” an “instruction set (a data structure itself

  when learned in the learning process)” or a “correlation (a data structure itself) that includes a

  circumstance representation correlated with instruction sets.” ’974 patent Notice of Allowance

  at 14-15; see also ’344 patent Notice of Allowance at 12 (reciting similar reasons).




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          32.    Similarly, in allowing the ’583 patent, the USPTO explained that the prior art fails

  to disclose learning the correlation between an image and an instruction set—rather the prior art

  “only adds [an] unidentified object to the database by a manual or formal approval process” and

  there is no suggestion of “learning a correlation between the image and any instruction set(s) for

  operating a device.” ’583 patent Notice of Allowance at 12-13.

          33.    Notably, early prior art systems attempted to achieve vehicle self-driving by

  training the system using synthetic road images, which resulted in poor performance in real

  driving situations. See Pomerleau, D.A. (1991) Efficient Training of Artificial Neural Networks

  for Autonomous Navigation in Neural Computation, pp. 88-97 at 4.              To overcome these

  problems, the next generation prior art systems tried to imitate a person’s driving under actual

  driving conditions. Id. at 5. However, those systems suffered from flaws due to overlearning

  from repetitive inputs. Id. For example, if the driver goes down a straight stretch of road during

  part of a training run, the network was presented with a long sequence of similar images. Id.

  This sustained lack of diversity in the training caused the network to “forget” what it had learned

  about driving on curved roads and instead learn to, generally speaking, steer straight ahead. Id.

          34.    More recent prior art suggests that carmakers have resorted to more predictable

  and less robust solutions. For example, known lane-keeping assist (“LKA”) systems detect lane

  markers (white/yellow) on the road and assist the driver in keeping the vehicle between lane

  markers.4 Another example of a known driver assistance feature is adaptive cruise control

  (“ACC”). Adaptive cruise control measures the distance from the vehicle ahead and controls the

  acceleration and deceleration of the vehicle at hand to automatically maintain a suitable




  4
      https://www.nissan-global.com/EN/INNOVATION/TECHNOLOGY/ARCHIVE/LDW/


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  following distance.5 These systems, however, simply executed pre-coded responses to a limited

  number of circumstances.

           35.     As a result, there has long been a demand for solutions that can account for the

  broad array of scenarios encountered by an autonomously operating device. The innovations in

  the Asserted Patents, as discussed below, permit devices to operate autonomously at least based

  on learned experiences from other devices. These innovations are novel and inventive. Said

  another way, the prior art systems lacked the ability to learn from a driver’s response to a

  circumstance and share learned responses across a fleet of vehicles so that those vehicles can

  respond autonomously to a similar situation.

           36.     The prior art’s limited capabilities are not surprising. Generally speaking, the art

  had moved away from early attempts at neural network-based algorithms and towards coded

  responses to limited situations in order to enable solutions such as LKA and/or ACC. The

  reasons for this transition are numerous. To this effect, early attempts at using neural network-

  based solutions for self-driving were known to have problems with overlearning from their most

  recent experience(s). Moreover, complex environments, such as busy city streets or highways,

  offer many dynamic changes and challenges that need to be resolved in real or near real time in

  order to render proper actions. Hence, a neural network-based solution would have required a

  high-degree of complexity with many potential nodes/layers to accurately and effectively

  manage the challenges and dynamics of the environment; and ample computational power to

  compute solutions/render actions in real or near real time.           However, until recently, the

  computation engines required to host the neural network-based solutions were not up to par to

  handle     the   complexity   and    dynamics    of     the   underlying   environment.   With   the



  5
      http://sunnyday.mit.edu/safety-club/workshop5/Adaptive_Cruise_Control_Sys_Overview.pdf


                                                   -11-
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  introduction/arrival of more powerful processors and multitasking capabilities, many new doors

  were opened, such as those that led to the innovations in the Asserted Patents.

         37.     Given the difficulties with early neural network applications and the limitations

  with pre-coded solutions, it was not known or obvious to use a fleet of vehicles to train one

  another to react autonomously to a diverse set of situations.

         A.      THE OBJECT REPRESENTATION PATENTS (US Patent Nos. 10,452,974,
                 11,238,344, and 11,663,474)

         38.     The Object Representation Patents are generally directed to a system, method and

  computer readable medium. By way of example, the system stores a knowledgebase that

  correlates device operating instruction sets with circumstances encountered by a device, obtains

  a new circumstance representation using device sensors, matches the new circumstance with a

  circumstance in an a priori maintained knowledgebase, and causes the device that detected the

  new circumstance to autonomously execute an instruction set correlated to the matched

  circumstance. The autonomously performed operation is based on a correlation previously

  acquired in a learning process that includes operating, at least partially by a user, the device that

  captured the instruction and the stored circumstance.

         39.     For example, if a second autonomous vehicle detects a circumstance

  representation (e.g., one or more object representations such as debris or people in the road) and

  the knowledgebase has a similar circumstance representation that matches with the detected

  circumstance, then the second autonomous vehicle performs an instruction set (e.g., braking) at

  least partially learned by operating a first autonomous vehicle that captured the similar

  circumstance representation.

         40.     Referring to Figure 38, for example, vehicle 98 includes sensors 92, such as a

  camera 92a that detect objects 615aa-ad (people, boulders, materials, vehicles, etc.) in the



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  vehicle’s 98a’s surrounding in the form of a circumstance representation. 6 ’344 Patent7 at

  162:48-163:16; Fig. 38. If the vehicle’s computer(s) detect a match (or partial match) with a

  previously learned circumstance representation 525 (e.g., one or more object representations),

  the vehicle 98 performs autonomous operation using previously learned instructions 526

  correlated with the previously learned circumstance representation. Id. at 163:36-164:5.

         41.     In my opinion, the corresponding claimed features were not well-understood,

  routine or conventional as of the priority date of the Object Representation Patents. For instance,

  the memory of the device performing the autonomous operation stores a knowledgebase that

  correlates instructions for performing the operation with the stored circumstance representation. 8

  The device performing the autonomous operation also obtains a circumstance representation

  while in operation, e.g., it captures circumstances surrounding a vehicle using its camera, for

  example.9 When there is at least a partial match between the stored circumstance representation



  6
    Figure citations include the specification discussion of each figure.
  7
    The Object Representation Patents share a specification. For simplicity, duplicative citations
  are not always provided.
  8
    See e.g., ’974 patent at cl. 1 (“a memory that stores at least a knowledgebase that includes: a
  first correlation including a first circumstance representation correlated with a first one or more
  instruction sets …”), cl. 18 (“accessing a memory that stores at least a knowledgebase that
  includes: a first correlation including a first circumstance representation correlated with a first
  one or more instruction sets for operating a first device”); ’344 patent at cl. 1 (“a memory that
  stores at least a knowledgebase that includes a first circumstance representation correlated with a
  first one or more instruction sets for operating a first device…”); ’474 patent at cl. 45 (“a
  knowledgebase that includes one or more inputs for inputting at least a portion of a circumstance
  representation, wherein the one or more inputs are correlated with one or more instruction sets
  for operating a second device”).
  9
     See e.g., ’974 patent at cl. 1 (“the third circumstance representation represents a third
  circumstance detected … at least in part by one or more sensors of a second device”), cl. 18 (“the
  third circumstance representation represents a third circumstance detected … at least in part by
  one or more sensors of a second device”); ’344 patent at cl. 1 (“the second circumstance
  representation represents a second circumstance detected at least in part by: … one or more
  sensors of a second device”); ’474 patent at cl. 1 (“generating a circumstance representation,
  wherein the generated circumstance representation represents a circumstance detected at least in
  part by the one or more sensors”).


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  and the current circumstance representation, the corresponding instruction is autonomously

  performed by the device that matched the current and stored circumstance representations. 10 The

  claim features linked to the above-described example are inventive and novel and, as of the

  priority date of the Object representation patents, were not well-understood, routine or

  conventional.

         42.      In some embodiments, the circumstance representations include one or more

  object representations, e.g., the circumstance representations included representations of

  object(s) such as debris, people, vehicles, etc. 11 The claim features linked to the above-described



  10
     See e.g., ’974 patent at cl. 1 (“anticipating the first one or more instruction sets for operating
  the first device learned in the learning process based on at least partial match between the third
  circumstance representation and the first circumstance representation; and at least in response to
  the anticipating, executing the first one or more instruction sets for operating the first device
  learned in the learning process, wherein … the second device autonomously performs one or
  more operations defined by the first one or more instruction sets for operating the first device
  learned in the learning process”), cl. 18 (“anticipating the first one or more instruction sets for
  operating the first device learned in the learning process based on at least partial match between
  the third circumstance representation and the first circumstance representation; and at least in
  response to the anticipating, causing … the second device to perform one or more operations
  defined by the first one or more instruction sets for operating the first device learned in the
  learning process at least by causing the one or more processor circuits or another one or more
  processor circuits to execute the first one or more instruction sets for operating the first device
  learned in the learning process.”); ’344 patent at cl. 1 (“anticipating the first one or more
  instruction sets for operating the first device based on at least partial match between the second
  circumstance representation and the first circumstance representation; and at least in response to
  the anticipating, executing the first one or more instruction sets for operating the first device,
  wherein … the second device autonomously performs one or more operations defined by the first
  one or more instruction sets for operating the first device.”); ’474 patent at cl. 45 (“inputting at
  least a portion of the generated circumstance representation into the one or more inputs, and
  using a correlation between the one or more inputs and the one or more instruction sets for
  operating the second device; and at least in response to the determining, executing the one or
  more instruction sets for operating the second device, wherein the first device autonomously
  performs one or more operations defined by the one or more instruction sets for operating the
  second device.”)
  11
     See, e.g., ’344 patent at cl. 3 (“wherein the first circumstance representation includes a first
  one or more object representations, and wherein the second circumstance representation includes
  a second one or more object representations”); see also ’974 patent at cl. 14 (“ wherein the first
  circumstance representation includes: one or more object representations, or one or more


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  example are inventive and novel and, as of the priority date of the Object representation patents,

  were not well-understood, routine or conventional.

         43.     With the innovations in the Object Representation Patents, autonomous device

  operation using a knowledgebase (e.g., a neural network that includes, for example, a

  combination of circumstance/object recognition and correlated previously learned instructions)

  that is trained by a fleet of vehicles became possible.12 See, e.g.,’344 Patent at 164:6-28; See also

  id. at 15:36-45; 38:54-40:34; 82:6-14; 95:15-96:25; 103:35-105:22; 108:40-44.                   The

  corresponding claimed features are inventive and novel and were not well-understood, routine or

  conventional as of the priority date of the Object Representation Patents.

         44.     By utilizing the autonomous device operating techniques disclosed in the Object

  Representation Patents, a vehicle can perform autonomous operations based on previously

  learned circumstances and instructions. For at least the above-mentioned reasons, the claimed

  inventions improve the capabilities of autonomous devices that employ the systems and methods

  disclosed in the Object Representation Patents. Further, the inventions claimed in the Object

  Representation Patents cannot be performed as mental steps by a human, nor do they represent

  the application of a generic computer to any well-known method of organizing human behavior.



  collections of object representations, and wherein the second circumstance representation
  includes: one or more object representations, or one or more collections of object
  representations, and wherein the third circumstance representation includes: one or more object
  representations, or one or more collections of object representations.”); ’474 patent at cl. 46 (“ at
  least the portion of the circumstance representation include one or more inputs for inputting at
  least a portion of one or more object representations, and wherein the generated circumstance
  representation includes one or more object representations…”)
  12
     See e.g., ’974 patent at cl. 1 (element starting with “at least in response to the anticipating,
  executing the first one or more instruction sets…”); ’344 patent at cl. 1 (element starting with “at
  least in response to the anticipating, executing the first one or more instruction sets …”); ’474
  patent at cl. 45 (“executing the one or more instruction sets for operating the second device,
  wherein the first device autonomously performs one or more operations defined by the one or
  more instruction sets for operating the second device”)


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  The claims of the Object Representation Patents are also directed to non-abstract ideas in that

  they provide technical solutions to at least the technical problems described above with respect to

  coded responses, lack of training set diversity, and user operation corresponding to the correlated

  circumstances and instructions in the knowledgebase.

         45.     Claim 1 of the ’974 and ’344 Object Representation Patents and claim 45 of the

  ’474 patent, as a whole, is inventive and novel, as are at least the herein identified claim

  limitations.   See, e.g.,’974 Patent at Claim 1 (“accessing a memory that stores at least a

  knowledgebase that includes: a first correlation including a first circumstance representation

  correlated with a first one or more instruction sets for operating a first device”, “a learning

  process that includes operating the first device at least partially by a user” and “the second device

  autonomously performs one or more operations defined by the first one or more instruction sets

  for operating the first device learned in the learning process”), claim 18 (“a learning process that

  includes operating the first device at least partially by a user” and “causing … the second device

  to perform one or more operations defined by the first one or more instruction sets for operating

  the first device learned in the learning process at least by causing the one or more processor

  circuits or another one or more processor circuits to execute the first one or more instruction sets

  for operating the first device learned in the learning process.”);’344 Patent at Claim 1

  (“accessing a memory that stores at least a knowledgebase that includes a first circumstance

  representation correlated with a first one or more instruction sets for operating a first device”, “a

  learning process that includes operating the first device at least partially by a user” and “the

  second device autonomously performs one or more operations defined by the first one or more

  instruction sets for operating the first device”); ’474 Patent at Claim 45 (“a knowledgebase that

  includes one or more inputs for inputting at least a portion of a circumstance representation,




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  wherein the one or more inputs are correlated with one or more instruction sets for operating a

  second device”, “determining the one or more instruction sets for operating the second device at

  least by: inputting at least a portion of the generated circumstance representation into the one or

  more inputs, and using a correlation between the one or more inputs and the one or more

  instruction sets for operating the second device; and … wherein the first device autonomously

  performs one or more operations defined by the one or more instruction sets for operating the

  second device.”)

         46.     . As of the priority date of the ’974, ’344, and ’474 patents, the above-mentioned

  claim elements were not well-understood, routine, or conventional, and the novel user-trained

  knowledgebase that is capable of being deployed and utilized by other vehicles in the fleet is a

  vast improvement over the prior art.

         47.     Moreover, claim 3 of the ’344 patent, claim 14 of the ’974 patent and claim 46 of

  the ’474 patent, as a whole, are also inventive and novel, as are at least the herein identified

  claim limitations. See, e.g., ’344 patent at cl. 3 (“wherein the first circumstance representation

  includes a first one or more object representations, and wherein the second circumstance

  representation includes a second one or more object representations”); see also ’974 patent at cl.

  14 (“ wherein the first circumstance representation includes: one or more object representations,

  or one or more collections of object representations, and wherein the second circumstance

  representation includes: one or more object representations, or one or more collections of object

  representations, and wherein the third circumstance representation includes: one or more object

  representations, or one or more collections of object representations.”); ’474 patent at cl. 46

  (“wherein the one or more inputs for inputting the at least the portion of the circumstance

  representation include one or more inputs for inputting at least a portion of one or more object




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  representations, and wherein the generated circumstance representation includes one or more

  object representations, and wherein the first device is a first vehicle, and wherein the second

  device is a second vehicle”) As of the priority date of the ’974, ’344 and ’474 patents, the

  above-mentioned claim elements were not well-understood, routine, or conventional, and the

  novel user-trained knowledgebase that is capable of being deployed and utilized by other

  vehicles in the fleet is a vast improvement over the prior art.

          48.    In my opinion, the above-mentioned claimed features unlocked the next level of

  autonomous driving because they allowed the entire fleet to train the system providing a higher

  degree to diversity in the training process. As a result, much more precise and appropriate

  reactions to driving circumstances became possible. This is because, using the claimed features,

  the massive number of scenarios encountered by the fleet could be distilled into a set of

  circumstances and corresponding instructions that can be efficiently performed autonomously by

  vehicles within the fleet. The corresponding claimed concepts were not known or done in the

  prior art.

          49.    The claims of the Object Representation Patents recite one or more inventive

  concepts rooted in computerized technology that overcome technical problems in that field. A

  person of ordinary skill in the art reading the Object Representation Patents and their claims

  would understand that the Object Representation Patents’ disclosures and claims are drawn to

  solving specific technical problems arising in artificially intelligent and autonomous devices and

  systems. Accordingly, each claim of the Object Representation Patents recites a combination of

  elements sufficient to ensure that the claim in practice amounts to significantly more than a

  patent claiming an abstract concept. Further, the claimed improvements over the prior art are

  concrete and improve the capabilities of existing autonomous and artificial intelligence systems.




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          50.     A person of ordinary skill in the art reviewing the specification of the Object

  Representation Patents would understand that the inventor had possession of the claimed subject

  matter and would know how to practice the claimed invention without undue experimentation.

          B.      THE DIGITAL PICTURE PATENTS (U.S. PATENT NOS. 10,102,449 &
                  11,055,583)

          51.     The ’583 Patent is generally directed to systems, methods, and non-transitory

  machine-readable mediums for correlating an instruction set for operating a first device with

  digital pictures, obtaining a new digital picture, and in response to matching the new digital

  picture with a correlated digital picture, causing the device that obtained the new digital picture

  to perform operations defined by the instruction set correlated to the matched digital picture. 13

  The instruction set for operating the first device may be executed by a second device in response

  to the second device matching the new picture with the picture correlated to the instruction sets. 14

  As of the priority date of the ’583 patent, the combination of the above-mentioned concepts

  corresponding to the claimed “learning,” obtaining “a new one or more digital pictures,” and

  “causing” a “second device to perform” an operation defined by the first instruction set(s) was

  not well-understood, routine or conventional.

          52.     Similarly, the ’449 Patent is generally directed to a system, method and non-

  transitory computer readable medium that correlates an instruction set for operating a first device

  with a digital picture, provides an artificial intelligence (AI) unit that: (i) receives a new digital

  picture, (ii) matches the new digital picture with the digital picture correlated to the instruction

  13
     See, e.g., ’583 patent at cl. 1 (“learning the first one or more digital pictures correlated with the
  first one or more instruction sets for operating the first device”); cl. 4 (“receiving or generating a
  new one or more digital pictures”, “determining the first one or more instruction sets for
  operating the first device based on at least partial match between the new one or more digital
  pictures and the first one or more digital pictures”, “causing … a second device to perform one
  or more operations defined by the first one or more instruction sets for operating the first
  device.”)
  14
     Id.


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  set, and (iii) causes a device that received the new digital picture to execute the instruction set

  correlated to the matched digital picture. 15 As of the priority date of the ’449 patent, the

  combination of the above-mentioned features corresponding to claim elements (a) to (e) was not

  well-understood, routine or conventional.

          53.     By way of example, consider a situation where a second autonomous vehicle

  receives a new digital picture of people in the road and where the knowledgebase has a similar

  digital picture that matches with the new digital picture. In this situation, using the above-

  discussed claimed inventions, the second autonomous vehicle performs an instruction set (e.g.,

  braking) at least partially learned by operating a first autonomous vehicle. As of the priority date

  of the Digital Picture Patents, the execution of an instruction set on one vehicle where that

  instruction set was learned on another vehicle was inventive and novel, and this feature was not

  well-understood, routine, or conventional.


  15
     See, e.g., ’449 patent at cl. 1 (“a memory that stores at least a first one or more digital pictures
  correlated with a first one or more instructions sets for operating a first physical device, … a
  learning process that includes operating the first physical device at least partially by a user”, “an
  artificial intelligence unit that: receives a new one or more digital pictures from the optical
  camera; anticipates the first one or more instruction sets for operating the first physical device
  based on at least partial match between the new one or more digital pictures and the first one or
  more digital pictures, … causes the one or more processor circuits to execute the first one or
  more instruction sets for operating the first physical device, wherein the causes is performed in
  response to the anticipates of the artificial intelligence unit, and wherein … a second physical
  device autonomously performs one or more operations defined by the first one or more
  instruction sets for operating the first physical device.”), cl. 17 (“(a) accessing a memory that
  stores at least a first one or more digital pictures correlated with a first one or more instructions
  sets for operating a first physical device, … wherein at least a portion of the first one or more
  digital pictures or at least a portion of the first one or more instruction sets for operating the first
  physical device are learned in a learning process that includes operating the first physical device
  at least partially by a user”, “(b) receiving a new one or more digital pictures from an optical
  camera”, “(c) anticipating the first one or more instruction sets for operating the first physical
  device based on at least partial match between the new one or more digital pictures and the first
  one or more digital pictures”, “(d) executing the first one or more instruction sets for operating
  the first physical device,” and “(e) autonomously performing, … a second physical device, one
  or more operations defined by the first one or more instructions [sets] for operating the first
  physical device.”)


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         54.     Referring to Figure 38 of the ’449 patent, for example, the vehicle 98a includes

  sensors 90, such as a camera 90a that detect the vehicle’s surroundings in the form of a digital

  picture. ’449 Patent at 152:21-154-27, Figs. 37, 38; see also ’583 Patent at 152:33-154:39, Figs.

  37-38. If the vehicle’s computer(s) detect a match with a previously learned digital picture 525,

  the vehicle 98 performs autonomous operation using previously learned instructions 526

  correlated with the previously learned digital picture. See, e.g., ’449 Patent at 154:5-27; see also

  ’583 Patent at 154:14-24. The algorithms correlate instructions for performing an operation with

  the stored digital picture and when there is a match or partial match with the digital picture the

  operation is performed. ’449 Patent at 154:5-27; see also ’583 Patent at 154:14-24. The

  corresponding claimed features, as a combination, are inventive and novel and were not well-

  understood, routine or conventional as of the priority date of the Digital Picture Patents.

         55.     The memory of the device performing the autonomous operation stores a

  correlation between instructions for performing an operation and a digital picture. 16 When there

  is at least a partial match between the stored digital picture and a new digital picture, the

  operation is autonomously performed by the device that matched the new and stored digital

  pictures.17 The corresponding claimed features are novel and inventive and were not well-

  understood, routine or conventional as of the priority date of the Digital Picture Patents.

         56.     With the innovations in the Digital Picture Patents, autonomous device operation

  using a memory with instruction and picture correlations (e.g., a neural network that includes, for

  example, a combination of digital pictures and correlated previously learned instructions) that is



  16
     ’449 Patent at cl. 1 (element beginning with “a memory that stores...”), cl. 17 (element (a));
  ’583 patent at claim 1 (element starting with “learning”); claim 4 (element starting with
  “determining”).
  17
      ’449 patent at cl. 1 (elements beginning with “anticipates…” and “causes …”), cl. 17
  (elements (c) to (e)); ’583 patent at claim 4 (element starting with “at least in response to”).


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  trained by a fleet of vehicles became possible. See, e.g.,’449 Patent at 14:38-45 (“In certain

  embodiments, the autonomous device operating includes a partially or a fully autonomous device

  operating. The partially autonomous device operating may include executing the one or more

  instruction sets for operating the device correlated with the first digital picture responsive to a

  user confirmation. The fully autonomous device operating may include executing the one or

  more instruction sets for operating the device correlated with the first digital picture without a

  user confirmation.”); see also id. at Figs. 31-35; ’583 Patent at 14:54-62, Figs. 31-35. The

  corresponding claimed features were not well-understood, routine or conventional as of the

  priority date of the Digital Picture Patents. As of the priority dates of the Digital Picture Patents,

  the above-mentioned claim elements were not well-understood, routine, or conventional, and the

  novel user-trained knowledgebase that is capable of being deployed and utilized by other

  vehicles in the fleet is a vast improvement over the prior art.

         57.     Thus, by utilizing the autonomous device operating techniques disclosed in the

  Digital Picture Patents, a vehicle can perform autonomous operations based on previously

  learned pictures and instructions.      For at least the above-mentioned reasons, the claimed

  inventions improve the capabilities of autonomous devices that employ the systems and methods

  disclosed in the Digital Picture Patents. Further, the methods claimed in the Digital Picture

  Patents cannot be performed as mental steps by a human, nor do they represent the application of

  a generic computer to any well-known method of organizing human behavior. The claims of the

  Digital Picture Patents are also directed to non-abstract ideas in that they provide technical

  solutions to at least the technical problems described above with respect to coded responses, lack

  of training set diversity, and user operation corresponding to the correlated pictures and

  instructions in the knowledgebase.




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         58.     The claimed features unlocked the next level of autonomous driving by allowing

  the entire fleet to train the overall system. In this way, much more precise and appropriate

  reactions to driving circumstances became possible because the massive number of scenarios

  encountered by the fleet could be distilled into a set of digital pictures and corresponding

  instructions that could be efficiently performed autonomously in an effective manner.

         59.     The claims of the Digital Picture Patents recite one or more inventive concepts

  rooted in computerized technology that overcome technical problems in that field. A person of

  ordinary skill in the art reading the Digital Picture Patents and their claims would understand that

  the Digital Picture Patents’ disclosures and claims are drawn to solving specific technical

  problems arising in artificially intelligent and autonomous devices and systems. Accordingly,

  each claim of the Digital Picture Patents recites a combination of elements sufficient to ensure

  that the claim in practice amounts to significantly more than a patent claiming an abstract

  concept. Further, the claimed improvements over the prior art are concrete and improve the

  capabilities of existing autonomous and AI systems.

         60.     A person of ordinary skill in the art reviewing the specification of the Digital

  Picture Patents would understand that the inventor had possession of the claimed subject matter

  and would know how to practice the claimed invention without undue experimentation.

         C.      THE SIMULATION PATENTS (U.S. PATENT NOS. 10,607,134 &
                 11,113,585)

         61.     Claim 1 of both the Simulation Patents recites a system for causing an avatar or

  an object of an application program to autonomously perform operations defined by instruction

  sets previously learned by that device or another device by anticipating the instruction set(s) to

  be executed (e.g., apply brakes) in response to finding at least a partial match between a

  previously learned digital picture (’585 patent) or object representation (’134 patent) and a newly



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  received picture or object representation (e.g., similar debris on the road). See ’134 patent at

  claim 1; ’585 patent at claim 1.

         62.     Based on my extensive experience in computer vision, image/video processing,

  machine learning, and computer assisted machine operations, achieving methods for full-self

  driving has been difficult due in large part to the near-infinite number of circumstances

  encountered by a vehicle and the high-degree of variability has been a significant problem. For

  example, the prior art avatar and object operation was “semi-autonomous.” As explained by the

  Patent Examiner, the prior art of record does not teach the details of object representations,

  avatars, determining instruction sets, and causing an avatar to perform operations as recited in

  the claims. See generally ’134 Patent Notice of Allowance at 16. The examiner then went on to

  characterize certain prior art as teaching semi-autonomous avatar operation and learning, but not

  teaching how it was achieved. Id. Thus, as the specification states, “[c]ommonly employed

  application and/or object thereof operating techniques lack a way for a system to learn [the]

  operation of an application and/or object thereof and enable autonomous operation of an

  application and/or object thereof.” ’585 patent at 1:45-55; ’134 patent at 1:30-40.

         63.     As of the priority date of the Simulation Patents, the claimed features in the

  Simulation Patents, as a whole, were inventive and novel and were not well-understood, routine,

  or conventional.   In general, the Simulation Patents are directed to a system, method and

  computer readable medium that allows an avatar or object (i.e., a virtual car) in a program to

  autonomously perform operations in response to an acquired image or object representation (e.g.,

  a current circumstance surrounding the avatar or device in the application/simulation as captured

  by the avatar’s sensors, e.g., circumstance representations having object representations within




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  the circumstance such as debris or people in the road) at least partially matching an image or

  object representation stored in a memory.

         64.     The ’134 patent is specifically directed to innovations including correlating object

  representations with instruction sets for operating a first avatar of an application, 18 obtaining a

  second one or more object representations, 19 looking for a match between the second object

  representations and the first object representations,20 and in response to finding a match causing

  a second avatar of the application to perform operations defined by the instruction set

  corresponding to the matched object representation.21 For example, if a second avatar detects an

  object representation (e.g., objects such as virtual debris or virtual people in the road) and the

  system has a similar object representation that matches with the detected object, then the second

  avatar performs an instruction set (e.g., braking).22 The corresponding claimed features, as a

  combination, are inventive and novel and were not well-understood, routine or conventional as

  of the priority date of the ’134 patent.

         65.     The ’585 patent is specifically directed to innovations including correlating digital

  pictures with instruction sets for operating a first object of an application, 23 obtaining a second




  18
     ’134 patent at cl. 1 (“a first correlation including a first one or more object representations
  correlated with a first one or more instruction sets for operating a first avatar of an application”).
  19
     ’134 patent at cl. 1 (“generating or receiving a second one or more object representations”).
  20
     ’134 patent at cl. 1 (“determining the first one or more instruction sets for operating the first
  avatar of the application based on at least partial match between the second one or more object
  representations and the first one or more object representations”).
  21
     ’134 patent at cl. 1 (“at least in response to the determining, causing … a second avatar of the
  application to perform one or more operations defined by the first one or more instruction sets
  for operating the first avatar of the application at least by executing the first one or more
  instruction sets for operating the first avatar of the application.”)
  22
     Id.
  23
     ’585 patent at cl. 1 (“one or more memories that store at least a first one or more digital
  pictures correlated with a first one or more instruction sets for operating a first object of a first
  application program”)


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  one or more digital pictures,24 searching for a match between the second digital pictures and the

  first digital pictures,25 and in response to finding a match causing a second object of the

  application to perform operations defined by the instruction set corresponding to the matched

  digital picture.26 For example, if a second object detects a digital picture (e.g., picture of virtual

  debris or virtual people in the road) and the system has a similar digital picture representation

  that matches with the detected picture, then the second object performs an instruction set (e.g.,

  braking). The corresponding claimed features, as a combination, are inventive and novel and

  were not well-understood, routine or conventional as of the priority date of the ’585 patent.

         66.     Referring to Figure 35 of the ’585 patent, for example, object 180b (e.g., a

  vehicle) includes, in its knowledgebase, associated digital pictures 525 of the objects surrounding

  in a 3D virtual world 18b. ’585 patent at 166:38-167:67; Fig. 35; see also ’134 patent at 163:52-

  166:46; Fig. 36. If the system detects a match with a previously learned digital picture 525, the

  object 180b performs autonomous operation using previously learned instructions 526 correlated

  with the previously learned digital picture. ’585 patent at 166:38-167:67; Fig. 35; see also ’134

  patent at 163:52-166:46; Fig. 36. In my opinion, the corresponding claimed features were not

  well-understood, routine or conventional as of the priority date of the Simulation Patents.




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     ’585 patent at cl. 1 (“receiving or generating a new one or more digital pictures that depict at
  least a portion of a surrounding of: the first object of the first application program, a second
  object of the first application program, or a first object of a second application program”)
  25
     ’585 patent at cl. 1 (“determining the first one or more instruction sets for operating the first
  object of the first application program based on at least partial match between the new one or
  more digital pictures and the first one or more digital pictures”)
  26
     ’585 Patent at cl. 1 (“at least in response to the determining, executing the first one or more
  instruction sets for operating the first object of the first application program, wherein the first
  object of the first application program, the second object of the first application program, or the
  first object of the second application program autonomously performs one or more operations
  defined by the first one or more instruction sets for operating the first object of the first
  application program.”)


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         67.      Given that the memory stores a first correlation (picture or object representation

  correlated with instructions learned by at least partially operating the first device) acquired by a

  first avatar, when a second avatar, for example, encounters a partially matching picture or object

  representation, the second avatar can autonomously perform an operation defined by the

  previously learned instruction that is correlated with the picture or object representation from the

  first avatar. The ability to cause one avatar to autonomously perform instruction(s) based on

  comparing a picture or object representation encountered by that device with a picture or object

  representation encountered by another or the same device was not known or done in the prior art.

         68.      The above-described claimed inventions, however, provided a solution to this

  problem. By allowing one avatar’s response (e.g., driver’s response when driving a vehicle) to a

  circumstance to train other avatars (e.g., vehicles in a simulation) that encounter similar

  circumstances, the claimed knowledge base, together with the claimed anticipating and

  executing, allows a group of devices (e.g., a fleet of vehicles) to continuously and dynamically

  learn to respond autonomously to new and unforeseen circumstances, which occur in the

  simulation. Over time, nearly every circumstance can be accounted for and subsequently applied

  autonomously by all devices (e.g., the fleet of vehicles). The claimed features thus provide a

  specific and improved way for an avatar—and by proxy a real life vehicle—to respond

  autonomously to detected circumstances.

         69.      With the innovations in the Autonomous Vehicle Simulation Patents, autonomous

  device operation using a knowledgebase (e.g., a neural network that includes, for example, a

  combination of object recognition and correlated previously learned instructions) that is trained

  by a fleet of vehicles became possible. See, e.g., ’134 Patent at 103:8-104:64; ’585 Patent at

  105:19-107:4.     The corresponding claimed features were not well-understood, routine or




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  conventional as of the priority date of the Simulation Patents. Moreover, the claimed features in

  the Simulation Patents cannot be performed as mental steps by a human, nor do they represent

  the application of a generic computer to any well-known method of organizing human behavior.

         70.     The claims of the Autonomous Vehicle Simulation Patents are directed to non-

  abstract ideas in that they provide technical solutions to at least the technical problems described

  above. For instance, claim 1 of each Simulation Patents, as a whole, is inventive and novel, as

  are at least the above-identified claim limitations. As of the priority dates of the Simulation

  Patents, the concept of causing a virtual device to perform autonomous operation based on: (i)

  pictures/representations of that device’s circumstances and (ii) pictures/representations and

  instructions learned from that device or another device was not well-understood, routine, or

  conventional. These features provide a vast improvement over the prior art.

         71.     The claimed features unlocked the next level of autonomous driving. While fleet

  learning from real-world pictures and object representations can, in general, work, there were

  still inhibiting limitations such as scale and uniqueness. Regarding scale, the fleet is limited in

  its learning ability by the number of autonomous vehicles on the road that are conveying data

  back into the system. Similarly, regarding uniqueness, the fleet is limited in what it can learn

  based on the monitored autonomous vehicles experiences. The Simulation Patents address these

  issues by taking the concrete ideas found in the Object Representation and Digital Picture Patents

  and importing them into proper simulations. As discussed in the prosecution of both Simulation

  Patents, this was a completely novel idea as the prior art does not teach the details of object

  representations, avatars, determining instruction sets, and causing an avatar to perform

  operations as recited in the claims. By allowing the entire fleet to train the system, as discussed

  earlier, and allowing appropriate simulations of driving reactions and situations including those




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  situations that may represent improbable scenarios and edge cases, much more precise and

  appropriate reactions to driving circumstances became possible. This is because necessary but

  less probable or seldom occurring scenarios can be distilled into a set of circumstances/pictures

  and corresponding instructions that can be efficiently performed autonomously.

         72.     The claims of the Simulation Patents recite one or more inventive concepts rooted

  in computerized technology that overcome technical problems in that field. A person of ordinary

  skill in the art reading the Simulation Patents and their claims would understand that the

  Simulation Patents’ disclosures and claims are drawn to solving specific technical problems

  arising in simulating artificially intelligent and autonomous devices and systems. Accordingly,

  each claim of the Simulation Patents recites a combination of elements sufficient to ensure that

  the claim in practice amounts to significantly more than a patent claiming an abstract concept.

  Further, the claimed improvements over the prior art are concrete and improve the capabilities of

  existing autonomous and AI simulation systems.

         73.     A person of ordinary skill in the art reviewing the specification of the Simulation

  Patents would understand that the inventor had possession of the claimed subject matter and

  would know how to practice the claimed invention without undue experimentation.

  VII.   CONCLUSION

         74.     I declare under penalty of perjury under the laws of the United States that the

  foregoing is true and correct.



  Executed on September 14, 2023.

                                                          By:______________________________

                                                                        Eli Saber, Ph.D.




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                                   APPENDIX A
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                                      Prof. Eli Saber
      Mobile: (585) 727-3126, Email: esaber228@gmail.com, HTTP: http://people.rit.edu/esseee
  _____________________________________________________________________________________________


                                                   EDUCATION
  Ph.D., Electrical Engineering, University of Rochester, Rochester, New York (March 1996)
  Concentration: Signal/Image/Video Processing, Pattern Recognition, and Computer Vision.
  Dissertation: Automatic image annotation and query-by-example using color, shape and texture information.

  M.S., Electrical Engineering, University of Rochester, Rochester, New York (May 1992)
  Concentration: Signal/Image/Video Processing, Pattern Recognition, Computer Vision, Communications.

  B.S., Electrical and Computer Engineering, Summa Cum Laude, State University of New York at Buffalo, Buffalo,
  New York (May 1988).
  Concentration: Computers, Microprocessors, Communications, Instrumentation.

  A.S., Engineering Science, Mohawk Valley Community College, Utica, New York (May 1986)


                                            RESEARCH INTERESTS

       •   Image and Video Processing for Multimedia, Military & Biomedical Applications.
       •   Computer Vision and Three-Dimensional Scene Reconstruction.
       •   Color Image Processing for Printing and Multimedia Applications.



                                      CAREER MAJOR HIGHLIGHTS

  •    Academic Experience:
       • Teaching: Taught/continue to teach undergraduate and graduate courses in the signal/image/video
           processing, computer vision, controls and communications focus areas with excellent feedback from students
           from 1996 to Present. Founded new coursework in Digital Video Processing and Pattern Recognition.
       • Research: Conducted research on multiple acquired government and industry grants in the areas of: 1)
           image/video processing for multimedia, military and biomedical applications, 2) deep learning/artificial
           intelligence for object detection and tracking purposes, 3) three-dimensional scene reconstruction for remote
           sensing, and 4) color image processing for printing and multimedia applications. Graduated several PhD and
           MS students. Currently co-advising 2 PhD students and 2 MS students.
       • External Funding: Acquired external funding as PI in excess of $3.5 Million and as PI/Co-PI in excess of
           $5 Million over the period of September 2004 to present from government agencies and industry partners.
       • Publications: 1 Book, 2 Special Issues, 38 Journal, 98 Conference and 11 Patents/Patent Publications.
       • Service: Served/chaired several department, college and university level committees. Chaired the Graduate
           Program at the EME department for a period of five years. Served on the academic senate for a period of 9
           years and on the Academic Senate Executive Committee for a period of 3 years.
  •    Industrial Experience: Worked for Xerox Corporation from 1988 until 2004 in a variety of engineering,
       managerial and scientific positions ending as Product Development Scientist and Manager.
  •    Consulting/Litigation Experience: Served as an expert in several patent and non-patent cases representing
       various companies such as Lyft, Genetec, Interactive Digital Solutions, Hisense, Perfect Corporation,
       Corephotonics, Wells Fargo, Netflix, Blackberry, 3Shape, Nikon, Hewlett-Packard, Qomo Hitevission, Sony, and


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      Canon. Provided declarations in support of multiple Inter Partes Reviews (IPR), expert opinions and reports with
      regards to validity/invalidity, infringement/non-infringement and domestic industry, tutorial at Markman hearing
      and testimony in court proceedings.
  •   Professional Activities: Served on several IEEE and SPIE conferences in various chair positions including
      Finance, Tutorials, Plenaries and Technical Program. Served as general chair for two conferences.
  •   Honors & Awards: RIT Trustees Award (2012), KGCOE Scholarship Award (2012), EME Gleason Professor
      (2011-2013), and PI Millionaire (2011).



                                         ACADEMIC EXPERIENCE
  Professor (Associate 2004 – 2010, Full 2010 – Present), Department of Electrical and Microelectronic Engineering
  (EME), Kate Gleason College of Engineering (KGCOE), Rochester Institute of Technology.
  Extended Faculty (2004 – Present), Center for Imaging Science (CIS), Rochester Institute of Technology.
  Director of the Image, Video and Computer Vision Laboratory (2004 – Present)
  Graduate Program Director (2010 – 2014)

  •   Teaching: Responsible for teaching undergraduate & graduate courses in Digital Signal Processing, Digital
      Image Processing, Digital Video Processing, Engineering Analysis, Advanced Engineering Mathematics,
      Random Signal & Noise, Pattern Recognition, Communication Systems, Digital Data Communications,
      Computer Vision, Modern Control Theory, Linear Systems, and Matrix Methods. Typically teaching two courses
      per semester as required by department. Have taught three per semester on occasion to fulfill department needs.
  •   Research: Director of the Image, Video and Computer Vision Laboratory. Currently co-advising 2 PhD and 2
      MS students on deep learning/machine learning/artificial intelligence applications for object detection and
      tracking. Advised several PhD and MS students in image/video segmentation, hierarchical image decomposition,
      video mosaicking/3-dimensional scene reconstruction, image/video understanding, object tracking/recognition.
      All students are/were funded under various government or corporate grants.
  •   Funding: Acquired funding as PI in excess of $3.5 Million and as PI/Co-PI in excess of $5 Million over the
      period of September 2004 – Present from various government agencies and industrial partners.
  •   Service (Department, College and University):
      • Advised/currently advising several undergraduate and graduate students on curriculum issues.
      • Member of the Academic Senate Resource Allocation and Budget Committee, the University Compensation
           Committee and of the Kate Gleason College of Engineering Promotion Committee.
      • Former Member (KGCOE representative) of the Academic Senate (2007 – 2013 and 2014-2017) and of the
           Academic Senate Executive Committee (2009-2010, 2016-2017).
      • Served as Chair of the RIT Vision 2025 committee per request from RIT President Dr William Destler.
           Committee was commissioned, over the summer of 2009, to review 80+ ideas submitted from all colleges
           and provide a recommendation to upper administration.
      • Former Member and Chair of KCGOE graduate committee.
      • Former Member of Graduate Council.
      • Served on several committees for curriculum development, recognition, and faculty search.
  •   Professional Activities:
      • Senior member of the Institute of Electrical and Electronic Engineers (IEEE) society.
      • Former Member of the IEEE Industry Technical Committee on DSP.
      • Former Member of the IEEE Image and Multidimensional Digital Signal Processing (IMDSP) technical
           Committee.
      • Former Area Editor for the Journal of Electronic Imaging.
      • Former member of the Imaging Science and technology (IS&T) society.
      • International Conference on Image Processing (ICIP) 2002 Finance Chair, ICIP 2007 and ICIP 2009 Tutorial
           Chair, ICIP 2012 General Chair, ICASSP 2017 Technical Program Chair, ICIP 2021 Plenary Chair.
      • Co-founder and General Chair of the Video Surveillance and Transportation Imaging Conference within the
           Electronic Imaging Symposium.
  •   Honors and Awards:



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      •   Awarded the Prestigious Trustees Scholarship award – the highest award at RIT with regards to research
          recognition
      •   Elected in 2011 as PI Millionaire.
      •   Awarded the EME Gleason Professor for 3 years (2011-2013).
      •   Elected as the Kate Gleason College of Engineering Scholarship award winner.

  Adjunct Faculty Member, Dept. of Electrical & Computer Engineering, University of Rochester. (09/96-07/04)
  • Taught undergraduate & graduate courses in Digital Signal Processing, Digital Image Processing, Pattern
     Recognition/Advanced Image Processing, Detection/Estimation Theory, and Analog & Digital Communications.
  • Advised and graduated 1 Ph.D. student in the areas of “Image Understanding” and “Database Content Indexing”.
  • Co-advised 1 Ph.D. student in the areas of “Watermarking”.
  • Advised and graduated 1 MS student in the area of “Color Rendering” and “Printer Characterization”.
  • Served as a committee member on several doctoral dissertations.
  • Served on PhD qualifying examinations for the Signal Processing and Communications Concentration.
  • Sought and captured funding from the National Science Foundation for the development of an intelligent image
     database system. Proposal funded for 4 years under NSF Grant IIS – 9820721
  • Sought and captured industrial funding from Xerox Corporation for Printer Color Characterization & Digital
     Front End Object Oriented Rendering.


  Adjunct Faculty Member, Dept. of Electrical Engineering, Rochester Institute of Technology. (03/98-07/04)
  • Taught undergraduate and graduate courses in Pattern Recognition, Digital Video Processing, Random Signal &
     Noise, Image and Video Compression, and Communications.
  • Advised and graduated a master student in the area of “Texture Classification”.




                                       INDUSTRIAL EXPERIENCE
  Product Development Scientist & Manager, Print Engine Development Unit, Xerox Corporation. (10/98-08/04)
  Major responsibilities included:
  • Lead the Image Science, Analysis and Evaluation area (12-15 direct reports and ~$2 Million budget).
  • Lead the development of highlight color specifications for the Sorrento print engine.
  • Lead the development of color characterization algorithms for the iGen3 print engine.
  • Lead the image quality integration of two color front end for the iGen3 Product.
  • Lead the development of ROS and LED based imaging systems and image path architectures for upcoming
     highlight & full color products.
  • Lead the development of xerographic hardware/algorithms & imaging systems for the DP92C highlight color
     product. (Product launched 9/30/99 and follow-on launched 4/20/00)
  • Lead the research and development of image quality metrics for various product platforms and their dissemination
     throughout the Print Engine Development Unit and Xerox Corporation.
  • Collaborate with the Department of Electrical & Computer Engineering (Univ. of Rochester) & the Center for
     Electronic Imaging Systems.

  Advanced Development Scientist and Manager, Print Cartridge Delivery Unit, Xerox Corporation. (2/97 – 9/98)
  Major responsibilities included:
  • Establish the Advanced Design Laboratory (an imaging/xerographics lab) and provide technical and managerial
     leadership for the Electrical, Imaging and Xerographics Dept.
  • Perform image processing and xerographic hardware/software design and development for low/mid volume color
     copiers and printers for current and future programs.
  • Perform technology development, modeling, and product design for upcoming Xerox color products, specifically
     image on paper and image on belt products..
  • Lead the development of the xerographic module for a color intermediate belt transfer product with direct
     technical and management responsibilities.


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  •   Collaborate with the Department of Electrical & Computer Engineering (Univ. of Rochester) & the Center for
      Electronic Imaging Systems.

  Research and Development Scientist, Production Systems Group, Xerox Corporation. (1/96-1/97)
  Major responsibilities included:
  • Lead the design and development of color characterization/management and image quality algorithms and
      specifications for digital front ends destined to drive high quality, high speed color print engines.
  • Integrate color management & image processing algorithms into the Raster Image Processing module.
  • Participate in the design and development of a high speed raster image processing architecture.
  • Benchmark developed algorithms against existing products & systems both internally and externally.
  • Collaborate with the Department of Electrical & Computer Engineering of the University of Rochester and the
      Center for Electronic Imaging Systems.

  Research and Development Engineer, Corporate Research, Xerox Corporation (8/93-12/95) & Department of
  Electrical & Computer Engineering, University of Rochester. (1/95-12/95). Major responsibilities included:
  • Design and develop query by image content and query by example image annotation algorithms utilizing color,
      shape, texture and motion cues. System is able to perform query by keywords, color, shape, texture, and/or a
      combination of the above cues.
  • Design and develop intelligent image segmentation algorithms. These algorithms are currently utilized in the
      query by image content and query by example systems described above.
  • Design and develop face detection and facial feature extraction approaches.
  • Design and develop color characterization/calibration and image quality algorithms for Digital Front Ends aimed
      at driving high speed / high quality print engines.
  (Note: Image annotation/content analysis research was done in conjunction with the Department of Electrical &
  Computer Engineering and Center for Electronic Imaging Systems leading to the Ph.D.)

  Electronic, Computer and Instrumentation Engineer, New Toner/Developer Facility Engineering, Xerox
  Corporation. (6/88-7/93). Major responsibilities included:
  • Provide design, development, installation, startup, and training for multiple toner production facilities.
  • Provide development and implementation of control system database, software and displays for several systems.
  • Evaluate vendor supplied electrical specifications and drawings.
  • Manage and coordinate the efforts of technicians, electrical support, construction crew, and industrial workforce
      during the design, construction, startup, and implementation phases.
  • Supervise and complete a number of upgrade projects for toner & photoreceptor production including software
      development, preparation of electrical design, procurement of necessary equipment and parts, supervision of
      technicians, contractors and industrial workforce, and scheduling of construction.

  During this time, I gained extensive experience in the following systems: Fisher distributive control, unit operation
  controller, Provue console, Acrison material handling, Werner and Pfleiderer extrusion, Alpine air grinding,
  Majac/Micropul centrifugal classifiers, dry/wet material screening, Waeschle and others bulk powder storage and
  pneumatic convey, Ingersoll Rand and Joy compressed air equipment, Statistical process control.



                                        CONSULTING EXPERIENCE
  Expert on Legal Cases: Served as expert in multiple patent cases representing various companies such as Lyft,
  Genetec, Interactive Digital Solutions, Hisense, Perfect Corporation, Corephotonics, Wells Fargo, Netflix, Blackberry,
  3Shape, Nikon, Hewlett-Packard, Qomo Hitevission, Sony, and Canon.. Provided: 1) declarations in support of
  multiple Inter Partes Reviews (IPR); 2) expert opinions and reports with regards to validity/invalidity,
  infringement/non-infringement and domestic industry; 3) tutorial at Markman hearing and 4) testimony in multiple
  court proceedings.

  Summary of Experience:



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      •    IPR/Declarations: Provided declarations in support of 19 IPR proceedings.
      •    Depositions: Provided 11 Depositions.
      •    Court Testimony: Testified in International Trade Commission Court in Sept. 2018 and Oct. 2019.
      •    Expert Opinions: Provided multiple expert opinions and reports in support of validity/invalidity,
           infringement/non-infringement, domestic industry and rebuttals.
      •    Claim Construction: Provided reports in support of claim construction.
      •    Hearings: Attended one Markman hearing and provided a brief technology tutorial.


  Industrial Training: Developed and conducted industrial training at Xerox Corporation for engineering personnel
  over three separate summer periods in the areas of signal and image processing, color engineering, and control systems
  with a distinct focus on digital front ends and print engines. I have also provided pattern recognition/shape matching
  expertise for Leica corporation.


                                                       BOOKS

      1. S. Dianat and E. Saber, “Advanced Linear Algebra for Engineers with MATLAB”, CRC press,
         February 2009.

                                                SPECIAL ISSUES

      1. H. J. Trussell, E. Saber and M. Vrhel, “Color Image Processing”, IEEE SP magazine, January
         2005.
      2. R. Loce and E. Saber, “Video Surveillance and Transportation Imaging”, Journal of Electronic
         Imaging, 22(4), Dec. 2013


                            PEER-REVIEWED JOURNAL PUBLICATIONS
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           Object Detection in Multimodal Remote Sensing Imagery”, IEEE Journal of Selected Topics in Applied
           Observations and Remote Sensing, Vol. 14, 2021.
      2.   S. Piramanayagam, E. Saber, and N. Cahill, “Gradient Driven Unsupervised Video Segmentation using Deep
           Learning Techniques”, Journal of Electronic Imaging, 29 (1), 013019, 2020
      3.   U. Gewali, S. Monteiro and E. Saber, “Spectral Super-Resolution with Optimized Bands”, Remote Sensing,
           11(14), 2019
      4.   U. Gewali, S. Monteiro and E. Saber, “Gaussian Processes for Vegetation Parameter Estimation from
           Hyperspectral Data with Limited Ground Truth”, Journal of Remote Sensing, 11(13), 2019.
      5.   Y. Liang, P. Markopoulos and E. Saber, “Spatial-Spectral Segmentation of Hyperspectral Images for
           Subpixel Target Detection”, Journal of Applied Remote Sensing, 13(3), 2019.
      6.   Y. Liu, S. Piramanayagam, S. Monteiro, and E. Saber. "Semantic segmentation of multisensor remote sensing
           imagery with deep ConvNets and higher-order conditional random fields." Journal of Applied Remote
           Sensing 13, no. 1 (2019): 016501
      7.   U. Gewali, S. Monteiro and E. Saber, “Hyperspectral Image Analysis using Machine Learning: A Survey”,
           arXiv preprint, 2018.
      8.   S. Piramanayagam, E. Saber, W. Schwartzkopf, F.W. Koehler, “Supervised Classification of
           Multisensor Remotely Sensed Images using a Deep Learning Framework”, Remote Sensing Journal, 10 (9),
           2018.
      9.   S. R. Vantaram, Y. Hu, E. Saber and S. Dianat, “Synthesis of Intensity Gradient and Texture Information for
           Efficient Three-Dimensional Segmentation of Medical Volumes”, Journal of Medical Imaging 2, no. 2
           (2015): 024003-024003.




  October 30, 2022                                    Dr. Eli Saber, PhD                                              5
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      10. S. R. Vantaram, S. Piramanayagam, E. Saber and D. Messinger, “Automatic Spatial Segmentation of
          Multi/Hyperspectral Imagery by Fusion of Spectral-Gradient-Textural Attributes”, Journal of Applied and
          Remote Sensing, Vol. 9, No. 1, pp. 095086 (1-37), 2015.
      11. S. R. Vantaram and E. Saber, “A Survey of Contemporary Trends in Color Image Segmentation”, Journal
          of Electronic Imaging, 21(4), 040901, Oct-Dec 2012.
      12. M. S. Erkilinc, M. Jaber, E. Saber, “Text, Photo and Line Extraction in Scanned Documents”, Journal of
          Electronic Imaging, Vol. 21, 033006, July 2012.
      13. T. Keane, E. Saber, H. Rhody, A. Savakis and J. Raj, “Practical Image Registration Concerns Overcome by
          the Weighted and Filtered Mutual Information Metric”, Journal of Electronic Imaging, Vol. 21(2), 023029,
          June 2012.
      14. P. Gurram, E. Saber and H. Rhody, “Semi-automated System for three-dimensional Modeling of Buildings
          from Aerial Video”, Journal of Electronic Imaging, Vol. 21(1), 013007, Jan-Mar 2012.
      15. M. Jaber and E. Saber, “Probabilistic Approach for Extracting Regions of Interest in Digital Images”, Journal
          of Electronic Imaging, Vol. 19, No. 2, April - June 2010.
      16. X. Fan, H. Rhody and E. Saber, “A Spatial Feature Enhanced MMI Algorithm for Multimodal Airborne
          Image Registration”, IEEE Transaction on Geoscience and Remote Sensing, Vol. 48, Issue 6, pp. 2580 –
          2589, 2010.
      17. P. Gurram, E. Saber and H. Rhody, “A Segment-Based Mesh design for Building Parallel-Perspective Stereo
          Mosaic”, IEEE Transactions on Geoscience and Remote Sensing, Vol. 48, No. 3, March 2010.
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          Gradient-based color image Segmentation”, Journal of Electronic Imaging, Volume 19, Number 1, pp. 1-21,
          January-March 2010.
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          Dynamic Region Growth and Multi-resolution Merging”, IEEE Transactions on Image Processing, Vol. 18,
          No. 10, Oct. 2009.
      20. H. Santos, E. Saber, and W. Wu, “Streak Detection in Mottled and Noisy Images”, Journal of Electronic
          Imaging, Vol. 16, No. 4, 2007.
      21. O. Ugbeme, E. Saber and W. Wu, “An Automated Algorithm for the Identification of Artifacts in Mottled
          and Noisy Images”, Journal of Electronic Imaging, Vol. 16, No. 3, 2007.
      22. V. Misic, V. Sampath, Y. Yu and E. Saber, “Prostate Boundary Detection and Volume Estimation Using
          TRUS Images for Brachytherapy Applications”, International Journal of Computer Assisted Radiology and
          Surgery, Vol. 2, No. 2, pp. 87-98, August 2007.
      23. A. Ononye, A. Vodacek and E. Saber, “Towards Automatic Extraction of Fire Line Parameters from
          Multispectral Infrared Images”, Journal of Remote Sensing of Environment, Vol. 108, pp. 179 – 188, 2007.
      24. E. Saber, S. Dianat and L. Mestha, “DSP utilization in Digital Color Printing”, IEEE SP Magazine, July
          2005.
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          guided image labeling”, Pattern Recognition, Vol. 38, pp. 1560 – 1573, 2005.
      26. M. Celik, G. Sharma, A. M. Tekalp, E. Saber, “Lossless Generalized-LSB Data Embedding”, IEEE Trans.
          on Image Processing, Vol. 14, No. 2, pp. 253 – 266, February 2005.
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          methods, devices, and research”, IEEE Signal Processing Magazine, January 2005.
      28. H. J. Trussell, E. Saber and M. Vrhel, “Color Image Processing: Basics and Special Issue Overview”, IEEE
          Signal Processing Magazine, January 2005.
      29. Y. Xu, E. Saber, and A. M. Tekalp, “Dynamic Learning from Multiple Examples for Semantic Object
          Segmentation and Search”, Computer Vision and Image Understanding, Vol. 95, No. 3, pp. 334-353, Sept
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          Learning by Example and Multi-Level Segmentation”, Pattern Recognition, Vol. 36 (6), pp. 1407-1423, June
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          Transactions on Image Processing, Vol. 12, No. 6, June 2003.
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                            EXTERNAL FUNDING/FUNDED PROPOSALS

  Proposals Funded while at RIT
  •   Acquired/continue to acquire funding with multiple grants from government agencies and corporate partners
      (Hewlett-Packard, Dataphysics, Lenel, Xerox) in excess of $3.5 Million as PI and in excess of $5 Million as
      PI/Co-PI (total Portfolio) since joining RIT. A complete statement listing the details of each grant can be provided
      upon request.

  Proposals Funded prior to Joining RIT as an employee of Xerox Corporation and University of
  Rochester:
  •   A. M. Tekalp and E. Saber (co-PI), “An intelligent visual database system: Hierarchical content description and
      matching using integrated similarity metrics”, funded for $243K for four years at the University of Rochester by
      the National Science Foundation under NSF Grant IIS – 9820721.


                                           HONORS AND AWARDS

  •   Awarded the Prestigious Trustees Scholarship award – the highest award at RIT with regards to research
      recognition (2012)
  •   Elected as the Kate Gleason College of Engineering Scholarship award winner (2012).
  •   Elected as Electrical and Microelectronic Engineering Gleason Professor for 3 years Fall 2011 – Summer 2014.
  •   Elected as PI Millionaire by RIT Sponsored research organization.
  •   Winner of an M.S./Ph.D. scholarship for graduate study from Xerox Corporation.
  •   Winner of the quality recognition award from Xerox Corporation for outstanding performance.
  •   Core member of a toner/developer facility engineering project team recognized as ``The 1991 and 1993 team of
      the year" by the Delaware Valley Chapter of the Project Management Institute.
  •   Elected to the Electrical Engineering Honor Society, Eta Kappa Nu.
  •   Winner of Gibran Khalil Gibran Scholarship for outstanding academic achievements.
  •   Valedictorian of the Electrical and Computer Engineering Department at the University of Buffalo.
  •   Recipient of several prizes and awards from the University of Buffalo and the Mohawk Valley Comm. College
      for excellent academic achievements; and from Xerox Corporation for outstanding performance.


                                        PROFESSIONAL ACTIVITIES

  •   Senior Member of the Institute of Electrical & Electronic Engineers.
  •   Member of the IEEE Signal Processing Society.
  •   Plenary Chair for ICIP 2021.
  •   Technical Program Chair for ICASSP 2017 in New Orleans.
  •   General Chair for ICIP 2012.
  •   Member of the IEEE Signal Processing society conference board for 3 year team starting January 2013.
  •   Tutorial chair for the International Conferences on Image Processing, ICIP 2007 and ICIP 2009.
  •   Special session chair on Color Image Processing for the European Signal Processing Conference, Sept. 2006.
  •   Finance Chair for the International Conference on Image Processing 2002 held in Rochester, NY.
  •   Former Area Editor for the Journal of Electronic Imaging.
  •   Guest Editor for the “Color Image Processing” issue of the Signal Processing Magazine.
  •   Associate Editor for the IEEE Transactions on Image Processing for five years. Term ended: April 2009.



  October 30, 2022                                     Dr. Eli Saber, PhD                                              12
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  •   Former Associate Editor for the IEEE Signal Processing Magazine for DSP Applications Forum.
  •   Former Member of the IEEE Image & Multidimensional Digital Signal Processing Technical Committee.
  •   Former Member of IEEE Tech. Comm. on Industry DSP Technology in 2003 & 2004 & Chair for 2005, 2006.
  •   Technical program committee member for ICIP 2009 and prior ICIPs.
  •   Technical program committee member for ICASSP 2010 and prior ICASSPs.
  •   Session chair for several ICIP & ICASSP Conferences and Workshops.
  •   Chairman, vice-chairman, treasurer, and secretary of the IEEE Rochester Chapter of the signal processing society
      in 1998, 1997, 1996 and 1995 respectively.
  •   Reviewer for the IEEE Trans. on Image Processing, IEEE Trans. on Pattern Analysis and Machine Intelligence,
      Graphical Models and Image Processing, IEEE Trans. on Signal Processing, IEEE Signal Processing Letters,
      Color Research and Applications, Graphical Modeling and Image Understanding, Image and Vision Computing,
      Optical Engineering, Journal of Imaging Science and Technology, and the Journal of Electronic Imaging.
  •   Technical committee for Western New York Imaging Workshop in 1997 and 1999 and general chair in 1998.
  •   Co-Chair of the Xerox Electronic Image and Video Processing Technology Council.

                             References Available Upon Request




  October 30, 2022                                   Dr. Eli Saber, PhD                                            13
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                                   APPENDIX B
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                        Exhibit G
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 902 of 2562 PageID #: 8403
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 903 of 2562 PageID #: 8404
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 904 of 2562 PageID #: 8405
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 905 of 2562 PageID #: 8406
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 906 of 2562 PageID #: 8407
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 907 of 2562 PageID #: 8408
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 928 of 2562 PageID #: 8429
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 929 of 2562 PageID #: 8430
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 937 of 2562 PageID #: 8438
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 938 of 2562 PageID #: 8439
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 939 of 2562 PageID #: 8440
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 940 of 2562 PageID #: 8441
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 941 of 2562 PageID #: 8442
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 942 of 2562 PageID #: 8443
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 943 of 2562 PageID #: 8444
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 944 of 2562 PageID #: 8445
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 945 of 2562 PageID #: 8446
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 946 of 2562 PageID #: 8447
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 947 of 2562 PageID #: 8448
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 948 of 2562 PageID #: 8449
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 949 of 2562 PageID #: 8450
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 950 of 2562 PageID #: 8451
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 951 of 2562 PageID #: 8452
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 952 of 2562 PageID #: 8453
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 953 of 2562 PageID #: 8454
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 954 of 2562 PageID #: 8455
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 956 of 2562 PageID #: 8457
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 957 of 2562 PageID #: 8458
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 958 of 2562 PageID #: 8459
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 959 of 2562 PageID #: 8460
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 960 of 2562 PageID #: 8461
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 961 of 2562 PageID #: 8462
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 962 of 2562 PageID #: 8463
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 964 of 2562 PageID #: 8465
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 967 of 2562 PageID #: 8468
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 968 of 2562 PageID #: 8469
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 969 of 2562 PageID #: 8470
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 970 of 2562 PageID #: 8471
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 971 of 2562 PageID #: 8472
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 972 of 2562 PageID #: 8473
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 973 of 2562 PageID #: 8474
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 974 of 2562 PageID #: 8475
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 980 of 2562 PageID #: 8481
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 981 of 2562 PageID #: 8482
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 982 of 2562 PageID #: 8483
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 983 of 2562 PageID #: 8484
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 984 of 2562 PageID #: 8485
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 985 of 2562 PageID #: 8486
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 986 of 2562 PageID #: 8487
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 987 of 2562 PageID #: 8488
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 988 of 2562 PageID #: 8489
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 989 of 2562 PageID #: 8490
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 990 of 2562 PageID #: 8491
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 991 of 2562 PageID #: 8492
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 992 of 2562 PageID #: 8493
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 993 of 2562 PageID #: 8494
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 994 of 2562 PageID #: 8495
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 995 of 2562 PageID #: 8496
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 996 of 2562 PageID #: 8497
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 997 of 2562 PageID #: 8498
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 998 of 2562 PageID #: 8499
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 999 of 2562 PageID #: 8500
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1000 of 2562 PageID #: 8501
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1001 of 2562 PageID #: 8502
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1002 of 2562 PageID #: 8503
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1003 of 2562 PageID #: 8504
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1004 of 2562 PageID #: 8505
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1005 of 2562 PageID #: 8506
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1006 of 2562 PageID #: 8507
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1007 of 2562 PageID #: 8508
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1008 of 2562 PageID #: 8509
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1009 of 2562 PageID #: 8510
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1010 of 2562 PageID #: 8511
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1011 of 2562 PageID #: 8512
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1012 of 2562 PageID #: 8513
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1013 of 2562 PageID #: 8514
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1014 of 2562 PageID #: 8515
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1015 of 2562 PageID #: 8516
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1016 of 2562 PageID #: 8517
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1017 of 2562 PageID #: 8518
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1018 of 2562 PageID #: 8519
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1019 of 2562 PageID #: 8520
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1020 of 2562 PageID #: 8521
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1035 of 2562 PageID #: 8536
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1036 of 2562 PageID #: 8537
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1037 of 2562 PageID #: 8538
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1038 of 2562 PageID #: 8539
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1039 of 2562 PageID #: 8540
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1041 of 2562 PageID #: 8542
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1053 of 2562 PageID #: 8554
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1055 of 2562 PageID #: 8556
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1056 of 2562 PageID #: 8557
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1059 of 2562 PageID #: 8560
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1060 of 2562 PageID #: 8561
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1106 of 2562 PageID #: 8607
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1107 of 2562 PageID #: 8608
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                        Exhibit H
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U.S. Patent No. 10,452,974
Claim 1                    Exemplary Infringement Evidence1
[1pre] A method            Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
implemented using a        enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
computing system that      infringes the ’974 patent. Each of these vehicles practices a method of using a computing system that
includes one or more       includes one or more processor circuits. A fleet of Tesla vehicles alone or together with the Tesla DoJo
processor circuits, the    super computer is also an example of a computing system that practices the claimed method.
method comprising:
                           As a driver drives a Tesla vehicle, the vehicle learns various circumstances (e.g., pedestrians, other
                           vehicles, roads, buildings, bikes, road debris, animals, etc.) as well as driving instructions (e.g.,
                           instructions for effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate those
                           circumstances. This driving knowledge learned on one Tesla vehicle is transmitted to the Tesla DoJo
                           computer and then distributed to all vehicles in Tesla fleet via over-the-air (OTA) software updates.
                           The fleet, therefore, enables each vehicle in the fleet to autonomously implement driving instructions
                           learned on one or more originating vehicles when similar circumstances are detected by any of the
                           vehicles in Tesla fleet, thereby enabling their autonomous driving.

                               Tesla explains its object detection (e.g., circumstance representation) technology as follows:




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    These infringement contentions are prepared with publicly available information.
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                             https://www.youtube.com/watch?v=33K3id2xNAE&t
                             “so object detection is something we care a lot about we’d like to put bounding boxes around say the
                             cars and the objects here because we need to track them and we need to understand how they might
                             move around so again we might ask human annotators to give us some annotations for these and
                             humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                             and you can train your neural network on this but if you’re not careful the neural network all will make
                             miss predictions in some cases”




                             https://www.youtube.com/watch?v=33K3id2xNAE&t
                             “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                             network actually when I joined would actually create two deductions it would create a car deduction
                             and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                             exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                             the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                             of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                             you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                             we that we go through internally in the team is that we take this image or a few images that show this
                             pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                             source us examples that look like that and the fleet might respond with images that contains those
                             patterns”




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                             “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                             and we would go in and we would annotate all those as just a single car and then the the performance of
                             that detector actually improves and the network internally understands that hey when the bike is just
                             attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                             how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                             look for all the thing we look for lots of things all the time.”




                             “so for example we look for boats and the fleet can respond with boats we look for construction sites
                             and the fleet can send us lots of construction sites from across the world we look for even slightly more
                             rare cases”



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                             “so for example finding debris on the road is pretty important to us so these are examples of images that
                             have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                             source these at scale we can annotate them correctly and the neural network will learn how to deal with
                             them in the world”




                             “here’s another example animals of course also a very rare occurrence an event but we wanted the
                             neural network to really understand what’s going on here that these are animals and we want to deal
                             with that correctly”




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                             “so to summarize the process by which we iterate on neural network predictions looked something like
                             this we start with a seed data set that was potentially sourced at random we annotate that data set and
                             then we train your networks on that data set and put that in the car and then we have mechanisms by
                             which we notice inaccuracies in the car when this detector may be misbehaving”




                             “so for example if we detect that the neural network might be uncertain or if we detect that or if there’s
                             a driver intervention or any of those settings we can create this trigger infrastructure that sends us data
                             of those inaccuracies and so for example if we don’t perform very well on lane line detection on tunnels
                             then we can notice that there’s a problem in tunnels that image would enter our unit tests so we can
                             verify that we’ve actually fixing the problem over time but now what you do is to fix this inaccuracy you

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                             need to source many more examples that look like that so we asked the fleet to please send us many
                             more tunnels and then we label all those tunnels correctly we incorporate that into the training set and
                             we retrain the network redeploy and iterate the cycle over and over again and




                             “so we refer to this iterative process by which we improve these predictions as the data engine so
                             iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                             the training set over and over again and we do this basically for all the predictions of these neural
                             networks”

                             As Mr. Musk explained during Tesla AI Day all the human drivers are essentially training the neural
                             net as to what is the correct course of action. See Tesla AI Day 2021 video
                             https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29. This is an example of the system being
                             trained with object representations and instructions from a vehicle.

                             As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                             actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                             to traverse different environments so what we're looking at here is a some person in the fleet who took a
                             left through an intersection and what we do here is we have the full video of all the cameras and we
                             know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                             angle, the wheel ticks, so we put all that together and we understand the path that this person took
                             through this environment and then of course we can use this for supervision [e.g., training a CNN
                             through supervised learning] for the network so we just source a lot of this from the fleet, we train a

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                             neural network on those trajectories, and then the neural network predicts paths just from that data so
                             really what this is referred to typically is called imitation learning we're taking human trajectories
                             from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                             the same data engine crank to all of this and make this work.”
                             https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                             In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the DoJo super
                             computer where it is synthesized with other driving knowledge, (iii) packaged and sent from the DoJo
                             to the fleet, e.g., the driving knowledge is stored on a memory of a second Tesla vehicle via the fleet
                             over-the-air (OTA) software update, and (iv) accessed on the second Tesla vehicle for its autonomous
                             driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned on the first
                             Tesla vehicle and synthesized on the DoJo.

                             Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the
                             full self-driving computer/chip) configured to perform full self-driving.




                             See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11
                             (Tesla full self driving computer) and at 10:22 (Tesla full self driving chip).
[1a] accessing a memory      The processor of the second Tesla vehicle (the claimed “second device”) accesses its memory that
that stores at least a       stores at least a knowledgebase that includes a first circumstance representation (e.g., representation
knowledgebase that           of pedestrians, other vehicles, roads, buildings, etc.) correlated with a first set of driving instructions
includes:                    (e.g., driving instructions for effecting speed, steering, breaking, trajectory, etc.; the claimed “first one
                             or more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”) and a
a first correlation          second circumstance representation (e.g., representation of pedestrians, other vehicles, roads,

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including a first          buildings, etc.) correlated with a second set of driving instructions (e.g., driving instructions for
circumstance               effecting speed, steering, breaking, trajectory, etc.; the claimed “second one or more instruction
representation correlated  sets”) for operating a first Tesla vehicle.
with a first one or more
instruction sets for
operating a first device
and

a second correlation
including a second
circumstance
representation correlated
with a second one or more
instruction sets for
operating the first device,

wherein the first
circumstance
representation represents a
first circumstance detected
at least in part by one or     See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
more sensors of the first      of the claimed “circumstance representation”)
device and the second
circumstance
representation represents a
second circumstance
detected at least in part by
the one or more sensors of
the first device, and

wherein at least a portion
of the first correlation and

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at least a portion of the
second correlation are
learned in a learning
process that includes
operating the first device
at least partially by a user;




                                See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:32:40-48
                                (combining everything together we can produce these amazing data sets that annotate all of the road
                                texture or the static objects and all of the moving objects [example of the claimed examples of first
                                and second “circumstance representation[s]”])




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                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing
                             an automatic emergency breaking system). As shown in the clip, each Tesla vehicle has sensors such as
                             cameras, etc. that are used to detect a first circumstance, e.g., a pedestrian in front of the vehicle.




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                             See also Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00
                             (a stream of videos from eight cameras [the claimed “one or more sensors”] across the vehicle used to
                             make a lane change).

                             As detailed above, the circumstance representations (e.g., a representation of a pedestrian in front the
                             vehicle, representation of surrounding vehicles in a lane change situation, animals or debris in the road,
                             a stop light, a stop sign, etc.) (“wherein the first circumstance representation represents a first
                             circumstance detected at least in part by one or more sensors of the first device and the second
                             circumstance representation represents a second circumstance detected at least in part by the one
                             or more sensors of the first device”)
                             and the corresponding driving instructions (e.g., instructions for applying the breaks so the pedestrian is
                             not hit or so that traffic laws are obeyed, or instructions for turning the wheel to safely change lanes or
                             avoid an animal or debris, etc.) are learned in a process that involves a driver (the claimed “user”)
                             operating the first Tesla vehicle (the claimed “wherein at least a portion of the first correlation and
                             at least a portion of the second correlation are learned in a learning process that includes

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                             operating the first device at least partially by a user”).




                             See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                             (while you [the claimed “user”] are driving a car what you’re actually doing is you are annotating the
                             data because you are steering the wheel [e.g., learned instructions] you’re telling us how to traverse
                             different environments so what we’re looking at here is some person in the fleet who took a left through
                             an intersection and what we do here is we have the full video of all the cameras and we know that the
                             path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the wheel
                             ticks, so we put all that together and we understand the path that this person took through this
                             environment [circumstance representation representing the environment correlated with driving
                             instructions on how to traverse the environment]. and then of course we can use this for supervision
                             for the network so we just source a lot of this from the fleet, we train a neural network on those
                             trajectories, and then the neural network predicts paths just from that data. … we’re taking human
                             trajectories from the real world we’re just trying to imitate how people drive in real worlds)

                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the

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                             human drivers are essentially training the neural net as to what is the correct course of action [the
                             claimed driving instructions])




                            See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video at https://www.youtube.com/watch?v=-
                            b041NXGPZ8 at 1:03:50 (everyone is training the network all the time), 1:30:55 (Tesla system learns
                            from drivers training the system), and 1:52:23 (high level chart clearly showing monitoring and
                            learning from human drivers and implementing autonomous driving based on the learned knowledge).
[1b] generating or          The processor of the second Tesla vehicle (the claimed “second device”) generates a third
receiving a third           circumstance representation that represents a current circumstance (e.g., pedestrians, other vehicles,
circumstance                roads, buildings, animals, debris, etc.) detected at least in part by its cameras (the claimed “one or
representation, wherein the more sensors of a second device”).
third circumstance
representation represents a For instance, when the system is deployed to the fleet, a second Tesla vehicle (the claimed “second
third circumstance          device”) generates a third circumstance representation (e.g., representation of a different pedestrian

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detected at least in part by in front the vehicle, representation of different surrounding vehicles in a lane change situation,
the one or more sensors of representation of a different intersection in a left turn situation, etc.) that is detected by the second Tesla
the first device or at least vehicle’s sensors (e.g. cameras). The third circumstance representation is generated so it can be
in part by one or more       compared with previously learned circumstance representations (the claimed “first circumstance
sensors of a second          representation” or “second circumstance representation”), and if a similar match (the claimed “at
device;                      least partial match” in claim element 1c) is found, the correlated driving instructions (the claimed
                             “first one or more instruction sets” or “second one or more instruction sets” in claim element 1a)
                             can be used for autonomous driving.

                              Analogous evidence as for first and second circumstance representations and “one or more
                              sensors” recited in claim element 1a applies to “third circumstance representation” and “one or
                              more sensors” here (e.g., information detected by the second car’s sensors), and it is not duplicated to
                              save space. See claim element 1c.

                              As explained during the 2021 AI day, Tesla said it “discovered that we don’t just want to detect cars,
                              we want to do a large number of tasks. So for example, we want to do traffic light recognition and
                              detection, a lane prediction and so on. So very quickly, we conversioned this kind of architectural
                              layout, where there’s a common shared backbone, and then branches off into a number of heads. So we
                              call these therefore Hydra Nets. And these are the heads of the Hydra.”

                              https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/




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                               https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/
[1c] anticipating the first    The processor of the second Tesla vehicle (the claimed “second device”) anticipates a set of driving
one or more instruction        instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions for
sets for operating the first   turning the wheel to safely change lanes or to avoid an animal or debris, instructions for turning left in
device learned in the          an intersection, etc.; the claimed “first one or more instruction sets”) based on similarity (the
learning process based on      claimed “at least partial match”) between the first circumstance representation (e.g., a
at least partial match         representation of a pedestrian in front the vehicle, a representation of surrounding vehicles in a lane
between the third              change situation, a representation of an animal or debris, representation of an intersection in a left turn

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circumstance                 situation, etc. as previously learned on the first Tesla vehicle) and a third circumstance
representation and the first representation (e.g., a representation of a pedestrian in front the vehicle, a representation of
circumstance                 surrounding vehicles in a lane change situation, a representation of an animal or debris, representation
representation; and          of an intersection in a left turn situation, etc. as currently detected by the second Tesla vehicle).
                             Therefore, Tesla vehicles anticipate previously learned driving instructions based on similarity between
                             the currently generated circumstance representation and previously learned circumstance
                             representations.




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (let’s see
                             an example of how the search [e.g., search for previously learned driving instructions for effecting
                             a trajectory correlated with a previously learned circumstance representation that at least
                             partially matches the incoming circumstance representation] operates. so here we’re trying to do a
                             lane change. in this case the car needs to do two back to back lane changes to make the left turn up
                             ahead. for this, the car searches over different maneuvers. so the first one it searches is a lane change
                             that’s close by but the car breaks pretty harshly so it’s pretty uncomfortable. the next maneuver it tries

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                               does the lane change a bit late so it speeds up, goes beyond the other car, goes in front of the other cars,
                               and find it at the lane change but now it risks missing the left turn. we do thousands of such searches in
                               a very short time span). See also id. at 2:32:42 (similarly, for planning, we need to bake in a search
                               [e.g., search for previously learned driving instructions for effecting a trajectory correlated with a
                               previously learned circumstance representation that at least partially matches the incoming
                               circumstance representation] and optimization into the planning, into the network architecture, and
                               once we do that we should be able to do planning very quickly).
[1d] at least in response to   The processor of the second Tesla vehicle (the claimed “second device”) executes, at least in response
the anticipating, executing    to the anticipating (claim element 1d), the previously learned set of driving instructions (the claimed
the first one or more          “first one or more instruction sets for operating the first device”) so that the second vehicle (the
instruction      sets    for   claimed “second device”) can drive autonomously based on the driving instructions learned on the first
operating the first device     Tesla vehicle (the claimed “first device”).
learned in the learning
process, wherein the first     For instance, memory of the second Tesla vehicle stores a first circumstance representation (e.g.,
device or the second           representation of a pedestrian in front the vehicle, representation of surrounding vehicles in a lane
device        autonomously     change situation, representation of an intersection in a left turn situation, etc.) correlated with a set of
performs one or more           driving instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions
operations defined by the      for turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the
first    one     or    more    claimed “first one or more instruction sets”) that have previously been learned on a first Tesla
instruction      sets    for   vehicle (the claimed “first device”) and have been transferred to the second Tesla vehicle (the
operating the first device     claimed “second device”) via the fleet over-the-air (OTA) software update. In response to determining
learned in the learning        that the incoming circumstance representation (e.g., representation of a pedestrian currently in front the
process.                       vehicle, representation of currently surrounding vehicles in a lane change situation, representation of a
                               current intersection in a left turn situation, etc.) is similar to (the claimed “at least partial match”) the
                               previously learned circumstance representation (e.g., representation of a pedestrian previously in front
                               the vehicle, representation of previously surrounding vehicles in a lane change situation, representation
                               of a previous intersection in a left turn situation, etc.), the processor of the second Tesla vehicle (the
                               claimed “second device”) causes the previously learned driving instruction (e.g., instructions for
                               applying the breaks so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                               instructions for turning left in an intersection, etc.) to be executed.

                               As stated by Elon Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge

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                             learned from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates,
                             thereby enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement
                             driving knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and
                             Mr. Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
                             companies. See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video
                             https://www.youtube.com/watch?v=-b041NXGPZ8 at 38:58 (“I think a very powerful sustainable
                             advantage for us is the fleet”), 44:40 (“it is such a big deal that we have the fleet”), 55:55 (“why is
                             Tesla in such a unique and interesting position to really get all these three essentials right, and the
                             answer to that of course is the fleet”), 122:14 (“it’s extremely difficult to catch up when Tesla has 100
                             times more miles per day than everyone else combined”).




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (so this is
                             what a final architecture is going to look like. the vision system is going to crush down the dense video
                             data into a vector space [incoming circumstance representation representing objects in the second
                             Tesla vehicle’s surrounding]. it’s going to be consumed by both an explicit planner and a neural

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                               network planner [CNN that stores previously learned circumstance representations correlated
                               with previously learned driving instructions and that searches for at least partially matching
                               circumstance representation and correlated driving instructions] in addition to this, the network
                               planner can also consume intermediate features of the network. Together, this produces a trajectory
                               distribution and it can be optimized end to end both with explicit cost functions and human intervention
                               and other imitation data. this then goes into explicit planning function that does whatever it sees for that
                               and produces the final steering and acceleration commands for the car).
Claim 14                       Exemplary Evidence
14. The method of claim 1,     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
wherein the first              enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance representation    practices the method of claim 1. Also, the first circumstance representation includes: one or more
includes: one or more object   object representations, or one or more collections of object representations. The second circumstance
representations, or one or
                               representation includes: one or more object representations, or one or more collections of object
more collections of object
                               representations. And the third circumstance representation includes: one or more object representations,
representations, and wherein
the second circumstance        or one or more collections of object representations.
representation includes: one
or more object                 For example, the processor of the Tesla vehicle accesses its memory that stores at least a knowledgebase
representations, or one or     that includes first and second circumstance representations each including one or more object
more collections of object     representations or collections of object representations (e.g., representations of pedestrians, other
representations, and wherein   vehicles, roads, buildings, and collections of such representations, e.g., a bike on the back of a car, for
the third circumstance         example, etc.).
representation includes: one
or more object                 And the third circumstance representation received or generated by the Tesla vehicle includes one or
representations, or one or     more object representations (or one or more collections of object representations) (e.g., (e.g.,
more collections of object     representations of pedestrians, other vehicles, roads, buildings, and collections of such representations,
representations.
                               e.g., a bike on the back of a car, for example, etc.).




                                                                     19
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U.S. Patent No. 10,452,974




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
                             of the claimed “circumstance representations” with multiple object representations).


Claim 18                     Exemplary Infringement Evidence
[18pre] One or more non-     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
transitory         machine   enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
readable media storing       comprises one or more non-transitory machine readable media storing machine readable code that when
machine readable code        executed by one or more processor circuits causes the one or more processor circuits to perform the
that when executed by one    limitations below.
or more processor circuits
causes the one or more       The evidence cited for claim [1pre] above applies to this limitation and is incorporated by reference.
processor     circuits  to
perform at least:
[18a] accessing a memory     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
that stores at least a       enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer

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U.S. Patent No. 10,452,974
knowledgebase            that comprises machine readable code that can accessing a memory that stores at least a knowledgebase
includes: a first correlation that includes: a first correlation including a first circumstance representation correlated with a first one
including        a       first or more instruction sets for operating a first device and a second correlation including a second
circumstance                   circumstance representation correlated with a second one or more instruction sets for operating the first
representation correlated device, wherein the first circumstance representation represents a first circumstance detected at least in
with a first one or more part by one or more sensors of the first device and the second circumstance representation represents a
instruction      sets     for second circumstance detected at least in part by the one or more sensors of the first device, and wherein
operating a first device at least a portion of the first correlation and at least a portion of the second correlation are learned in a
and a second correlation learning process that includes operating the first device at least partially by a user.
including      a      second
circumstance                   The evidence cited for claim [1a] above applies to this limitation and is incorporated by reference.
representation correlated
with a second one or more
instruction      sets     for
operating the first device,
wherein        the       first
circumstance
representation represents a
first circumstance detected
at least in part by one or
more sensors of the first
device and the second
circumstance
representation represents a
second         circumstance
detected at least in part by
the one or more sensors of
the first device, and
wherein at least a portion
of the first correlation and
at least a portion of the
second correlation are

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U.S. Patent No. 10,452,974
learned in a learning
process      that    includes
operating the first device
at least partially by a user;
[18b]      generating       or Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
receiving         a      third enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance                   comprises machine readable code that can at least in response to the anticipating, causing the first
representation, wherein the device or the second device to perform one or more operations defined by the first one or more
third           circumstance instruction sets for operating the first device learned in the learning process at least by causing the one
representation represents a or more processor circuits or another one or more processor circuits to execute the first one or more
third           circumstance instruction sets for operating the first device learned in the learning process.
detected at least in part by
the one or more sensors of The evidence cited for claim [1b] above applies to this limitation and is incorporated by reference.
the first device or at least
in part by one or more
sensors of a second
device;
[18c] anticipating the first Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
one or more instruction enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
sets for operating the first comprises machine readable code that can anticipate the first one or more instruction sets for operating
device learned in the the first device learned in the learning process based on at least partial match between the third
learning process based on circumstance representation and the first circumstance representation.
at least partial match
between         the      third The evidence cited for claim [1c] above applies to this limitation and is incorporated by reference.
circumstance
representation and the first
circumstance
representation; and
[18d] at least in response Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
to the anticipating, causing enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
the first device or the comprises machine readable code that can at least in response to the anticipating, causing the first
second device to perform device or the second device to perform one or more operations defined by the first one or more

                                                                   22
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U.S. Patent No. 10,452,974
one or more operations instruction sets for operating the first device learned in the learning process at least by causing the one
defined by the first one or or more processor circuits or another one or more processor circuits to execute the first one or more
more instruction sets for instruction sets for operating the first device learned in the learning process.
operating the first device
learned in the learning The evidence cited for claim [1d] above applies to this limitation and is incorporated by reference.
process at least by causing
the one or more processor
circuits or another one or
more processor circuits to
execute the first one or
more instruction sets for
operating the first device
learned in the learning
process.




                                                                23
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                          Exhibit I
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U.S. Patent No. 11,238,344
Claim 1                    Exemplary Infringement Evidence1
[1pre]      A      system Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
comprising:                enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
                           infringes the ’344 patent. Each of these vehicles is an example of a system that includes a processor,
                           memory, etc. The Tesla fleet includes over a million of such customer vehicles. A fleet of Tesla
                           vehicles alone or together with the Tesla DoJo super computer is also an example of a covered system.

                               As a driver drives a Tesla vehicle, the vehicle learns various circumstances (e.g., pedestrians, other
                               vehicles, roads, buildings, bikes, road debris, animals, etc.) as well as driving instructions (e.g.,
                               instructions for effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate those
                               circumstances. This driving knowledge learned on one Tesla vehicle is transmitted to the Tesla DoJo
                               computer and then distributed to all vehicles in Tesla fleet via over-the-air (OTA) software updates.
                               The fleet, therefore, enables each vehicle in the fleet to autonomously implement driving instructions
                               learned on one or more originating vehicles when similar circumstances are detected by any of the
                               vehicles in Tesla fleet, thereby enabling their autonomous driving.

                               Tesla explains its object detection (e.g., circumstance representation) technology as follows:




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    These infringement contentions are prepared with publicly available information.
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           https://www.youtube.com/watch?v=33K3id2xNAE&t
           “so object detection is something we care a lot about we’d like to put bounding boxes around say the
           cars and the objects here because we need to track them and we need to understand how they might
           move around so again we might ask human annotators to give us some annotations for these and
           humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
           and you can train your neural network on this but if you’re not careful the neural network all will make
           miss predictions in some cases”




           https://www.youtube.com/watch?v=33K3id2xNAE&t
           “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
           network actually when I joined would actually create two deductions it would create a car deduction
           and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
           exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
           the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
           of like just objects on the road there’s a single object a single car and so what you’d like to do now is
           you’d like to just potentially annotate lots of those images as this is just a single car so the process that
           we that we go through internally in the team is that we take this image or a few images that show this
           pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
           source us examples that look like that and the fleet might respond with images that contains those
           patterns”




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           “so as an example these six images might come from the fleet they all contain bikes on backs of cars
           and we would go in and we would annotate all those as just a single car and then the the performance of
           that detector actually improves and the network internally understands that hey when the bike is just
           attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
           how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
           look for all the thing we look for lots of things all the time.”




           “so for example we look for boats and the fleet can respond with boats we look for construction sites
           and the fleet can send us lots of construction sites from across the world we look for even slightly more
           rare cases”




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           “so for example finding debris on the road is pretty important to us so these are examples of images that
           have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
           source these at scale we can annotate them correctly and the neural network will learn how to deal with
           them in the world”




           “here’s another example animals of course also a very rare occurrence an event but we wanted the
           neural network to really understand what’s going on here that these are animals and we want to deal
           with that correctly”




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           “so to summarize the process by which we iterate on neural network predictions looked something like
           this we start with a seed data set that was potentially sourced at random we annotate that data set and
           then we train your networks on that data set and put that in the car and then we have mechanisms by
           which we notice inaccuracies in the car when this detector may be misbehaving”




           “so for example if we detect that the neural network might be uncertain or if we detect that or if there’s
           a driver intervention or any of those settings we can create this trigger infrastructure that sends us data
           of those inaccuracies and so for example if we don’t perform very well on lane line detection on tunnels
           then we can notice that there’s a problem in tunnels that image would enter our unit tests so we can
           verify that we’ve actually fixing the problem over time but now what you do is to fix this inaccuracy you
           need to source many more examples that look like that so we asked the fleet to please send us many

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           more tunnels and then we label all those tunnels correctly we incorporate that into the training set and
           we retrain the network redeploy and iterate the cycle over and over again and




           “so we refer to this iterative process by which we improve these predictions as the data engine so
           iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
           the training set over and over again and we do this basically for all the predictions of these neural
           networks”

           As Mr. Musk explained during Tesla AI Day all the human drivers are essentially training the neural
           net as to what is the correct course of action. See Tesla AI Day 2021 video
           https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29. This is an example of the system being
           trained with object representations and instructions from a vehicle.

           As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
           actually doing is you are annotating the data because you are steering the wheel. you're telling us how
           to traverse different environments so what we're looking at here is a some person in the fleet who took a
           left through an intersection and what we do here is we have the full video of all the cameras and we
           know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
           angle, the wheel ticks, so we put all that together and we understand the path that this person took
           through this environment and then of course we can use this for supervision [e.g., training a CNN
           through supervised learning] for the network so we just source a lot of this from the fleet, we train a
           neural network on those trajectories, and then the neural network predicts paths just from that data so
           really what this is referred to typically is called imitation learning we're taking human trajectories

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                            from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                            the same data engine crank to all of this and make this work.”
                            https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                            In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the DoJo super
                            computer where it is synthesized with other driving knowledge, (iii) packaged and sent from the DoJo
                            to the fleet, e.g., the driving knowledge is stored on a memory of a second Tesla vehicle via the fleet
                            over-the-air (OTA) software update, and (iv) accessed on the second Tesla vehicle for its autonomous
                            driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned on the first
                            Tesla vehicle and synthesized on the DoJo.
[1a] one or more            Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the
processors configured to    full self-driving computer/chip) configured to perform full self-driving.
perform at least:




                            See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11
                            (Tesla full self driving computer) and at 10:22 (Tesla full self driving chip).
[1b] accessing a memory     The processor of the second Tesla vehicle (the claimed “second device”) accesses its memory that
that stores at least a      stores at least a knowledgebase that includes a first circumstance representation (e.g., representation
knowledgebase that          of pedestrians, other vehicles, roads, buildings, etc.) correlated with a set of driving instructions (e.g.,
includes a first            driving instructions for effecting speed, steering, breaking, trajectory, etc.; the claimed “first one or
circumstance                more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”).
representation correlated
with a first one or more
instruction sets for
operating a first device,



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wherein the first
circumstance
representation represents a
first circumstance detected
at least in part by one or
more sensors of the first
device, and

wherein at least a portion
of the first circumstance
representation or at least a
portion of the first one or
more instruction sets for
operating the first device
is learned in a learning
process that includes
operating the first device
at least partially by a user;   See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
                                of the claimed “circumstance representation”)




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           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:32:40-48
           (combining everything together we can produce these amazing data sets that annotate all of the road
           texture or the static objects and all of the moving objects [example of the claimed “circumstance
           representation”])




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           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing
           an automatic emergency breaking system). As shown in the clip, each Tesla vehicle has sensors such as
           cameras, etc. that are used to detect a first circumstance, e.g., a pedestrian in front of the vehicle. The
           first circumstance representation, therefore, represents a circumstance such as a person in front of the
           vehicle (the claimed “wherein the first circumstance representation represents a first
           circumstance detected at least in part by one or more sensors of the first device”).




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           See also Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00
           (a stream of videos from eight cameras [the claimed “one or more sensors”] across the vehicle used to
           make a lane change).

           As detailed above, the first circumstance representation (e.g., a representation of a pedestrian in front
           the vehicle, representation of surrounding vehicles in a lane change situation, animals or debris in the
           road, a stop light, a stop sign, etc.) and the corresponding driving instructions (e.g., instructions for
           applying the breaks so the pedestrian is not hit or so that traffic laws are obeyed, or instructions for
           turning the wheel to safely change lanes or avoid an animal or debris, etc.) are learned in a process that
           involves a driver (the claimed “user”) operating the first Tesla vehicle (the claimed “wherein at least
           a portion of the first circumstance representation or at least a portion of the first one or more
           instruction sets for operating the first device is learned in a learning process that includes
           operating the first device at least partially by a user”).




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           See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
           (while you [the claimed “user”] are driving a car what you’re actually doing is you are annotating the
           data because you are steering the wheel [e.g., learned instruction] you’re telling us how to traverse
           different environments so what we’re looking at here is some person in the fleet who took a left through
           an intersection and what we do here is we have the full video of all the cameras and we know that the
           path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the wheel
           ticks, so we put all that together and we understand the path that this person took through this
           environment [circumstance representation representing the environment correlated with driving
           instructions on how to traverse the environment]. and then of course we can use this for supervision
           for the network so we just source a lot of this from the fleet, we train a neural network on those
           trajectories, and then the neural network predicts paths just from that data. … we’re taking human
           trajectories from the real world we’re just trying to imitate how people drive in real worlds)

           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
           human drivers are essentially training the neural net as to what is the correct course of action [the
           claimed driving instructions])

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                              See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video at https://www.youtube.com/watch?v=-
                              b041NXGPZ8 at 1:03:50 (everyone is training the network all the time), 1:30:55 (Tesla system learns
                              from drivers training the system), and 1:52:23 (high level chart clearly showing monitoring and
                              learning from human drivers and implementing autonomous driving based on the learned knowledge).
[1c] generating or            The processor of the second Tesla vehicle (the claimed “second device”) generates a second
receiving a second            circumstance representation that represents a current circumstance (e.g., pedestrians, other vehicles,
circumstance                  roads, buildings, animals, debris, etc.) detected at least in part by its cameras (the claimed “one or
representation, wherein the more sensors of a second device”).
second circumstance
representation represents a For instance, when the system is deployed to the fleet, a second Tesla vehicle (the claimed “second
second circumstance           device”) generates a second circumstance representation (e.g., representation of a different
detected at least in part by: pedestrian in front the vehicle, representation of different surrounding vehicles in a lane change
the one or more sensors of situation, representation of a different intersection in a left turn situation, etc.) that is detected by the
the first device, or one or   second Tesla vehicle’s sensors (e.g. cameras). The second circumstance representation is generated

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more sensors of a second   so it can be compared with previously learned circumstance representations (the claimed “first
device;                    circumstance representation”), and if a similar match (the claimed “at least partial match” in claim
                           element 1d) is found, the correlated driving instructions (the claimed “first one or more instruction
                           sets” in claim element 1b) can be used for autonomous driving.

                           Analogous evidence as for “first circumstance representation” and “one or more sensors” recited in
                           claim element 1b applies to “second circumstance representation” and “one or more sensors” here
                           (e.g., information detected by the second car’s sensors), and it is not duplicated to save space. See claim
                           element 1b.

                           As explained during the 2021 AI day, Tesla said it “discovered that we don’t just want to detect cars,
                           we want to do a large number of tasks. So for example, we want to do traffic light recognition and
                           detection, a lane prediction and so on. So very quickly, we conversioned this kind of architectural
                           layout, where there’s a common shared backbone, and then branches off into a number of heads. So we
                           call these therefore Hydra Nets. And these are the heads of the Hydra.”

                           https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/




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                               https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/
[1d] anticipating the first    The processor of the second Tesla vehicle (the claimed “second device”) anticipates a set of driving
one or more instruction        instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions for
sets for operating the first   turning the wheel to safely change lanes or to avoid an animal or debris, instructions for turning left in
device based on at least       an intersection, etc.; the claimed “first one or more instruction sets”) based on similarity (the
partial match between the      claimed “at least partial match”) between the first circumstance representation (e.g., a
second        circumstance     representation of a pedestrian in front the vehicle, a representation of surrounding vehicles in a lane
representation and the first   change situation, a representation of an animal or debris, representation of an intersection in a left turn
circumstance                   situation, etc. as previously learned on the first Tesla vehicle) and a second circumstance

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representation; and      representation (e.g., a representation of a pedestrian in front the vehicle, a representation of
                         surrounding vehicles in a lane change situation, a representation of an animal or debris, representation
                         of an intersection in a left turn situation, etc. as currently detected by the second Tesla vehicle).
                         Therefore, Tesla vehicles anticipate previously learned driving instructions based on similarity between
                         the currently generated circumstance representation and previously learned circumstance
                         representations.




                         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (let’s see
                         an example of how the search [e.g., search for previously learned driving instructions for effecting
                         a trajectory correlated with a previously learned circumstance representation that at least
                         partially matches the incoming circumstance representation] operates. so here we’re trying to do a
                         lane change. in this case the car needs to do two back to back lane changes to make the left turn up
                         ahead. for this, the car searches over different maneuvers. so the first one it searches is a lane change
                         that’s close by but the car breaks pretty harshly so it’s pretty uncomfortable. the next maneuver it tries
                         does the lane change a bit late so it speeds up, goes beyond the other car, goes in front of the other cars,
                         and find it at the lane change but now it risks missing the left turn. we do thousands of such searches in

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                                a very short time span). See also id. at 2:32:42 (similarly, for planning, we need to bake in a search
                                [e.g., search for previously learned driving instructions for effecting a trajectory correlated with a
                                previously learned circumstance representation that at least partially matches the incoming
                                circumstance representation] and optimization into the planning, into the network architecture, and
                                once we do that we should be able to do planning very quickly).
[1e] at least in response to    The processor of the second Tesla vehicle (the claimed “second device”) executes, at least in response
the anticipating, executing     to the anticipating (claim element 1d), the previously learned set of driving instructions (the claimed
the first one or more           “first one or more instruction sets for operating the first device”) so that the second vehicle (the
instruction      sets     for   claimed “second device”) can drive autonomously based on the driving instructions learned on the first
operating the first device,     Tesla vehicle (the claimed “first device”).
wherein the first device or
the      second       device    For instance, memory of the second Tesla vehicle stores a first circumstance representation (e.g.,
autonomously        performs    representation of a pedestrian in front the vehicle, representation of surrounding vehicles in a lane
one or more operations          change situation, representation of an intersection in a left turn situation, etc.) correlated with a set of
defined by the first one or     driving instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions
more instruction sets for       for turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the
operating the first device.     claimed “first one or more instruction sets”) that have previously been learned on a first Tesla
                                vehicle (the claimed “first device”) and have been transferred to the second Tesla vehicle (the
                                claimed “second device”) via the fleet over-the-air (OTA) software update. In response to determining
                                that the incoming circumstance representation (e.g., representation of a pedestrian currently in front the
                                vehicle, representation of currently surrounding vehicles in a lane change situation, representation of a
                                current intersection in a left turn situation, etc.) is similar to (the claimed “at least partial match”) the
                                previously learned circumstance representation (e.g., representation of a pedestrian previously in front
                                the vehicle, representation of previously surrounding vehicles in a lane change situation, representation
                                of a previous intersection in a left turn situation, etc.), the processor of the second Tesla vehicle (the
                                claimed “second device”) causes the previously learned driving instruction (e.g., instructions for
                                applying the breaks so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                                instructions for turning left in an intersection, etc.) to be executed.

                                As stated by Elon Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge
                                learned from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates,
                                thereby enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement
                                driving knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and

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           Mr. Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
           companies. See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video
           https://www.youtube.com/watch?v=-b041NXGPZ8 at 38:58 (“I think a very powerful sustainable
           advantage for us is the fleet”), 44:40 (“it is such a big deal that we have the fleet”), 55:55 (“why is
           Tesla in such a unique and interesting position to really get all these three essentials right, and the
           answer to that of course is the fleet”), 122:14 (“it’s extremely difficult to catch up when Tesla has 100
           times more miles per day than everyone else combined”).




           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (so this is
           what a final architecture is going to look like. the vision system is going to crush down the dense video
           data into a vector space [incoming circumstance representation representing objects in the second
           Tesla vehicle’s surrounding]. it’s going to be consumed by both an explicit planner and a neural
           network planner [CNN that stores previously learned circumstance representations correlated
           with previously learned driving instructions and that searches for at least partially matching
           circumstance representation and correlated driving instructions] in addition to this, the network
           planner can also consume intermediate features of the network. Together, this produces a trajectory


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                            distribution and it can be optimized end to end both with explicit cost functions and human intervention
                            and other imitation data. this then goes into explicit planning function that does whatever it sees for that
                            and produces the final steering and acceleration commands for the car).
Claim 3                     Exemplary Infringement Evidence
3. The system of claim 1,   Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
wherein the first           enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance                includes the system of claim 1. Also, the first circumstance representation includes a first one or more
representation includes a   object representations, and wherein the second circumstance representation includes a second one or
first one or more object    more object representations.
representations, and
wherein the second          For example, the processor of the Tesla vehicle accesses its memory that stores at least a knowledgebase
circumstance                that includes a first circumstance representation including one or more object representations (e.g.,
representation includes a   representation of pedestrians, other vehicles, roads, buildings, etc.).
second one or more object
representations.            And the second circumstance representation received or generated by the Tesla vehicle includes a
                            second one or more object representations (e.g., representation of pedestrians, other vehicles, roads,
                            buildings, etc.).




                                                                  19
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           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
           of the claimed “circumstance representations” with multiple object representations).




                                           20
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                          Exhibit J
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U.S. Patent No. 11,055,583

Claim 4                    Exemplary Infringement Evidence1
[1pre] A system            To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this
comprising:                includes vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super
                           computer meet the limitations of the claimed system.

                           As a driver drives a Tesla vehicle, the vehicle learns digital pictures depicting the vehicle’s surrounding
                           (i.e. pedestrians, other vehicles, roads, buildings, etc.) as well as driving instructions (i.e. instructions for
                           effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate that surrounding. This
                           driving knowledge learned on one Tesla vehicle is then distributed to all vehicles in Tesla fleet via over-
                           the-air (OTA) software updates. The fleet, therefore, enables each vehicle in the fleet to autonomously
                           implement driving instructions learned on one or more originating vehicles when digital pictures of a
                           similar surrounding are captured by any of the vehicles in Tesla fleet, thereby enabling their autonomous
                           driving.

                           The discussion and evidence cited in claims [1a-d] are incorporated herein.

[1a] one or more       Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the full
processors; and one or self-driving chip) programmed by code stored on one or more non-transitory machine readable media (i.e.
more non-transitory    RAM memory, SSD drive, flash memory, hard drive, etc.) all part of Tesla full self-driving computer.
machine readable
media storing machine
readable code that,
when executed by the
one or more
processors, causes the
one or more processors
to perform at least:


                           See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11 (Tesla

1
    These infringement contentions are prepared with publicly available information.
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                          full self driving computer) and at 10:22 (Tesla full self driving chip).




                          See https://www.tesla.com/support/autopilot

[1b] receiving or         Each autonomous Tesla vehicle is an example of a system including one or more processors that receiving
generating a first one    or generating a first one or more digital pictures, wherein the first one or more digital pictures depict at
or more digital           least a portion of a first device's surrounding.
pictures, wherein the
first one or more         For example, as a driver drives a first Tesla vehicle (the claimed “first device”), the processor of the first
digital pictures depict   Tesla vehicle receives from the vehicle’s cameras the first one or more digital pictures depicting the
at least a portion of a   vehicle’s surrounding (i.e. pedestrians, other vehicles, roads, buildings, etc.).
first device's
surrounding;
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        See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00 (a
        stream of videos from eight cameras across the vehicle used to make a lane change).

        Further, the Model Y (an accused vehicle) has multiple cameras to depict a portion of the vehicle’s
        surrounding.
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        See https://www.tesla.com/ownersmanual/modely/en_us/GUID-EDA77281-42DC-4618-98A9-
        CC62378E0EC2.html
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[1c] receiving or        Each autonomous Tesla vehicle is an example of a system including one or more processors can receiv[e]
generating a first one   or generat[e] a first one or more instruction sets for operating the first device.
or more instruction
sets for operating the   For example, as the driver drives the first Tesla vehicle (the claimed “first device”), the processor of the
first device; and        first Tesla vehicle receives a set of driving instructions (i.e. driving instructions for effecting speed,
                         steering, breaking, trajectory, etc.; the claimed “first one or more instruction sets”) that the driver used
                         to navigate the vehicle’s surrounding.




                         See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                         (“While you are driving a car [the claimed “first device”] what you're actually doing is you are annotating
                         the data because you are steering the wheel. You're telling us how to traverse different environments so
                         what we're looking at here is some person in the fleet who took a left through an intersection and what we
                         do here is we have the full video of all the cameras and we know that the path that this person took because
                         of the GPS, the inertial measurement unit, the wheel angle, the wheel ticks, so we put all that together and
                         we understand the path that this person took through this environment [the claimed receiving of
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                          instructions]. And then of course we can use this for supervision for the network so we just source a lot of
                          this from the fleet, we train a neural network on those trajectories, and then the neural network predicts
                          paths just from that data. … we're taking human trajectories from the real world we’re just trying to imitate
                          how people drive in real worlds.”)

                          See also Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
                          human drivers are essentially training the neural net as to what is the correct course of action [the claimed
                          driving instructions])

[1d] learning the first   Each autonomous Tesla vehicle is an example of a system including one or more processors can learn[] the
one or more digital       first one or more digital pictures correlated with the first one or more instruction sets for operating the first
pictures correlated       device.
with the first one or
more instruction sets     For example, as the driver drives the first Tesla vehicle (the claimed “first device”), the processor of the
for operating the first   first Tesla vehicle learns (including storing what is learned in memory) the first one or more digital pictures
device.                   depicting the vehicle’s surrounding (i.e. pedestrian in front the vehicle, surrounding vehicles in a lane
                          change situation, intersection in a left turn situation, etc.) and a set of driving instructions (i.e. instructions
                          for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                          instructions for turning left in an intersection, etc.) that the driver used to navigate the vehicle’s surrounding
                          (the claimed “learning the first one or more digital pictures correlated with the first one or more
                          instruction sets for operating the first device”).
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        See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:03:50
        (Musk: “Everyone is training the network all the time”), 1:30:55; 1:52:23.
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                       See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                       (“While you are driving a car [the claimed “first device”] what you’re actually doing is you are annotating
                       the data because you are steering the wheel [the claimed “learning the first one or more digital pictures
                       correlated with the first one or more instruction sets for operating the first device”] you’re telling us
                       how to traverse different environments so what we’re looking at here is some person in the fleet who took a
                       left through an intersection and what we do here is we have the full video of all the cameras and we know
                       that the path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the
                       wheel ticks, so we put all that together and we understand the path that this person took through this
                       environment. And then of course we can use this for supervision for the network so we just source a lot of
                       this from the fleet, we train a neural network on those trajectories, and then the neural network predicts
                       paths just from that data. … we’re taking human trajectories from the real world we’re just trying to imitate
                       how people drive in real worlds”).

[4pre] the system of   Each autonomous Tesla vehicle is an example of a system that includes a processor, memory, etc. Tesla
claim 1, wherein the   fleet includes over a million of such customer vehicles. A fleet of Tesla vehicles is also an example of a
machine readable       covered system.
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code, when executed
by the one or more       The discussion and evidence cited in claims [1a-d] and [4a-c] are incorporated herein
processors, causes the
one or more processors
to further perform at
least:
[4a] receiving or        Each autonomous Tesla vehicle is an example of a system including processors that can receive or generate
generating a new one     a new one or more digital pictures.
or more digital
pictures;                For example, the processor of the second Tesla vehicle (the claimed “second device”) receives from the
                         vehicle’s cameras the new one or more digital pictures depicting the vehicle’s current surrounding (i.e.
                         pedestrians, other vehicles, roads, buildings, etc.).

                         The discussion and evidence cited in claims [1b] is incorporated herein.

[4b] determining the     Each autonomous Tesla vehicle is an example of a system including processors that can determine the first
first one or more        one or more instruction sets for operating the first device based on at least partial match between the new
instruction sets for     one or more digital pictures and the first one or more digital pictures.
operating the first
device based on at       For example, the processor of the second Tesla vehicle (the claimed “second device”) determines a set of
least partial match      driving instructions (i.e. instructions for applying the breaks so the pedestrian is not hit, instructions for
between the new one      turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the claimed
or more digital          “first one or more instruction sets”) based on similarity (the claimed “at least partial match”) between
pictures and the first   the first one or more digital pictures depicting the first vehicle’s surrounding (i.e. pedestrian in front the
one or more digital      vehicle, surrounding vehicles in a lane change situation, intersection in a left turn situation, etc. as
pictures; and            previously learned on the first Tesla vehicle) and the new one or more digital pictures depicting the
                         second vehicle’s surrounding (i.e. different pedestrian in front the vehicle, different surrounding vehicles in
                         a lane change situation, different intersection in a left turn situation, etc. as currently captured by the
                         cameras of the second Tesla vehicle). Therefore, Tesla vehicles determine previously learned driving
                         instructions based on similarity between the currently received digital pictures and previously learned
                         digital pictures.
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                           See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (“Let's see an
                           example of how the search [i.e. search for previously learned driving instructions for effecting a
                           trajectory correlated with previously learned digital pictures that at least partially match the
                           incoming digital pictures] operates. So here we're trying to do a lane change. In this case the car needs to
                           do two back to back lane changes to make the left turn up ahead. For this, the car searches over different
                           maneuvers. So the first one it searches is a lane change that's close by but the car breaks pretty harshly so
                           it's pretty uncomfortable. The next maneuver it tries does the lane change a bit late so it speeds up, goes
                           beyond the other car, goes in front of the other cars, and find it at the lane change but now it risks missing
                           the left turn. We do thousands of such searches in a very short time span.”).          See also id. at 2:32:42
                           (“Similarly, for planning, we need to bake in a search [i.e. search for previously learned driving
                           instructions for effecting a trajectory correlated with previously learned digital pictures that at least
                           partially match the incoming digital pictures] and optimization into the planning, into the network
                           architecture, and once we do that we should be able to do planning very quickly”).

[4c] at least in           Each autonomous Tesla vehicle is an example of a system including processors that can at least in response
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response to the         to the previous determining, cause the first device or a second device to perform one or more operations
determining, causing    defined by the first one or more instruction sets for operating the first device.
the first device or a
second device to        For example, the processor of the second Tesla vehicle (the claimed “second device”) executes, at least in
perform one or more     response to the determining (claim element 4b), the previously learned set of driving instructions for
operations defined by   operating the first Tesla vehicle (the claimed “first one or more instruction sets for operating the first
the first one or more   device”) so that the second vehicle (the claimed “second device”) can drive autonomously based on the
instruction sets for    driving instructions learned on the first Tesla vehicle (the claimed “first device”).
operating the first
device.                 Further, memory of the second Tesla vehicle stores the first one or more digital pictures depicting the
                        first vehicle’s surrounding (i.e. pedestrian in front the vehicle, surrounding vehicles in a lane change
                        situation, intersection in a left turn situation, etc.) correlated with a set of driving instructions (i.e.
                        instructions for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely
                        change lanes, instructions for turning left in an intersection, etc.; the claimed “first one or more
                        instruction sets”) that have previously been learned on the first Tesla vehicle (the claimed “first device”)
                        and have been transferred to the second Tesla vehicle (the claimed “second device”) via the fleet over-the-
                        air (OTA) software update. In response to determining that the incoming new one or more digital pictures
                        are similar to (the claimed “at least partial match”) the previously learned first one or more digital
                        pictures, the processor of the second Tesla vehicle causes the previously learned driving instruction (i.e.
                        instructions for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely
                        change lanes, instructions for turning left in an intersection, etc.; the claimed “first one or more
                        instruction sets”) to be executed to cause the second Tesla vehicle (the claimed “second device”) to
                        perform autonomous driving.

                        As stated by Mr. Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge learned
                        from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates, thereby
                        enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement driving
                        knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and Mr.
                        Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
                        companies. See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at
                        38:58 (Musk: "I think a very powerful sustainable advantage for us is the fleet"), 44:40 (Karpathy: "it is
                        such a big deal that we have the fleet. . . why it [the fleet] is a key enabling factor"), 55:55 (Karpathy: "why
                        is Tesla in such a unique and interesting position to really get all these three essentials right, and the answer
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        to that of course is the fleet"), 122:14 (Musk: "it's extremely difficult to catch up when Tesla has 100 times
        more miles per day than everyone else combined").




        See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (“So this is
        what a final architecture is going to look like. The vision system is going to crush down the dense video
        data into a vector space [incoming digital pictures depicting the second Tesla vehicle’s surrounding].
        It's going to be consumed by both an explicit planner and a neural network planner [CNN that stores
        previously learned digital pictures correlated with previously learned driving instructions and that
        searches for at least partially matching digital pictures and correlated driving instructions]. In
        addition to this, the network planner can also consume intermediate features of the network. Together, this
        produces a trajectory distribution and it can be optimized end to end both with explicit cost functions and
        human intervention and other imitation data. this then goes into explicit planning function that does
        whatever it sees for that and produces the final steering and acceleration commands for the car”).
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                  Exhibit K
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                                                    EXHIBIT K
                                              AUTONOMOUS DEVICES
                             INFRINGEMENT CONTENTION CHART FOR U.S. PATENT NO. 11,663,474
                                    CHARTED AGAINST TESLA’S MODELS S, 3, X, AND Y

            On August 15, 2023, the Court ordered Tesla to produce its source code and source code documents (collectively “SC files”) in
    their native format. Throughout this litigation and including at the time of service of these preliminary infringement contentions,
    Tesla produced the SC files in adobe pdf, which the Court found to be “inefficient and cumbersome” and incompatible with
    “traditional source code review tools and capabilities.” Despite this finding, Tesla still has not produced the SC files in their native
    format. Tesla also prevented AD lawyers and experts from collaboratively reviewing the SC files, forced AD’s lawyers to destroy
    their working copies of the SC files and insisted on a byzantine framework for even acquiring the SC files. Despite the Court’s ruling
    that AD’s lawyers can have multiple dcopies of the SC files—Tesla has not yet complied with its obligations. As a result, AD
    reserves the right to modify this preliminary chart after Tesla complies with its obligations and AD’s experts have an opportunity to
    review and process Tesla’s production. Tesla also refused to provide complete responses to AD’s interrogatory requests. AD reserves
    the right to modify this preliminary chart based on Tesla’s eventual compliance with its discovery obligations.



U.S. Patent No.            Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
[45pre] A first    The ’474 Accused Products are devices comprising the limitations below.
device comprising:
                   For example, the 474 Accused Products include individual Tesla vehicles (e.g., Tesla’s Models S, 3, X, and Y) as well
                   as a supercomputer/simulator implements the following limitations.




    1
      To the extent that any of the limitations of the asserted claims are not literally infringed as set forth in these contentions, Autonomous
    Devices reserves the right to amend these disclosures to include a theory under the doctrine of equivalents prior to the final contentions.
    2
      The Accused Products for the ’474 Patent (herein the “’474 Accused Products” or “the 474 Accused Products”) comprise at least the
    Tesla Models S, 3, X, and Y (e.g., individual accused Tesla vehicles or a fleet thereof) executing Software Version 9.0 and beyond
    (including vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with Tesla’s simulator technology.


                                                                         1
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                   Source: https://www.autoevolution.com/news/tesla-model-s-vs-3-vs-x-vs-y-the-s3xy-performance-drag-race-is-here-
                   147100.html

                   Further, the 474 Accused Products are trained by Tesla using a supercomputer, e.g., the NVIDIA supercomputer and/or
                   the DOJO supercomputer, which simulates driving behavior and issues instructions to control vehicles included in
                   Tesla’s fleet.

                   See, e.g., [CVPR'21 WAD] Keynote - Andrej Karpathy, Tesla, available at
                   https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                   2
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                    See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                   Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity – Electrek




                                                                    4
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                        https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving- data-processing


[45a]. a                The ’474 Accused Products are devices further comprising a knowledgebase that includes one or more inputs for
knowledgebase           inputting at least a portion of a circumstance representation, wherein the one or more inputs are correlated with one or
that includes one       more instruction sets for operating a second device.
or more inputs for
inputting at least a    For example, the 474 Accused Products include a knowledgebase based on circumstance representations (or
portion of a            circumstances). To form/generate circumstances, Tesla vehicles, including those vehicles with enhanced autopilot
circumstance            and/or full self-driving (FSD), alone or in combination with the supercomputer/simulator, are equipped with a multitude
representation,         of sensors (see, [45b] below for more info about the sensors included in Tesla vehicles). These sensors capture data
wherein the one or      which is then uploaded as an input to the simulator, e.g., via an internet uplink. Once uploaded/input to the simulator,
more inputs are         the circumstances re correlated with instruction sets which are shared with the fleet, for example, also via an internet
correlated with         connection.
one or more
instruction sets for    At a high level, an example of a circumstance representation may be making a left-hand turn at a particular intersection.
operating a second      One or more object representations may be included within a circumstance representation. Examples of object
device;                 representations that may be present within a circumstance representation.




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                   Multiple circumstance representations, each including multiple object representations, may be received or generated by
                   each vehicle included in the Tesla fleet (e.g., recorded by the cameras and/or sensed by ultrasonic/telemetry sensors).
                   These circumstance representations are then added (e.g., uploaded) to the knowledgebase (e.g., the
                   supercomputer/simulator and/or the trained CNN on the Tesla vehilce). The knowledge base can also include the FSD
                   computer installed on the Tesla vehicles.




                   At/around 1:31:58 in Tesla’s AI Day 2021 presentation depicts a circumstance representation (e.g., navigating through a
                   particular intersection) with multiple object representations.


                                                                    6
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                   To further explain the relationship between circumstance representations/circumstances and object representations –

                   Circumstance representations may be learned while drivers drive the accused Tesla vehicles. The ’474 Accused
                   Products also learn driving instructions, such as instructions for effecting the speed, steering, and/or braking of the
                   accused Tesla vehicle being driven based on the actions taken by the driver to navigate those circumstances.

                   This driving knowledge learned by one Tesla vehicle is transmitted to Tesla’s simulator before being distributed to all
                   vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each accused Tesla
                   vehicle included therein to autonomously implement driving instructions learned on one or more originating vehicles
                   when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling Tesla’s autonomous
                   driving capabilities.

                   Further, to effectuate the circumstance representations, a Tesla vehicle detects objects. For example, in the previous
                   analysis of driving behind the car with the bike mounted to it, the car detects the bike as an object. Tesla explains object
                   detection as follows:




                                                                      7
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                   “so object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the
                   objects here because we need to track them and we need to understand how they might
                   move around so again we might ask human annotators to give us some annotations for these and
                   humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                   and you can train your neural network on this, but if you’re not careful, the neural network all will make miss
                   predictions in some cases.”




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                   “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                   network actually when I joined would actually create two deductions it would create a car deduction
                   and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                   exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                   the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                   of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                   you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                   we that we go through internally in the team is that we take this image or a few images that show this
                   pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                   source us examples that look like that and the fleet might respond with images that contains those
                   patterns [emphasis added]”



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                   “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                   and we would go in and we would annotate all those as just a single car and then the the performance of
                   that detector actually improves and the network internally understands that hey when the bike is just
                   attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                   how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                   look for all the thing we look for lots of things all the time.”




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                   “so for example we look for boats and the fleet can respond with boats we look for construction sites
                   and the fleet can send us lots of construction sites from across the world we look for even slightly more rare cases.”




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                   “so for example finding debris on the road is pretty important to us so these are examples of images that
                   have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                   source these at scale we can annotate them correctly and the neural network will learn how to deal with them in the
                   world [emphasis added].”




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                   “here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network to
                   really understand what’s going on here…that these are animals and we want to deal with that correctly.”




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                   “so to summarize the process by which we iterate on neural network predictions looked something like this – we start
                   with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                   that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                   detector may be misbehaving.”




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                   “so, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                   intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies
                   and so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a
                   problem in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over
                   time but now what you do is to fix this inaccuracy you need to source many more examples that look like that so we
                   asked the fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that
                   into the training set and we retrain the network, redeploy, and iterate the cycle over and over again [emphasis added].”




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                   “so we refer to this iterative process by which we improve these predictions as the data engine so
                   iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                   the training set over and over again and we do this basically for all the predictions of these neural
                   networks [emphasis added].”

                   Source: https://www.youtube.com/watch?v=33K3id2xNAE&t

                   As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                   actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                   to traverse different environments so what we're looking at here is a some person in the fleet who took a
                   left through an intersection and what we do here is we have the full video of all the cameras and we
                   know that the path that this person took because of the GPS, the inertial measurement unit, the wheel


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                   angle, the wheel ticks, so we put all that together and we understand the path that this person took
                   through this environment and then of course we can use this for supervision [e.g., training a CNN
                   through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                   neural network on those trajectories, and then the neural network predicts paths just from that data so
                   really what this is referred to typically is called imitation learning we're taking human trajectories
                   from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                   the same data engine crank to all of this and make this work [emphasis added].”
                   Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                   In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the simulator where it is
                   synthesized with other driving knowledge, (iii) packaged and sent from the simulator to the fleet, e.g., the driving
                   knowledge is stored on a memory of a second Tesla vehicle via the fleet over-the-air (OTA) software update, and (iv)
                   accessed on the second Tesla vehicle for its autonomous driving. The second Tesla vehicle can, thereby, implement the
                   driving knowledge learned by the first Tesla vehicle, synthesized by the supercomputer/simulator, and distributed to
                   vehicles in Telsa’s fleet over-the-air.

                   See also, Tesla AI Day 2021 video (https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29), during which Mr.
                   Musk explained that all the human drivers are essentially training the neural network as to what is the correct course of
                   action for the accused Tesla vehicles to take while being operated on the road. This is just one example of the system
                   (e.g., the Tesla/Tesla fleet plus simulator) being trained with object representations and instructions from a vehicle.

                   See also, Claim 3 of US 11, 238, 344, which states that, “…the first circumstance representation includes a first one or
                   more object representations.” Claim 18 of the ’344 patent further explains that a circumstance representation includes,
                   “…one or more data about a circumstance of a vehicle/device…” Additionally, the description of Fig. 4A
                   (vehicle’s/device’s circumstance(s) including multiple detected objects), Fig. 4B (object representations including
                   object properties such as distance, bearing/direction/coordinates, identity, type, computer model [e.g., bounding box,
                   point cloud, etc.], etc.), and Fig. 38 (vehicle’s/device’s circumstance including multiple detected objects) add more
                   generalized framework for the relationship between circumstance representations and object representations. The ’344
                   patent provides examples of object properties that are of importance to the ’474 Accused Products. These object
                   properties include, “existence of an object, type of an object (i.e. person, cat, vehicle, building, street, tree, rock, etc.),
                   identity of an object (i.e. name, identifier, etc.), distance of an object, bearing/angle of an object, location of an object


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                   (i.e. distance and bearing/angle from a known point, coordinates, etc.), shape/size of an object (i.e. height, width, depth,
                   computer model, point cloud, etc.), activity of an object (i.e. motion, gestures, etc.), and/or other properties of an
                   object.” (See the ’344 patent at 72:44-52).

                   See also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M) for additional examples of Tesla’s
                   analysis of objects and circumstances.




                   At 58:10, the speaker describes taking all of the images and simultaneously feeding them into a single neural net and
                   directly outputting into a vector space.




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                   Around 1:11:20, the speaker begins describing how Tesla uses a feed of raw images captured by the cameras included
                   in the accused Tesla vehicles, and how the images captured by the cameras pass through a transformer module to re-
                   represent the objects captured in the images taken by the camera into the vector space.




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                   At 1:31:23 the speaker describes Tesla’s ability to arbitrarily reconstruct 3D static obstacles, and the slide shown in the
                   screenshot above depicts an example of Tesla’s reconstructed 3D point cloud. Tesla is able to make this reconstruction
                   from data captured by the cameras and other various sensors included in the accused Tesla vehicles.




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                   At 1:31:58 the speaker is describing Tesla’s vector space in more detail, notably touching on how the vector space
                   includes object representations.




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                   At 1:32:48, the speaker explains how Tesla combines everything together in order to produce “amazing” data sets that
                   annotate all of the road texture, the static objects, and all of the moving objects.

                   For additional examples of Tesla’s correlating a first circumstance representation with one or more instruction sets, see
                   also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M)




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                   At 1:19:43, the speaker describes recording a human’s trajectory around a curve, recording/storing the data associated
                   therewith, and sharing that data with the fleet so the accused Tesla vehicles are better able to handle that particular turn
                   and similar turns/curves in the future.




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                   At/around 1:28:16, the speaker is describing exemplary labeling of a single clip in which an entity that has dense sensor
                   data like videos, imu data, gps, odometry (e.g., speed, steering braking, etc.) are uploaded by Tesla’s own engineering
                   cars and/or from customer cars. Note the “Ego Trajectory & Static World Reconstruction” label shown in the screenshot
                   above (yellow annotation).

                   Again, at/around 2:55:29, Mr. Musk describes how all the human drivers are “essential training the neural net as to what
                   is the correct course of action” in any particular circumstance encountered by the accused Tesla vehicles.

                   A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                   below.




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                   At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused
                   Tesla vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed.
                   Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                   Tesla describes how circumstance representations are correlated with various instruction sets for operation of the
                   accused Tesla vehicles during Tesla Autonomy Day 2019 (https://www.youtube.com/watch?v=-b041NXGPZ8) and
                   Tesla AI Day 2021 (https://www.youtube.com/watch?v=j0z4FweCy4M).

                   As examples:




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                   Tesla describes how the accused Tesla vehicles use a convolutional neural network (CNN) to learn and implement
                   autonomous driving. (See Tesla Autonomy Day 2019 at/around 15:53).




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                   Tesla describes how it wants to re-represent the features from image space as vector space features, and that it wants to
                   use vector space predictions from its neural network, which requires vector space data sets, and vector space data sets
                   require vector space labels. (See Tesla AI Day 2021 at/around 58:31).




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                   Tesla describes how, while driving accused Tesla vehicles, drivers are actually annotating the data captured by the
                   vehicle because the user is steering the wheel, thereby telling the vehicle/Tesla how to navigate/traverse different
                   environment (e.g., circumstance representations representing the environment correlated with driving instructions for
                   traversing the environment). (See Tesla Autonomy Day 2019 at/around 1:04:10)




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                   Tesla depicts circumstance representation and correlated human trajectory, e.g., trajectory implemented using driving
                   instruction sets at each point in time while the accused Tesla vehicles are taking a turn. (See Tesla AI Day 2021
                   at/around 1:19:43).

                   Further, as stated above, circumstance representations include one or more object representations/features. The
                   convolution layers of the CNN in the accused Tesla vehicles store object features correlated via forward connections
                   with output nodes of the CNN, including instructions for driving the vehicle, as described by the expert from MIT
                   speaking in the following video, the “MIT Convolutional Neural Networks” video, found at:
                   https://www.youtube.com/watch?v=iaSUYvmCekI.

                   First, the speaker describes learning features and features being stored/learned in different convolution layers.




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                   (See MIT Convolutional Neural Networks video at/around 26:40).

                   Next, the speaker describes the overall CNN used for robotic control (e.g., autonomous driving) where features in
                   convolutional layers of the CNN are correlated with control instructions at the end of the CNN via forward connections.




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                   (See MIT Convolutional Neural Network video at/around 29:40)

                   During its Autonomy Day 2019 and AI Day 2021 presentations, Tesla goes on to describe how the instruction sets for
                   operating the device is learned in a learning process that includes operating the first device at least partially by a user.
                   For example:




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                   At/around 1:04:10 in Tesla’s Autonomy Day 2019 presentation, the speaker describes, while driving one of the accused
                   Tesla vehicles, the user is annotating the data because the user is steering the wheel, the user is telling Tesla how to
                   traverse different environments, that one person in the fleet taking, e.g., a left turn through a particular intersection, is
                   providing Tesla with invaluable data corresponding to GPS coordinates, inertial measurements, wheel angle, wheel
                   ticks, etc. thus enabling Tesla to understand the path that particular user took through that particular turn. Tesla then
                   uses this data to supervising/training the CNN (e.g., training through supervised learning). This data is then shared with
                   the entire fleet through the neural network. The speaker goes on to state that Tesla is merely trying to imitate how
                   people drive in the real world.

                   At/around 1:04:01 in Tesla’s Autonomy Day 2019 presentation, the speaker describes how Teslas/Tesla’s neural
                   network learns from drivers training the network. At/around1:52:20, it is stated human drivers are monitored (e.g.,
                   monitored by a camera), and that the CNN implements autonomous driving based on this learned knowledge.

                   See also Tesla’s US 10,956,755; Tesla’s US 2020/0249685; Tesla’s US 10,997,461; Tesla’s WO 2020/056331.



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[45b]. one or more    The ’474 Accused Products are devices further comprising one or more sensors.
sensors;
                      For example, the 474 Accused Products further includes numerous sensors. For instance, each vehicle in the Tesla fleet
                      of vehicles includes at least an array of eight (8) outward facing cameras that capture the environment surrounding the
                      vehicle. Optionally, ultrasonic sensors and radar can be equipped. Data detected/sensed by these sensors is provided to
                      accused Tesla autonomous vehicle simulation system, e.g., via internet uplink.




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                   Source: https://www.tesla.com/ownersmanual/model3/en_au/GUID-EDA77281-42DC-4618-98A9-
                   CC62378E0EC2.html#:~:text=Ultrasonic%20sensors%20(if%20equipped)%20are,mounted%20to%20each%20front%2
                   0fender.


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[45c]. one or more    The ’474 Accused Products are devices further comprising one or more processors.
processors; and
                      For example, Tesla’s Models S, 3, X, and Y include one or more processors that, at a minimum, effect semi and/or fully
                      autonomous driving.




                      Source: https://www.youtube.com/watch?v=-b041NXGPZ8 (Tesla Autonomy Day 2019, discussing Tesla’s full self-
                      driving computer and Tesla’s full self-driving chip); see also Tesla’s ECU, which contains computers that are
                      programmed to perform the claimed features.



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[45d]. one or more    The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
non-transitory        machine readable code that, when executed by the one or more processors, causes the one or more processors to
machine readable      perform at least the following limitations.
media storing
machine readable      For example, each accused Tesla vehicle includes a system(s) that access memory that stores representations of objects
code that, when       in the surroundings of the Tesla vehicle. These circumstance representations (or circumstances) are learned while drivers
executed by the       drive the accused Tesla vehicles. Examples of circumstances that can be learned include, effectively everything
one or more           captured/sensed/measured by the sensors (e.g., cameras, ultrasonic, telemetry, etc.) included in each of the accused Tesla
processors, causes    vehicles that is fed into the ECU, such as other vehicles, pedestrians, roads, buildings, bikes, road debris, curbs, sidewalks,
the one or more       animals, speed, location, wheel ticks, etc. The ’474 Accused Products also learn driving instructions, such as instructions
processors to         for effecting the speed, steering, and/or braking of the accused Tesla vehicle being driven based on the actions taken by
perform at least:     the driver to navigate those circumstances.

                      This driving knowledge learned by one accused Tesla vehicle is transmitted to Tesla’s simulator before being distributed
                      to all vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each accused Tesla
                      vehicle included therein to autonomously implement driving instructions learned on one or more originating vehicles
                      when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling Tesla’s autonomous
                      driving capabilities.

                      Further, to effectuate the circumstance representations, a Tesla vehicle detects objects. For example, in the previous
                      analysis of driving behind the car with the bike mounted to it, the car detects the bike as an object. Tesla explains object
                      detection as follows:




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                   “So object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the objects
                   here because we need to track them and we need to understand how they might move around so again we might ask
                   human annotators to give us some annotations for these and humans might go in and might tell you that ok those patterns
                   over there are cars and bicycles and so on and you can train your neural network on this, but if you’re not careful, the
                   neural network all will make miss predictions in some cases.”




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                   “So as an example if we stumble by a car like this that has a bike on the back of it then the neural network actually when
                   I joined would actually create two deductions it would create a car deduction and a bicycle deduction and that’s actually
                   kind of correct because I guess both of those objects actually exist but for the purposes of the controller and a planner
                   downstream you really don’t want to deal with the fact that this bicycle can go with the car the truth is that that bike is
                   attached to that car so in terms of like just objects on the road there’s a single object a single car and so what you’d like
                   to do now is you’d like to just potentially annotate lots of those images as this is just a single car so the process that we
                   that we go through internally in the team is that we take this image or a few images that show this pattern and we have a
                   mechanism a machine learning mechanism by which we can ask the fleet to source us examples that look like that and
                   the fleet might respond with images that contains those patterns.”




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                   “So as an example these six images might come from the fleet they all contain bikes on backs of cars and we would go in
                   and we would annotate all those as just a single car and then the performance of that detector actually improves and the
                   network internally understands that hey when the bike is just attached to the car that’s actually just a single car and it can
                   learn that given enough examples and that’s how we sort of fix that problem … now the fleet doesn’t just respond with
                   bicycles on backs of cars we look for all the thing we look for lots of things all the time.”




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                   “So for example we look for boats and the fleet can respond with boats we look for construction sites and the fleet can
                   send us lots of construction sites from across the world we look for even slightly more rare cases.”




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                   “So for example finding debris on the road is pretty important to us so these are examples of images that have streamed
                   to us from the fleet that show tires cones, plastic bags and things like that if we can source these at scale we can annotate
                   them correctly and the neural network will learn how to deal with them in the world.”




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                   “Here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network
                   to really understand what’s going on here…that these are animals and we want to deal with that correctly.”




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                   “So to summarize the process by which we iterate on neural network predictions looked something like this – we start
                   with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                   that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                   detector may be misbehaving.”




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                   “So, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                   intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies and
                   so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a problem
                   in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over time but
                   now what you do is to fix this inaccuracy you need to source many more examples that look like that so we asked the
                   fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that into the training
                   set and we retrain the network, redeploy, and iterate the cycle over and over again”




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                   “So we refer to this iterative process by which we improve these predictions as the data engine so iteratively deploying
                   something potentially in shadow mode sourcing inaccuracies and incorporating the training set over and over again and
                   we do this basically for all the predictions of these neural networks.”

                   Source: https://www.youtube.com/watch?v=33K3id2xNAE&t

                   As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're actually doing is
                   you are annotating the data because you are steering the wheel. you're telling us how to traverse different environments
                   so what we're looking at here is a some person in the fleet who took a left through an intersection and what we do here is
                   we have the full video of all the cameras and we know that the path that this person took because of the GPS, the inertial
                   measurement unit, the wheel angle, the wheel ticks, so we put all that together and we understand the path that this person
                   took through this environment and then of course we can use this for supervision [e.g., training a CNN through supervised


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                   learning] for the network so we just source a lot of this from the fleet, we train a neural network on those trajectories, and
                   then the neural network predicts paths just from that data so really what this is referred to typically is called imitation
                   learning we're taking human trajectories from the real world I'm just trying to imitate how people drive in real worlds and
                   we can also apply the same data engine crank to all of this and make this work.”
                   Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.


                   In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the simulator where it is ynthesized
                   with other driving knowledge, (iii) packaged and sent from the simulator to the fleet, e.g., the driving knowledge is stored
                   on a memory of a second Tesla vehicle via the fleet over-the-air (OTA) software update, and (iv) accessed on the second
                   Tesla vehicle for its autonomous driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned
                   by the first Tesla vehicle and synthesized by the simulator.

                   See also, Tesla AI Day 2021 (https://www.youtube.com/watch?v=j0z4FweCy4M at or around 2:55:29), during which
                   Mr. Musk explained that all the human drivers are essentially training the neural network as to what is the correct course
                   of action for the accused Tesla vehicles to take while being operated on the road. This is just one example of the system
                   (e.g., the Tesla/Tesla fleet plus the supercomputer system or other computers) being trained with object representations
                   and instructions from a vehicle.

                   See also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M) for additional examples of Tesla’s
                   analysis of objects and circumstances:




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                   At 58:10, the speaker describes taking all of the images and simultaneously feeding them into a single neural net and
                   directly outputting into a vector space.




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                   Around 1:11:20, the speaker begins describing how Tesla uses a feed of raw images captured by the cameras included in
                   the accused Tesla vehicles, and how the images captured by the cameras pass through a transformer module to re-represent
                   the objects captured in the images taken by the camera into the vector space.




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                   At 1:31:23 the speaker describes Tesla’s ability to arbitrarily reconstruct 3D static obstacles, and the slide shown in the
                   screenshot above depicts an example of Tesla’s reconstructed 3D point cloud. Tesla is able to make this reconstruction
                   from data captured by the cameras and other various sensors included in the accused Tesla vehicles.




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                   At 1:31:58 the speaker is describing Tesla’s vector space in more detail, notably touching on how the vector space includes
                   object representations.




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                   At 1:32:48, the speaker explains how Tesla combines everything together in order to produce “amazing” data sets that
                   annotate all of the road texture, all static objects, and all of the moving objects.

                   For additional examples of Tesla’s correlating a first circumstance representation with one or more instruction sets, see
                   also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M).




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                   At 1:19:43, the speaker describes recording a human’s trajectory around a curve, recording/storing the data associated
                   therewith, and sharing that data with the fleet so the accused Tesla vehicles are better able to handle that particular turn
                   and similar turns/curves in the future.




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                   At/around 1:28:16, the speaker is describing exemplary labeling of a single clip in which an entity that has dense sensor
                   data like videos, IMU data, GPS, odometry (e.g., speed, steering braking, etc.) are uploaded by Tesla’s own engineering
                   cars and/or from customer cars. Note the “Ego Trajectory & Static World Reconstruction” label shown in the screenshot
                   above (yellow annotation).

                   Again, at/around 2:55:29, Mr. Musk describes how all the human drivers are “essential training the neural net as to what
                   is the correct course of action” in any particular circumstance encountered by the accused Tesla vehicles.

                   A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                   below.




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                   At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused Tesla
                   vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed. Source:
                   https://www.youtube.com/watch?v=zRnSmw1i_DQ

                   A bevy of sensors are included in the accused Tesla vehicles. Examples of sensors included in the accused Tesla vehicles
                   include an array of outward-facing cameras that capture the environment surrounding the vehicle. Optionally, ultrasonic
                   sensors and radar can be equipped.




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                   Source: https://www.tesla.com/ownersmanual/model3/en_au/GUID-EDA77281-42DC-4618-98A9-
                   CC62378E0EC2.html#:~:text=Ultrasonic%20sensors%20(if%20equipped)%20are,mounted%20to%20each%20front%2
                   0fender.


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                   Tesla describes how circumstance representations are correlated with various instruction sets for operation of the accused
                   Tesla vehicles during Tesla Autonomy Day 2019 (https://www.youtube.com/watch?v=-b041NXGPZ8) and Tesla AI Day
                   2021 (https://www.youtube.com/watch?v=j0z4FweCy4M).

                   As examples:




                   Tesla describes how the accused Tesla vehicles use a convolutional neural network (CNN) to learn and implement
                   autonomous driving. See Tesla Autonomy Day 2019 at/around 15:53.




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                   Tesla describes how it wants to re-represent the features from image space as vector space features, and that it wants to
                   use vector space predictions from its neural network, which requires vector space data sets, and vector space data sets
                   require vector space labels. See Tesla AI Day 2021 at/around 58:31.




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                   Tesla describes how, while driving accused Tesla vehicles, drivers are actually annotating the data captured by the vehicle
                   because the user is steering the wheel, thereby telling the vehicle/Tesla how to navigate/traverse different environment
                   (e.g., circumstance representations representing the environment correlated with driving instructions for traversing the
                   environment). See Tesla Autonomy Day 2019 at/around 1:04:10.




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                   Tesla depicts circumstance representation and correlated human trajectory, e.g., trajectory implemented using driving
                   instruction sets at each point in time while the accused Tesla vehicles are taking a turn. See Tesla AI Day 2021 at/around
                   1:19:43.

                   Further, as stated above, circumstance representations include one or more object representations/features. The
                   convolution layers of the CNN in the accused Tesla vehicles store object features correlated via forward connections with
                   output nodes of the CNN, including instructions for driving the vehicle, as described by the expert from MIT speaking in
                   the     following      video,   the     “MIT      Convolutional       Neural       Networks”       video,   found     at:
                   https://www.youtube.com/watch?v=iaSUYvmCekI.

                   First, the speaker describes learning features and features being stored/learned in different convolution layers.




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                   MIT Convolutional Neural Networks video at/around 26:40.

                   Next, the speaker describes the overall CNN used for robotic control (e.g., autonomous driving) where features in
                   convolutional layers of the CNN are correlated with control instructions at the end of the CNN via forward connections.




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                   See MIT Convolutional Neural Network video at/around 29:40.

                   During its Autonomy Day 2019 and AI Day 2021 presentations, Tesla goes on to describe how the instruction sets for
                   operating the device is learned in a learning process that includes operating the first device at least partially by a user.
                   For example:




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                   At/around 1:04:10 in Tesla’s Autonomy Day 2019 presentation, the speaker describes, while driving one of the accused
                   Tesla vehicles, the user is annotating the data because the user is steering the wheel, the user is telling Tesla how to
                   traverse different environments, that one person in the fleet taking, e.g., a left turn through a particular intersection, is
                   providing Tesla with invaluable data corresponding to GPS coordinates, inertial measurements, wheel angle, wheel ticks,
                   etc. thus enabling Tesla to understand the path that particular user took through that particular turn. Tesla then uses this
                   data to supervising/training the CNN (e.g., training through supervised learning). This data is then shared with the entire
                   fleet through the neural network. The speaker goes on to state that Tesla is merely trying to imitate how people drive in
                   the real world.

                   At/around 1:04:01 in Tesla’s Autonomy Day 2019 presentation, the speaker describes how Tesla vehicles/Tesla’s neural
                   network learns from drivers training the network. At/around1:52:20, it is stated human drivers are monitored (e.g.,
                   monitored by a camera), and that the CNN implements autonomous driving based on this learned knowledge.




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                   At/around 1:19:43 in Tesla’s AI Day 2021 presentation, Tesla describes how the path of the accused Tesla vehicles took
                   a trajectory through the curve shown above that looks substantially similar to humans who had driven through the same
                   turn in accused Tesla vehicles in the past.

                   For example, the supercomputer included in the 474 Accused Products further includes volatile and non-volatile
                   memory, such as NVME or DRAM respectively, for, e.g., storing digital pictures correlated with one or more
                   instruction sets for operating a first object of a first application program, along with other executable, machine-readable
                   code. See, e.g., [CVPR'21 WAD] Keynote - Andrej Karpathy, Tesla, available at
                   https://www.youtube.com/watch?v=g6bOwQdCJrc.




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                    See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                   Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity – Electrek




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                        https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving- data-processing

[45e]. generating a     The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
circumstance            machine readable code that, when executed by the one or more processors, causes the one or more processors to
representation,         perform at least generating a circumstance representation, wherein the generated circumstance representation represents
wherein the             a circumstance detected at least in part by the one or more sensors.
generated
circumstance            For example, each of the accused Tesla Models S, 3, X, and Y is a device. The Tesla fleet includes multiple accused Tesla
representation          vehicles, each of which is capable of accounting for circumstances encountered by drivers while out and about, those
represents a            circumstances being captured by the multiple cameras included therein. Representations of these captured circumstances
circumstance            are then generated. A particular accused Tesla vehicle may capture and represent circumstances on its own, or each of the
detected at least in    accused Tesla vehicles can receive circumstances/representations of circumstances from other vehicles in Tesla’s fleet,
part by the one or      e.g., via Tesla’s CNN.
more sensors;
                        At/around 44:00 in Tesla’s Autonomy Day 2019, a stream of video from the 8 cameras included in the accused Tesla
                        vehicles can be seen.




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                   Further, at/around 41:14 in Tesla’s AI Day 2021 presentation, a circumstance representation including object
                   representations representing vehicles, pedestrians, etc. around the accused Tesla vehicle being driven is being shown on
                   the display of the vehicle.




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                   At/around 58:10 in Tesla’s AI Day 2021 presentation, the presenter mentions Tesla’s desire to take all images captured
                   by the cameras and feed them into a single neural network in order to directly output into a vector space




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                   Later in Tesla’s AI Day 2021 presentation (at/around 1:31:23), the presenter describes how Tesla can arbitrarily
                   reconstruct 3D static objects from data captured by the cameras included in the accused Tesla vehicles.




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                   Tesla AI Day 2021 goes on to describe: the vector space, including object representations, relied upon by the accused
                   Tesla vehicles (at/around 1:31:58); combining all captured data together to make data sets that annotate all road texture,
                   static objects, and/or moving objects represented in the captured data (at/around 1:32:48); and feeding raw images through
                   a transformer module to re-represent the data in a vector space (at/around 1:11:20).




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                   Circumstance representations, including object representations (e.g., bounding boxes) used to represent objects in the
                   environment of the accused Tesla vehicles can be seen at/around 0:50 of the video “Tesla Autipilot is better than you
                   think! Here’s why. (part 1)”




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                   Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                   Moreover, the 474 Accused Products further generates circumstance representations. According to Tesla, these
                   circumstance representations (or circumstances) are learned while drivers drive Tesla vehicles that are a part of the 474
                   Accused Products. Examples of circumstances that can be learned include, effectively everything
                   captured/sensed/measured by the sensors (e.g., cameras, ultrasonic, telemetry, etc.) included in each Tesla vehicle in the
                   fleet that is included in the 474 Accused Products. by the driver to navigate those circumstances.

                   This driving knowledge learned by one Tesla vehicle is transmitted to the supercomputer/simulator before being
                   distributed to all vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each
                   accused Tesla vehicle included therein to autonomously implement driving instructions learned on one or more
                   originating vehicles when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling
                   Tesla’s autonomous driving capabilities.



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                   Further, to effectuate the circumstance representations, the sensors of [45b] included a Tesla vehicle detect objects. For
                   example, in the previous analysis of driving behind the car with the bike mounted to it, the sensors (e.g., cameras)
                   included in the vehicle detects the bike as an object. Tesla explains object detection as follows:




                   “so object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the
                   objects here because we need to track them and we need to understand how they might
                   move around so again we might ask human annotators to give us some annotations for these and
                   humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                   and you can train your neural network on this, but if you’re not careful, the neural network all will make miss
                   predictions in some cases.”




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                   “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                   network actually when I joined would actually create two deductions it would create a car deduction
                   and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                   exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                   the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                   of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                   you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                   we that we go through internally in the team is that we take this image or a few images that show this
                   pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                   source us examples that look like that and the fleet might respond with images that contains those
                   patterns [emphasis added]”



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                   “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                   and we would go in and we would annotate all those as just a single car and then the performance of
                   that detector actually improves and the network internally understands that hey when the bike is just
                   attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                   how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                   look for all the thing we look for lots of things all the time.”




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                   “so for example we look for boats and the fleet can respond with boats we look for construction sites
                   and the fleet can send us lots of construction sites from across the world we look for even slightly more rare cases.”




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                   “so for example finding debris on the road is pretty important to us so these are examples of images that
                   have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                   source these at scale we can annotate them correctly and the neural network will learn how to deal with them in the
                   world [emphasis added].”




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                   “here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network to
                   really understand what’s going on here…that these are animals and we want to deal with that correctly.”




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                   “so to summarize the process by which we iterate on neural network predictions looked something like this – we start
                   with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                   that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                   detector may be misbehaving.”




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                   “so, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                   intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies
                   and so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a
                   problem in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over
                   time but now what you do is to fix this inaccuracy you need to source many more examples that look like that so we
                   asked the fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that
                   into the training set and we retrain the network, redeploy, and iterate the cycle over and over again [emphasis added].”




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                   “so we refer to this iterative process by which we improve these predictions as the data engine so
                   iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                   the training set over and over again and we do this basically for all the predictions of these neural
                   networks [emphasis added].”

                   Source: https://www.youtube.com/watch?v=33K3id2xNAE&t


                   A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                   below.




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                   At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused
                   Tesla vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed.
                   Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                   Additional examples of Tesla simulating real world driving environments using real world data and generated data can
                   be seen below.




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                    See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                    Id.




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                        The real world and generated data includes video data, which includes object representations. Given that the video
                        data is from the real world and generated simulations of real world environments the object representations represent
                        objects of the application. See, for example, the simulated environment below showing a simulation of a person near the
                        simulated car from the first application program (AI simulation).


                        See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

                        As shown in the above-cited video, Tesla’s simulation system is capable of behaving appropriately because the
                        simulated car is provided with driving instructions that are correlated with objects, e.g., simulated people, cars, traffic
                        lights, traffic signs, etc.




                        See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s
[45f]. determining      The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
the one or more         machine readable code that, when executed by the one or more processors, causes the one or more processors to
instruction sets for    perform at least determining the one or more instruction sets for operating the second device at least by: inputting at
operating the           least a portion of the generated circumstance representation into the one or more inputs, and using a correlation between
second device at        the one or more inputs and the one or more instruction sets for operating the second device
least by: inputting


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at least a portion   For example, the 474 Accused Products determines an instruction set (e.g., steer to the left) for operating vehicles in the
of the generated     Tesla fleet. These instructions are provided to Tesla vehicles based on the circumstance representations gathered by
circumstance         Tesla fleet vehicles, that are correlated to instruction sets as described above, over-the-air. This correlation may be
representation into based on one similarity between one or more object representations detected/present in the circumstance representation
the one or more      and the first one or more object representations. https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-
inputs, and using a important-news/ at/around 38:45 to 39:00
correlation
between the one or
more inputs and
the one or more
instruction sets for
operating the
second device; and




                     Further, vehicles in Tesla’s fleet can learn from each other. The ability of the fleet to learn from itself is mentioned as a
                     distinct competitive advantage of Tesla by both Mr. Musk and Mr. Karpathy. See, for example, Tesla Autonomy Day


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                   2019 at/around 38:58, “I think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is stated
                   that, “it is such a big deal that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and
                   interesting position” because of the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to
                   catch up when Tesla has 100 times more miles per day than everyone else combined,” which is a direct result of the
                   fleet.


                   Similarly, while operating in autonomous driving mode, the CNN in the accused Tesla vehicles carries out a comparison
                   between features of objects in a previously learned circumstance representation stored in its convolution layers and
                   features of objects in an incoming circumstance representation. See MIT Convolutional Neural Networks at/around 12:58.




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                   Source: https://www.youtube.com/watch?v=iaSUYvmCekI.

                   Further, Tesla’s AI Day 2021 presentation (https://www.youtube.com/watch?v=j0z4FweCy4M) describes/presents the
                   following:

                   An example of how searching for previously learned driving instructions for effecting a trajectory correlated with a
                   previously learned circumstance representation that at least partially matches an incoming circumstance representation
                   operates (at/around 1:15:26).




                   The screenshot above depicts an accused Tesla vehicle attempting to do a lane change. In this instance, the car needs to
                   get over two lanes before making the left-hand turn. To perform this maneuver (getting over two lanes, then making a 90-
                   degree left turn), the accused Tesla vehicle searches over different maneuvers available on the network shared by the
                   Tesla fleet of vehicles (e.g., the CNN and/or simulator). The car tries to pick the safest maneuvers that feel
                   comfortable/natural to the driver, based on data already stored on the network, which itself is based on data observed by


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                   the accused Tesla vehicles of the drivers of said vehicles. In some instances, thousands of maneuvers are searched through
                   in real-time, in a very short time span.

                   At/around 2:32:42, the presenter at Tesla’s AI Day 2021 describes planning. In essence, Tesla bakes in a search for a
                   previously learned driving instruction(s) effecting a trajectory correlated with a previously learned circumstance
                   representation that, at least partially, matches the incoming circumstance representation being captured by the vehicle.
                   Via network optimization, a plan is devised (e.g., when/how the car will change lanes to the left the first time, when/how
                   the car will change lanes to the left the second time, when/how the car will make the 90-degree left turn). This plan is
                   devised rather quickly.
                   At/around 1:23:40, the presenter at Tesla’s AI Day 2021 describes the architecture and the vision system that is
                   implemented in the accused Tesla vehicles. The vision system is described as condensing down video into a vector space
                   (e.g., incoming circumstance representations representing objects in the Tesla’s current environment). This video is also
                   consumed by the CNN that stores previously learned circumstance representations correlated with previously learned
                   driving instructions, and that searches for at least partially matching circumstance representation(s) and correlated driving
                   instructions, along with a planner. A trajectory distribution is produced. The trajectory distribution can be optimized
                   accounting for explicit cost functions, human intervention, and other imitation data. The trajectory distribution is then
                   worked into a planning function that causes the car to perform the actions deemed most appropriate based on the
                   comparison of data, and produces the final driving commands (e.g., the commands that control steering, speed,
                   acceleration, turn signals, etc.).




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[45g]. at least in     The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
response to the        machine readable code that, when executed by the one or more processors, causes the one or more processors to
determining,           perform, at least in response to the determining, executing the one or more instruction sets for operating the second
executing the one      device, wherein the first device autonomously performs one or more operations defined by the one or more instruction
or more instruction    sets for operating the second device.
sets for operating
the second device,     For example, see the evidence presented in support of [45f] above.
wherein the first
device                 As described by Mr. Musk in Tesla’s Autonomy Day 2019 presentation, the Tesla system includes using driving
autonomously           instructions learned from/by one Tesla vehicle to effect the semi/fully-autonomous driving of another Tesla vehicle in the
performs one or        fleet. Mr. Musk goes on to explain that this knowledge is distributed over the Tesla network via over-the-air (OTA)
more operations        software updates, thereby enabling second, third, fourth, fifth, etc. Tesla vehicles to implement autonomous driving
defined by the one     knowledge/instructions learned from the first vehicle.
or more instruction



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sets for operating    The ability of the fleet to learn from itself is mentioned as a distinct competitive advantage of Tesla by both Mr. Musk
the second device.    and Mr. Karpathy. See, for example, Tesla Autonomy Day 2019 at/around 38:58, “I think a very powerful sustainable
                      advantage for us is the fleet.” At/around 44:40, it is stated that, “it is such a big deal that we have the fleet,” and at 55:55,
                      it is reiterated that, “Tesla is in such a unique and interesting position” because of the fleet. Finally, at/around 1:22:14, it
                      is proclaimed that it “[i]s extremely difficult to catch up when Tesla has 100 times more miles per day than everyone else
                      combined,” which is a direct result of the fleet.

                      Source: https://www.youtube.com/watch?v=-b041NXGPZ8 (Tesla Autonomy Day 2019 at the various timestamps listed
                      above).

                      During Tesla’s AI Day 2021 presentation, Tesla describes what the final architecture of the Tesla/fleet/Software
                      9.0+/CNN/simulator system is going to look like, and states that it will produce the final steering and acceleration
                      commands for the cars.




                      Source: https://www.youtube.com/watch?v=j0z4FweCy4M at/around 1:23:40



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46. The first           The ’474 Accused Products comprise the first device of claim 45,wherein the one or more inputs for inputting the at
device of claim 45,     least the portion of the circumstance representation include one or more inputs for inputting at least a portion of one or
wherein the one or      more object representations, and wherein the generated circumstance representation includes one or more object
more inputs for         representations, and wherein the first device is a first vehicle, and wherein the second device is a second vehicle.
inputting the at        For example, see the evidence presented in support of claims [45a] – [45f] above.
least the portion of
the circumstance        The first and second devices are Tesla vehicles, for example. And the imput(s) include input(s) for imputing at least a
representation          portion of objection representation(s). Similarly, the generated circumstance representation includes object
include one or          representation(s).
more inputs for
inputting at least a
portion of one or
more object
representations,
and wherein the
generated
circumstance
representation
includes one or
more object
representations,
and wherein the
first device is a
first vehicle, and
wherein the
second device is a
second vehicle.
47. The first           The ’474 Accused Products comprise the first device of claim 46, wherein at least an information related to the one or
device of claim 46,     more instruction sets for operating the second device is learned in a learning process that includes operating the second
wherein at least an     device at least partially by a user.
information related


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to the one or more      For example, see the evidence provided in claim 45 (particularly [45g]) above. For instance the user may operate the
instruction sets for    second Telsa vehicle during the learning process.
operating the
second device is
learned in a
learning process
that includes
operating the
second device at
least partially by a
user.
51. The first           The ’474 Accused Products comprise the first device of claim 46, wherein at least a portion of the one or more
device of claim 46,     instruction sets for operating the second device is learned in a learning process that includes operating the second device
wherein at least a      at least partially by a user.
portion of the one
or more instruction
sets for operating      For example, see the evidence presented in claim 45 and 46 above. In this example, at least a portion of the one or more
the second device       instruction sets for operating the second Tesla vehicle is learned in a learning process that includes operating the second
is learned in a         Tesla vehicle at least partially by a driver of that vehicle.
learning process
that includes
operating the
second device at
least partially by a
user.
52. The first           The ’474 Accused Products comprise the first device of claim 46, wherein the one or more instruction sets for operating
device of claim 46,     the second device are applied to the first device.
wherein the one or
more instruction        For example, vehicles in Tesla’s fleet can learn from each other. The ability of the fleet to learn from itself is mentioned
sets for operating      as a distinct competitive advantage of Tesla by both Mr. Musk and Mr. Karpathy. See, for example, Tesla Autonomy
the second device       Day 2019 at/around 38:58, “I think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is


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are applied to the      stated that, “it is such a big deal that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and
first device.           interesting position” because of the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to
                        catch up when Tesla has 100 times more miles per day than everyone else combined,” which is a direct result of the
                        fleet.

                        See also, the evidence presented in support of [45a], [45f], and [45g] above.




56. The first           The ’474 Accused Products comprise the first device of claim 46, wherein the one or more inputs are further correlated
device of claim 46,     with another one or more instruction sets for operating a third device, and wherein at least a portion of the one or more
wherein the one or      instruction sets for operating the second device or at least an information related to the one or more instruction sets for
more inputs are         operating the second device is learned in a learning process that includes operating the second device at least partially
further correlated      by a user, and wherein at least a portion of the another one or more instruction sets for operating the third device or at
with another one        least an information related to the another one or more instruction sets for operating the third device is learned in
or more instruction     another learning process that includes operating the third device at least partially by another user.
sets for operating a
third device, and       For example, a first, second, third, etc. circumstance representation derived from potentially multiple sensed inputs can
wherein at least a      correspond to/be correlated with a first, second, third, etc. instruction set.
portion of the one
or more instruction     See the evidence presented in support of claim 45 above.
sets for operating
the second device
or at least an
information related
to the one or more
instruction sets for
operating the
second device is
learned in a


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learning process
that includes
operating the
second device at
least partially by a
user, and wherein
at least a portion
of the another one
or more instruction
sets for operating
the third device or
at least an
information related
to the another one
or more instruction
sets for operating
the third device is
learned in another
learning process
that includes
operating the third
device at least
partially by
another user.
57. The first           The ’474 Accused Products comprise the first device of claim 46, wherein the one or more inputs are further correlated
device of claim 46,     with another one or more instruction sets for operating a third device.
wherein the one or
more inputs are         For example, an input of/a series of inputs to the 474 Accused Products can be correlated with a second, third, fourth,
further correlated      etc. instruction set(s) for operating a third, fourth, fifth, etc. device (e.g., Tesla vehicle).
with another one
or more instruction


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sets for operating a See the evidence presented in claim 56 above. For example, the third device is a third Tesla vehicle and the one or more
third device.        inputs are correlated with another one or more instruction sets for operating that third Tesla vehicle.

59. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the one or more object representations of the
device of claim 46,    generated circumstance representation include one or more information about one or more objects.
wherein the one or
more object            For example, circumstance representations include information about objects, e.g., human, animal, vehicle, car, truck,
representations of     speed, predicted path, etc. See the evidence presented in support of [45a] for more information on the relationship
the generated          between circumstance representations and the object representations included therein.
circumstance
representation
include one or
more information
about one or more
objects.
60. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the one or more object representations of the
device of claim 46,    generated circumstance representation include one or more coordinates of one or more objects.
wherein the one or
more object            For example, the vehicle must know the distance from the detected object representations in the generated circumstance.
representations of     The distance and location of the object representation in the circumstance representation is an example of a coordinate
the generated          relative to the Telsa vehicle.
circumstance
representation         See the evidence presented in support of claim 59 above.
include one or
more coordinates       See also, Mr. Karpathy speaking during Tesla Autonomy Day 2019 “while you are driving a car what you're
of one or more         actually doing is you are annotating the data because you are steering the wheel. you're telling us how
objects.               to traverse different environments so what we're looking at here is a some person in the fleet who took a
                       left through an intersection and what we do here is we have the full video of all the cameras and we
                       know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                       angle, the wheel ticks, so we put all that together and we understand the path that this person took
                       through this environment and then of course we can use this for supervision [e.g., training a CNN


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                     through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                     neural network on those trajectories, and then the neural network predicts paths just from that data so
                     really what this is referred to typically is called imitation learning we're taking human trajectories
                     from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                     the same data engine crank to all of this and make this work [emphasis added].”
                     Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                     See also, para. [36] of Tesla’s US 2020/0249685, which states, “At 303, data related to the elements of the time series
                     are received. …In some embodiments, the related data is odometry data of the vehicle. … The related data may include
                     vehicle operating parameters such as the speed, change in speed, acceleration, change in acceleration, steering, change
                     in steering, braking, change in braking, etc.” Further, Tesla’s 10,956,755 explains that “…odometry data may include
                     vehicle operation parameters such as applied acceleration, applied braking, applied steering, vehicle location, vehicle
                     orientation, the change in vehicle location, the change in vehicle orientation, etc. [emphasis added].”
68. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the knowledgebase is a neural network.
device of claim 46,
wherein the         For example, the 474 Accused Products implements a convolutional neural network.
knowledgebase is
a neural network.   As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                    actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                    to traverse different environments so what we're looking at here is a some person in the fleet who took a
                    left through an intersection and what we do here is we have the full video of all the cameras and we
                    know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                    angle, the wheel ticks, so we put all that together and we understand the path that this person took
                    through this environment and then of course we can use this for supervision [e.g., training a CNN
                    through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                    neural network on those trajectories, and then the neural network predicts paths just from that data so
                    really what this is referred to typically is called imitation learning we're taking human trajectories
                    from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                    the same data engine crank to all of this and make this work [emphasis added].”
                    Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.




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                     See also, the evidence presented in support of [45a] above.
69. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the knowledgebase includes an artificial
device of claim 46, intelligence system.
wherein the
knowledgebase        For example, the supercomputer/simulator included in the 474 Accused Products is an artificial intelligence system
includes an          (e.g., a convolutional neural network, or CNN).
artificial
intelligence         See the evidence presented in support of claim 68 above.
system.
78. The first        The ’474 Accused Products comprise the first device of claim 46, wherein
device of claim 46,
wherein the one or For example, instruction sets derived from circumstance representations generated by the 474 Accused Products can be
more instruction     used to operate an entire fleet (e.g., tens/hundreds of thousands, even millions) of Tesla vehicles).
sets for operating
the second device The ability of vehicles in Tesla’s fleet to learn from each other is widely acknowledged by Mr. Musk and Mr. Karpathy
are further for      as one of Tesla’s biggest competitive advantages. See, for example, Tesla Autonomy Day 2019 at/around 38:58, “I
operating at least a think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is stated that, “it is such a big deal
third device.        that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and interesting position” because of
                     the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to catch up when Tesla has 100
                     times more miles per day than everyone else combined,” which is a direct result of the fleet.
80. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the generated circumstance representation
device of claim 46, represents the circumstance detected at least in part by the one or more sensors during a time period.
wherein the
generated            For example, Tesla vehicles are constantly sensing data (e.g., capturing images/video of the surrounding environment)
circumstance         and generating circumstance representations therefrom (e.g., via the supercomputer/simulator on the back-end of the
representation       474 Accused Products).
represents the
circumstance         As an example, at/around 1:10:43 in Tesla’s AI Day 2021 presentation, the speaker describes how Tesla depicts
detected at least in circumstance representations and the driving instructions (e.g., a trajectory through a turn) correlated therewith, along
part by the one or   with how each is implemented as sensors (e.g., cameras) are capturing data over a series of pints in time as Tesla
more sensors         vehicles are being drive in real-time.


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during a time
period.




                        See also, the remaining evidence in support of claim 45 (particularly [45a]) above.
81. The first           The ’474 Accused Products comprise the first device of claim 46, wherein the generated circumstance representation is
device of claim 46,     a data structure that includes one or more data about the circumstance detected at least in part by the one or more
wherein the             sensors, and wherein the circumstance detected at least in part by the one or more sensors includes one or more objects
generated               detected at least in part by the one or more sensors: at a first time, or during a first time period.
circumstance
representation is a     For example, at 58:10 in Tesla’s AI Day 2021 presentation (https://www.youtube.com/watch?v=j0z4FweCy4M), the
data structure that     speaker describes taking all of the images captured/recorded by the cameras included in Tesla vehicles and
includes one or         simultaneously feeding them into a single neural net and directly outputting them into a vector space.
more data about
the circumstance
detected at least in
part by the one or
more sensors, and


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wherein the
circumstance
detected at least in
part by the one or
more sensors
includes one or
more objects
detected at least in
part by the one or
more sensors: at a
first time, or
during a first time
period.




                        See also, the additional evidence corresponding to convolutional neural network implemented by the 474 Accused
                        Products, e.g., in claims 68 and 69 above.


[84pre]. A system       The ’474 Accused Products are/include a system(s) comprising the limitations below.
comprising:
                        For example, see the evidence presented in support of claim [45pre] above.


[84a]. means for        The ’474 Accused Products are/include a system(s) comprising means for accessing a knowledgebase that includes one
accessing a             or more inputs for inputting at least a portion of a circumstance representation, wherein the one or more inputs are
knowledgebase           correlated with one or more instruction sets for operating a first device.
that includes one
or more inputs for      For example, see the evidence presented in support of [45a], [45c], and [45d] above.


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inputting at least a
portion of a
circumstance
representation,
wherein the one or
more inputs are
correlated with
one or more
instruction sets for
operating a first
device;
[84b]. means for        The ’474 Accused Products are/include a system(s) further comprising means for generating a circumstance
generating a            representation, wherein the generated circumstance representation represents a circumstance detected at least in part by
circumstance            one or more sensors of a second device.
representation,
wherein the             For example, see the evidence presented in support of [45c], [45d], and [45e] above.
generated
circumstance
representation
represents a
circumstance
detected at least in
part by one or
more sensors of a
second device;
[84c]. means for        The ’474 Accused Products are/include a system(s) further comprising means for determining the one or more
determining the         instruction sets for operating the first device at least by: inputting at least a portion of the generated circumstance
one or more             representation into the one or more inputs, and using a correlation between the one or more inputs and the one or more
instruction sets for    instruction sets for operating the first device.
operating the first
device at least by:     For example, see the evidence presented in support of [45c], [45d], and [45f] above.


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U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
inputting at least a
portion of the
generated
circumstance
representation into
the one or more
inputs, and using a
correlation
between the one or
more inputs and
the one or more
instruction sets for
operating the first
device; and
[84d]. means for        The ’474 Accused Products are/include a system(s) further comprising means for executing, at least in response to the
executing, at least     determining, the one or more instruction sets for operating the first device, wherein the second device autonomously
in response to the      performs one or more operations defined by the one or more instruction sets for operating the first device.
determining, the
one or more             For example, see the evidence presented in support of [45c], [45d], and [45g] above.
instruction sets for
operating the first
device, wherein
the second device
autonomously
performs one or
more operations
defined by the one
or more instruction
sets for operating
the first device.




                                                                        103
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                         Exhibit L
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U.S. Patent No. 10,607,134

Claim 1                                Exemplary Infringement Evidence1
[1pre] A system comprising:            The Dojo supercomputer infringes the ’134 patent alone or together with Tesla vehicles
                                       operating Software Version 9.0 and beyond (this includes vehicles with enhanced autopilot
                                       and/or full self-driving (FSD)). The Dojo supercomputer alone or together with each of these
                                       vehicles meets the limitations of the claimed system.

                                       The discussion and evidence cited in claims [1a-e] are incorporated herein.


                                           -   See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-
                                               b041NXGPZ8 at 53:32 (this is actually a screenshot of our own simulator. we use
                                               simulation extensively. we use it to develop and evaluate the software. we've also even
                                               used it for training quite successfully), 1:46:51 (this is taken from our actual simulation
                                               environment), 40:52 (we have quite a good a simulation too).




                                           -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:05

1
    These infringement contentions are prepared with publicly available information.
                                                                     1
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                        (we also invest heavily in using simulation)




                    -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:36
                        (Simulation is a video game with Autopilot as the player)




                    -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:36:03

                                             2
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                        (since it's a simulation it starts from the vector space so it has perfect labels)




                    -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:40:19
                        (we want to recreate any failures that happens to the autopilot in simulation so that we
                        can hold autopilot to the same bar from then on)




                                               3
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[1a] one or more processors; and   Tesla’s autonomous vehicle simulation system includes one or more processors and one or
                                   more non-transitory machine readable media storing machine readable code that, when
                                   executed by the one or more processors, causes the one or more processors to perform the
                                   claimed features.

                                   For example, the Dojo supercomputer includes one or more processors including one or more
                                   Dojo D1 chip(s).




                                   See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                                                              4
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                                   Id.




                                   Id.
[1b] one or more non-transitory    Tesla’s autonomous vehicle simulation system includes memory for storing digital pictures correlated
machine readable media storing     with one or more instructions sets for operating a first object of a first application program. The
machine readable code that, when   discussion and evidence cited in claims [1c-f] is incorporated herein.
executed by the one or more
                                                                 5
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processors, causes the one or more   For example, Tesla’s autonomous vehicle simulation system includes volatile and non-volatile
processors to perform at least:      storage, such as NVME or DRAM respectively, for storing executable machine readable code.




                                     See, e.g., [CVPR'21 WAD] Keynote - Andrej                  Karpathy,   Tesla,   available   at
                                     https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                 6
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                  See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                  Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity - Electrek




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                                       https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving-
                                       data-processing

[1c] accessing a first correlation     Tesla’s autonomous vehicle simulation system accesses a first correlation including a first one
including a first one or more object   or more object representations correlated with a first one or more instruction sets for operating
representations correlated with a      a first avatar of an application, and the first one or more object representations represent one or
first one or more instruction sets     more objects of the application.
for operating a first avatar of an
application, wherein the first one     For example, Tesla uses a supercomputer called DOJO to simulate real world driving
or more object representations         environments      using     real    world      data      and   generated      data.
represent one or more objects of       https://www.youtube.com/watch?v=g6bOwQdCJrc (14:30 to 15:30).
the application;
                                       Tesla’s supercomputer is capable of behaving appropriately because the simulated car “avatar”
                                       is provided with driving instructions “first one or more instruction sets for operating a first
                                       avatar” that are correlated with object representations, e.g., simulated people, cars, traffic
                                       lights, traffic signs, etc. https://youtu.be/j0z4FweCy4M at 39 to 46 (showing simulated car in
                                       DOJO driving and reacting appropriately to cars, people, traffic signs, traffic lights, etc.); see
                                       also https://www.youtube.com/watch?v=6hkiTejoyms at 0:04 to 0:11 (“Today we are going to
                                       see how Tesla uses no less than a simulated game world to train their self-driving cars.”).




                                                                     8
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                                   See https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing an automatic
                                   emergency breaking system). As shown in the clip, each simulated Tesla vehicle has sensors
                                   such as cameras, etc. that are used to detect a first object representations, e.g., a pedestrian in
                                   front of the vehicle.

[1d] generating or receiving a     Tesla’s autonomous vehicle simulation system generates or receives a second one or more
second one or more object          object representations, and the second one or more object representations represent one or more
representations, wherein the       objects of the application. See citations and analysis for claim element 1b. The any object
second one or more object          representation that is similar to but different from the first object representation can correspond
representations represent one or   to the claimed second “object representation,” e.g., a second pedestrian different from the first
more objects of the application;   different pedestrian, can represent an object (e.g., person) in the simulated application on the
                                   DOJO supercomputer.

                                   For example, Tesla uses a supercomputer called DOJO to simulate real world driving
                                   environments for simulated Tesla Fleet vehicles using real world data and generated data.

                                                                 9
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                  See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                  Id.

                  This real world and generated data includes video data, which includes object representations.
                  Given that the video data is from the real world and generated simulations of real world

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                  environments the object representations represent objects of the application. See, for example,
                  the simulated environment below showing a simulation of a person near the simulated car from
                  the first application program (DOJO AI simulation).




                  See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

                  As shown in the above-cited video, Tesla’s supercomputer is capable of behaving appropriately
                  because the simulated car is provided with driving instructions that are correlated with objects,
                  e.g., simulated people, cars, traffic lights, traffic signs, etc.




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                                       See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

[1e] determining the first one or      Tesla’s autonomous vehicle simulation system determines the first one or more instruction sets
more instruction sets for operating    for operating the first avatar of the application based on at least partial match between the
the first avatar of the application    second one or more object representations and the first one or more object representations. For
based on at least partial match        example, the DOJO simulation determines an instruction set (e.g., steer to the left) for operating
between the second one or more         the first simulated vehicle (first avatar) of the simulation application based on at least partial
object representations and the first   match between the second one or more object representations (e.g., pedestrian jogging on the
one or more object representations;    right hand side of the road) and the first one or more object representations (e.g., a pedestrian
and                                    on the right hand side of the car). https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-
                                       important-news/ at 38:45 to 39:00

[1f] at least in response to the       Tesla’s autonomous vehicle simulation system causes, at least in response to the determining,
determining, causing the first         the first avatar of the application or a second avatar of the application to perform one or more
avatar of the application or a         operations defined by the first one or more instruction sets for operating the first avatar of the
second avatar of the application to    application at least by executing the first one or more instruction sets for operating the first
perform one or more operations         avatar of the application. For instance, the DOJO simulation, in response to determining the
defined by the first one or more       person of the right hand side of the simulated car, causes the first avatar (simulated car) of the
instruction sets for operating the     application to perform one or more operations defined by the first one or more instruction sets
first avatar of the application at     for operating the first avatar of the application (i.e., steers the car to the left) at least by

                                                                    12
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least by executing the first one or executing the first one or more instruction sets for operating the first avatar of the application.
more instruction sets for operating https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-important-news/ at 38:45 to 39:00.
the first avatar of the application.




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                        Exhibit M
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1447 of 2562 PageID #: 8948
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1448 of 2562 PageID #: 8949
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1449 of 2562 PageID #: 8950
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1450 of 2562 PageID #: 8951
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1451 of 2562 PageID #: 8952
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1452 of 2562 PageID #: 8953
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1453 of 2562 PageID #: 8954
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1454 of 2562 PageID #: 8955
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1455 of 2562 PageID #: 8956
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1456 of 2562 PageID #: 8957
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1457 of 2562 PageID #: 8958
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1458 of 2562 PageID #: 8959
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1459 of 2562 PageID #: 8960
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1460 of 2562 PageID #: 8961
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1461 of 2562 PageID #: 8962
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1462 of 2562 PageID #: 8963
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1463 of 2562 PageID #: 8964
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1464 of 2562 PageID #: 8965
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1465 of 2562 PageID #: 8966
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1466 of 2562 PageID #: 8967
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1467 of 2562 PageID #: 8968
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1468 of 2562 PageID #: 8969
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1469 of 2562 PageID #: 8970
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1470 of 2562 PageID #: 8971
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1471 of 2562 PageID #: 8972
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1472 of 2562 PageID #: 8973
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1473 of 2562 PageID #: 8974
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1474 of 2562 PageID #: 8975
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1475 of 2562 PageID #: 8976
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1476 of 2562 PageID #: 8977
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1477 of 2562 PageID #: 8978
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1478 of 2562 PageID #: 8979
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1479 of 2562 PageID #: 8980
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1480 of 2562 PageID #: 8981
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1481 of 2562 PageID #: 8982
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1482 of 2562 PageID #: 8983
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1483 of 2562 PageID #: 8984
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1484 of 2562 PageID #: 8985
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1485 of 2562 PageID #: 8986
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1486 of 2562 PageID #: 8987
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1487 of 2562 PageID #: 8988
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1488 of 2562 PageID #: 8989
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1489 of 2562 PageID #: 8990
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1490 of 2562 PageID #: 8991
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1491 of 2562 PageID #: 8992
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1492 of 2562 PageID #: 8993
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1493 of 2562 PageID #: 8994
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1494 of 2562 PageID #: 8995
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1495 of 2562 PageID #: 8996
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1496 of 2562 PageID #: 8997
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1497 of 2562 PageID #: 8998
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1498 of 2562 PageID #: 8999
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1499 of 2562 PageID #: 9000
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1500 of 2562 PageID #: 9001
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1501 of 2562 PageID #: 9002
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1502 of 2562 PageID #: 9003
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1503 of 2562 PageID #: 9004
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1504 of 2562 PageID #: 9005
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1505 of 2562 PageID #: 9006
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1506 of 2562 PageID #: 9007
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1507 of 2562 PageID #: 9008
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1508 of 2562 PageID #: 9009
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1509 of 2562 PageID #: 9010
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1510 of 2562 PageID #: 9011
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1511 of 2562 PageID #: 9012
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1512 of 2562 PageID #: 9013
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1513 of 2562 PageID #: 9014
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1514 of 2562 PageID #: 9015
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1515 of 2562 PageID #: 9016
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1516 of 2562 PageID #: 9017
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1517 of 2562 PageID #: 9018
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1518 of 2562 PageID #: 9019
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1519 of 2562 PageID #: 9020
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1520 of 2562 PageID #: 9021
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1525 of 2562 PageID #: 9026
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1526 of 2562 PageID #: 9027
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1527 of 2562 PageID #: 9028
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1528 of 2562 PageID #: 9029
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1529 of 2562 PageID #: 9030
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1530 of 2562 PageID #: 9031
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1531 of 2562 PageID #: 9032
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1532 of 2562 PageID #: 9033
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1533 of 2562 PageID #: 9034
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1534 of 2562 PageID #: 9035
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1535 of 2562 PageID #: 9036
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1536 of 2562 PageID #: 9037
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1537 of 2562 PageID #: 9038
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1538 of 2562 PageID #: 9039
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1539 of 2562 PageID #: 9040
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1540 of 2562 PageID #: 9041
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1541 of 2562 PageID #: 9042
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1542 of 2562 PageID #: 9043
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1543 of 2562 PageID #: 9044
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1545 of 2562 PageID #: 9046
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1546 of 2562 PageID #: 9047
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1547 of 2562 PageID #: 9048
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1548 of 2562 PageID #: 9049
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1549 of 2562 PageID #: 9050
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1550 of 2562 PageID #: 9051
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1551 of 2562 PageID #: 9052
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1552 of 2562 PageID #: 9053
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1553 of 2562 PageID #: 9054
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1554 of 2562 PageID #: 9055
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1555 of 2562 PageID #: 9056
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1556 of 2562 PageID #: 9057
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1557 of 2562 PageID #: 9058
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1558 of 2562 PageID #: 9059
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1559 of 2562 PageID #: 9060
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1560 of 2562 PageID #: 9061
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1561 of 2562 PageID #: 9062
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1563 of 2562 PageID #: 9064
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1564 of 2562 PageID #: 9065
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1565 of 2562 PageID #: 9066
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1566 of 2562 PageID #: 9067
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1567 of 2562 PageID #: 9068
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1568 of 2562 PageID #: 9069
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1569 of 2562 PageID #: 9070
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1570 of 2562 PageID #: 9071
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1571 of 2562 PageID #: 9072
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1572 of 2562 PageID #: 9073
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1573 of 2562 PageID #: 9074
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1574 of 2562 PageID #: 9075
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1575 of 2562 PageID #: 9076
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1576 of 2562 PageID #: 9077
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1577 of 2562 PageID #: 9078
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1578 of 2562 PageID #: 9079
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1579 of 2562 PageID #: 9080
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1580 of 2562 PageID #: 9081
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1581 of 2562 PageID #: 9082
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1582 of 2562 PageID #: 9083
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1583 of 2562 PageID #: 9084
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1584 of 2562 PageID #: 9085
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1585 of 2562 PageID #: 9086
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1586 of 2562 PageID #: 9087
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1587 of 2562 PageID #: 9088
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1588 of 2562 PageID #: 9089
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1589 of 2562 PageID #: 9090
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1590 of 2562 PageID #: 9091
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1592 of 2562 PageID #: 9093
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1594 of 2562 PageID #: 9095
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1599 of 2562 PageID #: 9100
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1600 of 2562 PageID #: 9101
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1601 of 2562 PageID #: 9102
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1602 of 2562 PageID #: 9103
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1603 of 2562 PageID #: 9104
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1605 of 2562 PageID #: 9106
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1606 of 2562 PageID #: 9107
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1607 of 2562 PageID #: 9108
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1608 of 2562 PageID #: 9109
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1609 of 2562 PageID #: 9110
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1610 of 2562 PageID #: 9111
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1611 of 2562 PageID #: 9112
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1612 of 2562 PageID #: 9113
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1614 of 2562 PageID #: 9115
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1615 of 2562 PageID #: 9116
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1616 of 2562 PageID #: 9117
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1617 of 2562 PageID #: 9118
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1618 of 2562 PageID #: 9119
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1619 of 2562 PageID #: 9120
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1620 of 2562 PageID #: 9121
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1621 of 2562 PageID #: 9122
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1622 of 2562 PageID #: 9123
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1623 of 2562 PageID #: 9124
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1624 of 2562 PageID #: 9125
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1625 of 2562 PageID #: 9126
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1626 of 2562 PageID #: 9127
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1627 of 2562 PageID #: 9128
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1628 of 2562 PageID #: 9129
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1629 of 2562 PageID #: 9130
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1630 of 2562 PageID #: 9131
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1631 of 2562 PageID #: 9132
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1632 of 2562 PageID #: 9133
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1633 of 2562 PageID #: 9134
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1635 of 2562 PageID #: 9136
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1636 of 2562 PageID #: 9137
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1637 of 2562 PageID #: 9138
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1638 of 2562 PageID #: 9139
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1646 of 2562 PageID #: 9147
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1647 of 2562 PageID #: 9148
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1648 of 2562 PageID #: 9149
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1649 of 2562 PageID #: 9150
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1650 of 2562 PageID #: 9151
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1651 of 2562 PageID #: 9152
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1652 of 2562 PageID #: 9153
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1653 of 2562 PageID #: 9154
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1654 of 2562 PageID #: 9155
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1655 of 2562 PageID #: 9156
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1656 of 2562 PageID #: 9157
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1657 of 2562 PageID #: 9158
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1658 of 2562 PageID #: 9159
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1659 of 2562 PageID #: 9160
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1660 of 2562 PageID #: 9161
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1661 of 2562 PageID #: 9162
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1662 of 2562 PageID #: 9163
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1663 of 2562 PageID #: 9164
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1664 of 2562 PageID #: 9165
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1665 of 2562 PageID #: 9166
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1666 of 2562 PageID #: 9167
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1667 of 2562 PageID #: 9168
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1668 of 2562 PageID #: 9169
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1669 of 2562 PageID #: 9170
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1791 of 2562 PageID #: 9292
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1792 of 2562 PageID #: 9293
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1902 of 2562 PageID #: 9403
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1903 of 2562 PageID #: 9404
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1904 of 2562 PageID #: 9405
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1910 of 2562 PageID #: 9411
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1937 of 2562 PageID #: 9438
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1938 of 2562 PageID #: 9439
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1939 of 2562 PageID #: 9440
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1942 of 2562 PageID #: 9443
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1943 of 2562 PageID #: 9444
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1946 of 2562 PageID #: 9447
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1949 of 2562 PageID #: 9450
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1969 of 2562 PageID #: 9470
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1980 of 2562 PageID #: 9481
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1982 of 2562 PageID #: 9483
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1984 of 2562 PageID #: 9485
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1985 of 2562 PageID #: 9486
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1989 of 2562 PageID #: 9490
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1990 of 2562 PageID #: 9491
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1991 of 2562 PageID #: 9492
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 1992 of 2562 PageID #: 9493
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2001 of 2562 PageID #: 9502
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2002 of 2562 PageID #: 9503
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2003 of 2562 PageID #: 9504
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2005 of 2562 PageID #: 9506
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2006 of 2562 PageID #: 9507
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2007 of 2562 PageID #: 9508
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2008 of 2562 PageID #: 9509
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2009 of 2562 PageID #: 9510
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2010 of 2562 PageID #: 9511
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2011 of 2562 PageID #: 9512
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2012 of 2562 PageID #: 9513
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2013 of 2562 PageID #: 9514
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2014 of 2562 PageID #: 9515
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2015 of 2562 PageID #: 9516
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2016 of 2562 PageID #: 9517
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2021 of 2562 PageID #: 9522
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2026 of 2562 PageID #: 9527
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2028 of 2562 PageID #: 9529
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2035 of 2562 PageID #: 9536
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2036 of 2562 PageID #: 9537
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2038 of 2562 PageID #: 9539
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2039 of 2562 PageID #: 9540
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2040 of 2562 PageID #: 9541
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2041 of 2562 PageID #: 9542
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2042 of 2562 PageID #: 9543
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2050 of 2562 PageID #: 9551
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2051 of 2562 PageID #: 9552
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2052 of 2562 PageID #: 9553
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2053 of 2562 PageID #: 9554
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2054 of 2562 PageID #: 9555
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2058 of 2562 PageID #: 9559
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2060 of 2562 PageID #: 9561
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2071 of 2562 PageID #: 9572
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2072 of 2562 PageID #: 9573
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2104 of 2562 PageID #: 9605
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2353 of 2562 PageID #: 9854
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2354 of 2562 PageID #: 9855
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2355 of 2562 PageID #: 9856
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2356 of 2562 PageID #: 9857
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2358 of 2562 PageID #: 9859
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2359 of 2562 PageID #: 9860
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2360 of 2562 PageID #: 9861
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2361 of 2562 PageID #: 9862
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2363 of 2562 PageID #: 9864
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2367 of 2562 PageID #: 9868
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2368 of 2562 PageID #: 9869
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2370 of 2562 PageID #: 9871
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2371 of 2562 PageID #: 9872
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2378 of 2562 PageID #: 9879
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2387 of 2562 PageID #: 9888
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2388 of 2562 PageID #: 9889
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2409 of 2562 PageID #: 9910
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2448 of 2562 PageID #: 9949
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2450 of 2562 PageID #: 9951
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2451 of 2562 PageID #: 9952
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2454 of 2562 PageID #: 9955
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2455 of 2562 PageID #: 9956
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2459 of 2562 PageID #: 9960
Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2460 of 2562 PageID #: 9961
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Case 1:22-cv-01466-MN Document 92-1 Filed 09/15/23 Page 2475 of 2562 PageID #: 9976
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